      Case
       Case20-33948
            20-33948 Document
                      Document775-2
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                                              TXSB on
                                                   on 01/01/21
                                                      01/21/21 Page
                                                               Page 11 of
                                                                       of 80
                                                                          531




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                               §       Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §       Case No. 20-33948 (MI)
                                                     §
                 Debtors. 1                          §       (Jointly Administered)

                DISCLOSURE STATEMENT FOR JOINT CHAPTER 11
         PLAN OF FIELDWOOD ENERGY LLC AND ITS AFFILIATED DEBTORS


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Attorneys for the Debtors and
Debtors in Possession



Dated: January 1, 2021
       Houston, Texas




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 22 of
                                                                     of 80
                                                                        531




                DISCLOSURE STATEMENT, DATED JANUARY 1, 2021

                                  Solicitation of Votes on the
                                  Plan of Reorganization of

                           FIELDWOOD ENERGY LLC, ET AL.

 THIS SOLICITATION OF VOTES (THE “SOLICITATION”) IS BEING
 CONDUCTED TO OBTAIN SUFFICIENT VOTES TO ACCEPT THE JOINT
 CHAPTER 11 PLAN OF FIELDWOOD ENERGY LLC AND ITS AFFILIATED
 DEBTORS IN THE ABOVE-CAPTIONED CHAPTER 11 CASES (COLLECTIVELY,
 THE “DEBTORS”) ATTACHED HERETO AS EXHIBIT A (AS MAY BE FURTHER
 MODIFIED, AMENDED OR SUPPLEMENTED FROM TIME TO TIME, AND
 TOGETHER WITH ALL EXHIBITS AND SCHEDULES THERETO, THE “PLAN”).

 THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 4:00 P.M.
 (PREVAILING CENTRAL TIME) ON MARCH 9, 2021 UNLESS EXTENDED BY
 THE DEBTORS.

 THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS MAY
 VOTE ON THE PLAN IS FEBRUARY 3, 2021 (THE “RECORD DATE”).


                        RECOMMENDATION BY THE DEBTORS

The board of directors of Fieldwood Energy Inc. (“FWE Parent”) and each of the governing
bodies for each of its affiliated debtors have approved the transactions contemplated by the Plan.
The Debtors believe the Plan is in the best interests of all stakeholders and recommend that all
creditors whose votes are being solicited submit ballots to accept the Plan.

Subject to the terms and provisions of that certain Restructuring Support Agreement dated as of
August 4, 2020 (as may be modified, amended, or supplemented from time to time, and together
with all exhibits and schedules thereto, the “RSA”), the following parties have agreed to vote in
favor of or otherwise support the Plan:

   •   holders of approximately 76.75% in aggregate principal amount of Claims under the
       Debtors’ Prepetition FLTL Credit Agreement (as defined herein);

   •   holders of approximately 28.91% in aggregate principal amount of Claims under the
       Debtors’ Prepetition SLTL Credit Agreement (as defined herein); and

   •   Apache Corporation.


HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS
OF THE DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS,
FINANCIAL, OR TAX ADVICE AND SHOULD CONSULT WITH THEIR OWN
ADVISORS BEFORE CASTING A VOTE WITH RESPECT TO THE PLAN.
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 33 of
                                                                        of 80
                                                                           531




NEITHER THIS DISCLOSURE STATEMENT NOR THE MOTION SEEKING
APPROVAL THEREOF CONSTITUTES AN OFFER TO SELL OR THE
SOLICITATION OF AN OFFER TO BUY SECURITIES IN ANY STATE OR
JURISDICTION IN WHICH SUCH OFFER OR SOLICITATION IS UNLAWFUL.

THE OFFER OF, ISSUANCE OF, AND DISTRIBUTION OF THE NEW EQUITY
INTERESTS (OTHER THAN THE BACKSTOP COMMITMENT PREMIUM EQUITY
INTERESTS, THE NEW MONEY WARRANTS, AND ANY NEW EQUITY INTERESTS
ISSUED UPON EXERCISE OF THE NEW MONEY WARRANTS) UNDER ARTICLE IV
OF THE PLAN SHALL BE EXEMPT, PURSUANT TO SECTION 1145 OF THE
BANKRUPTCY CODE, WITHOUT FURTHER ACT OR ACTIONS BY ANY PERSON,
FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933, AS AMENDED
(THE “SECURITIES ACT”), AND ALL RULES AND REGULATIONS PROMULGATED
THEREUNDER, AND ANY OTHER APPLICABLE SECURITIES LAWS, TO THE
FULLEST EXTENT PERMITTED BY SECTION 1145 OF THE BANKRUPTCY CODE.

THE ISSUANCE AND SALE, AS APPLICABLE, OF THE BACKSTOP COMMITMENT
PREMIUM EQUITY INTERESTS TO BE ISSUED PURSUANT TO THE BACKSTOP
COMMITMENT LETTER AND THE NEW MONEY WARRANTS TO BE ISSUED
PURSUANT TO THE NEW MONEY WARRANT AGREEMENT (INCLUDING ANY
NEW EQUITY INTERESTS ISSUED UPON EXERCISE OF THE NEW MONEY
WARRANTS) ARE BEING MADE IN RELIANCE ON THE EXEMPTION FROM
REGISTRATION SET FORTH IN SECTION 4(A)(2) OF THE SECURITIES ACT
AND/OR REGULATION D THEREUNDER.

WITH RESPECT TO THE FOREGOING SECURITIES ISSUED IN RELIANCE ON THE
EXEMPTION FROM REGISTRATION SET FORTH IN SECTION 4(A)(2) OF THE
SECURITIES ACT AND/OR REGULATION D THEREUNDER, SUCH SECURITIES
WILL BE CONSIDERED “RESTRICTED SECURITIES” AND MAY NOT BE
TRANSFERRED EXCEPT PURSUANT TO AN EFFECTIVE REGISTRATION
STATEMENT OR UNDER AN AVAILABLE EXEMPTION FROM THE
REGISTRATION REQUIREMENTS OF THE SECURITIES ACT, SUCH AS UNDER
CERTAIN CONDITIONS, THE RESALE PROVISIONS OF RULE 144 OF THE
SECURITIES ACT. WITH RESPECT TO THE FOREGOING SECURITIES ISSUED
PURSUANT TO SECTION 1145(A) OF THE BANKRUPTCY CODE, SUCH SECURITIES
MAY BE RESOLD WITHOUT REGISTRATION UNDER THE SECURITIES ACT OR
OTHER FEDERAL SECURITIES LAWS PURSUANT TO THE EXEMPTION
PROVIDED BY SECTION 4(A)(1) OF THE SECURITIES ACT, UNLESS THE HOLDER
IS AN “UNDERWRITER” WITH RESPECT TO SUCH SECURITIES, AS THAT TERM
IS DEFINED IN SECTION 1145(B) OF THE BANKRUPTCY CODE. IN ADDITION,
SUCH SECTION 1145 EXEMPT SECURITIES GENERALLY MAY BE RESOLD
WITHOUT REGISTRATION UNDER STATE SECURITIES LAWS PURSUANT TO
VARIOUS EXEMPTIONS PROVIDED BY THE RESPECTIVE LAWS OF THE
SEVERAL STATES.

THE AVAILABILITY OF THE EXEMPTION UNDER SECTION 1145 OF THE
BANKRUPTCY CODE, SECTION 4(A)(2) OF THE SECURITIES ACT AND/OR


                                         ii
#93959892v19
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 44 of
                                                                        of 80
                                                                           531




REGULATION D THEREUNDER, OR ANY OTHER APPLICABLE SECURITIES
LAWS WILL NOT BE A CONDITION TO THE OCCURRENCE OF THE EFFECTIVE
DATE.

THE SECURITIES ISSUED PURSUANT TO THE PLAN HAVE NOT BEEN APPROVED
OR DISAPPROVED BY THE SECURITIES AND EXCHANGE COMMISSION
(THE “SEC”) OR BY ANY STATE SECURITIES COMMISSION OR SIMILAR PUBLIC,
GOVERNMENTAL, OR REGULATORY AUTHORITY, AND NEITHER THE SEC NOR
ANY SUCH AUTHORITY HAS PASSED UPON THE ACCURACY OR ADEQUACY OF
THE INFORMATION CONTAINED IN THE DISCLOSURE STATEMENT OR UPON
THE MERITS OF THE PLAN. ANY REPRESENTATION TO THE CONTRARY IS A
CRIMINAL OFFENSE.

CERTAIN STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT,
INCLUDING STATEMENTS INCORPORATED BY REFERENCE, PROJECTED
FINANCIAL INFORMATION (SUCH AS THAT REFERRED TO IN THE PRECEDING
PARAGRAPH AND UNDER THE CAPTION “FINANCIAL PROJECTIONS”
ELSEWHERE IN THE DISCLOSURE STATEMENT) AND OTHER FORWARD-
LOOKING STATEMENTS, ARE BASED ON ESTIMATES AND ASSUMPTIONS.
THERE CAN BE NO ASSURANCE THAT SUCH STATEMENTS WILL BE
REFLECTIVE OF ACTUAL OUTCOMES. FORWARD-LOOKING STATEMENTS
SHOULD BE EVALUATED IN THE CONTEXT OF THE ESTIMATES, ASSUMPTIONS,
UNCERTAINTIES, AND RISKS DESCRIBED HEREIN.

FURTHERMORE, READERS ARE CAUTIONED THAT ANY FORWARD-LOOKING
STATEMENTS HEREIN, INCLUDING ANY PROJECTIONS, ARE SUBJECT TO A
NUMBER OF ASSUMPTIONS, RISKS, AND UNCERTAINTIES, MANY OF WHICH
ARE BEYOND THE CONTROL OF THE DEBTORS. IMPORTANT ASSUMPTIONS
AND OTHER IMPORTANT FACTORS THAT COULD CAUSE ACTUAL RESULTS TO
DIFFER MATERIALLY INCLUDE, BUT ARE NOT LIMITED TO, THOSE FACTORS,
RISKS AND UNCERTAINTIES DESCRIBED IN MORE DETAIL UNDER THE
HEADING “CERTAIN RISK FACTORS TO BE CONSIDERED” BELOW, AS WELL AS
THE VOLATILITY OF AND POTENTIAL FOR SUSTAINED LOW OIL AND
NATURAL GAS PRICES, THE SUPPLY AND DEMAND FOR OIL AND NATURAL
GAS, CHANGES IN COMMODITY PRICES FOR OIL AND NATURAL GAS, THE
DEBTORS’ ABILITY TO MEET PRODUCTION VOLUME TARGETS, THE
UNCERTAINTY OF ESTIMATING PROVED RESERVES AND UNPROVED
RESOURCES, THE DEBTORS’ ABILITY TO DEVELOP PROVED UNDEVELOPED
RESOURCES AND OTHER RISKS INHERENT IN THE DEBTORS’ BUSINESS.
PARTIES ARE CAUTIONED THAT THE FORWARD-LOOKING STATEMENTS
SPEAK AS OF THE DATE MADE, ARE BASED ON THE DEBTORS’ CURRENT
BELIEFS, INTENTIONS AND EXPECTATIONS, AND ARE NOT GUARANTEES OF
FUTURE PERFORMANCE. ACTUAL RESULTS OR DEVELOPMENTS MAY DIFFER
MATERIALLY FROM THE EXPECTATIONS EXPRESSED OR IMPLIED IN THE
FORWARD-LOOKING STATEMENTS, AND THE DEBTORS UNDERTAKE NO
OBLIGATION TO UPDATE ANY SUCH STATEMENTS. THE DEBTORS AND POST-
EFFECTIVE DATE DEBTORS, AS APPLICABLE, DO NOT INTEND AND


                                         iii
#93959892v19
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 55 of
                                                                        of 80
                                                                           531




UNDERTAKE NO OBLIGATION TO UPDATE OR OTHERWISE REVISE ANY
FORWARD-LOOKING     STATEMENTS,   INCLUDING   ANY   PROJECTIONS
CONTAINED HEREIN, TO REFLECT EVENTS OR CIRCUMSTANCES EXISTING OR
ARISING AFTER THE DATE HEREOF OR TO REFLECT THE OCCURRENCE OF
UNANTICIPATED EVENTS OR OTHERWISE, UNLESS INSTRUCTED TO DO SO BY
THE BANKRUPTCY COURT.

NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED
THE FINANCIAL PROJECTIONS OR THE LIQUIDATION ANALYSIS HEREIN.

THE DEBTORS HAVE NOT AUTHORIZED ANY PERSON TO GIVE ANY
INFORMATION OR ADVICE, OR TO MAKE ANY REPRESENTATION, IN
CONNECTION WITH THE PLAN OR THE DISCLOSURE STATEMENT.

THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT ARE MADE
AS OF THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE
PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE SUMMARIES
IN THE DISCLOSURE STATEMENT.

THE INFORMATION IN THE DISCLOSURE STATEMENT IS BEING PROVIDED
SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR
OBJECTING TO CONFIRMATION. NOTHING IN THE DISCLOSURE STATEMENT
MAY BE USED BY ANY PARTY FOR ANY OTHER PURPOSE.

ALL EXHIBITS TO THE DISCLOSURE STATEMENT ARE INCORPORATED INTO
AND ARE A PART OF THE DISCLOSURE STATEMENT AS IF SET FORTH IN FULL
HEREIN.

THE PLAN PROVIDES THAT THE FOLLOWING PARTIES ARE DEEMED TO
GRANT THE RELEASES PROVIDED FOR THEREIN: (I) THE HOLDERS OF ALL
CLAIMS THAT VOTE TO ACCEPT THE PLAN, (II) THE HOLDERS OF ALL CLAIMS
WHOSE VOTE TO ACCEPT OR REJECT THE PLAN IS SOLICITED BUT THAT DO
NOT VOTE EITHER TO ACCEPT OR TO REJECT THE PLAN, (III) THE HOLDERS
OF ALL CLAIMS OR INTERESTS THAT VOTE, OR ARE DEEMED, TO REJECT THE
PLAN BUT DO NOT OPT OUT OF GRANTING THE RELEASES SET FORTH
THEREIN, (IV) THE HOLDERS OF ALL CLAIMS AND INTERESTS THAT WERE
GIVEN NOTICE OF THE OPPORTUNITY TO OPT OUT OF GRANTING THE
RELEASES SET FORTH THEREIN BUT DID NOT OPT OUT, AND (V) THE
RELEASED PARTIES (EVEN IF SUCH RELEASED PARTY PURPORTS TO OPT OUT
OF THE RELEASES SET FORTH THEREIN).

HOLDERS OF CLAIMS AND INTERESTS IN VOTING CLASSES (4, 5, AND 6) HAVE
RECEIVED A RELEASE OPT-OUT FORM ATTACHED TO THEIR BALLOT.
HOLDERS OF CLAIMS AND INTERESTS IN NON-VOTING CLASSES (1, 2, 3, 8 AND
10) HAVE RECEIVED A RELEASE OPT-OUT FORM ATTACHED TO THEIR NOTICE
OF NON-VOTING STATUS AND NOTICE OF RIGHT TO OPT OUT OF CERTAIN




                                         iv
#93959892v19
   Case
    Case20-33948
         20-33948 Document
                   Document775-2
                            723 Filed
                                 Filed in
                                        in TXSB
                                           TXSB on
                                                on 01/01/21
                                                   01/21/21 Page
                                                            Page 66 of
                                                                    of 80
                                                                       531




RELEASES. SEE EXHIBIT B FOR A DESCRIPTION OF THE RELEASES AND
RELATED PROVISIONS.




                                     v
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 77 of
                                                                        of 80
                                                                           531



                                                   TABLE OF CONTENTS

                                                                                                                                          Page

I. INTRODUCTION ........................................................................................................................1
          A.         Overview of Restructuring Transactions .................................................................2
          B.         Credit Bid Transaction .............................................................................................4
                     1.         M&A Process ...............................................................................................4
                     2.         Negotiations with Consenting Creditors ......................................................5
                     3.         Pro Forma Capital Structure of Credit Bid Purchaser .................................6
          C.         Further Transaction Proposals .................................................................................6
          D.         Apache Transactions ................................................................................................7
                     1.         FWE I ...........................................................................................................7
                     2.         FWE III ........................................................................................................8
                     3.         Abandoned Properties ..................................................................................9
          E.         Recommendation .....................................................................................................9
          F.         363 Credit Bid Transaction ....................................................................................10
          G.         Confirmation Timeline...........................................................................................10
          H.         Inquiries .................................................................................................................11
II. SUMMARY OF PLAN TREATMENT ...................................................................................11
III. OVERVIEW OF DEBTORS ...................................................................................................14
          A.         General Overview ..................................................................................................14
          B.         Debtors’ Corporate History and Structure .............................................................15
                     1.         Corporate History.......................................................................................15
                     2.         Debtors’ Corporate and Governance Structure ..........................................19
          C.         Equity Ownership ..................................................................................................20
          D.         Prepetition Indebtedness ........................................................................................21
                     1.         First Lien First Out Credit Agreement .......................................................21
                     2.         First Lien Term Loan Agreement ..............................................................22
                     3.         Second Lien Term Loan Agreement ..........................................................23
                     4.         Intercreditor Agreements ...........................................................................23
                     5.         DB Receivables Facility ............................................................................24
                     6.         Surety Bonds ..............................................................................................24
                     7.         Unsecured Claims ......................................................................................24
                     8.         Intercompany Claims .................................................................................24

                                                                       i
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 88 of
                                                                        of 80
                                                                           531



IV. KEY EVENTS LEADING TO COMMENCEMENT OF CHAPTER 11 CASES ................25
         A.        Cost Reduction .......................................................................................................25
         B.        Vendor and Surety Issues.......................................................................................25
         C.        Prepetition Restructuring Efforts ...........................................................................26
V. OVERVIEW OF CHAPTER 11 CASES..................................................................................27
         A.        Commencement of Chapter 11 Cases and First Day Motions ...............................27
         B.        First Day Motions ..................................................................................................27
         C.        Procedural Motions and Retention of Professionals ..............................................28
         D.        Appointment of Creditors’ Committee ..................................................................29
         E.        Final Hearing on Vendor, Insurance, Cash Management, and DIP Motion ..........29
         F.        Vendor Program .....................................................................................................30
         G.        Statements and Schedules, and Claims Bar Dates .................................................30
         H.        Lien Analysis .........................................................................................................30
VI. RESTRUCTURING TRANSACTIONS AND PLAN IMPLEMENTATION .......................33
         A.        Approval of Credit Bid Transaction ......................................................................33
         B.        Approval of Apache Transactions .........................................................................33
         C.        Approval of Abandonment of Abandoned Properties ...........................................35
VII. TRANSFER RESTRICTIONS AND CONSEQUENCES UNDER FEDERAL
       SECURITIES LAWS.........................................................................................................35
         A.        Section 1145 of the Bankruptcy Code and Subscription Transfers .......................35
         B.        Section 4(a)(2) of the Securities Act and Subscription Transfers..........................36
VIII. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ...................38
         A.        Consequences to the Debtors .................................................................................39
                   1.         Cancellation of Debt and Reduction of Tax Attributes .............................39
                   2.         Limitation of NOL Carryforwards and Other Tax Attributes ....................40
                   3.         Sale of Certain Assets ................................................................................41
                   4.         Potential Transfer of Assets to a Liquidating Trust ...................................41
         B.        Consequences to Holders of Certain Claims .........................................................42
                   1.         U.S. Holders of Allowed FLTL Secured Claims, Allowed SLTL
                              Claims and Allowed General Unsecured Claims.......................................42
                   2.         Distributions in Discharge of Accrued OID or Interest .............................43
                   3.         Character of Gain or Loss ..........................................................................44
                   4.         Disposition of New Equity Interests ..........................................................44
                   5.         Disposition of Interests in the Single Share ...............................................45

                                                                   ii
       Case
        Case20-33948
             20-33948 Document
                       Document775-2
                                723 Filed
                                     Filed in
                                            in TXSB
                                               TXSB on
                                                    on 01/01/21
                                                       01/21/21 Page
                                                                Page 99 of
                                                                        of 80
                                                                           531



                6.        Tax Treatment of Undistributed General Unsecured Claims Cash
                          Pool ............................................................................................................45
          C.    Tax Treatment of a Liquidating Trust and Holders of Beneficial Interests ...........46
                1.        Classification of Liquidating Trust ............................................................46
                2.        General Tax Reporting by Liquidating Trust and its Beneficiaries ...........46
          D.    Information Reporting and Back-Up Withholding ................................................48
IX. CERTAIN RISK FACTORS TO BE CONSIDERED ............................................................48
          A.    Certain Bankruptcy Law Considerations ...............................................................49
                1.        Risk of Termination of RSA ......................................................................49
                2.        Risk of Non-Confirmation of the Plan .......................................................49
                3.        Risk of Non-Consensual Confirmation and Conversion into
                          Chapter 7 Cases..........................................................................................49
                4.        Risk of Non-Occurrence of the Effective Date ..........................................50
                5.        Risks Related to Possible Objections to the Plan.......................................50
                6.        Parties in Interest May Object to Plan’s Classification of Claims
                          and Interests ...............................................................................................50
                7.        Conditions to Credit Bid Transaction May Not Be Satisfied ....................50
                8.        Releases, Injunctions, and Exculpations Provisions May Not Be
                          Approved....................................................................................................50
          B.    Additional Factors Affecting the Value of NewCo and its Subsidiaries ...............51
                1.        Projections and Other Forward-Looking Statements Are Not
                          Assured, and Actual Results May Vary .....................................................51
                2.        Risks Associated with the Debtors’ Business and Industry .......................51
          C.    Factors Relating to New Equity Interests to Be Issued under Plan .......................53
                1.        Market for Equity of NewCo .....................................................................53
                2.        Potential Dilution .......................................................................................53
                3.        Significant Holders ....................................................................................53
                4.        New Equity Interests Subordinated to NewCo’s Indebtedness .................53
                5.        Valuation of NewCo Not Intended to Represent Trading Value of
                          New Equity Interests of NewCo ................................................................54
                6.        No Intention to Pay Dividends ...................................................................54
          D.    Factors Relating to Backstop Commitment Letter.................................................54
                1.        Bankruptcy Court Might Not Approve Backstop Commitment
                          Letter ..........................................................................................................54
          E.    Risks Related to Recoveries for Holders of General Unsecured Claims
                Under the Plan........................................................................................................54

                                                                iii
#93959892v19
      Case
       Case20-33948
            20-33948 Document
                      Document775-2
                               723 Filed
                                    Filed in
                                           in TXSB
                                              TXSB on
                                                   on 01/01/21
                                                      01/21/21 Page
                                                               Page 10
                                                                    10 of
                                                                       of 80
                                                                          531



                   1.        Allowed General Unsecured Claims Could be More than Projected ........54
                   2.        Residual Distributable Value of the Single Share of Post-Effective
                             Date FWE Parent .......................................................................................55
          F.       Additional Factors..................................................................................................55
                   1.        Debtors Could Withdraw Plan ...................................................................55
                   2.        Debtors Have No Duty to Update ..............................................................55
                   3.        No Representations Outside the Disclosure Statement Are
                             Authorized..................................................................................................55
                   4.        No Legal or Tax Advice Is Provided by the Disclosure Statement ...........55
                   5.        No Admission Made ..................................................................................56
                   6.        Certain Tax Consequences.........................................................................56
X. VOTING PROCEDURES AND REQUIREMENTS ...............................................................56
          A.       Voting Deadline .....................................................................................................56
          B.       Voting Procedures..................................................................................................57
          C.       Parties Entitled to Vote ..........................................................................................57
                   1.        Fiduciaries and Other Representatives.......................................................58
                   2.        Agreements Upon Furnishing Ballots........................................................58
                   3.        Change of Vote ..........................................................................................59
          D.       Waivers of Defects, Irregularities, etc. ..................................................................59
          E.       Further Information, Additional Copies ................................................................59
XI. CONFIRMATION OF PLAN .................................................................................................59
          A.       Confirmation Hearing ............................................................................................59
          B.       Objections to Confirmation....................................................................................60
          C.       Requirements for Confirmation of Plan.................................................................61
                   1.        Acceptance of Plan ....................................................................................61
                   2.        Best Interests Test ......................................................................................62
                   3.        Feasibility...................................................................................................63
                   4.        Valuation ....................................................................................................65
XII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF PLAN ...............65
          A.       Alternative Plan of Reorganization........................................................................66
          B.       Sale under Section 363 of the Bankruptcy Code ...................................................66
          C.       Liquidation Under Chapter 7 of Bankruptcy Code ................................................66
XIII. CONCLUSION AND RECOMMENDATION ....................................................................66



                                                                  iv
#93959892v19
      Case
       Case20-33948
            20-33948 Document
                      Document775-2
                               723 Filed
                                    Filed in
                                           in TXSB
                                              TXSB on
                                                   on 01/01/21
                                                      01/21/21 Page
                                                               Page 11
                                                                    11 of
                                                                       of 80
                                                                          531



Exhibit A:     Plan
Exhibit B:     Plan Release Provisions
Exhibit C:     Leases Related to Purchased Oil & Gas Lease Interests
Exhibit D:     Leases Related to FWE I Oil & Gas Lease Interests
Exhibit E:     Leases Related to FWE III Oil & Gas Lease Interests
Exhibit F:     Leases Related to Abandoned Properties
Exhibit G:     Apache Term Sheet Implementation Agreement
Exhibit H:     Organizational Chart
Exhibit I:     Liquidation Analysis [To Come]
Exhibit J:     Valuation Analysis [To Come]
Exhibit K:     Financial Projections [To Come]
Exhibit L:     First Lien Exit Facility Term Sheet [To Come]
Exhibit M:     Second Lien Exit Facility Term Sheet
Exhibit N:     Credit Bid Purchase Agreement [To Come]




                                            v
#93959892v19
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 12
                                                                   12 of
                                                                      of 80
                                                                         531



                                                    I.
                                              INTRODUCTION

        Fieldwood Energy LLC (“FWE”) and its debtor affiliates 2 (each, a “Debtor,” and
collectively, the “Debtors” or the “Company”) submit this disclosure statement (as may be
amended from time to time, the “Disclosure Statement”) in connection with the Solicitation of
votes on the Joint Chapter 11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors dated
January 1, 2021 attached hereto as Exhibit A (the “Plan”). The Debtors filed voluntary petitions
for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the
United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) on
August 3, 2020 and August 4, 2020 (as applicable, the “Petition Date”). The Debtors’ chapter 11
cases are being jointly administered for procedural purposes only (together, the “Chapter 11
Cases”).

        The purpose of the Disclosure Statement is to provide information of a kind, and in
sufficient detail, to enable creditors of the Debtors that are entitled to vote on the Plan to make an
informed decision on whether to vote to accept or reject the Plan. The Disclosure Statement
contains, among other things, summaries of the Plan, certain statutory provisions, events
contemplated in the Chapter 11 Cases, and certain documents related to the Plan. 3

        As described more fully below, the Plan provides for a comprehensive set of restructuring
transactions, including consummation of the Credit Bid Transaction and the Apache Transactions
(each as defined below), which are collectively designed to (i) recapitalize and preserve the going
concern value of specified Debtors’ Deepwater Assets and Shelf Assets (each as defined below)
and the jobs of over 1,000 employees and contractors, (ii) maximize recoveries to the Debtors’
stakeholders, and (iii) ensure that all plugging and abandonment and decommissioning obligations
(the “P&A Obligations”) are allocated to appropriate parties for performance in a responsible and
safe manner.

       The restructuring contemplated by the Plan is a significant achievement for the Debtors in
the midst of an unprecedented and challenging operating environment. The Debtors strongly
believe that the Plan is in the best interests of their creditors, equity holders and estates, and
represents the best available alternative at this time. Indeed, the Plan is supported by several of
the Debtors’ key stakeholders, including the DIP Lenders, the FLTL Lenders holding
approximately 76.75% of the FLTL Claims, the SLTL Lenders holding approximately 28.91% of
the SLTL Claims, and Apache Corporation (“Apache”), the predecessor in interest for the vast
majority of the Debtors’ Shelf Assets. Moreover, the Plan is the culmination of extensive arm’s
length negotiations that have occurred over the last several months with the Debtors’ Consenting
Creditors (as defined below) and Apache and reflects ongoing discussions the Debtors have had
2
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
3
  Capitalized terms used in the Disclosure Statement, but not defined herein, have the meanings ascribed to them in
the Plan. To the extent any inconsistencies exist between the Disclosure Statement and the Plan, the Plan will govern.
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      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 13
                                                                   13 of
                                                                      of 80
                                                                         531



with the official committee of unsecured creditors (the “Committee”), the Debtors’ regulators,
including representatives from the Bureau of Ocean Energy Management (“BOEM”), the Bureau
of Safety and Environmental Enforcement (“BSEE”), the Department of Interior and the
Department of Justice, the FLFO Lender, and other key constituencies.

             A. Overview of Restructuring Transactions

        Pursuant to the RSA by and among the Debtors, lenders holding approximately 76.75% of
the Company’s debt under the FLTL Credit Agreement (the “Consenting FLTL Lenders”),
lenders holding approximately 28.91% of the Company’s debt under the SLTL Credit Agreement
(the “Consenting SLTL Lenders,” and, together with the Consenting FLTL Lenders, the
“Consenting Creditors”), 4 and Apache (together with the Debtors, the Consenting Creditors, and
any subsequent person or entity that becomes a party to the RSA, the “RSA Parties”), the RSA
Parties agreed to support the transactions set forth in the restructuring term sheet attached as
Exhibit A to the RSA (the “Restructuring Term Sheet”) and the term sheet memorializing the
agreement between certain of the Debtors and Apache and certain of its affiliates regarding the
framework for a restructuring with respect to the Legacy Apache Properties (as defined below)
(the “Apache Term Sheet”).

       Consistent with the RSA, and as discussed in greater detail below, the Plan provides for,
among other things, the following transactions to occur on the Effective Date for the below
categories of assets and related liabilities:

             •    Specified Deepwater Assets and Shelf Assets: The Debtors will consummate the
                  sale of certain of their assets, including specified Deepwater Assets and Shelf
                  Assets (each defined below), (collectively, the “Purchased Oil & Gas Lease
                  Interests”) to a new entity (“Credit Bid Purchaser”) formed at the direction of
                  the Consenting FLTL Lenders for aggregate consideration consisting of (i) a credit
                  bid of the Allowed FLTL Secured Claims in the amount of $426 million (which
                  amount may be increased up to the FLTL Claims Allowed Amount), (ii) cash in the
                  amount of approximately $224 million, and (iii) the assumption of certain liabilities
                  set forth in the Credit Bid Purchase Agreement (the “Credit Bid Transaction”).
                  A schedule of the oil and gas leases constituting the Purchased Oil & Gas Lease
                  Interests is annexed hereto as Exhibit C (which may be amended, modified, or
                  supplemented from time to time). 5

             •    Legacy Apache Properties: After the consummation of the Credit Bid
                  Transaction, FWE will implement a divisive merger pursuant to which FWE will
                  be divided into Fieldwood Energy I LLC (“FWE I”) and Fieldwood Energy III
                  LLC (“FWE III”). Through the divisive merger, FWE I will be allocated and
                  vested with certain assets FWE acquired from Apache (the “Legacy Apache

4
 Since the RSA was executed on August 4, 2020, additional lenders holding FLTL Claims and/or SLTL Claims have
executed joinders to the RSA.
5
  For any lease that is listed on Exhibit C (Purchased Oil & Gas Lease Interests) and also on any of Exhibits D-F, (i)
FWE I is to obtain solely the right, title and interest of FWE obtained from Apache in such lease and (ii) the interests
to be obtained by the Credit Bid Purchaser or FWE III or to be abandoned, as applicable, shall be all right, title and
interest of FWE in such lease (less such right, title and interest obtained from Apache).


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     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 14
                                                                  14 of
                                                                     of 80
                                                                        531



               Properties”) and related liabilities and obligations. FWE I will, among other
               things, own, operate, plug and abandon, and decommission the Legacy Apache
               Properties. A schedule of the oil and gas leases related to the Legacy Apache
               Properties is annexed hereto as Exhibit D (which may be amended, modified, or
               supplemented from time to time).

           •   FWE III Properties: Through the divisive merger, FWE III will be allocated and
               vested with all of FWE’s assets other than the Purchased Oil & Gas Lease Interests,
               Legacy Apache Properties and Abandoned Properties (defined below) (the “FWE
               III Properties”). FWE III will, among other things, own, operate, plug and
               abandon, and decommission the FWE III Properties and related assets and
               liabilities. The oil and gas leases related to the FWE III Properties includes those
               listed on the schedule annexed hereto as Exhibit E (which may be amended,
               modified, or supplemented from time to time).

           •   Abandoned Properties: Immediately upon the occurrence of the Effective Date,
               certain of the Debtors’ assets (the “Abandoned Properties”) will be abandoned
               pursuant to sections 105(a) and 554(a) of the Bankruptcy Code to entities who are
               predecessor owners in the chain of title or co-working interest owners (collectively,
               the “Predecessors”). A schedule of the oil and gas leases related to the Abandoned
               Properties is annexed hereto as Exhibit F (which may be amended, modified, or
               supplemented from time to time).

Satisfaction and Treatment of Claims and Interests

         In addition, the Plan provides for the resolution, satisfaction, settlement and discharge of
claims against and interests in the Debtors and their estates. All holders of Allowed Administrative
Expense Claims, Allowed DIP Claims, Allowed Priority Tax Claims, Allowed Priority Non-Tax
Claims, Allowed Other Secured Claims, and Allowed FLFO Claims will have their claims satisfied
in full, either through payment in Cash or other treatment as specified in the Plan.

        All holders of Allowed FLTL Claims will have the secured part of their claims (i.e., the
Allowed FLTL Secured Claims) satisfied in full pursuant to the Credit Bid Transaction and, in
exchange for such Allowed FLTL Secured Claims, receive their Pro Rata Share of 100% of the
equity in NewCo (subject to dilution as set forth in section 4.4 of the Plan). The unsecured
deficiency part of the Allowed FLTL Claims (i.e., the Allowed FLTL Deficiency Claims, if any)
will be classified with other Allowed General Unsecured Claims (Class 6), including prepetition
trade claims, rejection damages claims, and surety claims.

       All holders of Allowed SLTL Claims will receive their Pro Rata Share of a $5 million cash
pool, which will also be shared with the holders of Allowed General Unsecured Claims, including
the Allowed FLTL Deficiency Claims, if any.

        In addition to the $5 million cash pool, the holders of Allowed General Unsecured Claims
will receive their Pro Rata Share of any distributable value of the Post-Effective Date Debtors and
FWE I after satisfaction of (i) Allowed Administrative Expense Claims, Allowed DIP Claims,
Allowed Priority Tax Claims, Allowed Priority Non-Tax Claims, Allowed Other Secured Claims,
Allowed FLFO Claims, all Cure Amounts and (ii) all fees, expenses, costs and other amounts

                                                 3
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 15
                                                                   15 of
                                                                      of 80
                                                                         531



pursuant to the Plan and incurred by the Post-Effective Date Debtors in connection with post-
Effective Date operations and wind-down.

        All holders of other claims against the Debtors or existing equity interests in FWE Parent
will not receive a recovery under the Plan.

        To facilitate the implementation of the Plan, the Plan provides for (i) the funding of a claims
reserve for Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed
Priority Non-Tax Claims, and Allowed Other Secured Claims, and Cure Amounts; (ii) the General
Unsecured Claims Cash Pool; (iii) the Professional Fee Escrow; (iv) the Plan Administrator
Expense Reserve; and (v) the payment of other fees and expenses, such as fees and expenses
incurred under the DIP Order, fees and expenses incurred in connection with implementing the
Apache Transactions, and the fees and expenses of the Ad Hoc Secured Lenders’ advisors.

        The Plan also includes injunctions, releases, and exculpations in sections 10.5, 10.6, 10.7,
10.8, and 10.9. The relevant provisions regarding such injunctions, releases, and exculpations
provided under the Plan are annexed hereto as Exhibit B. Section 10.7(b) of the Plan provides for
releases by holders of claims and interests (the “Third Party Release”). Entry of the Confirmation
Order by the Bankruptcy Court shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Third-Party Release, which includes, by reference, each of the
related provisions and definitions under the Plan, and, furthermore, shall constitute the Bankruptcy
Court’s finding that the Third-Party Release is (i) consensual, (ii) essential to the confirmation of
the Plan, (iii) given in exchange for the good and valuable consideration provided by the Released
Parties, (iv) a good faith settlement and compromise of the claims released by the Third-Party
Release, (v) in the best interests of the Debtors and their estates, (vi) fair, equitable and reasonable,
(vii) given and made after due notice and opportunity for hearing, and (viii) a bar to any of the
Releasing Parties asserting any claim or cause of action released pursuant to the Third-Party
Release. You are advised and encouraged to review and consider the Plan carefully, including the
release, exculpation and injunction provisions, as your rights might be affected.

             B. Credit Bid Transaction

       Before and following the Petition Date, the Debtors explored a dual-track restructuring,
where they conducted a robust marketing process for the Deepwater Assets while also engaging
in negotiations with the Consenting Creditors regarding the terms of a restructuring that would
include a recapitalization through a sale of the specified Deepwater Assets and Shelf Assets to the
FLTL Lenders through a credit bid transaction.

        1.      M&A Process

       Before the Petition Date, the Company commenced a robust sale and marketing process
(the “M&A Process”) for the Company’s Deepwater Assets through its investment banker,
Houlihan Lokey Capital, Inc. (“Houlihan”).

        Houlihan, which specializes in advising companies in the oil & gas industry with respect
to traditional mergers and acquisitions, asset level acquisitions and divestitures, financial
restructuring and recapitalization transactions, conducted the M&A Process from June 30, 2020
through September 3, 2020. Houlihan marketed the Deepwater Assets to 47 parties identified as


                                                   4
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 16
                                                                   16 of
                                                                      of 80
                                                                         531



potential third party buyers. Houlihan’s outreach covered a broad spectrum of national and
international strategic buyers and financial sponsors who were believed to be potential buyers of
the Debtor’s Deepwater Assets and have the financial wherewithal to support the proposed
transaction. Following the Petition Date, Houlihan continued the M&A Process, which ultimately
resulted in 18 parties executing confidentiality agreements and obtaining access to a virtual data
room (“VDR”), 15 management presentations, and receipt of approximately 12 written bid letters
and other indications of interest. In addition, Houlihan provided the Creditors Committee’s
advisors with access to all of the information provided to potential buyers, including access to the
VDR. After analyzing the bids and the financial condition of the bidders and consulting with the
DIP Lenders and Consenting FLTL Lenders, the Debtors determined that none of the bids received
was actionable.

        2.       Negotiations with Consenting Creditors

       Concurrently with the M&A Process, the Debtors continued to engage with the Consenting
Creditors regarding the terms of a comprehensive restructuring in accordance with the
Restructuring Term Sheet, which provides, in relevant part, that subject to all consent rights of the
applicable Consenting Creditors under the RSA, the Debtors’ restructuring may include the
following transactions:

                 “Specified Assets. As determined and agreed by the Company, the
                 Requisite DIP Commitment Parties and Requisite FLTL Lenders,
                 through conveyance(s) or divisional merger(s), the transfer or other
                 disposition of all or substantially all of the Specified Assets to one
                 or more purchasers or a new entity (“Lender NewCo”) to be formed
                 at the direction of the Requisite DIP Commitment Parties and the
                 Requisite FLTL Lenders through (i) a standalone sale or sales
                 pursuant to section 363 of the Bankruptcy Code either via a credit
                 bid or otherwise, (ii) a sale or sales pursuant to a Plan either via a
                 credit bid or otherwise, or (iii) an equitization transaction pursuant
                 to a Plan.”

        Following several months of negotiations, the RSA Parties agreed on the terms of the Plan
and are currently working to finalize a purchase and sale agreement, by and between FWE, the
other seller parties, and the Credit Bid Purchaser, together with any and all related agreements,
exhibits, and schedules in connection therewith, as amended, supplemented or otherwise modified
from time to time (the “Credit Bid Purchase Agreement”), a copy of which will be filed in a
supplement to the Disclosure Statement and included in the Plan Supplement.

       On the Effective Date of the Plan, pursuant to sections 105, 363, 365, 1123, 1129, 1141(b)
and 1141(c) of the Bankruptcy Code, in accordance with the Credit Bid Purchase Agreement,
subject to the satisfaction or waiver of all applicable closing conditions under the Credit Bid
Purchase Agreement, (i) all Credit Bid Acquired Interests will be transferred to, and the Credit Bid
Acquired Interests owned by the Debtors will vest free and clear of all Liens 6 (other than Credit
Bid Permitted Encumbrances (except in the case of Fieldwood U.A. Interests, which will vest free

6
 Provided that the Retained Properties (as defined in the Apache Implementation Agreement) shall be transferred in
accordance with the Decommissioning Agreement.


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    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
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                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 17
                                                                  17 of
                                                                     of 80
                                                                        531



and clear of all Liens)), Claims, charges, Interests, or other encumbrances, including the Credit
Bid Consent Rights and the Credit Bid Preferential Purchase Rights, and (ii) all Credit Bid
Assumed Liabilities, will be assumed by the Credit Bid Purchaser. Moreover, the vast majority of
the Debtors’ employees and management team will continue to be employed by Credit Bid
Purchaser.

       3.       Pro Forma Capital Structure of Credit Bid Purchaser

        Upon the Effective Date, the Credit Bid Purchaser’s capital structure will be comprised of
up to approximately $324 million in funded debt, with approximately $224 million of the proceeds
used to fund the cash portion of the Credit Bid Consideration and the remaining $100 million used
to capitalize Credit Bid Purchaser following emergence.

       Credit Bid Purchaser’s capital structure will consist of:

            •   First Lien Term Loan Exit Facility. A $139 million first lien term loan facility,
                the proceeds of which will be used by Credit Bid Purchaser to purchase the Credit
                Bid Acquired Assets and then by the Debtors to satisfy the Allowed FLFO Claims.

            •   Second Lien Exit Facility. An up to $185 million second lien term loan facility to
                be fully backstopped by the Backstop Parties in accordance with and subject to the
                terms and conditions of the Backstop Commitment Letter. The facility will be
                comprised of loans in an amount equal to (i) $100 million plus (ii) an additional
                amount equal to the lesser of (x) $85 million and (y) the amount necessary to
                provide the Credit Bid Purchaser with no less than $100 million of cash on hand on
                the Effective Date, after giving effect to all transactions to occur on the Effective
                Date. 25% of the new money raised through a debt offering will be allocated to
                certain of the Backstop Parties and 75% of will be offered to all DIP Lenders,
                including the Backstop Parties and their applicable affiliates, on a pro rata basis.
                In addition, at any time after the Effective Date, the Credit Bid Purchaser will be
                permitted to borrow up to $50 million under an incremental facility, which
                incremental facility will not be committed on the Effective Date. $100 million of
                the proceeds of the Second Lien Term Loan Facility will fund the initial capital
                needs of the Credit Bid Purchaser, and up to $85 million in proceeds will be used
                by the Credit Bid Purchaser to purchase the Credit Bid Acquired Assets.

            C. Further Transaction Proposals

        Although the Debtors have determined to pursue the Credit Bid Transaction and do not
currently have any actionable offers from any third parties for the sale of any of their assets, the
Debtors and Consenting Creditors will consider actionable proposals from third-parties for
transactions that would provide consideration to the Debtors’ estates in an amount that exceeds the
Credit Bid Amount plus the value of any other consideration provided by the Credit Bid Purchaser
to the Debtors pursuant to the Credit Bid Purchase Agreement and the Plan (the Credit Bid Amount
plus cash consideration is currently approximately $650 million, but for the avoidance of doubt,
the Credit Bid Amount may be increased up to the FLTL Claims Allowed Amount). The Debtors
will continue to consider such proposals pursuant to certain procedures as provided for in the
Disclosure Statement Motion (as defined beow). Such procedures provide, among other things,

                                                  6
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 18
                                                                   18 of
                                                                      of 80
                                                                         531



that in evaluating whether any third-party bids qualify as a Qualified Bid (as defined in the
Disclosure Statement Motion), the Debtors may consider several factors including, but not limited
to, (i) the amount and form of consideration of the purchase price, (ii) the assets included in or
excluded from the bid, (iii) the value to be provided to the Debtors and their estates, (iv) the
transaction structure and execution risk, and (v) the impact on all key stakeholders. Moreover, to
the extent the Debtors receive one or more Qualified Bids on or before the Bid Deadline, the
Debtors shall, no later than three (3) Business Days after the Bid Deadline, file with the Court a
notice of receipt of such Qualified Bid(s) and the Debtors’ proposed procedures for selecting the
highest or otherwise best bid, including, but not limited to, any procedures for submitting revised
bids and/or holding an auction to the extent the Debtors determine holding an auction will
maximize value to the Debtors’ estates. For the avoidance of doubt, the Credit Bid Purchaser (i)
shall be deemed a Qualified Bidder that is allowed to participate in any bidding and auction process
held by the Debtors and (ii) may increase the Credit Bid Amount of their proposal up to the FLTL
Claims Allowed Amount of $1,142,688,815.28 in principal plus any accrued but unpaid interest
or fees under the Prepetition FLTL Credit Agreement as of the Petition Date.

              D. Apache Transactions

       In accordance with the RSA, the Debtors, the Consenting Creditors, and Apache have
negotiated substantially final forms of the definitive documents providing for the transactions
contemplated by, or relating to, the Apache Term Sheet (the “Apache Definitive Documents”).
The documents comprising the Apache Definitive Documents are identified in that certain Apache
Term Sheet Implementation Agreement, dated January 1, 2021 by and between FWE and GOM
Shelf LLC (collectively, the “Fieldwood PSA Parties”), on one hand, and Apache Corporation,
Apache Shelf, Inc., Apache Deepwater LLC, and Apache Shelf Exploration LLC (collectively, the
“Apache PSA Parties”), on the other (the “Implementation Agreement”), a copy of which is
attached hereto as Exhibit G.

        The transactions contemplated under the Apache Definitive Documents (collectively, the
“Apache Transactions”) include, among other things, (i) FWE’s assumption of any executory
contracts 7 or unexpired leases required to implement the Apache Transactions pursuant to the Plan,
(ii) FWE’s conversion from a Delaware limited liability company to a Texas limited liability
company, (iii) FWE’s division into FWE I and FWE III in accordance with that certain Agreement
and Plan of Merger of Fieldwood Energy LLC into Fieldwood Energy I LLC and Fieldwood
Energy III LLC (the “Plan of Merger”), and (iv) the Credit Bid Purchaser, FWE I and FWE III’s
entry into various other agreements required to implement the Apache Transactions.

         Below are brief descriptions of FWE I, FWE III, and the Abandoned Properties. 8

         1.       FWE I

       FWE I will engage in the ownership and operation of the FWE I Assets, including
addressing the FWE I Obligations in accordance with applicable laws and regulations and the

7
 To the extent the Decommissioning Agreement (as discussed further below) is an executory contract, it will be
assumed and become the obligation of FWE I under the Plan of Merger.
8
  The descriptions of the assets and obligations in this section is for informational purposes only and are qualified in
their entirety by reference to the Apache Definitive Documents.


                                                           7
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 19
                                                                   19 of
                                                                      of 80
                                                                         531



Decommissioning Agreement. Certain of those FWE I Obligations will include the plugging and
abandonment of wells and the ultimate decommissioning of platforms in the Gulf of Mexico. FWE
I will be managed by the Sole Manager selected by the Debtors and Apache in accordance with
the Apache Term Sheet, the identity of which will be disclosed in the Plan Supplement before the
Confirmation Hearing. Operations of the properties will initially be performed by the Credit Bid
Purchaser under a transition services agreement (the “TSA”) between the parties. Upon
termination of the TSA, FWE I may elect, with the consent of Apache and in accordance with the
FWE I LLC Agreement, to have a third-party service provider operate the properties. The Credit
Bid Purchaser will employ the vast majority of Debtors’ employees post-Effective Date, which
will ensure that operations will continue to be handled during the TSA period by personnel with
the most experience with these properties. The TSA does not have a specified term, which means
it may continue in effect for an extended period of time; however, FWE I and the Credit Bid
Purchaser respectively hold a 90-day and a 180-day termination right. Cash flow generated from
operations of the Legacy Apache Properties will be used primarily to pay for costs under the TSA
and for plugging, abandonment, and decommissioning activities.

       In addition to the liquidity provided through cash flows from the Legacy Apache
Properties, (i) the Debtors will provide liquidity by capitalizing FWE I on the Effective Date with
$50 million minus the accrual of post-petition decommissioning spend by the Debtors on the
Legacy Apache Properties, which the Debtors project will be approximately $28 million, and (ii)
Apache will provide liquidity in the form of up to $400 million of proceeds to be used by FWE I
to perform plugging, abandonment, and decommissioning in accordance with the terms and
conditions of the Standby Credit Facility Documents.

       Under the Decommissioning Agreement, separate security has previously been provided
to Apache to secure plugging, abandonment, and decommissioning obligations associated with the
Apache Legacy Properties, including $238 million in funds in Trust A (defined below) and
approximately $498 million in letters of credit and surety bonds (payable in accordance with their
terms and conditions).

       2.      FWE III

        FWE III will be allocated and vested with those rights, assets, and properties relating to the
FWE III Oil & Gas Interests (collectively, the “FWE III Assets”) and those liabilities and
obligations relating to the FWE III Assets (the “FWE III Obligations”).

        On the Effective Date, FWE III will be capitalized with approximately $27 million of
capital through a combination of approximately (i) $5-15 million of cash on hand and (ii) $12-22
million in future cash commitments from the Credit Bid Purchaser, which the Debtors believe will
provide the Plan Administrator with adequate funding to operate the FWE III Assets, and satisfy
the FWE III Obligations, including the P&A Obligations associated with the FWE III Assets.
Moreover, an additional $9 million in outstanding security provided by surety bonds will be
available to backstop any of the FWE III Obligations (in accordance with the terms and conditions
of such bonds).

        Upon the Effective Date, the Plan Administrator, the identity of which will be disclosed
before the Confirmation Hearing, will serve as the sole officer, director, or manager of FWE III



                                                  8
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 20
                                                                  20 of
                                                                     of 80
                                                                        531



and perform all duties in accordance with the terms of the Plan and Plan Administrator Agreement,
a copy of which will be filed in the Plan Supplement.

        All of the membership interests of FWE I and FWE III will be owned by FWE Parent, as
reorganized on the Effective Date (“Post-Effective Date FWE Parent”). On the Effective Date,
one share of Post-Effective Date FWE Parent common stock (the “Single Share”) will be issued
to the Plan Administrator to hold in trust as custodian for the benefit of holders of Allowed General
Unsecured Claims and the Single Share will be recorded on the books and records maintained by
the Plan Administrator.

       3.      Abandoned Properties

        Immediately upon the occurrence of the Effective Date of the Plan, all of the Abandoned
Properties shall be automatically abandoned by the Debtors pursuant to sections 105(a) and 554(a)
of the Bankruptcy Code, without further notice or order of the Court.

        As further detailed in the Motion Of Debtors For Entry of Order (I) Approving Disclosure
Statement and Form and Manner of Notice of Disclosure Statement Hearing; (II) Establishing
Solicitation and Voting Procedures; (III) Scheduling Confirmation Hearing; (IV) Establishing
Notice and Objection Procedures for Confirmation of the Proposed Plan; (V) Approving Notice
and Objection Procedures for the Assumption of Executory Contracts and Unexpired Leases;
(VI) Approving Procedures for Objections to the Assignment and Transfer of Property of The
Estate; (VII) Approving Bid Submission Deadline and Procedures for Submission of Higher or
Better Bids; and (VIII) Granting Related Relief filed contemporaneously herewith (the
“Disclosure Statement Motion”), the Debtors will serve each Predecessor with a copy of the
order approving the Disclosure Statement and notice of the intent to abandon the Abandoned
Properties pursuant to the Plan by email, hand delivery, first class mail, and/or overnight mail.

        Since before the Petition Date, the Company has been in active discussions with BOEM
and BSEE, as well as representatives from the Department of Interior and Department of Justice,
to keep the U.S. government apprised of the Company’s restructuring efforts and plans with
respect to the Shelf Assets. The Company has continued discussions with BOEM and BSEE on a
regular basis regarding the structure of the Plan and progress on the Apache Definitive Documents
and has provided BOEM and BSEE with diligence on the Debtors’ various properties and leases.

        The Debtors have also been in regular discussions with several of the Predecessors
regarding the terms of their proposed restructuring, including the Debtors’ intent to abandon the
Abandoned Properties, and the Debtors are hopeful that such discussions will result in consensual
arrangements with many of their Predecessors. Moreover, following entry of the Confirmation
Order, the Debtors will work in good faith with each such Predecessor to ensure the smooth and
safe return of the Abandoned Properties to the Predecessors pursuant to the Plan.

            E. Recommendation

        The Debtors are confident that they can implement the Restructuring described above to
maximize stakeholder recoveries. Confirmation of the Plan will facilitate the reorganization and
recapitalization of the Debtors’ deepwater E&P business into a more streamlined efficient
enterprise that will help preserve the jobs of in excess of 1,000 employees and contractors and its


                                                 9
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 21
                                                                  21 of
                                                                     of 80
                                                                        531



ability to successfully exploit oil and gas assets in the Gulf of Mexico to generate revenue and pay
royalties to the U.S. Government. Moreover, the Debtors believe that the Plan does so in a manner
where the P&A Obligations will continue to be performed in a safe and responsible manner by the
relevant parties and will accelerate the decommissioning work performed on multiple wells,
pipelines, platforms, and other facilities and substantially reduce the number of platforms in the
Gulf of Mexico. For these reasons, among others, the Debtors strongly recommend that holders
of Claims entitled to vote on the Plan vote to accept the Plan.

           F. 363 Credit Bid Transaction

        Pursuant to section 5.2(c) of the Plan, (x) if the Plan is not confirmed on or before [●],
2021 (the “Confirmation Outside Date”) or (y) if the amount of Allowed Administrative
Expenses Claims at any time are projected by the Debtors to exceed $[●] (the next Business Day
after the occurrence of (x) or (y), the “Toggle Date”), then, with the consent of the Required DIP
Lenders and Requisite FLTL Lenders, the Debtors will:

         (i)   within 7 days of the Toggle Date, file a motion, in form and substance acceptable
               to the Debtors, the Required DIP Lenders and Requisite FLTL Lenders, seeking
               entry of an order of the Bankruptcy Court approving a credit bid sale transaction to
               the Credit Bid Purchaser (or another special purpose bidding entity formed by or at
               the direction of the Prepetition FLTL Lenders) pursuant to section 363 of the
               Bankruptcy Code on substantially the same terms as provided in the Credit Bid
               Purchase Agreement (which terms shall be acceptable to the Debtors, the Requisite
               FLTL Lenders, and Required DIP Lenders), free and clear of all Liens (other than
               Credit Bid Permitted Encumbrances (except in the case of Fieldwood U.A.
               Interests, which shall vest free and clear of all Liens)), Claims, charges, Interests,
               or other encumbrances, the Credit Bid Consent Rights and the Credit Bid
               Preferential Purchase Rights that are applicable to the Credit Bid Acquired
               Interests;

        (ii)   within 15 days of the Toggle Date and subject to the reasonable consent of Apache,
               the Requisite FLTL Lenders, the Required DIP Lenders and the Debtors, amend
               the Apache Definitive Documents as reasonably required to effectuate the 363
               Credit Bid Transaction to the Credit Bid Purchaser (or another special purpose
               bidding entity formed by or at the direction of the Prepetition FLTL Lenders);
               provided that no such actions shall require the Apache PSA Parties to alter the
               economics of the Apache Definitive Documents without the Apache PSA Parties’
               express written consent; and

       (iii)   within 35 days of the Toggle Date, obtain entry of an order of the Bankruptcy Court
               approving the 363 Credit Bid Transaction to the Credit Bid Purchaser (or another
               special purpose bidding entity formed by or at the direction of the Prepetition FLTL
               Lenders).

           G. Confirmation Timeline

       The Debtors seek to move forward expeditiously with the Solicitation of votes and a
hearing on confirmation of the Plan in an effort to minimize the continuing accrual of


                                                10
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 22
                                                                  22 of
                                                                     of 80
                                                                        531



administrative expenses. Accordingly, subject to the Bankruptcy Court’s approval, the Debtors
are proceeding on the following timeline with respect to the Disclosure Statement and the Plan:

 Hearing on Approval of Disclosure Statement         February 3, 2021 at 2:30 p.m. (prevailing
                                                                  Central Time)

            Plan Supplement Filing                     March 2, 2021 at 4:00 p.m. (prevailing
                                                                  Central Time)

                Voting Deadline                        March 9, 2021 at 4:00 p.m. (prevailing
                                                                  Central Time)

  Deadline to Object to Confirmation of Plan           March 9, 2021 at 4:00 p.m. (prevailing
                                                                  Central Time)

 Deadline to File (i) Reply to Plan Objection(s)                  March 12, 2021
 and (ii) Brief in Support of Plan Confirmation

             Confirmation Hearing                    March 17, 2021 at [●] (prevailing Central
                                                     Time), subject to the Bankruptcy Court’s
                                                                     schedule



           H. Inquiries

       If you have any questions about the packet of materials you have received, please contact
Prime Clerk LLC, the Debtors’ voting agent (the “Voting Agent”), at (855) 631-5346 (toll free
from the United States or Canada) or +1 (917) 460-0913 (international). Additional copies of the
Disclosure Statement, the Plan, or the Plan Supplement (when filed) are available upon written
request made to the Voting Agent at the following address:

                                Fieldwood Energy LLC Ballot Processing
                                         c/o Prime Clerk LLC
                                       One Grand Central Place
                                          60 East 42nd Street
                                        New York, NY 10165

        Copies of the Disclosure Statement, which includes the Plan and the Plan Supplement
(when       filed)   are    also    available   on     the    Voting     Agent’s    website,
https://cases.primeclerk.com/FieldwoodEnergy/. PLEASE DO NOT DIRECT INQUIRIES TO
THE BANKRUPTCY COURT.

                                        II.
                            SUMMARY OF PLAN TREATMENT

        The following table summarizes: (i) the treatment of Claims and Interests under the Plan;
(ii) which Classes are impaired by the Plan; (iii) which Classes are entitled to vote on the Plan;
and (iv) the estimated recoveries for holders of Claims and Interests. The table is qualified in its

                                                11
         Case
          Case20-33948
               20-33948 Document
                         Document775-2
                                  723 Filed
                                       Filed in
                                              in TXSB
                                                 TXSB on
                                                      on 01/01/21
                                                         01/21/21 Page
                                                                  Page 23
                                                                       23 of
                                                                          of 80
                                                                             531



    entirety by reference to the full text of the Plan. The Debtors may not have holders of Claims or
    Interests in a particular Class or Classes, and such Classes will be treated as set forth in Section 3.6
    of the Plan.

                                                                              Impairment
                                                                                                               Approx.
  Class and                                                                       and       Estimated Allowed
                                       Treatment                                                              Percentage
 Designation                                                                 Entitlement to      Amount
                                                                                                               Recovery
                                                                                  Vote
                 Except to the extent that a holder of an Allowed Other
                 Secured Claim agrees to a less favorable treatment, in
                 full and final satisfaction of such Allowed Other
                 Secured Claim, at the option of the Debtors or the Post-
                 Effective Date Debtors, such holder shall receive
                 either (i) payment in full in Cash, payable on the later
                                                                              Unimpaired
                 of the Effective Date and the date that is ten (10)
                 Business Days after the date on which such Other
                                                                                  (Not
       1         Secured Claim becomes an Allowed Other Secured
                                                                               entitled to
(Other Secured   Claim, in each case, or as soon as reasonably                                     [●]          100%
                                                                                  vote
   Claims)       practicable thereafter or (ii) such other treatment so as
                                                                                because
                 to render such holder’s Allowed Other Secured Claim
                                                                              presumed to
                 Unimpaired; provided, that any Allowed Other
                                                                                accept)
                 Secured Claim assumed by the Credit Bid Purchaser
                 pursuant to the Credit Bid Purchase Agreement shall
                 be solely an obligation of the Credit Bid Purchaser and
                 the holder of such assumed Claim shall have no
                 recourse to or Claim against the Debtors or Post-
                 Effective Date Debtors or their assets and properties.
                 Except to the extent that a holder of an Allowed
                 Priority Non-Tax Claim agrees to a less favorable
                 treatment, in full and final satisfaction of such Allowed
                 Priority Non-Tax Claim, each holder of an Allowed
                 Priority Non-Tax Claim shall, at the option of the
                 Debtors or the Post-Effective Date Debtors (i) be paid
                 in full in Cash or (ii) otherwise receive treatment          Unimpaired
                 consistent with the provisions of section 1129(a)(9) of
                 the Bankruptcy Code, payable on the later of the                 (Not
       2
                 Effective Date and the date that is ten (10) Business         entitled to
(Priority Non-                                                                                     [●]          100%
                 Days after the date on which such Priority Non-Tax               vote
 Tax Claims)
                 Claim becomes an Allowed Priority Non-Tax Claim,               because
                 in each case, or as soon as reasonably practicable           presumed to
                 thereafter; provided, that any Allowed Priority Non-           accept)
                 Tax Claim assumed by the Credit Bid Purchaser
                 pursuant to the Credit Bid Purchase Agreement shall
                 be solely an obligation of the Credit Bid Purchaser and
                 the holder of such assumed Claim shall have no
                 recourse to or Claim against the Debtors or Post-
                 Effective Date Debtors or their assets and properties.




                                                              12
          Case
           Case20-33948
                20-33948 Document
                          Document775-2
                                   723 Filed
                                        Filed in
                                               in TXSB
                                                  TXSB on
                                                       on 01/01/21
                                                          01/21/21 Page
                                                                   Page 24
                                                                        24 of
                                                                           of 80
                                                                              531



                                                                              Impairment
                                                                                                               Approx.
  Class and                                                                       and       Estimated Allowed
                                         Treatment                                                            Percentage
 Designation                                                                 Entitlement to      Amount
                                                                                                               Recovery
                                                                                  Vote
                                                                               Unimpaired
                  Except to the extent that a holder of an Allowed FLFO
                  Claim agrees to less favorable treatment, on the                 (Not
      3           Effective Date, in full and final satisfaction of such        entitled to
                                                                                                $138,599,082.31        100%
(FLFO Claims) 9   Allowed FLFO Claim, each holder of an Allowed                    vote
                  FLFO Claim shall receive its Pro Rata Share of the             because
                  FLFO Distribution.                                           presumed to
                                                                                 accept)
              Except to the extent that a holder of an Allowed FLTL
              Secured Claim agrees to less favorable treatment, on the
              Effective Date, in full and final satisfaction of and in
              exchange for such Allowed FLTL Secured Claim, each
                                                                                 Impaired
       4      holder of an Allowed FLTL Secured Claim shall receive:
(FLTL Secured its Pro Rata Share of 100% of the New Equity Interests,                           $426,000,000.00        100%
                                                                               (Entitled to
    Claims)   subject to dilution by (i) the Backstop Commitment
                                                                                  vote)
              Premium Equity Interests, (ii) the New Equity Interests
              issued upon the exercise of the New Money Warrants
              and (iii) by any New Equity Interests issued pursuant to
              the Management Incentive Plan.
              Except to the extent that a holder of an Allowed SLTL
              Claim agrees to less favorable treatment, on the Effective
              Date, in full and final satisfaction of and in exchange for        Impaired
       5      such Allowed SLTL Claim, each holder of an Allowed
                                                                                                $517,500,000.00        [●]%
(SLTL Claims) SLTL Claim shall receive, up to the full amount of such          (Entitled to
              holder’s Allowed SLTL Claim its Pro Rata Share of the               vote)
              General Unsecured Claims Cash Pool (along with Class
              6).
              Except to the extent that a holder of an Allowed General
              Unsecured Claim agrees to less favorable treatment, on
              the Effective Date, in full and final satisfaction of and in
              exchange for such Allowed General Unsecured Claim,
       6      each holder of an Allowed General Unsecured Claim                  Impaired
   (General   shall receive, up to the full amount of such holder’s
                                                                                                       [●]             [●]%
  Unsecured Allowed General Unsecured Claim:                                   (Entitled to
    Claims)   (i) its Pro Rata Share of the General Unsecured Claims              vote)
                   Cash Pool (along with Class 5); and
              (ii) its Pro Rata Share of the Residual Distributable
                   Value.




     9
       As of the date hereof, the Prepetition FLFO Administrative Agent and the Prepetition FLFO Lenders have not
     accepted or agreed to the terms or provisions of this Plan or any transaction contemplated by the Plan. All of the
     Prepetition FLFO Administrative Agent’s and the Prepetition FLFO Lenders’ claims, rights, and remedies are reserved
     for all purposes, including the right to obtain treatment and transaction structure different than as set forth in the
     Plan. The filing of the Plan by the Debtors does not and shall not constitute or imply the Prepetition FLFO
     Administrative Agent’s or the Prepetition FLFO Lenders’ consent to any term or provision of this Plan. For the
     avoidance of doubt, the filing of the Plan does not in any affect the ongoing consent rights of the DIP Lenders and the
     Consenting FLTL Lenders under the Restructuring Support Agreement.


                                                               13
           Case
            Case20-33948
                 20-33948 Document
                           Document775-2
                                    723 Filed
                                         Filed in
                                                in TXSB
                                                   TXSB on
                                                        on 01/01/21
                                                           01/21/21 Page
                                                                    Page 25
                                                                         25 of
                                                                            of 80
                                                                               531



                                                                               Impairment
                                                                                                                Approx.
  Class and                                                                        and       Estimated Allowed
                                         Treatment                                                             Percentage
 Designation                                                                  Entitlement to      Amount
                                                                                                                Recovery
                                                                                   Vote
                 On or after the Effective Date, all Intercompany Claims        Unimpaired
                 shall be adjusted, reinstated, or discharged in the
                 Debtors’ or Post-Effective Date Debtors’ discretion.               (Not
       7
                                                                                entitled to
(Intercompany                                                                                      N/A          0-100%
                                                                                   vote
    Claims)
                                                                                  because
                                                                               presumed to
                                                                                  accept)
               All Subordinated Securities Claims, if any, shall be              Impaired
               discharged, cancelled, released, and extinguished as of
       8       the Effective Date, and will be of no further force or             (Not
 (Subordinated effect, and holders of Allowed Subordinated Securities          entitled to
                                                                                                    $0            0%
   Securities Claims will not receive any distribution on account of              vote
    Claims)    such Allowed Subordinated Securities Claims.                     because
                                                                               deemed to
                                                                                 reject)
                 On the Effective Date, all Intercompany Interests, in the     Unimpaired
                 Debtors’ or the Post-Effective Date Debtors’ discretion,
                 shall be adjusted, reinstated, cancelled, or discharged in         (Not
       9
                 the Debtors’ or Post-Effective Date Debtors’ discretion.       entitled to
(Intercompany                                                                                      N/A          0-100%
                                                                                   vote
   Interests)
                                                                                  because
                                                                               presumed to
                                                                                  accept)
                                                                                 Impaired

                                                                                   (Not
       10        On the Effective Date, all Existing Equity Interests shall
                                                                                entitled to
(Existing Equity be canceled, released, and extinguished, and will be of                           N/A            0%
                                                                                   vote
   Interests)    no further force or effect.
                                                                                 because
                                                                                deemed to
                                                                                  reject)

                                                      III.
                                              OVERVIEW OF DEBTORS

                   A. General Overview

             The Company is one of the largest oil and gas exploration and production companies in the
     Gulf of Mexico (the “GOM”). Its portfolio of properties includes both deepwater assets and
     shallow water assets in the GOM. The majority of the Company’s shallow water assets were
     acquired in 2013 when the Company purchased the Legacy Apache Properties from Apache. The
     Company’s other shallow water assets were acquired through multiple other subsequent
     transactions including its 2014 acquisition of certain subsidiaries of SandRidge Energy, Inc.
     comprising its Gulf Coast division (the shallow water “Non-Apache Properties” and, together
     with the shallow water Legacy Apache Properties, the “Shelf Assets”). The Company
     subsequently acquired a number of deepwater assets in 2018 when it purchased Noble Energy,
     Inc.’s deepwater business (the “Noble Properties”) as part of its previous chapter 11 case
     discussed below. Since 2018, the Company has acquired additional interests in its Noble


                                                                14
        Case
         Case20-33948
              20-33948 Document
                        Document775-2
                                 723 Filed
                                      Filed in
                                             in TXSB
                                                TXSB on
                                                     on 01/01/21
                                                        01/21/21 Page
                                                                 Page 26
                                                                      26 of
                                                                         of 80
                                                                            531



Properties and additional deepwater assets to further diversify and complement its portfolio of
properties (together with the Noble Properties, the “Deepwater Assets”).

        Despite the Company’s strategic growth plans and diversified mix of properties, the
Company’s liquidity profile has become volatile in recent years, primarily as a result of (i) the
precipitous decline in crude oil prices starting in 2014 and then again in 2020 and (ii) more
recently, the effects of the COVID-19 pandemic. These adverse market conditions first led the
Company to restructure its balance sheet pursuant to prepackaged chapter 11 cases commenced in
February of 2018 – In re Fieldwood Energy LLC, Case No. 18-30649 (DRJ) (the “2018
Restructuring”). In April 2018, the Bankruptcy Court entered an order confirming the
Company’s plan of reorganization, pursuant to which the Company reduced its funded debt
obligations by more than $1.6 billion and acquired the Noble Properties. Since the 2018
Restructuring, however, worsening market conditions coupled with significant decommissioning
costs related to its Shelf Assets have resulted in reduced liquidity for the Company.

                B. Debtors’ Corporate History and Structure

           1.      Corporate History

        FWE was established in December 2012 as a portfolio company of certain energy funds of
Riverstone Holdings LLC, a private energy and power-focused investment firm. The Company
operates an energy business focused on the acquisition, development, exploration, and production
of oil and natural gas properties. The Company’s oil and natural gas assets consist primarily of
producing oil and natural gas properties located primarily offshore in the GOM. FWE was initially
capitalized in September 2013 in connection with the acquisition of shallow water assets from
Apache. 10 In early 2014, the Company completed an acquisition of certain GOM assets from
SandRidge Energy, Inc. 11 In connection with the 2018 Restructuring, the Company acquired the
deepwater Noble Properties. Since 2018, the Company has grown its deepwater asset base through
opportunistic acquisitions of additional deepwater assets and through a strategic exploration and
development program by drilling and completing five deepwater wells near facilities that FWE
either owns, operates, or to which is has a contractual right to flow-back. The combination of
FWE’s shallow water and deepwater properties makes it one of the largest oil and gas exploration
and production companies in the GOM by leasehold and operated production.

        The following map illustrates the locations of the Debtors’ oil and natural gas properties
as of the Petition Date:




10
     Debtor GOM Shelf LLC and FW GOM Pipeline, Inc. were also acquired in this acquisition.
11
  The following Debtors were acquired in this transaction: Dynamic Offshore Resources NS, LLC, Fieldwood Energy
Offshore LLC, Fieldwood Onshore LLC, Fieldwood SD Offshore LLC, Bandon Oil and Gas GP, LLC, Bandon Oil
and Gas, LP, Fieldwood Energy SP LLC, Galveston Bay Pipeline LLC, and Galveston Bay Processing LLC.


                                                        15
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 27
                                                                   27 of
                                                                      of 80
                                                                         531




       As of the Petition Date, the Debtors had over 300 operated platforms spread across more
than 1.5 million gross acres. The Debtors employ over 600 employees across their offices in
Houston, Lafayette, and offshore. In addition, the Debtors have approximately 500 additional
contractor personnel on their facilities on a daily basis. The Debtors maintain operational control
over greater than 95% of their diversified asset base. During the first three months of 2020, the
Debtors have produced, on average, 79,410 barrels of oil equivalent per day. In a typical year, the
Debtors spend significant sums on helicopters, drilling rigs, and various marine vessels to support
operations, including support for producing fields, workovers, recompletions, ongoing
maintenance, drilling, and decommissioning activities.

        Additionally, as one of the largest facility and well owners in the GOM, the Debtors have
an extensive well plugging and abandonment (“P&A”) and decommissioning programs. In recent
years, the Company has maintained a robust staff specifically dedicated to managing P&A and
decommissioning operations. The Company has performed a significant amount of well-P&A
work in-house using Company-owned spreads and specialized employees.

        The Company prides itself on being an industry leader in establishing vigorous systems to
manage its risk associated with offshore GOM operations effectively and is committed to
maintaining safe and efficient operations, with the paramount goal of protecting personnel, the
environment, and its facilities. To mitigate risk and support the Company’s daily operations, the
Company maintains a multi-tier insurance program. The Company’s current energy package
policy includes insurance coverage for pollution as well as third-party pollution liabilities, control
of well, and property damage from operational and windstorm risk. In addition, the Company
requires each of its contractors working on its facilities to maintain insurance coverage appropriate
for the services provided by the contractor and for the contractor to name the Company as an
additional insured under its insurance policies. The Company also requires each contractor to
provide contractual indemnification to the Company for bodily injury and property damage arising
out of the contractor’s operations.

               (a)     Regulation of Debtors’ Business and Decommissioning Obligations

        The Debtors are subject to the local, state, and federal laws and regulations in the
jurisdictions where they operate. The laws and regulations that impact the Debtors’ operations


                                                 16
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 28
                                                                  28 of
                                                                     of 80
                                                                        531



include those relating to the operation of wells and facilities (including platforms, pipelines, and
gathering or processing units), environmental protection, health and safety, and oil and natural gas
exploration and development.

        The Company’s operations in the GOM include a substantial number of oil and gas leases
situated in federal waters and issued by the U.S. Department of the Interior. Specifically, the
Company owns an interest in over 350 oil, gas, and mineral leases (“Oil and Gas Leases”), and
is party to hundreds of joint operating agreements, unitization agreements, and farm-out
agreements governing operations of the Oil and Gas Leases. Of their Oil and Gas Leases, almost
all are offshore leases granted by BOEM or its predecessor entity. Operation of the Oil and Gas
Leases is subject to regulation by BOEM and BSEE and requires compliance with the regulations
of these agencies and other federal regulations and orders issued pursuant to various federal laws,
including the Outer Continental Shelf Lands Act. For offshore operations, lessees must obtain
BOEM approval for exploration, development, and production plans before the commencement of
such operations. In addition to permits required from other agencies such as the U.S.
Environmental Protection Agency, lessees must obtain a permit from BSEE before commencing
drilling and must comply with regulations governing, among other things, engineering and
construction specifications for production facilities, safety procedures, P&A, and removal of
infrastructure facilities.

               (b)     Obligations to the United States Government

        To cover the various obligations of lessees and operators, such as the cost to plug and
abandon wells and decommission and remove platforms and pipelines at the end of production on
a lease, BOEM may require that lessees post surety bonds or other acceptable financial assurances
that such obligations will be met. As of the Petition Date, the Debtors have obtained approximately
$177 million in surety bonds for the benefit of BOEM to secure the Debtors’ P&A Obligations.

               (c)     Obligations to Third Parties

        Pursuant to BSEE regulations, the Company is jointly and severally liable for P&A
obligations with all current and prior owners in the chain of title for all P&A liability that was
accrued during the prior and current owners’ ownership period. Therefore, in connection with
many of its acquisitions of oil and gas properties, the Company has entered into various
arrangements with the sellers that establish how the decommissioning of the subject oil and gas
properties will be addressed in compliance with BOEM regulations, including (as discussed below)
with Apache.

        Obligations to Third Parties Excluding Apache. As stated, the Debtors have entered into
various arrangements with third parties concerning P&A Obligations assumed or that may arise
during the Debtors’ ownership of any acquired assets. In connection with the P&A Obligations
owed to third parties (other than Apache), the Debtors have obtained approximately $494 million
in surety bonds and maintain less than $10 million in escrow deposits, in each case for the benefit
of such third parties.

       Obligations to Apache. As explained above, the Company, in 2013, purchased the Legacy
Apache Properties from Apache and agreed to assume decommissioning liabilities for certain
properties that Apache previously owned and operated (the Legacy Apache Properties together


                                                17
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 29
                                                                  29 of
                                                                     of 80
                                                                        531



with the previously owned and operated properties, the “Apache Properties”). The Debtors’
decommissioning obligations owed to Apache with respect to the Apache Properties is governed
by the provisions of the Decommissioning Agreement.

        Under the Decommissioning Agreement, the Debtors must spend a minimum amount ($80
million through 2022) each year on decommissioning the Apache Properties or fund any shortfall
into a decommissioning trust for which Apache holds a beneficial interest (the “Trust A”). If the
Company fails to perform the decommissioning required by the government, Apache may perform
the decommissioning itself and seek reimbursement from the Company. If the Debtors fail to
reimburse Apache, then Apache may then seek reimbursement first from proceeds held in Trust A
and then from certain letters of credit or surety bonds issued for its benefit and described below.
Any amounts collected by Apache under the letters of credit or surety bonds, but not used for
reimbursement for Apache decommissioning work, are required to be deposited into Trust A.

        Under the Decommissioning Agreement and related documents, as amended in connection
with the 2018 Restructuring, the Company has provided Apache with the following security and
credit support relating to decommissioning of the Apache Properties:

               •     Approximately $498 million in letters of credit, provided that the Company has
                     the right to replace up to $150 million of letters of credit with an equivalent
                     amount of surety bonds in form and substance acceptable to Apache, which the
                     Debtors have exercised;

               •     The conveyance of net profits interests into Trust A; and

               •     A first-priority springing lien on the assets of Trust A upon certain conditions
                     being fulfilled, including the condition that the NPIs are recharacterized by the
                     Bankruptcy Court.

        Each month, the Debtors are obligated to deposit certain of the net profits generated by
certain of the Apache Properties into Trust A. Certain funds in Trust A may be reimbursed to the
Debtors if the Company certifies that the required minimum spend on decommissioning will be
performed in the applicable year, and other funds in Trust A continue to accrue until the amounts
therein equal approximately $300 million. As the Company decommissions the Apache
Properties, funds in Trust A and the amount of the letters of credit or surety bonds may be reduced
if they together exceed 125% of the Debtors’ remaining decommissioning liabilities under the
Decommissioning Agreement. Under FWE’s decommissioning program, the Company has
performed approximately $1.4 billion of decommissioning work, and has plugged and abandoned
over 1,100 wells, 400 pipelines, and 380 platforms and other facilities through year-end 2019.

       In connection with the 2018 Restructuring, the Debtors and Apache amended the
Decommissioning Agreement to its current form. Under the Apache Term Sheet, all of the
Debtors’ obligations under the Decommissioning Agreement will continue with FWE I.

               (d)      2018 Restructuring

       On February 15, 2018, the Debtors commenced the 2018 Restructuring in the Bankruptcy
Court. Pursuant to a pre-packaged plan of reorganization (the “2018 Plan”), the Debtors reduced


                                                  18
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 30
                                                                  30 of
                                                                     of 80
                                                                        531



their total funded debt from approximately $3.3 billion to $1.7 billion and reduced the Company’s
annual debt service obligations by up to $128 million.

        Additionally, pursuant to the 2018 Plan, the Company acquired the deepwater Noble
Properties for a purchase price of approximately $480 million, before customary adjustments. The
Noble Properties have increased the Company’s base of cash-flow positive assets meaningfully
and have provided accretive value to the Debtors through operational efficiencies and synergies
with the Debtors’ existing assets. The Company’s purchase of the Noble Properties was funded
by a portion of the proceeds from an equity rights offering to certain of the Company’s then-second
lien lenders (the “2018 Rights Offering”).

               (e)    Other Matters

         FWE is the indirect owner of economic interests in approximately 10% of Fieldwood
Mexico, with the remaining 90% owned primarily by Riverstone V FW Holdings, LLC and its
affiliates. Fieldwood Mexico is not a debtor in these Chapter 11 Cases. Fieldwood Mexico is the
designated operator of the undeveloped Ichalkil and Pokoch fields in Mexico and splits all costs
and profits equally with its Mexican partner, PetroBal, S.A.P.I. de C.V. FWE manages Fieldwood
Mexico and provides technical and administrative services to Fieldwood Mexico pursuant to
various service agreements on arm’s-length terms.

       2.      Debtors’ Corporate and Governance Structure

         FWE Parent is approximately 49% owned by Riverstone Holdings LLC and certain of its
affiliates, approximately 49.5% owned by its previous lenders and participants of the 2018 Rights
Offering, and approximately 1.5% owned by employees through settlements of restricted stock
units issued under a management incentive plan. Collectively, the Debtors consist of 14 entities
registered under the laws of Delaware, Texas, and Louisiana. The Debtors also own two wholly-
owned, non-debtor, domestic affiliates formed in Delaware and a wholly-owned, non-debtor, non-
domestic affiliate formed in the Netherlands. A chart illustrating the Debtors’ organizational
structure as of the Petition Date is annexed hereto as Exhibit H.

        All of the other Debtors are wholly-owned, direct or indirect subsidiaries of FWE Parent.
FWE Parent’s Board of Directors (the “Board”) functions as the Debtors’ governing board with
respect to the decision-making underlying these Chapter 11 Cases. The Board has seven members.
Before July 8, 2020, G.M. McCarroll served as Chairman of the Board. He was also the Debtors’
President and Chief Executive Officer. G.M. McCarroll resigned his positions effective as of July
1, 2020 pursuant to a separation agreement with the Company and continues to provide transition
services at the Board’s direction under a consulting agreement. The Board thereafter resolved to
create an Executive Leadership Team (the “ELT”) in lieu of appointing an individual to replace
G.M. McCarroll as Chief Executive Officer. The Board has appointed Michael T. Dane (Senior
Vice President and Chief Financial Officer), Thomas R. Lamme (Senior Vice President and
General Counsel), and Gary D. Mitchell (Senior Vice President – Production) to serve on the ELT.
In addition, the Board formed the Leadership Transition Committee (the “LTC”) to oversee the
ELT. Jim LaChance, an independent director, who joined the Board on July 8, 2020, is the sole
member of the LTC.




                                                19
      Case
       Case20-33948
            20-33948 Document
                      Document775-2
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                                    Filed in
                                           in TXSB
                                              TXSB on
                                                   on 01/01/21
                                                      01/21/21 Page
                                                               Page 31
                                                                    31 of
                                                                       of 80
                                                                          531



        Each Debtor other than FWE Parent is either a member-managed or manager-managed
limited liability company or a corporation with a one-person or two-person board of directors, with
the exception of one partnership entity that is managed by its general partner. FWE Parent’s Board
consists of the following seven directors:

                    Name                       Position
                    Mark S. Boyadjian          Independent Director
                    Jason Dillow               Director
                    Bartow Jones               Director
                    Jim LaChance 12            Independent Director
                    N. John Lancaster          Director
                    Jason Mudrick              Director
                    James H. Painter           Independent Director

      The Company has highly experienced managers for its operations. The Company’s core
management team consists of the following individuals:

     Name                     Position
     Michael T. Dane          Senior Vice President and Chief Financial Officer
     Thomas R. Lamme          Senior Vice President, General Counsel, and Secretary
     Gary D. Mitchell         Senior Vice President, Production
     Gary Janik               Senior Vice President, Reservoir Engineering, Acquisitions and
                              Mexico
     John Seeger              Senior Vice President, Operations
     John Smith               Senior Vice President, Business Development

             C. Equity Ownership

          The following entities own, directly or indirectly, 10% or more of equity interests in FWE
Parent:

          a) Certain funds sponsored by, or affiliated with, Riverstone Holdings LLC collectively
             own approximately 49% of common stock in FWE Parent (the “Common Stock”).

          b) Certain funds sponsored by, or affiliated with, Bardin Hill Investment Partners LP
             collectively own approximately 12% of the Common Stock.

          c) Certain funds sponsored by, or affiliated with, Mudrick Capital Management LP
             collectively own approximately 11% of the Common Stock.

          Each of the Debtors other than FWE Parent is directly or indirectly wholly-owned by FWE
Parent.




12
  Jim LaChance was appointed a director in July 2020. The terms of his engagement are governed by that certain
Independent Director Agreement, dated July 12, 2020.


                                                     20
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
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                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 32
                                                                   32 of
                                                                      of 80
                                                                         531



             D. Prepetition Indebtedness

       Immediately before the Petition Date, the Debtors’ funded prepetition indebtedness was
approximately $1,800 million, consisting of the following:

                 Facility                         Maturity            Principal
                 Fieldwood - First Lien Debt Obligations
                 First Lien First Out Term Loans 12/31/2021           $139 million
                 First Lien Last Out Term Loans 04/11/2022            $1,143 million
                 Fieldwood - Second Lien Debt Obligations
                 Second Lien Term Loans           04/11/2023          $518 million
                 Total Funded Debt                                    $1,800 million

       The below description of the Debtors’ prepetition indebtedness is for informational
purposes only and is qualified in its entirety by reference to the specific agreements evidencing
such indebtedness.

        1.      First Lien First Out Credit Agreement

         Certain of the Debtors are parties to that certain Second Amended and Restated Credit
Agreement-First Out, dated as of June 28, 2019 (as amended, restated, amended and restated,
supplemented, or otherwise modified before the date hereof, the “Prepetition FLFO Credit
Agreement”) between FWE, as borrower, FWE Parent, as holdings, Goldman Sachs Bank USA,
as administrative agent (the “Prepetition FLFO Administrative Agent”), Cantor Fitzgerald
Securities (“CFS”), as collateral agent (in its capacity as such, the “Prepetition FLFO Collateral
Agent”), and the Lenders (as defined therein) from time to time party thereto (the “Prepetition
FLFO Lenders”). The Prepetition FLFO Credit Agreement establishes (i) a term loan credit
facility that matures on December 31, 2021, pursuant to which an aggregate principal amount of
approximately $50 million in term loans (the “Initial FLFO Term Loans”) are outstanding, (ii) a
multi-draw term loan credit facility that matures on December, 31, 2021, pursuant to which an
aggregate principal amount of approximately $50 million in term loans (together with the Initial
FLFO Term Loans, the “FLFO Term Loans”) are outstanding, and (iii) a revolving credit facility
that matures on December 31, 2021, pursuant to which (a) an aggregate principal amount of
approximately $17 million in revolving loans is outstanding and (b) a reimbursement obligation in
favor of the Prepetition FLFO Administrative Agent with respect to approximately $22 million in
drawn letters of credit is outstanding, plus, in each case, any applicable interest, fees, and other
amounts.

        Certain of the Debtors guaranteed the Obligations (as defined in the Prepetition FLFO
Credit Agreement (the “FLFO Obligations”)) of FWE pursuant to that certain Amended and
Restated Guarantee Agreement, dated as of April 11, 2018, among FWE, FWE Parent, certain
other Debtors as guarantors (collectively, with FWE Parent, the “FLFO Guarantors”) and the
FLFO Collateral Agent. In order to secure the FLFO Obligations and the guarantee provided with
respect to the FLFO Obligations, each of FWE and the FLFO Guarantors granted, or confirmed
their continuing grant of, a first priority security interest in, and lien upon, substantially all of their
material personal property, subject to customary exceptions, pursuant to that certain Second
Amended and Restated Collateral Agreement, dated as of June 28, 2019 (as amended, restated,
amended and restated, supplemented, or otherwise modified before the date hereof, the “FLFO

                                                    21
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
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                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 33
                                                                   33 of
                                                                      of 80
                                                                         531



Collateral Agreement”) among FWE, the FLFO Guarantors, the Prepetition FLFO
Administrative Agent, and the Prepetition FLFO Collateral Agent. In addition to the liens and
security interests granted pursuant to the Prepetition FLFO Collateral Agreement, FWE and certain
of the FLFO Guarantors granted, or confirmed their continuing grant of, first priority Mortgages
(as defined in the FLFO Credit Agreement, the “FLFO Mortgages”) on certain oil and gas
properties located in Alabama, Louisiana, Mississippi, and Texas, and otherwise in jurisdictions
where recordation with BOEM was required.

        2.      First Lien Term Loan Agreement

        Certain of the Debtors are parties to that certain Amended and Restated First Lien Credit
Agreement, dated as of April 11, 2018 (as amended, restated, amended and restated, supplemented,
or otherwise modified from time to time, the “Prepetition FLTL Credit Agreement”), among
FWE, as borrower, FWE Parent, as holdings, the lenders from time to time party thereto (the
“Prepetition FLTL Lenders” and, together with the Prepetition FLFO Lenders, the “Prepetition
First Lien Lenders”), and Cantor Fitzgerald Securities, as administrative agent and collateral
agent (the “Prepetition FLTL Administrative Agent” and, together with the Prepetition FLFO
Administrative Agent and the Prepetition FLFO Collateral Agent, the “Prepetition First Lien
Agents”). As of the Petition Date, the aggregate amount outstanding under the FLTL Credit
Agreement was approximately $1,142,688,815.28, plus any unpaid interest, fees, premiums, or
other amounts due thereunder.

        Certain of the Debtors guaranteed the Obligations (as defined in the FLTL Credit
Agreement (the “FLTL Obligations”)) of FWE pursuant to that certain Amended and Restated
Guarantee Agreement, dated as of April 11, 2018, among FWE, FWE Parent, certain other Debtors
as guarantors (collectively, with FWE Parent, the “FLTL Guarantors”) and the FLTL
Administrative Agent. In order to secure the FLTL Obligations and the guarantee provided with
respect to the FLTL Obligations, each of FWE and the FLTL Guarantors granted, or confirmed
their continuing grant of, a first priority security interest in, and lien upon, substantially all of their
material personal property, subject to customary exceptions, pursuant to that certain Amended and
Restated Collateral Agreement, dated as of April 11, 2018 (as amended, restated, amended and
restated, supplemented, or otherwise modified before the date hereof, the “FLTL Collateral
Agreement”, and, together with the FLFO Collateral Agreement, the “First Lien Collateral
Agreements”) among FWE, the FLTL Guarantors and the FLTL Administrative Agent, as
collateral agent. In addition to the liens and security interests granted pursuant to the FLTL
Collateral Agreement, FWE and certain of the FLTL Guarantors granted, or confirmed their
continuing grant of, first priority Mortgages (as defined in the FLTL Credit Agreement and,
together with the FLFO Mortgages, the “First Lien Mortgages”, the First Lien Mortgages,
together with the First Lien Collateral Agreements and any other “Security Documents” as defined
in the Prepetition FLFO Credit Agreement and Prepetition FLTL Credit Agreement, respectively,
the “First Lien Security Documents”) on certain oil and gas properties located in Alabama,
Louisiana, Mississippi, and Texas, and otherwise in jurisdictions where recordation with BOEM
was required. The security interest and lien securing the FLTL Obligations is pari passu with the
security interest and lien securing the FLFO Obligations; however, pursuant to the terms of the
Pari Passu Intercreditor Agreement (as defined below), any proceeds from the collateral securing
the FLFO Obligations and the FLTL Obligations are required to be applied first towards the
repayment of the FLFO Obligations and, thereafter, towards the repayment of the FLTL
Obligations.

                                                    22
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      Case20-33948
           20-33948 Document
                     Document775-2
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                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 34
                                                                   34 of
                                                                      of 80
                                                                         531



       3.      Second Lien Term Loan Agreement

        Certain of the Debtors are parties to that certain Amended and Restated Second Lien Credit
Agreement, dated as of April 11, 2018 (as amended, restated, amended and restated, supplemented,
or otherwise modified from time to time, the “Prepetition SLTL Credit Agreement” and,
together with the Prepetition FLFO Credit Agreement and Prepetition FLTL Credit Agreement,
the “Prepetition Credit Agreements”), among FWE, as borrower, FWE Parent, as holdings, the
lenders from time to time party thereto (the “Prepetition SLTL Lenders” and, together with the
Prepetition First Lien Lenders, the “Prepetition Lenders”), and Cortland Capital Market Services
LLC, as administrative agent and collateral agent (the “Prepetition SLTL Administrative
Agent” and, together with the Prepetition First Lien Agents, the “Prepetition Administrative
Agents”). As of the Petition Date, the aggregate amount outstanding under the Prepetition SLTL
Credit Agreement was approximately $517,500,000, plus any unpaid interest, fees, premiums, or
other amounts due thereunder (collectively, the “SLTL Claims”).

        Certain of the Debtors guaranteed the Obligations (as defined in the SLTL Credit
Agreement (the “SLTL Obligations”)) of FWE pursuant to that certain Amended and Restated
Guarantee Agreement, dated as of April 11, 2018, among FWE, FWE Parent, certain other Debtors
as guarantors (collectively, with FWE Parent, the “SLTL Guarantors”) and the Prepetition SLTL
Administrative Agent. In order to secure the SLTL Obligations and the guarantee provided with
respect to the SLTL Obligations, each of FWE and the SLTL Guarantors granted, or confirmed
their continuing grant of, a second priority security interest in, and lien upon, substantially all of
their material personal property, subject to customary exceptions, pursuant to that certain
Amended and Restated Collateral Agreement, dated as of April 11, 2018 (as amended, restated,
amended and restated, supplemented, or otherwise modified before the date hereof, the “SLTL
Collateral Agreement”) among FWE, the SLTL Guarantors and the SLTL Administrative Agent,
as collateral agent. In addition to the liens and security interests granted pursuant to the SLTL
Collateral Agreement, FWE and certain of the SLTL Guarantors granted, or confirmed their
continuing grant of, second priority Mortgages (as defined in the SLTL Credit Agreement, and,
together with the First Lien Mortgages, the “Mortgages”, the Mortgages, together with the First
Lien Security Documents and any other “Security Documents” as defined in the SLTL Credit
Agreement, the “Security Documents”) on certain oil and gas properties located in Alabama,
Louisiana, Mississippi, and Texas, and otherwise in jurisdictions where recordation with BOEM
was required.

       4.      Intercreditor Agreements

        The relative contractual rights of the Prepetition FLFO Lenders, on the one hand, and the
Prepetition FLTL Lenders, on the other hand, are governed by that certain Pari Passu Intercreditor
Agreement, dated as of April 11, 2018 (as amended, restated, amended and restated, supplemented,
or otherwise modified from time to time, the “Pari Passu Intercreditor Agreement”). The Pari
Passu Intercreditor Agreement controls the rights and obligations as among the holders of the
FLFO Obligations (the “Prepetition FLFO Secured Parties”), the holders of the FLTL
Obligations (together with the Prepetition FLFO Secured Parties, the “Prepetition First Lien
Credit Agreement Secured Parties”) and certain other providers of Secured Hedge Agreements
(as defined in the Pari Passu Intercreditor Agreement) with respect to, among other things, priority
of security over collateral, matters of debtor-in-possession financing, the use of cash collateral,
and adequate protection.

                                                 23
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
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                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 35
                                                                  35 of
                                                                     of 80
                                                                        531



        The relative contractual rights of the Prepetition First Lien Credit Agreement Secured
Parties, on the one hand, and holders of the SLTL Obligations (the “Prepetition Second Lien
Secured Parties”), on the other hand, are governed by that certain Intercreditor Agreement, dated
as of April 11, 2018 (as amended, restated, amended and restated, supplemented, or otherwise
modified from time to time, the “Senior Intercreditor Agreement”). The Senior Intercreditor
Agreement controls the rights and obligations of the Prepetition First Lien Credit Agreement
Secured Parties and the Prepetition Second Lien Secured Parties with respect to, among other
things, priority of security over collateral, matters of debtor-in-possession financing, the use of
cash collateral, and adequate protection.

       5.      DB Receivables Facility

       Certain of the Debtors and a non-Debtor affiliate are parties to that certain Master
Receivables Purchase Agreement dated as of December 23, 2019 among FWE, as originator, FW
FinCo LLC, as seller, Deutsche Bank AG New York Branch, as administrative agent, Deutsche
Bank Trust Company Americas, as a purchaser and the other purchasers party thereto (the “DB
Receivables Facility”). As of the Petition Date, there were no amounts due and owing on the DB
Receivables Facility. Subsequent to the Petition Date, the DB Receivables Facility terminated on
its own terms.

       6.      Surety Bonds

         Before the Petition Date, the Company had approximately $1.165 billion in surety bonds
that it maintains to satisfy various contractual and regulatory requirements. As stated above, this
includes approximately $177 million in surety bonds for the benefit of BOEM. This also includes
$498 million in surety bonds and contracts similar to surety bonds, which either have been issued
directly to Apache on the Company’s behalf or have been issued to Deutsche Bank as collateral
for an equal dollar amount of letters of credit that Deutsche Bank has issued to Apache on the
Company’s behalf.

       7.      Unsecured Claims

        Further, in the ordinary course of their business, the Debtors incur trade debt with
numerous vendors in connection with their operations. However, a significant number of the
Debtors’ prepetition trade obligations have been satisfied by the Debtors in accordance with first
day relief granted by the Bankruptcy Court (as described below).

       8.      Intercompany Claims

        In the ordinary course of business, intercompany transactions (collectively,
“Intercompany Transactions,” and each intercompany receivable and payable generated
pursuant to an Intercompany Transaction, an “Intercompany Claim”) occur when, among other
things, (i) FWE receives funds on behalf of Debtor and non-Debtor affiliates and managed entities
(the “Non-Debtor Affiliates”), (ii) FWE makes payments and disbursements on behalf of Debtor
and Non-Debtor Affiliates, and (iii) funds are transferred between and among the Debtors and the
Non-Debtor Affiliates (primarily between FWE, Fieldwood Mexico, and SP 49 Pipeline LLC).

        Debtor to Debtor Intercompany Transactions and Intercompany Claims are not generally
settled by actual transfers of cash among the Debtors. Instead, the Debtors track all Intercompany

                                                24
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      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
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                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 36
                                                                   36 of
                                                                      of 80
                                                                         531



Transactions and Intercompany Claims electronically in their centralized accounting system, the
results of which are recorded concurrently on the applicable Debtor’s balance sheets and regularly
reconciled. The accounting system requires that all general ledger entries be balanced at the legal-
entity level and, therefore, when the accounting system enters an intercompany receivable on one
entity’s balance sheet, it also automatically creates a corresponding intercompany payable on the
applicable affiliate’s balance sheet. This results in a net balance of zero when consolidating all
intercompany accounts. Additional detail regarding Intercompany Transactions and Intercompany
Claims is set forth in the Cash Management Motion (defined below).

                                      IV.
                             KEY EVENTS LEADING TO
                        COMMENCEMENT OF CHAPTER 11 CASES

        The Company proactively took a number of steps before filing these Chapter 11 Cases in
an effort to deleverage its balance sheet, bolster liquidity, address near-term interest payments, and
maximize value for stakeholders. The Company, however, has continued to face a challenging
commodity price environment, which has constrained its liquidity and affected operations.
Ultimately, the precipitous decline in oil prices from the combined effect of the COVID-19
pandemic and general deterioration of commodity prices forced the Company to pursue
restructuring transactions.

           A. Cost Reduction

        The Company commenced production shut-ins during late March 2020 in response to the
deteriorating commodity price environment. Initially, twenty-nine (29) low-margin shelf fields
were shut-in, resulting in a savings of approximately $5 million in monthly operating expenses.
The Company, thereafter, commenced a broad shut-in during late April 2020 due to the continued
oil price collapse. The Company effectively shut-in all operated production fields other than eight
(8) dry gas fields and one shelf field. For deepwater assets, all properties except one non-operated
field were shut-in from late April 2020 to June 2020. The Company was able to limit its operating
expenses during the shut-in period.

       In addition to the shut-ins, the Company has implemented other cost savings measures,
such as a reduction in force, salary reductions for certain staff and contractors, including a 10%
salary cut for corporate employees earning more than $150,000 per year, elimination of the
matching program under the 401(k) plan for employees, and stricter vendor management practices.

           B. Vendor and Surety Issues

         As a result of the foregoing, before the Petition Date, several of the Company’s vendors
and surety providers took action, or threatened to take action, to secure payments of alleged
amounts that are either due and owing or may become due and owing in the future. For example,
in the months leading up to the Petition Date, the Company received numerous demands from
several of its surety providers requesting that the Company either release them from their bonds,
or, in the alternative, post collateral in the amounts of their unreleased bonds. In fact, after sending
one or more demand letters, two sureties filed lawsuits against the Company. In one lawsuit, filed
in the United States District Court for the Southern District of Texas (Houston Division), Travelers
Casualty and Surety Company of America (“Travelers”) alleges that defendants have breached


                                                  25
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 37
                                                                   37 of
                                                                      of 80
                                                                         531



certain obligations under an indemnity agreement and seeks, among other relief, an injunction
requiring the defendants to either release Travelers from certain performance bonds or provide
collateral to secure defendants’ obligations under the indemnity agreements in the amount of
$60,000,000. FWE is also a defendant in a lawsuit filed by Aspen American Insurance Company
(“Aspen”) in the District Court of Harris County, Texas. Aspen’s complaint alleges FWE
breached its contract with Aspen by failing to post collateral sufficient to protect Aspen in the
event of claims being made under certain performance bonds issued by Aspen. Aspen seeks
monetary damages as a result of the alleged breach. The Debtors have filed answers to both
lawsuits, contesting (among other allegations) that they breached the indemnity agreements and
that the surety providers are entitled to any equitable relief such as an injunction. Both lawsuits
are currently stayed by the automatic stay.

           C. Prepetition Restructuring Efforts

        Before filing these Chapter 11 Cases, the Company took several steps to attempt to address
its capital structure and liquidity needs without a comprehensive in-court restructuring. Despite
these efforts, it became apparent that the Debtors’ revenue and cash flow generating capacity
would not be sufficient to service their outstanding debt on a go-forward basis and to maintain the
liquidity necessary to operate their businesses and preserve long-term viability and enterprise
value.

         As a result, the Company determined that a restructuring transaction was necessary to
position itself for long term success. The Debtors retained Weil, Gotshal & Manges LLP (“Weil”),
as restructuring counsel, and Houlihan, as investment banker, to explore strategic alternatives and
assist in developing and implementing a comprehensive plan to restructure its balance sheet. The
Debtors also retained AlixPartners, LLP (“AlixPartners”), as financial advisor, to assist in
preparing their operations for a potential chapter 11 restructuring as part of their contingency plan.

         As discussions regarding a potential restructuring transaction progressed, it became
necessary for the Company to seek forbearances under its Credit Agreements to provide additional
time for negotiations over potential restructuring transactions to develop. On May 7, 2020, the
Company entered into certain Temporary Limited Forbearance and Amendment agreements
(collectively, the “TLF Agreements”) with consenting lenders for each Prepetition Credit
Agreement (collectively, the “TLF Consenting Lenders”). The TLF Agreements required the
TLF Consenting Lenders to forbear from exercising their respective rights and remedies under the
Credit Agreements with respect to certain defaults by the Company under the various Credit
Agreements. Among the defaults were the Company’s failure to deliver a Conforming Audit
Opinion (as defined under the TLF Agreements) to the FLFO Administrative Agent, the
Company’s failure to satisfy its reimbursement obligations with respect to payment under a certain
letter of credit in accordance with the FLFO Credit Agreement, and the Company’s failure to make
certain interest payments under the Credit Agreements, including interest payments that became
due on April 30, 2020 in the amount of approximately $1.3 million under the FLFO Credit
Agreement, $20 million under the FLTL Credit Agreement, and $11.7 million under the SLTL
Credit Agreement.

       As part of the TLF Consenting Lenders’ agreement to forbear from exercising their
contractual rights with respect to defaults under the Credit Agreements, the TLF Consenting
Lenders and the Company agreed to certain forbearance milestones. The milestones were intended

                                                 26
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 38
                                                                  38 of
                                                                     of 80
                                                                        531



to help facilitate negotiations to ensure continued progress toward a potential restructuring
transaction. The milestones included, among other things, the Company’s requirement to deliver
to the TLF Consenting Lenders, and/or their agents or advisors by dates certain, a strategic monthly
operating plan, a comprehensive restructuring term sheet, a 13-week consolidated weekly cash
flow forecast, and a DIP budget.

        Thereafter, the Company and TLF Consenting Lenders executed four amendments to the
TLF Agreements, including to extend the forbearance periods thereunder, with the most recent
amendments extending the forbearance periods to July 31, 2020. The forbearance periods were
further extended by email leading up to the Petition Date.

        During the months leading up to the Petition Date, the Company worked alongside its
lenders and other stakeholders to formulate strategic alternatives. These efforts culminated in an
agreement with Apache on the framework for a restructuring with respect to the Legacy Apache
Properties. The framework is memorialized in the Apache Term Sheet, executed on July 31, 2020.
The Apache Term Sheet is attached as Exhibit B to the Restructuring Term Sheet, which is
annexed to Exhibit A of the Declaration of Michael Dane in Support of Debtors’ Chapter 11
Petitions and First Day Relief [Docket No. 29] (the “First Day Declaration”). A summary of the
Apache Term Sheet is set forth in paragraphs 8-11 of the First Day Declaration. As explained
above, given that the P&A Obligations related to the Legacy Apache Properties are among the
Company’s most significant liabilities, the terms set forth under the Apache Term Sheet form the
cornerstone of the Debtors’ restructuring and provide a resolution for one of the Debtors’ most
significant liabilities.

        After extensive negotiations, the Company reached an agreement with Apache and the Ad
Hoc Group of Secured Lenders on the Restructuring Term Sheet and the RSA, both of which
further refined the terms of the Debtors’ reorganization. The RSA, which was executed on August
4, 2020, is attached to the First Day Declaration as Exhibit A, with the Restructuring Term Sheet
attached thereto as Exhibit A. A summary of the Restructuring Term Sheet and RSA is set forth
in paragraphs 12-13 of the First Day Declaration. With the framework for the Debtors’
restructuring in place, the Debtors filed for chapter 11.

                                        V.
                           OVERVIEW OF CHAPTER 11 CASES

           A. Commencement of Chapter 11 Cases and First Day Motions

       On August 3, 2020 and August 4, 2020, the Debtors commenced their Chapter 11 Cases.
The Debtors continue managing their properties and operating their business as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

           B. First Day Motions

        On August 4, 2020, the Debtors filed multiple motions seeking various relief from the
Bankruptcy Court to enable the Debtors to facilitate a smooth transition into chapter 11 and
minimize any disruptions to the Debtors’ operations (the “First Day Motions”). The Bankruptcy
Court granted substantially all of the relief requested in the First Day Motions and entered various
orders authorizing the Debtors to, among other things:


                                                27
      Case
       Case20-33948
            20-33948 Document
                      Document775-2
                               723 Filed
                                    Filed in
                                           in TXSB
                                              TXSB on
                                                   on 01/01/21
                                                      01/21/21 Page
                                                               Page 39
                                                                    39 of
                                                                       of 80
                                                                          531



          •       Restrict certain transfers of equity interests in the Debtors (the “NOL Motion”)
                  [Docket Nos. 50, 327];

          •       Pay certain prepetition taxes and assessments [Docket No. 60];

          •       Continue paying employee wages and benefits [Docket No. 51];

          •       Continue insurance and surety bond programs (the “Insurance Motion”) [Docket
                  Nos. 152, 340];

          •       Obtain postpetition financing and use of cash collateral (the “DIP Motion”)
                  [Docket Nos. 58, 346];

          •       Continue the use of the Debtors’ cash management system, bank accounts, and
                  business forms (the “Cash Management Motion”) [Docket Nos. 49, 341];

          •       Pay certain prepetition interest owner obligations, joint interest billings, and
                  operating expenses (the “JIB/Critical Vendor Motion”) [Docket Nos. 62, 342];
                  and

          •       Establish procedures for utility companies to request adequate assurance of
                  payment and to prohibit utility companies from altering or discontinuing service
                  [Docket No. 61].

               C. Procedural Motions and Retention of Professionals

       The Debtors have filed various motions regarding procedural issues that are common to
chapter 11 cases of similar size and complexity as these Chapter 11 Cases. The Bankruptcy Court
granted substantially all of the relief request in such motions and entered various orders authorizing
the Debtors to, among other things:

          •       Jointly administer the Debtors’ estates [Docket No. 17];

          •       File a consolidated creditor matrix and list of 30 largest unsecured creditors and
                  modify the requirement to file a list of equity security holders [Docket No. 57];

          •       Establish procedures for the interim compensation and reimbursement of expenses
                  of chapter 11 professionals [Docket No. 367];

          •       Employ professionals utilized by the Debtors in the ordinary course of business
                  [Docket No. 293];

          •       Extend the deadline to remove civil actions [Docket No. 631];

          •       Extend the deadline to file Bankruptcy Rule 2015.3 reports [Docket No. 638]; and




                                                  28
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         Case20-33948
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                        Document775-2
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                                                TXSB on
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                                                        01/21/21 Page
                                                                 Page 40
                                                                      40 of
                                                                         of 80
                                                                            531



           •       Extend the deadline to assume or reject unexpired leases of nonresidential real
                   property [Docket No. 712] 13

        The Debtors filed several applications and obtained authority to retain various
professionals to assist the Debtors in carrying out their duties under the Bankruptcy Code during
the Chapter 11 Cases. These professionals include (i) AlixPartners; (ii) Houlihan, as investment
banker; (iii) Weil, as counsel to the Debtors; (iv) Jones Walker LLP; (v) Ryan LLC 14; and (vi)
Prime Clerk LLC, as claims, noticing, and solicitation agent. The Bankruptcy Court has entered
orders authorizing the retention of certain of these professionals [Docket Nos. 412 (AlixPartners),
530 (Houlihan), 355 (Weil), 411 (Jones Walker), and 19 (Prime Clerk)]. The Debtors reserve the
right to seek and retain additional professionals. As of the date hereof, 29 professionals utilized
in the ordinary course filed declarations regarding their retention by the Debtors.

               D. Appointment of Creditors’ Committee

        On August 18, 2020, the Creditors’ Committee was appointed by the Office of the United
States Trustee for Region 7 (the “U.S. Trustee”) pursuant to section 1102 of the Bankruptcy Code
to represent the interests of unsecured creditors in these Chapter 11 Cases [Docket No. 183]. The
original members of the Creditors’ Committee included (i) Oceaneering International, Inc.; (ii)
Subsea 7 US LLC; (iii) Halliburton Energy Services, Inc.; (iv) TETRA Technologies, Inc.; and
(v) Workstrings International, L.L.C. The Creditors’ Committee has retained Stroock & Stroock
& Lavan LLP (“Stroock”) and Cole Schotz P.C. (“Cole Schotz”) as co-counsel, and Conway
MacKenzie, LLC (“Conway”) as its financial advisor. The Bankruptcy Court entered orders
authorizing the Creditors’ Committee’s retention of such professionals [Docket Nos. 471
(Stroock), 470 (Cole Schotz), and 472 (Conway)]. The Creditors Committee is currently
comprised of: (i) TETRA Technologies, Inc. and (ii) Superior Energy Services, Inc.

               E. Final Hearing on Vendor, Insurance, Cash Management, and DIP Motion

       On August 22, 2020, the Bankruptcy Court entered the Order Continuing the Hearing on
the Motions [Docket No. 221], which continued the hearing on the Insurance Motion, Cash
Management Motion, JIB/Critical Vendor Motion, NOL Motion, and DIP Motion to consider
granting the requested relief on a final basis for August 24, 2020 to September 14, 2020 (the “Final
Hearing”). On September 11, 2020, the Bankruptcy Court entered a final order on the NOL
Motion [Docket No. 327].

       Before the Final Hearing, eight parties objected or joined in objections to the Insurance
Motion, Cash Management Motion, and JIB Critical Vendor Motion [Docket Nos. 189, 311, 196,
197, 212, 284, 306, 308]. The Debtors filed revised proposed orders reflecting changes made by
the Debtors to resolve these objections [Docket Nos. 332, 338, 337], which the Bankruptcy Court
entered on a final basis at the Final Hearing [Docket Nos. 340, 341, 342].

       Seventeen parties objected or joined in objections to the DIP Motion [Docket Nos. 188,
192, 196, 200, 201, 202, 203, 205, 206, 211, 212, 213, 216, 218, 222, 230, 284]. Following the

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  In addition, on December 1, 2020, the Debtors filed a motion to extend exclusive periods pursuant to section 1121(d)
of the Bankruptcy Code [Docket No. 625].
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     The application to retain Ryan LLC was filed on December 30, 2020.


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     Case20-33948
          20-33948 Document
                    Document775-2
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                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 41
                                                                  41 of
                                                                     of 80
                                                                        531



Final Hearing, the Debtors filed a revised proposed order reflecting changes made by the Debtors
to (i) resolve objections raised by various parties in interest and (ii) address comments raised by
the Bankruptcy Court at the Final Hearing [Docket No. 344], which the Bankruptcy Court entered
on a final basis on September 15, 2020 [Docket No. 346]. The DIP Order authorized the Debtors
to obtain the DIP Facility, a multiple-draw senior secured term loan facility in a principal amount
not to exceed $100 million. On the closing date, the Debtors borrowed an aggregate principal
amount equal to $10 million under the DIP Facility. To date, the Debtors have not made any
additional draws under the DIP Facility.

           F. Vendor Program

       The Debtors and their advisors have been managing relations with the Debtors’ vendors
through the Debtors’ vendor program by completing 125 trade agreements resolving
approximately $113.6 million of prepetition claims and continuing to work towards completing an
additional 22 trade agreements representing an additional $13.9 million of prepetition claims.

           G. Statements and Schedules, and Claims Bar Dates

       On October 14, 2020, the Bankruptcy Court entered an order approving (i) November 25,
2020 as the deadline for all creditors or other parties in interest to file proofs of Claim (the “Bar
Date”); and (ii) February 1, 2021 as the deadline for all governmental units to file a proof of Claim
[Docket No. 466].

       The Debtors provided notice of the Bar Date to all known creditors and parties in interest,
and published notice of the Bar Date in the national edition of the New York Times.

       On October 13, 2020, the Debtors filed their schedules of assets and liabilities and
statements of financial affairs detailing known Claims against the Debtors. [Docket Nos. 429-
456]. Further, as of the date hereof, over 875 proofs of Claim had been filed against the Debtors.
The Debtors continue to review and refine their analysis of the filed Claims.

       Further, the Debtors intend to reject certain executory contracts pursuant to the Plan. Any
counterparty to an executory contract that is rejected must file and serve a proof of Claim on the
applicable Debtor that is party to the applicable executory contract to be rejected by no later than
the applicable bar date set forth in the Plan or the Bankruptcy Court order governing such rejection.

           H. Lien Analysis

         Before and following the Petition Date, the Debtors’ advisors conducted an independent
analysis of the quality and amount of the mortgages filed in association with the Debtors’ three
tranches of secured funded debt. A combination of the Company’s books and records, its filings
with BOEM and other mortgage documents were reviewed to determine (i) the technical validity
of all filed mortgages to assure that individual mortgage forms satisfied relevant technical legal
requirements (the “Technical Validity Analysis”) and (ii) the lien coverage ratio, or the amount
of mortgaged oil and gas asset leases to total reserve asset lease amounts, as well as the amount of
any unencumbered properties (the “Lien Coverage Analysis”). Additionally, the Company’s trial
balance, inventory records, and investments in subsidiaries were reviewed to determine the net
book value of any potentially unencumbered non-oil and gas assets.


                                                 30
        Case
         Case20-33948
              20-33948 Document
                        Document775-2
                                 723 Filed
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                                             in TXSB
                                                TXSB on
                                                     on 01/01/21
                                                        01/21/21 Page
                                                                 Page 42
                                                                      42 of
                                                                         of 80
                                                                            531



         The Technical Validity Analysis included a comprehensive search of BOEM filings and
other mortgage documents in Texas, Louisiana, Alabama, and Mississippi. In connection with
FWE’s exit from its previous chapter 11 filing, in 2018, Weil manually reviewed each of the
mortgage documents to determine whether (i) the document is legible, (ii) the mortgagor name is
correct, (iii) the mortgagee name is correct, (iv) the trustee name is correct, (v) party signatures are
present, (vi) the document is notarized, and (vii) the document is properly recorded (stamped with
book/liber/volume number, page number, date, and time). In addition, Weil manually reviewed
each of the mortgage documents to determine the following: (i) within each secured loan tranche,
relative to the base form for that tranche, the language of the grant, the language of the security
agreement, enforcement provisions, the description of debt, whether the mortgage has a valid
“catchall/all assets in county” provision, and (ii) documented discrepancies between tranches of
debt. 15

        Moreover, the Lien Coverage Analysis was performed using the Company’s Mid-year
2020 Oneline Reserve Report and initial mortgage analysis (the “MY’20 Report”). The coverage
ratio of mortgaged oil and gas asset leases to total reserve asset lease amounts (PV-9), based on
the MY’20 Report, are as follows for each of the secured debt tranches:

                             Lien Coverage by Secured Debt (Proved Reserves)
                                   Loan                               Total Lien Coverage 16
                          First Lien First Out                                   95.5%
                         First Lien Term Loan                                    95.5%
                       Second Lien Term Loan                                     95.5%



                          Lien Coverage by Secured Debt (Proved + Probable) 17
                                   Loan                               Total Lien Coverage 18
                          First Lien First Out                                   94.5%
                         First Lien Term Loan                                    94.5%
                       Second Lien Term Loan                                     94.5%

       For each of the secured debt tranches, the Debtors determined that their prepetition secured
lenders had valid, perfected liens in over 95.5% of the Debtors’ proved reserves.


15
  Certain mortgages were filed after Weil’s review following the 2018 Restructuring to fix discrepancies between the
tranches of debt.
16
     Defined as the ratio of mortgaged oil and gas reserve asset amount to total oil and gas reserve asset amount.
17
     Capital expenditures required for probable reserves would be a function of the development plan for those reserves.
18
     Defined as the ratio of mortgaged oil and gas reserve asset amount to total oil and gas reserve asset amount.


                                                            31
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 43
                                                                  43 of
                                                                     of 80
                                                                        531



           I. Independent Investigation

        Jim LaChance was appointed to the Board on July 8, 2020. Mr. LaChance was selected by
the Board for his strong background serving as an independent director and his extensive business
and restructuring experience. Since his appointment, Mr. LaChance has actively participated as a
member of the Board with management and the Company’s advisors on the Restructuring. This
includes approval of entry into the Restructuring Support Agreement and the commencement of
the Chapter 11 Cases.

         In addition, in his capacity as an independent director of FWE Parent, Mr. LaChance
oversaw an investigation into certain claims and estate causes of action that are proposed to be
released pursuant to the Plan (the “Independent Investigation”). The Independent Investigation
also included a review of certain non-de minimis pledges of collateral and transfers of interests
made by the Company within the 90-day period leading up to the Petition Date in connection with
its entry into forbearance and amendment agreements, dated May 7, 2020, with the required FLFO
Lenders, FLTL Lenders, and SLTL Lenders.

        Weil, as counsel to the Company, assisted Mr. LaChance in evaluating the colorability of
those certain potential claims and estate causes of action. The Independent Investigation took
place over the course of several months and included extensive factual and legal analysis. In
connection with the Independent Investigation, Weil conducted five separate interviews of three
different individual members of management or the Board, and reviewed approximately 700
documents comprising several thousand pages.

        Based upon the results of the Independent Investigation, Mr. LaChance concluded and
therefore recommended to the Board that it is in the best interests of the Company and its
stakeholders to pursue the Plan and grant the releases provided for in the Plan. Mr. LaChance’s
determination was based upon, among other things, no valuable colorable claims having been
identified against the officers, directors or shareholders in the Independent Investigation and the
significant value provided by the Consenting Creditors in pursuing the Plan which would allow
the Company to (i) reorganize as a more streamlined, cost-effective going-concern business, (ii)
save over 1,000 jobs, and (iii) facilitate the safe, responsible, and accelerated decommissioning of
properties, pipelines, and platforms in the Gulf of Mexico.

           J. Adversary Complaint Against Atlantic Maritime Services, LLC

        After two lawsuits (the “Lawsuits”) were filed post-petition on November 13, 2020 against
certain of the Debtors’ co-working interest owners in the United States District Court for the
Eastern District of Louisiana, the Debtors commenced an adversary proceeding styled Adversary
Case No. 20-03476 Fieldwood Energy LLC, et al. v. Atlantic Maritime Services, LLC, seeking
entry of an order extending the automatic stay to enjoin Atlantic Maritime Services, LLC
(“Atlantic”) from prosecuting the lawsuits and obtained a preliminary injunction temporarily
enjoining Atlantic from prosecuting the Lawsuits against the Debtors’ co-working interest owners.
On November 25, 2020, following a hearing on the Debtors’ motion for preliminary injunction,
the Bankruptcy Court held that filing the Lawsuits violated the automatic stay and that continued
prosecution of the Lawsuits would result in further violations of the automatic stay. Accordingly,
the Bankruptcy Court entered an order granting a temporary preliminary injunction enjoining



                                                32
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 44
                                                                   44 of
                                                                      of 80
                                                                         531



Atlantic from prosecuting the Lawsuits against the Debtors’ co-working interest owners (ECF No.
10) (the “Stay Extension Order”).

        On December 8, 2020, the Bankruptcy Court entered the Stipulation and Order Extending
the Automatic Stay to Certain of Debtors’ Co-Working Interest Owners, which extended the Stay
Extension Order through and including the earliest to occur of (i) the effective date of any
confirmed chapter 11 plan, (ii) sale of the properties subject to Atlantic’s alleged liens giving rise
to the Lawsuits (as defined in the Stay Extension Order), and (iii) through and including 11:59
p.m. (prevailing Central Time) on April 15, 2021.

                                VI.
        RESTRUCTURING TRANSACTIONS AND PLAN IMPLEMENTATION

       Pursuant to the Plan, the Debtors are seeking approval of, among other things, (i) entry into
and consummation of the Credit Bid Transaction (subject to the terms of the Credit Bid Purchase
Agreement), (ii) entry into and consummation of the Apache Transactions pursuant to Bankruptcy
Rule 9019 and the Apache Definitive Documents, including the Plan of Merger, (iii) the continued
operation and decommissioning of the FWE III Properties, and (iv) the abandonment of the
Abandoned Properties.

           A. Approval of Credit Bid Transaction

       As discussed above, the Company conducted a robust sale and marketing process for the
Company’s Deepwater Assets from June 30, 2020 through September 2, 2020 and, at the
conclusion of such process, the Debtors determined that none of the bids they received was
actionable.

         Concurrently with that process, the Debtors negotiated with the Consenting FLTL Lenders
the terms of the Credit Bid Transaction, which provides that Credit Bid Purchaser will acquire the
Credit Bid Acquired Interests in exchange for aggregate consideration consisting of (i) a credit bid
of the Allowed FLTL Secured Claims in the amount of $426 million, (ii) cash in the amount of
approximately $224 million, and (iii) the assumption of certain liabilities set forth in the Credit
Bid Purchase Agreement. Accordingly, the Debtors have determined that the Credit Bid
Transaction is currently the highest and otherwise best available transaction in light of, among
other factors, the fact that the Credit Bid Purchase Agreement and Plan collectively provide for a
going-concern transaction that maximizes the long-term value of the Debtors’ business, provides
for the continued employment of approximately 1,000 employees and contractors, and maximizes
the consideration available for distribution to the Debtors’ creditors under the Plan. As such, the
Debtors submit that the Credit Bid Transaction is in the best interests of the Debtors and their
estates.

           B. Approval of Apache Transactions

       Pursuant to the Apache Term Sheet, the Company, the Consenting Creditors, and Apache
agreed to, among other things, negotiate mutually agreeable Apache Definitive Documents no later
than 45 days after the Petition Date, which deadline the parties mutually agreed to extend to
January 1, 2021. In addition, the RSA provides that it shall be a DIP Commitment Parties
Termination Event (as defined in the RSA) if the Company shall not have complied with the


                                                 33
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
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                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 45
                                                                  45 of
                                                                     of 80
                                                                        531



deadline requiring the finalization of the Apache Definitive Documents by no later than 75 days
after the Petition Date, which deadline the parties mutually agreed to extend to January 1, 2021.

       Following months of extensive negotiations, on January 1, 2021, the parties finalized the
Apache Definitive Documents and certain of the Debtors, Apache, and certain of its affiliates
entered into the Implementation Agreement, an agreement whereby parties thereto agreed to
execute and deliver the Apache Definitive Documents on or before the Effective Date of the Plan.

       The Apache Definitive Documents include, among other things, the Plan of Merger, which
provides, among other things, that as of the Effective Date:

           •   FWE I will be formed, all of the FWE I Assets will be allocated to, possessed by,
               and vested in FWE I, pursuant to the terms of the Plan of Merger, and all of the
               FWE I Obligations will be allocated to and will vest in, and will constitute liabilities
               and obligations of, FWE I; and

           •   FWE will maintain its separate existence and continue as a surviving entity as FWE
               III, all of the assets of FWE other than the Credit Bid Acquired Interests, the FWE
               I Assets, and the Abandoned Properties, will be allocated to, possessed by, and
               vested in FWE III, pursuant to the terms of the Plan of Merger, and all of the
               liabilities and obligations of FWE remaining other than the Credit Bid Assumed
               Liabilities and the FWE I Obligations will be allocated to and will vest in, and will
               constitute liabilities and obligations of, FWE III.

        Other Apache Definitive Documents include (i) an amendment to the sublease between
FWE and Apache (the “Sublease Amendment”), pursuant to which FWE will pay a substantially
reduced rental rate to Apache, as sublessor, and which contains favorable termination rights, (ii)
the TSA between FWE I and Credit Bid Purchaser, and (iii) a Farmout Agreement between Credit
Bid Purchaser and FWE I (the “Farmout Agreement”). To facilitate the transition process,
pursuant to the TSA, the Credit Bid Purchaser will provide operational, technical, and
administrative services to FWE I to operate the FWE I Assets during the period following the
Effective Date. The Farmout Agreement provides, among other things, that Credit Bid Purchaser
will have the right for two years to present capital projects to FWE I relating to the Legacy Apache
Properties, which will give FWE I the option to participate, in its sole discretion, under the terms
mutually agreed and set forth in the Farmout Agreement.

       In addition, section 10.7 of the Plan provides for mutual releases by (among other parties)
the Apache PSA Parties, the Debtors, and the Consenting Creditors, provided, however, that no
party will be released to the extent such release would impair the Decommissioning Security or
the Apache PSA Parties’ ability to draw on the Decommissioning Security, in any respect.

        The Plan is being proposed as a motion to approve, among other things, the Apache
Transactions pursuant to Bankruptcy Rule 9019 and entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court
that such settlement and compromise is fair, equitable, reasonable, and in the best interests of the
Debtors and their Estates.



                                                 34
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
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                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 46
                                                                   46 of
                                                                      of 80
                                                                         531



       The Apache Transactions provide considerable benefits to the Debtors’ estates and other
key stakeholders, including, among other things, (i) limiting the Debtors’ exposure to the
decommissioning liabilities related to the Legacy Apache Properties, (ii) advancing discussions
with other parties in interest regarding a comprehensive restructuring, including the Consenting
Creditors, BOEM and BSEE, and other predecessors in interest, (iii) reducing the rent charged to
FWE pursuant to the Sublease Amendment, and (iv) substantially accelerating the
decommissioning work performed on multiple wells, pipelines, platforms, and other facilities in
the Gulf of Mexico.

           C. Approval of Abandonment of Abandoned Properties

       In the Debtors’ business judgment, the Abandoned Properties are burdensome to the
Debtors’ estates. Moreover, as discussed above, since before the Petition Date, the Debtors have
been in active discussions with BOEM and BSEE regarding the development of the Plan and
proposed treatment of the Debtors’ properties, including the Debtors’ intention to abandon certain
properties. The Debtors have also been in regular discussions with certain of the Predecessors
regarding the Plan and the Debtors’ intention to abandon the Abandoned Properties to the
Predecessors.

                                   VII.
                        TRANSFER RESTRICTIONS AND
                CONSEQUENCES UNDER FEDERAL SECURITIES LAWS

         The offer, issuance and distribution of the New Equity Interests (other than the Backstop
Commitment Premium Equity Interests, the New Money Warrants, and any New Equity Interests
issued upon exercise of the New Money Warrants) to holders of Allowed FLTL Secured Claims
under Article IV of the Plan shall be exempt, pursuant to section 1145 of the Bankruptcy Code,
without further act or actions by any Person, from registration under the Securities Act, and all
rules and regulations promulgated thereunder, and any other applicable securities laws, to the
fullest extent permitted by section 1145 of the Bankruptcy Code.

        The issuance and sale of the Backstop Commitment Premium Equity Interests to be issued
pursuant to the Backstop Commitment Letter and the New Money Warrants (including any New
Equity Interests issued upon exercise of the New Money Warrants) to be issued pursuant to the
New Money Warrant Agreement is being made in reliance on the exemption from registration set
forth in section 4(a)(2) of the Securities Act and/or Regulation D thereunder.

           A. Section 1145 of the Bankruptcy Code and Subscription Transfers

The above described securities to be issued pursuant to section 1145 of the Bankruptcy Code (the
“1145 Securities”) may be resold without registration under the Securities Act or other federal
securities laws pursuant to the exemption provided by section 4(a)(1) of the Securities Act, unless
the holder is an “underwriter” with respect to such 1145 Securities, as that term is defined in section
1145(b) of the Bankruptcy Code. In addition, such section 1145 Securities generally may be resold
without registration under state securities laws pursuant to various exemptions provided by the
respective laws of the several states.




                                                  35
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 47
                                                                   47 of
                                                                      of 80
                                                                         531



Section 1145 of the Bankruptcy Code generally exempts from registration under the Securities Act
the offer or sale under a chapter 11 plan of a security of the debtor, of an affiliate participating in
a joint plan with the debtor, or of a successor to the debtor under a plan, if such securities are
offered or sold in exchange for a claim against, or an interest in, the debtor or such affiliate, or
principally in such exchange and partly for cash. Section 1145 of the Bankruptcy Code also
exempts from registration the offer of a security through any right to subscribe sold in the manner
provided in the prior sentence, and the sale of a security upon the exercise of such right. In reliance
upon this exemption, the 1145 Securities will be exempt from the registration requirements of the
Securities Act, and state and local securities laws. These securities may be resold without
registration under the Securities Act or other federal or state securities laws pursuant to the
exemption provided by section 4(a)(1) of the Securities Act, unless the holder is an “underwriter”
with respect to such securities, as that term is defined in section 1145(b) of the Bankruptcy Code.
In addition, such 1145 Securities generally may be resold without registration under state securities
laws pursuant to various exemptions provided by the respective laws of the several states.

Section 1145(b) of the Bankruptcy Code defines “underwriter” for purposes of the Securities Act
as one who, except with respect to ordinary trading transactions, (i) purchases a claim with a view
to distribution of any security to be received in exchange for the claim, (ii) offers to sell securities
issued under a plan for the holders of such securities, (iii) offers to buy securities issued under a
plan from persons receiving such securities, if the offer to buy is made with a view to distribution
or (iv) is an issuer, as used in section 2(a)(11) of the Securities Act, with respect to such securities,
which includes control persons of the issuer.

“Control,” as defined in Rule 405 of the Securities Act, means the possession, directly or indirectly,
of the power to direct or cause the direction of the management and policies of a Person, whether
through the ownership of voting securities, by contract, or otherwise. The legislative history of
Section 1145 of the Bankruptcy Code suggests that a creditor who owns ten percent (10%) or more
of a class of voting securities of a reorganized debtor may be presumed to be a “controlling person”
and, therefore, an underwriter.

Notwithstanding the foregoing, control person underwriters may be able to sell securities without
registration pursuant to the resale limitations of Rule 144 of the Securities Act (“Rule 144”) which,
in effect, permit the resale of securities received by such underwriters pursuant to a chapter 11
plan, subject to applicable volume limitations, notice and manner of sale requirements, and certain
other conditions. Parties who believe they may be statutory underwriters as defined in section
1145 of the Bankruptcy Code are advised to consult with their own legal advisors as to the
availability of the exemption provided by Rule 144.

            B. Section 4(a)(2) of the Securities Act and Subscription Transfers

With respect to the above described securities issued in reliance on the exemption from registration
set forth in section 4(a)(2) of the Securities Act and/or Regulation D thereunder (the “Private
Placement Securities”), such securities will be considered “restricted securities” and may not be
transferred except pursuant to an effective registration statement or under an available exemption
from the registration requirements of the Securities Act, such as under certain conditions, the resale
provisions of Rule 144.




                                                   36
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 48
                                                                   48 of
                                                                      of 80
                                                                         531



Rule 144 provides a limited safe harbor for the public resale of restricted securities if certain
conditions are met. These conditions vary depending on whether the holder of the restricted
securities is an “affiliate” of the issuer. Rule 144 defines an affiliate of the issuer as “a person that
directly, or indirectly through one or more intermediaries, controls, or is controlled by, or is under
common control with, such issuer.”

None of the Debtors, NewCo and its subsidiaries, including the Credit Bid Purchaser, or any other
Person shall be required to provide any further evidence other than the Plan or the Confirmation
Order with respect to the treatment of the New Equity Interests or the New Money Warrants, under
applicable securities laws. DTC and any transfer agent (as applicable) shall be required to accept
and conclusively rely upon the Plan or Confirmation Order in lieu of a legal opinion regarding
whether the New Equity Interests or the New Money Warrants are exempt from registration and/or
eligible for DTC book-entry delivery, settlement, and depository services (to the extent applicable).

Notwithstanding anything to the contrary in this Plan, no Person (including DTC and any transfer
agent) shall be entitled to require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including whether the New Equity Interests or the New Money Warrants
(including any New Equity Interests issued upon exercise of the New Money Warrants) are exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

                                                *****

Legends. To the extent certificated or issued by way of direct registration on the records of the
issuer’s transfer agent, certificates evidencing the New Equity Interests held by holders of 10% or
more of the outstanding New Equity Interests, or who are otherwise underwriters as defined in
section 1145(b) of the Bankruptcy Code, and all Private Placement Securities, will bear a legend
substantially in the form below:

THE SECURITIES REPRESENTED BY THIS CERTIFICATE WERE ORIGINALLY ISSUED
ON THE EFFECTIVE DATE, HAVE NOT BEEN REGISTERED UNDER THE UNITED
STATES SECURITIES ACT OF 1933, AS AMENDED (THE “ACT”), OR ANY OTHER
APPLICABLE STATE SECURITIES LAWS, AND MAY NOT BE SOLD OR TRANSFERRED
IN THE ABSENCE OF AN EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT
OR AN AVAILABLE EXEMPTION FROM REGISTRATION THEREUNDER.

The Debtors and NewCo or its subsidiaries, including the Credit Bid Purchaser, as applicable,
reserve the right to reasonably require certification, legal opinions or other evidence of compliance
with Rule 144 as a condition to the removal of such legend or to any resale of any such securities.
The Debtors and NewCo or its subsidiaries, including the Credit Bid Purchaser, as applicable, also
reserve the right to stop the transfer of any such securities if such transfer is not in compliance
with Rule 144, pursuant to an effective registration statement or pursuant to another available
exemption from the registration requirements of applicable securities laws.

In any case, recipients of securities issued under the Plan are advised to consult with their own
legal advisors as to the availability of any such exemption from registration under state law in any
given instance and as to any applicable requirements or conditions to such availability.

BECAUSE OF THE COMPLEX, SUBJECTIVE NATURE OF THE QUESTION OF
WHETHER A PARTICULAR PERSON MAY BE AN UNDERWRITER OR AN AFFILIATE

                                                   37
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 49
                                                                   49 of
                                                                      of 80
                                                                         531



AND THE HIGHLY FACT-SPECIFIC NATURE OF THE AVAILABILITY OF EXEMPTIONS
FROM REGISTRATION UNDER THE SECURITIES ACT, NONE OF THE DEBTORS MAKE
ANY REPRESENTATION CONCERNING THE ABILITY OF ANY PERSON TO DISPOSE
OF THE SECURITIES TO BE ISSUED UNDER OR OTHERWISE ACQUIRED PURSUANT
TO THE PLAN. THE DEBTORS RECOMMEND THAT POTENTIAL RECIPIENTS OF THE
SECURITIES TO BE ISSUED UNDER OR OTHERWISE ACQUIRED PURSUANT TO THE
PLAN CONSULT THEIR OWN COUNSEL CONCERNING WHETHER THEY MAY
FREELY TRADE SUCH SECURITIES AND THE CIRCUMSTANCES UNDER WHICH
THEY MAY RESELL SUCH SECURITIES.

                                   VIII.
        CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

       The following discussion is a summary of certain U.S. federal income tax consequences of
the implementation of the Plan to the Debtors and to certain U.S. Holders (as defined below) of
Claims that will receive cash or other property under the Plan. The following summary does not
address the U.S. federal income tax consequences to holders of Claims who are unimpaired,
deemed to reject the Plan or otherwise entitled to payment in full in cash under the Plan.

        The discussion of U.S. federal income tax consequences below is based on the Internal
Revenue Code of 1986, as amended (the “Tax Code”), U.S. Treasury Regulations (“Treasury
Regulations”), judicial authorities, published positions of the Internal Revenue Service (“IRS”),
and other applicable authorities, all as in effect on the date of this Disclosure Statement and all of
which are subject to change (including pursuant to any potential future legislation which may be
enacted in response to the COVID-19 pandemic) or differing interpretations (possibly with
retroactive effect). The U.S. federal income tax consequences of the contemplated transactions
are complex and subject to significant uncertainties. The Debtors have not requested an opinion
of counsel or a ruling from the IRS with respect to any of the tax aspects of the contemplated
transactions, and the discussion below is not binding upon the IRS or the courts. Accordingly,
there is no assurance that the IRS would not take a contrary position as to the federal income tax
consequences described herein.

        This summary does not address foreign, state, local, gift, or estate tax consequences of the
Plan, nor does it purport to address all aspects of U.S. federal income taxation that may be relevant
to a holder in light of its individual circumstances or to a holder that may be subject to special tax
rules (such as persons who are related to the Debtors within the meaning of the Tax Code, foreign
taxpayers, broker-dealers, banks, mutual funds, insurance companies, financial institutions, small
business investment companies, real estate investment trusts, regulated investment companies, tax-
exempt organizations, trusts, governmental authorities or agencies, dealers and traders in
securities, retirement plans, individual retirement and other tax-deferred accounts, holders that are,
or hold Claims through, S corporations, partnerships or other pass-through entities for U.S. federal
income tax purposes, persons whose functional currency is not the U.S. dollar, dealers in foreign
currency, persons who hold Claims as part of a straddle, hedge, conversion transaction or other
integrated investment, persons using a mark-to-market method of accounting, holders of Claims
who are themselves in bankruptcy, persons subject to the alternative minimum tax or the
“Medicare” tax on net investment income and accrual method taxpayers that report income on an
“applicable financial statement”). In addition, this discussion does not address U.S. federal taxes
other than income taxes, nor does it address the Foreign Account Tax Compliance Act.

                                                 38
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 50
                                                                  50 of
                                                                     of 80
                                                                        531



        The following discussion below assumes that the Credit Bid Transaction contemplated by
the Plan (and the 363 Credit Bid Transaction, if the Plan is not timely confirmed) will be a fully
taxable transaction for U.S. federal income tax purposes. However, the Plan allows for alternative
structures that may include transactions that are different from those described in the anticipated
structure below. Any deviations from the anticipated structure could materially change the U.S.
federal income tax consequences of the Plan to the Debtors, holders of Claims and holders of
Interests described herein. It is intended that, and this discussion assumes, that each component
transaction of the anticipated structure will be fully taxable for U.S. federal income tax purposes.
If, contrary to this assumption, any component transaction of the anticipated structure is not fully
taxable for U.S. federal income tax purposes, the tax consequences of any such transactions could
be materially different than as described herein. Each U.S. Holder should consult its own tax
advisor.

        Additionally, this discussion assumes that (i) the various debt and other arrangements to
which any of the Debtors is a party will be respected for U.S. federal income tax purposes in
accordance with their form; (ii) except where otherwise indicated, the Claims are held as “capital
assets” (generally, property held for investment) within the meaning of Section 1221 of the Tax
Code; and (iii) each class of Claims that votes on this Plan is an Accepting Class.

     THE FOLLOWING SUMMARY OF CERTAIN U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A
SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON YOUR
INDIVIDUAL CIRCUMSTANCES. ALL HOLDERS OF CLAIMS ARE URGED TO
CONSULT THEIR OWN TAX ADVISORS FOR THE U.S. FEDERAL, STATE, LOCAL,
FOREIGN AND OTHER TAX CONSEQUENCES APPLICABLE UNDER THE PLAN.

            A. Consequences to the Debtors

        For U.S. federal income tax purposes, each of the Debtors is (i) a member of an affiliated
group of corporations of which Fieldwood Energy Inc. is the common parent and which files a
single consolidated U.S. federal income tax return (the “Tax Group”), or (ii) disregarded as
separate from its owner for U.S. federal income tax purposes whose business activities and
operations are reflected on the consolidated U.S. federal income tax returns of the Tax Group. The
Tax Group estimates that as of December 31, 2020, the Debtors will have approximately $394
million of U.S. federal net operating loss (“NOL”) carryforwards and over $190 million in
estimated consolidated federal interest expense carryforwards under Section 163(j) of the Tax
Code. None of the Debtors’ NOLs are subject to limitation under Section 382 of the Tax Code
due to a prior ownership change. The amount of any such NOLs and other tax attributes, including
any deductions for payments of Claims under the Plan, remain subject to audit and potential
adjustment by the IRS.

       1.      Cancellation of Debt and Reduction of Tax Attributes

       In general, the Tax Code provides that a debtor must recognize cancellation of debt
(“COD”) income upon the elimination or reduction of debt for insufficient consideration. The
amount of COD income generally is equal to the amount by which the adjusted issue price of
cancelled debt exceeds the sum of the amount of cash and the fair market value of any other
property given in exchange therefor. Certain statutory or judicial exceptions may apply to limit

                                                39
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 51
                                                                   51 of
                                                                      of 80
                                                                         531



the amount of COD incurred for U.S. federal income tax purposes. One such exception to such
income recognition is provided for any COD arising by reason of the discharge of the debtor’s
indebtedness in a bankruptcy case or to the extent of the debtor’s insolvency immediately before
the cancellation of the debt. In such case, the Tax Code generally requires the debtor to reduce
certain of its tax attributes—such as current year NOLs and NOL carryforwards, tax credits, capital
loss carryforwards, and tax basis in assets—by the amount of any such excluded COD income.
Although not free from doubt, it is expected that carryover of disallowed interest expense would
not be a tax attribute subject to such reduction. If advantageous, the debtor can elect to reduce the
basis of depreciable property before any reduction in its NOL carryforwards or other tax attributes.
Also, where the Debtor joins in the filing of a consolidated U.S. federal income tax return,
applicable Treasury Regulations require, in certain circumstances, that the tax attributes of the
consolidated subsidiaries of the debtor and other members of the group also be reduced.

        The Debtors expect to incur a substantial amount of COD as a result of the implementation
of the Plan with a corresponding reduction in its tax attributes. The amount of such COD and
resulting tax attribute reduction will depend primarily on the fair market value of the assets that
are the subject of the Credit Bid Transaction (or 363 Credit Bid Transaction) and New Equity
Interests. In general, any reduction in tax attributes under the COD rules does not occur until the
end of the tax year, after such attributes have been applied to determine the tax for the year or, in
the case of asset basis reduction, the first day of the taxable year following the tax year in which
the COD occurs. Accordingly, the Debtors do not expect such reduction to have a material impact
on their ability to utilize their existing consolidated NOLs and other tax attributes against any gain
recognized in the Credit Bid Transaction (or 363 Credit Bid Transaction).

       2.      Limitation of NOL Carryforwards and Other Tax Attributes

        Under the Tax Code, any NOLs and certain other tax attributes of a corporation
(collectively, “Pre-Change Losses”) may be subject to an annual limitation if the corporation
undergoes an “ownership change” within the meaning of Section 382 of the Tax Code. These
limitations apply in addition to, and not in lieu of, the attribute reduction that may result from the
COD arising in connection with the Plan. As discussed above, due in part to the resulting attribute
reduction from the incurrence of COD, the Debtors may not have significant tax attributes
remaining following the implementation of the Plan to which Section 382 of the Tax Code would
apply. Nevertheless, the following provides a brief description of the operation of Section 382 of
the Tax Code in the event there are any Pre-Change Losses to which Section 382 of the Code could
apply.

       Under Section 382 of the Tax Code, if a corporation (or consolidated group) undergoes an
“ownership change” and the corporation does not qualify for (or elects out of) the special
bankruptcy exception in Section 382(l)(5) of the Tax Code discussed below, the amount of its Pre-
Change Losses that may be utilized to offset future taxable income or tax liability is subject to an
annual limitation.

        In general, the amount of the annual limitation to which a corporation in bankruptcy that
undergoes an ownership change will be subject is equal to the product of (i) the fair market value
of the stock of the corporation immediately after the ownership change (with certain adjustments)
multiplied by (ii) the “long term tax exempt rate” in effect for the month in which the ownership
change occurs (e.g., approximately 1% for ownership changes occurring in December 2020).

                                                 40
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 52
                                                                   52 of
                                                                      of 80
                                                                         531



        This annual limitation potentially may be increased in the event the corporation (or
consolidated group) has an overall “built-in” gain in its assets at the time of the ownership change.
Any portion of the annual limitation that is not used in a given year may be carried forward, thereby
adding to the annual limitation for the subsequent taxable year. Under Section 382(l)(5) of the
Tax Code, an exception to the foregoing annual limitation rules generally applies where qualified
creditors of a debtor corporation receive, in respect of their claims, at least 50% of the vote and
value of the stock of the reorganized debtor (or a controlling corporation if also in bankruptcy)
pursuant to a confirmed chapter 11 plan. The Debtors do not expect this exception to be of any
material benefit, even if otherwise applicable.

       As indicated above, the Debtors may not have significant (if any) tax attributes remaining
to which Section 382 of the Tax Code would apply after the reduction in tax attributes under the
COD rules, whether or not the annual limitation rules apply.

       3.      Sale of Certain Assets

        Pursuant to the Plan, the Debtors will sell certain assets in the Credit Bid Transaction (or
the 363 Credit Bid Transaction, if applicable) and abandon certain assets. The discussion herein
assumes that such assets will be disposed of in the Credit Bid Transaction or abandonment and
that the Credit Bid Transaction or the abandonment, as applicable, will be treated as a taxable
transaction. As a result, for U.S. federal income tax purposes the Debtors are expected to recognize
income, gain, loss, or deduction in the Credit Bid Transaction or upon abandonment, as applicable.
The Credit Bid Purchaser would obtain a new cost basis in the assets acquired based on the fair
market value of such assets on the Effective Date, but would not succeed to any tax attributes of
the Debtors (such as NOLs, tax credits or tax basis in assets).

        The Debtors expect that the Debtors’ current year deductions, NOL carryforwards, and
other tax attributes generally should be available to offset some or all of the tax gains or income
that might be recognized. Depending on the value of the transferred assets, the timing of when
such sales or transfers occur, and the availability of and any limitations on the Debtors’ tax
attributes for applicable federal (as well as state and local) income tax purposes, the Debtors may
incur certain income tax liabilities relating to such transfers. This discussion assumes that asset
sales described in this paragraph will be fully taxable for U.S. federal income tax purposes.

       If, contrary to that assumption, the Credit Bid Transaction (or the 363 Credit Bid
Transaction, if applicable) is not fully taxable for U.S. federal income tax purposes, the tax
consequences of any such transactions to the Debtors (and holders of certain Claims) could be
materially different than that described herein. Each U.S. Holder should consult its own tax
advisor.

       4.      Potential Transfer of Assets to a Liquidating Trust

        Pursuant to the Plan, the Plan Administrator may, anytime on or after the Effective Date,
transfer certain of Debtors’ remaining assets to a Liquidating Trust (as defined below) on behalf
of all or a portion of the respective claimants, holders of Existing Equity Interests, and/or other
stakeholders, if the Plan Administrator determines that it is in the best interests of the Debtors and
respective stakeholders. The transfer of assets by the Plan Administrator to a Liquidating Trust
will be treated as a sale of the assets at fair market value, which may result in the recognition of


                                                 41
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 53
                                                                   53 of
                                                                      of 80
                                                                         531



gain or loss by the Debtors, depending in part on the value of such assets on the date of such
transfer to the liquidating trust relative to the Debtors’ tax basis in such assets. See Section VII.C,
“Tax Treatment of a Liquidating Trust and Holders of Beneficial Interests” below for discussion.

            B. Consequences to Holders of Certain Claims

        For purposes of this discussion, a “U.S. Holder” is a beneficial owner of Allowed Claims
or Existing Equity Interests that is: (1) an individual citizen or resident of the United States for
U.S. federal income tax purposes; (2) a corporation (or other entity treated as a corporation for
U.S. federal income tax purposes) created or organized under the laws of the United States, any
state thereof, or the District of Columbia; (3) an estate the income of which is subject to U.S.
federal income taxation regardless of the source of such income; or (4) a trust (A) if a court within
the United States is able to exercise primary jurisdiction over the trust’s administration and one or
more United States persons have authority to control all substantial decisions of the trust, or (B)
that has a valid election in effect under applicable Treasury Regulations to be treated as a United
States person.

        If a partnership (or other entity treated as a partnership or other pass-through entity for U.S.
federal income tax purposes) is a holder of a Claim, the tax treatment of a partner (or other
beneficial owner) generally will depend upon the status of the partner (or other beneficial owner)
and the activities of the partner (or other beneficial owner) and the entity. Partners (or other
beneficial owners) of partnerships (or other pass-through entities) that are holders of Claims should
consult their respective tax advisors regarding the U.S. federal income tax consequences of the
Plan.

       1.      U.S. Holders of Allowed FLTL Secured Claims, Allowed SLTL Claims and
               Allowed General Unsecured Claims

        The following discussion assumes that, pursuant to the Credit Bid Transaction (which is
assumed to be a fully taxable transaction), the Debtors will receive all or a portion of the New
Equity Interests and cash as consideration for the sale of the Credit Bid Acquired Interests, and
that the consideration received will then be distributed to holders of Claims in accordance with the
Plan. However, this is not the only manner in which the Credit Bid Transaction could be
structured. For example, certain holders of Allowed FLTL Secured Claims may instead transfer,
in whole or in part, their Allowed Claims to the Credit Bid Purchaser in exchange for New Equity
Interests, whereupon such Credit Bid Purchaser will then use such Allowed Claims and cash (and
possibly New Equity Interests) to acquire the Credit Bid Acquired Interests, similarly in a taxable
transaction for U.S. federal income tax purposes. If and to the extent that the Debtors receive cash
and New Equity Interests in connection with transactions described in the preceding sentence, it is
intended that the Debtors would distribute such New Equity Interests and cash in accordance with
the Plan, including with respect to Allowed Claims that were not part of the consideration in the
Credit Bid Transaction, also in a taxable transaction for U.S. federal income tax purposes.
Accordingly, all holders of Allowed Claims should consult their respective tax advisors regarding
the U.S. federal income tax consequences of the Plan to them.

        In addition, a single share of reorganized FWE Parent common stock representing all of
the outstanding equity of reorganized FWE Parent (the “Single Share”) and, in respect of which,
any Residual Distributable Value will be distributable to holders of Allowed General Unsecured

                                                  42
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 54
                                                                  54 of
                                                                     of 80
                                                                        531



Claims. Accordingly, for U.S. federal income tax purposes, the holders of Allowed General
Unsecured Claims should be treated as receiving a direct ownership interest in the Single Share.

        Accordingly, the following discussion assumes that, pursuant to the Plan, the Debtors will
distribute:

            (i) the New Equity Interests to holders of Allowed FLTL Secured Claims in
                satisfaction and discharge of any of their Allowed Claims that are not transferred
                to the Credit Bid Purchaser as described above, and

            (ii) the General Unsecured Claims Cash Pool collectively to holders of Allowed SLTL
                 Claims and holders of Allowed General Unsecured Claims, with holders of
                 Allowed General Unsecured Claims also receiving the beneficial interest in the
                 Single Share, in satisfaction of their Allowed Claims.

        A U.S. Holder of an Allowed Claim generally will recognize gain or loss in an amount
equal to the difference, if any, between (i) the sum of the fair market value of any non-cash
consideration and the amount of any cash received (other than to the extent received in respect of
a Claim for accrued but unpaid interest and possibly accrued OID) and (ii) the U.S. Holder’s
adjusted tax basis in the Allowed Claim exchanged therefor (other than any tax basis attributable
to accrued but unpaid interest and possibly accrued OID). See Section VII.B.3, “Character of Gain
or Loss,” below. A U.S. Holder will have ordinary interest income to the extent of any
consideration allocable to accrued but unpaid interest or accrued OID not previously included in
income. See Section VII.B.2, “Distributions in Discharge of Accrued Interest or OID,” below.

        A U.S. Holder of an Allowed SLTL Claim or Allowed General Unsecured Claim may be
entitled to receive additional distributions over time from the General Unsecured Claims Cash
Pool as Disputed General Unsecured Claims are resolved. As a result, it is possible that recognition
of any loss realized by such U.S. Holder with respect to its Allowed Claim may be deferred until
all General Unsecured Claims have been Allowed or Disallowed. Alternatively, it is possible that
a U.S. Holder will have additional gain in respect of any additional distributions received from the
undistributed General Unsecured Claims Cash Pool, except to the extent of any portion treated as
interest income under the imputed interest provisions of the Tax Code. The discussion herein
assumes that the installment method does not apply, either because the exchange is not eligible or
because the U.S. Holder elects out of such treatment. See Section VII.B.6 “Tax Treatment of the
Undistributed General Unsecured Claims Cash Pool,” below.

       A U.S. Holder’s tax basis in any New Equity Interests and in any interest in the Single
Share received will equal the fair market value of such interests, and the U.S. Holder’s holding
period with respect thereto generally will begin on the day following the Effective Date.

       2.      Distributions in Discharge of Accrued OID or Interest

         In general, to the extent that any consideration received pursuant to the Plan by a U.S.
Holder of an Allowed Claim is received in satisfaction of interest accrued or OID accrued, in each
case during its holding period, such amount will be taxable to the U.S. Holder as interest income
(if not previously included in the U.S. Holder’s gross income). Conversely, a U.S. Holder may be
entitled to recognize a loss to the extent any accrued interest or amortized OID was previously


                                                43
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 55
                                                                   55 of
                                                                      of 80
                                                                         531



included in its gross income and is not paid in full. However, the IRS has privately ruled that a
holder of a “security” of a corporate issuer, in an otherwise tax-free exchange, could not claim a
current deduction with respect to any unpaid OID. Accordingly, it is also unclear whether, by
analogy, a U.S. Holder of an Allowed Claim that does not constitute a “security” would be required
to recognize a capital loss, rather than an ordinary loss, with respect to previously included OID
that is not paid in full.

       Section 6.12 of the Plan provides that the aggregate consideration to be distributed to U.S.
Holders of Allowed Claims in each Class will be allocated first to the principal amount of such
Allowed Claims, with any excess allocated to unpaid interest that accrued on these Claims, if any.
There is no assurance that the IRS will respect such allocation for U.S. federal income tax
purposes. Holders are urged to consult their tax advisors regarding the allocation of consideration
received under the Plan, as well as the deductibility of accrued but unpaid interest (including OID)
and the character of any loss claimed with respect to accrued but unpaid interest (including OID)
previously included in income for U.S. federal income tax purposes.

       3.      Character of Gain or Loss

        Where gain or loss is recognized by a U.S. Holder, the character of such gain or loss as
long-term or short-term capital gain or loss or as ordinary income or loss will be determined by a
number of factors, including the tax status of the holder, whether the Claim constitutes a capital
asset in the hands of the holder and how long it has been held, whether the Claim was acquired at
a market discount, and whether and to what extent the holder previously claimed a bad debt
deduction.

          A U.S. Holder that purchased its Claims from a prior holder at a “market discount” (relative
to the principal amount of the Claims at the time of acquisition) may be subject to the market
discount rules of the Tax Code. In general, a debt instrument is considered to have been acquired
with “market discount” if the U.S. Holder’s adjusted tax basis in the debt instrument is less than
(i) its stated principal amount or (ii) in the case of a debt instrument issued with OID, its adjusted
issue price, in each case, by at least a statutorily defined de minimis amount. Under these rules,
any gain recognized on the exchange of Claims (other than in respect of a Claim for accrued but
unpaid interest) generally will be treated as ordinary income to the extent of the market discount
accrued (on a straight line basis or, at the election of the holder, on a constant yield basis) during
the U.S. Holder’s period of ownership, unless the holder elected to include the market discount in
income as it accrued. If a U.S. Holder of a Claim did not elect to include market discount in
income as it accrued and, thus, under the market discount rules, was required to defer all or a
portion of any deductions for interest on debt incurred or maintained to purchase or carry its Claim,
such deferred amounts would become deductible at the time of the receipt of cash and other
consideration in satisfaction of such Claims.

       4.      Disposition of New Equity Interests

        The U.S. federal income tax treatment of the New Equity Interests depends on, among
others, the U.S. federal income tax classification of the Credit Bid Purchaser and the terms and
structure of the transaction in which a U.S. Holder acquires such Interests. In general, unless a
nonrecognition provision applies to a future disposition, U.S. Holders will recognize capital gain
or loss upon the sale or exchange of the New Equity Interests in an amount equal to the difference

                                                 44
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 56
                                                                   56 of
                                                                      of 80
                                                                         531



between (i) the holder’s adjusted tax basis in the New Equity Interests held and (ii) the sum of the
cash and the fair market value of any property received from such disposition. However, if the
Credit Bid Purchaser is classified as a partnership or other passthrough entity for U.S. federal
income tax purposes, all or a portion of such gain may be taxable as ordinary income. Any such
capital gain or loss generally should be long-term capital gain or loss if the U.S. Holder’s holding
period for its New Equity Interests is more than one year at that time. A reduced tax rate on long-
term capital gain may apply to non-corporate U.S. Holders. The deductibility of capital loss is
subject to significant limitations. All holders are urged to consult their tax advisors regarding the
tax treatment of the New Equity Interests.

       5.      Disposition of Interests in the Single Share

        In general, unless a nonrecognition provision applies to a future disposition, U.S. Holders
of an interest in the Single Share will generally recognize capital gain or loss upon the sale or
exchange of their interest in the Single Share received in satisfaction of their Claims in an amount
equal to the difference between (i) the holder’s adjusted tax basis in its interest in the Single Share
held and (ii) the sum of the cash and the fair market value of any property received from such
disposition. Any such capital gain or loss generally should be long-term capital gain or loss if the
U.S. Holder’s holding period for its interest in the Single Share is more than one year at that time.
A reduced tax rate on long-term capital gain may apply to non-corporate U.S. Holders. The
deductibility of capital loss is subject to significant limitations.

        However, any gain recognized by a U.S. Holder upon a disposition of its interest in the
Single Share received in exchange for its Claims (or any stock or property received for such interest
in the Single Share in a later tax-free exchange) generally will be treated as ordinary income for
U.S. federal income tax purposes to the extent of (i) any ordinary loss deductions previously
claimed as a result of the write-down of the Claim, decreased by any income (other than interest
income) recognized by the U.S. Holder upon exchange of the Claim, and (ii) with respect to a
cash-basis U.S. Holder and in addition to clause (i) above, any amounts which would have been
included in its gross income if the holder’s Claim had been satisfied in full but which was not
included by reason of the cash method of accounting.

       6.      Tax Treatment of Undistributed General Unsecured Claims Cash Pool

        Pursuant to the Plan, the undistributed portion of the General Unsecured Claims Cash Pool
will be held in a segregated account. Subject to definitive guidance from the IRS or a court of
competent jurisdiction to the contrary or the receipt of a determination by the IRS, the Plan
Administrator will treat the undistributed General Unsecured Claims Cash Pool as a “disputed
ownership fund” governed by Treasury Regulation Section 1.468B-9 and to the extent permitted
by applicable law, report consistently with the foregoing for state and local income tax purposes.
Accordingly, any income earned on the assets in the General Unsecured Claims Cash Pool will be
subject to tax on a separate entity basis. All taxes imposed on the assets or income of the General
Unsecured Claims Cash Pool will be payable from the assets of the General Unsecured Claims
Cash Pool.

       All distributions to Holders from the General Unsecured Claims Cash Pool will be treated
for U.S. federal income tax purposes as distributed directly by the Debtors in respect of such
Holders’ Allowed Claims. All parties (including, without limitation, the Debtors, Reorganized

                                                  45
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 57
                                                                   57 of
                                                                      of 80
                                                                         531



FWE Parent, the Plan Administrator, and the relevant holders of Allowed Claims) will be required
pursuant to the Plan to report for tax purposes consistent with the forgoing treatment of the General
Unsecured Claims Cash Pool.

             C. Tax Treatment of a Liquidating Trust and Holders of Beneficial Interests

        1.      Classification of Liquidating Trust

        The Plan Administrator may determine, in its discretion and from time to time, that in order
to carry out and implement the provisions of the Plan certain assets should be transferred to a
liquidating trust for the benefit of one or more classes of stakeholders. In such event, it is intended
that the liquidating trust will be structured to qualify as a “liquidating trust” for U.S. federal income
tax purposes (a “Liquidating Trust”), and the following discussion so assumes.

        In general, a Liquidating Trust is not a separate taxable entity but rather is treated for U.S.
federal income tax purposes as a “grantor trust” (i.e., a pass-through entity). The IRS, in Revenue
Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an IRS ruling as to
the grantor trust status of a liquidating trust under a chapter 11 plan. Any Liquidating Trust will
be structured with the intention of complying with such general criteria. Pursuant to the Plan, and
in conformity with Revenue Procedure 94-45, all parties to the Liquidating Trust (including,
without limitation, the Debtors, stakeholders receiving interests in the Liquidating Trust, and the
trustee of the Liquidating Trust) will be required to treat the transfer of the underlying assets to the
Liquidating Trust as (1) a transfer of such assets (subject to any obligations relating to those assets)
directly to the stakeholders receiving interests in the Liquidating Trust (other than to the extent
any of the assets are allocable to Disputed Claims), followed by (2) the transfer of such assets by
such stakeholders to the Liquidating Trust in exchange for interests in the Liquidating Trust.
Accordingly, except in the event of contrary definitive guidance, stakeholders receiving interests
in the Liquidating Trust would be treated for U.S. federal income tax purposes as the grantors and
owners of their respective shares of the underlying assets of the Liquidating Trust (other than such
assets as are allocable to Disputed Claims).

        Although this discussion assumes that any Liquidating Trust will be treated as a
“liquidating trust” for U.S. federal income tax purposes, no ruling will be requested from the IRS
concerning the tax status of the Liquidating Trust as a grantor trust. Accordingly, there can be no
assurance that the IRS will not take a contrary position to the classification of the Liquidating Trust
as a grantor trust. If the IRS were to successfully challenge such classification, the U.S. federal
income tax consequences to the Liquidating Trust and the U.S. Holders receiving interests in the
Liquidating Trust could vary from those discussed herein.

        2.      General Tax Reporting by Liquidating Trust and its Beneficiaries

        For all U.S. federal income tax purposes, all parties to the Liquidating Trust (including,
without limitation, the Debtors, stakeholders receiving interests in the Liquidating Trust, and the
trustee of the Liquidating Trust) must treat the Liquidating Trust as a grantor trust of which the
holders of beneficial interests in the Liquidating Trust (as determined for U.S. federal income tax
purposes) are the owners and grantors, and such holders as the direct owners of an undivided
interest in the underlying assets of the Liquidating Trust (other than any assets allocable to
Disputed Claims), consistent with their economic interests therein. The trustee of the Liquidating


                                                   46
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 58
                                                                   58 of
                                                                      of 80
                                                                         531



Trust will file tax returns for the Liquidating Trust treating the Liquidating Trust as a grantor trust
pursuant to Treasury Regulations Section 1.671-4(a). The trustee of the Liquidating Trust also
will annually send to each holder of a beneficial interest in the Liquidating Trust a separate
statement regarding the receipts and expenditures of the Liquidating Trust as relevant for U.S.
federal income tax purposes and will instruct all such holders to use such information in preparing
their U.S. federal income tax returns or to forward the appropriate information to such holder’s
underlying beneficial holders with instructions to utilize such information in preparing their U.S.
federal income tax returns.

        All taxable income and loss of the Liquidating Trust will be allocated among, and treated
as directly earned and incurred by, holders of beneficial interests in the Liquidating Trust with
respect to such holder’s undivided interest in the underlying assets of the Liquidating Trust (and
not as income or loss with respect to its prior Claims), with the possible exception of any taxable
income and loss allocable to any assets allocable to, or retained on account of, Disputed Claims.
The character of any income and the character and ability to use any loss will depend on the
particular situation of the holder of Claims receiving interests in the liquidating trust.

        As soon as reasonably practicable after the transfer of the assets to the Liquidating Trust,
the trustee of the Liquidating Trust will make a good faith valuation of such assets. All parties to
the Liquidating Trust (including, without limitation, the Debtors, holders of Claims receiving
interests in the liquidating trust, and the trustee of the liquidating trust) must report consistently
with such valuation for all U.S. federal income tax purposes. The valuation will be made available,
from time to time, as relevant for tax reporting purposes.

        The U.S. federal income tax obligations of a U.S. Holder with respect to its beneficial
interests in the Liquidating Trust are not dependent on the Liquidating Trust distributing any cash
or other proceeds, subject to any portion(s) of the Liquidating Trust allocable to Disputed Claims.
Thus, a U.S. Holder of Allowed Claims receiving interests in the Liquidating Trust may incur a
U.S. federal income tax liability with respect to its allocable share of the Liquidating Trust’s
income even if the Liquidating Trust does not make a concurrent distribution to the U.S. Holder.
In general, other than in respect of cash retained on account of Disputed Claims, a distribution of
cash by the Liquidating Trust will not be separately taxable to a beneficial owner of the Liquidating
Trust since the beneficial owner is already regarded for U.S. federal income tax purposes as
owning the underlying assets (and was taxed at the time the cash was earned or received by the
Liquidating Trust). U.S. Holders are urged to consult their tax advisors regarding the appropriate
U.S. federal income tax treatment of any subsequent distributions of cash originally retained by
the Liquidating Trust on account of Disputed Claims.

        The trustee of the Liquidating Trust will comply with all applicable governmental
withholding requirements. If any beneficiaries of the Liquidating Trust are not U.S. persons, the
trustee of the Liquidating Trust may be required to withhold up to 30% of the income or proceeds
allocable to such persons, depending on the circumstances (including whether the type of income
is subject to a lower rate under applicable income tax treaty). As indicated above, the foregoing
discussion of the U.S. federal income tax consequences of the Plan does not generally address the
consequences to non-U.S. Holders; accordingly, such holders should consult their tax advisors
with respect to the U.S. federal income tax consequences of the Plan, including owning an interest
in the Liquidating Trust.


                                                  47
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 59
                                                                   59 of
                                                                      of 80
                                                                         531



           D. Information Reporting and Back-Up Withholding

         All distributions to holders of Allowed Claims under the Plan are subject to any applicable
tax withholding. Under U.S. federal income tax law, interest, dividends, and other reportable
payments may, under certain circumstances, be subject to “backup withholding” at the then
applicable withholding rate (currently 24%). Backup withholding generally applies if the holder
(a) fails to furnish its social security number or other taxpayer identification number, (b) furnishes
an incorrect taxpayer identification number, (c) fails to properly report interest or dividends, or
(d) under certain circumstances, fails to provide a certified statement, signed under penalty of
perjury, that the tax identification number provided is its correct number and that it is not subject
to backup withholding. Backup withholding is not an additional tax but merely an advance
payment, which may be refunded to the extent it results in an overpayment of tax. Certain persons
are exempt from backup withholding, including, in certain circumstances, corporations and
financial institutions. Holders of Allowed Claims are urged to consult their tax advisors regarding
the Treasury Regulations governing backup withholding and whether the transactions
contemplated by the Plan would be subject to these Treasury Regulations.

        In addition, Treasury Regulations generally require disclosure by a taxpayer on its U.S.
federal income tax return of certain types of transactions in which the taxpayer participated,
including, among other types of transactions, certain transactions that result in the taxpayer’s
claiming a loss in excess of specified thresholds. Holders are urged to consult their tax advisors
regarding these Treasury Regulations and whether the transactions contemplated by the Plan
would be subject to these Treasury Regulations and require disclosure on the holder’s tax returns.

     THE FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ARE COMPLEX.
THE FOREGOING SUMMARY DOES NOT DISCUSS ALL ASPECTS OF FEDERAL
INCOME TAXATION THAT MAY BE RELEVANT TO A PARTICULAR HOLDER IN
LIGHT OF SUCH HOLDER’S CIRCUMSTANCES AND INCOME TAX SITUATION. ALL
HOLDERS OF CLAIMS SHOULD CONSULT WITH THEIR TAX ADVISORS AS TO THE
PARTICULAR TAX CONSEQUENCES TO THEM OF THE TRANSACTIONS
CONTEMPLATED BY THE PLAN, INCLUDING THE APPLICABILITY AND EFFECT OF
ANY STATE, LOCAL, OR FOREIGN TAX LAWS, AND OF ANY CHANGE IN
APPLICABLE TAX LAWS.


                                      IX.
                     CERTAIN RISK FACTORS TO BE CONSIDERED

       Before voting to accept or reject the Plan, holders of Claims should read and carefully
consider the risk factors set forth below, in addition to the information set forth in the Disclosure
Statement together with any attachments, exhibits, or documents incorporated by reference hereto.
The factors below should not be regarded as the only risks associated with the Plan or its
implementation.




                                                 48
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 60
                                                                   60 of
                                                                      of 80
                                                                         531



            A. Certain Bankruptcy Law Considerations

       1.      Risk of Termination of RSA

        The RSA contains certain provisions that give the parties the ability to terminate the RSA
under various conditions. As noted above, termination of the RSA could result in loss of support
for the Plan by important creditor constituencies. Any loss of support could adversely affect the
Debtors’ ability to confirm and consummate the Plan and could result in protracted Chapter 11
Cases, which could significantly and detrimentally impact the Company’s relationships with
regulators, vendors, suppliers, employees, and customers. If the RSA is terminated, each vote or
any consent given by any of the Consenting FLTL Lenders, the Consenting SLTL Lenders and
Apache before such termination will be deemed null and void ab initio.

       2.      Risk of Non-Confirmation of the Plan

        Although the Debtors believe that the Plan will satisfy all requirements necessary for
confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
reach the same conclusion or that modifications to the Plan will not be required for confirmation
or that such modifications would not necessitate re-solicitation of votes.

       Moreover, the Debtors can make no assurances that they will receive the requisite votes
for acceptance to confirm the Plan. Even if all Voting Classes vote in favor of the Plan or the
requirements for “cramdown” are met with respect to any Class that rejected the Plan, the
Bankruptcy Court could decline to confirm the Plan if it finds that any of the statutory requirements
for confirmation are not met. If the Plan is not confirmed, it is unclear what distributions holders
of Claims ultimately would receive with respect to their Claims in a subsequent chapter 11 plan.

       3.      Risk of Non-Consensual Confirmation and Conversion into Chapter 7 Cases

        If any impaired class of claims or equity interests does not accept or is deemed not to accept
a plan, a bankruptcy court may nevertheless confirm such plan at the proponent’s request if at least
one impaired class has voted to accept the plan (with such acceptance being determined without
including the vote of any “insider” in such class), and as to each impaired class that has not
accepted the plan, the bankruptcy court determines that the plan “does not discriminate unfairly”
and is “fair and equitable” with respect to the dissenting impaired classes. If any Class votes to
reject the Plan, then these requirements must be satisfied with respect to such rejecting Classes.
The Debtors believe that the Plan satisfies these requirements.

        If no plan can be confirmed, or if the Bankruptcy Court otherwise finds that it would be in
the best interest of holders of Claims, the Chapter 11 Cases may be converted to cases under
chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed or elected to
liquidate the Debtors’ assets for distribution in accordance with the priorities established by the
Bankruptcy Code. See Section C hereof, as well as the Liquidation Analysis to be included as a
supplement to this Disclosure Statement (the “Liquidation Analysis”), for a discussion of the
effects that a chapter 7 liquidation would have on the recoveries of holders of Claims and Interests.




                                                 49
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 61
                                                                   61 of
                                                                      of 80
                                                                         531



        4.      Risk of Non-Occurrence of the Effective Date

       Although the Debtors believe that the Effective Date will occur soon after the Confirmation
Date and that there is not a material risk that the Debtors will not be able to obtain any necessary
governmental approvals (including any regulatory approval from BOEM and BSEE, and, if
applicable, antitrust approval), there can be no assurance as to the timing of the Effective Date.
Certain transactions contemplated under the Plan may require a review under the Hart-Scott-
Rodino Antitrust Improvements Act. If the conditions precedent to the Effective Date set forth in
the Plan have not occurred or have not been waived as set forth in Article IX of the Plan, then the
Confirmation Order may be vacated, in which event no distributions would be made under the
Plan, none of the transactions set forth in Article V of the Plan shall have been consummated, the
Debtors and all holders of Claims or Interests would be restored to the status quo as of the day
immediately preceding the Confirmation Date, and the Debtors’ obligations with respect to Claims
and Interests would remain unchanged.

        5.      Risks Related to Possible Objections to the Plan

        There is a risk that certain parties could oppose and object to either the entirety of the Plan
or specific provisions of the Plan. Although the Debtors believe that the Plan complies with all
relevant provisions of the Bankruptcy Code and other applicable law, there can be no guarantee
that a party in interest will not file an objection to the Plan or that the Bankruptcy Court will not
sustain such an objection.

        6.      Parties in Interest May Object to Plan’s Classification of Claims and Interests

        Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an equity
interest in a particular class only if such claim or equity interest is substantially similar to the other
claims or equity interests in such class. The Debtors believe that the classification of the Claims
and Interests under the Plan complies with the requirements set forth in the Bankruptcy Code
because the Debtors created Classes of Claims and Interests each encompassing Claims or
Interests, as applicable, that are substantially similar to the other Claims or Interests, as applicable,
in each such Class. Nevertheless, there can be no assurance that the Bankruptcy Court will reach
the same conclusion.

        7.      Conditions to Credit Bid Transaction May Not Be Satisfied

        The closing of the Credit Bid Transaction in connection with consummation of the Plan
remains contingent on a number of conditions set forth in the Credit Bid Purchase Agreement.
There is a risk that one or more of these conditions may not be met, thus preventing consummation
of the Credit Bid Transaction.

        8.      Releases, Injunctions, and Exculpations Provisions May Not Be Approved

        Article X of the Plan provides for certain releases, injunctions, and exculpations, for Claims
and Causes of Action that may otherwise be asserted against the Debtors, the Post-Effective Date
Debtors, the Exculpated Parties, the Released Parties, or Apache, as applicable. The releases,
injunctions, and exculpations provided in the Plan are subject to objection by parties in interest
and may not be approved. If the releases and exculpations are not approved, certain parties may


                                                   50
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 62
                                                                  62 of
                                                                     of 80
                                                                        531



not be considered Releasing Parties, Released Parties, or Exculpated Parties, and certain Released
Parties or Exculpated Parties may withdraw their support for the Plan.

            B. Additional Factors Affecting the Value of NewCo and its Subsidiaries

       1.      Projections and Other Forward-Looking Statements Are Not Assured, and
               Actual Results May Vary

        Certain of the information contained herein or in a supplement to this Disclosure Statement
is, by nature, forward-looking and contains estimates and assumptions, which might ultimately
prove to be incorrect, and projections, which may be materially different from actual future
experiences. Many of the assumptions underlying the projections are subject to significant
uncertainties that are beyond the control of the Credit Bid Purchaser, including the timing,
confirmation, and consummation of the Plan, customer demand for the Credit Bid Purchaser’s oil
and gas or services, inflation, and other unanticipated market and economic conditions. There are
uncertainties associated with any projections and estimates, and they should not be considered
assurances. Some assumptions may not materialize, and unanticipated events and circumstances
may affect the actual results. Projections are inherently subject to substantial and numerous
uncertainties and to a wide variety of significant business, economic, and competitive risks, and
the assumptions underlying the projections may be inaccurate in material respects. In addition,
unanticipated events and circumstances occurring after the approval of the Disclosure Statement
by the Bankruptcy Court, including any natural disasters, terrorist attacks, or health epidemics,
may affect the actual financial results achieved. Such results may vary significantly from the
forecasts and such variations may be material.

       2.      Risks Associated with the Debtors’ Business and Industry

         The risks associated with the Debtors’ business and industry include, but are not limited
to, the following:

       •       risk and uncertainties relating to the effects of disruption from the Chapter 11 Cases
               making it more difficult to maintain business and operational relationships, to retain
               key executives and to maintain various licenses and approvals necessary for NewCo
               and its subsidiaries (including the Credit Bid Purchaser) and FWE I to conduct their
               businesses;

       •       risk and uncertainties relating to the ability to complete definitive documentation
               in connection with any financing and the amount, terms and conditions of any such
               financing;

       •       risk and uncertainties relating to the Debtors’ ability to obtain requisite support for
               the Plan from various stakeholders; the Debtors’ ability to confirm and consummate
               the Plan;

       •       risk and uncertainties relating to NewCo’s and its subsidiaries’ (including the Credit
               Bid Purchaser), FWE I’s, and FWE III’s ability to satisfy all of their obligations
               under the Plan;



                                                 51
Case
 Case20-33948
      20-33948 Document
                Document775-2
                         723 Filed
                              Filed in
                                     in TXSB
                                        TXSB on
                                             on 01/01/21
                                                01/21/21 Page
                                                         Page 63
                                                              63 of
                                                                 of 80
                                                                    531



  •     risk and uncertainties relating to events outside of the Debtors’ control, including
        an epidemic or outbreak of an infectious disease, such as the novel coronavirus
        (COVID-19), and the potential effects on operations and/or on domestic and
        international demand for crude oil and natural gas, delays, supply chain disruptions,
        travel restrictions, and other events resulting therefrom that may impact the oil and
        gas industry;

  •     social unrest and political instability, particularly in major oil and natural gas
        producing regions outside the United States, such as the Middle East, and armed
        conflict or terrorist attacks, whether or not in oil or natural gas producing regions;

  •     the volatility and potential for sustained low oil and natural gas prices;

  •     the supply and demand for oil and natural gas and potential risks relating to
        agreements and negotiations among members of the Organization of the Petroleum
        Exporting Countries;

  •     technological advances affecting energy consumption;

  •     the development and exploitation of alternative fuels and unconventional
        hydrocarbon production, including shale;

  •     changes in commodity prices and basis differentials for oil and natural gas;

  •     the ability to meet production volume targets;

  •     the uncertainty of estimating proved reserves and unproved resources;

  •     the ability to develop proved undeveloped reserves;

  •     the future level of operating and capital costs;

  •     the ability to obtain necessary governmental approvals for proposed exploration
        and production projects and to successfully construct and operate such projects;

  •     actions by credit ratings agencies, including potential downgrades;

  •     credit and performance risk of lenders, trading counterparties, customers, vendors,
        suppliers and third party operators;

  •     general economic and weather conditions in geographic regions or markets served,
        or where operations are located, including the risk of a global recession and
        negative impact on demand for oil and/or natural gas;

  •     the uncertainties associated with governmental regulation, including any potential
        changes in federal and state tax laws and regulations; and

  •     competition.


                                          52
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 64
                                                                  64 of
                                                                     of 80
                                                                        531



            C. Factors Relating to New Equity Interests to Be Issued under Plan

       1.      Market for Equity of NewCo

       There is currently no market for the New Equity Interests of NewCo, and there can be no
assurance as to the development or liquidity of any market for any such New Equity Interests.

        NewCo is under no obligation to list the New Equity Interests on any national securities
exchange. Therefore, there can be no assurance that any of the foregoing New Equity Interests
will be tradable or liquid at any time after the Effective Date. If a trading market does not develop
or is not maintained, holders of the foregoing securities may experience difficulty in reselling such
securities or may be unable to sell them at all. Even if such a market were to exist, such New
Equity Interests could trade at prices higher or lower than the estimated value set forth in the
Disclosure Statement depending upon many factors including prevailing interest rates, markets for
similar securities, industry conditions, and the performance of, and investor expectations for
NewCo. Accordingly, holders of these securities may bear certain risks associated with holding
securities for an indefinite period of time.

       2.      Potential Dilution

        The ownership percentage represented by the New Equity Interests of NewCo distributed
on the Effective Date under the Plan, will be subject to dilution from the Backstop Commitment
Premium Equity Interests and the New Equity Interests issued upon the exercise of the New Money
Warrants, New Equity Interests issued pursuant to the Management Incentive Plan Management
Incentive Program, any other shares that may be issued in connection with the Plan or post-
emergence, and the conversion of any options, warrants, convertible securities, exercisable
securities, or other securities that may be issued post-emergence.

       3.      Significant Holders

        Certain holders of Prepetition Claims are expected to acquire a significant ownership
interest in NewCo pursuant to the Plan. Such holders, if their decisions are aligned, may be in a
position to control the outcome of all actions requiring stockholder approval, including the election
of directors, without the approval of other stockholders. This concentration of ownership could
also facilitate or hinder a negotiated change of control of NewCo and, consequently, have an
impact upon the value of the New Equity Interests of NewCo.

       4.      New Equity Interests Subordinated to NewCo’s Indebtedness

        In any subsequent liquidation, dissolution, or winding up of NewCo, the New Equity
Interests would rank below all debt claims against NewCo. As a result, holders of the New Equity
Interests will not be entitled to receive any payment or other distribution of assets upon the
liquidation, dissolution, or winding up of NewCo until after all NewCo’s obligations to their debt
holders have been satisfied.




                                                 53
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 65
                                                                   65 of
                                                                      of 80
                                                                         531



       5.      Valuation of NewCo Not Intended to Represent Trading Value of New Equity
               Interests of NewCo

         The valuation of NewCo is not intended to represent the trading value of equity in public
or private markets and is subject to additional uncertainties and contingencies, all of which are
difficult to predict. Actual market prices of such New Equity Interests at issuance will depend
upon, among other things: (i) prevailing interest rates; (ii) conditions in the financial markets;
(iii) the anticipated initial securities holdings of prepetition creditors, some of whom may prefer
to liquidate their investment rather than hold it on a long-term basis; and (iv) other factors that
generally influence the prices of the New Equity Interests. The actual market price of the New
Equity Interests is likely to be volatile. Many factors, including factors unrelated to the Credit Bid
Purchaser’s actual operating performance and other factors not possible to predict, could cause the
market price of equity to rise and fall. Accordingly, the value, stated herein and in the Plan, of the
securities to be issued does not necessarily reflect, and should not be construed as reflecting, values
that will be attained for the in the public or private markets.

       6.      No Intention to Pay Dividends

        NewCo may not pay any dividends on the New Equity Interests and may instead retain any
future cash flows for debt reduction and to support its operations. As a result, the success of an
investment in the New Equity Interests may depend entirely upon any future appreciation in the
value of the New Equity Interests. There is, however, no guarantee that the New Equity Interests
will appreciate in value or even maintain their initial value.

            D. Factors Relating to Backstop Commitment Letter

       1.      Bankruptcy Court Might Not Approve Backstop Commitment Letter

       The Bankruptcy Court’s approval of the Backstop Commitment Letter is crucial to
consummating the restructuring contemplated by the Plan. Failure to obtain the Bankruptcy
Court’s approval of the Backstop Commitment Letter could prevent the Debtors from
consummating the Plan and the transactions contemplated thereby.

            E. Risks Related to Recoveries for Holders of General Unsecured Claims Under
               the Plan

       1.      Allowed General Unsecured Claims Could be More than Projected

         The estimate of Allowed General Unsecured Claims and recoveries for Holders of Allowed
General Unsecured Claims set forth in the Disclosure Statement are based on various assumptions.
Should one or more of the underlying assumptions ultimately prove to be incorrect, the actual
amounts of Allowed General Unsecured Claims may significantly vary from the estimated
amounts contained in the Disclosure Statement. Such difference may materially and adversely
affect, among other things, the recoveries to Holders of Allowed General Unsecured Claims under
the Plan.




                                                  54
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 66
                                                                  66 of
                                                                     of 80
                                                                        531



       2.      Residual Distributable Value of the Single Share of Post-Effective Date FWE
               Parent

       Although the Debtors will endeavor to value the residual distributable value of the Single
Share of the Post-Effective Date FWE Parent held for the benefit of the holders of Allowed General
Unsecured Claims (which will be included as a supplement to this Disclosure Statement), there
can be no certainty that such estimated value will materialize into any distributions to holders of
Allowed General Unsecured Claims.

        The residual distributable value of the Single Share of the Post-Effective Date FWE Parent
will necessarily be affected by, among other things: (i) recoveries generated in connection with the
operation of the remaining assets of the Post-Effective Date Debtors and FWE I; (ii) the outcome
of objections to Claims; and (iii) the cost and expenses of such actions and generally administering
the Post-Effective Date Debtors and FWE I.

            F. Additional Factors

       1.      Debtors Could Withdraw Plan

       The Plan may be revoked or withdrawn before the Confirmation Date by the Debtors.

       2.      Debtors Have No Duty to Update

        The statements contained in the Disclosure Statement are made by the Debtors as of the
date hereof, unless otherwise specified herein, and the delivery of the Disclosure Statement after
that date does not imply that there has been no change in the information set forth herein since that
date. The Debtors have no duty to update the Disclosure Statement unless otherwise ordered to
do so by the Bankruptcy Court.

       3.      No Representations Outside the Disclosure Statement Are Authorized

       No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan
are authorized by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in the
Disclosure Statement.

        Any representations or inducements made to secure your vote for acceptance or rejection
of the Plan that are other than those contained in, or included with, the Disclosure Statement should
not be relied upon in making the decision to vote to accept or reject the Plan.

       4.      No Legal or Tax Advice Is Provided by the Disclosure Statement

        The contents of the Disclosure Statement should not be construed as legal, business, or tax
advice. Each holder of a Claim or Interest should consult their own legal counsel and accountant
as to legal, tax, and other matters concerning their Claim or Interest.

       The Disclosure Statement is not legal advice to you. The Disclosure Statement may not be
relied upon for any purpose other than to determine how to vote on the Plan or object to
confirmation of the Plan.


                                                 55
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 67
                                                                  67 of
                                                                     of 80
                                                                        531



       5.      No Admission Made

        Nothing contained herein or in the Plan will constitute an admission of, or will be deemed
evidence of, the tax or other legal effects of the Plan on the Debtors or holders of Claims or
Interests.

       6.      Certain Tax Consequences

       For a discussion of certain tax considerations to the Debtors and certain holders of Claims
in connection with the implementation of the Plan, see Article VIII thereof.

                                     X.
                     VOTING PROCEDURES AND REQUIREMENTS

        Before voting to accept or reject the Plan, each holder of a claim or interest in a Voting
Class as of the Record Date (an “Eligible Holder”) should carefully review the Plan attached
hereto as Exhibit A. All descriptions of the Plan set forth in the Disclosure Statement are subject
to the terms and conditions of the Plan.

            A. Voting Deadline

       All Eligible Holders have been sent a Ballot together with the Disclosure Statement. Such
holders should read the Ballot carefully and follow the instructions contained therein. Please use
only the Ballot that accompanies the Disclosure Statement to cast your vote.

       The Debtors have engaged Prime Clerk LLC as their Voting Agent to assist in the
transmission of voting materials and in the tabulation of votes with respect to the Plan. FOR
YOUR VOTE TO BE COUNTED, YOUR VOTE MUST BE RECEIVED BY THE VOTING
AGENT AT THE ADDRESS SET FORTH BELOW ON OR BEFORE THE VOTING
DEADLINE OF 4:00 P.M. (PREVAILING CENTRAL TIME) ON MARCH 9, 2021,
UNLESS EXTENDED BY THE DEBTORS.

     IF A BALLOT IS DAMAGED OR LOST, YOU MAY CONTACT THE VOTING
AGENT AT THE NUMBER SET FORTH BELOW TO RECEIVE A REPLACEMENT
BALLOT. ANY BALLOT THAT IS EXECUTED AND RETURNED BUT WHICH DOES NOT
INDICATE A VOTE FOR ACCEPTANCE OR REJECTION OF THE PLAN WILL NOT BE
COUNTED.

     IF YOU HAVE ANY QUESTIONS CONCERNING VOTING PROCEDURES, YOU
MAY CONTACT THE VOTING AGENT AT:

                                    Prime Clerk LLC
                 Telephone: (855) 631-5346 (toll free from U.S. or Canada)
                           or +1 (917) 460-0913 (international)
     E-mail: fieldwoodballots@primeclerk.com (with “Fieldwood” in the subject line)

       Additional copies of the Disclosure Statement are available upon request made to the
Voting Agent, at the telephone numbers or e-mail address set forth immediately above.


                                                56
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 68
                                                                   68 of
                                                                      of 80
                                                                         531



           B. Voting Procedures

       The Debtors are providing copies of the Disclosure Statement (including all exhibits and
appendices), related materials, and a Ballot (collectively, a “Solicitation Package”) to record
holders in the Voting Classes.

Eligible Holders in the Voting Classes should provide all of the information requested by the
Ballot, and should (a) complete and return all Ballots received in the enclosed, self-addressed,
postage-paid envelope provided with each such Ballot to the Voting Agent or (b) submit a Ballot
electronically via the E-Ballot voting platform on Prime Clerk’s website by visiting
https://cases.primeclerk.com/FieldwoodEnergy, clicking on the “Submit E-Ballot” link, and
following the instructions set forth on the website.

      HOLDERS ARE STRONGLY ENCOURAGED TO SUBMIT THEIR BALLOTS VIA
THE E-BALLOT PLATFORM.

           C. Parties Entitled to Vote

        Under the Bankruptcy Code, only holders of claims or interests in “impaired” classes are
entitled to vote on a plan. Under section 1124 of the Bankruptcy Code, a class of claims or interests
is deemed to be “impaired” under a plan unless: (1) the plan leaves unaltered the legal, equitable,
and contractual rights to which such claim or interest entitles the holder thereof; or
(2) notwithstanding any legal right to an accelerated payment of such claim or interest, the plan
cures all existing defaults (other than defaults resulting from the occurrence of events of
bankruptcy) and reinstates the maturity of such claim or interest as it existed before the default.

        If, however, the holder of an impaired claim or interest will not receive or retain any
distribution under the plan on account of such claim or interest, the Bankruptcy Code deems such
holder to have rejected the plan, and, accordingly, holders of such claims and interests do not
actually vote on the plan. If a claim or interest is not impaired by the plan, the Bankruptcy Code
deems the holder of such claim or interest to have accepted the plan and, accordingly, holders of
such claims and interests are not entitled to vote on the plan.

        A vote may be disregarded if the Bankruptcy Court determines, pursuant to section 1126(e)
of the Bankruptcy Code, that it was not solicited or procured in good faith or in accordance with
the provisions of the Bankruptcy Code.

        The Bankruptcy Code defines “acceptance” of a plan by a class of: (1) Claims as
acceptance by creditors in that class that hold at least two-thirds (2/3) in dollar amount and more
than one-half (1/2) in number of the Claims that cast ballots for acceptance or rejection of the plan;
and (2) Interests as acceptance by interest holders in that class that hold at least two-thirds (2/3) in
amount of the Interests that cast ballots for acceptance or rejection of the plan.

       The Claims in the following classes are impaired under the Plan and entitled to vote to
accept or reject the Plan:

       Class 4 — FLTL Secured Claims
       Class 5 — SLTL Claims
       Class 6 — General Unsecured Claims

                                                  57
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 69
                                                                   69 of
                                                                      of 80
                                                                         531




        An Eligible Holder should vote on the Plan by completing a Ballot in accordance with the
instructions therein and as set forth above.

        All Ballots must be signed by the Eligible Holder, or any person who has obtained a
properly completed Ballot proxy from the Eligible Holder by the Record Date. Unless otherwise
ordered by the Bankruptcy Court, Ballots that are signed, dated, and timely received, but on which
a vote to accept or reject the Plan has not been indicated, will not be counted. The Debtors, in
their sole discretion, may request that the Voting Agent attempt to contact such voters to cure any
such defects in the Ballots. Any Ballot marked to both accept and reject the Plan will not be
counted. If you return more than one Ballot voting different claims, the Ballots are not voted in
the same manner, and you do not correct this before the Voting Deadline, those Ballots will not be
counted. An otherwise properly executed Ballot that attempts to partially accept and partially
reject the Plan will likewise not be counted.

        The Ballots provided to Eligible Holders will reflect the principal amount of such Eligible
Holder’s Claim; however, when tabulating votes, the Voting Agent may adjust the amount of such
Eligible Holder’s Claim by multiplying the principal amount by a factor that reflects all amounts
accrued between the Record Date and the Petition Date including interest.

        Under the Bankruptcy Code, for purposes of determining whether the requisite votes for
acceptance have been received, only Eligible Holders who actually vote will be counted. The
failure of a holder to deliver a duly executed Ballot to the Voting Agent will be deemed to
constitute an abstention by such holder with respect to voting on the Plan and such abstentions will
not be counted as votes for or against the Plan.

         Except as provided below, unless the Ballot is timely submitted to the Voting Agent before
the Voting Deadline together with any other documents required by such Ballot, the Debtors may,
in their sole discretion, reject such Ballot as invalid, and therefore decline to utilize it in connection
with seeking confirmation of the Plan.

        1.      Fiduciaries and Other Representatives

        If a Ballot is signed by a trustee, executor, administrator, guardian, attorney-in-fact, officer
of a corporation, or another, acting in a fiduciary or representative capacity, such person should
indicate such capacity when signing and, if requested, must submit proper evidence satisfactory to
the Debtors of authority to so act. Authorized signatories should submit the separate Ballot of
each Eligible Holder for whom they are voting.

        2.      Agreements Upon Furnishing Ballots

        The delivery of an accepting Ballot pursuant to one of the procedures set forth above will
constitute the agreement of the creditor with respect to such Ballot to accept: (a) all of the terms
of, and conditions to, the Solicitation; and (b) the terms of the Plan including the injunction,
releases, and exculpations set forth in Sections 10.5, 10.6, 10.7, 10.8, and 10.9 therein. All parties
in interest retain their right to object to confirmation of the Plan pursuant to section 1128 of the
Bankruptcy Code.



                                                   58
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 70
                                                                   70 of
                                                                      of 80
                                                                         531



       3.      Change of Vote

       Any party who has previously submitted to the Voting Agent before the Voting Deadline
a properly completed Ballot may revoke such Ballot and change its vote by submitting to the
Voting Agent before the Voting Deadline a subsequent, properly completed Ballot voting for
acceptance or rejection of the Plan.

            D. Waivers of Defects, Irregularities, etc.

         Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
eligibility (including time of receipt), acceptance, and revocation or withdrawals of Ballots will be
determined by the Voting Agent or the Debtors, as applicable, in their sole discretion, which
determination will be final and binding. The Debtors reserve the right to reject any and all Ballots
submitted by any of their respective creditors not in proper form, the acceptance of which would,
in the opinion of the Debtors or their counsel, as applicable, be unlawful. The Debtors further
reserve their respective rights to waive any defects or irregularities or conditions of delivery as to
any particular Ballot. The interpretation (including the Ballot and the respective instructions
thereto) by the applicable Debtor, unless otherwise directed by the Bankruptcy Court, will be final
and binding on all parties. Unless waived, any defects or irregularities in connection with
deliveries of Ballots must be cured within such time as the Debtors (or the Bankruptcy Court)
determines. Neither the Debtors nor any other person will be under any duty to provide notification
of defects or irregularities with respect to deliveries of Ballots nor will any of them incur any
liabilities for failure to provide such notification. Unless otherwise directed by the Bankruptcy
Court, delivery of such Ballots will not be deemed to have been made until such irregularities have
been cured or waived. Ballots previously furnished (and as to which any irregularities have not
theretofore been cured or waived) will be invalidated.

            E. Further Information, Additional Copies

       If you have any questions or require further information about the voting procedures for
voting your claims or about the packet of material you received, or if you wish to obtain an
additional copy of the Plan, the Disclosure Statement, or any exhibits to such documents, please
contact the Voting Agent.

                                          XI.
                                  CONFIRMATION OF PLAN

            A. Confirmation Hearing

        Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a
confirmation hearing upon appropriate notice to all required parties. In a motion filed
contemporaneously with the filing of this Disclosure Statement, the Debtors have requested that
the Bankruptcy Court schedule the Confirmation Hearing. Notice of the Confirmation Hearing
will be provided to all known creditors and equity holders or their representatives. The
Confirmation Hearing may be adjourned from time to time by the Bankruptcy Court without
further notice except for the announcement of the continuation date made at the Confirmation
Hearing, at any subsequent continued Confirmation Hearing, or pursuant to a notice filed on the
docket for the Chapter 11 Cases.


                                                 59
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 71
                                                                  71 of
                                                                     of 80
                                                                        531



           B. Objections to Confirmation

        Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
the confirmation of a plan. Any objection to confirmation of the Plan must be in writing, must
conform to the Bankruptcy Rules and the Bankruptcy Local Rules, must set forth the name of the
objector, the nature and amount of the Claims held or asserted by the objector against the Debtors’
estates or properties, the basis for the objection and the specific grounds therefore, and must be
filed with the Bankruptcy Court, together with proof of service thereof. The following parties may
be served at the below addresses.

       Debtors at
       Fieldwood Energy LLC
       2000 W. Sam Houston Parkway, S. Suite 1200
       Houston, Texas 77042
       Attn: Michael Dane
             Thomas R. Lamme

       Counsel to Debtors at
       Weil, Gotshal & Manges LLP
       700 Louisiana Street, Suite 1700
       Houston, Texas 77002
       Attn: Alfredo R. Pérez (Alfredo.Perez@weil.com)
              Clifford Carlson (Clifford.Carlson@weil.com)

       – and –

       Weil, Gotshal & Manges LLP
       767 Fifth Avenue
       New York, New York 10153
       Attn: Matthew S. Barr (Matt.Barr@weil.com)
              Jessica Liou (Jessica.Liou@weil.com)

       Counsel to the Ad Hoc Group of Secured Lenders at
       Haynes and Boone, LLP
       1221 McKinney Street, Suite 4000
       Houston, Texas 77010
       Attn: Charles A. Beckham Jr. (charles.beckham@haynesboone.com)
             Martha Wyrick (martha.wyrick@haynesboone.com)

       – and –

       Davis Polk & Wardwell LLP
       450 Lexington Avenue
       New York, New York 10017
       Attn: Damian S. Schaiable (damian.schiable@davispolk.com)
              Natasha Tsiouris (natasha.tsiouris@davispolk.com)
              Josh Sturm (joshua.sturm@davispolk.com)


                                                60
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 72
                                                                  72 of
                                                                     of 80
                                                                        531



       Counsel to the Creditors’ Committee at

       Cole Schotz P.C.
       301 Commerce Street, Suite 1700
       Fort Worth, TX 76102
       Attn: Michael D. Warner (mwarner@coleschotz.com)
              Benjamin L. Wallen (bwallen@coleschotz.com)

       – and –

       Stroock & Stroock & Lavan LLP
       180 Maiden Lane
       New York, New York 10038
       Attn: Kristopher M. Hansen (khansen@stroock.com)
              Frank A. Merola (fmerola@stroock.com)
              Jonathan D. Canfield (jcanfield@stroock.com)
              Sherry J. Millman (smillman@stroock.com)

       Office of the U.S. Trustee at
       Office of the U.S. Trustee for Region 7
       515 Rusk Street, Suite 3516
       Houston, Texas 77002
       Attn: Hector Duran (Hector.Duran@usdoj.gov)
              Stephen Statham (Stephen.Statham@usdoj.gov)

   UNLESS AN OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT
           MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

            C. Requirements for Confirmation of Plan

        The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129
of the Bankruptcy Code are met. Among the requirements for confirmation are that the Plan is
(i) accepted by all impaired Classes of Claims and Interests entitled to vote or, if rejected or
deemed rejected by an impaired Class, that the Plan “does not discriminate unfairly” and is “fair
and equitable” as to such Class; (ii) in the “best interests” of the holders of Claims and Interests
impaired under the Plan; and (iii) feasible.

       1.        Acceptance of Plan

        Under the Bankruptcy Code, a Class accepts a chapter 11 plan if (i) holders of two-thirds
(2/3) in amount and (ii) with respect to holders of Claims, more than a majority in number of the
allowed claims in such class (other than those designated under section 1126(e) of the Bankruptcy
Code) vote to accept the Plan. Holders of Claims that fail to vote are not counted in determining
the thresholds for acceptance of the Plan.

       If any impaired Class of Claims does not accept the Plan (or is deemed to reject the Plan),
the Bankruptcy Court may still confirm the Plan at the request of the Debtors if, as to each impaired
Class of Claims that has not accepted the Plan (or is deemed to reject the Plan), the Plan “does not

                                                 61
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 73
                                                                   73 of
                                                                      of 80
                                                                         531



discriminate unfairly” and is “fair and equitable” under the so-called “cram down” provisions set
forth in section 1129(b) of the Bankruptcy Code. The “unfair discrimination” test applies to classes
of claims or interests that are of equal priority and are receiving different treatment under the Plan.
A chapter 11 plan does not discriminate unfairly, within the meaning of the Bankruptcy Code, if
the legal rights of a dissenting class are treated in a manner consistent with the treatment of other
classes whose legal rights are substantially similar to those of the dissenting class and if no class
of claims or interests receives more than it legally is entitled to receive for its claims or interests.
The test does not require that the treatment be the same or equivalent, but that such treatment be
“fair.” The “fair and equitable” test applies to classes of different priority and status (e.g., secured
versus unsecured; claims versus interests) and includes the general requirement that no class of
claims receive more than 100% of the allowed amount of the claims in such class. As to the
dissenting class, the test sets different standards that must be satisfied for the Plan to be confirmed,
depending on the type of claims or interests in such class. The following sets forth the “fair and
equitable” test that must be satisfied as to each type of class for a plan to be confirmed if such class
rejects the Plan:

       •       Secured Creditors. Each holder of an impaired secured claim either (a) retains its
               liens on the property, to the extent of the allowed amount of its secured claim, and
               receives deferred cash payments having a value, as of the effective date of the plan,
               of at least the allowed amount of such secured claim, (b) has the right to credit bid
               the amount of its claim if its property is sold and retains its lien on the proceeds of
               the sale, or (c) receives the “indubitable equivalent” of its allowed secured claim.

       •       Unsecured Creditors. Either (a) each holder of an impaired unsecured claim
               receives or retains under the plan, property of a value, as of the effective date of the
               plan, equal to the amount of its allowed claim or (b) the holders of claims and
               interests that are junior to the claims of the dissenting class will not receive any
               property under the plan.

       •       Interests. Either (a) each equity interest holder will receive or retain under the plan
               property of a value equal to the greater of (i) the fixed liquidation preference or
               redemption price, if any, of such equity interest and (ii) the value of the equity
               interest or (b) the holders of interests that are junior to the interests of the dissenting
               class will not receive or retain any property under the plan.

        The Debtors believe the Plan satisfies the “fair and equitable” requirement with respect to
any rejecting Class.

      IF ALL OTHER CONFIRMATION REQUIREMENTS ARE SATISFIED AT THE
CONFIRMATION HEARING, THE DEBTORS WILL ASK THE BANKRUPTCY COURT TO
RULE THAT THE PLAN MAY BE CONFIRMED ON THE GROUND THAT THE SECTION
1129(b) REQUIREMENTS HAVE BEEN SATISFIED.

       2.      Best Interests Test

        As noted above, with respect to each impaired class of claims and equity interests,
confirmation of a plan requires that each such holder either: (a) accept the plan; or (b) receive or
retain under the plan property of a value, as of the effective date of the plan, that is not less than

                                                  62
     Case
      Case20-33948
           20-33948 Document
                     Document775-2
                              723 Filed
                                   Filed in
                                          in TXSB
                                             TXSB on
                                                  on 01/01/21
                                                     01/21/21 Page
                                                              Page 74
                                                                   74 of
                                                                      of 80
                                                                         531



the value such holder would receive or retain if the debtors were liquidated under chapter 7 of the
Bankruptcy Code. This requirement is referred to as the “best interests test.”

        This test requires a bankruptcy court to determine what the holders of allowed claims and
allowed equity interests in each impaired class would receive from a liquidation of the debtor’s
assets and properties in the context of a liquidation under chapter 7 of the Bankruptcy Code. To
determine if a plan is in the best interests of each impaired class, the value of the distributions from
the proceeds of the liquidation of the debtor’s assets and properties (after subtracting the amounts
attributable to the aforesaid claims) is then compared with the value offered to such classes of
claims and equity interests under the plan.

       The Debtors believe that under the Plan all holders of impaired Claims and Interests will
receive property with a value not less than the value such holder would receive in a liquidation
under chapter 7 of the Bankruptcy Code. The Debtors’ belief is based primarily on:
(a) consideration of the effects that a chapter 7 liquidation would have on the ultimate proceeds
available for distribution to holders of impaired Claims and Interests; and (b) the Liquidation
Analysis to be included as a supplement to this Disclosure Statement.

       The Debtors believe that any liquidation analysis is speculative, as it is necessarily
premised on assumptions and estimates which are inherently subject to significant uncertainties
and contingencies, many of which would be beyond the control of the Debtors. The Liquidation
Analysis is solely for the purpose of disclosing to holders of Claims and Interests the effects of a
hypothetical chapter 7 liquidation of the Debtors, subject to the assumptions set forth therein.
There can be no assurance as to values that would actually be realized in a chapter 7 liquidation
nor can there be any assurance that a bankruptcy court will accept the Debtors’ conclusions or
concur with such assumptions in making its determinations under section 1129(a)(7) of the
Bankruptcy Code.

       3.      Feasibility

       Section 1129(a)(11) of the Bankruptcy Code requires that a debtor demonstrate that
confirmation of a plan is not likely to be followed by liquidation or the need for further financial
reorganization. For purposes of determining whether the Plan meets this requirement, the Debtors
have analyzed the abilities of each of FWE I, FWE III, and NewCo and its subsidiaries, including
the Credit Bid Purchaser, to meet their respective obligations under the Plan.

               (a)     FWE I

        The Debtors believe that FWE I will have sufficient funds and resources to meet, or
otherwise satisfy, its obligations under the Plan going forward. As discussed above, the Debtors
will capitalize FWE I on the Effective Date with $50 million minus the accrual of post-petition
decommissioning spend by the Debtors on the Legacy Apache Properties, which the Debtors
project shall be approximately $28 million. Additional funds will be available post-Effective Date
through cash flows generated from operations of the Legacy Apache Properties, which the Debtors
project will produce approximately 25,000 barrels of oil equivalent per day, and through loans of
up to $400 million to be provided by Apache in accordance with the terms and conditions of the
Standby Credit Facility Documents to be used by FWE I to perform P&A Obligations.
Additionally, under the Decommissioning Agreement, separate security has previously been


                                                  63
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 75
                                                                  75 of
                                                                     of 80
                                                                        531



provided to Apache to secure P&A Obligations associated with the Apache Legacy Properties,
including approximately $238 million in funds in Trust A and approximately $498 million in
letters of credit and surety bonds (payable in accordance with their terms and conditions).

       Based on the Debtors’ estimate of approximately $965 million to $1.16 billion in total FWE
I Obligations, including all P&A Obligations associated with the Legacy Apache Properties, and
the funds and resources described above, the Debtors believe that the Plan provides the ability for
FWE I to meet, or otherwise satisfy, its obligations under the Plan.

               (b)     FWE III

        The Debtors further believe that FWE III will have sufficient funds to meet its obligations
under the Plan. FWE III will be capitalized with approximately $27 million of capital through a
combination of approximately (i) $5-15 million of cash on hand and (ii) $12-22 million in future
cash commitments from the Credit Bid Purchaser, which the Debtors believe will provide the Plan
Administrator with adequate funding to implement the Plan, operate the FWE III Assets, and
satisfy the FWE III Obligations, including the P&A Obligations associated with the FWE III
Assets and wind down costs. Moreover, an additional $9 million in outstanding security provided
by surety bonds will be available to backstop any of the FWE III Obligations (in accordance with
the terms and conditions of such bonds). In addition, the Plan Administrator will engage the
services of Credit Bid Purchaser to leverage its staff’s extensive experience managing P&A and
decommissioning work to efficiently and safely complete FWE III’s P&A obligations.

               (c)     Credit Bid Purchaser

        The Debtors believe that the Credit Bid Purchaser will have sufficient funds to meet its
obligations under the Plan, including those obligations related to the Credit Bid Acquired Interests.
The Debtors submit that the Credit Bid Purchaser can provide adequate assurance of future
performance under the assumed executory contracts and unexpired leases. If the Plan is confirmed,
the Credit Bid Purchaser will acquire specified Deepwater Assets and Shelf Assets with a
significantly de-levered balance sheet and reduction in annual debt service obligations. Moreover,
upon the Effective Date, the Credit Bid Purchaser’s capital structure will be comprised of up to
approximately $324 million in funded debt, with approximately $224 million of the proceeds used
to fund the cash portion of the Credit Bid Consideration and the remaining $100 million used to
capitalize Credit Bid Purchaser following emergence.

       The Debtors will also prepare the consolidated financial projections for the Credit Bid
Purchaser (the “Financial Projections”) for the fiscal years 2021 through 2025 (the “Projection
Period”). The Financial Projections, and the assumptions on which they are based, will be filed
and served as a supplement to this Disclosure Statement.

        Accordingly, the Debtors believe that the Plan is not likely to be followed by liquidation
or the need for further reorganization.

        The Debtors do not, as a matter of course, publish their business plans or strategies,
projections or anticipated financial position. Accordingly, the Debtors do not anticipate that they
will, and disclaim any obligation to, furnish updated business plans or Financial Projections to
parties in interest after the Confirmation Date. In connection with the planning and development


                                                 64
    Case
     Case20-33948
          20-33948 Document
                    Document775-2
                             723 Filed
                                  Filed in
                                         in TXSB
                                            TXSB on
                                                 on 01/01/21
                                                    01/21/21 Page
                                                             Page 76
                                                                  76 of
                                                                     of 80
                                                                        531



of the Plan, the Financial Projections were prepared by the Debtors, with the assistance of their
professionals, to present the anticipated impact of the Plan. The Financial Projections assume that
the Plan will be implemented in accordance with its stated terms. The Financial Projections are
based on forecasts of key economic variables and may be significantly impacted by, among other
factors, oil and natural gas prices, expectations regarding future commodity prices, the level of
activity of oil and natural gas exploration, development, and production domestically and
internationally, demand for drilling services, competition and supply of competing rigs, changes
in the political environment of the countries in which the Debtors operate, regulatory changes, and
a variety of other factors. Consequently, the estimates and assumptions underlying the Financial
Projections are inherently uncertain and are subject to material business, economic, and other
uncertainties. Therefore, such Financial Projections, estimates, and assumptions are not
necessarily indicative of current values or future performance, which may be significantly less or
more favorable than set forth herein.

        The Financial Projections should be read in conjunction with the assumptions,
qualifications, and explanations set forth in the Disclosure Statement, the Plan, and the Plan
Supplement, in their entirety, and the historical consolidated financial statements (including the
notes and schedules thereto).

       4.      Valuation

        The Debtors and Houlihan believe that the valuation of Credit Bid Purchaser implied by
the Credit Bid Transaction is currently the best measure of fair market value for the assets and
associated liabilities included in the Credit Bid Transaction given, among other reasons, (i) the
robust M&A Process conducted by Houlihan and (ii) the terms of the Credit Bid Transaction are
the result of good faith, arm’s length, and comprehensive negotiations between the Debtors and
the Consenting FLTL Lenders and their respective financial and legal advisors based on in-depth
due diligence and a determination of the value maximizing development, production and operation
of the assets included in the Credit Bid Transaction. Notwithstanding the foregoing, Houlihan has
prepared a valuation analysis, which will be filed in a supplement to the Disclosure Statement.



                                        XII.
                           ALTERNATIVES TO CONFIRMATION
                             AND CONSUMMATION OF PLAN

        The Debtors have evaluated several alternatives to the Plan. After studying these
alternatives, the Debtors have concluded that the Plan is the best alternative and will maximize
recoveries to parties in interest, assuming confirmation and consummation of the Plan. If the Plan
is not confirmed and consummated, the alternatives to the Plan are: (A) the preparation and
presentation of an alternative reorganization; (B) a sale of some or all of the Debtors’ assets
pursuant to section 363 of the Bankruptcy Code; or (C) a liquidation under chapter 7 of the
Bankruptcy Code.




                                                65
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      Case20-33948
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                                                     01/21/21 Page
                                                              Page 77
                                                                   77 of
                                                                      of 80
                                                                         531



           A. Alternative Plan of Reorganization

         If the Plan is not confirmed, the Debtors (or if the Debtors’ exclusive period in which to
file a plan of reorganization has expired, any other party in interest) could attempt to formulate a
different plan. Such a plan might involve either: (a) a reorganization and continuation of the
Debtors’ business or (b) an orderly liquidation of their assets. The Debtors, however, believe that
the Plan, as described herein, enables their creditors to realize the most value under the
circumstances.

           B. Sale under Section 363 of the Bankruptcy Code

        Upon the Toggle Event, the Debtors intend to seek from the Bankruptcy Court, after notice
and hearing, authorization to sell their assets to the Credit Bid Purchaser pursuant to section 363
of the Bankruptcy Code. Upon analysis and consideration of this alternative, the Debtors do not
believe that a standalone sale of their assets pursuant to section 363 of the Bankruptcy Code would
yield a higher recovery for the holders of Claims and Interests under the Plan.

           C. Liquidation Under Chapter 7 of Bankruptcy Code

        If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter
7 of the Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets
of the Debtors for distribution to their creditors in accordance with the priorities established by the
Bankruptcy Code. The effect that a chapter 7 liquidation would have on the recovery of holders
of Allowed Claims and Interests is set forth in the Liquidation Analysis to be included as a
supplement to this Disclosure Statement.

        The Debtors believe that liquidation under chapter 7 would result in smaller distributions
to creditors than those provided for in the Plan because of, among other things, the delay resulting
from the conversion of the Chapter 11 Cases, the additional administrative expenses associated
with the appointment of a trustee and the trustee’s retention of professionals who would be required
to become familiar with the many legal and factual issues in the Chapter 11 Cases, and the loss in
value attributable to an expeditious liquidation of the Debtors’ assets as required by chapter 7.

                                      XIII.
                         CONCLUSION AND RECOMMENDATION

       The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders
of Claims in Classes 4, 5, and 6 to vote in favor thereof.



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                                           TXSB on
                                                on 01/01/21
                                                   01/21/21 Page
                                                            Page 78
                                                                 78 of
                                                                    of 80
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Dated: January 1, 2021
        Houston, Texas
                                    Respectfully submitted,

                                    FIELDWOOD ENERGY LLC

                                    By:Fieldwood Energy Inc., its managing member


                                    By:���.��
                                    Name: Thomas R. Lamme
                                    Title: Senior Vice President and General Counsel

                                    FIELDWOOD ENERGY INC.


                                    By:&��·�
                                    Name: Thomas R. Lamme
                                    Title: Senior Vice President and General Counsel

                                    FIELDWOOD ENERGY OFFSHORE LLC


                                    By:��\<.��
                                    Name: Thomas R. Lamme
                                    Title: Vice President

                                    FIELDWOOD ONSHORE LLC


                                    By:J{k��.�
                                    Name: Thomas R. Lamme
                                    Title: Vice President

                                    FIELDWOOD SD OFFSHORE LLC


                                    By:��-�
                                    Name: Thomas R. Lamme
                                    Title: Vice President




              [Signature Page to Disclosure Statement for Joint Chapter 11 Plan of
                       Fieldwood Energy LLC and its Affiliated Debtors]
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                                                01/21/21 Page
                                                         Page 79
                                                              79 of
                                                                 of 80
                                                                    531
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                Document775-2
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                                             on 01/01/21
                                                01/21/21 Page
                                                         Page 80
                                                              80 of
                                                                 of 80
                                                                    531
Case
Case20-33948
     20-33948 Document
              Document775-2
                       723-1 Filed
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                                          on01/21/21
                                            01/01/21 Page
                                                     Page81
                                                          1 of
                                                             of491
                                                                531




                             Exhibit A
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           20-33948 Document
                    Document775-2
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                                                           Page82
                                                                2 of
                                                                   of491
                                                                      531




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                               §        Chapter 11
                                                     §
FIELDWOOD ENERGY LLC, et al.,                        §        Case No. 20-33948 (MI)
                                                     §
                    Debtors.1                        §        (Jointly Administered)
                                                     §


                           JOINT CHAPTER 11 PLAN OF
                FIELDWOOD ENERGY LLC AND ITS AFFILIATED DEBTORS



WEIL, GOTSHAL & MANGES LLP                                 WEIL, GOTSHAL & MANGES LLP
Alfredo R. Pérez                                           Matthew S. Barr (admitted pro hac vice)
Clifford W. Carlson                                        Jessica Liou (admitted pro hac vice)
700 Louisiana Street, Suite 1700                           767 Fifth Avenue
Houston, Texas 77002                                       New York, New York 10153
Telephone: (713) 546-5000                                  Telephone: (212) 310-8000
Facsimile: (713) 224-9511                                  Facsimile: (212) 310-8007


Attorneys for Debtors
and Debtors in Possession

Dated: January 1, 2021
        Houston, Texas




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778);
Fieldwood Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489);
Fieldwood SD Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf
LLC (8107); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC
(1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary
mailing address is 2000 W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.




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           20-33948 Document
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                                                on01/21/21
                                                  01/01/21 Page
                                                           Page83
                                                                3 of
                                                                   of491
                                                                      531




                                                       Table of Contents

ARTICLE I.               Definitions and Interpretation. .......................................................................1
          1.1            Definitions......................................................................................................... 1
          1.2            Interpretation; Application of Definitions; Rules of Construction. ................ 20
          1.3            Reference to Monetary Figures. ...................................................................... 21
          1.4            Controlling Document. ................................................................................... 21
          1.5            Certain Consent Rights ................................................................................... 21
ARTICLE II.              Administrative Expense Claims, Fee Claims, DIP Claims, and Priority
                         Tax Claims. .....................................................................................................21
          2.1            Treatment of Administrative Expense Claims. ............................................... 21
          2.2            Treatment of Fee Claims. ................................................................................ 22
          2.3            Treatment of DIP Claims. ............................................................................... 23
          2.4            Payment of Fees and Expenses Under DIP Order. ......................................... 23
          2.5            Treatment of Priority Tax Claims. .................................................................. 24
          2.6            Restructuring Expenses ................................................................................... 24
ARTICLE III.             Classification of Claims and Interests. .........................................................24
          3.1            Classification in General. ................................................................................ 24
          3.2            Formation of Debtor Groups for Convenience Only. ..................................... 25
          3.3            Summary of Classification of Claims and Interests. ....................................... 25
          3.4            Special Provision Governing Unimpaired Claims. ......................................... 25
          3.5            Separate Classification of Other Secured Claims. .......................................... 25
          3.6            Elimination of Vacant Classes. ....................................................................... 26
          3.7            Voting Classes; Presumed Acceptance by Non-Voting Classes..................... 26
          3.8            Voting; Presumptions; Solicitation. ................................................................ 26
          3.9            Cramdown. ...................................................................................................... 26
          3.10           No Waiver. ...................................................................................................... 27
ARTICLE IV.              Treatment of Claims and Interests. ..............................................................27
          4.1            Class 1: Other Secured Claims. ...................................................................... 27
          4.2            Class 2: Priority Non-Tax Claims. ................................................................. 27
          4.3            Class 3: FLFO Claims. ................................................................................... 28
          4.4            Class 4: FLTL Secured Claims. ..................................................................... 28
          4.5            Class 5: SLTL Claims. ................................................................................... 28
          4.6            Class 6: General Unsecured Claims. .............................................................. 29
          4.7            Class 7: Intercompany Claims. ...................................................................... 29
          4.8            Class 8: Subordinated Securities Claims. ...................................................... 29
          4.9            Class 9: Intercompany Interests. .................................................................... 30
          4.10           Class 10: Existing Equity Interests. ............................................................... 30
          4.11           Treatment of Vacant Classes. ......................................................................... 30
ARTICLE V.               Means for Implementation. ...........................................................................30
          5.1            Compromise and Settlement of Claims, Interests, and Controversies. ........... 30
          5.2            Credit Bid Transaction; Confirmation Outside Date. ..................................... 30
          5.3            New Equity Interests. ...................................................................................... 32



WEIL:\97624506\34\45327.0007
      Case
      Case20-33948
           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page84
                                                                4 of
                                                                   of491
                                                                      531




          5.4            NewCo Organizational Documents ................................................................ 32
          5.5            New Money Warrants ..................................................................................... 32
          5.6            Plan of Merger ................................................................................................ 33
          5.7            Single Share .................................................................................................... 33
          5.8            Plan Administrator .......................................................................................... 33
          5.9            Plan Funding. .................................................................................................. 37
          5.10           The Exit Facilities ........................................................................................... 37
          5.11           Apache Definitive Documents. ....................................................................... 38
          5.12           Abandonment of Certain Properties................................................................ 38
          5.13           Establishment of Claims Reserve. .................................................................. 39
          5.14           Plan Administrator Expense Reserve.............................................................. 39
          5.15           Continued Corporate Existence; Effectuating Documents; Further
                         Transactions. ................................................................................................... 39
          5.16           Corporate Action. ............................................................................................ 40
          5.17           Cancellation of Existing Securities and Agreements. ..................................... 41
          5.18           Cancellation of Certain Existing Security Interests. ....................................... 42
          5.19           Intercompany Interests; Corporate Reorganization. ....................................... 42
          5.20           Restructuring Transactions. ............................................................................ 42
          5.21           Liquidating Trust. ........................................................................................... 42
          5.22           Securities Exemptions..................................................................................... 43
          5.23           Closing of Chapter 11 Cases. .......................................................................... 44
ARTICLE VI.              Distributions. ..................................................................................................45
          6.1            Distributions Generally. .................................................................................. 45
          6.2            No Postpetition Interest on Claims. ................................................................ 45
          6.3            Date of Distributions. ...................................................................................... 45
          6.4            Distribution Record Date. ............................................................................... 45
          6.5            Distributions after Effective Date ................................................................... 45
          6.6            Delivery of Distributions. ............................................................................... 45
          6.7            Unclaimed Property. ....................................................................................... 46
          6.8            Satisfaction of Claims. .................................................................................... 46
          6.9            Manner of Payment under Plan....................................................................... 46
          6.10           De Minimis Cash Distributions. ..................................................................... 46
          6.11           No Distribution in Excess of Amount of Allowed Claim. .............................. 47
          6.12           Allocation of Distributions Between Principal and Interest. .......................... 47
          6.13           Setoffs and Recoupments. ............................................................................... 47
          6.14           Withholding and Reporting Requirements. .................................................... 47
          6.15           Claims Paid by Third Parties. ......................................................................... 48
          6.16           Claims Payable by Third Parties. .................................................................... 48
ARTICLE VII. Procedures for Disputed Claims. ..................................................................49
          7.1            Allowance of Claims....................................................................................... 49
          7.2            Claims Objections. .......................................................................................... 49
          7.3            Estimation of Claims....................................................................................... 49
          7.4            Adjustment to Claims Register Without Objection. ....................................... 50
          7.5            Time to File Objections to Claims. ................................................................. 50
          7.6            Disallowance of Claims. ................................................................................. 50


                                                                    ii
WEIL:\97624506\34\45327.0007
      Case
      Case20-33948
           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page85
                                                                5 of
                                                                   of491
                                                                      531




          7.7            Amendments to Claims. .................................................................................. 50
          7.8            No Distributions Pending Allowance. ............................................................ 50
          7.9            Distributions After Allowance. ....................................................................... 51
          7.10           Claims Resolution Procedures Cumulative. ................................................... 51
ARTICLE VIII. Executory Contracts and Unexpired Leases. ..............................................51
          8.1            General Treatment. ......................................................................................... 51
          8.2            Determination of Cure Amounts and Deemed Consent. ................................ 52
          8.3            Rejection Damages Claims. ............................................................................ 54
          8.4            Survival of the Debtors’ Indemnification Obligations.................................... 54
          8.5            Insurance Policies. .......................................................................................... 54
          8.6            Modifications, Amendments, Supplements, Restatements, or Other
                         Agreements. .................................................................................................... 55
          8.7            Reservation of Rights. ..................................................................................... 55
ARTICLE IX.              Conditions Precedent to Occurrence of Effective Date. .............................56
          9.1            Conditions Precedent to Effective Date. ......................................................... 56
          9.2            Waiver of Conditions Precedent. .................................................................... 57
          9.3            Effect of Failure of a Condition. ..................................................................... 57
ARTICLE X.               Effect of Confirmation. ..................................................................................58
          10.1           Binding Effect. ................................................................................................ 58
          10.2           Vesting of Assets. ........................................................................................... 58
          10.3           Discharge of Claims Against and Interests in Debtors. .................................. 58
          10.4           Pre-Confirmation Injunctions and Stays. ........................................................ 59
          10.5           Injunction Against Interference With Plan. .................................................... 59
          10.6           Plan Injunction. ............................................................................................... 59
          10.7           Releases........................................................................................................... 60
          10.8           Exculpation. .................................................................................................... 64
          10.9           Injunction Related to Releases and Exculpation. ............................................ 65
          10.10          Subordinated Securities Claims. ..................................................................... 65
          10.11          Retention of Causes of Action and Reservation of Rights. ............................ 65
          10.12          Ipso Facto and Similar Provisions Ineffective. ............................................... 65
          10.13          Indemnification and Reimbursement Obligations. ......................................... 66
ARTICLE XI.              Retention of Jurisdiction. ..............................................................................66
          11.1           Retention of Jurisdiction. ................................................................................ 66
ARTICLE XII. Miscellaneous Provisions. ..............................................................................68
          12.1           Payment of Statutory Fees .............................................................................. 68
          12.2           Exemption from Certain Transfer Taxes. ....................................................... 68
          12.3           Request for Expedited Determination of Taxes. ............................................. 69
          12.4           Dates of Actions to Implement Plan. .............................................................. 69
          12.5           Amendments. .................................................................................................. 69
          12.6           Revocation or Withdrawal of Plan. ................................................................. 69
          12.7           Severability. .................................................................................................... 70
          12.8           Governing Law. .............................................................................................. 70


                                                                    iii
WEIL:\97624506\34\45327.0007
      Case
      Case20-33948
           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page86
                                                                6 of
                                                                   of491
                                                                      531




          12.9           Immediate Binding Effect. .............................................................................. 70
          12.10          Successors and Assigns................................................................................... 70
          12.11          Entire Agreement. ........................................................................................... 71
          12.12          Computing Time. ............................................................................................ 71
          12.13          Exhibits to Plan. .............................................................................................. 71
          12.14          Notices. ........................................................................................................... 71
          12.15          Reservation of Rights. ..................................................................................... 72
          12.16          Dissolution of Creditors’ Committee. ............................................................. 73




                                                                    iv
WEIL:\97624506\34\45327.0007
      Case
      Case20-33948
           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page87
                                                                7 of
                                                                   of491
                                                                      531




               Each of Fieldwood Energy LLC; Fieldwood Energy Inc.; Dynamic Offshore
Resources NS, LLC; Fieldwood Energy Offshore LLC; Fieldwood Onshore LLC; Fieldwood SD
Offshore LLC; Fieldwood Offshore LLC; FW GOM Pipeline, Inc.; GOM Shelf LLC; Bandon
Oil and Gas GP, LLC; Bandon Oil and Gas, LP; Fieldwood Energy SP LLC; Galveston Bay
Pipeline LLC; and Galveston Bay Processing LLC (each, a “Debtor” and collectively,
the “Debtors”) proposes the following joint chapter 11 plan of reorganization pursuant to section
1121(a) of the Bankruptcy Code. Capitalized terms used herein shall have the meanings set forth
in Section 1.1 below.



ARTICLE I.                     DEFINITIONS AND INTERPRETATION.

                    1.1        Definitions.

                    The following terms shall have the respective meanings specified below:

               363 Credit Bid Transaction means the sale of the Credit Bid Acquired Interests
to the Credit Bid Purchaser pursuant to section 363 of the Bankruptcy Code on substantially the
same terms as provided in the Credit Bid Purchase Agreement in accordance with Section 5.2(c)
of this Plan.

               Abandoned Properties means the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements listed on
the Schedule of Abandoned Properties (as amended, supplemented, or otherwise modified from
time to time).

              Accepting Class means a class of Claims or Interests that votes to accept this Plan
in accordance with section 1126 of the Bankruptcy Code.

              Ad Hoc Group of Secured Lenders means the ad hoc group of holders of
Prepetition FLTL Loans and Prepetition SLTL Loans that is represented by the Ad Hoc Group of
Secured Lenders Advisors.

               Ad Hoc Group of Secured Lenders Advisors means Davis Polk & Wardwell
LLP, Haynes and Boone LLP, Gordon, Arata, Montgomery, Barnett, McCollam, Duplantis &
Eagan, LLC, Rothschild & Co US Inc. and Intrepid Financial Partners, LLC and any local or
foreign advisors.

               Administrative Expense Claim means any Claim constituting a cost or expense of
administration incurred during the Chapter 11 Cases of a kind specified under section 503(b) of
the Bankruptcy Code and entitled to priority under sections 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code (other than DIP Claims), including (a) the actual and necessary costs and
expenses incurred after the Petition Date and through the Effective Date of preserving the Estates
and operating the businesses of the Debtors (such as wages, salaries, or commissions for services
and payments for goods and other services and leased premises), and (b) Fee Claims.




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      Case20-33948
           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
                                         inTXSB
                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page88
                                                                8 of
                                                                   of491
                                                                      531




                Allowed means, with respect to any Claim against or Interest in a Debtor, (a)
(i) that is timely filed by the bar dates established in the Chapter 11 Cases, or (ii) as to which
there exists no requirement for the holder of a Claim to file such Claim under the Plan, the
Bankruptcy Code, the Bankruptcy Rules or a Final Order, (b) (i) that is listed in the Schedules as
not contingent, not unliquidated, and not disputed, and (ii) for which no contrary proof of claim
has been timely filed, or (c) allowed under the Plan or by a Final Order (including the DIP
Order). With respect to any Claim described in clause (a) above, such Claim will be considered
allowed only if, and to the extent that, (A) no objection to the allowance of such Claim has been
asserted, or may be asserted, on or before the time period set forth in the Plan, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or
otherwise, has been interposed and not withdrawn within the applicable period fixed by the Plan
or applicable law, (B) an objection to such Claim is asserted and such Claim is subsequently
allowed pursuant to a Final Order, (C) such Claim is settled pursuant to an order of the
Bankruptcy Court, or (D) such Claim is allowed pursuant to the Plan or any agreements related
thereto and such allowance is approved and authorized by the Bankruptcy Court; provided,
however, that notwithstanding the foregoing, the Post-Effective Date Debtors shall retain all
claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired
pursuant to the Plan. If a Claim is Allowed only in part, any provisions hereunder with respect to
Allowed Claims are applicable solely to the Allowed portion of such Claim. Notwithstanding
the foregoing, unless expressly waived herein, the Allowed amount of Claims or Interests shall
be subject to and shall not exceed the limitations or maximum amounts permitted by the
Bankruptcy Code, including sections 502 or 503 of the Bankruptcy Code, to the extent
applicable.

                 Amended Organizational Documents means the certificates of incorporation,
certificates of formation, bylaws, limited liability company agreements, stockholders agreement,
and the operating agreements or other similar organizational or formation documents, as
applicable, of the Post-Effective Date Debtors.

                    Apache means Apache Corporation.

             Apache Definitive Documents has the meaning set forth in the Apache
Implementation Agreement.

              Apache Implementation Agreement means that certain Implementation
Agreement, dated January 1, 2021, by and among Debtor Fieldwood Energy LLC and Debtor
GOM Shelf LLC, on the one hand, and the Apache PSA Parties on the other hand, as may be
amended, restated, or otherwise modified pursuant to the terms thereof; provided that such
amendment, restatement, or other modification is reasonably acceptable to the Debtors, the
Apache PSA Parties, the Required DIP Lenders and Requisite FLTL Lenders.

            Apache PSA Parties means, collectively, Apache, Apache Shelf, Inc., Apache
Deepwater LLC, and Apache Shelf Exploration LLC.

                    Apache Term Sheet has the meaning set forth in the Restructuring Support
Agreement.



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           20-33948 Document
                    Document775-2
                             723-1 Filed
                                   Filedin
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                                           TXSBon
                                                on01/21/21
                                                  01/01/21 Page
                                                           Page89
                                                                9 of
                                                                   of491
                                                                      531




              Asset means all of the rights, title, and interests of a Debtor in and to property of
whatever type or nature (including real, personal, mixed, intellectual, tangible, and intangible
property).

             Assumption Dispute means an unresolved objection regarding assumption or
assumption and assignment of an executory contract or unexpired lease pursuant to section 365
of the Bankruptcy Code, including objections based on the appropriate Cure Amount or
“adequate assurance of future performance” (within the meaning of section 365 of the
Bankruptcy Code).

               Avoidance Actions means all claims and causes of action that may be commenced
by or on behalf of the Debtors pursuant to sections 544, 545, 547, 548, 549, 550 and 551 of the
Bankruptcy Code or similar nonbankruptcy law, including similar or related state or federal
statute and common law.

               Backstop Commitment Letter means that certain backstop commitment letter, in
form and substance acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL
Lenders, to be entered into by and among Fieldwood Energy LLC, the Credit Bid Purchaser and
the Backstop Parties, as may be amended, supplemented, or modified from time to time, pursuant
to the terms thereof and consistent with the Restructuring Support Agreement, pursuant to which
the Backstop Parties agreed to, among other things, backstop the Second Lien Exit Facility in
accordance with the terms and conditions set forth therein.

               Backstop Commitment Premium means a premium equal to 8% of maximum the
principal amount of the Second Lien Exit Facility (i.e. $185,000,000) payable to the Backstop
Parties with the Backstop Commitment Premium Equity Interests as further set forth in the
Backstop Commitment Letter.

               Backstop Commitment Premium Equity Interests means an amount of New
Equity Interests equal to the value of the Backstop Commitment Premium as further set forth in
the Backstop Commitment Letter; provided that such New Equity Interests shall be (i) issued at a
30% discount to the equity value of NewCo on the Effective Date and (ii) subject to dilution by
any New Equity Interests issued or issuable pursuant to the Management Incentive Plan.

                    Backstop Party has the meaning set forth in the Backstop Commitment Letter.

              Bankruptcy Code means title 11 of the United States Code, 11 U.S.C. §§ 101-
1532, as amended from time to time, as applicable to these Chapter 11 Cases.

               Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of Texas having jurisdiction over the Chapter 11 Cases and, to the extent of any
reference made under section 157 of title 28 of the United States Code or the Bankruptcy Court
is determined not to have authority to enter a Final Order on an issue, the District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

             Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure as
promulgated by the Supreme Court of the United States under section 2075 of title 28 of the



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      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 90
                                                                  10 of 531
                                                                        491




United States Code, as amended from time to time, applicable to the Chapter 11 Cases, and any
local rules of the Bankruptcy Court.

              Business Day means any day other than a Saturday, a Sunday or any other day on
which banking institutions in New York, New York are authorized or required by law or
executive order to close.

                    Cash means legal tender of the United States of America.

                Cause of Action means any action, claim, cross-claim, third-party claim, cause of
action, controversy, dispute, demand, right, Lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account,
defense, remedy, offset, power, privilege, proceeding, license, and franchise of any kind or
character whatsoever, known, unknown, foreseen or unforeseen, existing or hereafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively
(including any alter ego theories), whether arising before, on, or after the Petition Date, in
contract or in tort, in law or in equity or pursuant to any other theory of law (including under any
state or federal securities laws). For the avoidance of doubt, Cause of Action also includes
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for
breach of duties imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any
claim pursuant to section 362 or chapter 5 of the Bankruptcy Code (including claims and causes
of action arising under section 544, 545, 547, 548, 549, 550, and 551 of the Bankruptcy Code),
(d) any claim or defense, including fraud, mistake, duress, and usury and any other defenses set
forth in section 558 of the Bankruptcy Code, and (e) any state law fraudulent transfer or
preferential transfer claim.

               Chapter 11 Case(s) means, with respect to a Debtor, such Debtor’s case under
chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court,
jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code.

              Claim means a “claim,” as defined in section 101(5) of the Bankruptcy Code,
against any Debtor.

                Claims Reserve means one or more segregated accounts not subject to the Liens
of the Prepetition Agents or DIP Agent, which shall be established on or immediately before the
Effective Date and funded on the Effective Date with Cash to pay (or reserve for payment of)
any (i) Allowed Administrative Expense Claims, (ii) Allowed Priority Tax Claims, (iii) Allowed
Other Priority Claims, (iv) Allowed Other Secured Claims, and (v) Cure Amounts; provided,
however, that all Cash remaining in the Claims Reserve after payment of all relevant Allowed
Claims and Cure Amounts in accordance with the terms of this Plan shall constitute Residual
Distributable Value[; provided further that the funding of the Claims Reserve shall be consistent
with the terms of the Backstop Commitment Letter].

              Claims Reserve Amount means the aggregate amount of Cash, as determined by
the Debtors with the consent of the Required DIP Lenders and Requisite FLTL Lenders,
necessary to satisfy all (i) Allowed Administrative Expense Claims, (ii) Allowed Priority Tax


                                                    4
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 91
                                                                  11 of 531
                                                                        491




Claims, (iii) Allowed Other Priority Claims, (iv) Allowed Other Secured Claims, and (v) Cure
Amounts, which aggregate amount shall be funded into the Claims Reserve on the Effective
Date.

              Class means any group of Claims or Interests classified under the Plan pursuant to
section 1122 and 1123(a)(1) of the Bankruptcy Code.

              Collateral means any Asset of an Estate that is subject to a Lien securing the
payment or performance of a Claim, which Lien is not invalid, is properly perfected as of the
Petition Date, and is not subject to avoidance under the Bankruptcy Code or applicable
nonbankruptcy law.

               Confirmation Date means the date on which the Clerk of the Bankruptcy Court
enters the Confirmation Order.

              Confirmation Hearing means the hearing to be held by the Bankruptcy Court
regarding confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

              Confirmation Order means the order of the Bankruptcy Court, in form and
substance acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders,
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

                    Confirmation Outside Date means [●].

                Consenting Creditors means the Prepetition FLTL Lenders, together with their
respective successors and permitted assigns, and the Prepetition SLTL Lenders, together with
their respective successors and permitted assigns, that are party to, or have executed a joinder to,
the Restructuring Support Agreement.

                 Credit Bid Acquired Interests has the meaning ascribed to “Acquired Interests”
set forth in the Credit Bid Purchase Agreement.

                Credit Bid Amount means the Allowed FLTL Secured Claims that are exchanged
with the Credit Bid Purchaser in the amount set forth in the Credit Bid Purchase Agreement and
credit bid in connection with the Credit Bid Transaction. For the avoidance of doubt, the Credit
Bid Amount may be up to the FLTL Claims Allowed Amount.

                 Credit Bid Assumed Liabilities has the meaning ascribed to “Assumed
Liabilities” set forth in the Credit Bid Purchase Agreement.

                 Credit Bid Consent Rights means any right of consent, notice, and other similar
rights, if any, that are applicable to the sale of the Credit Bid Acquired Interests in connection
with the Credit Bid Purchase Agreement.

            Credit Bid Permitted Encumbrances has the meaning ascribed to “Permitted
Encumbrances” set forth in the Credit Bid Purchase Agreement.



                                                  5
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 92
                                                                  12 of 531
                                                                        491




               Credit Bid Purchase Agreement means that certain Purchase and Sale
Agreement, which shall be in form and substance acceptable to the Debtors, the Requisite FLTL
Lenders, and the Required DIP Lenders, by and between Fieldwood Energy LLC, the other seller
parties, and the Credit Bid Purchaser, together with any and all related agreements, annexes,
exhibits and schedules in connection therewith, as amended, supplemented or otherwise
modified from time to time, a copy of which shall be filed in a supplement to the Disclosure
Statement and included in the Plan Supplement.

               Credit Bid Purchaser means [●], a newly formed special purpose bidding entity,
as purchaser of certain of the Debtors’ assets pursuant to and in accordance with the Credit Bid
Purchase Agreement.

               Credit Bid Preferential Purchase Rights has the meaning ascribed to
“Preferential Right” set forth in the Credit Bid Purchase Agreement.

              Credit Bid Transaction means the sale of the Credit Bid Acquired Interests to the
Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

             Credit Bid Transaction Closing means “Closing” as defined in the Credit Bid
Purchase Agreement.

             Creditors’ Committee means the Official Committee of Unsecured Creditors
appointed by the U.S. Trustee in these Chapter 11 Cases pursuant to section 1102 of the
Bankruptcy Code as it may be reconstituted from time to time.

               Cure Amount means the payment of Cash or the distribution of other property (as
the parties may agree or the Bankruptcy Court may order) necessary to (a) cure a monetary
default by the Debtors in accordance with the terms of an executory contract or unexpired lease
and (b) permit the Debtors to assume such executory contract or unexpired lease under section
365(a) of the Bankruptcy Code.

               Cure Notice means the notice of proposed Cure Amount to be paid in connection
with an executory contract or unexpired lease of the Debtors that may be assumed or assumed
and assigned under the Plan pursuant to section 365 of the Bankruptcy Code, which shall include
(a) procedures for objecting to proposed assumptions or assumptions and assignments of
executory contracts and unexpired leases, (b) any Cure Amount to be paid in connection
therewith, and (c) procedures for resolution by the Bankruptcy Court of any related disputes.

               D&O Policy means any insurance policy, including tail insurance policies, for
directors’, members’, trustees’, and officers’ liability providing coverage to the Debtors and in
effect or purchased as of the Petition Date.

                    Debtor(s) has the meaning set forth in the introductory paragraph of the Plan.

                Debtor in Possession means, with respect to a Debtor, that Debtor in its capacity
as a debtor in possession pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.




                                                     6
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 93
                                                                  13 of 531
                                                                        491




                Decommissioning Agreement means that Decommissioning Agreement, dated as
of September 30, 2013, by and among the Apache PSA Parties, Fieldwood Energy LLC, and the
other parties thereto.

             Decommissioning Security has the meaning set forth in the Apache
Implementation Agreement.

                    Definitive Documents has the meaning set forth in the Restructuring Support
Agreement.

               DIP Agent means Cantor Fitzgerald Securities, solely in its capacity as
administrative agent and collateral agent under the DIP Facility Credit Agreement, its successors,
assigns, or any replacement agent appointed pursuant to the terms of the DIP Facility Credit
Agreement.

                DIP Claim means any Claim held by the DIP Lenders or the DIP Agent arising
under or relating to the DIP Facility Credit Agreement or the DIP Order, including any and all
fees, interests, and accrued but unpaid interest and fees arising under the DIP Facility Credit
Agreement.

                    DIP Documents has the meaning set forth in the DIP Order.

                 DIP Facility means the postpetition senior secured debtor-in-possession term loan
credit facility approved by the DIP Order.

               DIP Facility Credit Agreement means the credit agreement governing the terms
of the DIP Facility, dated as of August 24, 2020, by and among Fieldwood Energy LLC, as
borrower, FWE Parent, as holdings, the DIP Agent, and the DIP Lenders, with any amendments,
restatements, amendments and restatements, modifications or supplements thereto as permitted
by the DIP Order.

                    DIP Lenders means the lenders from time to time party to the DIP Facility Credit
Agreement.

               DIP Order means the Final Order (I) Authorizing Debtors (A) to Obtain
Postpetition Financing Pursuant to 11 U.S.C. §§ 105, 361, 362, 363(b), 364(c)(1), 364(c)(2),
364(c)(3), 364(d)(1) and 364(e) and (B) to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363
and (II) Granting Adequate Protection to Prepetition Secured Parties Pursuant to 11 U.S.C.
§§ 361, 362, 363, 364 and 507(b) [Docket No. 346], authorizing the Debtors to enter into the
DIP Facility Credit Agreement and access the DIP Facility, as may be amended, supplemented or
modified from time to time.

                Disclosure Statement means the disclosure statement in support of the Plan, in
form and substance acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL
Lenders, which is prepared and distributed in accordance with sections 1125, 1126(b), or 1145 of
the Bankruptcy Code, Bankruptcy Rules 3016 and 3018, or other applicable law, and all exhibits,
schedules, supplements, modifications, amendments, annexes, and attachments to such
disclosure statement.


                                                    7
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 94
                                                                  14 of 531
                                                                        491




                Disputed means, with respect to a Claim, (a) any Claim, which Claim is disputed
under this Plan (including pursuant to section 7.1 of this Plan) or otherwise or as to which the
Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as applicable, have
interposed and not withdrawn an objection or request for estimation that has not been determined
by a Final Order; (b) any Claim, proof of which was required to be filed by order of the
Bankruptcy Court but as to which a proof of claim was not timely or properly filed; (c) any
Claim that is listed in the Schedules, if any are filed, as unliquidated, contingent, disputed or
undetermined, and as to which no request for payment or proof of claim has been filed; or (d)
any Claim that is otherwise disputed by any of the Debtors or the Post-Effective Date Debtors in
accordance with applicable law or contract, which dispute has not been withdrawn, resolved or
overruled by a Final Order. To the extent the Debtors dispute only the amount of a Claim, such
Claim shall be deemed Allowed in the amount the Debtors do not dispute, if any, and Disputed
as to the balance of such Claim.

              Distribution Date means the date or dates, including the Initial Distribution Date,
as determined by the Plan Administrator in accordance with the terms of this Plan, on which the
Plan Administrator makes a Distribution to holders of Allowed Claims.

                Distribution Record Date means, except as otherwise provided in the Plan, the
date that is two business days before the Effective Date or such other date as is designated by the
Debtors with the consent of the Requisite FLTL Lenders and the Required DIP Lenders.

              Divisive Merger means a divisive merger pursuant to Sections 10.001, 10.002,
10.008 and 10.302 of the Texas Business Organizations Code.

               Effective Date means the date which is the first Business Day on which (a) all
conditions to the effectiveness of the Plan set forth in Section 9.1 of the Plan have been satisfied
or waived in accordance with the terms of the Plan, and (b) no stay of the Confirmation Order is
in effect.

                    Entity means an “entity,” as defined in section 101(15) of the Bankruptcy Code.

               Estate(s) means individually or collectively, the estate or estates of the Debtors
created under section 541 of the Bankruptcy Code.

               Exculpated Parties means collectively, and in each case in their capacities as
such during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors, (c)
FWE I, (d) the DIP Agent and DIP Lenders under the DIP Facility, (e) the Consenting Creditors,
(f) the Prepetition Agents, (g) NewCo and all of its subsidiaries (including the Credit Bid
Purchaser), (h) the Exit Facility Agents, (i) the Exit Facility Lenders, (j) the Backstop Parties and
(k) with respect to each of the foregoing Persons in clauses (a) through (j), each of their current
and former affiliates, and each such Entity’s and its current and former affiliates’ current and
former directors, managers, officers, equity holders (regardless of whether such interests are held
directly or indirectly), predecessors, successors, and assigns, subsidiaries, and each of their
current and former officers, members, managers, directors, equity holders (regardless of whether
such interests are held directly or indirectly), principals, members, employees, agents, managed
accounts or funds, management companies, fund advisors, investment advisors, advisory board


                                                    8
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 95
                                                                  15 of 531
                                                                        491




members, financial advisors, partners (including both general and limited partners), attorneys,
accountants, investment bankers, consultants, representatives and other professionals, such
Persons’ respective heirs, executors, estates, and nominees, in each case in their capacity as such,
and any and all other persons or entities that may purport to assert any cause of action
derivatively, by or through the foregoing entities.

             Existing Equity Interests means shares of common stock of FWE Parent that
existed immediately before the Effective Date.

                    Exit Facilities means the First Lien Exit Facility and the Second Lien Exit
Facility.

               Exit Facility Agents means the First Lien Exit Facility Agent and the Second
Lien Exit Facility Agent.

             Exit Facility Documents means the First Lien Exit Facility Documents and the
Second Lien Exit Facility Documents.

               Exit Facility Lenders means the First Lien Exit Facility Lenders and the Second
Lien Exit Facility Lenders.

                Fee Claim means a Claim for professional services rendered or costs incurred on
or after the Petition Date through the Effective Date by Professional Persons retained by an order
of the Bankruptcy Court pursuant to sections 327, 328, 329, 330, 331, 503(b), or 1103 of the
Bankruptcy Code in the Chapter 11 Cases.

             Fieldwood U.A. Interests has the meaning ascribed to such term in the Credit Bid
Purchase Agreement.

               Final Order means an order or judgment of the Bankruptcy Court or other court
of competent jurisdiction with respect to the relevant subject matter which has: (a) not been
reversed, stayed, modified or amended, as to which the time to appeal, petition for certiorari or
move for reargument, reconsideration or rehearing has expired and no appeal, petition for
certiorari or motion for reargument, reconsideration or rehearing has been timely filed; or (b) as
to which any appeal, petition for certiorari or motion for reargument, reconsideration or
rehearing that has been or may be filed has been resolved by the highest court to which the order
or judgment was appealed or from which certiorari, reargument, reconsideration or rehearing was
sought; provided, however, that the possibility that a motion under Rules 59 or 60 of the Federal
Rules of Civil Procedure or any analogous Bankruptcy Rule (or any analogous rules applicable
in such other court of competent jurisdiction) may be filed relating to such order or judgment
shall not cause such order or judgment not to be a Final Order.

             First Lien Exit Facility means the facility under the First Lien Exit Facility
Credit Agreement.

               First Lien Exit Facility Agent means the administrative agent under the First
Lien Exit Facility Credit Agreement.


                                                  9
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 96
                                                                  16 of 531
                                                                        491




               First Lien Exit Facility Credit Agreement means that certain credit agreement to
be entered by the Credit Bid Purchaser, the First Lien Exit Facility Agent and the First Lien Exit
Facility Lenders on the Effective Date that shall govern the First Lien Exit Facility which shall
reflect and contain terms, conditions, representations, warranties, and covenants consistent with
the First Lien Exit Facility Term Sheet and otherwise be in form and substance acceptable to the
Debtors, the Required DIP Lenders, and Requisite FLTL Lenders.

               First Lien Exit Facility Documents means, collectively, the First Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be in form and substance acceptable to the Debtors, the Required
DIP Lenders, and Requisite FLTL Lenders

             First Lien Exit Facility Lenders means the lenders party to the First Lien Facility
Credit Agreement.

              First Lien Exit Facility Term Sheet means a term sheet to be filed in a
supplement to the Disclosure Statement, as may be amended, supplemented or modified from
time to time with the reasonable consent of the Debtors, the Required DIP Lenders, and
Requisite FLTL Lenders.

              FLFO Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition FLFO Credit Agreement.

               FLFO Claims Allowed Amount means $138,599,082.31 in principal plus any
accrued but unpaid interest or fees due under the Prepetition FLFO Credit Agreement as of the
Petition Date.

                    FLFO Distribution means Cash in the amount of the FLFO Claims Allowed
Amount.

              FLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition FLTL Credit Agreement.

               FLTL Claims Allowed Amount means $1,142,688,815.28 in principal plus any
accrued but unpaid interest or fees due under the Prepetition FLTL Credit Agreement as of the
Petition Date.

               FLTL Deficiency Claim means any FLTL Claim or portion thereof that is not
Secured, if any, which, for the avoidance of doubt, shall constitute a General Unsecured Claim
under Class 6.

                    FLTL Secured Claim means any FLTL Claim or portion thereof that is Secured.




                                                  10
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 97
                                                                  17 of 531
                                                                        491




              FWE I means an entity formed on the Effective Date by Divisive Merger under
the name Fieldwood Energy I LLC pursuant to the Plan of Merger.

            FWE I LLC Agreement means the limited liability company agreement of
FWE I, which shall be in substantially the form attached to the Apache Implementation
Agreement.

                    FWE I Assets has the meaning set forth in the Plan of Merger.

                    FWE I Obligations has the meaning set forth in the Plan of Merger.

               FWE I Sole Manager has the meaning ascribed to the term “Sole Manager” in
the FWE I LLC Agreement, and shall include the sole manager appointed to FWE I upon the
Effective Date and any successor thereto.

               FWE III means the surviving entity under the name Fieldwood Energy III LLC
following the Divisive Merger pursuant to the Plan of Merger.

              FWE III LLC Agreement means the limited liability company agreement of
FWE III, a form of which shall be included in the Plan Supplement.

                    FWE III Assets has the meaning set forth in the Plan of Merger.

                    FWE III Obligations has the meaning set forth in the Plan of Merger.

                    FWE Assets means, collectively, the FWE I Assets and FWE III Assets.

                    FWE Parent means Debtor Fieldwood Energy Inc.

                General Unsecured Claim means any Claim (including any FLTL Deficiency
Claim) against a Debtor, other than a DIP Claim, Administrative Expense Claim (including a Fee
Claim), FLFO Claim, FLTL Secured Claim, Other Secured Claim, Priority Tax Claim, Priority
Non-Tax Claim, SLTL Claim, Subordinated Securities Claim, or Intercompany Claim that is not
entitled to priority under the Bankruptcy Code or any Final Order of the Bankruptcy Court.

                General Unsecured Claim Cash Pool means Cash in the amount of $5,000,000
for purposes of making distributions to holders of Allowed FLTL Deficiency Claims, Allowed
SLTL Claims, or Allowed General Unsecured Claims in accordance with Section 4.5 and
Section 4.6 of this Plan.

             Governmental Unit has the meaning set forth in section 101(27) of the
Bankruptcy Code.

               Impaired means, with respect to a Claim, Interest, or a Class of Claims or
Interests, “impaired” within the meaning of such term in section 1124 of the Bankruptcy Code.

             Indemnification Obligation means any existing or future obligation of any
Debtor to indemnify current and former directors, officers, members, managers, agents or


                                                   11
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 98
                                                                  18 of 531
                                                                        491




employees of any of the Debtors who served in such capacity, with respect to or based upon such
service or any act or omission taken or not taken in any of such capacities, or for or on behalf of
any Debtor, whether pursuant to agreement, the Debtors’ respective memoranda, articles or
certificates of incorporation, corporate charters, bylaws, operating agreements, limited liability
company agreements, or similar corporate or organizational documents or other applicable
contract or law in effect as of the Effective Date.

               Initial Distribution means the first Distribution that the Plan Administrator makes
to holders of Allowed Claims.

               Initial Distribution Date means the date on which the Plan Administrator shall
make the Initial Distribution, which shall not be less than five Business Days after the Effective
Date.

                    Intercompany Claim means any Claim against a Debtor held by another Debtor.

               Intercompany Interest means an Interest in a Debtor other than any Existing
Equity Interest.

                 Interest means any common stock, limited liability company interest, equity
security (as defined in section 101(16) of the Bankruptcy Code), equity, ownership, profit
interests, unit, or share in any Debtor (including all options, warrants, rights, or other securities
or agreements to obtain such an interest or share in such Debtor), whether or not arising under or
in connection with any employment agreement and whether or not certificated, transferable,
preferred, common, voting, or denominated “stock” or a similar security.

                    Lien has the meaning set forth in section 101(37) of the Bankruptcy Code.

                Management Incentive Plan means the post-Effective Date management
incentive plan of NewCo which shall provide for [up to] 10% of New Equity Interests on a fully
diluted basis or other equity or similar interests in NewCo to be reserved for directors, managers,
officers, and employees of NewCo or a subsidiary of NewCo (including the Credit Bid
Purchaser) to be distributed on terms to be determined by the board of directors of NewCo.

              New Equity Interests means the equity interests of NewCo. to be issued (i) on the
Effective Date, (ii) upon exercise of the New Money Warrants, (iii) under the Management
Incentive Plan, or (iv) on or after the Effective Date as otherwise permitted pursuant to the
NewCo Organizational Documents.

               New Intercreditor Agreement means that certain Intercreditor Agreement, to be
dated as of the Effective Date, by and among the Exit First Lien Facility Agent and the Exit
Second Lien Facility Agent and the Credit Bid Purchaser, the form of which shall be contained
in the Plan Supplement and acceptable to the Debtors, the Requisite FLFO Lenders, the Required
DIP Lenders, and the Requisite FLTL Lenders.

                NewCo means [], which is the direct or indirect owner of 100% of the equity
interests of the Credit Bid Purchaser.



                                                   12
WEIL:\97624506\34\45327.0007
      Case 20-33948 Document 775-2
                             723-1 Filed in TXSB on 01/21/21
                                                    01/01/21 Page 99
                                                                  19 of 531
                                                                        491




                NewCo Organizational Documents means the form of certificate of formation,
limited liability company agreement, agreement of limited partnership, articles of incorporation,
bylaws, trust agreements, or such other applicable formation documents of the NewCo and any
of its subsidiaries, including any shareholders’ or stockholders’ agreement, which shall be
acceptable to the Debtors, the Requisite FLTL Lenders, and the Required DIP Lenders.

               New Money Consideration means, in the aggregate, the amount of Cash provided
to the Debtors by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement.

              New Money Investment means the investment of up to $85 million in Cash into
Credit Bid Purchaser by the New Money Second Lien Exit Facility Lenders in connection with,
and upon consummation of, the Second Lien Exit Facility, subject to the terms of the Backstop
Commitment Letter.

             New Money Second Lien Exit Facility Lenders means the lenders party to the
Second Lien Exit Facility Credit Agreement participating in the New Money Investment.

             New Money Warrant Agreement means a warrant agreement to be entered into
by and among NewCo and the warrant agent named therein that shall govern the terms of the
New Money Warrants, the form of which shall be acceptable to the Debtors, Required DIP
Lenders and Requisite FLTL Lenders.

                New Money Warrants means 7-year warrants for up to 24% of the New Equity
Interests (calculated on a fully diluted basis giving effect to the New Equity Interests to be issued
pursuant to Section 4.4 of this Plan, the Backstop Commitment Premium Equity Interests, and
the New Equity Interests issuable upon exercise of the New Money Warrants, but excluding the
effect of any New Equity Interest issued or issuable pursuant to the Management Incentive Plan),
with a strike price of $0.01, the terms of which shall be set forth in the New Money Warrant
Agreement and which shall be issued and allocated in a manner consistent with the Backstop
Commitment Letter.

               Other Secured Claim means any Secured Claim against a Debtor other than a
Priority Tax Claim, FLFO Claim, FLTL Claim, and SLTL Claim.

               Person means an individual, corporation, partnership, joint venture, association,
joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, governmental unit (as defined in section 101(27) of the Bankruptcy
Code), or other Entity.

             Petition Date means, with respect to a Debtor, the date on which such Debtor
commenced its Chapter 11 Case.

                Plan means this joint chapter 11 plan, including all appendices, exhibits,
schedules, and supplements hereto (including any appendices, schedules, and supplements to the
Plan contained in the Plan Supplement), as may be amended, supplemented or modified from
time to time in accordance with the Bankruptcy Code and the terms hereof.




                                                 13
WEIL:\97624506\34\45327.0007
     Case
     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page100
                                                                 20 of
                                                                    of491
                                                                       531




               Plan Administrator means the person or entity selected by the Debtors charged
with overseeing the tasks outlined in Section 5.8 of this Plan, or any successor thereto. The
identity of the Plan Administrator shall be disclosed to the Bankruptcy Court before the
Confirmation Hearing.

             Plan Administrator Agreement means an agreement setting forth the economic
arrangement and terms pursuant to which the Plan Administrator will perform its duties under
this Plan.

              Plan Administrator Expense Reserve means a segregated account not subject to
the Liens of the Prepetition Agents or DIP Agent established by the Plan Administrator in
accordance with Section 5.14 of this Plan.

               Plan Administrator Expense Reserve Amount means Cash in an amount to be
determined by the Debtors with the consent of the Required DIP Lenders and Requisite FLTL
Lenders to be funded into the Plan Administrator Expense Reserve on the Effective Date;
provided, however, that such amount shall be no less than $[●] plus any amounts estimated to be
owed after the Effective Date pursuant to Sections 2.4 (Fees and Expenses under DIP Order) and
2.6 (Restructuring Expenses) of this Plan.

               Plan Distribution means any initial or periodic payment or transfer of
consideration to holders of Allowed Claims made under the Plan.

                Plan of Merger means that certain Agreement and Plan of Merger, which shall be
in substantially the form attached to the Apache Implementation Agreement.

                Plan of Merger Consent Rights means any right of consent, notice, and other
similar rights, if any, that are applicable to the vesting of assets in connection with the Plan of
Merger.

                Plan of Merger Preferential Purchase Rights means any preferential right to
purchase, right of first refusal, right of first offer, drag-along rights, tag-along rights, and similar
right the operation of which is triggered by the vesting of the FWE Assets in connection with the
Plan of Merger.

               Plan Supplement means a supplement or supplements to the Plan containing
certain documents and forms of documents, schedules, and exhibits relevant to the
implementation of the Plan, which shall include: (a) the Amended Organizational Documents (if
any), (b) information regarding the sole manager and independent director to be appointed at
FWE I to the extent known and determined and other information required to be disclosed in
accordance with section 1129(a)(5) of the Bankruptcy Code, (c) a schedule of retained Causes of
Action, (d) the Schedule of Assumed Contracts, (e) the Plan Administrator Agreement; (f) the
Credit Bid Purchase Agreement; (g) the NewCo Organizational Documents; (h) the Apache
Definitive Documents; (i) the First Lien Exit Facility Agreement; (j) the Second Lien Exit
Facility Agreement; (k) the New Intercreditor Agreement, (l) the New Money Warrant
Agreements; (m) the Management Incentive Plan; and (n) the Restructuring Steps Memorandum;
provided, however, that the Debtors shall have the right to amend documents contained in, and



                                                  14
WEIL:\97624506\34\45327.0007
     Case
     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page101
                                                                 21 of
                                                                    of491
                                                                       531




exhibits thereto, the Plan Supplement in accordance with the terms of this Plan and the
Restructuring Support Agreement (including the consent rights set forth therein).

               Post-Effective Date Debtors means the Debtors, as reorganized as of the Effective
Date in accordance with this Plan, including FWE III. For the avoidance of doubt, the Post-
Effective Date Debtors does not include NewCo or its subsidiaries (including the Credit Bid
Purchaser), or FWE I.

               Post-Effective Date FWE Parent means FWE Parent, as reorganized on the
Effective Date in accordance with this Plan.

                Prepetition Agents means, collectively, the Prepetition FLFO Administrative
Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, and
the Prepetition SLTL Agent.

                 Prepetition FLFO Administrative Agent means Goldman Sachs Bank USA,
solely in its capacity as administrative agent under the Prepetition FLFO Credit Agreement.

                Prepetition FLFO Collateral Agent means Cantor Fitzgerald Securities, solely in
its capacity as collateral agent under the Prepetition FLFO Credit Agreement.

               Prepetition FLFO Credit Agreement means that certain Second Amended and
Restated Credit Agreement- First Out, dated as of June 28, 2019, by and among Fieldwood
Energy LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLFO
Administrative Agent, the Prepetition FLFO Collateral Agent, and the Prepetition FLFO
Lenders, and the other parties thereto, as in effect immediately before the Effective Date.

            Prepetition FLFO Lenders means the Lenders (as defined in the Prepetition
FLFO Credit Agreement) holding Prepetition FLFO Loans immediately before the Effective
Date.

              Prepetition FLFO Loans means the Loans (under and as defined in the
Prepetition FLFO Credit Agreement) outstanding immediately before the Effective Date.

                Prepetition FLTL Administrative Agent means Cantor Fitzgerald Securities,
solely in its capacity as administrative agent and collateral agent under the Prepetition FLTL
Credit Agreement.

               Prepetition FLTL Credit Agreement means that certain Amended and Restated
First Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition FLTL Administrative
Agent, and the Prepetition FLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

            Prepetition FLTL Lenders means the Lenders (as defined in the Prepetition
FLTL Credit Agreement) holding Prepetition FLTL Loans immediately before the Effective
Date.



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              Prepetition FLTL Loans means the Loans (under and as defined in the
Prepetition FLTL Credit Agreement) outstanding immediately before the Effective Date.

              Prepetition SLTL Administrative Agent means Cortland Capital Market Services
LLC, solely in its capacity as administrative agent and collateral agent under the Prepetition
SLTL Credit Agreement.

               Prepetition SLTL Credit Agreement means that certain Amended and Restated
Second Lien Term Loan Agreement, dated as of April 11, 2018, by and among Fieldwood Energy
LLC, as borrower, Fieldwood Energy Inc., as holdings, the Prepetition SLTL Administrative
Agent, and the Prepetition SLTL Lenders, and the other parties thereto, as in effect immediately
before the Effective Date.

             Prepetition SLTL Lenders means the Lenders (as defined in the Prepetition SLTL
Credit Agreement) holding Prepetition SLTL Loans immediately before the Effective Date.

             Prepetition SLTL Loans means the Loans (under and as defined in the Prepetition
SLTL Credit Agreement) outstanding immediately before the Effective Date.

               Priority Non-Tax Claim means any Claim other than an Administrative Expense
Claim, or a Priority Tax Claim that is entitled to priority of payment as specified in section
507(a) of the Bankruptcy Code.

               Priority Tax Claim means any Secured Claim or unsecured Claim of a
Governmental Unit of the kind entitled to priority of payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

               Pro Rata Share means the proportion that an Allowed Claim or Interest in a
particular Class bears to the aggregate amount of all Allowed Claims or Interests in that Class.

                Professional Person(s) means any Person retained by order of the Bankruptcy
Court in connection with these Chapter 11 Cases pursuant to sections 327, 328, 330, 331, 503(b),
or 1103 of the Bankruptcy Code, excluding any ordinary course professional retained pursuant to
an order of the Bankruptcy Court.

               Professional Fee Escrow means an escrow account established and funded
pursuant to section 2.2 of the Plan.

               Professional Fee Escrow Amount means the aggregate unpaid Fee Claims
through the Effective Date as estimated in accordance with section 2.2 of the Plan.

                 Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Consenting
Creditors, (e) the Prepetition Agents, (f) NewCo and all of its subsidiaries (including the Credit
Bid Purchaser), (g) the Exit Facility Agents, (h) the Exit Facility Lenders, (i) the Backstop
Parties, (j) the Apache PSA Parties, (k) with respect to each of the foregoing Persons in clauses
(a) through (j), each of their current and former affiliates, and each such Entity’s and its current
and former affiliates’ current and former directors, managers, officers, equity holders (regardless


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                                                                 23 of
                                                                    of491
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of whether such interests are held directly or indirectly), predecessors, successors, and assigns,
subsidiaries, and each of their current and former officers, members, managers, directors, equity
holders (regardless of whether such interests are held directly or indirectly), principals, members,
employees, agents, managed accounts or funds, management companies, fund advisors,
investment advisors, advisory board members, financial advisors, partners (including both
general and limited partners), attorneys, accountants, investment bankers, consultants,
representatives and other professionals, such Persons’ respective heirs, executors, estates, and
nominees, in each case in their capacity as such, and any and all other persons or entities that
may purport to assert any cause of action derivatively, by or through the foregoing entities.

                Releasing Parties means collectively, (a) the holders of all Claims or Interests
that vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or
reject the Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the
holders of all Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of
granting the releases set forth herein, (d) the holders of all Claims and Interests that were given
notice of the opportunity to opt out of granting the releases set forth herein but did not opt out,
and (e) the Released Parties (even if such Released Party purports to opt out of the releases set
forth herein).

                    Required DIP Lenders has the meaning set forth in the Restructuring Support
Agreement.

               Requisite FLFO Lenders means, as of the date of determination, Prepetition
FLFO Lenders holding at least a majority of the outstanding Prepetition FLFO Loans (inclusive
of validly executed but unsettled trades) held by the Prepetition FLFO Lenders as of such date.

                    Requisite FLTL Lenders has the meaning set forth in the Restructuring Support
Agreement.

                Residual Distributable Value means any distributable value of the Single Share
of Post-Effective Date FWE Parent held by the Plan Administrator (a) after satisfaction of
Allowed Administrative Expense Claims, Allowed Other Secured Claims, Allowed Priority Tax
Claims, Allowed Priority Non-Tax Claims, all Cure Amounts and (b) after satisfaction of all
fees, expenses, costs and other amounts pursuant to the Plan and incurred by the Post-Effective
Date Debtors in connection with post-Effective Date operations and wind-down.

               Restructuring means the restructuring of the Debtors, the principal terms of
which are set forth in this Plan and the Plan Supplement.

                Restructuring Expenses means the reasonable and documented fees and expenses
incurred by the Ad Hoc Group of Secured Lenders in connection with the Chapter 11 Cases,
including the fees and expenses of the Ad Hoc Group of Secured Lenders Advisors, payable in
accordance with the terms of any applicable agreements, engagement letters or fee letters
executed with such parties or pursuant to the terms of the DIP Order and without the requirement
for the filing of retention applications, fee applications, or any other application in the Chapter
11 Cases, which shall not be subject to any offset, defense, counterclaim, reduction, or creditor




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                                                                 24 of
                                                                    of491
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credit and, to the extent incurred prior to the Effective Date, shall be Allowed as Administrative
Expense Claims upon incurrence.

               Restructuring Steps Memorandum means the summary of transaction steps to
complete the restructuring contemplated by the Plan, which shall be in the Plan Supplement.

                Restructuring Support Agreement means that certain Restructuring Support
Agreement, dated as of August 4, 2020, by and among Debtor Fieldwood Energy LLC, certain of
its affiliates specified therein, the Consenting Creditors, and Apache, as the same may be
amended, restated, or otherwise modified in accordance with its terms.

               Restructuring Transactions means one or more transactions pursuant to
section 1123(a)(5) of the Bankruptcy Code to occur on the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan and the Credit
Bid Transaction, including (a) the consummation of the transactions provided for under or
contemplated by the Plan and any mergers, divisive mergers, amalgamations, consolidations,
arrangements, continuances, transfers, conversions, sales, dispositions, or other corporate
transactions necessary or appropriate to implement the Plan, (b) the execution and delivery of
appropriate agreements or other documents containing terms that are consistent with or
reasonably necessary to implement the terms of the Plan or the Credit Bid Transaction and that
satisfy the requirements of applicable law, (c) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any property, right, liability,
duty, or obligation on terms consistent with the terms of the Plan, and (d) all other actions that
the Debtors, the Post-Effective Date Debtors or NewCo (or any of its subsidiaries, including the
Credit Bid Purchaser), as applicable, determine are necessary or appropriate and consistent with
the Plan or the Credit Bid Transaction. For the avoidance of doubt, Restructuring Transactions
includes the Credit Bid Transaction and the Divisive Merger effectuated pursuant to the Plan of
Merger.

               Schedule of Abandoned Properties means a schedule (as may be amended,
modified, or supplemented from time to time) of the Debtors’ rights to and interests in executory
contracts and unexpired federal leases, rights-of-way, and right-of-use-and-easements to be
abandoned pursuant to Section 5.12 of this Plan, a copy of which shall be filed with the
Disclosure Statement and included in the Plan Supplement.

              Schedule of Assumed Contracts means the schedule of executory contracts and
unexpired leases to be assumed by the Debtors pursuant to this Plan, if any, as the same may be
amended, modified, or supplemented from time to time.

                Schedule of FWE I Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that shall constitute FWE I Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

            Schedule of FWE III Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and


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                                                                 25 of
                                                                    of491
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gas leases that shall constitute FWE III Assets, a copy of which shall be filed with the Disclosure
Statement and included in the Plan Supplement.

                Schedule of Purchased Oil & Gas Lease Interests means a schedule (as may be
amended, modified, or supplemented from time to time) of the Debtors’ interests in the oil and
gas leases that will be acquired by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement, a copy of which shall be filed with the Disclosure Statement and included in the Plan
Supplement.

               Schedules means any schedules of assets and liabilities, schedules of executory
contracts and unexpired leases, and statements of financial affairs filed by the Debtors pursuant
to section 521 of the Bankruptcy Code.

             Second Lien Exit Facility means the facility under the Second Lien Exit Facility
Credit Agreement.

             Second Lien Exit Facility Agent means the administrative agent under the
Second Lien Exit Facility Credit Agreement.

               Second Lien Exit Facility Credit Agreement means that certain credit agreement
to be entered by the Credit Bid Purchaser, the Second Lien Exit Facility Agent and the Second
Lien Exit Facility Lenders on the Effective Date that shall govern the Second Lien Exit Facility,
which shall reflect and contain terms, conditions, representations, warranties, and covenants
consistent with the Second Lien Exit Facility Term Sheet and otherwise be in form and substance
acceptable to the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders.

               Second Lien Exit Facility Documents means, collectively, the Second Lien Exit
Facility Credit Agreement, and any and all other agreements, documents, and instruments
delivered or to be entered into in connection therewith, including any guarantee agreements,
pledge and collateral agreements, intercreditor agreements, and other security documents, the
terms of which documents shall be acceptable to the Debtors, the Required DIP Lenders, and
Requisite FLTL Lenders.

               Second Lien Exit Facility Lenders means the lenders party to the Second Lien
Exit Facility Credit Agreement.

              Second Lien Exit Facility Term Sheet means the term sheet filed with the
Disclosure Statement, as may be amended from time to time with the consent of the Required
DIP Lenders and Requisite FLTL Lenders.

                Secured means, when referring to a Claim: (a) secured by a Lien on property of a
Debtor’s Estate, the amount of which is equal to or less than the value of such property as (i) set
forth in the Plan, (ii) agreed to by the holder of such Claim and the Debtors, or (iii) determined
by a Final Order in accordance with section 506(a) of the Bankruptcy Code, or (b) secured by the
amount of any right of setoff of the holder thereof in accordance with section 553 of the
Bankruptcy Code.




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                                                            Page106
                                                                 26 of
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             Security means any “security” as such term is defined in section 101(49) of the
Bankruptcy Code.

              SLTL Claims means all Claims, other than Claims subject to subordination in
accordance with section 510(b) of the Bankruptcy Code, arising from or based upon the
Prepetition SLTL Credit Agreement.

               SLTL Claims Allowed Amount means $517,500,000.00 in principal, plus any
accrued but unpaid interest or fees due under the Prepetition SLTL Credit Agreement as of the
Petition Date.

             Standby Loan Agreement has the meaning set forth in the Apache
Implementation Agreement.

             Standby Credit Facility Documents has the meaning set forth in the Apache
Implementation Agreement.

               Statutory Fees means all fees and charges assessed against the Estates pursuant to
sections 1911 through 1930 of chapter 123 of title 28 of the United States Code.

              Subordinated Securities Claim means a Claim that is subject to subordination in
accordance with sections 510(b) of the Bankruptcy Code or otherwise.

                    Tax Code means the Internal Revenue Code of 1986, as amended from time to
time.

               Unimpaired means, with respect to a Claim, Interest, or Class of Claims or
Interests, not “impaired” within the meaning of sections 1123(a)(4) and 1124(2) of the
Bankruptcy Code.

                    U.S. Trustee means the United States Trustee for Region 7.

               Voting Deadline means March 9, 2021 at 4:00 p.m. (Prevailing Central Time), or
such date and time as may set by the Bankruptcy Court.

                    1.2        Interpretation; Application of Definitions; Rules of Construction.

                Unless otherwise specified, all section or exhibit references in the Plan are to the
respective section in or exhibit to the Plan, as the same may be amended, waived, or modified
from time to time in accordance with the terms hereof. The words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to the Plan as a whole and not to any
particular section, subsection, or clause contained therein and have the same meaning as “in the
Plan,” “of the Plan,” “to the Plan,” and “under the Plan,” respectively. The words “includes” and
“including” are not limiting. The headings in the Plan are for convenience of reference only and
shall not limit or otherwise affect the provisions hereof. For purposes herein: (a) in the
appropriate context, each term, whether stated in the singular or plural, shall include both the
singular and plural, and pronouns stated in the masculine, feminine, or neuter gender shall
include the masculine, feminine, and the neuter gender; (b) any reference herein to a contract,


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                                                   01/01/21 Page
                                                            Page107
                                                                 27 of
                                                                    of491
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lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially
in that form or substantially on those terms and conditions; (c) the rules of construction set forth
in section 102 of the Bankruptcy Code shall apply; and (d) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy
Rules, as the case may be.

                    1.3        Reference to Monetary Figures.

               All references in the Plan to monetary figures shall refer to the legal tender of the
United States of America unless otherwise expressly provided.

                    1.4        Controlling Document.

                In the event of an inconsistency between the Plan and the Plan Supplement, the
terms of the relevant document in the Plan Supplement shall control unless otherwise specified in
such Plan Supplement document. In the event of an inconsistency between the Plan and the
Backstop Commitment Letter, the Backstop Commitment Letter shall control. The provisions of
the Plan, the Backstop Commitment Letter, and of the Confirmation Order shall be construed in
a manner consistent with each other so as to effectuate the purposes of each; provided, that if
there is determined to be any inconsistency between any provision of the Plan, the Backstop
Commitment Letter, and any provision of the Confirmation Order that cannot be so reconciled,
then, solely to the extent of such inconsistency, the provisions of the Confirmation Order shall
govern.

                    1.5        Certain Consent Rights

               Notwithstanding anything herein to the contrary, and without limiting the
Debtors’ fiduciary duties, any and all consent rights of any party set forth in the Restructuring
Support Agreement with respect to the form and substance of this Plan, the Plan Supplement,
any supplement to the Disclosure Statement, any other Definitive Documents and any
agreements or documents referenced in this Plan or the Plan Supplement, including any
amendments, restatements, supplements, or other modifications to such documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated
herein by this reference and fully enforceable as if stated in full herein until such time as the
Restructuring Support Agreement is terminated in accordance with its terms.



ARTICLE II.                    ADMINISTRATIVE EXPENSE CLAIMS, FEE CLAIMS, DIP
                               CLAIMS, AND PRIORITY TAX CLAIMS.

                    2.1        Treatment of Administrative Expense Claims.

               On (or as soon thereafter as is reasonably practicable) the later of (a) the Effective
Date and (b) the first Business Day after the date that is thirty (30) calendar days after the date
each Administrative Expense Claim becomes an Allowed Administrative Expense Claim, each


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                                                            Page108
                                                                 28 of
                                                                    of491
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holder of an Allowed Administrative Expense Claim (other than a Fee Claim) shall receive in
full and final satisfaction of such Claim, either (x) Cash in an amount equal to the Allowed
amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (y) such other treatment as to which the Debtors, the Post-
Effective Date Debtors, or NewCo and its subsidiaries (including the Credit Bid Purchaser), as
applicable, and the holder of such Allowed Administrative Expense Claim will have agreed upon
in writing; provided, that Allowed Administrative Expense Claims representing liabilities
incurred in the ordinary course of business by the Debtors, as Debtors in Possession, shall be
paid by the Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of
business, consistent with past practice and in accordance with the terms and subject to the
conditions of any orders or agreements governing, instruments evidencing, or other documents
establishing, such liabilities; provided, further, that any Allowed Administrative Expense Claim
assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be
solely an obligation of the Credit Bid Purchaser and the holder of such assumed Claim shall have
no recourse to or Claim against the Debtors or Post-Effective Date Debtors or their assets and
properties.

                    2.2        Treatment of Fee Claims.

              (a)     Final Fee Applications. All final requests for the allowance and payment
of Fee Claims shall be filed no later than 45 days after the Effective Date unless such date is
extended by order of the Bankruptcy Court.

               (b)     Professional Fee Escrow Amount. All Professional Persons shall estimate
in good faith their unpaid Fee Claims before and as of the Effective Date and shall deliver such
estimate to the Debtors at least three (3) calendar days before the Effective Date; provided,
however, that such estimate shall not limit or be deemed to limit the amount of the fees and
expenses that are the subject of the Professional Person’s final request for payment of Fee
Claims. If a Professional Person does not provide such estimate, the Debtors and Post-Effective
Date Debtors may estimate the unbilled fees and expenses of such Professional Person; provided,
however, that such estimate shall not be considered an admission or limitation with respect to the
fees and expenses incurred by, or payable to, such Professional Person. The total amount so
estimated as of the Effective Date shall comprise the Professional Fee Escrow Amount.

               (c)     Professional Fee Escrow. If the Professional Fee Escrow Amount is
greater than zero, then as soon as reasonably practicable after the Confirmation Date and no later
than the Effective Date, the Debtors will establish and fund the Professional Fee Escrow with
cash equal to the Professional Fee Escrow Amount and no Liens, Claims, or interests will
encumber the Professional Fee Escrow in any way. The Professional Fee Escrow (including
funds held in the Professional Fee Escrow) will (i) not be and will not be deemed to be property
of the Debtors or the Post-Effective Date Debtors and (ii) will be held in trust for the
Professional Persons; provided, however, that funds remaining in the Professional Fee Escrow
after all Allowed Fee Claims have been irrevocably paid in full will revert to the Post-Effective
Date Debtors. Allowed Fee Claims will be paid in cash to such Professional Persons from funds
held in the Professional Fee Escrow as soon as reasonably practicable after such Claims are
Allowed by an order of the Bankruptcy Court; provided, however, that the Debtors’ obligations



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                                                            Page109
                                                                 29 of
                                                                    of491
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with respect to Fee Claims will not be limited nor deemed to be limited in any way to the balance
of funds held in the Professional Fee Escrow.

               If the amount of funds in the Professional Fee Escrow is insufficient to fund
payment in full of all Allowed Fee Claims and any other Allowed amounts owed to Professional
Persons, the deficiency will be promptly funded to the Professional Fee Escrow from the
Debtors’ estates and/or by Post-Effective Date Debtors without any further action or order of the
Bankruptcy Court.

                (d)    Post-Effective Date Fees and Expenses. On and after the Effective Date,
the Debtors and the Post-Effective Date Debtors, as applicable, will pay in cash in the ordinary
course of business and without any further action or order of the Bankruptcy Court, the
reasonable legal, professional, or other fees and expenses that are (i) related to implementation of
the Plan and (ii) incurred by the Debtors or Post-Effective Date Debtors, as applicable, on and
after the Effective Date.

               On the Effective Date, any requirement that Professional Persons comply with
sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation
for services provided after such date shall terminate, and the Debtors or Post-Effective Date
Debtors may employ and pay any post-Effective Date fees and expenses of any Professional
Person without any further notice to or action, order, or approval of the Bankruptcy Court.

                    2.3        Treatment of DIP Claims.

              As of the Effective Date, the DIP Claims shall be Allowed in the full amount
outstanding under the DIP Credit Agreement, including principal, interest, fees, costs, other
charges, and expenses provided for thereunder. In full and final satisfaction, settlement, release,
and discharge of each Allowed DIP Claim, on the Effective Date, each holder of such Allowed
DIP Claim shall receive either (a) payment in full in Cash or (b) such other treatment as to which
the Debtors or the Post-Effective Date Debtors, as applicable, and the holder of such Allowed
DIP Claims will have agreed upon in writing. On the Effective Date, all Liens granted to secure
the Allowed DIP Claims shall be terminated and of no further force and effect.

                    2.4        Payment of Fees and Expenses Under DIP Order.

                On the later of (a) the Effective Date and (b) the date on which such fees,
expenses, or disbursements would be required to be paid under the terms of the DIP Order, the
Debtors or the Post-Effective Date Debtors (as applicable) shall pay all fees, expenses, and
disbursements of the DIP Agent and DIP Lenders, in each case that have accrued and are unpaid
as of the Effective Date and are required to be paid under or pursuant to the DIP Order. After the
Effective Date, the Post-Effective Date Debtors shall continue to reimburse the DIP Agent and
the DIP Lenders for the reasonable fees and expenses (including reasonable and documented
legal fees and expenses) incurred by the DIP Agent and the DIP Lenders after the Effective Date
in accordance with the terms of the DIP Documents. The Post-Effective Date Debtors shall pay
all of the amounts that may become payable to the DIP Agent or any of the DIP Lenders in
accordance with the terms of the DIP Documents and the DIP Order.




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                                                            Page110
                                                                 30 of
                                                                    of491
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                    2.5        Treatment of Priority Tax Claims.

                On the Effective Date or as soon thereafter as is reasonably practicable (but in no
event later than 30 days after the Effective Date), each holder of an Allowed Priority Tax Claim
shall receive in full and final satisfaction of such Claim, either (a) Cash in an amount equal to the
Allowed amount of such Claim or such other treatment consistent with the provisions of section
1129(a)(9) of the Bankruptcy Code or (b) or such other treatment as to which the Debtors, the
Post-Effective Date Debtors or NewCo and its subsidiaries (including the Credit Bid Purchaser)
as applicable, and the holder of such Allowed Priority Tax Claim will have agreed upon in
writing; provided, that Allowed Priority Tax Claims representing liabilities incurred in the
ordinary course of business by the Debtors, as Debtors in Possession, shall be paid by the
Debtors or the Post-Effective Date Debtors, as applicable, in the ordinary course of business,
consistent with past practice and in accordance with the terms and subject to the conditions of
any orders or agreements governing, instruments evidencing, or other documents establishing,
such liabilities; provided, further, that any Allowed Priority Tax Claim assumed by the Credit
Bid Purchaser pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties.

                    2.6        Restructuring Expenses

               On the Effective Date, or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, as applicable, shall pay in full in Cash (to the extent not
previously paid during the course of the Chapter 11 Cases) all outstanding Restructuring
Expenses billed through the Effective Date, in accordance with the terms of the applicable
orders, engagement letters, or other applicable contractual arrangements. All parties entitled to
payment pursuant to this Section 2.6 shall estimate their accrued Restructuring Expenses before
and as of the Effective Date and shall deliver such estimates to the Debtors at least three
Business Days before the Effective Date; provided, that such estimate shall not be considered an
admission or limitation with respect to the fees and expenses of such parties. On the Effective
Date, final invoices for all Restructuring Expenses incurred before and as of the Effective Date
shall be submitted to the Debtors. In addition, the Debtors and the Post-Effective Date Debtors
(as applicable) shall continue to pay post-Effective Date, when due and payable in the ordinary
course, Restructuring Expenses related to implementation, consummation and defense of the
Plan.



ARTICLE III.                   CLASSIFICATION OF CLAIMS AND INTERESTS.

                    3.1        Classification in General.

                A Claim or Interest is placed in a particular Class for all purposes, including
voting, confirmation, and distribution under the Plan and under sections 1122 and 1123(a)(1) of
the Bankruptcy Code; provided, however, that a Claim or Interest is placed in a particular Class
for the purpose of receiving distributions pursuant to the Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and such Claim or Interest has
not been satisfied, released, or otherwise settled before the Effective Date.

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                                                                 31 of
                                                                    of491
                                                                       531




                    3.2        Formation of Debtor Groups for Convenience Only.

                The Plan groups the Debtors together solely for the purpose of describing
treatment under the Plan, confirmation of the Plan, and making Plan Distributions in respect of
Claims against and Interests in the Debtors under the Plan. Such groupings shall not affect any
Debtor’s status as a separate legal entity, change the organizational structure of the Debtors’
business enterprise, constitute a change of control of any Debtor for any purpose, cause a merger
of consolidation of any legal entities, or cause the transfer of any Assets; and, except as
otherwise provided by or permitted under the Plan, all Debtors shall continue to exist as separate
legal entities.

                    3.3        Summary of Classification of Claims and Interests.

                 The following table designates the Classes of Claims against and Interests in the
Debtors and specifies which Classes are: (a) Impaired and Unimpaired under the Plan;
(b) entitled to vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy
Code; and (c) presumed to accept or deemed to reject the Plan. In accordance with section
1123(a)(1) of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
have not been classified. The classification of Claims and Interests set forth herein shall apply
separately to each Debtor.

    Class                 Type of Claim or Interest           Impairment            Entitled to Vote
Class 1          Other Secured Claims                       Unimpaired       No (Presumed to accept)
Class 2          Priority Non-Tax Claims                    Unimpaired       No (Presumed to accept)
Class 3          FLFO Claims                                Unimpaired       No (Presumed to accept)
Class 4          FLTL Secured Claims                        Impaired         Yes
Class 5          SLTL Claims                                Impaired         Yes
Class 6          General Unsecured Claims                   Impaired         Yes
Class 7          Intercompany Claims                        Unimpaired       No (Presumed to accept)
Class 8          Subordinated Securities Claims             Impaired         No (Deemed to reject)
Class 9          Intercompany Interests                     Unimpaired       No (Presumed to accept)
Class 10         Existing Equity Interests                  Impaired         No (Deemed to reject)

                    3.4        Special Provision Governing Unimpaired Claims.

              Except as otherwise provided in this Plan, nothing under this Plan shall affect the
rights of the Debtors or the Post-Effective Date Debtors, as applicable, in respect of any
Unimpaired Claims, including all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

                    3.5        Separate Classification of Other Secured Claims.

                Although all Other Secured Claims have been placed in one Class for purposes of
nomenclature within the Plan, each Other Secured Claim, to the extent secured by a Lien on
Collateral different from the Collateral securing a different Other Secured Claim, shall be treated



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                                                                 32 of
                                                                    of491
                                                                       531




as being in a separate sub-Class for the purposes of voting to accept or reject the Plan and
receiving Plan Distributions.

                    3.6        Elimination of Vacant Classes.

               Any Class that, as of the commencement of the Confirmation Hearing, does not
have at least one holder of a Claim or Interest that is Allowed in an amount greater than zero for
voting purposes that votes on the Plan shall be considered vacant, deemed eliminated from the
Plan for purposes of voting to accept or reject the Plan, and disregarded for purposes of
determining whether the Plan satisfies section 1129(a)(8) of the Bankruptcy Code with respect to
such Class.

                    3.7        Voting Classes; Presumed Acceptance by Non-Voting Classes.

               With respect to each Debtor, if a Class contained Claims eligible to vote and no
holder of Claims eligible to vote in such Class votes to accept or reject the Plan, the Plan shall be
presumed accepted by the holders of such Claims in such Class.

                    3.8        Voting; Presumptions; Solicitation.

              (a)     Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 4, 5, and 6 are entitled to vote to accept or reject the Plan. An Impaired Class
of Claims shall have accepted the Plan if (i) the holders of at least two-thirds (2/3) in amount of
the Allowed Claims actually voting in such Class have voted to accept the Plan and (ii) the
holders of more than one-half (1/2) in number of the Allowed Claims actually voting in such
Class have voted to accept the Plan.

                (b)     Presumed Acceptance by Unimpaired Classes. Holders of Claims and
Interests in Classes 1, 2, 3, 7 and 9 are conclusively presumed to have accepted the Plan pursuant
to section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to
accept or reject the Plan.

             (c)     Deemed Rejection by Certain Impaired Classes. Holders of Claims in
Class 8 and Class 10 are deemed to have rejected the Plan pursuant to section 1126(g) of the
Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject the Plan.

                    3.9        Cramdown.

               If any Class is deemed to reject the Plan or is entitled to vote on the Plan and does
not vote to accept the Plan, the Debtors may (a) seek confirmation of the Plan under section
1129(b) of the Bankruptcy Code or (b) amend or modify the Plan in accordance with the terms
hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims or Interests,
or any class of Claims or Interests, are impaired, the Bankruptcy Court shall, after notice and a
hearing, determine such controversy on or before the Confirmation Date.




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                                                            Page113
                                                                 33 of
                                                                    of491
                                                                       531




                    3.10       No Waiver.

                Nothing contained in the Plan shall be construed to waive a Debtor’s or other
Person’s right to object on any basis to any Disputed Claim.



ARTICLE IV.                    TREATMENT OF CLAIMS AND INTERESTS.

                    4.1        Class 1: Other Secured Claims.

                 (a)     Treatment: Except to the extent that a holder of an Allowed Other
Secured Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Other Secured Claim, at the option of the Debtors or the Post-Effective Date Debtors, such
holder shall receive either (i) payment in full in Cash, payable on the later of the Effective Date
and the date that is ten (10) Business Days after the date on which such Other Secured Claim
becomes an Allowed Other Secured Claim, in each case, or as soon as reasonably practicable
thereafter or (ii) such other treatment so as to render such holder’s Allowed Other Secured Claim
Unimpaired; provided, that any Allowed Other Secured Claim assumed by the Credit Bid
Purchaser pursuant to the Credit Bid Purchase Agreement shall be solely an obligation of the
Credit Bid Purchaser and the holder of such assumed Claim shall have no recourse to or Claim
against the Debtors or Post-Effective Date Debtors or their assets and properties.

               (b)     Impairment and Voting:           Allowed Other Secured Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Other Secured Claims are conclusively presumed to accept the Plan and are not entitled to vote
to accept or reject the Plan, and the votes of such holders shall not be solicited with respect to
such Allowed Other Secured Claims.

                    4.2        Class 2: Priority Non-Tax Claims.

               (a)     Treatment: Except to the extent that a holder of an Allowed Priority
Non-Tax Claim agrees to a less favorable treatment, in full and final satisfaction of such Allowed
Priority Non-Tax Claim, each holder of an Allowed Priority Non-Tax Claim shall, at the option
of the Debtors or the Post-Effective Date Debtors (i) be paid in full in Cash or (ii) otherwise
receive treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy Code,
payable on the later of the Effective Date and the date that is ten (10) Business Days after the
date on which such Priority Non-Tax Claim becomes an Allowed Priority Non-Tax Claim, in
each case, or as soon as reasonably practicable thereafter; provided, that any Allowed Priority
Non-Tax Claim assumed by the Credit Bid Purchaser pursuant to the Credit Bid Purchase
Agreement shall be solely an obligation of the Credit Bid Purchaser and the holder of such
assumed Claim shall have no recourse to or Claim against the Debtors or Post-Effective Date
Debtors or their assets and properties.

              (b)    Impairment and Voting: Allowed Priority Non-Tax Claims are
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Priority Non-Tax Claims are conclusively presumed to accept the Plan and are not entitled to



                                                      27
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          20-33948 Document
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                                                            Page114
                                                                 34 of
                                                                    of491
                                                                       531




vote to accept or reject the Plan, and the votes of such holders shall not be solicited with respect
to such Allowed Priority Non-Tax Claims.

                    4.3        Class 3: FLFO Claims.2

               (a)    Treatment: Except to the extent that a holder of an Allowed FLFO Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of such
Allowed FLFO Claim, each holder of an Allowed FLFO Claim shall receive its Pro Rata Share
of the FLFO Distribution.

            (b)   Impairment and Voting: FLFO Claims are Unimpaired. Holders of
Allowed FLFO Claims are not entitled to vote on the Plan.

              (c)    Allowance: The FLFO Claims shall be deemed Allowed on the Effective
Date in the FLFO Claims Allowed Amount.

                    4.4        Class 4: FLTL Secured Claims.

                (a)     Treatment: Except to the extent that a holder of an Allowed FLTL
Secured Claim agrees to less favorable treatment, on the Effective Date, in full and final
satisfaction of and in exchange for such Allowed FLTL Secured Claim, each holder of an
Allowed FLTL Secured Claim shall receive: its Pro Rata Share of 100% of the New Equity
Interests, subject to dilution by (i) the Backstop Commitment Equity Premium Interests, (ii) the
New Equity Interests issued upon the exercise of the New Money Warrants and (iii) by any New
Equity Interests issued pursuant to the Management Incentive Plan.

             (b)   Impairment and Voting: FLTL Secured Claims are Impaired. Holders
of Allowed FLTL Secured Claims are entitled to vote on the Plan.

               (c)     Allowance: The FLTL Secured Claims shall be deemed Allowed on the
Effective Date in the aggregate amount of the Credit Bid Amount.

                    4.5        Class 5: SLTL Claims.

                (a)   Treatment: Except to the extent that a holder of an Allowed SLTL Claim
agrees to less favorable treatment, on the Effective Date, in full and final satisfaction of and in
exchange for such Allowed SLTL Claim, each holder of an Allowed SLTL Claim shall receive,
up to the full amount of such holder’s Allowed SLTL Claim its Pro Rata Share of the General
Unsecured Claims Cash Pool (along with Class 6).

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  As of the date hereof, the Prepetition FLFO Administrative Agent and the Prepetition FLFO Lenders have not
accepted or agreed to the terms or provisions of this Plan or any transaction contemplated by this Plan. All of the
Prepetition FLFO Administrative Agent’s and the Prepetition FLFO Lenders’ claims, rights, and remedies are
reserved for all purposes, including the right to obtain treatment and transaction structure different than as set forth
in the Plan. The filing of this Plan by the Debtors does not and shall not constitute or imply the Prepetition FLFO
Administrative Agent’s or the Prepetition FLFO Lenders’ consent to any term or provision of this Plan. For the
avoidance of doubt, the filing of this Plan does not in any way affect the ongoing consent rights of the DIP Lenders
and the Consenting FLTL Lenders under the Restructuring Support Agreement.



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                                                            Page115
                                                                 35 of
                                                                    of491
                                                                       531




             (b)    Impairment and Voting: Allowed SLTL Claims are Impaired. Holders
of Allowed SLTL Claims are entitled to vote on the Plan.

              (c)    Allowance: The SLTL Claims shall be deemed Allowed on the Effective
Date in the SLTL Claims Allowed Amount.

                    4.6        Class 6: General Unsecured Claims.

                (a)     Treatment: Except to the extent that a holder of an Allowed General
  Unsecured Claim agrees to less favorable treatment, on the Effective Date, in full and final
  satisfaction of and in exchange for such Allowed General Unsecured Claim, each holder of an
  Allowed General Unsecured Claim shall receive, up to the full amount of such holder’s
  Allowed General Unsecured Claim:

                          (i)         its Pro Rata Share of the General Unsecured Claims Cash Pool
                                      (along with Class 5); and

                          (ii)        its Pro Rata Share of the Residual Distributable Value.

              (b) Impairment and Voting: Allowed General Unsecured Claims are
 Impaired. Holders of Allowed General Unsecured Claims are entitled to vote on the Plan.

                    4.7        Class 7: Intercompany Claims.

                (a)    Treatment: On or after the Effective Date, all Intercompany Claims shall
be adjusted, reinstated, or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

               (b)      Impairment and Voting: All Allowed Intercompany Claims are deemed
Unimpaired. In accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed
Intercompany Claims are conclusively presumed to accept the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to such
Allowed Intercompany Claims.

                    4.8        Class 8: Subordinated Securities Claims.

               (a)      Treatment: All Subordinated Securities Claims, if any, shall be
discharged, cancelled, released, and extinguished as of the Effective Date, and will be of no
further force or effect, and holders of Allowed Subordinated Securities Claims will not receive
any distribution on account of such Allowed Subordinated Securities Claims.

               (b)    Impairment and Voting: Allowed Subordinated Securities Claims are
Impaired. In accordance with section 1126(g) of the Bankruptcy Code, holders of Subordinated
Securities Claims are conclusively presumed to reject the Plan and are not entitled to vote to
accept or reject the Plan, and the votes of such holders shall not be solicited with respect to
Subordinated Securities Claims.




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                                                            Page116
                                                                 36 of
                                                                    of491
                                                                       531




                    4.9        Class 9: Intercompany Interests.

               (a)    Treatment: On the Effective Date, all Intercompany Interests, in the
Debtors’ or the Post-Effective Date Debtors’ discretion, shall be adjusted, reinstated, cancelled,
or discharged in the Debtors’ or Post-Effective Date Debtors’ discretion.

                (b)    Impairment and Voting: Intercompany Interests are Unimpaired. In
accordance with section 1126(f) of the Bankruptcy Code, the holders of Allowed Intercompany
Interests are conclusively presumed to accept the Plan and are not entitled to vote to accept or
reject the Plan, and the votes of such holders shall not be solicited with respect to such Allowed
Intercompany Interests.

                    4.10       Class 10: Existing Equity Interests.

               (a)     Treatment: On the Effective Date, all Existing Equity Interests shall be
canceled, released, and extinguished, and will be of no further force or effect.

             (b)     Impairment and Voting:            Allowed Existing Equity Interests are
Impaired. Holders of Existing Equity Interests are not entitled to vote on the Plan.

                    4.11       Treatment of Vacant Classes.

                Any Claim or Interest in a Class that is considered vacant under Section 3.6 of the
Plan shall receive no Plan Distribution.



ARTICLE V.                     MEANS FOR IMPLEMENTATION.

                    5.1        Compromise and Settlement of Claims, Interests, and Controversies.

                Pursuant to sections 363 and 1123(b)(3) of the Bankruptcy Code and Bankruptcy
Rule 9019 and in consideration for the distributions and other benefits provided pursuant to the
Plan, the provisions of the Plan shall constitute a good faith compromise of Claims, Interests, and
controversies relating to the contractual, legal, and subordination rights that a creditor or an
Interest holder may have with respect to any Allowed Claim or Allowed Interest or any
distribution to be made on account of such Allowed Claim or Allowed Interest. Entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Allowed Claims, Allowed Interests, and controversies, as well as a finding
by the Bankruptcy Court that such compromise or settlement is in the best interests of the
Debtors, their Estates, and holders of such Allowed Claims and Allowed Interests, and is fair,
equitable, and reasonable.

                    5.2        Credit Bid Transaction; Confirmation Outside Date.

               (a)    If the Confirmation Date occurs on or before the Confirmation Outside
Date or the Debtors, the Required DIP Lenders, and Requisite FLTL Lenders do not otherwise
elect to pursue a 363 Credit Bid Transaction pursuant to Section 5.2(c) of the Plan, then, on the


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                                                   01/01/21 Page
                                                            Page117
                                                                 37 of
                                                                    of491
                                                                       531




Effective Date, pursuant to sections 363, 1123, 1141(b) and 1141(c) of the Bankruptcy Code, in
accordance with the Credit Bid Purchase Agreement, subject to the satisfaction or waiver of all
applicable closing conditions under the Credit Bid Purchase Agreement, (i) all Credit Bid
Acquired Interests shall be transferred to, and the Credit Bid Acquired Interests owned by the
Debtors shall vest free and clear of all Liens3 (other than Credit Bid Permitted Encumbrances
(except in the case of Fieldwood U.A. Interests, which shall vest free and clear of all Liens)),
Claims, charges, Interests, or other encumbrances, including the Credit Bid Consent Rights and
the Credit Bid Preferential Purchase Rights, and (ii) all Credit Bid Assumed Liabilities shall be
assumed by the Credit Bid Purchaser.

                 (b)    In the event that the transaction pursuant to Section 5.2(a) of the Plan is
consummated and in the event of any conflict whatsoever between the terms of the Plan and the
Credit Bid Purchase Agreement with respect to the Credit Bid Transaction, the terms of the
Credit Bid Purchase Agreement shall control, and the Plan shall be deemed to incorporate in
their entirety the terms, provisions, and conditions of the Credit Bid Purchase Agreement.

               (c)    (x) If the Confirmation Date does not occur before the Confirmation
Outside Date or (y) if the amount of Allowed Administrative Expense Claims at any time are
projected by the Debtors to exceed $[●] (the next Business Day after the occurrence of (x) or (y),
the (“Toggle Date”), then, with the consent of the Required DIP Lenders and Requisite FLTL
Lenders, the Debtors shall:

                          (i)      within 7 days of the Toggle Date, file a motion, in form and
                                   substance acceptable to the Debtors, the Required DIP Lenders and
                                   Requisite FLTL Lenders, seeking entry of an order of the
                                   Bankruptcy Court approving a credit bid sale transaction to the
                                   Credit Bid Purchaser (or another special purpose bidding entity
                                   formed by or at the direction of the Prepetition FLTL Lenders)
                                   pursuant to section 363 of the Bankruptcy Code on substantially
                                   the same terms as provided in the Credit Bid Purchase Agreement
                                   (which terms shall be acceptable to the Debtors, the Requisite
                                   FLTL Lenders, and Required DIP Lenders), free and clear of all
                                   Liens (other than Credit Bid Permitted Encumbrances (except in
                                   the case of Fieldwood U.A. Interests, which shall vest free and
                                   clear of all Liens)), Claims, charges, Interests, or other
                                   encumbrances, the Credit Bid Consent Rights and the Credit Bid
                                   Preferential Purchase Rights that are applicable to the Credit Bid
                                   Acquired Interests;

                         (ii)      within 15 days of the Toggle Date and subject to the reasonable
                                   consent of Apache, the Requisite FLTL Lenders, the Required DIP
                                   Lenders and the Debtors, amend the Apache Definitive Documents
                                   as reasonably required to effectuate the 363 Credit Bid Transaction
                                   to the Credit Bid Purchaser (or another special purpose bidding

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 Provided that the Retained Properties (as defined in the Apache Implementation Agreement) shall be transferred in
accordance with the Decommissioning Agreement.


                                                       31
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          20-33948 Document
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                                                   01/01/21 Page
                                                            Page118
                                                                 38 of
                                                                    of491
                                                                       531




                                      entity formed by or at the direction of the Prepetition FLTL
                                      Lenders); provided that no such actions shall require the Apache
                                      PSA Parties to alter the economics of the Apache Definitive
                                      Documents without the Apache PSA Parties’ express written
                                      consent; and

                          (iii)       within 35 days of the Toggle Date, obtain entry of an order of the
                                      Bankruptcy Court approving the 363 Credit Bid Transaction to the
                                      Credit Bid Purchaser (or another special purpose bidding entity
                                      formed by or at the direction of the Prepetition FLTL Lenders).

              (d)     Notwithstanding anything in the Credit Bid Purchase Agreement or any
agreement entered into pursuant to Section 5.2(c) of the Plan to the contrary, the Credit Bid
Purchaser shall not be liable for any liability or obligation on account of any Claim or Interest
that is compromised, settled, released or discharged pursuant to this Plan.

                    5.3        New Equity Interests.

                (a)    On the Effective Date, NewCo is authorized to issue or cause to be issued
and shall, issue the New Equity Interests for eventual distribution in accordance with the terms of
this Plan without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of any
Person. The New Equity Interests shall be issued and distributed free and clear of all Liens,
Claims, and other Interests. All of the New Equity Interests issued pursuant to the Plan shall be
duly authorized and validly issued.

                (b)     On the Effective Date, NewCo and all holders of the New Equity Interests
then outstanding shall be deemed to be parties to the NewCo Organizational Documents, where
applicable, substantially in the form, or consistent with the term sheets, contained in the Plan
Supplement, without the need for execution by any such holder. The NewCo Organizational
Documents shall be binding on NewCo and its subsidiaries (including the Credit Bid Purchaser)
and all parties receiving, and all holders of, New Equity Interests.

                    5.4        NewCo Organizational Documents

              The NewCo Organizational Documents will be in form and substance acceptable
to the Debtors, Requisite FLTL Lenders, and the Required DIP Lenders. After the Effective
Date, the NewCo Organizational Documents may be amended or restated as permitted by such
documents and the laws of their respective states, provinces, or countries of incorporation or
organization.

                    5.5        New Money Warrants

                On the Effective Date, NewCo is authorized to issue or cause to be issued and
shall, as provided for in this Plan, issue (i) the New Money Warrants for distribution to the New
Money Second Lien Exit Facility Lenders in accordance with the terms of the Plan and
Confirmation Order without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order, or rule, or the vote, consent, authorization, or approval of


                                                       32
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page119
                                                                 39 of
                                                                    of491
                                                                       531




any Person and (ii) upon exercise of the New Money Warrants, New Equity Interests issuable
upon exercise of the New Money Warrants. The New Money Warrants shall be issued and
distributed free and clear of all Liens, Claims, and other Interests. All of the New Money
Warrants issued pursuant to the Plan, including as contemplated by the Credit Bid Transaction
and the Second Lien Exit Facility Term Sheet, and all New Equity Interests issued upon exercise
of the New Money Warrants shall be duly authorized and validly issued.

                    5.6        Plan of Merger

                (a)     On the Effective Date, but after the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement, Fieldwood Energy LLC shall adopt the
Plan of Merger and, in accordance with the terms thereof and solely to the extent therein, upon
the effective time of the Divisional Merger as provided for in the Plan of Merger, the (i) FWE
Assets will be allocated to and vest in FWE I and FWE III pursuant to the terms of the Plan of
Merger, in each case, free and clear of all Plan of Merger Consent Rights and Plan of Merger
Preferential Purchase Rights; and (ii) the FWE I Obligations shall be allocated to and shall vest
in, and shall constitute liabilities and obligations of, FWE I and the FWE III Obligations shall be
allocated to and shall vest in, and shall constitute liabilities and obligations of, FWE III.
Immediately after the effective time of the Divisive Merger as provided in the Plan of Merger,
the only assets, properties and rights of, and the only liabilities and obligations of, (i) FWE I will
be the FWE I Assets and FWE I Obligations and (ii) FWE III will be the FWE III Assets and
FWE III Obligations.

               (b)   All of the membership interests of FWE I and FWE III shall be owned by
Post-Effective Date FWE Parent.

                (c)     Notwithstanding anything to the contrary in the Plan of Merger, any claim
or interest that is satisfied, compromised, settled, released or discharged pursuant to the Plan
shall not constitute an FWE I Obligation or FWE III Obligation.

                    5.7        Single Share

               (a)    On the Effective Date, one share of Post-Effective Date FWE Parent
common stock (the “Single Share”) shall be issued to the Plan Administrator to hold in trust as
custodian for the benefit of the holders of Allowed General Unsecured Claims and the Single
Share shall be recorded on the books and records maintained by the Plan Administrator.

               (b)     On the date that FWE Parent’s Chapter 11 Case is closed in accordance
with Section 5.17 of this Plan, the Single Share issued on the Effective Date pursuant to the Plan
shall be deemed cancelled and of no further force and effect, provided that such cancellation
does not adversely impact the Debtors’ Estates.

                    5.8        Plan Administrator

              (a)     Appointment. The Plan Administrator’s retention shall commence on the
Effective Date and shall continue until: (i) the Bankruptcy Court has entered an order or orders
closing each of the Chapter 11 Cases; (ii) the Bankruptcy Court enters an order removing the
Plan Administrator for cause; or (iii) the Plan Administrator voluntarily resigns, upon notice filed


                                                    33
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page120
                                                                 40 of
                                                                    of491
                                                                       531




with the Bankruptcy Court, and a successor Plan Administrator is appointed in accordance with
this Plan.

                (b)     Authority. Subject to Section 5.8(c) of this Plan, the Plan Administrator
shall have all the rights, powers, authority, and duties on behalf of each of the Debtors and Post-
Effective Date Debtors, without the need for Bankruptcy Court approval (unless otherwise
indicated), to carry out and implement all provisions of the Plan, including, without limitation,
to:

                          (i)    subject to Section 7 of the Plan, except to the extent Claims have
                                 been previously Allowed, control and effectuate the Claims
                                 reconciliation process in accordance with the terms of this Plan,
                                 including to object to, seek to subordinate, compromise or settle
                                 any and all Claims against the Debtors;

                         (ii)    make Distributions to holders of Allowed Claims and Interests in
                                 accordance with this Plan, including distributions from the Claims
                                 Reserve, Professional Fee Escrow and Plan Administrator Expense
                                 Reserve;

                         (iii)   exercise its reasonable business judgment to direct and control the
                                 Debtors or Post-Effective Date Debtors under this Plan and in
                                 accordance with applicable law as necessary to maximize
                                 Distributions to holders of Allowed Claims;

                         (iv)    prepare, file, and prosecute any necessary filings or pleadings with
                                 the Bankruptcy Court to carry out the duties of the Plan
                                 Administrator as described herein;

                          (v)    engage in the ownership, operation, plugging and abandonment,
                                 and decommissioning of the FWE III Assets, including the FWE
                                 III Oil & Gas Lease Interests;

                         (vi)    abandon any property determined by the Plan Administrator to be
                                 of de minimis value or burdensome to the Estates;

                        (vii)    other than any Causes of Action released by the Debtors pursuant
                                 to this Plan or otherwise, prosecute all Causes of Action on behalf
                                 of the Debtors, elect not to pursue any Causes of Action, and
                                 determine whether and when to compromise, settle, abandon,
                                 dismiss, or otherwise dispose of any such Causes of Action, as the
                                 Plan Administrator may determine is in the best interests of the
                                 Debtors and their Estates;

                       (viii)    retain, employ, terminate, or replace professionals to assist or
                                 represent it in performing its duties under this Plan;




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                                                            Page121
                                                                 41 of
                                                                    of491
                                                                       531




                         (ix)   pay all fees, expenses, debts, charges, and liabilities of the Post-
                                Effective Date Debtors, including any Restructuring Expenses,
                                from the Plan Administrator Expense Reserve or otherwise;

                          (x)   comply with, and cause the Debtors and Post-Effective Date
                                Debtors to comply with, the Debtors’ or Post-Effective Date
                                Debtors’ continuing obligations under the Credit Bid Purchase
                                Agreement;

                         (xi)   maintain the books and records and accounts of the Debtors and
                                Post-Effective Date Debtors;

                        (xii)   establish and maintain bank accounts in the name of the Post-
                                Effective Date Debtors;

                       (xiii)   incur and pay reasonable and necessary expenses in connection
                                with the performance of duties under this Plan, including the
                                reasonable fees and expenses of professionals retained by the Plan
                                Administrator;

                       (xiv)    following the Effective Date, pay any fees and expenses in Cash in
                                accordance with Section 2.4 of this Plan;

                        (xv)    administer each Debtor’s and Post-Effective Date Debtors’ tax
                                obligations, including (i) filing tax returns and paying tax
                                obligations and (ii) representing the interest and account of each
                                Debtor, each Debtor’s estate, or each Post-Effective Date Debtor
                                before any taxing authority in all matters including, without
                                limitation, any action, suit, proceeding or audit;

                       (xvi)    prepare and file any and all informational returns, reports,
                                statements, returns or disclosures relating to the Debtors or Post-
                                Effective Date Debtor that are required hereunder, by any
                                Governmental Unit or applicable law;

                      (xvii)    pay statutory fees in accordance with Section 12.1 of this Plan;

                     (xviii)    perform other duties and functions that are consistent with the
                                implementation of the Plan or as the Plan Administrator reasonably
                                deems to be necessary and proper to carry out the provisions of this
                                Plan; and

                       (xix)    close the Chapter 11 Cases pursuant to Section 5.23 of this Plan.




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                                                            Page122
                                                                 42 of
                                                                    of491
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                    (c)        Board of Directors and Officers.

                          (i)         The officers and directors of the Debtors existing before the
                                      Effective Date shall be relieved of any and all duties with the
                                      respect to the Debtors as of the Effective Date.

                          (ii)        Upon the Effective Date, the Plan Administrator shall serve as the
                                      sole officer, director, or manager of each Post-Effective Date
                                      Debtor. The Plan Administrator may also elect such additional
                                      managers(s) and officer(s) of each Post-Effective Date Debtor as
                                      the Plan Administrator deems necessary to implement this Plan
                                      and the actions contemplated herein. The Plan Administrator shall
                                      also have the power to act by written consent to remove any officer
                                      or manager of any Post-Effective Date Debtor at any time with or
                                      without cause.

               (d)  Post-Effective Date Operations. After the Effective Date, pursuant to this
Plan, the Plan Administrator shall operate the Post-Effective Date Debtors without any further
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

                (e)   Post-Effective Date Expenses. On and after the Effective Date, all costs,
expenses and obligations incurred by the Plan Administrator in administering this Plan, the Post-
Effective Date Debtors, or in any manner connected, incidental, or related thereto, in effecting
distributions from the Post-Effective Date Debtors thereunder (including the reimbursement of
reasonable expenses) shall be incurred and paid from the Plan Administrator Expense Reserve.

               (f)    Indemnification. Each of the Estates and the Post-Effective Date Debtors
shall indemnify and hold harmless the Plan Administrator solely in its capacity as such for any
losses incurred in such capacity, except to the extent such losses were the result of the Plan
Administrator’s gross negligence or willful misconduct.

                 (g)     Cooperation. The Debtors, the Post-Effective Date Debtors, the Plan
Administrator, the FWE I Sole Manager, and NewCo and its subsidiaries (including the Credit
Bid Purchaser) and their respective professionals, as appropriate, shall cooperate with each other
in relation to their respective activities and obligations in respect of this Plan, including objecting
to, settling or otherwise reconciling claims as provided herein, and by providing reasonable,
good-faith access to personnel, systems, and books and records and their respective personnel
and consulting with each other to avoid duplication of effort; provided, however, that the
Debtors, the Post-Effective Date Debtors, the Plan Administrator, the FWE I Sole Manager, and
NewCo and its subsidiaries (including the Credit Bid Purchaser) and including its advisors, if
any) shall enter into a confidentiality agreement before sharing of any such documents and/or
information to the extent deemed reasonably necessary by the Post-Effective Date Debtors, the
Credit Bid Purchaser, or Plan Administrator, as applicable.




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                                                            Page123
                                                                 43 of
                                                                    of491
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                    5.9        Plan Funding.

              Plan Distributions of Cash shall be funded from, among other things, the Debtors’
Cash on hand (including the proceeds of the DIP Facility) and the New Money Consideration.

                    5.10       The Exit Facilities

                (a)    On the Effective Date, the Credit Bid Purchaser shall execute and deliver
the Exit Facility Documents and such documents shall become effective in accordance with their
terms. On and after the Effective Date, the Exit Facility Documents shall constitute legal, valid,
and binding obligations of the Credit Bid Purchaser and be enforceable in accordance with their
respective terms and such obligations shall not be enjoined or subject to discharge, impairment,
release, avoidance, recharacterization, or subordination under applicable law, the Plan or the
Confirmation Order, and the Credit Bid Purchaser shall be authorized to incur the loans under the
Exit Facilities and use the proceeds of such loans, in each case, in accordance with the terms of
this Plan and the Exit Facility Documents without further notice to or order of the Bankruptcy
Court, act or action under applicable law, regulation, order, or rule, or the vote, consent,
authorization, or approval of any Person. The terms and conditions of the Exit Facility
Documents shall bind the Credit Bid Purchaser and each other Entity that enters into the Exit
Facility Documents.

                (b)    Confirmation shall be deemed approval of the Exit Facility Documents
and the Backstop Commitment Letter (including the transactions contemplated thereby, and all
actions to be taken, undertakings to be made, and obligations and guarantees to be incurred and
fees paid in connection therewith (including the Backstop Commitment Premium and any other
payments under the Backstop Agreement)), and, to the extent not approved by the Bankruptcy
Court previously, the Credit Bid Purchaser will be authorized to execute and deliver those
documents necessary or appropriate to obtain the Exit Facilities, including the Exit Facility
Documents, each as applicable, without further notice to or order of the Bankruptcy Court, act or
action under applicable law, regulation, order or rule or vote, consent, authorization, or approval
of any Person, subject to such modifications as the Credit Bid Purchaser may deem to be
necessary to enter into the Exit Facility Documents.

               (c)     On the Effective Date, all of the claims, liens, and security interests to be
granted in accordance with the terms of the Exit Facility Documents (i) shall be legal, binding,
and enforceable liens on, and security interests in, the collateral granted thereunder in accordance
with the terms of the Exit Facility Documents, (ii) shall be deemed automatically attached and
perfected on the Effective Date, subject only to such liens and security interests as may be
permitted under the Exit Facility Documents with the priorities established in respect thereof
under applicable non-bankruptcy law and the New Intercreditor Agreement, and (iii) shall not be
subject to avoidance, recharacterization, or subordination (including equitable subordination) for
any purposes whatsoever and shall not constitute preferential transfers, fraudulent conveyances,
or other voidable transfers under the Bankruptcy Code, this Plan, the Confirmation Order or
applicable non-bankruptcy law.




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                                                            Page124
                                                                 44 of
                                                                    of491
                                                                       531




              (d)    On the Effective Date, the Credit Bid Purchaser, the First Lien Exit
Facility Agent and the Second Lien Exit Facility Agent shall enter into the New Intercreditor
Agreement substantially in the form contained in the Plan Supplement.

                    5.11       Apache Definitive Documents.

                (a)    On the Effective Date following the consummation of the Plan of Merger
and the Effective Time (as defined in the Plan of Merger), FWE I shall be authorized to execute,
deliver, and enter into the Apache Definitive Documents, including the Standby Credit Facility
Documents, without further (i) notice to or order or other approval of the Bankruptcy Court,
(ii) act or omission under applicable law, regulation, order, or rule, (iii) vote, consent,
authorization, or approval of any Person, or (iv) action by the holders of Claims or Interests. The
Standby Loan Agreement shall constitute a legal, valid, binding and authorized obligation of
FWE I, enforceable in accordance with its terms and such obligations shall not be enjoined or
subject to discharge, impairment, release, avoidance, recharacterization, or subordination under
applicable law, the Plan or the Confirmation Order. The financial accommodations to be
extended pursuant to the Standby Loan Agreement (and other definitive documentation related
thereto) are reasonable and are being extended, and shall be deemed to have been extended, in
good faith and for legitimate business purposes.

                    (b)        FWE I Sole Manager

                           (i)       Upon the Effective Date, the FWE I Sole Manager shall be
                                     appointed. Upon the Effective Date, the new governance structure
                                     of FWE I will be set forth in the FWE I LLC Agreement.

                           (ii)      On and after the Effective Date, the FWE I Sole Manager and Plan
                                     Administrator shall mutually cooperate to establish any procedures
                                     and protocols as they deem necessary to carry out their respective
                                     duties; provided, however, that any such procedures and protocols
                                     shall be consistent with the terms of this Plan and the Sole
                                     Manager Agreement (as defined in the Apache Implementation
                                     Agreement).

                          (iii)      FWE I shall indemnify and hold harmless the FWE I Sole Manager
                                     solely in its capacity as such for any losses incurred in such
                                     capacity, except to the extent such losses were the result of the
                                     FWE I Sole Manager’s gross negligence or willful misconduct.

                    5.12       Abandonment of Certain Properties

                Immediately upon the occurrence of the Effective Date, the Debtors’ rights to and
interests in executory contracts and unexpired federal leases, rights-of-way, and right-of-use-and-
easements listed on the Schedule of Abandoned Properties are abandoned pursuant to the Plan
without further notice to or order of the Bankruptcy Court pursuant to Sections 105(a) and 554(a)
of the Bankruptcy Code and/or deemed rejected pursuant to Section 365 of the Bankruptcy Code,
as applicable. The Abandoned Properties shall not be allocated to nor vest in the Post-Effective
Date Debtors or NewCo and its subsidiaries, including the Credit Bid Purchaser. Except as

                                                      38
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page125
                                                                 45 of
                                                                    of491
                                                                       531




otherwise provided in this Plan or the Confirmation Order, the Debtors, their Estates, and the
Post-Effective Date Debtors shall not be liable for any obligations whatsoever arising from or
relating to the post-Effective Date period with regards to the Abandoned Properties. Nothing in
this Plan or the Confirmation Order shall be construed as barring, waiving, or limiting the United
States’ rights to assert a claim against the Debtors, the Post-Effective Date Debtors or any co-
lessees or predecessors in interest with respect to the Abandoned Properties for any
decommissioning obligations for the Abandoned Properties.

                    5.13       Establishment of Claims Reserve.

               On the Effective Date, the Debtors shall, with the consent of the Requisite FLTL
Lenders and the DIP Lenders, establish and fund the Claims Reserve by depositing Cash, in the
amount of the Claims Reserve Amount into the Claims Reserve. The Claims Reserve shall be
used to pay Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed
Priority Non-Tax Claims, Allowed Other Secured Claims (to the extent such Claims do not
receive other treatment that leaves such Claims Unimpaired) and Cure Amounts in accordance
with the terms of this Plan. Any amounts remaining in the Claims Reserve after satisfaction of
all Allowed Administrative Expense Claims, Allowed Priority Tax Claims, Allowed Priority
Non-Tax Claims, Allowed Other Secured Claims and Cure Amounts shall constitute Residual
Distributable Value.

                    5.14       Plan Administrator Expense Reserve.

                On or before the Effective Date, the Plan Administrator shall establish the Plan
Administrator Expense Reserve. On the Effective Date, the Plan Administrator shall deposit
Cash in the Plan Administrator Expense Reserve Amount into the Plan Administrator Expense
Reserve. The Plan Administrator Expense Reserve shall be used by the Plan Administrator
solely to satisfy the expenses of the Plan Administrator and the Post-Effective Date Debtors as
set forth in this Plan. Any amount remaining in the Plan Administrator Expense Reserve after
the dissolution of the all the Post-Effective Date Debtors shall constitute Residual Distributable
Value. In no event shall the Plan Administrator be required or permitted to use its personal funds
or assets for the purposes of carrying out its duties under this Plan.

                    5.15       Continued Corporate Existence; Effectuating Documents; Further
Transactions.

                (a)     Except as otherwise provided in the Plan, the Debtors shall continue to
exist after the Effective Date as Post-Effective Date Debtors in accordance with the applicable
laws of the respective jurisdictions in which they are incorporated or organized and pursuant to
the Amended Organizational Documents.

              (b)     On or after the Effective Date (in any case, following the consummation
of the Credit Bid Transaction), but subsequent to the consummation of the transactions
contemplated by the Credit Bid Purchase Agreement if the Credit Bid Transaction occurs,
without prejudice to the rights of any party to a contract or other agreement with any Post-
Effective Date Debtor, each Post-Effective Date Debtor may, in the sole discretion of the Plan
Administrator, take such action as permitted by applicable law, the applicable Amended


                                                      39
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page126
                                                                 46 of
                                                                    of491
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Organizational Documents or other applicable corporate governance documents, and the Apache
Definitive Documents, as such Post-Effective Date Debtor may determine is reasonable and
appropriate, including, causing: (i) the consummation of a Divisional Merger as contemplated
by the Plan of Merger, (ii) a Post-Effective Date Debtor to be merged into another Post-Effective
Date Debtor or an affiliate of a Post-Effective Date Debtor; (ii) a Post-Effective Date Debtor to
be dissolved; (iii) the legal name of a Post-Effective Date Debtor to be changed; (iv) a Post-
Effective Date Debtor to convert its form of entity; or (v) the closure of a Post-Effective Date
Debtor’s Chapter 11 Case on the Effective Date or any time thereafter, and such action and
documents are deemed to require no further action or approval (other than any requisite filings
required under the applicable state, provincial and federal or foreign law).

                (c)    On the Effective Date or as soon thereafter as is reasonably practicable (in
any case, following the consummation of the Credit Bid Transaction), but subsequent to the
consummation of the transactions contemplated by the Credit Bid Purchase Agreement if the
Credit Bid Transaction occurs, the Post-Effective Date Debtors, acting through the Plan
Administrator, may take all actions as may be necessary or appropriate to effect any transaction
described in, approved by, or necessary or appropriate to effectuate the Plan, including, (i) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
restructuring, conversion, disposition, transfer, dissolution, or liquidation containing terms that
are consistent with the terms of the Plan and the Plan Supplement and that satisfy the
requirements of applicable law and any other terms to which the applicable entities may agree;
(ii) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any Asset, property, right, liability, debt, or obligation on terms consistent with the
terms of the Plan and having other terms to which the applicable parties agree; (iii) the filing of
appropriate organizational documents governing the Post-Effective Date Debtors, including the
Post-Effective Date Debtors’ respective Amended Organizational Documents, and any
amendments or restatements thereto, or any documents governing any Post-Effective Date
Debtor’s reincorporation, merger, consolidation, conversion, or dissolution pursuant to
applicable law and, as necessary, other constituent documents, including, without limitation, the
organizational documents governing non-Debtor subsidiaries, as permitted by the laws of their
respective states of incorporation; (iv) the Restructuring Transactions; and (v) all other actions
that the applicable entities determine to be necessary or appropriate, including, making filings or
recordings that may be required by applicable law.

                    5.16       Corporate Action.

                (a)     Upon the Effective Date, all actions contemplated by this Plan shall be
deemed authorized and approved in all respects, including (i) entry into or execution of the
Credit Bid Purchase Agreement and consummation of the transactions contemplated therein, (ii)
the assumption or assumption and assignment of executory contracts and unexpired leases as
provided herein, (iii) the appointment of the Plan Administrator and the FWE I Sole Manager,
(iv) the entry into or execution of the Apache Definitive Documents and all documentation
relating thereto, including the Plan of Merger and Standby Credit Facility Documents, (vi) entry
into or execution of the Exit Facility Documents (including the New Intercreditor Agreement),
(vii) any other Restructuring Transaction, and (viii) all other actions contemplated by the Plan
(whether to occur before, on, or after the Effective Date), in each case in accordance with and
subject to the terms hereof. All matters provided for in this Plan involving the corporate or


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                                                   01/01/21 Page
                                                            Page127
                                                                 47 of
                                                                    of491
                                                                       531




limited liability company structure of the Debtors or the Post-Effective Date Debtors, and any
corporate or limited liability company action required by the Debtors or the Post-Effective Date
Debtors in connection with this Plan shall be deemed to have occurred and shall be in effect,
without any requirement of further action by the security holders, directors, managers, or officers
of the Debtors or the Post-Effective Date Debtors.

               (b)    On or before (as applicable) the Effective Date, the appropriate directors,
officers, and managers of the Debtors, the Plan Administrator, or the FWE I Sole Manager, as
applicable, shall be authorized and directed to issue, execute, and deliver the agreements,
documents, securities, and instruments contemplated by this Plan (or necessary or desirable to
effect the transactions contemplated by this Plan). The authorizations and approvals
contemplated by this Section 5.16 shall be effective notwithstanding any requirements under
nonbankruptcy law.

                    5.17       Cancellation of Existing Securities and Agreements.

                Except for the purpose of evidencing a right to and allowing holders of Claims to
receive a distribution under this Plan, and except as otherwise set forth in the Plan, or in the Plan
Supplement or any related agreement, instrument, or document, on the Effective Date, all
agreements, instruments, notes, certificates, indentures, mortgages, security documents,
reimbursement obligations, and other instruments or documents evidencing or creating any
prepetition Claim or Interest (collectively, the “Cancelled Agreements”) (except that the
following shall not be Cancelled Agreements: (i) the agreements, instruments, notes, certificates,
indentures, mortgages, security documents, and other instruments or documents governing,
relating to and/or evidencing certain Intercompany Interests not modified by the Plan and any
rights of any holder in respect thereof and (ii) the Decommissioning Agreement, and any and all
bonds and letters of credit constituting Decommissioning Security) shall be deemed cancelled
and of no force or effect and the Debtors shall not have any continuing obligations thereunder;
provided, however, that each of the Cancelled Agreements shall continue in effect solely for the
purposes of, (x) allowing holders of Claims or Interests to receive distributions under the Plan on
account of such Claims or Interests and (y) allowing and preserving the rights of the Prepetition
FLFO Administrative Agent, the Prepetition FLFO Collateral Agent, the Prepetition FLTL
Administrative Agent, the Prepetition SLTL Administrative Agent, and the DIP Agent, as
applicable, to (1) make distributions on account of such Claims or Interests; (2) maintain,
enforce, and exercise their respective liens, including any charging liens, as applicable, under the
terms of the applicable agreements, or any related or ancillary document, instrument, agreement,
or principle of law, against any money or property distributed or allocable on account of such
Claims, as applicable; (3) seek compensation and reimbursement for any reasonable and
documented fees and expenses incurred in connection with the implementation of the Plan
required to be paid pursuant to the applicable agreement; (4) maintain, enforce, and exercise any
right or obligation to compensation, indemnification, expense reimbursement, or contribution, or
any other claim or entitlement that the Prepetition FLFO Administrative Agent, the Prepetition
FLFO Collateral Agent, the Prepetition FLTL Administrative Agent, the Prepetition SLTL
Administrative Agent, and the DIP Agent may have under this Plan, the applicable credit
agreements, collateral agreements, or pledge agreements; and (5) appear and raise issues in these
Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any other court after the
Effective Date on matters relating to this Plan or the applicable credit agreements; provided,


                                                      41
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          20-33948 Document
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                                                   01/01/21 Page
                                                            Page128
                                                                 48 of
                                                                    of491
                                                                       531




further, that the Prepetition FLFO Administrative Agent, the Prepetition FLFO Collateral Agent,
the Prepetition FLTL Administrative Agent, the Prepetition SLTL Administrative Agent, and the
DIP Agent may take such further action to implement the terms of the Plan, including the
Restructuring Transactions, as agreed to with the Debtors or the Post-Effective Date Debtors, as
applicable to the extent not inconsistent with the Confirmation Order or this Plan.

                    5.18       Cancellation of Certain Existing Security Interests.

                Upon the full payment or other satisfaction of an Allowed Other Secured Claim,
or promptly thereafter, the holder of such Allowed Other Secured Claim shall deliver to the
Debtors or the Post-Effective Date Debtors, as applicable, any Collateral or other property of a
Debtor held by such holder, together with any termination statements, instruments of
satisfaction, or releases of all security interests with respect to its Allowed Other Secured Claim
that may be reasonably required to terminate any related financing statements, mortgages,
mechanics’ or other statutory Liens, or lis pendens, or similar interests or documents.

               After the Effective Date, the Debtors or the Post-Effective Date Debtors, at their
expense, may, in their sole discretion, take any action necessary to terminate, cancel, extinguish,
and/or evidence the release of any and all mortgages, deeds of trust, Liens, pledges, and other
security interests with respect to any Claim or Interest, including, without limitation, the
preparation and filing of any and all documents necessary to terminate, satisfy, or release any
mortgages, deeds of trust, Liens, pledges, and other security interests held by the Prepetition
Agents, including, without limitation, UCC-3 termination statements and mortgage release
documentation.

                    5.19       Intercompany Interests; Corporate Reorganization.

                To the extent reinstated under the Plan, on the Effective Date, the Intercompany
Interests (a) shall be reinstated for the ultimate benefit of the holders of Claims and Interests as
set forth in the Plan (b) without the need for any further corporate action or approval of any
board of directors, board of managers, managers, management, or stockholders of any Debtor or
Post-Effective Date Debtor, as applicable, the certificates and all other documents representing
the Intercompany Interests shall be deemed to be in full force and effect.

                    5.20       Restructuring Transactions.

               On the Effective Date or as soon as reasonably practicable thereafter, the Debtors
or the Post-Effective Date Debtors, acting through the Plan Administrator, or the FWE I Sole
Manager, as applicable, may take all actions consistent with the Plan and the Confirmation
Order, as may be necessary or appropriate to effect any transaction described in, approved by,
contemplated by, or necessary to effectuate the Restructuring Transactions under and in
connection with the Plan.

                    5.21       Liquidating Trust.

                In the event the Plan Administrator determines, in its discretion, that to carry out
and implement the provisions of this Plan certain assets should be transferred to a liquidating
trust for the benefit of one or more classes of Claims, (1) the terms of the liquidating trust shall


                                                       42
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page129
                                                                 49 of
                                                                    of491
                                                                       531




be set forth in a liquidating trust agreement, (2) the liquidating trust shall be structured to qualify
as a “liquidating trust” within the meaning of Treasury Regulations section 301.7701-4(d) and in
compliance with Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust”
within the meaning of sections 671 through 679 of the Tax Code of which the holders of Claims
who become the liquidating trust beneficiaries (as determined for U.S. federal income tax
purposes) are the owners and grantors, consistent with the terms of the Plan, (3) the sole purpose
of the liquidating trust shall be the liquidation and distribution of the assets transferred to the
liquidating trust in accordance with Treasury Regulations section 301.7701-4(d), including the
resolution of Claims, with no objective to continue or engage in the conduct of a trade or
business, (4) all parties (including the Debtors, holders of Claims, and the trustee of the
liquidating trust) shall report consistently with such treatment (including the deemed receipt of
the underlying assets, subject to applicable liabilities and obligations, by the holders of Allowed
Claims, as applicable, followed by the deemed transfer of such assets to the liquidating trust), (5)
all parties shall report consistently with the valuation of the assets transferred to the liquidating
trust as determined by the trustee of the liquidating trust (or its designee), (6) the trustee of the
liquidating trust shall be responsible for filing returns for the trust as a grantor trust pursuant to
Treasury Regulations section 1.671-4(a), and (7) the trustee of the liquidating trust shall annually
send to each holder of an interest in the liquidating trust a separate statement regarding the
receipts and expenditures of the trust as relevant for U.S. federal income tax purposes. Subject
to definitive guidance from the Internal Revenue Service or a court of competent jurisdiction to
the contrary (including the receipt by the trustee of the liquidating trust of a private letter ruling
if the trustee so requests one, or the receipt of an adverse determination by the Internal Revenue
Service upon audit if not contested by the trustee), the trustee of the liquidating trust may timely
elect to (y) treat any portion of the liquidating trust allocable to Disputed Claims as a “disputed
ownership fund” governed by Treasury Regulations section 1.468B-9 (and make any appropriate
elections) and (z) to the extent permitted by applicable law, report consistently with the
foregoing for state and local income tax purposes. If a “disputed ownership fund” election is
made, (i) all parties (including the Debtors, holders of Claims, and the trustee of the liquidating
trust) shall report for U.S. federal, state, and local income tax purposes consistently with the
foregoing, and (ii) any tax imposed on the liquidating trust with respect to assets allocable to
Disputed Claims (including any earnings thereon and any gain recognized upon the actual or
deemed disposition of such assets) will be payable out of such assets and, in the event of
insufficient Cash to pay any such taxes, the trustee of the liquidating trust may sell all or part of
such assets to pay the taxes. The trustee of the liquidating trust may request an expedited
determination of taxes of the liquidating trust, including any reserve for Disputed Claims, under
section 505(b) of the Bankruptcy Code for all tax returns filed for, or on behalf of, the liquidating
trust for all taxable periods through the dissolution of the liquidating trust.

                    5.22       Securities Exemptions.

               (a)     The offer, issuance, and distribution of the New Equity Interests (other
than the Backstop Commitment Premium Equity Interests, New Money Warrants, or any New
Equity Interests issued upon exercise of the New Money Warrants) to holders of Allowed FLTL
Secured Claims, as applicable, under Article IV of this Plan shall be exempt, pursuant to section
1145 of the Bankruptcy Code, without further act or actions by any Person, from registration
under the Securities Act, and all rules and regulations promulgated thereunder, and any other
applicable securities laws, to the fullest extent permitted by section 1145 of the Bankruptcy


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                                                            Page130
                                                                 50 of
                                                                    of491
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Code. The New Equity Interests issued pursuant to section 1145(a) of the Bankruptcy Code may
be resold without registration under the Securities Act or other federal securities laws pursuant to
the exemption provided by section 4(a)(1) of the Securities Act, unless the holder is an
“underwriter” with respect to such Securities, as that term is defined in section 1145(b) of the
Bankruptcy Code. In addition, such section 1145 exempt Securities generally may be resold
without registration under state securities laws pursuant to various exemptions provided by the
respective laws of the several states.

                (b)      The issuance and sale of the Backstop Commitment Premium Equity
Interests and the New Money Warrants (including any New Equity Interests issued upon exercise
of the New Money Warrants) under this Plan shall be exempt from registration under the
Securities Act or any other applicable securities laws to the fullest extent permitted by section
4(a)(2) of the Securities Act and/or Regulation D thereunder. The Backstop Commitment
Premium Equity Interests and the New Money Warrants (including any New Equity Interests
issued upon exercise of the New Money Warrants) issued in reliance on the exemption from
registration set forth in section 4(a)(2) of the Securities Act and/or Regulation D thereunder, will
be considered “restricted securities” and may not be transferred except pursuant to an effective
registration statement or under an available exemption from the registration requirements of the
Securities Act, such as, under certain conditions, the resale provisions of Rule 144 of the
Securities Act.

               (c)     None of the Debtors, NewCo and its subsidiaries (including the Credit Bid
Purchaser), or any other Person shall be required to provide any further evidence other than the
Plan or the Confirmation Order with respect to the treatment of the New Equity Interests or the
New Money Warrants, under applicable securities laws. DTC and any transfer agent (as
applicable) shall be required to accept and conclusively rely upon the Plan or Confirmation
Order in lieu of a legal opinion regarding whether the New Equity Interests or the New Money
Warrants are exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services (to the extent applicable).

                (d)    Notwithstanding anything to the contrary in this Plan, no Person
(including DTC and any transfer agent) shall be entitled to require a legal opinion regarding the
validity of any transaction contemplated by the Plan, including whether the New Equity Interests
or the New Money Warrants are exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services.

                    5.23       Closing of Chapter 11 Cases.

               After the Effective Date, the Plan Administrator shall be authorized, but not
directed, to submit an order to Bankruptcy Court under certification of counsel that is in form
and substance acceptable to the U.S. Trustee that closes and issues a final decree for each of the
Chapter 11 Cases.




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                                                   01/01/21 Page
                                                            Page131
                                                                 51 of
                                                                    of491
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ARTICLE VI.                    DISTRIBUTIONS.

                    6.1        Distributions Generally.

             The Plan Administrator shall make all Distributions to the appropriate holders of
Allowed Claims in accordance with the terms of this Plan.

                    6.2        No Postpetition Interest on Claims.

               Except as otherwise specifically provided for in the Plan, the Confirmation Order,
or another order of the Bankruptcy Court, postpetition interest shall not accrue or be paid on any
Claims, and no holder of a Claim shall be entitled to interest accruing on such Claim on or after
the Petition Date.

                    6.3        Date of Distributions.

                Except as otherwise provided in this Plan, the Plan Administrator shall make Plan
Distributions to holders of Allowed Claims after (a) funding of the Professional Fee Escrow and
(b) satisfaction in full or establishment of reserves sufficient to pay claims in the Claims Reserve,
as soon as reasonably practicable after the Effective Date and thereafter, the Plan Administrator
shall from time to time determine the subsequent Distribution Dates.

                    6.4        Distribution Record Date.

                As of the close of business on the Distribution Record Date, the various lists of
holders of Claims in each Class as maintained by the Debtors or their agents, shall be deemed
closed, and there shall be no further changes in the record holders of any Claims after the
Distribution Record Date. Neither the Debtors nor the Plan Administrator shall have any
obligation to recognize any transfer of a Claim occurring after the close of business on the
Distribution Record Date. In addition, with respect to payment of any Cure Amounts or disputes
over any Cure Amounts, neither the Debtors nor the Plan Administrator shall have any obligation
to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease, even if such non-Debtor party has sold, assigned, or otherwise
transferred its Claim for a Cure Amount.

                    6.5        Distributions after Effective Date

             Distributions made after the Effective Date to holders of Disputed Claims that are
not Allowed Claims as of the Effective Date but which later become Allowed Claims shall be
deemed to have been made on the Effective Date.

                    6.6        Delivery of Distributions.

               Subject to Bankruptcy Rule 9010, the Plan Administrator shall make all
Distributions to any holder of an Allowed Claim as and when required by this Plan at (a) the
address of such holder on the books and records of the Debtors or their agents or (b) at the
address in any written notice of address change delivered to the Debtors or the Plan
Administrator, including any addresses included on any transfers of Claim filed pursuant to


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          20-33948 Document
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                                                            Page132
                                                                 52 of
                                                                    of491
                                                                       531




Bankruptcy Rule 3001. In the event that any Distribution to any holder is returned as
undeliverable, no Distribution or payment to such holder shall be made unless and until the Plan
Administrator has been notified of the then-current address of such holder, at which time or as
soon thereafter as reasonably practicable such Distribution shall be made to such holder without
interest.

                    6.7        Unclaimed Property.

                One year from the later of: (a) the Effective Date and (b) the date that is ten (10)
Business Days after the date a Claim is first Allowed, all distributions that remain payable on
account of such Claim shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and shall revert to the Post-Effective Date Debtors or their successors or
assigns, and all claims of any other Person (including the holder of a Claim in the same Class) to
such distribution shall be discharged and forever barred. The Post-Effective Date Debtors and
the Plan Administrator shall have no obligation to attempt to locate any holder of an Allowed
Claim other than by reviewing the Debtors’ books and records and the Bankruptcy Court’s
filings.

        For the avoidance of doubt, a distribution shall be deemed unclaimed if a holder has not:
(a) accepted a particular distribution or, in the case of distributions made by check, negotiated
such check; (b) given notice to the Post-Effective Date Debtors or the Plan Administrator of an
intent to accept a particular distribution; (c) responded to the Debtors’, the Post-Effective Date
Debtors’, or the Plan Administrator’s requests for information necessary to facilitate a particular
distribution; or (d) taken any other action necessary to facilitate such distribution.

                    6.8        Satisfaction of Claims.

              Unless otherwise provided herein, any distributions and deliveries to be made on
account of Allowed Claims under the Plan shall be in complete and final satisfaction, settlement,
and discharge of and exchange for such Allowed Claims.

                    6.9        Manner of Payment under Plan.

               Except as specifically provided herein, at the option of the Debtors, the Post-
Effective Date Debtors, or the Plan Administrator, as applicable, any Cash payment to be made
under the Plan may be made by a check or wire transfer or as otherwise required or provided in
applicable agreements or customary practices of the Debtors.

                    6.10       De Minimis Cash Distributions.

               The Plan Administrator shall not be required to make any payment to any holder
of an Allowed Claim on any Distribution Date of Cash in an amount less than one-hundred
dollars ($100); provided, however, that if any Plan Distribution is not made pursuant to this
Section 6.10, such Distribution shall be added to any subsequent Plan Distribution to be made on
behalf of the holder’s Allowed Claim. The Plan Administrator shall not be required to make any
final Plan Distributions of Cash in an amount less than fifty dollars ($50) to any holder of an
Allowed Claim. If the amount of any final Plan Distributions to holders of Allowed Claims
would be fifty dollars ($50) or less, then no further Plan Distribution shall be made by the Plan


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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page133
                                                                 53 of
                                                                    of491
                                                                       531




Administrator and any surplus Cash shall be donated and distributed to a Tax Code § 501(c)(3)
tax-exempt organization selected by the Plan Administrator.

                    6.11       No Distribution in Excess of Amount of Allowed Claim.

              Notwithstanding anything to the contrary in this Plan, no holder of an Allowed
Claim shall receive, on account of such Allowed Claim, Plan Distributions in excess of the
Allowed amount of such Claim.

                    6.12       Allocation of Distributions Between Principal and Interest.

              Except as otherwise required by law, consideration received in respect of an
Allowed Claim is allocable first to the principal amount of the Claim (as determined for U.S.
federal income tax purposes) and then, to the extent of any excess, to the remainder of the Claim,
including any Claim for accrued but unpaid interest.

                    6.13       Setoffs and Recoupments.

                Each Post-Effective Date Debtor, or such entity’s designee as instructed by such
Post-Effective Date Debtor or the Plan Administrator, may, pursuant to section 553 of the
Bankruptcy Code or applicable nonbankruptcy law, offset or recoup against any Allowed Claim,
and the distributions to be made pursuant to the Plan on account of such Allowed Claim any and
all claims, rights, and Causes of Action that a Post-Effective Date Debtor or its successors may
hold against the holder of such Allowed Claim after the Effective Date to the extent such setoff
or recoupment is either (a) agreed in amount among the relevant Post-Effective Date Debtor(s),
and holder of the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or
another court of competent jurisdiction; provided, that neither the failure to effect a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a
Post-Effective Date Debtor or its successor of any claims, rights, or Causes of Action that a Post-
Effective Date Debtor or its successor or assign may possess against such holder.

                    6.14       Withholding and Reporting Requirements.

                (a)    Withholding Rights. In connection with this Plan, any party issuing any
instrument or making any Plan Distribution described in this Plan shall comply with all
applicable tax withholding and reporting requirements imposed by any Governmental Unit, and
all Plan Distributions pursuant to this Plan and all related agreements shall be subject to any such
withholding or reporting requirements. Notwithstanding the foregoing, each holder of an
Allowed Claim or any other Person that receives a Plan Distribution pursuant to this Plan shall
have responsibility for any taxes imposed by any Governmental Unit, including, income,
withholding, and other taxes, on account of such Plan Distribution. Any party issuing any
instrument or making any Plan Distribution pursuant to this Plan has the right, but not the
obligation, to not make a Plan Distribution until such holder has made arrangements satisfactory
to such issuing or disbursing party for payment of any such tax obligations. Notwithstanding any
provision in the Plan to the contrary, any party issuing any instrument or making any Plan
Distribution pursuant to this Plan shall be authorized to take all actions necessary or appropriate
to comply with such withholding and reporting requirements, including liquidating a portion of
the distribution to be made under the Plan to generate sufficient funds to pay applicable

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                                                            Page134
                                                                 54 of
                                                                    of491
                                                                       531




withholding taxes, withholding distributions pending receipt of information necessary to
facilitate such distributions or establishing any other mechanisms they believe are reasonable and
appropriate.

               (b)     Forms. Any party entitled to receive any property as an issuance or Plan
Distribution under this Plan shall, upon reasonable request, deliver to the Plan Administrator or
such other Person designated by the Plan Administrator (which entity shall subsequently deliver
to the Plan Administrator or such other Person any applicable IRS Form W-8 or Form W-9
received) an appropriate Form W-9 or (if the payee is a non-U.S. Person) Form W-8, unless such
Person is exempt under the Tax Code and so notifies the Plan Administrator or such other
Person. If such request is made by the Plan Administrator or such other Person designated by the
Plan Administrator and the holder fails to comply before the date that is 210 days after the
request is made, the amount of such Plan Distribution shall irrevocably revert to the Debtors and
any Claim in respect of such Plan Distribution shall be discharged and forever barred from
assertion against any Debtor and its respective property.

                    6.15       Claims Paid by Third Parties.

                The Plan Administrator shall reduce in full a Claim, and such Claim shall be
Disallowed without a Claims objection having to be filed and without any further notice to or
action, order, or approval of the Bankruptcy Court, to the extent that the holder of such Claim
receives payment in full on account of such Claim from a party that is not the Debtors or the
Post-Effective Date Debtors. If a holder of a Claim receives a Distribution from the Debtors or
the Post-Effective Date Debtors on account of such Claim and also receives payment from a
third party on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the Plan Distribution to the Debtors or the Post-Effective Date Debtors,
to the extent the holder’s total recovery on account of such Claim from the third party and under
this Plan exceeds the total Allowed amount of such Claim as of the date of any such Plan
Distribution under this Plan. The failure of such holder to timely repay or return such
Distribution shall result in the holder owing the Post-Effective Date Debtors interest on such
amount owed for each Business Day after the 14-day grace period specified above until the
amount is repaid.

                    6.16       Claims Payable by Third Parties.

                No Distributions shall be made on account of an Allowed Claim that is payable
pursuant to one of the insurance policies to which the Debtors’ are a beneficiary until the holder
of such Allowed Claim has exhausted all remedies with respect to such insurance policy;
provided, however, that this Section 6.16 shall not restrict Plan Distributions on an Allowed
Claim that is Allowed in an amount that does not exceed an applicable self-insured retention or
deductible amount under one or more such insurance policies. To the extent that one or more of
the insurers agrees to satisfy a Claim in whole or in part, then immediately upon such insurers’
satisfaction, such Claim may be expunged to the extent of any agreed upon satisfaction on the
Claims register by the Plan Administrator without a Claims objection having to be filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.




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                                                            Page135
                                                                 55 of
                                                                    of491
                                                                       531




ARTICLE VII.                   PROCEDURES FOR DISPUTED CLAIMS.

                    7.1        Allowance of Claims.

               Except as expressly provided in the Plan or in any order entered in the Chapter 11
Cases before the Effective Date (including the Confirmation Order), no Claim shall become an
Allowed Claim unless and until such Claim is deemed Allowed pursuant to the Plan or a Final
Order, including the Confirmation Order (when it becomes a Final Order), Allowing such Claim.
On and after the Effective Date, each of the Debtors or the Post-Effective Date Debtors shall
have and retain any and all rights and defenses such Debtor had with respect to any Claim
immediately before the Effective Date.

                    7.2        Claims Objections.

               Except insofar as a Claim is Allowed under the Plan, the Debtors or the Post-
Effective Date Debtors (acting through the Plan Administrator), as applicable, shall be entitled to
object to Claims. Except as otherwise expressly provided in the Plan and notwithstanding any
requirements that may be imposed pursuant to Bankruptcy Rule 9019, after the Effective Date,
the Post-Effective Date Debtors and the Plan Administrator shall have the authority (a) to file,
withdraw, or litigate to judgment objections to Claims; (b) to settle or compromise any Disputed
Claim without any further notice to or action, order, or approval by the Bankruptcy Court; and
(c) to administer and adjust the Debtors’ claims register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court.

                    7.3        Estimation of Claims.

                 Before or after the Effective Date, the Debtors, the Post-Effective Date Debtors,
and the Plan Administrator may at any time request that the Bankruptcy Court estimate any
Disputed Claim that is contingent or unliquidated pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether any party previously has objected to such Claim or
whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall
retain jurisdiction to estimate any such Claim, including during the litigation of any objection to
any Claim or during the appeal relating to such objection. In the event that the Bankruptcy Court
estimates any Disputed, contingent, or unliquidated Claim, that estimated amount shall constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim for all
purposes under the Plan (including for purposes of distributions), as determined by the
Bankruptcy Court. If the estimated amount constitutes a maximum limitation of the amount of
such Claim, the Debtors, the Post-Effective Date Debtors, or the Plan Administrator, as
applicable, may elect to pursue any supplemental proceedings to object to any ultimate
distribution on such Claim. Notwithstanding section 502(j) of the Bankruptcy Code, in no event
shall any holder of a Claim that has been estimated pursuant to section 502(c) of the Bankruptcy
Code or otherwise be entitled to seek reconsideration of such estimation unless such holder has
filed a motion requesting the right to seek such reconsideration on or before 21 days after the
date on which such Claim is estimated.




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                                                   01/01/21 Page
                                                            Page136
                                                                 56 of
                                                                    of491
                                                                       531




                    7.4        Adjustment to Claims Register Without Objection.

                Any duplicate Claim or Interest or any Claim or Interest that has been paid or
satisfied, or any Claim that has been amended or superseded, may be adjusted or expunged on
the claims register by the Debtors or the Post-Effective Date Debtors (at the direction of the Plan
Administrator) upon stipulation between the parties in interest without a Claims objection having
to be filed and without any further notice or action, order, or approval of the Bankruptcy Court.

                    7.5        Time to File Objections to Claims.

               Any objections to a Claim shall be filed on or before the date that is the later of
(a) 180 days after the Effective Date and (b) such later date as may be fixed by the Bankruptcy
Court, after notice and a hearing, upon a motion by the Post-Effective Date Debtors, as such
deadline may be extended from time to time.

                    7.6        Disallowance of Claims.

                Any Claims held by Entities from which property is recoverable under sections
542, 543, 550, or 553 of the Bankruptcy Code or that is a transferee of a transfer avoidable under
sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code, shall be
deemed Disallowed pursuant to section 502(d) of the Bankruptcy Code, and holders of such
Claims may not receive any distributions on account of such Claims until such time as such
Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect
thereto has been entered and all sums due, if any, to the Debtors by that Entity have been turned
over or paid to the Debtors or the Post-Effective Date Debtors.

                    7.7        Amendments to Claims.

               On or after the Effective Date, except as provided in the Plan or the Confirmation
Order, a Claim may not be filed or amended without the prior authorization of the Bankruptcy
Court, and the Post-Effective Date Debtors.

                    7.8        No Distributions Pending Allowance.

               If an objection, motion to estimate, or other challenge to a Claim is filed, no
payment or distribution provided under the Plan shall be made on account of such Claim unless
and until (and only to the extent that) such Claim becomes an Allowed Claim.

               With respect to any Disputed General Unsecured Claims, the undistributed
portion of the General Unsecured Claims Cash Pool (hereafter, the “Cash Pool Reserve”) shall
be held in a segregated account. Subject to definitive guidance from the IRS or a court of
competent jurisdiction to the contrary, or the receipt of a determination by the IRS, the
disbursing agent shall treat the Cash Pool Reserve as a “disputed ownership fund” governed by
Treasury Regulation section 1.468B-9 and to the extent permitted by applicable law, report
consistently with the foregoing for state and local income tax purposes. All parties (including
the Debtors, the Reorganized Debtors, the disbursing agent, and the holders of General
Unsecured Claims and the holders of SLTL Claims) shall be required to report for tax purposes



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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                   01/01/21 Page
                                                            Page137
                                                                 57 of
                                                                    of491
                                                                       531




consistently with the foregoing. The Cash Pool Reserve shall be responsible for payment, out of
the assets of the Cash Pool Reserve, of any taxes imposed on the Cash Pool Reserve or its assets.

                     To the extent that a Disputed General Unsecured Claim becomes an
Allowed Claim after the Effective Date, the disbursing agent shall distribute to the holder thereof
out of the Cash Pool Reserve any amount to which such holder is entitled hereunder (net of any
allocable taxes imposed thereon or otherwise incurred or payable by the Cash Pool Reserve). At
such time as all Disputed General Unsecured Claims have been resolved, any remaining assets in
the Disputed Claims Reserve shall be distributed Pro Rata to all holders of Allowed General
Unsecured Claims and Allowed SLTL Claims.

               The disbursing agent may request an expedited determination of taxes under
section 505(b) of the Bankruptcy Code for all returns filed for or on behalf of the Disputed
Claims Reserve for all taxable periods through the date on which final distributions are made.

                    7.9        Distributions After Allowance.

                To the extent that a Disputed Claim ultimately becomes an Allowed Claim,
distributions (if any) shall be made to the holder of such Allowed Claim in accordance with the
provisions of the Plan. As soon as practicable after the date on which the order or judgment of
the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Plan
Administrator shall provide to the holder of such Allowed Claim the distribution (if any) to
which such holder is entitled under the Plan as of the Effective Date, without any interest to be
paid on account of such Claim unless required by the Bankruptcy Code.

                    7.10       Claims Resolution Procedures Cumulative.

              All of the Claims and objection, estimation, and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn, or resolved in accordance with the Plan or any mechanism
approved by the Bankruptcy Court.



ARTICLE VIII.                  EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                    8.1        General Treatment.

                (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected,
unless such contract or lease (i) was previously assumed or rejected by the Debtors pursuant to
an order of the Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms
or by agreement of the parties thereto; (iii) is the subject of a motion to assume filed by the
Debtors on or before the Confirmation Date; (iv) is identified in Sections 8.4 or 8.5 of the Plan;
or (v) is identified for assumption on the Schedule of Assumed Contracts included in the Plan
Supplement, which Schedule of Assumed Contracts will identify executory contracts or
unexpired leases for assumption and assignment to the Credit Bid Purchaser in accordance with
the Credit Bid Purchase Agreement. To the extent the Decommissioning Agreement is an


                                                      51
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page138
                                                                 58 of
                                                                    of491
                                                                       531




executory contract, it will be assumed and become the obligation of FWE I under the Plan of
Merger.

               (b)     Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and
assignments, or rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the
Bankruptcy Code and a determination by the Bankruptcy Court that the Credit Bid Purchaser or
Post-Effective Date Debtors, as applicable, have provided adequate assurance of future
performance under such assumed executory contracts and unexpired leases. Each executory
contract and unexpired lease assumed or assumed and assigned pursuant to the Plan shall vest in
and be fully enforceable by the Credit Bid Purchaser or Post-Effective Date Debtors, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any
order of the Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                (c)    To the maximum extent permitted by law, to the extent any provision in
any executory contract or unexpired lease assumed pursuant to the Plan restricts or prevents, or
purports to restrict or prevent, or is breached or deemed breached by, the assumption of such
executory contract or unexpired lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by the Plan shall not
entitle the non-Debtor party thereto to terminate such executory contract or unexpired lease or to
exercise any other default-related rights with respect thereto.

               (d)     Subject to the terms of the Credit Bid Purchase Agreement, the Debtors
reserve the right, on or before 5:00 p.m. (prevailing Central Time) on the date that is seven (7)
days before the Confirmation Hearing, or such other time as may be agreed in writing between
the Debtors and the applicable counterparty, to amend the Schedule of Assumed Contracts to add
or remove any executory contract or unexpired lease; provided that if the Confirmation Hearing
is adjourned or continued, such amendment right shall be extended to 5:00 p.m. (prevailing
Central Time) on the date that is seven (7) days before the rescheduled or continued
Confirmation Hearing, and this provision shall apply in the case of any and all subsequent
adjournments and continuances of the Confirmation Hearing; provided, further that, subject to
the terms of the Credit Bid Purchase Agreement, the Debtors may amend the Schedule of
Assumed Contracts to add or delete any executory contracts or unexpired leases after such date
to the extent agreed with the relevant counterparties and entry of an order of the Bankruptcy
Court.

                    8.2        Determination of Cure Amounts and Deemed Consent.

              (a)     Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in
Cash on the Effective Date in accordance with the terms of the Credit Bid Purchase Agreement
or on such other terms as the parties to such executory contracts or unexpired leases and the
Debtors may otherwise agree.

               (b)    The Debtors shall file, as part of the Plan Supplement, the Schedule of
Assumed Contracts. At least ten (10) days before the Confirmation Hearing, the Debtors shall
serve a notice on parties to executory contracts or unexpired leases to be assumed or assumed


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                                                                 59 of
                                                                    of491
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and assigned reflecting the Debtors’ intention to potentially assume or assume and assign to the
Credit Bid Purchaser in accordance with the terms of the Credit Bid Purchase Agreement the
contract or lease in connection with this Plan or the Credit Bid Purchase Agreement and, where
applicable, setting forth the proposed Cure Amount (if any). Any objection by a counterparty
to an executory contract or unexpired lease to the proposed assumption, assumption and
assignment, or related Cure Amount must be filed, served, and actually received by the
Debtors within ten (10) days of the service of the assumption notice, or such shorter period
as agreed to by the parties or authorized by the Bankruptcy Court. Any counterparty to an
executory contract or unexpired lease that does not timely object to the notice of the proposed
assumption of such executory contract or unexpired lease shall be deemed to have assented to
assumption of the applicable executory contract or unexpired lease notwithstanding any
provision thereof that purports to (i) prohibit, restrict, or condition the transfer or assignment of
such contract or lease; (ii) terminate or modify, or permit the termination or modification of, a
contract or lease as a result of any direct or indirect transfer or assignment of the rights of any
Debtor under such contract or lease or a change, if any, in the ownership or control to the extent
contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations or
liabilities of any Debtor, or any Post-Effective Date Debtor, under such executory contract or
unexpired lease; or (iv) create or impose a Lien upon any property or Asset of any Debtor, or
Post-Effective Date Debtor, as applicable. Each such provision shall be deemed to not apply to
the assumption of such executory contract or unexpired lease pursuant to the Plan and
counterparties to assumed executory contracts or unexpired leases that fail to object to the
proposed assumption in accordance with the terms set forth in this Section 8.2(b), shall forever
be barred and enjoined from objecting to the proposed assumption or to the validity of such
assumption (including with respect to any Cure Amounts or the provision of adequate assurance
of future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on
account of transactions contemplated by the Plan.

               (c)     If there is an Assumption Dispute pertaining to assumption of an
executory contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such
dispute shall be heard by the Bankruptcy Court before such assumption being effective;
provided, that, subject to the terms of the Credit Bid Purchase Agreement, the Debtors or Post-
Effective Date Debtors, as applicable, may settle any Assumption Dispute without any further
notice to any party or any action, order, or approval of the Bankruptcy Court.

                (d)    To the extent an Assumption Dispute relates solely to the Cure Amount,
subject to the terms of the Credit Bid Purchase Agreement, the Debtors may assume and/or
assume and assign the applicable executory contract or unexpired lease before the resolution of
the Assumption Dispute; provided, that the Post-Effective Date Debtors or Credit Bid Purchaser,
as applicable shall be responsible to pay the determined amount to be Allowed by the
Bankruptcy Court or otherwise agreed to by such non-Debtor party. The Debtors or Post-
Effective Date Debtors, as applicable, subject to the terms of the Credit Bid Purchase
Agreement, may settle any dispute regarding the Cure Amount or the nature thereof without any
further notice to any party or any action, order, or approval of the Bankruptcy Court.

              (e)     Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction
of any Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary,


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                                                            Page140
                                                                 60 of
                                                                    of491
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including defaults of provisions restricting the change in control or ownership interest
composition or other bankruptcy-related defaults, arising under any assumed executory contract
or unexpired lease at any time before the date that the Debtors assume or assume and assign such
executory contract or unexpired lease. Any proofs of Claim filed with respect to an executory
contract or unexpired lease that has been assumed or assumed and assigned shall be deemed
Disallowed and expunged, without further notice to or action, order, or approval of the
Bankruptcy Court or any other Person, upon the assumption of such executory contract or
unexpired leases.

                    8.3        Rejection Damages Claims.

              In the event that the rejection of an executory contract or unexpired lease
hereunder results in damages to the other party or parties to such contract or lease, any
Claim for such damages shall be classified and treated in Class 7 (General Unsecured
Claims). A proof of such Claim must be filed with the Bankruptcy Court and served upon
counsel for the Debtors, Post-Effective Date Debtor, or the Plan Administrator, as
applicable, by the later of (i) thirty (30) days after the filing and service of the notice of the
occurrence of the Effective Date; and (ii) thirty (30) days after entry of an Order rejecting
such contract or lease if such contract or lease is the subject of a pending Assumption
Dispute.

                    8.4        Survival of the Debtors’ Indemnification Obligations.

                Notwithstanding anything in the Plan (including Section 10.3 of the Plan), any
Indemnification Obligation to indemnify current and former officers, directors, members,
managers, agents, or employees with respect to all present and future actions, suits, and
proceedings against the Debtors or such officers, directors, members, managers, agents, or
employees based upon any act or omission for or on behalf of the Debtors shall (a) remain in full
force and effect, (b) not be discharged, impaired, or otherwise affected in any way, including by
the Plan, the Plan Supplement, or the Confirmation Order, (c) not be limited, reduced or
terminated after the Effective Date, and (d) survive unimpaired and unaffected irrespective of
whether such Indemnification Obligation is owed for an act or event occurring before, on or after
the Petition Date, provided, that the Post-Effective Date Debtors shall not indemnify officers,
directors, members, or managers, as applicable, of the Debtors for any claims or Causes of
Action that are not indemnified by such Indemnification Obligation. All such obligations shall
be deemed and treated as executory contracts to be assumed by the Debtors under the Plan and
shall continue as obligations of the Post-Effective Date Debtors. Any claim based on the
Debtors’ obligations under the Plan shall not be a Disputed Claim or subject to any objection, in
either case, by reason of section 502(e)(1)(B) of the Bankruptcy Code.

                    8.5        Insurance Policies.

               (a)    All insurance policies to which any Debtor is a party as of the Effective
Date, including any D&O Policy, shall be deemed to be and treated as executory contracts and
shall be assumed by and vest in the applicable Debtors or the Post-Effective Date Debtors and
shall continue in full force and effect thereafter in accordance with their respective terms.



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                                                            Page141
                                                                 61 of
                                                                    of491
                                                                       531




Coverage for defense and indemnity under the D&O Policy shall remain available to all
individuals within the definition of “Insured” in any D&O Policy.

                (b)     In addition, after the Effective Date, the Post-Effective Date Debtors or
Plan Administrator shall not terminate or otherwise reduce the coverage under any D&O Policy
(including any “tail policy”) in effect as of the Petition Date, and any current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity at any time before the Effective Date shall be entitled to the full benefits of any
such D&O Policy for the full term of such policy regardless of whether such members,
managers, directors, and/or officers remain in such positions after the Effective Date to the extent
set forth in such policies.

                    8.6        Modifications, Amendments, Supplements, Restatements, or Other
Agreements.

               Unless otherwise provided herein or by separate order of the Bankruptcy Court,
each executory contract and unexpired lease that is assumed shall include any and all
modifications, amendments, supplements, restatements, or other agreements made directly or
indirectly by any agreement, instrument, or other document that in any manner affects such
executory contract or unexpired lease, without regard to whether such agreement, instruments, or
other document is listed in any notices of assumed contracts.

                    8.7        Reservation of Rights.

               (a)     Neither the exclusion nor the inclusion by the Debtors of any contract or
lease on any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything
contained in the Plan, shall constitute an admission by the Debtors that any such contract or lease
is or is not an executory contract or unexpired lease or that the Debtors or the Post-Effective
Date Debtors or their respective affiliates has any liability thereunder.

                (b)    Except as explicitly provided in the Plan, nothing in the Plan shall waive,
excuse, limit, diminish, or otherwise alter any of the defenses, claims, Causes of Action, or other
rights of the Debtors or the Post-Effective Date Debtors under any executory or non-executory
contract or unexpired or expired lease.

               (c)    Nothing in the Plan shall increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors or the Post-Effective Date Debtors, as
applicable, under any executory or non-executory contract or unexpired or expired lease.

               (a)    If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of its assumption under the Plan, the Debtors or the Post-
Effective Date Debtors, as applicable, shall have thirty (30) days following entry of a Final Order
resolving such dispute to alter their treatment of such contract or lease.




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                                                            Page142
                                                                 62 of
                                                                    of491
                                                                       531




ARTICLE IX.                    CONDITIONS PRECEDENT TO OCCURRENCE OF EFFECTIVE
                               DATE.

                    9.1        Conditions Precedent to Effective Date.

               The Effective Date shall not occur unless all of the following conditions precedent
have been satisfied or waived in accordance with the Plan:

                    (a)        the Plan Supplement has been filed;

                (b)    the Bankruptcy Court shall have entered the Confirmation Order, which
order shall be a Final Order;

               (c)    the Definitive Documents shall be consistent with the Restructuring
Support Agreement and otherwise acceptable to the parties thereto consistent with their
respective consent and approval rights as set forth in the Restructuring Support Agreement;

               (d)      the Restructuring Support Agreement shall not have been terminated and
shall remain in full force and effect;

             (e)     all conditions precedent to the effectiveness of the Apache Definitive
Documents shall have been satisfied or waived by the party having the right to waive the same;

               (f)    the Debtors shall have implemented the Restructuring Transactions and all
other transactions contemplated by the Plan and the Restructuring Support Agreement in a
manner consistent in all respects with the Plan and Restructuring Support Agreement;

               (g)      the Amended Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

               (h)      the NewCo Organizational Documents shall become effective and in full
force and effect as of the Effective Date;

               (i)    the conditions precedent to the effectiveness of the Exit Facilities (as
determined in the Exit Facility Documents and the Backstop Commitment Letter) shall have
been satisfied or duly waived in writing and the Exit Facility shall have closed substantially
simultaneously with the effectiveness of the Plan;

               (j)      the New Intercreditor Agreement shall have been executed and delivered
by each of the parties thereto;

               (k)    the conditions precedent to the effectiveness of the Credit Bid Purchase
Agreement shall have been satisfied or duly waived in writing in accordance with the terms of
the Credit Bid Purchase Agreement and the Credit Bid Transaction Closing shall have occurred
or will occur simultaneously with the effectiveness of the Plan, including, without limitation,
payment of the New Money Consideration by Buyers to Sellers at Closing pursuant to the terms
thereof;



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                                                   01/01/21 Page
                                                            Page143
                                                                 63 of
                                                                    of491
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               (l)     the Debtors shall have obtained all authorizations, consents, regulatory
approvals, rulings, or documents (other than any such authorization, consent, regulatory
approval, ruling, or document that is customarily obtained or completed after assignment,
conveyance or vesting of an applicable Asset) that, after giving effect to the entry of the
Confirmation Order, are necessary to implement and effectuate the Plan, including Bankruptcy
Court approval, and each of the other transactions contemplated by the Restructuring, and such
authorizations, consents, regulatory approvals, rulings, or documents shall not be subject to
unfulfilled conditions and shall be in full force and effect, and all applicable regulatory waiting
periods shall have expired;

             (m)    no event of default under the DIP Documents shall have occurred or be
continuing and an acceleration of the obligations or termination of the DIP Lenders’
commitments under the DIP Documents shall not have occurred; and

              (n)    all Restructuring Expenses shall have been indefeasibly paid in full in
accordance with Section 2.6.

                    9.2        Waiver of Conditions Precedent.

                 (a)    With the prior written consent of the Required DIP Lenders and the
Requisite FLTL Lenders, the conditions precedent to the occurrence of the Effective Date set
forth in Section 9.1 of the Plan may be waived, in whole or in part, by the Debtors, without leave
of or order of the Bankruptcy Court; provided that, a waiver of the conditions precedent to the
occurrence of the Effective Date set forth in Sections 9.1(c), (d), (e), and (f) of the Plan shall also
require the prior written consent of the Apache PSA Parties. If any such condition precedent is
waived pursuant to this section and the Effective Date occurs, each party agreeing to waive such
condition precedent shall be estopped from withdrawing such waiver after the Effective Date or
otherwise challenging the occurrence of the Effective Date on the basis that such condition was
not satisfied, the waiver of such condition precedent shall benefit from the “equitable mootness”
doctrine, and the occurrence of the Effective Date shall foreclose any ability to challenge the
Plan in any court. If the Plan is confirmed for fewer than all of the Debtors, only the conditions
applicable to the Debtor or Debtors for which the Plan is confirmed must be satisfied or waived
for the Effective Date to occur.

               (b)     Except as otherwise provided herein, all actions required to be taken on
the Effective Date shall take place and shall be deemed to have occurred simultaneously and no
such action shall be deemed to have occurred before the taking of any other such action.

               (c)     The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon the entry of the Confirmation Order, and the Confirmation
Order shall take effect immediately upon its entry.

                    9.3        Effect of Failure of a Condition.

                If the conditions listed in Section 9.1 of the Plan are not satisfied or waived in
accordance with Section 9.2 of the Plan on or before the Effective Date, the Plan shall be null
and void in all respects and nothing contained in the Plan or the Disclosure Statement shall
(a) constitute a waiver or release of any Claims by or against or any Interests in the Debtors,

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                                                   01/01/21 Page
                                                            Page144
                                                                 64 of
                                                                    of491
                                                                       531




(b) prejudice in any manner the rights of any Person, or (c) constitute an admission,
acknowledgement, offer, or undertaking by the Debtors, any Consenting Creditors, or any other
Person.



ARTICLE X.                     EFFECT OF CONFIRMATION.

                    10.1       Binding Effect.

                Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and
subject to the occurrence of the Effective Date, on and after the entry of the Confirmation Order,
the provisions of the Plan shall bind every holder of a Claim against or Interest in any Debtor and
inure to the benefit of and be binding on such holder’s respective successors and assigns,
regardless of whether the Claim or Interest of such holder is Impaired under the Plan and
whether such holder has accepted the Plan.

                    10.2       Vesting of Assets.

               Except as otherwise provided in the Plan, the Confirmation Order, or any Plan
Supplement, on and after the Effective Date, pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, all Assets of the Estates, including all claims, rights, and Causes of Action and
any property acquired by the Debtors or the Post-Effective Date Debtors during the Chapter 11
Cases or under or in connection with the Plan shall vest in each respective Post-Effective Date
Debtor free and clear of all Claims, Liens, charges, other encumbrances, and interests. Subject to
the terms of the Plan, on and after the Effective Date, the Post-Effective Date Debtors and Plan
Administrator may operate their businesses and may use, acquire, and dispose of property and
prosecute, compromise, or settle any Claims (including any Administrative Expense Claims) and
Causes of Action without notice to, supervision of or approval by the Bankruptcy Court and free
and clear of any restrictions of the Bankruptcy Code or the Bankruptcy Rules other than
restrictions expressly imposed by the Plan or the Confirmation Order. Without limiting the
foregoing, the Post-Effective Date Debtors may pay the charges that they incur on or after the
Confirmation Date for Professional Persons’ fees, disbursements, expenses, or related support
services without application to the Bankruptcy Court.

                    10.3       Discharge of Claims Against and Interests in Debtors.

                 Upon the Effective Date, except as otherwise expressly provided in the Plan or in
the Confirmation Order, the distributions, rights and treatment to be made under the Plan, shall
be in complete satisfaction, discharge, and release, effective as of the Effective Date, of Claims,
Interests, and Causes of Action of any nature whatsoever, including any interest accrued on
Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and Interests in, the Debtors or any of their
Assets or properties, regardless of whether any property shall have been distributed or retained
pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and
Causes of Action that arose before the Effective Date, any liability (including withdrawal
liability) to the extent such Claims or Interests relate to services performed by employees of the
Debtors before the Effective Date and that arise from a termination of employment, any


                                                      58
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          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                            Page145
                                                                 65 of
                                                                    of491
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contingent or non-contingent liability on account of representations or warranties issued on or
before the Effective Date, any obligations incurred in connection with or related to bonds and
letters of credit (and any related agreements) issued before the Petition Date on behalf of the
Debtors, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (a) a proof of claim based upon such debt or right
is filed or deemed filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
based upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy
Code; or (c) the holder of such a Claim or Interest has accepted the Plan. Any default or “event
of default” by the Debtors or affiliates with respect to any Claim or Interest that existed
immediately before or on account of the filing of the Chapter 11 Cases shall be deemed cured
(and no longer continuing) as of the Effective Date. The Confirmation Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the Effective Date occurring.

                Each holder (as well as any trustee or agent on behalf of such holder) of a Claim
or Interest, and any affiliate of such holder, shall be deemed to have forever waived, released,
and discharged the Debtors, to the fullest extent permitted by section 1141 of the Bankruptcy
Code, of and from any and all Claims, Interests, rights, and liabilities that arose before the
Effective Date. Except as otherwise provided in the Plan, upon the Effective Date, all such
holders of Claims and Interests and their affiliates shall be forever precluded and enjoined,
pursuant to sections 105, 524, and 1141 of the Bankruptcy Code, from prosecuting or asserting
any such discharged Claim against or terminated Interest in any Debtor or any Post-Effective
Date Debtor

                    10.4       Pre-Confirmation Injunctions and Stays.

               Unless otherwise provided in the Plan or a Final Order of the Bankruptcy Court,
all injunctions and stays arising under or entered during the Chapter 11 Cases, whether under
sections 105 or 362 of the Bankruptcy Code or otherwise, and in existence on the date of entry of
the Confirmation Order, shall remain in full force and effect until the later of the Effective Date
and the date indicated in the order providing for such injunction or stay.

                    10.5       Injunction Against Interference With Plan.

               Except as otherwise provided in the Plan or in the Confirmation Order, upon the
entry of the Confirmation Order, all holders of Claims and Interests and all other parties in
interest, along with their respective present and former affiliates, employees, agents, officers,
directors, and principals, shall be enjoined from taking any action to interfere with the
implementation or the occurrence of the Effective Date.

                    10.6       Plan Injunction.

                (a)    Except as otherwise provided in the Plan or in the Confirmation Order,
from and after the Effective Date, all Persons who have held, hold, or may hold Claims or
Interests, and other parties in interest, along with their respective present or former employees,
agents, officers, directors, principals, and affiliates, are, with respect to any such Claim or
Interest, permanently enjoined after the entry of the Confirmation Order from: (i) commencing,
conducting, or continuing in any manner, directly or indirectly, any suit, action, or other


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                                                            Page146
                                                                 66 of
                                                                    of491
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proceeding of any kind (including any proceeding in a judicial, arbitral, administrative, or other
forum) against or affecting, directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an
Estate or the property of any of the foregoing, or any direct or indirect transferee of any property
of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned in this
subsection (i) or any property of any such transferee or successor; (ii) enforcing, levying,
attaching (including any prejudgment attachment), collecting, or otherwise recovering in any
manner or by any means, whether directly or indirectly, any judgment, award, decree, or order
against a Debtor, a Post-Effective Date Debtor, or an Estate or its property, or any direct or
indirect transferee of any property of, or direct or indirect successor in interest to, any of the
foregoing Persons mentioned in this subsection (ii) or any property of any such transferee or
successor; (iii) creating, perfecting, or otherwise enforcing in any manner, directly or indirectly,
any encumbrance of any kind against a Debtor, a Post-Effective Date Debtor, or an Estate or any
of its property, or any direct or indirect transferee of any property of, or successor in interest to,
any of the foregoing Persons mentioned in this subsection (iii) or any property of any such
transferee or successor; (iv) acting or proceeding in any manner, in any place whatsoever, that
does not conform to or comply with the provisions of the Plan to the full extent permitted by
applicable law; and (v) commencing or continuing, in any manner or in any place, any action that
does not comply with or is inconsistent with the provisions of the Plan; provided, that nothing
contained in the Plan shall preclude such Persons who have held, hold, or may hold Claims
against, or Interests in, a Debtor, a Post-Effective Date Debtor, or an Estate from exercising their
rights and remedies, or obtaining benefits, pursuant to and consistent with the terms of the Plan.

                (b)    By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound
by the Plan, including the injunctions set forth in Section 10.6 of the Plan.

                    10.7       Releases.

          (a)  RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, THE CREDIT BID PURCHASE AGREEMENT, THE BACKSTOP
COMMITMENT LETTER, THE EXIT FACILITY DOCUMENTS, AND THE
RESTRUCTURING TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE,
THE RELEASED PARTIES WILL BE DEEMED CONCLUSIVELY, ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, AND
THE ESTATES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES AND ANY AND
ALL OTHER PERSONS THAT MAY PURPORT TO ASSERT ANY CAUSE OF
ACTION DERIVATIVELY, BY OR THROUGH THE FOREGOING PERSONS, FROM
ANY AND ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS,
DAMAGES, DEMANDS, DEBTS, RIGHTS, AND CAUSES OF ACTION, LOSSES,
REMEDIES, OR LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE
CLAIMS, ASSERTED OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE


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                                                   01/01/21 Page
                                                            Page147
                                                                 67 of
                                                                    of491
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POST-EFFECTIVE DATE DEBTORS, OR THE ESTATES), WHETHER LIQUIDATED
OR UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ACCRUED OR
UNACCRUED, EXISTING OR HEREINAFTER ARISING, WHETHER IN LAW OR
EQUITY, WHETHER SOUNDING IN TORT OR CONTRACT, WHETHER ARISING
UNDER FEDERAL OR STATE STATUTORY OR COMMON LAW, OR ANY OTHER
APPLICABLE INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE,
STATUTE, REGULATION, TREATY, RIGHT, DUTY, REQUIREMENTS OR
OTHERWISE THAT THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, THE
ESTATES, OR THEIR AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO
ASSERT IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR
COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY CLAIM OR
INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN ANY
MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS
OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR DURING THE
CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION, PREPARATION, OR
CONSUMMATION OF THE PLAN, THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE CREDIT BID PURCHASE AGREEMENT, THE EXIT FACILITY
DOCUMENTS, THE APACHE DEFINITIVE DOCUMENTS, THE BACKSTOP
COMMITMENT LETTER, THE DECOMMISSIONING AGREEMENT, OR RELATED
AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS RELATING THERETO,
OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN ALL
CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a)
OF THE PLAN (the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE
EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN,
AND FURTHER, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE DEBTOR RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD,
VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) A GOOD
FAITH SETTLEMENT AND COMPROMISE OF THE RELEASED CLAIMS
RELEASED BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS AND THE
ESTATES, (IV) IN THE BEST INTERESTS OF THE DEBTORS, THE ESTATES AND
ALL HOLDERS OF CLAIMS AND INTERESTS, (IV) FAIR, EQUITABLE AND
REASONABLE, (V) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY
FOR HEARING, AND (VII) A BAR TO ANY OF THE DEBTORS, THE POST-

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                                                            Page148
                                                                 68 of
                                                                    of491
                                                                       531




EFFECTIVE DATE DEBTORS, OR THE ESTATES ASSERTING ANY CLAIM OR
CAUSE OF ACTION RELEASED PURSUANT TO THE DEBTOR RELEASE.

           (b)  RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE
THE PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED
BY THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, THE CREDIT BID PURCHASE AGREEMENT, THE BACKSTOP
COMMITMENT LETTER, THE EXIT FACILITY DOCUMENTS, AND THE
RESTRUCTURING TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE,
THE RELEASED PARTIES WILL BE DEEMED CONCLUSIVELY, ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, TO THE MAXIMUM EXTENT PERMITTED BY LAW, AS SUCH
LAW MAY BE EXTENDED SUBSEQUENT TO THE EFFECTIVE DATE BY THE
RELEASING PARTIES, FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION
WHATSOEVER (INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED OR
ASSERTABLE ON BEHALF OF THE DEBTORS, THE POST-EFFECTIVE DATE
DEBTORS, OR THEIR ESTATES, INCLUDING ANY CAUSES OF ACTION ARISING
UNDER CHAPTER 5 OF THE BANKRUPTCY CODE), WHETHER LIQUIDATED OR
UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED,
KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, ASSERTED OR
UNASSERTED, ACCRUED OR UNACRUED, EXISTING OR HEREINAFTER
ARISING, IN LAW, EQUITY, CONTRACT, TORT, OR OTHERWISE BY STATUTE,
WHETHER ARISING UNDER FEDERAL OR STATE, STATUTORY OR COMMON
LAW, VIOLATIONS OF FEDERAL OR STATE SECURITIES LAWS, OR ANY
OTHER APPLICABLE INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE
STATUTE, REGULATION, TREATY, RIGHT, DUTY, REQUIREMENT OR
OTHERWISE, THAT SUCH HOLDERS OR THEIR ESTATES, AFFILIATES, HEIRS,
EXECUTORS, ADMINISTRATORS, SUCCESSORS, ASSIGNS, MANAGERS,
ACCOUNTANTS, ATTORNEYS, REPRESENTATIVES, CONSULTANTS, AGENTS,
AND ANY OTHER PERSONS CLAIMING UNDER OR THROUGH THEM WOULD
HAVE BEEN LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT
(WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE
HOLDER OF ANY CLAIM OR INTEREST OR OTHER PERSON, BASED ON OR
RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE OR IN PART,
THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES,
THE CHAPTER 11 CASES, THE RESTRUCTURING, THE PURCHASE, SALE, OR
RESCISSION OF THE PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS
OR THE POST-EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL
ARRANGEMENTS OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY
RELEASED PARTY, THE RESTRUCTURING, THE RESTRUCTURING OF ANY
CLAIMS OR INTERESTS BEFORE OR DURING THE CHAPTER 11 CASES, THE
NEGOTIATION, FORMULATION, PREPARATION, OR CONSUMMATION OF THE
PLAN, THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE CREDIT BID

                                      62
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     Case20-33948
          20-33948 Document
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                                                            Page149
                                                                 69 of
                                                                    of491
                                                                       531




PURCHASE AGREEMENT, THE EXIT FACILITY DOCUMENTS, THE APACHE
DEFINITIVE DOCUMENTS, THE BACKSTOP COMMITMENT LETTER, THE
DECOMMISSIONING     AGREEMENT      OR    RELATED      AGREEMENTS,
INSTRUMENTS, OR OTHER DOCUMENTS, RELATING THERETO, OR THE
SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN ALL CASES BASED
UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT, EVENT, OR
OTHER OCCURRENCES TAKING PLACE ON OR BEFORE THE EFFECTIVE
DATE.

            ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY
COURT SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL,
PURSUANT TO BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B)
OF THE PLAN (THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY
REFERENCE, EACH OF THE RELATED PROVISIONS AND DEFINITIONS UNDER
THE PLAN, AND, FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY
COURT’S FINDING THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL,
(II) ESSENTIAL TO THE CONFIRMATION OF THE PLAN, (III) GIVEN IN
EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE CONSIDERATION
PROVIDED BY THE RELEASED PARTIES, (IV) A GOOD FAITH SETTLEMENT
AND COMPROMISE OF THE CLAIMS RELEASED BY THE THIRD-PARTY
RELEASE, (V) IN THE BEST INTERESTS OF THE DEBTORS AND THEIR ESTATES,
(VI) FAIR, EQUITABLE AND REASONABLE, (VII) GIVEN AND MADE AFTER DUE
NOTICE AND OPPORTUNITY FOR HEARING, AND (VIII) A BAR TO ANY OF THE
RELEASING PARTIES ASSERTING ANY CLAIM OR CAUSE OF ACTION
RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

          NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS
SECTION 10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE
EXTENT SUCH RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY
OR THE APACHE PSA PARTIES’ ABILITY TO DRAW ON THE
DECOMMISSIONING SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF
DOUBT, ANY AND ALL CLAIMS THE APACHE PSA PARTIES MAY HAVE
AGAINST FWE I RELATED TO THE DECOMMISSIONING AGREEMENT ARISING
POST-EFFECTIVE DATE AND ANY SECURITY OBTAINED, PROVIDED, OR
PLEDGED IN CONNECTION WITH THE DECOMMISSIONING AGREEMENT WILL
BE PRESERVED AND ANY AND ALL CLAIMS FWE I MAY HAVE AGAINST THE
APACHE PSA PARTIES RELATED TO THE DECOMMISSIONING AGREEMENT
ARISING POST-EFFECTIVE DATE AND THE DECOMMISSIONING SECURITY
WILL BE PRESERVED.

               (c)      Release of Liens. Except as otherwise specifically provided in the Plan
or in any contract, instrument, release, or other agreement or document contemplated
under or executed in connection with the Plan, on the Effective Date and concurrently with
the applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the


                                              63
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     Case20-33948
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                                                            Page150
                                                                 70 of
                                                                    of491
                                                                       531




right, title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or
other security interests shall revert to the Post-Effective Date Debtors and their successors
and assigns, in each case, without any further approval or order of the Bankruptcy Court
and without any action or filing being required to be made by the Debtors. For the
avoidance of doubt, all liens and encumbrances on, interests in, and claims against the
Legacy Apache Properties (as defined in the Apache Term Sheet) and the other FWE I
Assets (as defined in Part A of Schedule I of the Plan of Merger) held by the Prepetition
FLFO Lenders, Prepetition FLTL Lenders, and Prepetition SLTL Lenders shall be
released, discharged, and of no further force or effect as of the Effective Date.

                    10.8       Exculpation.

           TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
EFFECTIVE DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND
THE OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, THE CREDIT BID
PURCHASE AGREEMENT, THE BACKSTOP COMMITMENT LETTER, THE EXIT
FACILITY DOCUMENTS, AND THE RESTRUCTURING TRANSACTIONS, NO
EXCULPATED PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY
WILL BE RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION,
SUIT, JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS,
LIABILITY AND CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT
OF THE ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION
AND PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE
AGREEMENT, THE NEW MONEY INVESTMENT, THE EXIT FACILITY
DOCUMENTS, THE BACKSTOP COMMITMENT LETTER, THE APACHE
DEFINITIVE    DOCUMENTS,   THE    DISCLOSURE    STATEMENT,    THE
RESTRUCTURING, THE PLAN (INCLUDING THE PLAN SUPPLEMENT), AND ALL
DOCUMENTS RELATING TO THE FOREGOING, OR THE SOLICITATION OF
VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE FUNDING OF THE PLAN;
THE OCCURRENCE OF THE EFFECTIVE DATE; THE ADMINISTRATION OF THE
PLAN OR THE PROPERTY TO BE DISTRIBUTED UNDER THE PLAN; THE
ISSUANCE OF SECURITIES UNDER OR IN CONNECTION WITH THE PLAN; THE
PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY
SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE DEBTORS; OR
THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE FOREGOING; OTHER
THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF OR RELATED TO ANY
ACT OR OMISSION OF AN EXCULPATED PARTY THAT CONSTITUTES
INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS NEGLIGENCE AS
DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS SUCH PERSONS
WILL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE OF COUNSEL
WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES PURSUANT TO THE
PLAN. THE EXCULPATED PARTIES HAVE ACTED IN COMPLIANCE WITH THE
APPLICABLE PROVISIONS OF THE BANKRUPTCY CODE WITH REGARD TO
THE SOLICITATION OF THE PLAN AND, THEREFORE, ARE NOT, AND ON
ACCOUNT OF SUCH DISTRIBUTIONS WILL NOT BE, LIABLE AT ANY TIME FOR


                                              64
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          20-33948 Document
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                                                   01/01/21 Page
                                                            Page151
                                                                 71 of
                                                                    of491
                                                                       531




THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR REGULATION
GOVERNING THE SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE
PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE PLAN. THE
EXCULPATION WILL BE IN ADDITION TO, AND NOT IN LIMITATION OF, ALL
OTHER RELEASES, INDEMNITIES, EXCULPATIONS, AND ANY OTHER
APPLICABLE LAW OR RULES PROTECTING SUCH EXCULPATED PARTIES
FROM LIABILITY.

                    10.9       Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person or entity, whether directly, derivatively, or otherwise, of any Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses, or
liabilities released pursuant to the Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, and liabilities released or exculpated in the
Plan or the Confirmation Order.

                    10.10 Subordinated Securities Claims.

                The allowance, classification, and treatment of all Allowed Claims and Interests
and the respective distributions and treatments thereof under the Plan take into account and
conform to the relative priority and rights of the Claims and Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, sections 510(a), 510(b), or 510(c) of the
Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
reserve the right to reclassify any Allowed Claim or Interest in accordance with any contractual,
legal, or equitable subordination relating thereto.

                    10.11 Retention of Causes of Action and Reservation of Rights.

                Except as otherwise provided in the DIP Order or Plan, including Sections 10.5,
10.6, 10.7, 10.8 and 10.9, nothing contained in the Plan or the Confirmation Order shall be
deemed to be a waiver or relinquishment of any rights, claims, Causes of Action, rights of setoff
or recoupment, or other legal or equitable defenses that the Debtors had immediately before the
Effective Date on behalf of the Estates or of themselves in accordance with any provision of the
Bankruptcy Code or any applicable nonbankruptcy law. The Post-Effective Date Debtors shall
have, retain, reserve, and be entitled to assert all such claims, Causes of Action, rights of setoff
or recoupment, and other legal or equitable defenses as fully as if the Chapter 11 Cases had not
been commenced, and all of the Debtors’ legal and equitable rights in respect of any Unimpaired
Claim may be asserted after the Confirmation Date and Effective Date to the same extent as if
the Chapter 11 Cases had not been commenced.

                    10.12 Ipso Facto and Similar Provisions Ineffective.

               Any term of any prepetition policy, prepetition contract, or other prepetition
obligation applicable to a Debtor shall be void and of no further force or effect with respect to
any Debtor to the extent that such policy, contract, or other obligation is conditioned on, creates
an obligation of the Debtor as a result of, or gives rise to a right of any entity based on any of the

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                                                   01/01/21 Page
                                                            Page152
                                                                 72 of
                                                                    of491
                                                                       531




following: (a) the insolvency or financial condition of a Debtor; (b) the commencement of the
Chapter 11 Cases; (c) the confirmation or consummation of the Plan, including any change of
control that shall occur as a result of such consummation; or (d) the Restructuring.

                    10.13 Indemnification and Reimbursement Obligations.

                For purposes of the Plan, (a) Indemnification Obligations to current and former
directors, officers, members, managers, agents or employees of any of the Debtors who served in
such capacity before, on or subsequent to the Petition Date shall be assumed by the Post-
Effective Date Debtors and (b) Indemnification Obligations of the Debtors arising from services
as current and former directors, officers, members, managers, agents or employees of any of the
Debtors who served in such capacity during the period from and after the Petition Date shall be
Administrative Expense Claims. In addition, after the Effective Date, the Post-Effective Date
Debtors shall not terminate or otherwise reduce the coverage under any current and former
directors’, officers’, members’, managers’, agents’ or employees’ insurance policies (including
any “tail policy”) in effect as of the Petition Date, and all current and former directors, officers,
members, managers, agents or employees of any of the Debtors who served in such capacity at
any time before the Effective Date shall be entitled to the full benefits of any such policy for the
full term of such policy regardless of whether such members, managers, directors, and/or officers
remain in such positions after the Effective Date to the extent set forth in such policies.



ARTICLE XI.                    RETENTION OF JURISDICTION.

                    11.1       Retention of Jurisdiction.

               Pursuant to sections 105(c) and 1142 of the Bankruptcy Code and
notwithstanding entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction, pursuant to
28 U.S.C. §§ 1334 and 157, over all matters arising in or related to the Chapter 11 Cases for,
among other things, the following purposes:

                (a)  to hear and determine motions and/or applications for the assumption or
rejection of executory contracts or unexpired leases and any disputes over Cure Amounts
resulting therefrom;

               (b)     to determine any motion, adversary proceeding, application, contested
matter, and other litigated matter pending on or commenced after the entry of the Confirmation
Order;

               (c)   to hear and resolve any disputes arising from or related to (i) any orders of
the Bankruptcy Court granting relief under Bankruptcy Rule 2004 or (ii) any protective orders
entered by the Bankruptcy Court in connection with the foregoing;

               (d)      to ensure that distributions to holders of Allowed Claims are accomplished
as provided in the Plan and the Confirmation Order and to adjudicate any and all disputes arising
from or relating to distributions under the Plan;


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          20-33948 Document
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                                                   01/01/21 Page
                                                            Page153
                                                                 73 of
                                                                    of491
                                                                       531




               (e)   to consider Claims or the allowance, classification, priority, compromise,
estimation, or payment of any Claim, including any Administrative Expense Claim;

              (f)    to enter, implement, or enforce such orders as may be appropriate in the
event that the Confirmation Order is for any reason stayed, reversed, revoked, modified, or
vacated;

               (g)    to issue and enforce injunctions, enter and implement other orders, and
take such other actions as may be necessary or appropriate to restrain interference by any Person
or other Entity with the consummation, implementation, or enforcement of the Plan, the
Confirmation Order, or any other order of the Bankruptcy Court;

              (h)      to hear and determine any application to modify the Plan in accordance
with section 1127 of the Bankruptcy Code to remedy any defect or omission or reconcile any
inconsistency in the Plan, the Disclosure Statement, or any order of the Bankruptcy Court,
including the Confirmation Order, in such a manner as may be necessary to carry out the
purposes and effects thereof;

                    (i)        to hear and determine all Fee Claims;

               (j)    to resolve disputes concerning any reserves with respect to Disputed
Claims or the administration thereof;

                (k)   to hear and determine disputes arising in connection with the
interpretation, implementation, or enforcement of the Plan, the Confirmation Order, any
transactions or payments in furtherance of either, or any agreement, instrument, or other
document governing or related to any of the foregoing;

               (l)    to take any action and issue such orders, including any such action or
orders as may be necessary after entry of the Confirmation Order or the occurrence of the
Effective Date, as may be necessary to construe, enforce, implement, execute, and consummate
the Plan, including any release, exculpation, or injunction provisions set forth in the Plan,
following the occurrence of the Effective Date;

               (m)    to determine such other matters and for such other purposes as may be
provided in the Confirmation Order;

               (n)    to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for
expedited determinations under section 505(b) of the Bankruptcy Code);

               (o)    to hear and determine any other matters related to the Chapter 11 Cases
and not inconsistent with the Bankruptcy Code or title 28 of the United States Code;

                (p)     to resolve any disputes concerning whether a Person or entity had
sufficient notice of the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in
connection with the Chapter 11 Cases, any bar date established in the Chapter 11 Cases, or any



                                                       67
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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page154
                                                                 74 of
                                                                    of491
                                                                       531




deadline for responding or objecting to a Cure Amount, in each case, for the purpose for
determining whether a Claim or Interest is discharged hereunder or for any other purpose;

               (q)   to hear and determine any rights, Claims, or Causes of Action held by or
accruing to the Debtors pursuant to the Bankruptcy Code or pursuant to any federal statute or
legal theory;

                    (r)        to recover all Assets of the Debtors and property of the Estates, wherever
located;

                    (s)        to hear and determine matters related to the DIP Facility and the DIP
Order; and

                    (t)        to enter a final decree closing each of the Chapter 11 Cases.



ARTICLE XII.                   MISCELLANEOUS PROVISIONS.

                    12.1       Payment of Statutory Fees

                On the Effective Date and thereafter as may be required, the Debtors or the Post-
Effective Date Debtors, as applicable, shall pay all Statutory Fees that are due and payable,
together with interest, if any, pursuant to § 3717 of title 31 of the United States Code for each
Debtor’s case. The obligations under this Section 12.1 shall remain for each Debtor until such
time as a final decree is entered closing the Chapter 11 Case for such Debtor, a Final Order
converting such Debtor’s Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is
entered, or a Final Order dismissing such Debtor’s Chapter 11 Case is entered.

                    12.2       Exemption from Certain Transfer Taxes.

               Pursuant to and to the fullest extent permitted by section 1146 of the Bankruptcy
Code, (a) the issuance, transfer or exchange of any securities, instruments or documents, (b) the
creation of any Lien, mortgage, deed of trust or other security interest, (c) all sale transactions
consummated by the Debtors and approved by the Bankruptcy Court on and after the
Confirmation Date through and including the Effective Date, including any transfers effectuated
under the Plan, (d) any assumption, assignment, or sale by the Debtors of their interests in
unexpired leases of nonresidential real property or executory contracts pursuant to section 365(a)
of the Bankruptcy Code, (e) the grant of collateral under the Standby Loan Agreement and (f) the
issuance, renewal, modification or securing of indebtedness by such means, and the making,
delivery or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, the Plan, including the Confirmation Order, shall not be subject to any
document recording tax, stamp tax, conveyance fee or other similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee,
regulatory filing or recording fee, sales tax, use tax or other similar tax or governmental
assessment. Consistent with the foregoing, each recorder of deeds or similar official for any
county, parish, city or Governmental Unit in which any instrument hereunder is to be recorded
shall, pursuant to the Confirmation Order, be ordered and directed to accept such instrument


                                                        68
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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page155
                                                                 75 of
                                                                    of491
                                                                       531




without requiring the payment of any filing fees, documentary stamp tax, deed stamps, stamp
tax, transfer tax, intangible tax or similar tax.

                    12.3       Request for Expedited Determination of Taxes.

                The Debtors shall have the right to request an expedited determination under
section 505(b) of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and
all taxable periods ending after the Petition Date through the Effective Date.

                    12.4       Dates of Actions to Implement Plan.

              In the event that any payment or act under the Plan is required to be made or
performed on a date that is not a Business Day, then the making of such payment or the
performance of such act may be completed on or as soon as reasonably practicable after the next
succeeding Business Day but shall be deemed to have been completed as of the required date.

                    12.5       Amendments.

              (a)      Plan Modifications. Subject to the consent rights set forth in the
Restructuring Support Agreement, the Plan may be amended, modified, or supplemented by the
Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
permitted by law, without additional disclosure pursuant to section 1125 of the Bankruptcy
Code, except as otherwise ordered by the Bankruptcy Court. In addition, after the Confirmation
Date, so long as such action does not materially and adversely affect the treatment of holders of
Allowed Claims pursuant to the Plan, the Debtors, with the consent of the Required DIP Lenders
and Requisite FLTL Lenders, may remedy any defect or omission or reconcile any
inconsistencies in the Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes of effects of the Plan, and any holder of a Claim or Interest
that has accepted the Plan shall be deemed to have accepted the Plan as amended, modified, or
supplemented. The Debtors, subject to the consent of the Required DIP Lenders and Requisite
FLTL Lenders, shall have the right to amend the documents contained in, and exhibits to, the
Plan Supplement in accordance with the terms of the Plan and the Restructuring Support
Agreement through the Effective Date.

              (b)      Certain Technical Amendments. Before the Effective Date, the Debtors,
subject to the consent rights set forth in the Restructuring Support Agreement, may make
appropriate technical adjustments and modifications to the Plan without further order or approval
of the Bankruptcy Court.

                    12.6       Revocation or Withdrawal of Plan.

                The Debtors reserve the right to revoke or withdraw the Plan before the Effective
Date as to any or all of the Debtors. If, with respect to a Debtor, the Plan has been revoked or
withdrawn before the Effective Date, or if confirmation or the occurrence of the Effective Date
as to such Debtor does not occur on the Effective Date, then, with respect to such Debtor: (a) the
Plan shall be null and void in all respects; (b) any settlement or compromise embodied in the
Plan (including the fixing or limiting to an amount any Claim or Interest or Class of Claims or
Interests), assumption or rejection of executory contracts or unexpired leases affected by the


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                   Document775-2
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                                                on01/21/21
                                                   01/01/21 Page
                                                            Page156
                                                                 76 of
                                                                    of491
                                                                       531




Plan, and any document or agreement executed pursuant to the Plan shall be deemed null and
void; and (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim
by or against, or any Interest in, such Debtor or any other Person; (ii) prejudice in any manner
the rights of such Debtor or any other Person; or (iii) constitute an admission of any sort by any
Debtor or any other Person.

                    12.7       Severability.

                If, before the entry of the Confirmation Order, any term or provision of the Plan is
held by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the
request of the Debtors shall have the power to alter and interpret such term or provision to make
it valid or enforceable to the maximum extent practicable, consistent with the original purpose of
the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted. Notwithstanding any such holding, alteration, or
interpretation by the Bankruptcy Court, the remainder of the terms and provisions of the Plan
shall remain in full force and effect and shall in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial
determination and shall provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with this section, is (a) valid and enforceable pursuant to its
terms, (b) integral to the Plan and may not be deleted or modified without the consent of the
Debtors or the Post-Effective Date Debtors (as the case may be) and (c) nonseverable and
mutually dependent.

                    12.8       Governing Law.

                Except to the extent that the Bankruptcy Code or other federal law is applicable or
to the extent that a Plan Supplement document provides otherwise, the rights, duties, and
obligations arising under the Plan shall be governed by, and construed and enforced in
accordance with, the internal laws of the State of Texas, without giving effect to the principles of
conflicts of laws thereof.

                    12.9       Immediate Binding Effect.

               Notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise, upon
the occurrence of the Effective Date, the terms of the Plan shall be immediately effective and
enforceable and deemed binding upon and inure to the benefit of the Debtors, the Post-Effective
Date Debtors, the holders of Claims and Interests, the Released Parties, and each of their
respective successors and assigns.

                    12.10 Successors and Assigns.

               The rights, benefits, and obligations of any Person named or referred to in the
Plan shall be binding on and shall inure to the benefit of any heir, executor, administrator,
successor, or permitted assign, if any, of each such Person.




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                                                                    of491
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                    12.11 Entire Agreement.

              On the Effective Date, the Plan, the Plan Supplement, and the Confirmation Order
shall supersede all previous and contemporaneous negotiations, promises, covenants,
agreements, understandings, and representations on such subjects, all of which have become
merged and integrated into the Plan.

                    12.12 Computing Time.

              In computing any period of time prescribed or allowed by the Plan, unless
otherwise set forth in the Plan or determined by the Bankruptcy Court, the provisions of
Bankruptcy Rule 9006 shall apply.

                    12.13 Exhibits to Plan.

                All exhibits, schedules, supplements, and appendices to the Plan (including any
other documents to be executed, delivered, assumed, or performed in connection with the
occurrence of the Effective Date) are incorporated into and are a part of the Plan as if set forth in
full in the Plan.

                    12.14 Notices.

               All notices, requests, and demands hereunder shall be in writing (including by
facsimile or email transmission) and, unless otherwise provided herein, shall be deemed to have
been duly given or made only when actually delivered or, in the case of notice by facsimile
transmission, when received and telephonically confirmed, addressed as follows:

                  (a)          If to the Debtors:

                    Fieldwood Energy LLC
                    2000 W. Sam Houston Parkway, S. Suite 1200
                    Houston, Texas 77042
                    Attention: Michael Dane and Thomas R. Lamme

                    – and –

                    WEIL, GOTSHAL & MANGES LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
                    Telephone: (212) 310-8000
                    Facsimile: (212) 310-8007

                    Attorneys for the Debtors

                  (b)          If to the DIP Lenders or FLTL Lenders:

                    DAVIS POLK & WARDWELL LLP


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                                                                 78 of
                                                                    of491
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                    450 Lexington Avenue
                    New York, NY 10017
                    Attn: Damian Schaible, Esq. and Natasha Tsiouris, Esq.
                    Telephone: (212) 450-4000
                    Facsimile: (212) 701-5800

                  (c)          If to the Post-Effective Date Debtors:

                    [Plan Administrator]
                    [Plan Administrator Address]

                    – and –

                    WEIL, GOTSHAL & MANGES LLP
                    767 Fifth Avenue
                    New York, New York 10153
                    Attn: Matthew S. Barr, Esq., Alfredo R. Pérez, Esq., and Jessica Liou, Esq.
                    Telephone: (212) 310-8000
                    Facsimile: (212) 310-8007

                    Attorneys for Post-Effective Date Debtors

               A notice is deemed to be given and received (a) if sent by first-class mail,
personal delivery, or courier, on the date of delivery if it is a Business Day and the delivery was
made before 4:00 p.m. (local time in place of receipt) and otherwise on the next Business Day, or
(b) if sent by electronic mail, when the sender receives an email from the recipient
acknowledging receipt; provided that an automatic “read receipt” does not constitute
acknowledgment of an email for purposes of this Section. Any party may change its address for
service from time to time by providing a notice in accordance with the foregoing. Any element
of a party’s address that is not specifically changed in a notice will be assumed not to be
changed.

               After the occurrence of the Effective Date, the Post-Effective Date Debtors and
Plan Administrator have authority to send a notice to entities that to continue to receive
documents pursuant to Bankruptcy Rule 2002, such entities must file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002; provided, that the U.S. Trustee need not
file such a renewed request and shall continue to receive documents without any further action
being necessary. After the occurrence of the Effective Date, the Post-Effective Date Debtors are
authorized to limit the list of entities receiving documents pursuant to Bankruptcy Rule 2002 to
the U.S. Trustee and those entities that have filed such renewed requests.

                    12.15 Reservation of Rights.

               Except as otherwise provided herein, the Plan shall be of no force or effect unless
the Bankruptcy Court enters the Confirmation Order. None of the filing of the Plan, any
statement or provision of the Plan, or the taking of any action by the Debtors with respect to the
Plan shall be or shall be deemed to be an admission or waiver of any rights of (a) the Debtors



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                                                                    of491
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with respect to any Claims or Interests before the Effective Date or (b) any holder of a Claim or
Interest or other entity before the Effective Date.

                    12.16 Dissolution of Creditors’ Committee.

                On the Effective Date, the Creditors’ Committee shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the
Chapter 11 Cases, provided that following the Effective Date, the Creditors’ Committee shall
continue in existence and have standing and a right to be heard for the following limited
purposes: (a) Claims and/or applications, and any relief related thereto, for compensation by
Professional Persons retained in the Chapter 11 Cases pursuant to sections 327, 328, 329, 330,
331, 503(b), or 1103 of the Bankruptcy Code and requests for allowance of Administrative
Expense Claims for substantial contribution pursuant to section 503(b)(3)(D) of the Bankruptcy
Code; and (b) any appeals of the Confirmation Order or other appeals to which the Creditors’
Committee is a party.




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                                                             80 of
                                                                of491
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Dated: January 1, 2021
       Houston, Texas
                                   Respectfully submitted,


                                   FIELDWOOD ENERGY LLC

                                   By: Fieldwood Energy Inc., its managing member


                                   By: -�tV)
                                   Name: Thomas R. Lamme
                                                        1?, �
                                   Title: Senior Vice President and General Counsel

                                   FIELDWOOD ENERGY INC.


                                   By: �� � · �..Arv�Q
                                   Name: Thomas R. Lamme
                                   Title: Senior Vice President and General Counsel

                                   FIELDWOOD ENERGY OFFSHORE LLC


                                   By:��\?.
                                   Name: Thomas R. Lamme
                                                                  f>�
                                   Title: Vice President

                                   FIELDWOOD ONSHORE LLC


                                   By:  ;J;Ro� � • �
                                   Name: Thomas R. Lamme
                                   Title: Vice President

                                   FIELDWOOD SD OFFSHORE LLC


                                   By:
                                   Name: Thomas R. Lamme
                                   Title: Vice President




 [Signature Page to Joint Chapter 11 Plan ofFieldwood Energy LLC and its Affiliated Debtors]
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                                                           Page163
                                                                83 of
                                                                   of491
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                                            Exhibit B
                                      Plan Release Provisions

Definitions:

                 Exculpated Parties means collectively, and in each case in their capacities as such
during the Chapter 11 Cases (a) the Debtors, (b) the Post-Effective Date Debtors, (c) FWE I, (d)
the DIP Agent and DIP Lenders under the DIP Facility, (e) the Consenting Creditors, (f) the
Prepetition Agents, (g) NewCo and all of its subsidiaries (including the Credit Bid Purchaser), (h)
the Exit Facility Agents, (i) the Exit Facility Lenders, (j) the Backstop Parties and (k) with respect
to each of the foregoing Persons in clauses (a) through (j), each of their current and former
affiliates, and each such Entity’s and its current and former affiliates’ current and former directors,
managers, officers, equity holders (regardless of whether such interests are held directly or
indirectly), predecessors, successors, and assigns, subsidiaries, and each of their current and former
officers, members, managers, directors, equity holders (regardless of whether such interests are
held directly or indirectly), principals, members, employees, agents, managed accounts or funds,
management companies, fund advisors, investment advisors, advisory board members, financial
advisors, partners (including both general and limited partners), attorneys, accountants, investment
bankers, consultants, representatives and other professionals, such Persons’ respective heirs,
executors, estates, and nominees, in each case in their capacity as such, and any and all other
persons or entities that may purport to assert any cause of action derivatively, by or through the
foregoing entities.

                 Released Parties means, collectively, (a) the Debtors, (b) the Post-Effective Date
Debtors, (c) the DIP Agent and DIP Lenders under the DIP Facility, (d) the Consenting Creditors,
(e) the Prepetition Agents, (f) NewCo and all of its subsidiaries (including the Credit Bid
Purchaser), (g) the Exit Facility Agents, (h) the Exit Facility Lenders, (i) the Backstop Parties, (j)
the Apache PSA Parties, (k) with respect to each of the foregoing Persons in clauses (a) through
(j), each of their current and former affiliates, and each such Entity’s and its current and former
affiliates’ current and former directors, managers, officers, equity holders (regardless of whether
such interests are held directly or indirectly), predecessors, successors, and assigns, subsidiaries,
and each of their current and former officers, members, managers, directors, equity holders
(regardless of whether such interests are held directly or indirectly), principals, members,
employees, agents, managed accounts or funds, management companies, fund advisors,
investment advisors, advisory board members, financial advisors, partners (including both general
and limited partners), attorneys, accountants, investment bankers, consultants, representatives and
other professionals, such Persons’ respective heirs, executors, estates, and nominees, in each case
in their capacity as such, and any and all other persons or entities that may purport to assert any
cause of action derivatively, by or through the foregoing entities.

                Releasing Parties means collectively, (a) the holders of all Claims or Interests that
vote to accept the Plan, (b) the holders of all Claims or Interests whose vote to accept or reject the
Plan is solicited but that do not vote either to accept or to reject the Plan, (c) the holders of all
Claims or Interests that vote, or are deemed, to reject the Plan but do not opt out of granting the
releases set forth herein, (d) the holders of all Claims and Interests that were given notice of the
opportunity to opt out of granting the releases set forth herein but did not opt out, and (e) the
Released Parties (even if such Released Party purports to opt out of the releases set forth herein).
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                                                  01/01/21 Page
                                                           Page164
                                                                84 of
                                                                   of491
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Provisions:

               10.6    Plan Injunction.

                (a)       Except as otherwise provided in the Plan or in the Confirmation Order, from
and after the Effective Date, all Persons who have held, hold, or may hold Claims or Interests, and
other parties in interest, along with their respective present or former employees, agents, officers,
directors, principals, and affiliates, are, with respect to any such Claim or Interest, permanently
enjoined after the entry of the Confirmation Order from: (i) commencing, conducting, or
continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
(including any proceeding in a judicial, arbitral, administrative, or other forum) against or affecting,
directly or indirectly, a Debtor, a Post-Effective Date Debtor, or an Estate or the property of any
of the foregoing, or any direct or indirect transferee of any property of, or direct or indirect
successor in interest to, any of the foregoing Persons mentioned in this subsection (i) or any
property of any such transferee or successor; (ii) enforcing, levying, attaching (including any
prejudgment attachment), collecting, or otherwise recovering in any manner or by any means,
whether directly or indirectly, any judgment, award, decree, or order against a Debtor, a Post-
Effective Date Debtor, or an Estate or its property, or any direct or indirect transferee of any
property of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned
in this subsection (ii) or any property of any such transferee or successor; (iii) creating, perfecting,
or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any kind against
a Debtor, a Post-Effective Date Debtor, or an Estate or any of its property, or any direct or indirect
transferee of any property of, or successor in interest to, any of the foregoing Persons mentioned
in this subsection (iii) or any property of any such transferee or successor; (iv) acting or proceeding
in any manner, in any place whatsoever, that does not conform to or comply with the provisions
of the Plan to the full extent permitted by applicable law; and (v) commencing or continuing, in
any manner or in any place, any action that does not comply with or is inconsistent with the
provisions of the Plan; provided, that nothing contained in the Plan shall preclude such Persons
who have held, hold, or may hold Claims against, or Interests in, a Debtor, a Post-Effective Date
Debtor, or an Estate from exercising their rights and remedies, or obtaining benefits, pursuant to
and consistent with the terms of the Plan.

               (b)     By accepting distributions pursuant to the Plan, each holder of an Allowed
Claim or Interest shall be deemed to have affirmatively and specifically consented to be bound by
the Plan, including the injunctions set forth in Section 0 of the Plan.

               10.7    Releases.

         (a)  RELEASES BY THE DEBTORS. AS OF THE EFFECTIVE DATE,
EXCEPT FOR THE RIGHTS AND REMEDIES THAT REMAIN IN EFFECT FROM
AND AFTER THE EFFECTIVE DATE TO ENFORCE THE PLAN, THE
CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, THE CREDIT BID PURCHASE AGREEMENT, THE BACKSTOP
COMMITMENT LETTER, THE EXIT FACILITY DOCUMENTS, AND THE
RESTRUCTURING TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE
RELEASED PARTIES WILL BE DEEMED CONCLUSIVELY, ABSOLUTELY,
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                                                              85 of
                                                                 of491
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UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, BY THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, AND
THE ESTATES, IN EACH CASE ON BEHALF OF THEMSELVES AND THEIR
RESPECTIVE SUCCESSORS, ASSIGNS, AND REPRESENTATIVES AND ANY AND
ALL OTHER PERSONS THAT MAY PURPORT TO ASSERT ANY CAUSE OF ACTION
DERIVATIVELY, BY OR THROUGH THE FOREGOING PERSONS, FROM ANY AND
ALL CLAIMS, INTERESTS, OBLIGATIONS, SUITS, JUDGMENTS, DAMAGES,
DEMANDS, DEBTS, RIGHTS, AND CAUSES OF ACTION, LOSSES, REMEDIES, OR
LIABILITIES WHATSOEVER (INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED
OR ASSERTABLE ON BEHALF OF THE DEBTORS, THE POST-EFFECTIVE DATE
DEBTORS, OR THE ESTATES), WHETHER LIQUIDATED OR UNLIQUIDATED,
FIXED OR CONTINGENT, MATURED OR UNMATURED, KNOWN OR UNKNOWN,
FORESEEN OR UNFORESEEN, ACCRUED OR UNACCRUED, EXISTING OR
HEREINAFTER ARISING, WHETHER IN LAW OR EQUITY, WHETHER SOUNDING
IN TORT OR CONTRACT, WHETHER ARISING UNDER FEDERAL OR STATE
STATUTORY OR COMMON LAW, OR ANY OTHER APPLICABLE
INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE, STATUTE,
REGULATION, TREATY, RIGHT, DUTY, REQUIREMENTS OR OTHERWISE THAT
THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, THE ESTATES, OR
THEIR AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT IN
THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR OTHER PERSON,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE CHAPTER 11 CASES, THE RESTRUCTURING,
THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR SALE OF ANY
SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE DEBTORS, THE
SUBJECT MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO,
ANY CLAIM OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR
CONTRACTUAL ARRANGEMENTS BETWEEN ANY DEBTOR AND ANY RELEASED
PARTY, THE RESTRUCTURING OF CLAIMS AND INTERESTS BEFORE OR
DURING THE CHAPTER 11 CASES, THE NEGOTIATION, FORMULATION,
PREPARATION, OR CONSUMMATION OF THE PLAN, THE DOCUMENTS IN THE
PLAN SUPPLEMENT, THE CREDIT BID PURCHASE AGREEMENT, THE EXIT
FACILITY DOCUMENTS, THE APACHE DEFINITIVE DOCUMENTS, THE
BACKSTOP COMMITMENT LETTER, THE DECOMMISSIONING AGREEMENT, OR
RELATED AGREEMENTS, INSTRUMENTS, OR OTHER DOCUMENTS RELATING
THERETO, OR THE SOLICITATION OF VOTES WITH RESPECT TO THE PLAN, IN
ALL CASES BASED UPON ANY ACT OR OMISSION, TRANSACTION, AGREEMENT,
EVENT, OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
EFFECTIVE DATE.

       ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY COURT
SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(a) OF THE PLAN
(the “DEBTOR RELEASES”), WHICH INCLUDES BY REFERENCE EACH OF THE
RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN, AND FURTHER,
SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING THAT THE DEBTOR
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                                                              86 of
                                                                 of491
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RELEASES ARE: (I) IN EXCHANGE FOR THE GOOD, VALUABLE AND ADEQUATE
CONSIDERATION PROVIDED BY THE RELEASED PARTIES, (II) ESSENTIAL TO
THE CONFIRMATION OF THE PLAN, (III) A GOOD FAITH SETTLEMENT AND
COMPROMISE OF THE RELEASED CLAIMS RELEASED BY THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS AND THE ESTATES, (IV) IN THE BEST
INTERESTS OF THE DEBTORS, THE ESTATES AND ALL HOLDERS OF CLAIMS
AND INTERESTS, (IV) FAIR, EQUITABLE AND REASONABLE, (V) GIVEN AND
MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING, AND (VII) A BAR
TO ANY OF THE DEBTORS, THE POST-EFFECTIVE DATE DEBTORS, OR THE
ESTATES ASSERTING ANY CLAIM OR CAUSE OF ACTION RELEASED PURSUANT
TO THE DEBTOR RELEASE.

           (b) RELEASES BY HOLDERS OF CLAIMS AND INTERESTS. AS OF
THE EFFECTIVE DATE, EXCEPT FOR THE RIGHTS AND REMEDIES THAT
REMAIN IN EFFECT FROM AND AFTER THE EFFECTIVE DATE TO ENFORCE THE
PLAN, THE CONFIRMATION ORDER, THE OBLIGATIONS CONTEMPLATED BY
THE DOCUMENTS IN THE PLAN SUPPLEMENT, THE APACHE DEFINITIVE
DOCUMENTS, THE CREDIT BID PURCHASE AGREEMENT, THE BACKSTOP
COMMITMENT LETTER, THE EXIT FACILITY DOCUMENTS, AND THE
RESTRUCTURING TRANSACTIONS, ON AND AFTER THE EFFECTIVE DATE, THE
RELEASED PARTIES WILL BE DEEMED CONCLUSIVELY, ABSOLUTELY,
UNCONDITIONALLY, IRREVOCABLY, AND FOREVER RELEASED AND
DISCHARGED, TO THE MAXIMUM EXTENT PERMITTED BY LAW, AS SUCH LAW
MAY BE EXTENDED SUBSEQUENT TO THE EFFECTIVE DATE BY THE
RELEASING PARTIES, FROM ANY AND ALL CLAIMS AND CAUSES OF ACTION
WHATSOEVER (INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED OR
ASSERTABLE ON BEHALF OF THE DEBTORS, THE POST-EFFECTIVE DATE
DEBTORS, OR THEIR ESTATES, INCLUDING ANY CAUSES OF ACTION ARISING
UNDER CHAPTER 5 OF THE BANKRUPTCY CODE), WHETHER LIQUIDATED OR
UNLIQUIDATED, FIXED OR CONTINGENT, MATURED OR UNMATURED, KNOWN
OR UNKNOWN, FORESEEN OR UNFORESEEN, ASSERTED OR UNASSERTED,
ACCRUED OR UNACRUED, EXISTING OR HEREINAFTER ARISING, IN LAW,
EQUITY, CONTRACT, TORT, OR OTHERWISE BY STATUTE, WHETHER ARISING
UNDER FEDERAL OR STATE, STATUTORY OR COMMON LAW, VIOLATIONS OF
FEDERAL OR STATE SECURITIES LAWS, OR ANY OTHER APPLICABLE
INTERNATIONAL, FOREIGN, OR DOMESTIC LAW, RULE STATUTE,
REGULATION, TREATY, RIGHT, DUTY, REQUIREMENT OR OTHERWISE, THAT
SUCH HOLDERS OR THEIR ESTATES, AFFILIATES, HEIRS, EXECUTORS,
ADMINISTRATORS, SUCCESSORS, ASSIGNS, MANAGERS, ACCOUNTANTS,
ATTORNEYS, REPRESENTATIVES, CONSULTANTS, AGENTS, AND ANY OTHER
PERSONS CLAIMING UNDER OR THROUGH THEM WOULD HAVE BEEN
LEGALLY ENTITLED TO ASSERT IN THEIR OWN RIGHT (WHETHER
INDIVIDUALLY OR COLLECTIVELY) OR ON BEHALF OF THE HOLDER OF ANY
CLAIM OR INTEREST OR OTHER PERSON, BASED ON OR RELATING TO, OR IN
ANY MANNER ARISING FROM, IN WHOLE OR IN PART, THE DEBTORS, THE
POST-EFFECTIVE DATE DEBTORS, OR THEIR ESTATES, THE CHAPTER 11
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                                                              87 of
                                                                 of491
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PURCHASE OR SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-
EFFECTIVE DATE DEBTORS, THE SUBJECT MATTER OF, OR THE
TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM OR INTEREST THAT
IS TREATED IN THE PLAN, THE BUSINESS OR CONTRACTUAL ARRANGEMENTS
OR INTERACTIONS BETWEEN ANY DEBTOR AND ANY RELEASED PARTY, THE
RESTRUCTURING, THE RESTRUCTURING OF ANY CLAIMS OR INTERESTS
BEFORE OR DURING THE CHAPTER 11 CASES, THE NEGOTIATION,
FORMULATION, PREPARATION, OR CONSUMMATION OF THE PLAN, THE
DOCUMENTS IN THE PLAN SUPPLEMENT, THE CREDIT BID PURCHASE
AGREEMENT, THE EXIT FACILITY DOCUMENTS, THE APACHE DEFINITIVE
DOCUMENTS,      THE     BACKSTOP     COMMITMENT     LETTER,   THE
DECOMMISSIONING AGREEMENT OR RELATED AGREEMENTS, INSTRUMENTS,
OR OTHER DOCUMENTS, RELATING THERETO, OR THE SOLICITATION OF
VOTES WITH RESPECT TO THE PLAN, IN ALL CASES BASED UPON ANY ACT OR
OMISSION, TRANSACTION, AGREEMENT, EVENT, OR OTHER OCCURRENCES
TAKING PLACE ON OR BEFORE THE EFFECTIVE DATE.

       ENTRY OF THE CONFIRMATION ORDER BY THE BANKRUPTCY COURT
SHALL CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL, PURSUANT TO
BANKRUPTCY RULE 9019, OF THE RELEASES IN SECTION 10.7(B) OF THE PLAN
(THE “THIRD-PARTY RELEASE”), WHICH INCLUDES, BY REFERENCE, EACH OF
THE RELATED PROVISIONS AND DEFINITIONS UNDER THE PLAN, AND,
FURTHERMORE, SHALL CONSTITUTE THE BANKRUPTCY COURT’S FINDING
THAT THE THIRD-PARTY RELEASE IS (I) CONSENSUAL, (II) ESSENTIAL TO THE
CONFIRMATION OF THE PLAN, (III) GIVEN IN EXCHANGE FOR THE GOOD,
VALUABLE AND ADEQUATE CONSIDERATION PROVIDED BY THE RELEASED
PARTIES, (IV) A GOOD FAITH SETTLEMENT AND COMPROMISE OF THE CLAIMS
RELEASED BY THE THIRD-PARTY RELEASE, (V) IN THE BEST INTERESTS OF
THE DEBTORS AND THEIR ESTATES, (VI) FAIR, EQUITABLE AND REASONABLE,
(VII) GIVEN AND MADE AFTER DUE NOTICE AND OPPORTUNITY FOR HEARING,
AND (VIII) A BAR TO ANY OF THE RELEASING PARTIES ASSERTING ANY CLAIM
OR CAUSE OF ACTION RELEASED PURSUANT TO THE THIRD-PARTY RELEASE.

       NOTWITHSTANDING ANYTHING TO THE CONTRARY IN THIS SECTION
10.7(B) OF THE PLAN, NO PARTY SHALL BE RELEASED TO THE EXTENT SUCH
RELEASE WOULD IMPAIR THE DECOMMISSIONING SECURITY OR THE
APACHE PSA PARTIES’ ABILITY TO DRAW ON THE DECOMMISSIONING
SECURITY, IN ANY RESPECT. FOR THE AVOIDANCE OF DOUBT, ANY AND ALL
CLAIMS THE APACHE PSA PARTIES MAY HAVE AGAINST FWE I RELATED TO
THE DECOMMISSIONING AGREEMENT ARISING POST-EFFECTIVE DATE AND
ANY SECURITY OBTAINED, PROVIDED, OR PLEDGED IN CONNECTION WITH
THE DECOMMISSIONING AGREEMENT WILL BE PRESERVED AND ANY AND
ALL CLAIMS FWE I MAY HAVE AGAINST THE APACHE PSA PARTIES RELATED
TO THE DECOMMISSIONING AGREEMENT ARISING POST-EFFECTIVE DATE
AND THE DECOMMISSIONING SECURITY WILL BE PRESERVED.
    Case
    Case20-33948
         20-33948 Document
                  Document775-2
                           723-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/21/21
                                                  01/01/21 Page
                                                           Page168
                                                                88 of
                                                                   of491
                                                                      531




               (c)      Release of Liens. Except as otherwise specifically provided in the Plan
or in any contract, instrument, release, or other agreement or document contemplated under
or executed in connection with the Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to the Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is secured and Allowed as of the
Effective Date, all mortgages, deeds of trust, Liens, pledges, or other security interests
against any property of the estates shall be fully released and discharged, and all of the right,
title, and interest of any holder of such mortgages, deeds of trust, Liens, pledges, or other
security interests shall revert to the Post-Effective Date Debtors and their successors and
assigns, in each case, without any further approval or order of the Bankruptcy Court and
without any action or filing being required to be made by the Debtors. For the avoidance of
doubt, all liens and encumbrances on, interests in, and claims against the Legacy Apache
Properties (as defined in the Apache Term Sheet) and the other FWE I Assets (as defined in
Part A of Schedule I of the Plan of Merger) held by the Prepetition FLFO Lenders,
Prepetition FLTL Lenders, and Prepetition SLTL Lenders shall be released, discharged, and
of no further force or effect as of the Effective Date.

              10.8    Exculpation.

          TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
EXCEPT FOR THE RIGHTS THAT REMAIN IN EFFECT FROM AND AFTER THE
EFFECTIVE DATE TO ENFORCE THE PLAN, THE CONFIRMATION ORDER AND
THE OBLIGATIONS CONTEMPLATED BY THE DOCUMENTS IN THE PLAN
SUPPLEMENT, THE APACHE DEFINITIVE DOCUMENTS, THE CREDIT BID
PURCHASE AGREEMENT, THE BACKSTOP COMMITMENT LETTER, THE EXIT
FACILITY DOCUMENTS, AND THE RESTRUCTURING TRANSACTIONS, NO
EXCULPATED PARTY WILL HAVE OR INCUR, AND EACH EXCULPATED PARTY
WILL BE RELEASED AND EXCULPATED FROM, ANY CLAIM, OBLIGATION, SUIT,
JUDGMENT, DAMAGE, DEMAND, DEBT, RIGHT, REMEDY LOSS, LIABILITY AND
CAUSE OF ACTION IN CONNECTION WITH OR ARISING OUT OF THE
ADMINISTRATION OF THE CHAPTER 11 CASES; THE NEGOTIATION AND
PURSUIT OF THE DIP FACILITY, THE CREDIT BID PURCHASE AGREEMENT, THE
NEW MONEY INVESTMENT, THE EXIT FACILITY DOCUMENTS, THE BACKSTOP
COMMITMENT LETTER, THE APACHE DEFINITIVE DOCUMENTS, THE
DISCLOSURE STATEMENT, THE RESTRUCTURING, THE PLAN (INCLUDING THE
PLAN SUPPLEMENT), AND ALL DOCUMENTS RELATING TO THE FOREGOING,
OR THE SOLICITATION OF VOTES FOR, OR CONFIRMATION OF, THE PLAN; THE
FUNDING OF THE PLAN; THE OCCURRENCE OF THE EFFECTIVE DATE; THE
ADMINISTRATION OF THE PLAN OR THE PROPERTY TO BE DISTRIBUTED
UNDER THE PLAN; THE ISSUANCE OF SECURITIES UNDER OR IN CONNECTION
WITH THE PLAN; THE PURCHASE, SALE, OR RESCISSION OF THE PURCHASE OR
SALE OF ANY SECURITY OF THE DEBTORS OR THE POST-EFFECTIVE DATE
DEBTORS; OR THE TRANSACTIONS IN FURTHERANCE OF ANY OF THE
FOREGOING; OTHER THAN CLAIMS OR CAUSES OF ACTION ARISING OUT OF
OR RELATED TO ANY ACT OR OMISSION OF AN EXCULPATED PARTY THAT
CONSTITUTES INTENTIONAL FRAUD, WILLFUL MISCONDUCT, OR GROSS
NEGLIGENCE AS DETERMINED BY A FINAL ORDER, BUT IN ALL RESPECTS
    Case
    Case20-33948
         20-33948 Document
                  Document775-2
                           723-1 Filed
                                 FiledininTXSB
                                          TXSBon
                                               on01/21/21
                                                  01/01/21 Page
                                                           Page169
                                                                89 of
                                                                   of491
                                                                      531




SUCH PERSONS WILL BE ENTITLED TO REASONABLY RELY UPON THE ADVICE
OF COUNSEL WITH RESPECT TO THEIR DUTIES AND RESPONSIBILITIES
PURSUANT TO THE PLAN. THE EXCULPATED PARTIES HAVE ACTED IN
COMPLIANCE WITH THE APPLICABLE PROVISIONS OF THE BANKRUPTCY
CODE WITH REGARD TO THE SOLICITATION OF THE PLAN AND, THEREFORE,
ARE NOT, AND ON ACCOUNT OF SUCH DISTRIBUTIONS WILL NOT BE, LIABLE
AT ANY TIME FOR THE VIOLATION OF ANY APPLICABLE LAW, RULE, OR
REGULATION GOVERNING THE SOLICITATION OF ACCEPTANCES OR
REJECTIONS OF THE PLAN OR SUCH DISTRIBUTIONS MADE PURSUANT TO THE
PLAN. THE EXCULPATION WILL BE IN ADDITION TO, AND NOT IN LIMITATION
OF, ALL OTHER RELEASES, INDEMNITIES, EXCULPATIONS, AND ANY OTHER
APPLICABLE LAW OR RULES PROTECTING SUCH EXCULPATED PARTIES FROM
LIABILITY.

              10.9    Injunction Related to Releases and Exculpation.

                 The Confirmation Order shall permanently enjoin the commencement or
prosecution by any Person or entity, whether directly, derivatively, or otherwise, of any Claims,
obligations, suits, judgments, damages, demands, debts, rights, Causes of Action, losses, or
liabilities released pursuant to the Plan, including the claims, obligations, suits, judgments,
damages, demands, debts, rights, Causes of Action, and liabilities released or exculpated in the
Plan or the Confirmation Order.
Case
Case20-33948
     20-33948 Document
              Document775-2
                       723-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on01/21/21
                                              01/01/21 Page
                                                       Page170
                                                            90 of
                                                               of491
                                                                  531




                                 Exhibit C
           Leases Related to Purchased Oil & Gas Lease Interests
     Case
     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page171
                                                                 91 of
                                                                    of491
                                                                       531




                                Purchased Oil & Gas Lease Interests1

                                Lease                 Type                     Rights
                              G36544                 Federal                    WI
                              G36545                 Federal                    WI
                              G21176                 Federal                    WI
                              G16727                 Federal                    WI
                              SL19718                SL- LA                     WI
                              G31442                 Federal                    WI
                              SL15683                SL- LA                     WI
                              SL17675                SL- LA                     WI
                              SL17860                SL- LA                     WI
                              G21811                 Federal                    WI
                              G15156                 Federal                   ORRI
                              G36401                 Federal                    WI
                              G33140                 Federal                    WI
                              G33177                 Federal                   ORRI
                              G33707                 Federal                   ORRI
                              G35805                 Federal                   ORRI
                              G33140                 Federal                   ORRI
                              G27982                 Federal                   ORRI
                              G34434                 Federal                    WI
                              G27278                 Federal                    WI
                              G13943                 Federal                    WI
                              G13944                 Federal                    WI
                               00127                 Federal                    WI
                               00128                 Federal                    WI
                               00129                 Federal                    WI
                               00130                 Federal                    WI
                               00131                 Federal                    WI
                               00132                 Federal                    WI
                               00133                 Federal                    WI
                               00134                 Federal                    WI
                               00174                 Federal                    WI
                               00175                 Federal                    WI
                               00176                 Federal                    WI
                               00177                 Federal                    WI
                               00179                 Federal                    WI
                               00180                 Federal                    WI
                               00181                 Federal                    WI
                               00182                 Federal                    WI
                               00838                 Federal                    WI


1 The Debtors and the Consenting FLTL Lenders reserve the right to amend, modify, or supplement this schedule
  subject to any consent rights under the Restructuring Support Agreement.


KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page172
                                                                 92 of
                                                                    of491
                                                                       531




                               Lease           Type                   Rights
                               00839          Federal                  WI
                              G01497          Federal                  WI
                              G01498          Federal                  WI
                              G16727          Federal                 ORRI
                              G26302          Federal                 ORRI
                              G12210          Federal                 ORRI
                              G12209          Federal                  WI
                              G11043          Federal                  WI
                              G12210          Federal                  WI
                              G34536          Federal                  WI
                              G34537          Federal                  WI
                              G34878          Federal                  WI
                              G34879          Federal                  WI
                              G34880          Federal                  WI
                              G34966          Federal                  WI
                              G20051          Federal                 ORRI
                              G05889          Federal                  WI
                              G05900          Federal                  WI
                              G14668          Federal                  WI
                              G34539          Federal                  WI
                              G36405          Federal                  WI
                              G36566          Federal                  WI
                              G36557          Federal                  WI
                              G27509          Federal                 ORRI
                              G35825          Federal                  WI
                              G35828          Federal                  WI
                              G36476          Federal                  WI
                              G35015          Federal                  WI
                              G26302          Federal                  WI
                              G21176          Federal                 ORRI
                              G18192          Federal                  WI
                              G19966          Federal                  WI
                              G28021          Federal                  WI
                              G28022          Federal                  WI
                              G32343          Federal                  WI
                              G33757          Federal                  WI
                              G24133          Federal                  WI
                              G24134          Federal                  WI
                              G28030          Federal                  WI
                              G32363          Federal                  WI
                              G36400          Federal                  WI
                              G35963          Federal                  WI
                              G36537          Federal                  WI


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KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page173
                                                                 93 of
                                                                    of491
                                                                       531




                                Lease           Type                  Rights
                              G36538          Federal                  WI
                              G36540          Federal                  WI
                              G36880          Federal                  WI
                                13002          SL-IN                  ORRI
                              SL17009          SL-LA                  ORRI
                              SL19051          SL-LA                   WI
                               23017          SL-MS                   ORRI
                               42091           SL-TX                  ORRI
                               47000          SL-WV                   ORRI
                               170650         SL-MS                   ORRI
                              230140          SL-MS                   ORRI
                              230150          SL-MS                   ORRI
                              231240          SL-MS                   ORRI
                              G34428          Federal                  WI
                              G34429          Federal                  WI
                              G36772          Federal                  WI
                              G36773          Federal                  WI
                              G10794          Federal                  WI
                              G15277          Federal                  WI
                              G02592          Federal                  WI
                               00786          Federal                 ORRI
                              G01192          Federal                  WI
                               00020          Federal                  WI
                              G04000          Federal                  WI
                              G21685          Federal                  WI
                              G24987          Federal                  WI
                              G36814          Federal                  WI
                              G36021          Federal                  WI
                              G35806          Federal                  WI
                              G21817          Federal                  WI
                              G27070          Federal                  WI
                              G09522          Federal                  WI
                              G09524          Federal                  WI
                              G10687          Federal                  WI
                              G04421          Federal                  WI




                                               3

KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

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Case20-33948
     20-33948 Document
              Document775-2
                       723-1 Filed
                             FiledininTXSB
                                      TXSBon
                                           on01/21/21
                                              01/01/21 Page
                                                       Page174
                                                            94 of
                                                               of491
                                                                  531




                                 Exhibit D
             Leases Related to FWE I Oil & Gas Lease Interests
     Case
     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page175
                                                                 95 of
                                                                    of491
                                                                       531



                                  FWE I Oil & Gas Lease Interests1


                               Lease                    Type                     Rights
                              G06069                   Federal                     WI
                              G01757                   Federal                     WI
                              G02665                   Federal                     WI
                              G21142                   Federal                     WI
                              G32267                   Federal                     WI
                              G32268                   Federal                     WI
                              G01440                   Federal                     WI
                              SL16473                  SL - LA                     WI
                              SL16475                  SL - LA                     WI
                              SL18121                  SL - LA                     WI
                              G00972                   Federal                     WI
                              G00974                   Federal                     WI
                              G02063                   Federal                     WI
                              G25933                   Federal                     WI
                              G13572                   Federal                     WI
                               00049                   Federal                     WI
                               00050                   Federal                     WI
                               00051                   Federal                     WI
                               00052                   Federal                     WI
                              G01220                   Federal                     WI
                              G03152                   Federal                     WI
                               00438                   Federal                     WI
                              G03782                   Federal                     WI
                              G13622                   Federal                     WI
                              G10736                   Federal                     WI
                              G05502                   Federal                     WI
                              G05503                   Federal                     WI
                              G05550                   Federal                     WI
                              G33646                   Federal                     WI
                              G05504                   Federal                    ORRI
                              G05504                   Federal                     WI
                              G02110                   Federal                     WI
                              G02112                   Federal                     WI
                              G02912                   Federal                     WI
                              G05040                   Federal                     WI
                              G24912                   Federal                     WI
                              G02115                   Federal                     WI
                              G02317                   Federal                     WI
                              G15263                   Federal                     WI


1 The Debtors reserve the right to amend, modify, or supplement this schedule in accordance with the terms of the
  Plan and subject to any consent rights under the Restructuring Support Agreement.


KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page176
                                                                 96 of
                                                                    of491
                                                                       531



                              Lease            Type                   Rights
                              G03332          Federal                  WI
                              G10752          Federal                  WI
                              G3332           Federal                 ORRI
                              G02319          Federal                  WI
                              G14482          Federal                  WI
                              G21647          Federal                  WI
                              G02324          Federal                  WI
                              G03783          Federal                  WI
                               00479          Federal                  WI
                              G23851          Federal                  WI
                              G17966          Federal                  WI
                               00423          Federal                  WI
                               00443          Federal                  WI
                               00809          Federal                  WI
                              G00978          Federal                  WI
                              G36745          Federal                 ORRI
                               00810          Federal                  WI
                               00810          Federal                 ORRI
                              G01958          Federal                  WI
                              G02601          Federal                  WI
                               00044          Federal                  WI
                              G05800          Federal                  WI
                              G16454          Federal                  WI
                              G16455          Federal                  WI
                              G31470          Federal                  WI
                              G02310          Federal                  WI
                              G02698          Federal                  WI
                              G15740          Federal                  WI
                              G25524          Federal                  WI
                              G13943          Federal                  WI
                              G13944          Federal                  WI
                               00127          Federal                  WI
                               00128          Federal                  WI
                               00129          Federal                  WI
                               00130          Federal                  WI
                               00131          Federal                  WI
                               00132          Federal                  WI
                               00133          Federal                  WI
                               00134          Federal                  WI
                               00174          Federal                  WI
                               00175          Federal                  WI
                               00176          Federal                  WI
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WEIL:\97756692\5\45327.0005
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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page177
                                                                 97 of
                                                                    of491
                                                                       531



                               Lease           Type                   Rights
                               00180          Federal                  WI
                               00181          Federal                  WI
                               00182          Federal                  WI
                               00838          Federal                  WI
                               00839          Federal                  WI
                              G01497          Federal                  WI
                              G01498          Federal                  WI
                              G02161          Federal                  WI
                              G02163          Federal                  WI
                              G02353          Federal                  WI
                              G02354          Federal                  WI
                              G06156          Federal                  WI
                              G01848          Federal                  WI
                              G03228          Federal                  WI
                              G03236          Federal                  WI
                              G20660          Federal                  WI
                              G02423          Federal                  WI
                              G25605          Federal                  WI
                              G02750          Federal                  WI
                              G02754          Federal                  WI
                              G02754          Federal                 ORRI
                              G02366          Federal                  WI
                              G02372          Federal                  WI
                              G17199          Federal                  WI
                              G02719          Federal                  WI
                              G18959          Federal                  WI
                              G02392          Federal                  WI
                              G02393          Federal                  WI
                              G02721          Federal                  WI
                              G02722          Federal                  WI
                              G02757          Federal                  WI
                              G06164          Federal                  WI
                              G03229          Federal                  WI
                              G03237          Federal                  WI
                              G12564          Federal                  WI
                              G11383          Federal                  WI
                              G02367          Federal                  WI
                              SL06618         SL- LA                  ORRI
                              SL12503         SL- LA                  ORRI
                              G02193          Federal                  WI
                              G07827          Federal                  WI
                              G07828          Federal                  WI
                              G07898          Federal                  WI
                              G13055          Federal                  WI

                                               3

KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

WEIL:\97756692\5\45327.0005
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     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page178
                                                                 98 of
                                                                    of491
                                                                       531



                               Lease           Type                   Rights
                               G22812         Federal                 ORRI
                               G01666         Federal                  WI
                               G15395         Federal                  WI
                               G15395         Federal                 ORRI
                               G01667         Federal                  WI
                               G32263         Federal                  WI
                               G01673         Federal                  WI
                               G04253         Federal                  WI
                               G01317         Federal                  WI
                               G04486         Federal                  WI
                               G03339         Federal                  WI
                               G04126         Federal                  WI
                               G08467         Federal                  WI
                               G08760         Federal                  WI
                               G32265         Federal                  WI
                               G02213         Federal                  WI
                               G16520         Federal                  WI
                               G32264         Federal                  WI
                               G33693         Federal                  WI
                               G03194         Federal                  WI
                               G08461         Federal                  WI
                               G14576         Federal                  WI
                               G04909         Federal                 ORRI
                               G04481         Federal                  WI
                               G03088         Federal                  WI
                               G05000         Federal                  WI
                               G06043         Federal                  WI
                               G05169         Federal                  WI
                              MF-79413        SL - TX                  WI
                              MF80522         SL - TX                  WI
                              MF88560         SL - TX                  WI
                              MF-88562        SL - TX                  WI
                               G09777         Federal                  WI
                               G18192         Federal                  WI
                               G18192         Federal                 ORRI
                               G21742         Federal                  WI
                               G21742         Federal                 ORRI
                               G28351         Federal                 ORRI
                               G02968         Federal                  WI
                               G26176         Federal                  WI
                               G03068         Federal                  WI
                               G03061         Federal                  WI
                                00046         Federal                  WI
                                00126         Federal                  WI

                                               4

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WEIL:\97756692\5\45327.0005
     Case
     Case20-33948
          20-33948 Document
                   Document775-2
                            723-1 Filed
                                  FiledininTXSB
                                           TXSBon
                                                on01/21/21
                                                   01/01/21 Page
                                                            Page179
                                                                 99 of
                                                                    of491
                                                                       531



                               Lease           Type                   Rights
                               00228          Federal                  WI
                               00297          Federal                  WI
                               00508          Federal                  WI
                               00509          Federal                  WI
                               00511          Federal                  WI
                               00513          Federal                  WI
                               00518          Federal                  WI
                               00526          Federal                  WI
                               00548          Federal                  WI
                               00549          Federal                  WI
                               00594          Federal                  WI
                               00740          Federal                  WI
                               00758          Federal                  WI
                               00797          Federal                  WI
                               00802          Federal                  WI
                               00811          Federal                  WI
                               00812          Federal                  WI
                               00813          Federal                  WI
                              G00900          Federal                  WI
                              G00971          Federal                  WI
                              G01038          Federal                  WI
                              G01073          Federal                  WI
                              G01252          Federal                  WI
                              G01261          Federal                  WI
                              G01269          Federal                  WI
                              G01329          Federal                  WI
                              G01356          Federal                  WI
                              G01357          Federal                  WI
                              G01580          Federal                  WI
                              G01880          Federal                  WI
                              G01972          Federal                  WI
                              G01998          Federal                  WI
                              G02037          Federal                  WI
                              G02045          Federal                  WI
                              G02278          Federal                  WI
                              G02428          Federal                  WI
                              G02608          Federal                  WI
                              G02628          Federal                  WI
                              G03414          Federal                  WI
                              G03587          Federal                  WI
                              G03733          Federal                  WI
                              G03811          Federal                  WI
                              G03940          Federal                  WI
                              G03958          Federal                  WI

                                               5

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 180
                                                                 100 of 531
                                                                        491



                              Lease            Type                   Rights
                              G04001          Federal                  WI
                              G04002          Federal                  WI
                              G04003          Federal                  WI
                              G04098          Federal                  WI
                              G04397          Federal                  WI
                              G04548          Federal                  WI
                              G04703          Federal                  WI
                              G05058          Federal                  WI
                              G05292          Federal                  WI
                              G05488          Federal                  WI
                              G05560          Federal                  WI
                              G05610          Federal                  WI
                              G06105          Federal                  WI
                              G06166          Federal                  WI
                              G06390          Federal                  WI
                              G07619          Federal                  WI
                              G07825          Federal                  WI
                              G07901          Federal                  WI
                              G08361          Federal                  WI
                              G08362          Federal                  WI
                              G08363          Federal                  WI
                              G08364          Federal                  WI
                              G08365          Federal                  WI
                              G08366          Federal                  WI
                              G08367          Federal                  WI
                              G08368          Federal                  WI
                              G08753          Federal                  WI
                              G09591          Federal                  WI
                              G09592          Federal                  WI
                              G09651          Federal                  WI
                              G10426          Federal                  WI
                              G10427          Federal                  WI
                              G10721          Federal                  WI
                              G12020          Federal                  WI
                              G12761          Federal                  WI
                              G13821          Federal                  WI
                              G13897          Federal                  WI
                              G13987          Federal                  WI
                              G15078          Federal                  WI
                              G15241          Federal                  WI
                              G16353          Federal                  WI
                              G16470          Federal                  WI
                              G16541          Federal                  WI
                              G17789          Federal                  WI

                                               6

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 181
                                                                 101 of 531
                                                                        491



                              Lease            Type                   Rights
                              G17858          Federal                  WI
                              G18011          Federal                  WI
                              G22236          Federal                  WI
                              G22772          Federal                  WI
                              G23199          Federal                  WI
                              G23840          Federal                  WI
                              G23876          Federal                  WI
                              G26152          Federal                  WI
                              G27173          Federal                  WI
                              G30679          Federal                  WI
                              G31404          Federal                  WI
                              G31431          Federal                  WI
                              G32114          Federal                  WI
                              G32153          Federal                  WI
                              G32159          Federal                  WI
                              G32206          Federal                  WI
                              G32217          Federal                  WI
                              G32232          Federal                  WI
                              G32272          Federal                  WI
                              G32724          Federal                  WI
                              G32733          Federal                  WI
                              G32747          Federal                  WI
                              G32748          Federal                  WI
                              G32760          Federal                  WI
                              G32761          Federal                  WI
                              G32762          Federal                  WI
                              G32763          Federal                  WI
                              G32764          Federal                  WI
                              G32767          Federal                  WI
                              G32769          Federal                  WI
                              G32770          Federal                  WI
                              G32777          Federal                  WI
                              G33046          Federal                  WI
                              G33061          Federal                  WI
                              G33064          Federal                  WI
                              G33072          Federal                  WI
                              G33073          Federal                  WI
                              G33084          Federal                  WI
                              G33106          Federal                  WI
                              G33110          Federal                  WI
                              G33131          Federal                  WI
                              G33132          Federal                  WI
                              G33134          Federal                  WI
                              G33137          Federal                  WI

                                               7

KEY:      ORRI = Overriding Royalty Interest; WI = Working Interest

WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 182
                                                                 102 of 531
                                                                        491



                              Lease            Type                   Rights
                              G33139          Federal                  WI
                              G33392          Federal                  WI
                              G33399          Federal                  WI
                              G33412          Federal                  WI
                              G33413          Federal                  WI
                              G33558          Federal                  WI
                              G33593          Federal                  WI
                              G33594          Federal                  WI
                              G33610          Federal                  WI
                              G33625          Federal                  WI
                              G33626          Federal                  WI
                              G33650          Federal                  WI
                              G33652          Federal                  WI
                              G33671          Federal                  WI
                              G33683          Federal                  WI
                              G33684          Federal                  WI
                              G33691          Federal                  WI
                              G33697          Federal                  WI
                              G33704          Federal                  WI
                              G33708          Federal                  WI
                              G33709          Federal                  WI
                              G34022          Federal                  WI
                              G34034          Federal                  WI
                              G34035          Federal                  WI
                              G34213          Federal                  WI
                              G34216          Federal                  WI
                              G34217          Federal                  WI
                              G34218          Federal                  WI
                              G34219          Federal                  WI
                              G34220          Federal                  WI
                              G34228          Federal                  WI
                              G34229          Federal                  WI
                              G34230          Federal                  WI
                              G34232          Federal                  WI
                              G34233          Federal                  WI
                              G34234          Federal                  WI
                              G34235          Federal                  WI
                              G34237          Federal                  WI
                              G34238          Federal                  WI
                              G34239          Federal                  WI
                              G34240          Federal                  WI
                              G34251          Federal                  WI
                              G34252          Federal                  WI
                              G34253          Federal                  WI

                                               8

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 183
                                                                 103 of 531
                                                                        491



                              Lease            Type                   Rights
                              G34273          Federal                  WI
                              G34274          Federal                  WI
                              G34275          Federal                  WI
                              G34276          Federal                  WI
                              G34277          Federal                  WI
                              G34278          Federal                  WI
                              G34279          Federal                  WI
                              G34284          Federal                  WI
                              G34286          Federal                  WI
                              G34287          Federal                  WI
                              G34292          Federal                  WI
                              G34293          Federal                  WI
                              G34294          Federal                  WI
                              G34296          Federal                  WI
                              G34301          Federal                  WI
                              G34303          Federal                  WI
                              G34331          Federal                  WI
                              G34341          Federal                  WI
                              G34354          Federal                  WI
                              G34365          Federal                  WI
                              G34366          Federal                  WI
                              G34367          Federal                  WI
                              G34375          Federal                  WI
                              G34376          Federal                  WI
                              G34377          Federal                  WI
                              G34378          Federal                  WI
                              G34380          Federal                  WI
                              G34381          Federal                  WI
                              G34382          Federal                  WI
                              G34388          Federal                  WI
                              G34391          Federal                  WI
                              G34392          Federal                  WI
                              G34393          Federal                  WI
                              G34394          Federal                  WI
                              G34395          Federal                  WI
                              G34396          Federal                  WI
                              G34403          Federal                  WI
                              G34408          Federal                  WI
                              G34415          Federal                  WI
                              G34515          Federal                  WI
                              G34670          Federal                  WI
                              G34677          Federal                  WI
                              G34678          Federal                  WI
                              G34796          Federal                  WI

                                               9

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 184
                                                                 104 of 531
                                                                        491



                              Lease            Type                   Rights
                              G34857          Federal                  WI
                              G34860          Federal                  WI
                              G34861          Federal                  WI
                              G34862          Federal                  WI
                              G34865          Federal                  WI
                              G34866          Federal                  WI
                              G34872          Federal                  WI
                              G34877          Federal                  WI
                              G05953          Federal                  WI
                              G05954          Federal                  WI
                              G02274          Federal                  WI
                              G04143          Federal                  WI
                              G09614          Federal                  WI
                              G12940          Federal                  WI
                              G12941          Federal                  WI
                              G12941          Federal                 ORRI
                               00453          Federal                 ORRI
                              G34831          Federal                  WI
                               00419          Federal                 ORRI
                              G15282          Federal                  WI
                              G11984          Federal                  WI
                               00820          Federal                  WI
                              G03998          Federal                  WI
                              G13917          Federal                  WI
                              G15288          Federal                  WI
                              G05551          Federal                  WI
                              G04232          Federal                  WI
                              G05203          Federal                  WI
                              G05204          Federal                  WI
                              G4232           Federal                 ORRI
                              G10775          Federal                  WI
                              G01522          Federal                  WI
                              G01523          Federal                  WI
                              G01524          Federal                  WI
                               00593          Federal                  WI
                              G12355          Federal                  WI
                              G12358          Federal                  WI
                              G01520          Federal                  WI
                              G10780          Federal                  WI
                              G10780          Federal                 ORRI
                              G01030          Federal                  WI
                              G1030           Federal                 ORRI
                              G05044          Federal                  WI
                              G01039          Federal                  WI

                                              10

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 185
                                                                 105 of 531
                                                                        491



                              Lease            Type                   Rights
                              G09627          Federal                  WI
                              G10785          Federal                  WI
                               00333          Federal                  WI
                               00334          Federal                  WI
                               00335          Federal                  WI
                               00336          Federal                  WI
                               00336          Federal                 ORRI
                              G02923          Federal                  WI
                              G26074          Federal                  WI
                              G26074          Federal                 ORRI
                              G15312          Federal                  WI
                              G07746          Federal                 ORRI
                              G12349          Federal                 ORRI
                              G02919          Federal                  WI
                              G01181          Federal                  WI
                              G01182          Federal                  WI
                              G08680          Federal                  WI
                              G02279          Federal                  WI
                              G03776          Federal                  WI
                              G17938          Federal                  WI
                              G02587          Federal                  WI
                              G02883          Federal                  WI
                              G02282          Federal                  WI
                              G02588          Federal                  WI
                              G02589          Federal                  WI
                              G02592          Federal                  WI
                              G16325          Federal                  WI
                              G19776          Federal                  WI
                              G22679          Federal                  WI
                              G22679          Federal                 ORRI
                               00310          Federal                  WI
                              G02311          Federal                  WI
                              G02600          Federal                  WI
                              G14456          Federal                  WI
                               00786          Federal                  WI
                              G01192          Federal                  WI
                              G01198          Federal                  WI
                              G01208          Federal                  WI
                              G21618          Federal                  WI
                               00792          Federal                  WI
                              G02885          Federal                  WI
                              G04809          Federal                  WI
                              G01194          Federal                  WI
                              G01609          Federal                  WI

                                              11

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 186
                                                                 106 of 531
                                                                        491



                              Lease            Type                   Rights
                              G01614          Federal                  WI
                              G01294          Federal                  WI
                              G01610          Federal                  WI
                              G01901          Federal                  WI
                              G01966          Federal                  WI
                              G01967          Federal                  WI
                              G1611           Federal                 ORRI
                              G05051          Federal                  WI
                              G05052          Federal                 ORRI
                              G10894          Federal                  WI
                              G01618          Federal                  WI
                              G07799          Federal                  WI
                              G10883          Federal                  WI
                               00071          Federal                  WI
                              G02917          Federal                  WI
                              G02924          Federal                  WI
                              G02925          Federal                  WI
                              G04234          Federal                  WI
                              G14535          Federal                  WI
                              G24956          Federal                  WI
                               00020          Federal                  WI
                              G04000          Federal                  WI
                              G01960          Federal                  WI
                              G01248          Federal                  WI
                              G05612          Federal                  WI
                              G05613          Federal                  WI
                              G13938          Federal                  WI
                              G05646          Federal                  WI
                              G07780          Federal                  WI
                              G12981          Federal                  WI
                              G24990          Federal                  WI
                              G31418          Federal                  WI
                              G22762          Federal                  WI
                              G05431          Federal                 ORRI
                              G17912          Federal                 ORRI
                              G03328          Federal                  WI
                              G03328          Federal                 ORRI
                              G34257          Federal                  WI
                              G01955          Federal                  WI
                              G04800          Federal                  WI
                              G21096          Federal                  WI
                              G17921          Federal                 ORRI
                              G02580          Federal                  WI
                              G16314          Federal                  WI

                                              12

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 187
                                                                 107 of 531
                                                                        491



                               Lease           Type                   Rights
                               G15212         Federal                  WI
                               G04921         Federal                  WI
                               G07890         Federal                  WI
                               G10930         Federal                  WI
                               G10933         Federal                  WI
                               G06884         Federal                  WI
                               G15436         Federal                  WI
                                00081         Federal                  WI
                                00082         Federal                  WI
                               G01953         Federal                  WI
                               G05299         Federal                  WI
                               G13563         Federal                  WI
                               G04818         Federal                  WI
                               G24730         Federal                  WI
                               G15050         Federal                  WI
                                00244         Federal                  WI
                               G01860         Federal                  WI
                               G02819         Federal                  WI
                               G02825         Federal                  WI
                               G02826         Federal                  WI
                               G03251         Federal                  WI
                               G03256         Federal                  WI
                                00247         Federal                  WI
                               G23735         Federal                  WI
                                00841         Federal                  WI
                                00842         Federal                  WI
                               G13645         Federal                  WI
                               G19843         Federal                  WI
                               G01106         Federal                  WI
                               G01106         Federal                 ORRI
                               G01085         Federal                  WI
                                00840         Federal                  WI
                               G01089         Federal                  WI
                               G12360         Federal                  WI
                                00420         Federal                 ORRI
                               G03197         Federal                 ORRI
                               G09514         Federal                  WI
                               G10794         Federal                 ORRI
                               G10910         Federal                 ORRI
                               G21108         Federal                 ORRI
                               G3197          Federal                 ORRI
                               G4437          Federal                 ORRI
                              MF100410        SL - TX                  WI
                              MF100411        SL - TX                  WI

                                              13

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WEIL:\97756692\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 188
                                                                 108 of 531
                                                                        491



                              Lease            Type                   Rights
                      MF100412                SL - TX                  WI
                      MF100413                SL - TX                  WI
                      MF100414                SL - TX                  WI
                      MF101898                SL - TX                  WI
                      MF93351                 SL - TX                  WI
                      MF96146                 SL - TX                  WI
                      MF96147                 SL - TX                  WI
                      MF98761                 SL - TX                  WI
                       SL03771                SL - LA                  WI
                       SL03773                SL - LA                  WI
                       SL13580                SL - LA                  WI
                       SL13890                SL - LA                  WI
                       SL13891                SL - LA                  WI
                       SL13892                SL - LA                  WI
                       SL96146                SL - TX                  WI
                STATE OF ALABAMA 627          SL - AL                  WI
                        00229                 Federal                  WI
                        00577                 Federal                  WI
                        00680                 Federal                  WI
                       G02439                 Federal                  WI
                       G03959                 Federal                  WI
                       G10910                 Federal                  WI
                       G12027                 Federal                  WI
                       G13576                 Federal                  WI
                       G23736                 Federal                  WI
                        00775                 Federal                  WI
                       G01361                 Federal                  WI
                       G01870                 Federal                  WI
                       G02620                 Federal                  WI
                       G10638                 Federal                  WI
                       G33690                 Federal                  WI




                                              14

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WEIL:\97756692\5\45327.0005
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 189
                                                            109 of 531
                                                                   491




                                Exhibit E
            Leases Related to FWE III Oil & Gas Lease Interests
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 190
                                                                 110 of 531
                                                                        491




                               FWE III Oil & Gas Lease Interests1

                               Lease                Type               Rights
                              G21580               Federal              WI
                              G21142               Federal              WI
                              G01772               Federal              WI
                              G01773               Federal              WI
                              G01777               Federal              WI
                              G03793               Federal              WI
                              G02359               Federal              WI
                              G09707               Federal              WI
                              G10902               Federal              WI
                              G16320               Federal              WI
                              G23933               Federal              WI
                              G16535               Federal              WI
                              G10930               Federal              WI
                              G10933               Federal              WI
                              G05438               Federal              WI
                              G04215               Federal              WI
                              G09514               Federal              WI
                              G14417               Federal              WI
                              G22510               Federal              WI
                              G04818               Federal              WI
                              G02360               Federal              WI




1 The Debtors reserve the right to amend, modify, or supplement this schedule in accordance
  with the terms of the Plan and subject to any consent rights under the Restructuring Support
  Agreement.



KEY:      WI = Working Interest

WEIL:\97756699\4\45327.0005
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 191
                                                            111 of 531
                                                                   491




                                 Exhibit F
                  Leases Related to Abandoned Properties
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 192
                                                                 112 of 531
                                                                        491




                                   Abandoned Properties1

                         Lease                 Type                 Rights
                        G01754               Federal                 WI
                        G01757               Federal                 WI
                        G02665               Federal                 WI
                        SL03770               SL- LA                 WI
                        G02645               Federal                 WI
                        G02646               Federal                 WI
                        G02647               Federal                 WI
                        G02648               Federal                 WI
                        G06280               Federal                 WI
                        G07397               Federal                 WI
                        G03540               Federal                 WI
                        G08658               Federal                 WI
                        G09478               Federal                 WI
                        G13592               Federal                 WI
                        G14385               Federal                 WI
                        G15157               Federal                 WI
                         00438               Federal                 WI
                        G02110               Federal                 WI
                         00196               Federal                 WI
                        G02319               Federal                 WI
                         00479               Federal                 WI
                         00425               Federal                 WI
                       SL19152                SL- LA                 WI
                       SL19154                SL- LA                 WI
                       SL19266                SL- LA                 WI
                       SL19269                SL- LA                 WI
               Caroline Baker Trust No 1     Onshore                 WI
                    JMB Partnership          Onshore                 WI
               Richardson A Caffery et al    Onshore                 WI
                        G15740               Federal                 WI
                        G25524               Federal                 WI
                        G30654               Federal                 WI
                        G24154               Federal                 WI
                        G12210               Federal                 WI
                        G25605               Federal                 WI
                        G02750               Federal                 WI
                        G02754               Federal                 WI
                        G02366               Federal                 WI

1 The Debtors reserve the right to amend, modify, or supplement this schedule in accordance
  with the terms of the Plan and subject to any consent rights under the Restructuring Support
  Agreement.



KEY:      WI = Working Interest

WEIL:\97756706\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 193
                                                                 113 of 531
                                                                        491




                               Lease    Type             Rights
                              G02372   Federal            WI
                              G04081   Federal            WI
                              G02388   Federal            WI
                              G02389   Federal            WI
                              G02719   Federal            WI
                              G18959   Federal            WI
                              G02392   Federal            WI
                              G02393   Federal            WI
                              G02721   Federal            WI
                              G02722   Federal            WI
                              G02757   Federal            WI
                              106158   SL - TX            WI
                              106159   SL - TX            WI
                              114921   SL - TX            WI
                              G02696   Federal            WI
                              G22792   Federal            WI
                              G22794   Federal            WI
                              G04481   Federal            WI
                              G05062   Federal            WI
                               14519   SL - TX            WI
                               14520   SL - TX            WI
                               14914   SL - TX            WI
                               00434   Federal            WI
                               00820   Federal            WI
                               00590   Federal            WI
                              G04232   Federal            WI
                              G01522   Federal            WI
                              G01523   Federal            WI
                              G01524   Federal            WI
                              G01520   Federal            WI
                               00828   Federal            WI
                              G01528   Federal            WI
                              G03169   Federal            WI
                              G15293   Federal            WI
                              G01027   Federal            WI
                              G01028   Federal            WI
                              G01029   Federal            WI
                              G01030   Federal            WI
                              G01037   Federal            WI
                              G01038   Federal            WI
                              G01031   Federal            WI
                              G01529   Federal            WI
                              G02923   Federal            WI


                                       2

KEY:      WI = Working Interest

WEIL:\97756706\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 194
                                                                 114 of 531
                                                                        491




                                Lease    Type            Rights
                              G07760    Federal           WI
                              G09631    Federal           WI
                              G02282    Federal           WI
                              G02588    Federal           WI
                              G02589    Federal           WI
                              G16325    Federal           WI
                              G19776    Federal           WI
                              G01216    Federal           WI
                              G22679    Federal           WI
                              G27918    Federal           WI
                              G06693    Federal           WI
                              G09546    Federal           WI
                              G21106    Federal           WI
                              G02310    Federal           WI
                              G02311    Federal           WI
                              G02600    Federal           WI
                              G14456    Federal           WI
                              G13607    Federal           WI
                              G01198    Federal           WI
                               00697    Federal           WI
                              SL03011   SL- LA            WI
                              SL16869   SL- LA            WI
                              G01608    Federal           WI
                              G01609    Federal           WI
                              G01611    Federal           WI
                              G01612    Federal           WI
                              G02137    Federal           WI
                              G02938    Federal           WI
                              G02942    Federal           WI
                              G02943    Federal           WI
                              G03171    Federal           WI
                              G03593    Federal           WI
                              G22762    Federal           WI
                              G23946    Federal           WI
                               111650   SL - TX           WI
                               114988   SL - TX           WI
                               115727   SL - TX           WI
                              G19760    Federal           WI
                              G19761    Federal           WI
                              G03328    Federal           WI
                              G34257    Federal           WI
                              G14412    Federal           WI
                              G23829    Federal           WI


                                        3

KEY:      WI = Working Interest

WEIL:\97756706\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 195
                                                                 115 of 531
                                                                        491




                                Lease     Type           Rights
                              G24870    Federal           WI
                              G24872    Federal           WI
                              G11881    Federal           WI
                              G01172    Federal           WI
                              G06888    Federal           WI
                              G15445    Federal           WI
                              G15441    Federal           WI
                              SL18287   SL- LA            WI
                              G01997    Federal           WI
                              G24730    Federal           WI
                              G02825    Federal           WI
                              G02826    Federal           WI
                              G02220    Federal           WI
                              G02549    Federal           WI
                              G10594    Federal           WI
                              G03520    Federal           WI
                              G23735    Federal           WI
                              G13645    Federal           WI
                              G19843    Federal           WI
                              G04473    Federal           WI
                              G19839    Federal           WI
                              G25008    Federal           WI
                              G01083    Federal           WI
                              G01084    Federal           WI
                              G01449    Federal           WI
                              G01874    Federal           WI
                              G01989    Federal           WI
                              G02136    Federal           WI
                              G02934    Federal           WI
                              G04243    Federal           WI
                              G04895    Federal           WI
                              G01089    Federal           WI
                              G12360    Federal           WI
                                5749     SL-TX            WI
                                5797     SL-TX            WI
                               09061     SL-TX            WI
                               10772     SL-TX            WI
                              SL17072    SL-LA            WI
                               19334     SL-TX            WI
                               20599     SL-TX            WI
                               23729     SL-TX            WI
                               24318     SL-TX            WI
                               42141     SL-TX            WI


                                        4

KEY:      WI = Working Interest

WEIL:\97756706\5\45327.0005
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 196
                                                                 116 of 531
                                                                        491




                                Lease      Type          Rights
                               42450      SL-LA           WI
                              136449      SL-TX           WI
                              168986      SL-TX           WI
                              172915      SL-TX           WI
                              172916      SL-TX           WI
                              178537      SL-TX           WI
                              183756      SL-TX           WI
                              185633      SL-TX           WI
                              186891      SL-TX           WI
                              189098      SL-TX           WI
                              191681      SL-TX           WI
                              206882      SL-TX           WI
                              207398      SL-TX           WI
                              227360      SL-TX           WI
                              234082      SL-TX           WI
                              242116      SL-TX           WI
                              255675      SL-TX           WI
                              490100    Louisiana         WI
                              G01253     Federal          WI
                              G23740     Federal          WI




                                         5

KEY:      WI = Working Interest

WEIL:\97756706\5\45327.0005
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 197
                                                            117 of 531
                                                                   491




                              Exhibit G
              Apache Term Sheet Implementation Agreement
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 198
                                                                118 of 531
                                                                       491
                                                              Execution Version



                       Apache Term Sheet Implementation Agreement

       This IMPLEMENTATION AGREEMENT (the “Agreement”) is made and entered into

as of January 1, 2021, by and among (a) Fieldwood Energy LLC, a Delaware limited liability

company (“FWE”), and GOM Shelf LLC, a Delaware limited liability company (collectively, the

“Fieldwood PSA Parties”) and (b) Apache Corporation (“Apache”), Apache Shelf, Inc., Apache

Deepwater LLC, and Apache Shelf Exploration LLC (collectively, the “Apache PSA Parties”)

(each, a “Party” and collectively, the “Parties”) to implement the transactions contemplated by

or related to the term sheet attached hereto as Exhibit A (the “Apache Term Sheet”).

                                           RECITALS

       WHEREAS, on July 31, 2020, the Parties executed a letter agreement whereby each of the

Parties agreed (i) to work to implement the terms of the Apache Term Sheet in accordance

therewith and (ii) to execute and support a restructuring support agreement with certain consent

rights for Apache and consistent in all respects with the terms of the Apache Term Sheet;

       WHEREAS, commencing on August 3, 2020 (the “Petition Date”), FWE and certain of

its affiliates each filed with the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Court”) a voluntary case under chapter 11 of title 11 of the United States Code;

       WHEREAS, Apache asserts that it holds prepetition audit claims against FWE related to

(a) the 2013 audit of WC 72 for 2011-12 for the remaining amount of $10,222.37 which amount

was included on the April 2016 JIB relating to ENI’s debit pay, (b) credits from Noble Energy to

Apache for VK 917 and 962 as shown on the August 2018 JIB in the amount of $11,413.53, and

(c) joint venture expenditure audits #17.2.12 relating to East Breaks 158/159 for 2017, #19.2.11

relating to the Main Pass 302 #B19 Well for 2019, #19.2.12 relating to East Breaks 158/159 for

2019, and #19.2.22 relating to Viosca Knoll 917/961/962 (Swordfish) for 2019 in the aggregate

net amount of $115,969 (collectively, the “Apache Audit Claims”); Apache, as a beneficiary of
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 199
                                                                119 of 531
                                                                       491




The Fieldwood Decommissioning Trust A (“Trust A”) created pursuant to that certain Trust

Agreement, dated September 30, 2013, by and among the Fieldwood PSA Parties, as Settlors and

Primary Beneficiaries, and the Apache PSA Parties and Apache Shelf Exploration LLC, as

Secondary Beneficiaries, as amended, and pursuant to an audit conducted on behalf of Trust A

relating to the Fourth and Fifth Amendments to the Decommissioning Agreement, asserts that it

holds prepetition claims against FWE relating to funds allegedly improperly withdrawn from Trust

A in the aggregate amount of approximately $5,000,000 (the “Apache Trust A Claims”); and

Apache asserts that it holds claims against FWE related to FWE’s obligations under the

Decommissioning Agreement (the “Decommissioning Claims” and, together with the Apache

Audit Claims, the Apache Trust A Claims, and any other prepetition claim Apache may assert, the

“Apache Claims”);

        WHEREAS, the Bankruptcy Court has established a general bar date of 5:00 p.m. (Central

Time) on November 25, 2020 (the “General Bar Date”) for filing proofs of claim against the

Fieldwood PSA Parties; the Parties hereto entered into that certain stipulation, dated as of

November 24, 2020, thereby agreeing to extend the General Bar Date as to the Apache Claims in

contemplation of the resolution of the Apache Claims as set forth in the RSA (as defined below),

the Apache Term Sheet, and the Apache Definitive Documents (as defined below);

        WHEREAS, that certain Restructuring Support Agreement, dated as of August 4, 2020

(the “RSA”), was entered into by and among (i) the Company 1 (including the Fieldwood PSA

Parties); (ii) the Consenting FLTL Lenders; (iii) the Consenting SLTL Lenders (together with the

Consenting FLTL Lenders, the “Consenting Creditors”); and (iv) Apache (collectively, the



1
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the RSA, unless
indicated otherwise.




                                                         2
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 200
                                                                120 of 531
                                                                       491




“RSA Parties”), pursuant to which the RSA Parties agreed to support a financial restructuring of

the Company as provided therein;

       WHEREAS, the Company and the Consenting Creditors have agreed that certain interests

in certain non-Legacy Apache Properties and the properties included in the fields listed on

Schedule A to the Apache Term Sheet as “Ownership and Operatorship” (the “Retained

Properties”) (such non-Legacy Apache Properties and the Retained Properties, collectively, the

“Credit Bid Acquired Interests”) will be sold and conveyed to, and certain liabilities and

obligations of the Debtors will be assumed by and will constitute liabilities and obligations of

(such liabilities and obligations, collectively, the “Credit Bid Assumed Liabilities”), an entity to

be formed for purposes of consummating the transactions under the Credit Bid Purchase

Agreement (“Credit Bid Purchaser”), pursuant to a purchase and sale agreement (the “Credit

Bid Purchase Agreement”);

       WHEREAS, pursuant to the RSA, the Company agreed to, among other things:

(i) negotiate in good faith the definitive documents implementing the transactions contemplated

by or relating to the Apache Term Sheet (the “Apache Definitive Documents”); (ii) use

commercially reasonable efforts to execute and deliver the Apache Definitive Documents; and

(iii) use commercially reasonable efforts to consummate the transactions contemplated under the

Apache Definitive Documents;

       WHEREAS, pursuant to the RSA, Apache agreed to, among other things: (i) support and

take all actions necessary or reasonably requested by the Company to facilitate the finalization of

the Apache Definitive Documents; and (ii) support and take all actions necessary or reasonably

requested by the Company to facilitate the transactions contemplated under the Apache Definitive

Documents;




                                                 3
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 201
                                                                121 of 531
                                                                       491




       WHEREAS, pursuant to the RSA, the Apache Definitive Documents shall be in a form

reasonably acceptable to the Company, Apache, the Requisite DIP Commitment Parties, and the

Requisite FLTL Lenders;

       WHEREAS, pursuant to the Apache Term Sheet, Apache acknowledged and agreed that

the Apache Definitive Documents shall be subject to the approval of holders of consent rights as

set forth in the RSA, which approval shall not be unreasonably withheld, it being understood that

good faith negotiations with respect to matters not addressed in the Apache Term Sheet or the

Restructuring Term Sheet shall not be considered unreasonably withholding approval;

       WHEREAS, the Apache Term Sheet provides that the parties thereto agree to negotiate

mutually agreeable Apache Definitive Documents no later than 45 days after the Petition Date,

which deadline the Parties have mutually agreed to extend to January 1, 2021;

       WHEREAS, the RSA provides that it shall be a DIP Commitment Parties Termination

Event if the Company shall not have complied with the deadline requiring the finalization of the

Apache Definitive Documents by no later than 75 days after the Petition Date, which deadline has

been extended to January 1, 2021;

       WHEREAS, pursuant to that certain Senior Secured Debtor-In-Possession Term Loan

Credit Agreement, dated as of August 24, 2020, among Fieldwood Energy Inc., Fieldwood Energy

LLC, the Several Lenders, from time to time, and Cantor Fitzgerald Securities, the Apache

Definitive Documents shall be finalized no later than 75 days after the Petition Date, which

deadline has been extended to January 1, 2021;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements set forth

in this Agreement, and for other good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged, the parties, intending to be legally bound, agree as follows:




                                                 4
   Case 20-33948 Document 775-2
                          723-1 Filed in TXSB on 01/21/21
                                                 01/01/21 Page 202
                                                               122 of 531
                                                                      491




                 1.      Apache Definitive Documents.      The documents below comprise the

Apache Definitive Documents as contemplated in the RSA and the Apache Term Sheet:

       a.        Conversion of FWE into a Texas Limited Liability Company.

                 (i)     Certificate of Conversion (DE) (FWE). Annexed hereto as Exhibit 1.

                 (ii)    Certificate of Conversion (TX) (FWE). Annexed hereto as Exhibit 2.

                 (iii)   Plan of Conversion (TX) (FWE). Annexed hereto as Exhibit 3.

                 (iv)    Certificate of Formation (TX) (FWE). Annexed hereto as Exhibit 4.

       b.        Divisional Merger Documents.

                 (i)     Agreement and Plan of Merger (TX) (FWE) (the “Plan of Merger”).

Annexed hereto as Exhibit 5.

                 (ii)    Certificate of Merger (TX) (FWE). Annexed hereto as Exhibit 5A.

                 (iii)   Certificate of Formation (TX) (Fieldwood Energy I LLC). Annexed hereto

as Exhibit 5B.

       c.        Fieldwood Energy I LLC Agreement. Annexed hereto as Exhibit 6.

       d.        ST 308 Bond Form. Annexed hereto as Exhibit 7.

       e.        Standby Credit Facility Documents (collectively, the “Standby Credit Facility

Documents”).

                 (i)     Standby Loan Agreement. Annexed hereto as Exhibit 8.

                 (ii)    Security Agreement. Annexed hereto as Exhibit 9.

                 (iii)   Guarantee (Fieldwood Energy I LLC). Annexed hereto as Exhibit 10.

                 (iv)    Guarantee (GOM Shelf LLC). Annexed hereto as Exhibit 11.

                 (v)     Form of Mortgages. Annexed hereto as Exhibit 12.




                                                 5
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 203
                                                                123 of 531
                                                                       491




       f.      Form of Amendment to Unit Operating Agreement. Annexed hereto as Exhibit 13,

the form of which shall be modified in a manner consistent with the Apache Term Sheet and this

Agreement to amend each operating agreement with respect to the properties included in the fields

listed on Schedule A to the Apache Term Sheet as solely “Operatorship” for which Credit Bid

Purchaser shall become operator, which amendments shall be subject to the same consent rights

of the Required DIP Lenders and Requisite FLTL Lenders as for the Apache Definitive

Documents, and the Parties shall enter into such amendments prior to the closing of the transactions

contemplated by the Credit Bid Purchase Agreement.

       g.      Farmout Agreement. Annexed hereto as Exhibit 14.

       h.      Transition Services Agreement. Annexed hereto as Exhibit 15.

       i.      SEMS Bridging Agreement. Annexed hereto as Exhibit 16.

       j.      Amended BriarLake Sublease. Annexed hereto as Exhibit 17.

       k.      Certification of Rights. Annexed hereto as Exhibit 18.

               2.      Execution of Apache Definitive Documents; Good Faith Cooperation.

Each Party agrees, and Apache expressly acknowledges, that the Company and the Apache PSA

Parties have satisfied the requirements under the Apache Term Sheet and the RSA to negotiate

mutually agreeable Apache Definitive Documents by the relevant deadlines set forth therein.

Subject to and in accordance with the terms of the RSA and Apache Term Sheet, each of the Parties

shall negotiate any exhibits, amendments, modifications or supplements to the Apache Definitive

Documents in good faith and agree to exercise commercially reasonable efforts with respect to the

negotiation, pursuit, approval, execution, delivery, implementation, and consummation of the

Apache Definitive Documents. The Parties may, by mutual agreement, amend, modify, or

supplement the forms of the Apache Definitive Documents attached hereto or negotiate to add




                                                 6
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 204
                                                                124 of 531
                                                                       491




additional documents to the list of Apache Definitive Documents, consistent with the terms and

conditions herein, in the RSA, and in the Apache Term Sheet, and subject to the consent rights of

the Parties in the RSA and the Apache Term Sheet, as necessary or desirable to effectuate the

Apache Term Sheet and a chapter 11 plan of reorganization that incorporates the transactions

contemplated in the Apache Definitive Documents (the “Plan”). Subject to the immediately

preceding sentence, the Parties shall execute and deliver the Apache Definitive Documents on or

before the effective date of the Plan (the “Effective Date”). Each Party agrees to use commercially

reasonable efforts to execute and deliver the instruments, forms and filings (including any BOEM

designation of operator forms and designated applicant Oil Spill Financial Responsibility

(“OSFR”) form designations and any instruments, forms and filings required by BSEE) that are

necessary to designate and appoint under all applicable laws and contracts the Credit Bid Purchaser

as operator (and, as applicable, the designated applicant under OSFR for) the Credit Bid Acquired

Interests as promptly as practicable following the closing of the Credit Bid Purchase Agreement,

and in any case, prior to the execution and delivery of the instruments, forms and filings (including

any BOEM designation of operator forms and designated applicant OSFR form designations and

any instruments, forms and filings required by BSEE) that may be required in connection with the

implementation of the Divisive Merger (as defined below).

               3.      FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to

Schedule I to the Plan of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy

Apache Properties, which FWE I Exhibits the Apache PSA Parties and the Fieldwood PSA Parties

hereto respectively acknowledge are subject to the ongoing review and consent rights of the

Consenting Creditors under the RSA (which consent has not yet been provided), and the Apache




                                                 7
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 205
                                                                125 of 531
                                                                       491




PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification

based on such review to be consistent with the Apache Term Sheet.

               4.     Plan and Confirmation Order. As provided in the RSA, provisions in the

Plan and Confirmation Order that directly affect the structure of FWE I outlined in the Apache

Term Sheet or the economic treatment of Apache remain subject to Apache’s review and must be

in form and substance reasonably acceptable to Apache, and the Plan and Confirmation Order shall

be in form and substance reasonably acceptable to the Debtors, the Requisite DIP Commitment

Parties, and the Requisite FLTL Lenders at all times. To facilitate the implementation of the

Apache Term Sheet and the Apache Definitive Documents pursuant to the Plan as contemplated

in the RSA and the Apache Term Sheet, the Parties agree that subject to the negotiation of mutually

agreeable definitive language, any order of the Bankruptcy Court confirming the Plan (the

“Confirmation Order”) shall provide for the following:

               (i)    FWE shall pay up to $4 million of reasonable and documented fees and

expenses of Apache related to the formation of Fieldwood Energy I LLC (“FWE I”) and FWE’s

restructuring, including the negotiation and preparation of the Apache Definitive Documents

(collectively, the “Apache Fees and Expenses”); provided that amounts paid to Apache on

account of the Apache Fees and Expenses shall not be subject to disgorgement unless the

transactions contemplated in the Apache Definitive Documents fail to close as a result of Apache’s

breach of the RSA.

               (ii)   The Prepetition FLFO Lenders, Prepetition FLTL Lenders, and Prepetition

SLTL Lenders shall release (and/or cause the applicable administrative agent or collateral agent to

release) all liens and encumbrances on, interests in, and claims against the Legacy Apache

Properties (as defined in the Apache Term Sheet) and the other FWE I Assets (as defined in Part




                                                8
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 206
                                                                126 of 531
                                                                       491




A of Schedule I to the Plan of Merger) and the Consenting Creditors shall release the Apache PSA

Parties from any and all causes of action and claims of any kind related to the Legacy Apache

Properties arising prior to the date of the Apache Term Sheet Implementation Agreement.

                (iii)   FWE’s assets to be allocated to, possessed by, assumed by, and vested in

FWE I and Fieldwood Energy III LLC (“FWE III”), respectively, pursuant to the transactions

contemplated by and in accordance with the Plan of Merger (the “Divisive Merger”), including

contracts, leases, oil and gas leases and assets constituting real property interests (including all fee

surface interests in land, surface leases, easements, rights of way, servitudes, licenses, franchises,

road, railroad, and other surface use permits or agreements), shall be (a) free and clear of (i) any

right of consent, notice, and other similar rights, if any, that are applicable to the vesting of the

assets in connection with the Divisive Merger (such rights, the “Consent Rights”) and (ii) all

preferential purchase rights, rights of first refusal, drag-along rights, tag-along rights, and other

similar rights, if any, that are applicable to the vesting of the assets in connection with the Divisive

Merger (such rights, the “Preferential Purchase Rights”), but (b) subject to and burdened by

(x) the liabilities and obligations allocated to and vested in, respectively, FWE I or FWE III, as

specified in the Plan of Merger, pursuant to the Divisive Merger (collectively, “Allocated

Obligations”) and (y) Permitted Post-Closing Liens (as defined in the Schedule of Defined Terms

for Required Confirmation Order Provisions, attached hereto as Exhibit B).

                (iv)    Entities (as defined under section 101(15) of the Bankruptcy Code) or

Parties that fail to timely file an objection are (a) forever barred from objecting to the allocation

and vesting of the assets in connection with the Divisive Merger free and clear of all Consent

Rights and Preferential Purchase Rights, and from asserting any alleged Consent Rights or

Preferential Purchase Rights with respect to the Divisive Merger, and (b) deemed to consent to




                                                   9
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 207
                                                                127 of 531
                                                                       491




and approve the allocation and vesting of the assets free and clear of all Consent Rights and

Preferential Purchase Rights, regardless of whether such consent must be in writing pursuant to

the terms of any agreement.

               (v)     Subject to the Implementation Costs Cap (as defined below), FWE III shall,

and shall cause its debtor affiliates in the above-captioned chapter 11 cases to, on the Effective

Date, provide for the payment of any and all documentary, filing, recording, stamp, and registration

fees, costs, taxes, and expenses (including all reasonable and documented attorneys’ fees and

regulatory consultant fees) incurred or imposed after the Effective Time (as defined in the Plan of

Merger) in connection with the filing of record by or on behalf of FWE I or GOM Shelf LLC of

any instrument or instruments with the appropriate records office of any county, parish, state,

federal, or other governmental unit (including BOEM) that may be required in connection with the

implementation of the Divisive Merger or that either FWE I or GOM Shelf LLC determines in its

respective sole discretion to be necessary or appropriate to reflect in the appropriate records of any

governmental unit that as a result of the Divisive Merger (a) ownership of the FWE I Assets have

been allocated to and are vested in FWE I (and to the extent appropriate to reflect ownership of

the GOM Shelf Properties (as defined in the Plan of Merger) in GOM Shelf LLC), and (b) the

Allocated Obligations have been allocated to and vested in, and constitute liabilities and

obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”). For

the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of FWE I

or GOM Shelf LLC, shall include such costs and expenses required to file or to cause to be filed

of record in the records office, as determined by Apache to be appropriate, of any county, parish,

state, federal, or other governmental unit (including BOEM) of the mortgages, security interests

and similar security documentation as is contemplated by the Standby Loan Agreement and the




                                                 10
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 208
                                                                128 of 531
                                                                       491




Standby Credit Facility Documents to secure the obligations of FWE I and GOM Shelf LLC

thereunder. Any Implementation Costs that exceed the Implementation Costs Cap shall be the sole

responsibility of and paid for by FWE I.

                 (vi)    On the Effective Date, the Decommissioning Agreement shall be assumed

by the Fieldwood PSA Parties. The Apache PSA Parties shall consent to such assumption and,

upon such assumption, waive any claim for cure or compensation relating to any default that may

exist under the Decommissioning Agreement at the time of assumption.

                 (vii)   Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against GOM Shelf LLC and FWE I following the Divisive Merger (which agreement

shall be allocated to FWE I and GOM Shelf LLC under the Divisive Merger), (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Apache PSA Parties shall be deemed Releasing Parties (as defined in the Plan) under the Plan

and waive and release any and all pre-Effective Date claims of any kind (including, without

limitation, the Apache Audit Claims, the Apache Trust A Claims and any claims that could qualify

as administrative expense claims) against the Debtors, their estates and any other Released Party

(as defined in the Plan), in all circumstances only to the extent such claims accrued on or prior to

the Effective Date and only to the extent such releases do not impair the Decommissioning

Security, or Apache’s ability to draw on the Decommissioning Security in any respect. For the

avoidance of doubt, any and all claims the Apache PSA Parties may have against FWE I related

to the Decommissioning Agreement arising post-Effective Date and any security obtained,

provided,   or     pledged   in   connection   with   the   Decommissioning      Agreement     (the

“Decommissioning Security”) will be preserved.




                                                11
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 209
                                                                129 of 531
                                                                       491




               (viii) Except for the rights and remedies to enforce (a) the Decommissioning

Agreement against the Apache PSA Parties following the Divisive Merger, (b) the Plan, (c) the

Confirmation Order, and (d) the obligations contemplated by the Apache Definitive Documents,

the Debtors shall waive and release any and all pre-Effective Date claims of any kind against the

Apache PSA Parties, in all circumstances only to the extent such claims accrued on or prior to the

Effective Date. For the avoidance of doubt, any and all claims FWE I may have against the Apache

PSA Parties related to the Decommissioning Agreement arising post-Effective Date and the

Decommissioning Security will be preserved.

               (ix)    With respect to all bonds and letters of credit constituting Decommissioning

Security, all claims for premiums, fees, reimbursement, indemnification, or any other claims,

fixed, contingent, liquidated, unliquidated, or otherwise against the Debtors held by the companies

issuing the bonds or letters of credit, shall neither be allocated to nor become the obligations of

FWE I under the Plan of Merger. Notwithstanding the foregoing, all rights of the Apache PSA

Parties with respect to such bonds and letters of credit shall be preserved as against such bonding

companies and letter of credit issuers in all respects. The Debtors shall not terminate any bonds

issued on behalf of the Debtors relating to the Legacy Apache Properties under which any federal,

state or local governmental entity is an obligee.

               (x)     With respect to the agreements and memberships relating, in whole or in

part, to well containment/control, clean-up of spills, or other pollution, or the gathering of data

relating to certifications required to be made to a governmental unit with respect to the FWE I

Assets (as defined in the Plan of Merger) or GOM Shelf Oil and Gas Properties (as defined in the

Plan of Merger), to the extent any such agreements or memberships are also needed in respect to

any Credit Bid Acquired Interests or FWE III Assets (as defined in the Plan of Merger) that are set




                                                    12
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 210
                                                                130 of 531
                                                                       491




forth on Exhibit 23 hereto, then on or before the Effective Date, FWE shall obtain new agreements

and membership for such use with respect to the Credit Bid Acquired Interests or FWE III Assets.

With respect to any Excluded Contracts (as defined in the Plan of Merger), FWE shall, on or before

the Effective Date, prepare and negotiate replacement agreements with the counterparties to such

Excluded Contracts upon substantially the same terms as such Excluded Contracts which may be

executed by FWE I immediately following the Effective Date.

               (xi)    The Fieldwood PSA Parties and the Apache PSA Parties may, by mutual

agreement, amend and modify, without the consent of the Consenting Creditors, the forms of the

agreements governing the terms of employment of the Independent Director (as defined in the

Apache Term Sheet) of FWE I and of the “sole manager” (as that term is used in the Apache Term

Sheet) of FWE I (the “Sole Manager”), and the form of the agreement with the “service provider”

(as that term is used in the Apache Term Sheet) of FWE I (the “Contract Services Provider”) to

be included in the bid package for the Contract Services Provider (collectively, such forms of

agreement comprise the “Fieldwood I Administrative Documents”).

               (xii)   The Bankruptcy Court (i) approves the Apache Definitive Documents and

all transactions contemplated by the Apache Term Sheet Implementation Agreement, including

the Plan of Merger and Standby Credit Facility Documents, and all actions to be taken,

undertakings to be made, and obligations to be incurred by FWE I contemplated thereby; and

(ii) following the consummation of the Plan of Merger, authorizes FWE I, without further notice

to or action, order, or approval of this Bankruptcy Court and without the need for any further

corporate or shareholder action, to enter into, deliver, and fully perform its obligations under the

Apache Definitive Documents, including without limitation, the Standby Credit Facility

Documents. Upon entry of the Confirmation Order, FWE I or the Sole Manager, as applicable,




                                                13
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 211
                                                                131 of 531
                                                                       491




shall be authorized and empowered, without further approval of the Bankruptcy Court or any other

party, to take such actions and perform such acts as may be necessary, convenient, desirable, or

appropriate to execute and deliver the Apache Definitive Documents in accordance with the Plan

and to execute and deliver all documents relating thereto and to perform all of their obligations

thereunder. On the Effective Date, the Apache Definitive Documents shall constitute legal, valid,

binding, and authorized obligations of FWE I, enforceable in accordance with their terms, and

such obligations of FWE I shall not be enjoined or subject to discharge, impairment, release,

avoidance, recharacterization, or subordination by FWE I or the Post-Effective Date Debtors (as

defined in the Plan) under applicable law, the Plan, or the Confirmation Order. On the Effective

Date, all liens granted pursuant to, or in connection with, the Apache Definitive Documents shall

be deemed granted by FWE I and/or GOM Shelf LLC, in each case, pursuant to the Apache

Definitive Documents. On the Effective Date, all liens granted pursuant to, or in connection with

Apache Definitive Documents, as applicable, (i) shall be valid, binding, perfected, enforceable

liens and security interests in the property described in the applicable Apache Definitive

Documents granted by FWE I and/or GOM Shelf LLC pursuant to the Apache Definitive

Documents, as applicable, with the priorities established in respect thereof under applicable non-

bankruptcy law and the Apache Definitive Documents, including, but not limited to, the

Mortgages, Security Agreement or Standby Loan Agreement and (ii) shall not be enjoined or

subject to discharge, impairment, release, avoidance, recharacterization, or subordination by

FWE I and/or GOM Shelf LLC under applicable law, the Plan, or the Confirmation Order. For

the avoidance of doubt, the liens granted to Apache pursuant to the Recharacterization Mortgages

(as such term is defined in the Decommissioning Agreement, as amended from time to time, and

as supplemented by the Recharacterization Mortgages) upon any recharacterization of the Trust A




                                               14
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 212
                                                                132 of 531
                                                                       491




or Trust A-1 NPIs (as such terms are defined in the Decommissioning Agreement, as amended

from time to time, and as supplemented by the Recharacterization Mortgages) shall be senior in

all respects to any other liens.

                5.      Implementation Costs Cap. No later than twenty-one (21) days after the

effective date of this Agreement (as such date may be extended upon mutual written consent by

the Parties including via email), the Parties shall mutually agree in good faith on the estimated

amount of Implementation Costs to be funded by the Debtors (such amount, the “Implementation

Costs Cap”).      In the event the Parties are unable to reach a mutual agreement as to the

Implementation Costs Cap, the determination shall be submitted to and determined by the law firm

of Geiger Laborde & Laperouse, LLC (the “Referee”). If the Referee shall be responsible for

determining the Implementation Costs Cap, each Party will be required to submit its respective

estimate regarding the Implementation Costs Cap to the Referee. The Referee will then conduct

its own investigation and issue its decision regarding the Implementation Costs Cap, where such

amount shall not be (i) higher than the highest estimate submitted by a Party, or (ii) lower than the

lowest estimate submitted by a Party. The Referee’s decision shall be considered final and binding.

Moreover, the Parties will each pay half of the total costs relating to the Referee’s determination

of the Implementation Costs Cap. The Apache PSA Parties’ portion of such costs shall not be

considered Apache Fees and Expenses.

                6.      Fieldwood I Administrative Documents. The documents below comprise

the Fieldwood I Administrative Documents:

                (i)     Sole Manager Agreement. Annexed hereto as Exhibit 19.

                (ii)    Independent Director Agreement. Annexed hereto as Exhibit 20.




                                                 15
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 213
                                                                133 of 531
                                                                       491




               (iii)   Form of Contract Services Agreement, to be included in the bid package for

the Contract Services Provider. Annexed hereto as Exhibit 21.

               (a)     Any waivers, amendments, or modifications made to the Fieldwood I

Administrative Documents or any provisions contained therein shall be made by mutual agreement

between the Fieldwood PSA Parties and the Apache PSA Parties without the consent of the

Consenting Lenders.

               7.      Termination of Agreement and Tolling of General Bar Date.

               (a)     This Agreement shall terminate upon the earlier to occur of (i) the

termination of the RSA and (ii) the termination of Apache as a party to the RSA. Upon termination

of this Agreement, each Party shall be immediately released from its obligations, commitments,

undertakings and agreements under or related to this Agreement; provided that in no event shall

any such termination relieve a Party from liability for its breach or non-performance of its

obligations hereunder prior to the date of such termination.

               (b)     Notwithstanding the General Bar Date, the Parties agree that Apache shall

not file a proof of claim against the Debtors on account of the Apache Claims until after the earliest

to occur of the following (the date of the earliest to occur of the following, the “Apache POC

Filing Date”): (i) the date that this Agreement is terminated, (ii) the date that FWE, without

Apache’s express, written consent, files a plan of reorganization materially inconsistent with the

RSA, the Apache Term Sheet, or the Apache Definitive Documents, (iii) the date that FWE’s

chapter 11 case is converted to a case under chapter 7, and (iv) January 15, 2021 if the RSA has

not been amended to modify or remove the requirement that Apache timely vote its Claims and

Interests to accept the Plan contemplated by the RSA. Following the occurrence of the Apache

POC Initial Filing Date, at any time within the period of thirty (30) days after the Apache POC




                                                 16
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 214
                                                                134 of 531
                                                                       491




Initial Filing Date, Apache shall have the right to file a proof of claim or proofs of claim against

the Debtors on account of the Apache Claims. The terms of this paragraph 7(b) shall survive the

termination of this Agreement.

                 8.       363 Credit Bid Transaction. In the event the credit bid sale transaction to

Credit Bid Purchaser (or another special purpose bidding entity formed by or at the direction of

the Prepetition FLTL Lenders) is pursued pursuant to section 363 of the Bankruptcy Code as

contemplated in the Plan (the “363 Credit Bid Transaction”), the Apache PSA Parties agree,

consistent with their obligations under the RSA, to support and take reasonable actions to facilitate

the 363 Credit Bid Transaction, and cooperate in good faith with Debtors, the Required DIP

Lenders and Requisite FLTL Lenders to facilitate the 363 Credit Bid Transaction, including,

without limitation, by making any amendments to the Apache Definitive Documents; provided

that no such actions shall require the Apache PSA Parties to alter the economics of the Apache

Definitive Documents without the Apache PSA Parties’ express written consent.

                 9.       Credit Bid Purchase Agreement Terms. 2

                 (a)      The terms of the Credit Bid Purchase Agreement (or an alternative purchase

and sale agreement conveying the Credit Bid Acquired Interests to a buyer) that relate to (i) the

scope of Credit Bid Assumed Liabilities (including payables with respect to the Legacy Apache




2
  The Consenting Creditors agreed under the Apache Term Sheet that “any outstanding accounts receivable and
accounts payable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization shall be retained by [Credit Bid Purchaser].” However, for the avoidance of doubt, any language in
Paragraph 9 or Exhibit 22 of this Agreement that differs from, supplements, modifies or is otherwise inconsistent
with the foregoing language in the Apache Term Sheet (including, without limitation, any language that relates to
items that are not accounts payable associated with the Legacy Apache Properties as of the effective date of
Fieldwood’s plan of reorganization being retained by Credit Bid Purchaser or any language that relates to items that
are accounts receivable associated with the Legacy Apache Properties as of the effective date of Fieldwood’s plan of
reorganization not being retained by Credit Bid Purchaser) has not been agreed to by the Consenting Creditors, and
the Consenting Creditors reserve all rights with respect to any such difference, supplement, modification or
inconsistency.




                                                        17
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 215
                                                                135 of 531
                                                                       491




Properties and the Retained Properties) to be assumed by the buyer thereunder and any indemnities

with respect thereto and (ii) the scope of receivables with respect to the Legacy Apache Properties

to be assigned to the buyer and the obligations that may be imposed on FWE I with respect to the

collection of such receivables ((i) and (ii), collectively, the “Specified Credit Bid Terms”) shall

be in form and substance acceptable to Apache and the Debtors.

               (b)    The Parties agree that the terms as set forth on Exhibit 22 that relate to the

Specified Credit Bid Terms are acceptable to Apache and the Debtors to address the Specified

Credit Bid Terms in the Credit Bid Purchase Agreement (or an alternative purchase and sale

agreement conveying the Credit Bid Acquired Interests to a buyer), and any terms contained in the

Credit Bid Purchase Agreement (or an alternative purchase and sale agreement conveying the

Credit Bid Acquired Interests to a buyer) that relate to the Specified Credit Bid Terms, other than

as set forth on Exhibit 22, must be in form and substance acceptable to Apache and the Debtors.

               10.    Transfer of Retained Properties.         Notwithstanding anything to the

contrary herein, any Retained Properties transferred to Credit Bid Purchaser (or another special

purpose bidding entity formed by or at the direction of the Prepetition FLTL Lenders) in a credit

bid sale transaction shall be conveyed in accordance with the Decommissioning Agreement. Any

amounts payable to Trust A on account of such transfer shall be the obligation of FWE I. Apache

agrees to work with FWE and the Trust A trustee to obtain the required releases from Trust A and

conveyances of such interest to Credit Bid Purchaser in connection with this transfer.

               11.    Effectiveness; Counterparts. This Agreement shall become effective and

binding upon each Party upon the execution and delivery by such Party of an executed signature

page hereto and shall become effective and binding on all Parties on the date when all Parties have

executed and delivered a signature page hereto. This Agreement may be executed in several




                                                18
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 216
                                                                136 of 531
                                                                       491




counterparts, each of which shall be deemed to be an original, and all of which together shall be

deemed to be one and the same agreement. Execution copies of this Agreement may be delivered

by electronic mail, or otherwise, which shall be deemed to be an original for the purposes of this

paragraph.

               12.     Governing Law; Jurisdiction; Waiver of Jury Trial. To the maximum

extent permitted by applicable law, this Agreement is governed by and is to be construed in

accordance with the internal laws of the State of Texas, without giving effect to any principles of

conflicts of law thereunder that would result in the application of the laws of any other jurisdiction.

Each Party irrevocably agrees that any legal action, suit, or proceeding arising out of or relating to

this Agreement brought by any party or its successors or assigns shall be brought and determined

in the Bankruptcy Court and each Party hereby irrevocably submits to the exclusive jurisdiction of

the Bankruptcy Court, and if the Bankruptcy Court does not have (or abstains from) jurisdiction,

Courts of the State of Texas and of the United States District Court of the Southern District of

Texas, and any appellate court from any thereof, for itself and with respect to its property, generally

and unconditionally, with regard to any such proceeding arising out of or relating to this

Agreement. Each Party further agrees that notice as provided herein shall constitute sufficient

service of process and the Parties further waive any argument that such service is insufficient.

Each Party hereby irrevocably and unconditionally waives, and agrees not to assert, by way of

motion or as a defense, counterclaim or otherwise, in any proceeding arising out of or relating to

this Agreement, (a) any claim that it is not personally subject to the jurisdiction of the Bankruptcy

Court as described herein for any reason, (b) that it or its property is exempt or immune from

jurisdiction of such court or from any legal process commenced in such court (whether through

service of notice, attachment prior to judgment, attachment in aid of execution of judgment,




                                                  19
    Case 20-33948 Document 775-2
                           723-1 Filed in TXSB on 01/21/21
                                                  01/01/21 Page 217
                                                                137 of 531
                                                                       491




execution of judgment, or otherwise) and (c) that (1) the proceeding in such court is brought in an

inconvenient forum, (2) the venue of such proceeding is improper, or (3) this Agreement, or the

subject matter hereof, may not be enforced in or by such court. EACH OF THE PARTIES

HERETO HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED

BY APPLICABLE LAW, ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY ACTION OR

PROCEEDING ARISING OUT OF RELATING TO THIS AGREEMENT. EACH PARTY

CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER

PARTY HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER

PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE

FOREGOING WAIVER.

               13.     Notices. All notices hereunder shall be deemed given if in writing and

delivered, if contemporaneously sent by electronic mail, courier or by registered or certified mail

(return receipt requested) to the following addresses:

                (1)    If to the Fieldwood PSA Parties, to:

                Fieldwood Energy LLC
                2000 W. Sam Houston Parkway S., Suite 1200
                Houston, Texas 77042
                Attention: Thomas R. Lamme

                With a copy to:

                Weil, Gotshal & Manges LLP
                767 Fifth Avenue
                New York, NY 10153
                Attention: Matt Barr, Esq. (matt.barr@weil.com)
                           Alfredo Peréz, Esq. (alfredo.perez@weil.com)
                           Jessica Liou, Esq. (jessica.liou@weil.com)




                                                20
   Case 20-33948 Document 775-2
                          723-1 Filed in TXSB on 01/21/21
                                                 01/01/21 Page 218
                                                               138 of 531
                                                                      491




              (2)     If to the Apache PSA Parties, to:

              Apache Corporation
              2000 Post Oak Boulevard, Suite 100
              Houston, Texas 77056-4400
              Attention: Anthony Lannie and Brett Cupit

              With a copy to:

              Hunton Andrews Kurth LLP
              600 Travis Street
              Suite 4200
              Houston, Texas 77002
              Attention: Robin Russell, Esq. (RRussell@andrewskurth.com)
                         Catherine Diktaban, Esq. (CDiktaban@hunton.com)

              14.    Amendments. Neither this Agreement nor any provision hereof may be

waived, amended, or modified except pursuant to an agreement or agreements in writing entered

into by the Fieldwood PSA Parties and the Apache PSA Parties.

                                 [Signature Pages to Follow]




                                              21
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 219
                                                            139 of 531
                                                                   491
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 220
                                                            140 of 531
                                                                   491
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 221
                                                            141 of 531
                                                                   491
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 222
                                                            142 of 531
                                                                   491




                                    Exhibit A

                          The “Apache Term Sheet”




               [Exhibit to Apache Term Sheet Implementation Agreement]
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
                         29 Filed
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page127
                                                                143ofof206
                                                                223     491
                                                                        531
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 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page128
                                                                144ofof206
                                                                224     491
                                                                        531
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 Case20-33948
      20-33948 Document
                Document775-2
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page129
                                                                145ofof206
                                                                225     491
                                                                        531
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 Case20-33948
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                Document775-2
                        723-1
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page130
                                                                146ofof206
                                                                226     491
                                                                        531
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 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page131
                                                                147ofof206
                                                                227     491
                                                                        531
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 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page132
                                                                148ofof206
                                                                228     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
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                              FiledininTXSB
                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page133
                                                                149ofof206
                                                                229     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
                         29 Filed
                              FiledininTXSB
                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page134
                                                                150ofof206
                                                                230     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
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                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page135
                                                                151ofof206
                                                                231     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
                         29 Filed
                              FiledininTXSB
                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page136
                                                                152ofof206
                                                                232     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
                         29 Filed
                              FiledininTXSB
                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page137
                                                                153ofof206
                                                                233     491
                                                                        531
Case
 Case20-33948
      20-33948 Document
                Document775-2
                        723-1
                         29 Filed
                              FiledininTXSB
                                        TXSBonon08/04/20
                                                 01/01/21 Page
                                                 01/21/21  Page138
                                                                154ofof206
                                                                234     491
                                                                        531
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 235
                                                            155 of 531
                                                                   491




                                     Exhibit 1

                    Certificate of Conversion (DE) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 236
                                                            156 of 531
                                                                   491




                    STATE OF DELAWARE
               CERTIFICATE OF CONVERSION
       FROM A DELAWARE LIMITED LIABILITY COMPANY
                TO A NON-DELAWARE ENTITY
              PURSUANT TO SECTION 18-216 OF
           THE LIMITED LIABILITY COMPANY ACT


1.) The name of the Limited Liability Company is ____________________________
  Fieldwood Energy LLC
  ________________________________________________________________.

   (If changed, the name under which it’s certificate of formation was originally
   filed: _______________________________________________________________)

2.) The date of filing of its original certificate of formation with the Secretary of
         11/5/2012
State is _______________________________________________________________.

3.) The jurisdiction in which the business form, to which the limited liability company
                                                       Texas
shall be converted, is organized, formed or created is ___________________________.

4.) The conversion has been approved in accordance with this section;

5.) The limited liability company may be served with process in the State of Delaware in
any action, suit or proceeding for enforcement of any obligation of the limited liability
company arising while it was a limited liability company of the State of Delaware, and
that it irrevocably appoints the Secretary of State as its agent to accept service of process
in any such action, suit or proceeding.

6.) The address to which a copy of the process shall be mailed to by the Secretary of State
is
    CAPITOL CORPORATE SERVICES, INC.
    206 E. 9TH STREET, SUITE 1300 AUSTIN, TX 78701



In Witness Whereof, the undersigned have executed this Certificate of Conversion on this
________ day of ________________, A.D. ______________.


                                                         By: _________________________
                                                                Authorized Person

                                                     Name: _________________________
                                                                Print or Type
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 237
                                                            157 of 531
                                                                   491




                                     Exhibit 2

                    Certificate of Conversion (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 238
                                                                 158 of 531
                                                                        491




                                         STATE OF TEXAS
                                   CERTIFICATE OF CONVERSION
                                              OF A
                              DELAWARE LIMITED LIABILITY COMPANY
                                              TO A
                                TEXAS LIMITED LIABILITY COMPANY

               This Certificate of Conversion (this “Certificate”), dated as of [•], 2021, has been
duly executed and is being filed by Fieldwood Energy LLC, a Delaware limited liability
company, to convert to Fieldwood Energy LLC, a Texas limited liability company under Section
10.102 of the Texas Business Organizations Code (the “TBOC”).

          1.        The name of the converting entity is Fieldwood Energy LLC, a Delaware limited
                    liability company (the “Converting Entity”).

          2.        The jurisdiction of formation of the Converting Entity is the State of Delaware
                    and the date of formation of the Converting Entity is November 5, 2012.

          3.        The Converting Entity is converting from a limited liability company formed
                    under the laws of the State of Delaware to a Texas limited liability company
                    formed under the laws of the State of Texas. The name of the Texas limited
                    liability company is “Fieldwood Energy LLC” (the “Company”).

          4.        The file number issued to the Converting Entity by the Secretary of State is
                    0801715506.

          5.        The plan of conversion (the “Plan”) as required under Section 10.103 of the
                    TBOC is attached hereto as Exhibit A.

          6.        The Certificate of Formation of the Company is attached to the Certificate of
                    Conversion as Exhibit A to the Plan.

          7.        The Plan has been approved as required by the laws of the jurisdiction of
                    formation and the governing documents of the Converting Entity.

          8.        The Company will be responsible for the payment of any required franchise taxes
                    of the Converting Entity.

          9.        This document shall become effective upon its acceptance and filing by the
                    Secretary of State of the State of Texas.




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   Case 20-33948 Document 775-2
                          723-1 Filed in TXSB on 01/21/21
                                                 01/01/21 Page 239
                                                               159 of 531
                                                                      491




                IN WITNESS WHEREOF, the undersigned has executed this Certificate as of the
date first above written.

                                         FIELDWOOD ENERGY LLC


                                         By:
                                               Name: [•]
                                               Title: [•]




      [SIGNATURE PAGE TO CERTIFICATE OF CONVERSION OF FIELDWOOD ENERGY LLC]
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 240
                                                            160 of 531
                                                                   491




                               Exhibit A

                           Plan of Conversion


                              See attached.
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 241
                                                            161 of 531
                                                                   491




                                     Exhibit 3

                       Plan of Conversion (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 242
                                                                 162 of 531
                                                                        491




                                    PLAN OF CONVERSION
                                                OF
                                     Fieldwood Energy LLC
                              (a Delaware limited liability company)
                                              INTO
                                     Fieldwood Energy LLC
                                (a Texas limited liability company)

                                       Adopted on [•], 2021

      Pursuant to the provisions of Section 18-216 of the Delaware Limited Liability Company
Act and Section 10.103 of the Texas Business Organizations Code, Fieldwood Energy LLC, a
Delaware limited liability company (“Fieldwood”), hereby adopts the following Plan of
Conversion:

       1. The name of the converting entity is “Fieldwood Energy LLC”, a Delaware
limited liability company, and the name of the converted entity is “Fieldwood Energy LLC”, a
Texas limited liability company (the “Company”).

      2. Fieldwood is continuing its existence in the organizational form of a Texas
limited liability company.

         3. The Company is to be a limited liability company under the laws of the State of
Texas.

       4. 100% of the membership interests of Fieldwood outstanding immediately prior to
the conversion shall by virtue of the conversion and without any action on the part of the holders
thereof, automatically be converted into 100% of the issued and outstanding membership
interests of the Company.

       5. The conversion shall become effective upon (a) the filing and acceptance of a
Certificate of Conversion with the Secretary of State of the State of Texas and (b) the filing and
acceptance of a Certificate of Conversion with the Secretary of State of the State of Delaware.

     6. The Company will be responsible for the payment of all fees and franchise taxes
and will be obligated to pay such fees and taxes if they are not timely paid.

     7. Attached as Exhibit A to this Plan of Conversion is the Texas Certificate of
Formation of the Company.

     8. The Plan of Conversion has been approved as required by the laws of the
Corporation’s jurisdiction of formation and governing document.

                                [SIGNATURE PAGE FOLLOWS]



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   Case 20-33948 Document 775-2
                          723-1 Filed in TXSB on 01/21/21
                                                 01/01/21 Page 243
                                                               163 of 531
                                                                      491




        IN WITNESS WHEREOF, the undersigned has executed this Plan of Conversion as of
the date first written above.

                                                   FIELDWOOD ENERGY LLC


                                                   By:
                                                   Name:        [•]
                                                   Title:       [•]




                             Signature Page to Plan of Conversion
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 244
                                                            164 of 531
                                                                   491




                             EXHIBIT A

                    CERTIFICATE OF FORMATION



                             See attached.
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 245
                                                            165 of 531
                                                                   491




                                     Exhibit 4

                    Certificate of Formation (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 246
                                                                                         166 of 531
                                                                                                491

                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 – Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELDWOOD ENERGY LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                          Article 2 – Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                         A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                 CAPITOL CORPORATE SERVICES, INC.
                  OR
                         B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E. 9TH STREET, SUITE 1300                                  AUSTIN                                         TX        78701
                  Street Address                                                City                                           State         Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                     A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                     B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION

                         FIELDWOOD ENERGY INC.
                     Organization Name
                  ADDRESS
                  2000 W. SAM HOUSTON PKWY S., SUITE 1200                              HOUSTON                              TX         USA       77042-3623
                  Street or Mailing Address                                            City                                State    Country      Zip Code

                Form 205                                                                      4

TX060BOC - 11/27/2013 Wolters Kluwer Online
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 247
                                                                                         167 of 531
                                                                                                491

                  GOVERNING PERSON 2
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                        M.I.            Last Name                       Suffix
                          OR
                          IF ORGANIZATION



                     Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 – Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is formed under a plan of conversion. The name of the converting entity is Fieldwood Energy LLC. The address
                 of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042. The converting entity was
                 formed on 11/5/2012 under the laws of the State of Delaware, USA. The converting entity was previously a Delaware
                 limited liability company. The converting entity is registered as a foreign entity under the Texas Secretary of State file
                 number 0801715506.




                Form 205                                                                   5

TX060BOC - 11/27/2013 Wolters Kluwer Online
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 248
                                                                                         168 of 531
                                                                                                491

                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                            State    Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C.     This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of conversion of Fieldwood Energy LLC with the Secretary of State of Texas .




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                Form 205                                                       6

TX060BOC - 11/27/2013 Wolters Kluwer Online
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 249
                                                            169 of 531
                                                                   491




                                     Exhibit 5

                Agreement and Plan of Merger (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 250
                                                                 170 of 531
                                                                        491




                               AGREEMENT AND PLAN OF MERGER
                                              OF
                                    FIELDWOOD ENERGY LLC
                                            INTO
                                   FIELDWOOD ENERGY I LLC
                                             AND
                                  FIELDWOOD ENERGY III LLC


      This AGREEMENT AND PLAN OF MERGER, dated as of [●], 2021 (this “Plan of
Merger”), is adopted by Fieldwood Energy LLC, a Texas limited liability company (“FWE”).

        WHEREAS, commencing August 3, 2020, FWE and certain other affiliates of FWE (each,
a “Debtor” and collectively, the “Debtors”) filed voluntary petitions with the United States
Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”) initiating their
respective cases pending under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) styled In re Fieldwood Energy LLC, et al., jointly administered under Case No. 20-33948
(MI) (each case of a Debtor, a “Case” and collectively, the “Chapter 11 Cases”);

        WHEREAS, in connection with the Chapter 11 Cases, the Debtors filed the [Joint Chapter
11 Plan of Fieldwood Energy LLC and Its Affiliated Debtors at Docket No. [●]] (as may be
amended, restated, amended and restated, supplemented, or otherwise modified from time to time,
the “Plan of Reorganization”), which was confirmed by order of the Bankruptcy Court entered on
[●], 2021 at Docket No. [●] (as may be amended, modified, and supplemented, the “Confirmation
Order”);

        [WHEREAS, in accordance with the Plan of Reorganization and Confirmation Order,
pursuant to the Credit Bid Purchase Agreement certain assets and properties of the Debtors
(defined in the Plan of Reorganization as the “Credit Bid Acquired Interests”) were sold and
conveyed to, and certain liabilities and obligations of Debtors (defined in the Plan of
Reorganization as the “Credit Bid Assumed Liabilities”) were assumed by, FWE II prior to the
Effective Time (the “Credit Bid Transaction”);]

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE converted from a Delaware limited liability company to a Texas limited liability
company on [●], 2021;

       WHEREAS, pursuant to the Plan of Reorganization, and as authorized by the Confirmation
Order, FWE is to effect a divisional merger as set forth in this Plan of Merger (the “Merger”),
pursuant to which, among other things:

    a) FWE shall maintain its separate existence and continue as a surviving entity under the name
       “Fieldwood Energy III LLC” (as such entity exists from and after the Effective Time,
       “FWE III”);

    b) a new Texas limited liability company shall be formed under the name “Fieldwood Energy
       I LLC” (“FWE I”);



WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 251
                                                                 171 of 531
                                                                        491




    c) all of the FWE I Assets (as defined below) shall be allocated to, possessed by, and vested
       in FWE I, and all of the FWE I Obligations (as defined below) shall be allocated to and
       shall vest in, and shall constitute liabilities and obligations of, FWE I;

    d) all of the assets of FWE (other than the FWE I Assets and the Credit Bid Acquired Assets)
       shall be allocated to, possessed by, and vested in FWE III; and

    e) all of the liabilities and obligations of FWE (other than the FWE I Obligations and the
       Credit Bid Assumed Liabilities) shall be allocated to and shall vest in, and shall constitute
       liabilities and obligations of, FWE III; and

        WHEREAS, this Plan of Merger has been authorized by the Confirmation Order, which
provides such approval of the transactions contemplated hereby as required for purposes of
Sections 10.001, 10.002, and 10.302 of the Texas Business Organizations Code (the “TBOC”),
and, in accordance with Section 10.008 of TBOC, the Merger shall be consummated without any
transfer or assignment having occurred.

       NOW, THEREFORE, in consideration of the premises and the mutual covenants and
agreements herein contained, and for the purpose of prescribing the terms and conditions of the
Merger, the mode of carrying it into effect, the manner and basis of allocating ownership interests
of each of the resulting entities and such other details and provisions of the Merger as are deemed
necessary or desirable, FWE has agreed and covenanted, and does hereby agree and covenant, as
follows:

        1.       Subject to the provisions of this Plan of Merger, FWE shall cause the Merger to be
consummated by filing a certificate of merger with the Secretary of State of the State of Texas in
such form as is required by, and executed in accordance with, the relevant provisions of the TBOC,
in substantially the form attached as Exhibit A (the “Certificate of Merger”), together with a
certificate of formation of FWE I in substantially the form attached as Exhibit B. The Certificate
of Merger shall provide that the Merger shall be effective on the date the Certificate of Merger is
accepted and filed with the Secretary of State of the State of Texas (the “Effective Time”).

         2.        At the Effective Time:

                (a)    FWE shall be divisionally merged in accordance with the TBOC with
(i) FWE I being formed as a Texas limited liability company separate from FWE III and continuing
as a surviving business entity of the Merger as to the FWE I Assets and the FWE I Obligations in
accordance with the TBOC under the name “Fieldwood Energy I LLC” and (ii) FWE continuing
as a surviving business entity of the Merger as to all assets and liabilities of FWE (other than the
FWE I Assets, the FWE I Obligations, the Credit Bid Acquired Assets, and the Credit Bid Assumed
Liabilities) in accordance with the TBOC under the name “Fieldwood Energy III LLC.” The
Merger will have the effect set forth below and in Section 10.008 of the TBOC.

              (b)    There shall be no change (through conversion, exchange, or otherwise) to
the membership interests of FWE, which membership interest in FWE III will continue to be
owned by Fieldwood Energy Inc. as of immediately following the Effective Time.




                                                 2
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 252
                                                                 172 of 531
                                                                        491




               (c)   All of the membership interests of FWE I shall be owned by Fieldwood
Energy Inc. as of immediately following the Effective Time

               (d)    All of the rights, assets, and properties of FWE described in Part A of
Schedule I attached hereto (the “FWE I Assets”) shall be allocated to, possessed by, and vested in
FWE I without reversion or impairment, without further act or deed, and without transfer or
assignment having occurred.

                (e)      All of the liabilities and obligations of FWE described in Part B of Schedule
I attached hereto (the “FWE I Obligations”) shall be allocated to and shall vest in, and shall
constitute liabilities and obligations of, FWE I. For the avoidance of doubt, the FWE I Obligations
exclude all Credit Bid Assumed Liabilities (including all Closing Date Payables and all FWE II
Retained Properties Payables).

                 (f)     All of the rights, assets, and properties of FWE other than the FWE I Assets
and the Credit Bid Acquired Assets (collectively, the “FWE III Assets”), including (i) those rights,
assets, and properties of FWE described in Part A of Schedule II attached hereto (collectively, the
“Wind Down Assets”) and (ii) those rights, assets, and properties described in Part A of Schedule
III (collectively, the “Predecessor Assets”), shall be allocated to, possessed by, and vested in FWE
III without reversion or impairment, without further act or deed, and without transfer or assignment
having occurred.

                (g)      All of the liabilities and obligations of FWE other than the FWE I
Obligations and the Credit Bid Assumed Liabilities (collectively, the “FWE III Obligations”),
including (i) all liabilities and obligations to the extent relating to the Wind Down Assets and all
liabilities and obligations described in Part B of Schedule II attached hereto (collectively, the
“Wind Down Obligations”), (ii) all of the liabilities and obligations of FWE retained by FWE upon
consummation of the Credit Bid Transaction, as well as (except as provided in Section 3(b)(i))
obligations of FWE under the Credit Bid Purchase Agreement, and (iii) all liabilities and
obligations relating to the Predecessor Assets and all liabilities and obligations described in Part
B of Schedule III attached hereto (collectively, the “Predecessor Obligations”), shall be allocated
to and shall vest in, and shall constitute liabilities and obligations of, FWE III.

         3.        Post-Merger Covenants.

                (a)     Each of FWE I and FWE III shall, at any time and from time to time from
and after the Effective Time as and when requested by FWE I or FWE III, or by their respective
successors or assigns, execute and deliver, or cause to be executed and delivered in its name by its
authorized officers, all such conveyances, transfers, deeds, or other instruments as FWE I or FWE
III, as applicable, or such successors or assigns, may reasonably deem necessary in order to
evidence (i) the allocation to and vesting in FWE I of the FWE I Assets, and the allocation to and
vesting in FWE I of, and the liability and obligation of FWE I for, the FWE I Obligations as a
result of the Merger and (ii) the allocation to and vesting in FWE III of the FWE III Assets, and
the allocation to and vesting in FWE III of, and the liability and obligation of FWE III for, the
FWE III Obligations as a result of the Merger. Without limiting the foregoing, FWE III shall take
such actions as necessary to effect a transfer from [insert applicable bank account] to an account




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WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 253
                                                                 173 of 531
                                                                        491




designated in writing by FWE I of (i) the FWE I Cash Amount, (ii) the FWE I Suspense Funds,
and (iii) the Prepaid JIB Cash Amount.

                 (b)    From and after the Effective Time (i) FWE I shall, and shall cause the FWE
I Subsidiaries controlled by FWE I to, perform the obligations of FWE under Section [●]1 of the
Credit Bid Purchase Agreement with respect to Closing Accounts Receivable to the extent
attributable to FWE I Assets or any assets held by such FWE I Subsidiaries as of the Effective
Time (provided FWE I shall have no obligation to incur any cost or expense in performing such
obligations) and (ii) FWE III shall, and shall cause its subsidiaries to, perform the obligations of
FWE under Section [●] of the Credit Bid Purchase Agreement with respect to Closing Accounts
Receivable to the extent attributable to FWE III Assets or any assets held by subsidiaries of FWE
III as of the Effective Time.

        4.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE I shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE I Assets, and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE I Obligations, and FWE I shall have no rights or obligations relating to any of
the FWE III Assets or the FWE III Obligations, except as may be expressly set forth in Section 6
or a separate agreement, which is entered into at or after the Effective Time, between FWE I and
FWE III with respect to such other Assets or Obligations; and FWE I shall not be deemed to be a
predecessor in interest to any of the FWE III Assets or the FWE III Obligations.

        5.      As a result of the consummation of the Merger in accordance with this Plan of
Merger, FWE III shall only be allocated, shall only possess, and shall only be vested in and receive
the FWE III Assets and shall only be allocated and vested in, shall only possess, and shall only be
subject to the FWE III Obligations, and FWE III shall have no rights or obligations relating to any
of the FWE I Assets or the FWE I Obligations, except as may be expressly set forth in Section 6
or in a separate agreement, which is entered into at or after the Effective Time, between FWE III
and FWE I with respect to such other Assets or Obligations; and FWE III shall not be deemed to
be a predecessor in interest to any of the FWE I Assets or the FWE I Obligations.

        6.     If immediately prior to the Effective Time, FWE owned an interest or right in assets
(other than Predecessor Oil and Gas Properties or Wind Down Oil and Gas Properties) which FWE
did not acquire under or pursuant to the Apache PSA and which2, immediately prior to the
Effective Time, was used in connection with or held for use in connection both with (a) FWE I Oil
and Gas Properties or FWE I Rights of Way, on the one hand, and any of (b)(i) Wind Down Oil
and Gas Properties or Wind Down Rights of Way or (ii) Predecessor Oil and Gas Properties or
Predecessor Rights of Way, on the other hand (individually, a “Fieldwood Joint Use Property”
and, collectively, the “Fieldwood Joint Use Properties”), then FWE I shall own such Fieldwood
Joint Use Property as an FWE I Asset and such Fieldwood Joint Use Property shall not be a Wind

1
 Note to Draft: This is to reference the provision of the Credit Bid Purchase Agreement providing for collection of
Closing Accounts Receivable post sale to FWE II.
2
  Note to Draft: FWE confirming there are no Legacy Apache Assets that are also used for any other interests/assets.
To the extent any Legacy Apache Assets are also used for any other interests/assets, such assets will be identified and
will either be added to the assets governed by Section 6 or FWE I and FWE III will enter into a letter agreement
regarding the joint use of such assets consistent with Section 6 or as otherwise agreed to by FWE I and FWE III.



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WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 254
                                                                 174 of 531
                                                                        491




Down Asset or a FWE III Asset or owned by FWE III; provided, however, that FWE III shall have,
and FWE I shall provide FWE III with, access, use, and economic benefit with respect to such
Fieldwood Joint Use Property to the extent, and only to the extent, such Fieldwood Joint Use
Property was used or held for use in connection with the applicable Wind Down Oil and Gas
Properties, Wind Down Rights of Way, Predecessor Oil and Gas Properties, or Predecessor Rights
of Way immediately prior to the Effective Time; provided, further, that any obligation or liability
incurred by FWE I to the extent arising from, related to, or connected with such access, use, or
economic benefit by or on behalf of FWE III, (1) shall not constitute an FWE I Obligation, (2)
shall be FWE III Obligations and the obligations and liabilities of FWE III, and (3) FWE III shall
indemnify and hold harmless FWE I and the FWE Subsidiaries from and against all such
obligations and liabilities allocated to FWE III pursuant to this Section 6.

        7.       Certain Definitions. As used herein and in the Schedules and Exhibits attached
hereto, (i) the terms set forth below have the meanings ascribed to such terms below and (ii) the
terms defined in the Schedules and Exhibits attached hereto have the meanings ascribed to such
terms in such Schedules and Exhibits.

                   (a)         “Apache” means Apache Corporation, a Delaware corporation.

               (b)    “Apache PSA” means that certain Purchase and Sale Agreement, dated as
of July 18, 2013, by and among Apache, Apache Deepwater LLC, Apache Shelf, Inc., Apache
Shelf Exploration LLC, GOM Shelf, and FWE, as amended from time to time, and the transaction
documents executed in connection therewith.

              (c)     “Asset” means any individual asset, property, right, or interest in any of the
FWE I Assets or the FWE III Assets; “Assets” means, collectively, the FWE I Assets and the FWE
III Assets.

                   (d)         “Bankruptcy Code” has the meaning ascribed to such term in the recitals
hereto.

                   (e)         “Bankruptcy Court” has the meaning ascribed to such term in the recitals
hereto.

                   (f)         “Case” has the meaning ascribed to such term in the recitals hereto.

               (g)   “Casualty” means an event in which any portion of the Assets is damaged
or destroyed or otherwise impaired by fire, explosion, tornado, hurricane, earthquake, earth
movement, flood, water damage, or other similar casualty or is taken in condemnation or under
right of eminent domain.

                   (h)         “Certificate of Merger” has the meaning ascribed to such term in Section 1
hereto.

                   (i)         “Chapter 11 Cases” has the meaning ascribed to such term in the recitals
hereto.




                                                        5
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 255
                                                                 175 of 531
                                                                        491




               (j)    “Closing Accounts Receivable” has the meaning ascribed to such term in
the Credit Bid Purchase Agreement.

              (k)   “Closing Date Payable” has the meaning ascribed to such term in the Credit
Bid Purchase Agreement.

                   (l)         “Confirmation Order” has the meaning ascribed to such term in the recitals
hereto.

                (m)    “Contract” means any contract, lease, license, purchase order, sales order,
indenture, note, bond, loan, instrument, obligation, promise, grant, or other agreement,
arrangement, understanding or commitment, whether or not in written form, that is binding upon
a Person or its property.

               (n)     “Conveyed” means conveyed, assigned, or sold pursuant to the Apache
PSA, regardless of whether such conveyance, assignment, or bill of sale was recorded in the
appropriate records of, or approved or recognized by, the applicable Governmental Authority.

                (o)            “Credit Bid Acquired Interests” has the meaning ascribed to such term in
the recitals hereto.

                (p)            “Credit Bid Assumed Liabilities” has the meaning ascribed to such term in
the recitals hereto.

               (q)    “Credit Bid Purchase Agreement” means the Purchase and Sale Agreement,
[dated [●], [●], by and among FWE, [FWE Affiliates] and FWE II].

                   (r)         “Credit Bid Transaction” has the meaning ascribed to such term in the
recitals hereto.

                   (s)         “Debtor” and “Debtors” has the meaning ascribed to such term in the
recitals hereto.

            (t)    “Decommissioning” has the meaning ascribed to such term in the
Decommissioning Agreement.

                (u)    “Decommissioning Agreement” has the meaning ascribed to such term
clause (xix) in Part A of Schedule I attached hereto.

                   (v)         “Effective Time” has the meaning ascribed to such term in Section 1 hereto.

               (w)    “Environmental Laws” means, the Comprehensive Environmental
Response, Compensation and Liability Act, 42 U.S.C. § 9601 et seq. (“CERCLA”); the Resource
Conservation and Recovery Act, 42 U.S.C. § 6901 et seq.; the Federal Water Pollution Control
Act, 33 U.S.C. § 1251 et seq.; the Clean Air Act, 42 U.S.C. § 7401 et seq.; the Hazardous Materials
Transportation Act, 49 U.S.C. § 5101 et seq.; the Toxic Substances Control Act, 15 U.S.C. §§ 2601
through 2629; the Oil Pollution Act, 33 U.S.C. § 2701 et seq.; the Emergency Planning and
Community Right to Know Act, 42 U.S.C. § 11001 et seq.; the Endangered Species Act, 16 U.S.C.



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WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 256
                                                                 176 of 531
                                                                        491




§ 1531 et seq.; and the Safe Drinking Water Act, 42 U.S.C. §§ 300f through 300j, in each case as
amended in effect as of the Effective Time, and all similar laws in effect as of the Effective Time
of any Governmental Authority having jurisdiction over the property in question addressing
pollution, protection of the environment, biological resources, Hazardous Substances, or P&A
Obligations.

                (x)      “Environmental Liabilities” means any and all damages, remediation,
obligations, liabilities, environmental response costs, costs to cure, cost to investigate or monitor,
restoration costs, costs of remediation or removal, settlements, penalties, fines, and attorneys’ and
consultants fees and expenses arising out of or related to any violations or non-compliance with
any Environmental Laws, including any contribution obligation under CERCLA or any other
Environmental Law or matters incurred or imposed pursuant to any claim or cause of action by a
Governmental Authority or other Person, attributable to any environmental liabilities, any Release
of Hazardous Substances, or any other environmental condition with respect to the ownership or
operation of the Assets, including conditions of Facilities not in compliance with Laws
promulgated by the Bureau of Ocean Energy Management (“BOEM”), the Bureau of Safety and
Environmental Enforcement (“BSEE”), or the United States Coast Guard.

              (y)      “Facilities” means the FWE I Facilities, the Wind Down Facilities, or the
Predecessor Facilities, as applicable.

               (z)             “Fieldwood Joint Use Property” has the meaning ascribed to such term in
Section 6 hereto.

                   (aa)        “FWE” has the meaning ascribed to such term in the recitals hereto.

                   (bb)        “FWE I” has the meaning ascribed to such term in the recitals hereto.

                   (cc)        “FWE I Assets” has the meaning ascribed to such term in Section 2(d)
hereto.

                (dd) “FWE I Cash Amount” has the meaning ascribed to such term in clause
(xxiii) of Part A of Schedule I hereto.

              (ee) “FWE I Contracts” has the meaning ascribed to such term in clause (x) in
Part A of Schedule I attached hereto.

              (ff)     “FWE I Facilities” has the meaning ascribed to such term in clause (iii) in
Part A of Schedule I attached hereto.

              (gg) “FWE I Lands” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (hh) “FWE I Leases” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (ii)     “FWE I Permits” has the meaning ascribed to such term in clause (vi) in
Part A of Schedule I attached hereto.



                                                        7
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 257
                                                                 177 of 531
                                                                        491




                   (jj)        “FWE I Obligations” has the meaning ascribed to such term in Section 2(e)
hereto.

               (kk) “FWE I Rights of Way” has the meaning ascribed to such term in clause (v)
in Part A of Schedule I attached hereto.

                   (ll)        “FWE I Subsidiaries” means GOM Shelf and the other entities listed on
Exhibit I-I.

              (mm) “FWE I Units” has the meaning ascribed to such term in clause (i) in Part
A of Schedule I attached hereto.

              (nn) “FWE I Wells” has the meaning ascribed to such term in clause (ii) in Part
A of Schedule I attached hereto.

                   (oo)        “FWE II” means [insert Buyer under the Credit Bid Purchase
Agreement].

              (pp) “FWE II Retained Properties” has the meaning ascribed to such term in Part
A of Schedule I attached hereto.

               (qq) “FWE II Retained Properties Payables” has the meaning ascribed to such
term in the Credit Bid Purchase Agreement.

                   (rr)        “FWE III” has the meaning ascribed to such term in the recitals hereto.

                   (ss)        “FWE III Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                   (tt)        “FWE III Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                   (uu)        “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability
company.

                (vv) “GOM Shelf Oil and Gas Properties” means the ownership interests held by
GOM Shelf immediately prior to the closing of the transactions under the Apache PSA in (i) the
oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
carried interests, royalties, overriding royalty interests, net profits interests, production payments,
reversionary interests, and other rights or interests of any kind or character in Hydrocarbons in
place and mineral interests or servitudes of every nature in, on, under, and that may be produced
from or attributable to any of the lands covered by such leases, subleases, interests, and rights,
whether legal or equitable, vested or contingent, and regardless of whether the same are expired
or terminated, including those described on Exhibit I-A attached hereto that are identified as GOM
Shelf Leases thereon (collectively, the “GOM Shelf Leases”), (ii) all pooled, communitized, or
unitized acreage that includes all or part of any GOM Shelf Leases (the “GOM Shelf Units”), (iii)
all tenements, hereditaments, and appurtenances belonging to the GOM Shelf Leases and the GOM
Shelf Units (collectively with the GOM Shelf Leases and GOM Shelf Units, the “GOM Shelf



                                                        8
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 258
                                                                 178 of 531
                                                                        491




Lands”), and (iv) any and all Hydrocarbon, water, CO2, injection wells or other wells completed
on, drilled from, or otherwise located, in whole or in part, on, under, or within the GOM Shelf
Lands, in each case whether producing, non-producing, shut in, or permanently or temporarily
Plugged and Abandoned, including the wells set forth on Exhibit I-B attached hereto that are
identified as GOM Shelf Wells thereon and all wellbores spudded prior to the Effective Time
located on the GOM Shelf Lands (the “GOM Shelf Wells”); for the avoidance of doubt, (x) the
GOM Shelf Oil and Gas Properties shall not include any of the FWE II Retained Properties, (y)
the GOM Shelf Lands shall include only the ownership interests therein held by GOM Shelf
immediately prior to the closing of the transactions under the Apache PSA and the descriptions in
Exhibit I-A shall reference only such ownership interests, and (z) the GOM Shelf Wells shall
include only the ownership interests therein held by GOM Shelf immediately prior to the closing
of the transactions under the Apache PSA and the descriptions in Exhibit I-B shall reference only
such ownership interests.

                   (ww) “GOM Shelf Properties” means those assets or properties owned by GOM
Shelf.

               (xx) “Governmental Authority” means any federal, state, municipal, tribal, local,
or similar governmental authority, regulatory, or administrative agency, court, or arbitral body, or
any subdivision of any of the foregoing.

               (yy) “Hazardous Substances” means any pollutant, contaminant, dangerous or
toxic substance, hazardous or extremely hazardous substance or chemical, or otherwise hazardous
material or waste defined as “hazardous waste”, “hazardous substance” or “hazardous material”
under applicable Environmental Laws, including chemicals, pollutants, contaminants, wastes, or
toxic substances that are classified as hazardous, toxic, radioactive, or otherwise are regulated by,
or form the basis for Liability under, any applicable Environmental Law, including hazardous
substances under CERCLA.

               (zz) “Hydrocarbons” means oil and gas and other hydrocarbons produced or
processed in association therewith (regardless of whether such item is in liquid or gaseous form),
or any combination thereof, and any minerals (whether in liquid or gaseous form) produced in
association therewith, including all crude oil, gas, casinghead gas, condensate, natural gas liquids,
and other gaseous or liquid hydrocarbons (including ethane, propane, iso-butane, nor-butane,
gasoline, and scrubber liquids) of any type and chemical composition.

               (aaa) “Imbalance” means any over-production, under-production, over-delivery,
under-delivery, or similar imbalance of Hydrocarbons produced from or allocated to the FWE I
Assets or the FWE III Assets, as applicable, regardless of whether such over-production, under-
production, over-delivery, under-delivery, or similar imbalance arises at the wellhead, pipeline,
gathering system, transportation system, processing plant, or other location, including any
imbalances under gas balancing or similar agreements, imbalances under processing agreements,
and imbalances under gathering or transportation agreements.




                                                 9
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 259
                                                                 179 of 531
                                                                        491




                   (bbb) “Implementation Cost Cap” shall be an amount equal to $[●].3

                (ccc) “Interim Unpaid P&A Expenses” has the meaning ascribed to such term in
clause (ix) in Part B of Schedule I attached hereto.

              (ddd) “JIB Advance AR” has the meaning ascribed to such term in clause (xvi) in
Part A of Schedule I attached hereto.

               (eee) “Laws” means all laws (including common law), statutes, rules,
regulations, ordinances, orders, decrees, requirements, judgments, and codes of Governmental
Authorities.

                   (fff)       “Merger” has the meaning ascribed to such term in the recitals hereto.

              (ggg) “Obligation” means any individual liability or obligation in any of the FWE
I Obligations or the FWE III Obligations; “Obligations” means, collectively, the FWE I
Obligations and the FWE III Obligations.

                (hhh) “P&A Obligations” means any and all obligations, liabilities, damages,
losses, and claims arising out of or attributable to the payment or performance of all Plugging and
Abandonment.

              (iii) “Person” means any individual, corporation, partnership, limited liability
company, trust, estate, Governmental Authority, or any other entity.

              (jjj) “Plan Effective Date” means the date on which the [Plan of
Reorganization/Confirmation Order becomes effective].

                   (kkk) “Plan of Merger” has the meaning ascribed to such term in the recitals
hereto.

                   (lll)       “Plan of Reorganization” has the meaning ascribed to such term in the
recitals hereto.

                (mmm)“Plugging and Abandonment” and “Plug and Abandon” and its derivatives
mean all plugging, replugging, abandonment, re-plugging and re-abandonment, equipment
removal, disposal, or restoration associated with the properties and assets included in or burdened
by the FWE I Assets or the FWE III Assets, as applicable, including all plugging and abandonment,
removal, dismantling, decommissioning, surface and subsurface restoration, site clearance, and
disposal of the FWE I Wells, the Wind Down Wells, or the Predecessor Wells, as applicable, or
the FWE I Facilities, the Wind Down Facilities, and the Predecessor Facilities, as applicable, well
cellars, fixtures, platforms, caissons, flowlines, pipelines, structures, and personal property of
whatever kind located on or under, related to, or associated with operations and activities
conducted by whomever with respect to each of the FWE I Assets and the FWE III Assets, as
applicable, the flushing, pickling, burial, removal, and capping of all associated flowlines, field

3
  Note to Draft: Implementation Costs Cap amount to be inserted once determined in accordance with Section 4 of
the Apache Term Sheet Implementation Agreement.



                                                        10
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 260
                                                                 180 of 531
                                                                        491




transmission and gathering lines, pit closures, the restoration of the surface, site clearance, any
disposal of related waste materials and Hazardous Substances and obligations to obtain plugging
exceptions for any of the FWE I Wells, the Wind Down Wells, and the Predecessor Wells, as
applicable, with a current plugging exception, all in accordance with all applicable Laws, the terms
and conditions of each of the FWE I Leases, the Wind Down Leases, and the Predecessor Leases,
as applicable, or similar leasehold interests, beneficial interests, easements and the FWE I Leases,
the Wind Down Leases, and the Predecessor Leases, as applicable.

                   (nnn) “Predecessor Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

               (ooo) “Predecessor Contracts” has the meaning ascribed to such term in clause (x)
in Part A of Schedule III attached hereto.

                 (ppp) “Predecessor Facilities” has the meaning ascribed to such term in clause
(iii) in Part A of Schedule III attached hereto.

              (qqq) “Predecessor Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (rrr) “Predecessor Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

                   (sss)       “Predecessor Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (ttt) “Predecessor Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule III attached hereto.

               (uuu) “Predecessor Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule III attached hereto.

                (vvv) “Predecessor Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule III attached hereto.

                (www) “Predecessor Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule III attached hereto.

              (xxx) “Predecessor Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule III attached hereto.

              (yyy) “Predecessor Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule III attached hereto.

                (zzz) “Prepaid JIB Cash Amount” has the meaning ascribed to such term in clause
(xvi) in Part A of Schedule I attached hereto.




                                                       11
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 261
                                                                 181 of 531
                                                                        491




              (aaaa) “Proprietary Seismic Data” means any and all proprietary Seismic Data
owned (but not licensed) by FWE related to the FWE I Assets and/or the FWE III Assets.

                 (bbbb) “Records” means all books, records, files, data, information, drawings,
maps, corporate, financial, tax, and legal data and records to the extent (and only to the extent)
related to the FWE I Assets, the FWE I Obligations, the FWE III Assets, and/or the FWE III
Obligations, as applicable, including electronic copies of all computer records where available,
contract files, lease files, well logs, division order files, title opinions and other title information
(including abstracts, evidences of rental payments, maps, surveys, and data sheets), hazard data
and surveys, production records, SEMS Documentation and Procedures, Proprietary Seismic Data,
engineering files, and environmental records.

                (cccc) “Release” means any discharge, emission, spilling, leaking, pumping,
pouring, injecting, dumping, burying, leaching, migrating, abandoning, or disposing into or
through the environment of any Hazardous Substance, including the abandonment or discarding
of barrels, containers, and other closed receptacles containing any Hazardous Substance.

                 (dddd) “Royalties” means all rentals, minimum royalties, shut in payments,
royalties, overriding royalties, reversionary interests, net profits interests, production payments,
carried interests, non-participating royalty interests, reversionary interests, and other royalty
burdens and other interests payable out of production of Hydrocarbons from or allocated to the
FWE I Oil and Gas Properties, the GOM Shelf Oil and Gas Properties, the Wind Down Oil and
Gas Properties, or the Predecessor Oil and Gas Properties, as applicable, or the proceeds thereof
to third parties.

               (eeee) “Seismic Data” means any and all seismic, geological, geochemical, and
geophysical data (including core and fluid samples and other engineering, geological, and/or
geophysical studies (including seismic data, studies, and information)), all licensed or proprietary
or confidential geologic, seismic, geophysical, and interpretative data, records, and analyses,
including any and all interpretations, derivative data, and other work products of any of the
foregoing, and other similar information and records, in each case relating to the Assets or the
regional area surrounding the Assets.

              (ffff) “SEMS Documentation and Procedures” means all documents and
procedures in place by FWE to comply with BSEE’s Safety and Environmental Management
System (SEMS) 30 CFR 250 Subpart S with respect to the FWE I Assets and/or the FWE III
Assets.

                (gggg) “Standby Facility” means a secured line of credit to be provided by Apache
to FWE I and GOM Shelf to fund the ongoing Plugging and Abandonment of the Legacy Apache
Properties (as such term is defined in the FWE I LLC Agreement) and the GOM Shelf Properties,
which shall become available to advance funds to FWE I and for use in accordance with the
Standby Credit Facility Documents. The Standby Facility shall be secured by a first-priority lien
on all the assets of FWE I (including all of the equity interests of GOM Shelf) and on all the GOM
Shelf Properties, provided that such lien shall also secure the obligations of FWE I to Apache
under the Decommissioning Agreement.




                                                  12
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 262
                                                                 182 of 531
                                                                        491




                (hhhh) “Standby Credit Facility Documents” means the Standby Loan Agreement,
to be entered into promptly after the Effective Time, by and between FWE I and GOM Shelf, as
borrowers, and Apache, as lender, and all of the other agreements, documents, and instruments
related thereto governing or setting forth terms and conditions of the Standby Facility or of the
loans/borrowings made thereunder.

              (iiii) “Suspense Funds” means any and all funds held in suspense by FWE at the
Effective Time, and any interest accrued in escrow accounts for such suspended funds.

                   (jjjj)      “TBOC” has the meaning ascribed to such term in the recitals hereto.

                   (kkkk) “Wind Down Assets” has the meaning ascribed to such term in Section 2(f)
hereto.

                (llll) “Wind Down Contracts” has the meaning ascribed to such term in clause
(x) in Part A of Schedule II attached hereto.

                 (mmmm)        “Wind Down Facilities” has the meaning ascribed to such term in
clause (iii) in Part A of Schedule II attached hereto.

              (nnnn) “Wind Down Lands” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (oooo) “Wind Down Leases” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

                   (pppp) “Wind Down Obligations” has the meaning ascribed to such term in Section
2(g) hereto.

                 (qqqq) “Wind Down Oil and Gas Properties” has the meaning ascribed to such term
in clause (ii) in Part A of Schedule II attached hereto.

               (rrrr) “Wind Down Permits” has the meaning ascribed to such term in clause (vi)
in Part A of Schedule II attached hereto.

                (ssss) “Wind Down Rights of Way” has the meaning ascribed to such term in
clause (v) in Part A of Schedule II attached hereto.

                (tttt) “Wind Down Suspense Funds” has the meaning ascribed to such term in
clause (xvii) in Part A of Schedule II attached hereto.

              (uuuu) “Wind Down Units” has the meaning ascribed to such term in clause (i) in
Part A of Schedule II attached hereto.

              (vvvv) “Wind Down Wells” has the meaning ascribed to such term in clause (ii) in
Part A of Schedule II attached hereto.




                                                       13
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 263
                                                                 183 of 531
                                                                        491




        8.      Choice of Law. This Plan of Merger shall be governed by and construed in
accordance with the laws of the State of Texas, without giving effect to any choice or conflict of
law provision or rule (whether of the State of Texas or any other jurisdiction) that would cause the
application of the Laws of any jurisdiction other than the State of Texas and without regard to any
borrowing statute that would result in the application of the statutes of limitations or repose of any
other jurisdiction. In furtherance of the foregoing, the laws of the State of Texas will control even
if under such jurisdiction’s choice of law or conflict of law analysis, the substantive or procedural
law of some other jurisdiction would ordinarily or necessarily apply.

         9.      FWE III Obligation to Pay Recording Expenses. Subject to the Implementation
Costs Cap, FWE III shall, and shall cause its debtor affiliates in the Chapter 11 Cases to, on the
Plan Effective Date, provide for the payment of any and all documentary, filing, recording, stamp,
and registration fees, costs, taxes, and expenses (including all reasonable and documented
attorneys’ fees and regulatory consultant fees) incurred or imposed after the Effective Time in
connection with the filing of record by or on behalf of FWE I or GOM Shelf of any instrument or
instruments with the appropriate records office of any county, parish, state, federal, or other
governmental unit (including BOEM) that may be required in connection with the implementation
of the Merger or that either FWE I or GOM Shelf determines in its respective sole discretion to be
necessary or appropriate to reflect in the appropriate records of any governmental unit that as a
result of the Merger (a) ownership of the FWE I Assets have been allocated to and are vested in
FWE I (and to the extent appropriate to reflect ownership of the GOM Shelf Properties in GOM
Shelf), and (b) the liabilities and obligations to be allocated to and vested in, respectively, FWE I
or FWE III pursuant to the Merger have been allocated to and vested in, and constitute liabilities
and obligations of, FWE I and FWE III, respectively (collectively, the “Implementation Costs”).
For the avoidance of doubt, the documentary, filing, recording, stamp, and registration fees of
FWE I or GOM Shelf shall include such costs and expenses required to file or to cause to be filed
of record in the records office, as determined by Apache to be appropriate, of any county, parish,
state, federal, or other governmental unit (including BOEM) of the mortgages, security interests,
and similar security documentation as is contemplated by the Standby Facility and the Standby
Facility Documents to secure the obligations of FWE I and GOM Shelf thereunder. Any
Implementation Costs that exceed the Implementation Costs Cap shall be the sole responsibility
of and paid for by FWE I.

        10.    Interpretation. The captions herein are included for convenience of reference only
and shall be ignored in the construction or interpretation hereof. As used herein, the words
“include,” “includes,” and “including” shall be deemed to be followed by the words “without
limitation” and will not be construed to limit any general statement that it follows to the specific
or similar items or matters immediately following it. Words such as “herein,” “hereinafter,”
“hereof,” and “hereunder” refer to this Plan of Merger as a whole and not merely to a subdivision
in which such words appear unless the context otherwise requires. All Exhibits and Schedules
annexed hereto or referred to in this Plan of Merger are hereby incorporated in and made a part of
this Plan of Merger as if set forth in full in this Plan of Merger, and definitions therein shall apply
herein. Any capitalized terms used in any Schedule or Exhibit but not otherwise defined therein
will be defined as set forth in this Plan of Merger, and vice-versa. A reference to any legislation
or to any provision of any legislation shall include any modification or re-enactment thereof, any
legislative provision substituted therefor, and all regulations and statutory instruments issued
thereunder or pursuant thereto.


                                                  14
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 264
                                                                 184 of 531
                                                                        491




       11.      Rejected Contracts. Any Contract rejected pursuant to Section 365 of the
Bankruptcy Code in the Chapter 11 Cases shall be deemed to be excluded and removed from any
Exhibit or Schedule attached hereto, and any such Contract shall not be allocated to any of FWE I
or FWE III, and any liabilities or obligations of such Contract shall be treated in accordance with
the Plan of Reorganization and Confirmation Order or otherwise satisfied, compromised, settled,
released, or discharged pursuant to the Plan of Reorganization and Confirmation Order.

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                                                15
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 265
                                                                 185 of 531
                                                                        491




        IN WITNESS WHEREOF, the undersigned has duly executed this Plan of Merger as of
the date first written above.

                                                 FIELDWOOD ENERGY LLC,
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                               Signature Page to Agreement and Plan of Merger
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 266
                                                                 186 of 531
                                                                        491




                                    Exhibit A

                               Certificate of Merger

                                   [see attached]




WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 267
                                                                 187 of 531
                                                                        491




                                          Exhibit B

                               Certificate of Formation – FWE I

                                        [see attached]




WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 268
                                                                   188 of 531
                                                                          491




                                                   Schedule I 4

                                  FWE I Assets and FWE I Obligations

Part A:

“FWE I Assets” means all of FWE’s right, title, and interest in, to, or under the following, less
and except any FWE II Retained Properties:

            (i)    the ownership interests Conveyed5 to FWE pursuant to the Apache PSA in the oil,
    gas, other Hydrocarbon, and mineral leases, subleases, operating rights, record title interests,
    carried interests, royalties, overriding royalty interests, net profits interests, production payments,
    reversionary interests, and other rights or interests of any kind or character in or to Hydrocarbons
    in place and mineral interests or servitudes of every nature, in, on, under, and that may be
    produced from or attributable to any of the lands covered by such leases, subleases, interests, and
    rights, whether legal or equitable, vested or contingent, and regardless of whether the same are
    expired or terminated, including those described on Exhibit I-A attached hereto that are identified
    as FWE I Leases thereon (collectively, the “FWE I Leases”), together with all pooled,
    communitized, or unitized acreage that includes all or part of any of the FWE I Leases (the “FWE
    I Units”), and all tenements, hereditaments, and appurtenances belonging to the FWE I Leases
    and the FWE I Units (collectively with the FWE I Leases and FWE I Units, the “FWE I Lands”);
    for the avoidance of doubt, the FWE I Lands shall only include the ownership interests therein
    Conveyed to FWE pursuant to the Apache PSA and the descriptions in Exhibit I-A shall only
    reference such ownership interests;

            (ii) the ownership interests Conveyed to FWE pursuant to the Apache PSA in any and
    all Hydrocarbon, water, CO2, injection, disposal wells or other wells completed on, drilled from,
    or otherwise located, in whole or in part,6 on, under, or within the FWE I Lands, in each case
    whether producing, non-producing, shut in, or temporarily or permanently Plugged and
    Abandoned, including the wells set forth on Exhibit I-B attached hereto that are identified as FWE
    I Wells thereon and all wellbores spudded prior to the Effective Time located on the FWE I Lands
    (the “FWE I Wells” and, together with the FWE I Leases and the FWE I Units, but excluding the
    FWE II Retained Properties, the “FWE I Oil and Gas Properties”); for the avoidance of doubt,
    the FWE I Wells shall only include the ownership interests therein Conveyed to FWE pursuant



4
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
5
  Note to Draft: Any additional interests in the FWE I Assets acquired by FWE other than under the Apache PSA
(“Add-On Interests”) are to be identified by FWE and if, upon being identified, Apache agrees to the inclusion of such
interest in the FWE I Assets Schedule I will be modified to include such interests and if Apache does not agree then
such interests will be allocated to and vested in FWE III to the extent held by FWE as of the Effective Time.
6
  Note to Draft: FWE to confirm whether there are any wells that are not Legacy Apache Properties that would
otherwise fall within this description, and, if so, expressly exclude those wells and allocate them to FWE III.




WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 269
                                                                   189 of 531
                                                                          491




    to the Apache PSA and the descriptions in Exhibit I-B shall only reference such ownership
    interests;

             (iii) all platforms and facilities, including all associated processing systems, buildings,
    compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
    trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
    equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
    gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
    facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
    other property (whether real, immovable, personal, movable, mixed or otherwise) that (a) are
    located on or appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of
    Way, the FWE I Wells, or the GOM Shelf Oil and Gas Properties, (b) are used or held for use in
    whole or in part in connection with any of the FWE I Wells or the GOM Shelf Wells and the
    operation of any of the FWE I Leases, or the GOM Shelf Leases (whether located on or
    appurtenant to any of the FWE I Leases, the FWE I Lands, the FWE I Rights of Way, the FWE I
    Wells, the GOM Shelf Leases, the GOM Shelf Lands, the GOM Shelf Wells, or stored at a
    different location (onshore or offshore)), or (c) were acquired by FWE pursuant to the
    Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, and such flowlines, pipelines, gathering lines, and/or pipeline capacity that
    either (1) are used or held for use in whole or in part in connection with any of the FWE I Leases,
    the FWE I Wells or the FWE I Units operations or the production, transportation, or processing
    of Hydrocarbons produced from any of the FWE I Oil and Gas Properties, or (2) were acquired
    by FWE pursuant to the Apache PSA, but in such event only as to the interests so acquired by
    FWE under and pursuant to such Apache PSA, including all platforms identified on Exhibit I-
    C(i) attached hereto and all facilities identified on Exhibit I-C(ii) attached hereto (the “FWE I
    Facilities”);

             (iv) the Proprietary Seismic Data and licensed Seismic Data relating, in whole or in
    part, to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties; 7

            (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
    rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
    appurtenant to, and held for use in whole or in part in connection with, the ownership or operation
    of any or all of the GOM Shelf Oil and Gas Properties or any or all of the properties, rights, titles,
    and interests described in clauses (i) through (iii) and (vi) of this Schedule I, Part A, but only to
    the extent such either (i) are used or held for use exclusively in connection with the ownership or
    operation of such properties, rights, titles, and interests, or (ii) were acquired by FWE pursuant to
    the Apache PSA, but in such event only as to the interests so acquired by FWE under and pursuant
    to such Apache PSA, including the property described on Exhibit I-D(i) attached hereto and
    Exhibit I-D(ii) attached hereto (the “FWE I Rights of Way”);

            (vi) all environmental and other governmental (whether federal, state, or local) permits
    (including all plans filed with or approved by applicable Government Authorities), licenses,
    orders, authorizations, franchises, and related instruments or rights to the extent relating in whole
    or in part to the ownership, operation, or use of any or all of the GOM Shelf Oil and Gas Properties

7
    Note to Draft: No proprietary seismic (remains under review).


                                                          2
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 270
                                                                   190 of 531
                                                                          491




    or any or all of the properties, rights, titles, and interests described in clauses (i) through (iii), (v)
    and (viii) of this Schedule I, Part A (the “FWE I Permits”);8

           (vii) Service Agreement, dated April 1, 2015, applicable to Firm Transportation Service
    under FT-2 Rate Schedule by and between Discovery Gas Transmission LLC as Transporter and
    Fieldwood Energy LLC as Shipper;

            (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
    FWE I Leases, the FWE I Units, or the FWE I Wells, including all oil, condensate, and scrubber
    liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline inventories of FWE
    from the FWE I Oil and Gas Properties in storage or constituting linefill and Imbalances;

              (ix)   the FCC licenses associated with the call signs listed on Exhibit I-E attached
           9
    hereto;

            (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
    and other instruments that relate, in whole or in part, to the ownership or operation of any or all
    of the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (and including any
    insurance contract if such insurance contract provides coverage for any incident that occurs on
    any FWE I Asset(s) or the GOM Shelf Oil and Gas Properties at, before, or after the Effective
    Time, but excluding all derivative or hedge agreements (including any ISDAs) or rights
    thereunder) or any other properties, rights, titles, and interests described in the clauses of this
    Schedule I, Part A, including operating agreements, unitization, pooling, and communitization
    agreements, declarations and orders, area of mutual interest agreements, exploration agreements,
    joint venture agreements, farmin and farmout agreements, exchange agreements, purchase and
    sale agreements, and other contracts relating to the FWE I Assets (but expressly excluding any
    such agreements pursuant to which FWE acquired interests in or to any other FWE I Assets in
    addition to the rights, title, and interests acquired by FWE under the Apache PSA), transportation
    agreements, agreements for the sale and purchase of Hydrocarbons, processing agreements, and
    service agreements (together with the agreements referenced in clause (xxii) below), including
    the contracts listed on Exhibit I-F attached hereto (the “FWE I Contracts”);

           (xi) originals of the Records that relate, in whole or in part, to any one or more of the
    FWE I Assets, the FWE I Obligations, or the GOM Shelf Oil and Gas Properties (whether or not
    such Records also relate to any one or more of the FWE III Obligations or the FWE III Assets);

           (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
    located on the FWE I Facilities or, if located elsewhere, used or held for use, in whole or part, in
    connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM Shelf Oil
    and Gas Properties, or charged to the joint account pursuant to the applicable FWE I Contracts,
    including those items listed on Exhibit I-G attached hereto;


8
  Note to Draft: To be determined if there are Permits used for the FWE I Assets and also FWE III such that FWE
III will need to obtain its own permits.
9
 Note to Draft: To include licenses for GOM Shelf if not held by GOM Shelf directly. FWE confirming there are
only 5 licenses relating to all of the FWE I and GOM Shelf properties.


                                                       3
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 271
                                                                 191 of 531
                                                                        491




         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use, in whole or in
 part, in connection with the FWE I Oil and Gas Properties, the FWE I Facilities, or the GOM
 Shelf Oil and Gas Properties, or for the production of Hydrocarbons therefrom;

         (xiv) all deposits with third parties, escrow accounts, guarantees, letters of credit,
 treasury securities, insurance policies relating, in whole or in part, to the FWE I Assets, surety
 bonds, all Oil Spill Financial Responsibility coverage (whether consisting of one or more
 insurance policies) and other forms of credit assurances or credit support provided by a third party
 for the benefit of FWE for financial assurance for the obligations and liabilities arising out of or
 related to the FWE I Assets, the GOM Shelf Oil and Gas Properties, or GOM Shelf, including the
 Plugging and Abandonment Obligations arising out of or related to the FWE I Assets or the GOM
 Shelf Oil and Gas Properties, including those items listed on Exhibit I-H attached hereto;

         (xv) all agreements and memberships relating, in whole or in part, to well
 containment/control, clean-up of spills, or other pollution, or the gathering of data relating to
 certifications required to be made to Governmental Authorities with respect to the FWE I Assets
 or GOM Shelf Oil and Gas Properties;10

         (xvi) all (i) accounts receivable as of the Effective Time associated with the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties other than the Closing Accounts
 Receivable, (ii) instruments and general intangibles (as such terms are defined in the Uniform
 Commercial Code of the applicable jurisdictions in which the FWE I Oil and Gas Properties or
 GOM Shelf Oil and Gas Properties to which such assets relate are located) and other economic
 benefits in each case attributable to the FWE I Oil and Gas Properties or the GOM Shelf Oil and
 Gas Properties (excluding only the Closing Accounts Receivable); provided, that, for the
 avoidance of doubt, nothing in the preceding clauses (i) or (ii) shall be interpreted to limit the
 scope of “Closing Accounts Receivable” as that term is defined in the Credit Bid Purchase
 Agreement, (iii) claims of indemnity, contribution, or reimbursement of FWE or of GOM Shelf,
 in each case, relating to the FWE I Obligations or obligations of GOM Shelf, (iv) Imbalances
 receivables of FWE or of GOM Shelf, in each case, attributable to the FWE I Oil and Gas
 Properties or the GOM Shelf Oil and Gas Properties, (v) rights to insurance proceeds or other
 claims of recovery, indemnity, contribution, or reimbursement of FWE attributable to the FWE I
 Assets or the GOM Shelf Oil and Gas Properties due to casualty or other damage or destruction
 of or to the FWE I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties, (vi) cash in
 the amount of advance payments on account of third party working interest owners in the FWE I
 Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“Prepaid JIB Cash Amount”),
 to the extent such Prepaid JIB Cash Amount is associated with FWE I Obligations, and (vii) rights
 to receive and collect cash and advance payments pursuant to cash calls associated with the FWE
 I Oil and Gas Properties or the GOM Shelf Oil and Gas Properties (“JIB Advance AR”), to the
 extent such JIB Advance AR is associated with FWE I Obligations;



10
 Note to Draft: There are not any memberships that are specific to the FWE I Assets; may need new agreements.
Under further review.


                                                     4
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 272
                                                                 192 of 531
                                                                        491




       (xvii) all Suspense Funds (i) of FWE to the extent attributable to any of the FWE I Oil
 and Gas Properties or the GOM Shelf Oil and Gas Properties, and (ii) of GOM Shelf (collectively,
 “FWE I Suspense Funds”);

           (xviii) all equity interests set forth on Exhibit I-I (“FWE I Subsidiaries”);

          (xix) the Decommissioning Agreement, dated as of September 30, 2013, by and among
 Apache Corporation, Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration
 LLC, FWE and GOM Shelf LLC, as amended by (i) the First Amendment thereto, dated as of
 September 30, 2013, (ii) the Second Amendment thereto, dated as of September 30, 2013,
 (iii) the Third Amendment thereto, dated effective as of April 25, 2017, (iv) the Fourth
 Amendment thereto dated effective as of September 1, 2017, as amended by that certain Letter
 Agreement, dated January 3, 2018, and (v) the Fifth Amendment thereto, dated effective as of
 April 11, 2018 (the “Decommissioning Agreement”);

        (xx) the Apache PSA and the transaction documents entered into in connection with the
 consummation of the transactions contemplated thereby, including the Joint Exploration
 Agreement (as defined in the Apache PSA), the Master Facilities Use, Access, Production
 Handling and Transportation Agreement (as defined in the Apache PSA), and the Fully Paid Up
 Turnkey Removal Contract (as defined in the Apache PSA);

        (xxi) all rights [to the BOEM qualification held by FWE immediately prior to the
 Effective Time and its BOEM operator number (GOM #3295), and]11 all area-wide operator
 bonds, supplemental bonds, or other securities, or any authorization or permission from, the
 BOEM, BSEE, or any other Governmental Authority, held by FWE (a) in whole or in part for
 any FWE I Assets (which, for the avoidance of doubt, include all rights of FWE in any area-wide
 bonds)12 or (b) with respect to GOM Shelf, in whole or in part for any of the GOM Shelf Oil and
 Gas Properties;

      (xxii) beneficial ownership of The Trust established by that certain Fieldwood
 Decommissioning Trust A Trust Agreement dated September 30, 2013;

         (xxiii) cash in an amount (the “FWE I Cash Amount”) equal to $50.0 million minus the
 sum of (a) the actual cash expenditures paid by FWE for Plugging and Abandonment costs and
 expenses on the FWE I Assets between the filing on August 3, 2020 of the Chapter 11 Cases and
 the Effective Time and (b) the actual cash payments made by FWE between January 4, 2021 and
 the Effective Time to the individual engaged as the sole manager of FWE I;

           (xxiv) the Fieldwood Joint Use Properties as specified in Section 6 of the Plan of Merger;
 and


11
  Note to Draft: Now that FWE I is no longer the surviving entity under the divisive merger, to confirm whether
BOEM qualification will be permitted to “vest” in FWE I or whether FWE I will be required to obtain its own
qualification separate from FWE’s qualification (which will inure to FWE III instead).
12
  Note to Draft: to confirm if area-wide bonds will be permitted to be split between FWE I and FWE III per the
divisive merger. If not and FWE I gets such bonds, then FWE III may need to post its own separate area-wide bonds.
Who will pay for such?


                                                        5
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 273
                                                                 193 of 531
                                                                        491




         (xxv) the specific interests in and to the wells, pipelines, platforms, and facilities set forth
 on Exhibit I-K which were acquired or assumed by FWE as a result of co-owner actions under
 applicable joint or unit operating agreements or as a result of a recalculation determined in
 accordance with the terms of a FWE I Contract, and such interests will be deemed to be included
 in the FWE I Leases, FWE I Units, FWE I Lands , FWE I Wells , FWE I Facilities , and FWE I
 Rights-of-Way, as applicable.13

         For the avoidance of doubt, the FWE I Assets do not include any of the leases, rights of
way, or other assets specified in Exhibit I-J14 attached hereto (such assets, collectively, the “FWE
II Retained Properties”), which FWE II Retained Properties were conveyed to FWE II pursuant to
the Credit Bid Purchase Agreement, and the FWE I Obligations shall not include any obligations
attributable to such FWE II Retained Properties.

Part B:

“FWE I Obligations” means (A) all of the obligations and liabilities (contractual or otherwise) of
FWE, without duplication, of any kind, character, or description (whether known or unknown,
accrued, absolute, contingent, or otherwise) relating to, arising out of, or with respect to any of the
FWE I Assets, the GOM Shelf Oil and Gas Properties, or FWE I’s ownership interest in GOM
Shelf, including obligations and liabilities of FWE: (i) relating to the furnishing of makeup gas
according to the terms of applicable gas sales, gathering, or transportation FWE I Contracts and
all obligations with respect to Imbalances arising out of, related to, or attributable to FWE I’s
ownership interests in any of the FWE I Oil and Gas Properties or in GOM Shelf; (ii) with respect
to Royalties arising out of, related to, or attributable to any of the FWE I Oil and Gas Properties,
FWE I Suspense Funds, and Prepaid JIB Cash Amounts, including any reporting and/or mis-
reporting, and payment and/or mis-payment of such Royalties, FWE I Suspense Funds, or Prepaid
JIB Cash Amounts; (iii) constituting or related to Environmental Liabilities arising out of, related
to, or attributable to any of the FWE I Assets; (iv) applicable to or imposed on the lessee, owner,
operator, holder, responsible party, payor or designated applicant under or with respect to any of
the FWE I Assets or GOM Shelf Oil and Gas Properties; (v) constituting or relating to any and all
P&A Obligations related to FWE I’s or GOM Shelf’s, as the case may be, ownership interests in,
or operation of, any of the FWE I Assets or GOM Shelf Oil and Gas Properties; (vi) relating to
the FWE I Suspense Funds; (vii) relating to the Decommissioning Agreement and the
Decommissioning obligations thereunder; (viii) relating to the Apache PSA or any of the
agreements entered into in connection with the consummation of the transactions contemplated

13
   Note to Draft: If the parties agree to include Add-On Interests in the FWE I Assets, Exhibit I-K will be added to
specifically identify the interests agreed upon to be included. If the parties do not agree to include Add-On Interests
in the FWE I Assets, item (xxv) will be deleted.
14
   Note to Draft: Exhibit I-J should list as FWE II Retained Properties the properties included in the fields which are
identified to be owned and operated by FWE II on Schedule A to the Term Sheet dated July 31, 2020. [NTD: per
HAK, FWE to confirm these properties consist of only the following properties: Oil and Gas Lease bearing Serial No.
OCS-G 21685 covering South Timbalier 308, Oil and Gas Lease bearing Serial No. OCS-G24987 covering South
Timbalier 287, Oil and Gas Lease bearing Serial No. OCS-G10687 covering Vermilion 287, Oil and Gas Lease bearing
Serial No. OCS-G09522 covering Vermilion 363, Oil and Gas Lease bearing Serial No. OCS-G09524 covering
Vermilion 371, Oil and Gas Lease bearing Serial No. OCS-G04421 covering Vermilion 78, Right of Way bearing
Serial No. OCS-G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308, and Right of Way bearing
Serial No. OCS-G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371].


                                                          6
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 274
                                                                 194 of 531
                                                                        491




thereby, including the Joint Exploration Agreement (as defined in the Apache PSA), the Master
Facilities Use, Access, Production Handling and Transportation Agreement (as defined in the
Apache PSA), and the Fully Paid Up Turnkey Removal Contract (as defined in the Apache PSA);
and (ix) expenses incurred by FWE for Plugging and Abandonment costs and expenses on the
FWE I Assets between the filing on August 3, 2020, of the Chapter 11 Cases and the Effective
Time to the extent not paid as of the Effective Time (such incurred but unpaid expenses, the
“Interim Unpaid P&A Expenses”); and (B) the obligations of FWE I under Section 3(b)(i) of the
Plan of Merger; provided, however, that, subject to the foregoing clause (B), the FWE I
Obligations do not include (1) any of the FWE III Obligations, (2) any of the Credit Bid Assumed
Liabilities, (3) obligations for personal injury or damage to property arising from the ownership or
operation of any property that is not included in the FWE I Assets or GOM Shelf Oil and Gas
Properties, and (4) any claims, liabilities, or obligations satisfied, compromised, settled, released,
or discharged pursuant to the Plan of Reorganization and Confirmation Order.




                                                  7
Schedule I – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 275
                                                                 195 of 531
                                                                        491




                                                   Schedule II15

                               Wind Down Assets and Wind Down Obligations

Part A:

“Wind Down Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in and to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit II-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Wind Down Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Wind Down Leases (the “Wind Down Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Wind Down Leases and the Wind Down Units
 (collectively with the Wind Down Leases and Wind Down Units, the “Wind Down Lands”);

         (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Wind Down Lands described on Exhibit II-B attached hereto, in
 each case whether producing, non-producing, shut-ins, or temporarily or permanently Plugged
 and Abandoned, including the wells set forth on Exhibit II-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Wind Down Lands (the “Wind Down Wells”
 and, together with the Wind Down Leases and Wind Down Units, the “Wind Down Oil and Gas
 Properties”);

          (iii) all platforms and facilities, including all associated processing systems, buildings,
 compressors, meters, tanks, machinery, tools, personal property, equipment (including spars,
 trees, PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
 equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
 gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
 facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and
 other property (whether real, immovable, personal, movable, and mixed or otherwise) that is
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells or used or held for use exclusively in connection
 with any of the Wind Down Wells and the operation of any of the Wind Down Leases (whether
 located on or appurtenant to any of the Wind Down Leases, the Wind Down Lands, the Wind
 Down Rights of Way, or the Wind Down Wells, or stored at a different location (onshore or
 offshore)), and such flowlines, pipelines, gathering lines, and/or pipeline capacity that are used
 or held for use exclusively in connection with any of the Wind Down Leases, the Wind Down

15
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.




WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 276
                                                                   196 of 531
                                                                          491




 Wells, or the Wind Down Units operations or the production, transportation, or processing of
 Hydrocarbons produced from any of the Wind Down Oil and Gas Properties, including all
 platforms identified on Exhibit II-C(i) attached hereto and all facilities identified on Exhibit II-
 C(ii) attached hereto, but excluding any FWE I Facilities (the “Wind Down Facilities”);

       (iv) Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
 Wind Down Oil and Gas Properties;

         (v) all surface fee interests, easements, right-of-use easements, licenses, servitudes,
 rights-of-way, surface leases, authorizations, permits, and other rights to use the surface or seabed
 appurtenant to, and used or held for use exclusively in connection with, the ownership or
 operation of any or all of the properties, rights, titles, and interests described in clauses (i) through
 (iii) and (vi) of this Schedule II, Part A, including the property described on Exhibit II-D(i)
 attached hereto and Exhibit II-D(ii) attached hereto (the “Wind Down Rights of Way”);

         (vi) all environmental and other governmental (whether federal, state, or local) permits
 (including all plans filed with or approval by applicable Governmental Authorities), licenses,
 orders, authorizations, franchises, and related instruments or rights relating exclusively to the
 ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
 through (iii), (v) and (viii) of this Schedule II, Part A (the “Wind Down Permits”);

            (vii)   all transportation agreements described on Exhibit II-F attached hereto;16

         (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
 Wind Down Leases, the Wind Down Units, or the Wind Down Wells, including all oil,
 condensate, and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and
 gasoline inventories of FWE from the Wind Down Oil and Gas Properties in storage or
 constituting linefill and Imbalances;

            (ix)    the FCC licenses associated with the call signs listed on Exhibit II-E attached
 hereto;

         (x) all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
 and other instruments that relate exclusively to the ownership or operation of any or all of the
 Wind Down Oil and Gas Properties or any other properties, rights, titles, and interests described
 in the clauses of this Schedule II, Part A, including operating agreements, unitization, pooling,
 and communitization agreements, declarations and orders, area of mutual interest agreements,
 exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
 agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
 in any other Wind Down Assets, transportation agreements, agreements for the sale and purchase
 of Hydrocarbons, processing agreements, and service agreements, including the contracts listed
 on Exhibit II-F attached hereto (the “Wind Down Contracts”);




16
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


                                                         2
Schedule II – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 277
                                                                 197 of 531
                                                                        491




        (xi) originals of the Records that relate solely to the Wind Down Assets or the Wind
 Down Obligations, or both, and copies of the Records that constitute FWE I Assets or Predecessor
 Assets and also relate to either or both of the Wind Down Assets or the Wind Down Obligations;

          (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
 located on the Wind Down Facilities or, if located elsewhere, used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties or the Wind Down Facilities or charged
 to the joint account pursuant to the applicable Wind Down Contracts, including those items listed
 on Exhibit II-G attached hereto;

         (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
 related telemetry, licensed radio frequencies, and associated communications infrastructure
 including towers, antennas, data links, and network circuits used or held for use exclusively in
 connection with the Wind Down Oil and Gas Properties and the Wind Down Facilities or for the
 production of Hydrocarbons therefrom;

         (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
 FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
 escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms
 of credit assurances or credit support provided by a third party for the benefit of FWE for financial
 assurance for the obligations and liabilities arising out of or related to any other Wind Down
 Assets (but not also in part any FWE I Assets), including the Plugging and Abandonment
 Obligations arising out of or related to any other Wind Down Assets (but not also in part any
 FWE I Assets);

        (xv) all agreements and memberships relating exclusively to well containment/control,
 clean-up of spills, or other pollution, or the gathering of data relating to certifications required to
 be made to Governmental Authorities with respect to the Wind Down Assets; and

          (xvi) all (i) accounts receivable attributable to the Wind Down Oil and Gas Properties
 with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
 on or at any Wind Down Asset, whether occurring prior to, on or after Plan Effective Date,
 (iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
 Code of the applicable jurisdictions in which the Wind Down Oil and Gas Properties to which
 such assets relate are located), and other economic benefits attributable to the Wind Down Oil
 and Gas Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Wind
 Down Obligations and (v) Imbalances receivables of FWE attributable to the Wind Down Oil and
 Gas Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to any of the Wind Down Oil
 and Gas Properties (the “Wind Down Suspense Funds”); and

        (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
 held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
 Authority with respect to FWE exclusively for other Wind Down Assets.

Part B:


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Schedule II – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 278
                                                                 198 of 531
                                                                        491




“Wind Down Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether known or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Wind Down
Assets, including obligations and liabilities of FWE: (i)(a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Wind Down
Contracts and all obligations with respect to Imbalances attributable to the FWE III’s ownership
interests in any of the Wind Down Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Wind Down Oil and Gas Properties and Wind Down
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Wind Down Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Wind Down Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Wind Down Assets, or as required by applicable
Laws; and (e) constituting or relating to any and all P&A Obligations related to the FWE III’s
ownership interests in, or operation of, any of the Wind Down Assets; and (ii) the liabilities and
obligations of the FWE III specified in Section 6 of the Plan of Merger to the extent attributable
to use of the Joint Use Properties with respect to the Wind Down Assets; provided, however, that
the Wind Down Obligations do not include any claims, liabilities or obligations satisfied,
compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




                                                  4
Schedule II – FWE Wind Down
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 279
                                                                 199 of 531
                                                                        491




                                                   Schedule III17

                               Predecessor Assets and Predecessor Obligations

Part A:

“Predecessor Assets” means all of FWE’s right, title, and interest in, to, or under the following,
subject to Section 6 of the Plan of Merger:18

         (i)     the oil, gas, other Hydrocarbon, and mineral leases, subleases, operating rights,
 record title interests, carried interests, royalties, overriding royalty interests, net profits interests,
 production payments, reversionary interests, and other rights or interests of any kind or character
 in or to Hydrocarbons in place and mineral interests or servitudes of every nature, in, on, under,
 and that may be produced from or attributable to any of the lands covered by the leases, subleases,
 interests, and rights described on Exhibit III-A attached hereto, whether legal or equitable, vested
 or contingent, and regardless of whether the same are expired or terminated (collectively, the
 “Predecessor Leases”), together with all pooled, communitized, or unitized acreage that includes
 all or part of any of the Predecessor Leases (the “Predecessor Units”), and all tenements,
 hereditaments, and appurtenances belonging to the Predecessor Leases and the Predecessor Units
 (collectively with the Predecessor Leases and Predecessor Units, the “Predecessor Lands”);

        (ii) any and all Hydrocarbon, water, CO2, injection, disposal wells or other wells
 located on, under, or within the Predecessor Lands described on Exhibit III-B attached hereto, in
 each case whether producing, non-producing, shut-in, or temporarily or permanently Plugged and
 Abandoned, including the wells set forth on Exhibit III-B attached hereto and all wellbores
 spudded prior to the Effective Time located on the Predecessor Lands (the “Predecessor Wells”
 and, together with the Predecessor Leases and the Predecessor Units, the “Predecessor Oil and
 Gas Properties”);

         (iii) all platforms and facilities, including all associated processing systems, buildings,
compressors, meters, tanks, machinery, tools, personal property, equipment (including spars, trees,
PLETs, jumpers, flowlines, risers, umbilicals, control assemblies, and production handling
equipment), pipelines, gathering lines, water lines, tank batteries, pipeline capacity, other water
gathering, transportation, or disposal infrastructure and equipment, frac tanks, ponds, metering
facilities, interconnections, and other inventory, boats, vehicles, fixtures, improvements, and other
property (whether real, immovable, personal, movable, mixed, or otherwise) that is located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, the Predecessor Rights of
Way, or the Predecessor Wells or used or held for use exclusively in connection with the any of
Predecessor Wells and the operation of any of the Predecessor Leases (whether located on or
appurtenant to any of the Predecessor Leases, the Predecessor Lands, Predecessor Rights of Way,

17
  Note to Draft: In the event an asset not included on the schedules hereto is identified after the parties have agreed
to the final form of this Plan of Merger, but prior to the Effective Time, subject to the agreement of the parties, the
applicable schedule shall be updated to include and provide for the allocation of such asset.
18
   Note to Draft: To be determined if any Predecessor Assets constitute assets in which FWE I will also own an
interest and, as to such assets, modify Schedule III as necessary to cover only the applicable interest in such assets to
be allocated to and vest in FWE III as Predecessor Assets.




WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 280
                                                                   200 of 531
                                                                          491




or the Predecessor Wells, or stored at a different location (onshore or offshore)), and such
flowlines, pipelines, gathering lines, and/or pipeline capacity that are used or held for use
exclusively in connection with any of the Predecessor Leases, the Predecessor Wells or the
Predecessor Units operations or the production, transportation, or processing of Hydrocarbons
produced from any of the Predecessor Oil and Gas Properties, including all platforms identified
on Exhibit III-C(i) attached hereto and all facilities identified on Exhibit III-C(ii) attached hereto,
but excluding any FWE I Facilities (the “Predecessor Facilities”);

       (iv)    Proprietary Seismic Data and licensed Seismic Data relating exclusively to the
Predecessor Oil and Gas Properties;

        (v)     all surface fee interests, easements, right-of-use easements, licenses, servitudes,
rights-of-way, surface leases and other rights to use the surface or seabed appurtenant to, and used
or held for use exclusively in connection with, the ownership or operation of any or all of the
properties, rights, titles, and interests described in clauses (i) through (iii) and (vi) of this Schedule
III, Part A, including the property described on Exhibit III-D(i) attached hereto and Exhibit III-
D(ii) attached hereto (the “Predecessor Rights of Way”);

        (vi)     all environmental and other governmental (whether federal, state, or local) permits
(including all plans filed with or approval by applicable Governmental Authorities), licenses,
orders, authorizations, franchises, and related instruments or rights relating exclusively to the
ownership, operation, or use of the properties, rights, titles, and interests described in clauses (i)
through (iii), (v) and (viii) of this Schedule III, Part A (the “Predecessor Permits”);

           (vii)   all transportation agreements described on Exhibit III-F attached hereto;19

       (viii) all Hydrocarbons in, on, under, or that may be produced from or attributable to the
Predecessor Leases, the Predecessor Units, or the Predecessor Wells, including all oil, condensate,
and scrubber liquids inventories and ethane, propane, iso-butane, nor-butane, and gasoline
inventories of FWE from the Predecessor Oil and Gas Properties in storage or constituting linefill
and Imbalances;

           (ix)    the FCC licenses associated with the call signs listed on Exhibit III-E attached
hereto;

       (x)     all contracts, agreements, leases, licenses, commitments, sales and purchase orders,
and other instruments that relate exclusively to the ownership or operation of any or all of the
Predecessor Oil and Gas Properties or any other properties, rights, titles, and interests described in
this Schedule III, Part A, including operating agreements, unitization, pooling, and
communitization agreements, declarations and orders, area of mutual interest agreements,
exploration agreements, joint venture agreements, farmin and farmout agreements, exchange
agreements, purchase and sale agreements, and other contracts in which FWE acquired interests
in any Predecessor Assets, transportation agreements, agreements for the sale and purchase of



19
     Note to Draft: To be determined if any FERC regulated transportation agreements need FERC waivers.


                                                         2
Schedule III – FWE III
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 281
                                                                 201 of 531
                                                                        491




Hydrocarbons, processing agreements, and service agreements, including the contracts listed on
Exhibit III-F attached hereto (the “Predecessor Contracts”);

        (xi)    originals of the Records that relate (i) solely to the Predecessor Assets or the
Predecessor Obligations, or both, or (ii) to the Predecessor Assets or the Predecessor Obligations,
or both, and also to the Wind Down Assets or Wind Down Obligations, or both, and copies of the
Records that constitute FWE I Assets and also relate to either or both of the Predecessor Assets
or the Predecessor Obligations;

        (xii) inventory, equipment, machinery, tools, and other personal property, to the extent
located on the Predecessor Facilities or, if located elsewhere, used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties or the Predecessor Facilities or charged to
the joint account pursuant to the applicable Predecessor Contracts, including those items listed on
Exhibit III-G attached thereto;

       (xiii) FWE-owned SCADA equipment and all automation systems, including meters and
related telemetry, licensed radio frequencies, and associated communications infrastructure
including towers, antennas, data links, and network circuits used or held for use exclusively in
connection with the Predecessor Oil and Gas Properties and the Predecessor Facilities or for the
production of Hydrocarbons therefrom;

        (xiv) all cash (subject to the obligation of FWE to deliver the FWE I Cash Amount, the
FWE I Suspense Funds, and the Prepaid JIB Cash Amount to FWE I), and all third party deposits,
escrow accounts, guarantees, letters of credit, treasury securities, surety bonds, and other forms of
credit assurances or credit support provided by a third party for the benefit of FWE for financial
assurance exclusively for the obligations and liabilities arising out of or related to any other
Predecessor Assets (but not also in part any FWE I Assets), including the Plugging and
Abandonment Obligations arising out of or related to any other Predecessor Assets (but not also
in part any FWE I Assets), including those items listed on Exhibit III-H attached hereto;

        (xv) all agreements and memberships relating solely to well containment/control, clean-
up of spills, or other pollution, or the gathering of data relating to certifications required to be made
to Governmental Authorities with respect to the Predecessor Assets; and

         (xvi) all (i) accounts receivable attributable to the Predecessor Oil and Gas Properties
with respect to any period of time, (ii) rights to any payout or recovery for any Casualty occurring
on or at any Predecessor Asset, whether occurring prior to, on or after the Plan Effective Date,
(iii) instruments and general intangibles (as such terms are defined in the Uniform Commercial
Code of the applicable jurisdictions in which the Predecessor Oil and Gas Properties to which such
assets relate are located), and other economic benefits attributable to the Predecessor Oil and Gas
Properties, (iv) claims of indemnity, contribution, or reimbursement relating to the Predecessor
Obligations and (v) Imbalances receivables of FWE attributable to the Predecessor Oil and Gas
Properties;

       (xvii) all Suspense Funds of FWE to the extent attributable to the Predecessor Oil and
Gas Properties (the “Predecessor Suspense Funds”);



                                                   3
Schedule III – FWE III
WEIL:\97614386\42\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 282
                                                                 202 of 531
                                                                        491




       (xviii) all rights to any supplemental bonds or other securities (excluding area-wide bonds)
held by, or any authorization or permission from, the BOEM, BSEE, or any other Governmental
Authority with respect to FWE exclusively for other Predecessor Assets; and

          (xix)    all other assets and rights of FWE other than FWE I Assets and Wind Down Assets.

        Notwithstanding the foregoing, the Predecessor Assets shall include all assets and rights of
FWE not expressly included in the FWE I Assets or the Wind Down Assets, but shall exclude any
assets expressly allocated to FWE I pursuant to the Plan of Merger.

Part B:

“Predecessor Obligations” means: all of the obligations and liabilities (contractual or otherwise)
of FWE of any kind, character or description (whether know or unknown, accrued, absolute,
contingent, or otherwise) relating to, arising out of, or with respect to any of the Predecessor
Assets, including (i) obligations and liabilities of FWE: (a) relating to the furnishing of makeup
gas according to the terms of applicable gas sales, gathering, or transportation Predecessor
Contracts and all obligations with respect to Imbalances attributable to FWE III’s ownership
interests in any of the Predecessor Oil and Gas Properties; (b) with respect to Royalties arising out
of, related to, or attributable to any of the Predecessor Oil and Gas Properties and the Predecessor
Suspense Funds, including any reporting and/or mis-reporting, and payment and/or mis-payment
of such Royalties or the Predecessor Suspense Funds; (c) constituting or related to Environmental
Liabilities arising out of, related to, or attributable to any of the Predecessor Assets; (d) applicable
to or imposed on the lessee, owner, operator, holder, responsible party, payor or designated
applicant under or with respect to any of the Predecessor Assets, or as required by applicable Laws;
(e) constituting or relating to any and all P&A Obligations related to FWE III’s ownership interests
in, or operation of, any of the Predecessor Assets; and (f) any and all liabilities and obligations of
FWE not expressly included in the FWE I Obligations or the Wind Down Obligations; and (ii) the
obligations and liabilities of FWE III specified in Section 6 of the Plan of Merger to the extent
attributable to use of the Joint Use Properties with respect to the Predecessor Assets; provided,
however, that the Predecessor Obligations do not include any claims, liabilities or obligations
satisfied, compromised, settled, released or discharged pursuant to the Plan of Reorganization and
Confirmation Order.




                                                   4
Schedule III – FWE III
WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 283
                                                                   203 of 531
                                                                          491




                                              Schedule of Exhibits20

Exhibit A:                     Certificate of Merger

Exhibit B:                     Certificate of Formation – FWE I

Exhibit I-A(i):                FWE I Leases

Exhibit I-A(ii):               FWE I Deep Rights

Exhibit I-B:                   FWE I Wells

Exhibit I-C(i)                 FWE I Platforms

Exhibit I-C(ii)                FWE I Facilities

Exhibit I-D(i)                 FWE I Rights of Way Acquired Pursuant to Apache PSA

Exhibit I-D(ii)                FWE I RUEs

Exhibit I-E                    FWE I FCC Licenses

Exhibit I-F                    FWE I Contracts

Exhibit I-G                    FWE I Inventory

Exhibit I-H                    FWE I Deposits/Escrows/Credit Support

Exhibit I-I                    Subsidiaries and Equity Interests

Exhibit I-J                    FWE II Retained Properties

Exhibit I-K(i)                 Incremental Interests – Leases

Exhibit I-K(ii)                Incremental Interests – Wells

Exhibit I-K(iii)               Incremental Interests – Platforms and Facilities

Exhibit II-A:                  Wind Down Leases21



20
  Note to Draft: FWE I Exhibits to the Plan of Merger. Exhibits I-A(i) through I-K(iii) to Schedule 1 to the Plan
of Merger (collectively, the “FWE I Exhibits”) set forth a list of Legacy Apache Properties, which FWE I Exhibits the
Apache PSA Parties and the Fieldwood PSA Parties hereto respectively acknowledge are subject to the ongoing review
and consent rights of the Consenting Creditors under the RSA (which consent has not yet been provided), and the
Apache PSA Parties and Fieldwood PSA Parties agree that the FWE I Exhibits are subject to modification based on
such review to be consistent with the Apache Term Sheet.
21
     Note to Draft: Exhibits II-A – II-G to be attached to Executed Plan of Merger.




WEIL:\97614386\42\45327.0007
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 284
                                                                   204 of 531
                                                                          491




Exhibit II-B:                  Wind Down Wells

Exhibit II-C(i)                Wind Down Platforms

Exhibit II-C(ii)               Wind Down Facilities

Exhibit II-D(i)                Wind Down Rights of Way

Exhibit II-D(ii)               Wind Down RUEs

Exhibit II-E                   Wind Down FCC Licenses

Exhibit II-F                   Wind Down Contracts

Exhibit II-G                   Wind Down Inventory

Exhibit III-A:                 Predecessor Leases22

Exhibit III-B:                 Predecessor Wells

Exhibit III-C(i)               Predecessor Platforms

Exhibit III-C(ii)              Predecessor Facilities

Exhibit III-D(i)               Predecessor Rights of Way

Exhibit III-D(ii)              Predecessor RUEs

Exhibit III-E                  Predecessor FCC Licenses

Exhibit III-F                  Predecessor Contracts

Exhibit III-G                  Predecessor Inventory

Exhibit III-H                  Predecessor Deposits/Escrows/Credit Support

                                          [End of Schedule of Exhibits]




22
     Note to Draft: Exhibits III-A – III-H to be attached to Executed Plan of Merger



                                                           2
WEIL:\97614386\42\45327.0007
                      Case 20-33948 Document 775-2
                                             723-1 Filed in TXSB on 01/21/21
                                                                    01/01/21 Page 285
                                                                                  205 of 531
                                                                                         491
                                                             Exhibit I-A (i)


  Block     Lease     Type       Rights      Date Le Eff   Date Le Exp    Le Cur Acres         Operator        WI        Lease Status
    –       12503     SL‐ LA      ORRI           –             –               –                    –             0.6%     TERMIN
    –       06618     SL‐ LA      ORRI           –             –               –                    –             5.2%        –
 BA 491    G06069    Federal       RT        10/1/1983                       5,760           Fieldwood En       100.0%      PROD
BA A105    G01757    Federal       RT         7/1/1968                       5,760           Fieldwood En        12.5%      PROD
BA A‐105   G01757    Federal      RT A        7/1/1968                       5,760           Fieldwood En        12.5%      PROD
BA A133    G02665    Federal       OP         7/1/1974                       5,760            GOM Shelf          12.5%      PROD
BA A‐133   G02665    Federal       RT         7/1/1974                       5,760            GOM Shelf          25.0%      PROD
 BA A19    G33399    Federal       RT         1/1/2010     12/31/2014        5,760         Apache Shelf Exp     100.0%      EXPIR
 BA A47    G03940    Federal       RT         3/1/1979      9/21/2014        5,760           Fieldwood En        33.3%     TERMIN
 BA A47    G03940    Federal       OP         3/1/1979      9/21/2014        5,760           Fieldwood En       100.0%     TERMIN
 BA A69    G32733    Federal       RT        11/1/2008     10/31/2013        5,760         Apache Shelf Exp     100.0%      EXPIR
  BS 39    G33683    Federal       RT         7/1/2010      5/20/2015        1,237             Petsec En         18.8%     RELINQ
  BS 41    G21142    Federal      OP 2        5/1/1999      1/26/2014        4,995           Gryphon Exp         13.1%     TERMIN
  BS 41    G21142    Federal   Contractual    5/1/1999      1/26/2014        4,995           Gryphon Exp           TBD     TERMIN
  BS 42    G33684    Federal       RT         7/1/2010      5/13/2015        4,552         Apache Shelf Exp      37.5%     RELINQ
  CA 42    G32267    Federal      OP 1        7/1/2008      6/21/2019        5,000           Fieldwood En        50.0%     RELINQ
  CA 43    G32268    Federal      OP 1        7/1/2008                       5,000           Fieldwood En        50.0%      PROD
 DD 253    G10426    Federal       RT         6/1/1990      9/8/2014         5,760         Apache Shelf Exp     100.0%      EXPIR
 DD 297    G10427    Federal       RT         6/1/1990      9/8/2014         5,760         Apache Shelf Exp     100.0%      EXPIR
 EI 120     00050    Federal       RT        8/28/1945                       5,000           Fieldwood En       100.0%      PROD
 EB 128    G34034    Federal       RT         4/1/2012      3/15/2016         165          Apache Shelf Exp     100.0%     RELINQ
 EB 172    G34035    Federal       RT         4/1/2012      3/15/2016        5,760         Apache Shelf Exp     100.0%     RELINQ
  EC 12    G34220    Federal       RT         8/1/2012       7/7/2016        5,000         Apache Shelf Exp     100.0%     RELINQ
  EC 14    G13572    Federal       RT         7/1/1992      5/16/2005        2,544             Forest Oil       100.0%     TERMIN
 EC 171    G34228    Federal       RT         9/1/2012      8/17/2016        5,000         Apache Shelf Exp     100.0%     RELINQ
 EC 172    G17858    Federal       RT         7/1/1997      1/22/2016        5,000           Fieldwood En       100.0%     TERMIN
 EC 178    G34229    Federal       RT        10/1/2012      7/24/2015        5,000         Apache Shelf Exp     100.0%     RELINQ
 EC 179    G34230    Federal       RT        10/1/2012      7/24/2015        5,000         Apache Shelf Exp     100.0%     RELINQ
 EC 185    G34796    Federal       RT         6/1/2013      5/25/2017        5,000           Fieldwood En       100.0%     RELINQ
   EC 2    SL18121   SL ‐ LA       WI        5/12/2004       1/0/1900         220              Fieldwood         50.0%     ACTIVE
  EC 2      16473     SL‐ LA      WI         7/13/1999      7/15/2015         148               Apache           89.1%     RELINQ
  EC 2      16475     SL‐ LA      WI         7/19/1999          –            134.75             Apache           89.1%     ACTIVE
 EC 222    G02037    Federal      OP 1        2/1/1971     11/24/2015        5,000       Energy Res Tech GOM     17.9%     TERMIN
 EC 222    G02037    Federal      OP 2        2/1/1971     11/24/2015        5,000       Energy Res Tech GOM     17.9%     TERMIN
 EC 229    G34232    Federal       RT        10/1/2012      9/16/2016        5,000         Apache Shelf Exp     100.0%     RELINQ
 EC 230    G34233    Federal       RT        10/1/2012      9/16/2016        5,000         Apache Shelf Exp     100.0%     RELINQ
  EC 24    G04098    Federal       RT        10/1/1979      2/12/2014        5,000             Apex O&G          18.0%     TERMIN
  EC 24    G04098    Federal      OP 2       10/1/1979      2/12/2014        5,000             Apex O&G          31.3%     TERMIN
  EC 24    G04098    Federal      OP 3       10/1/1979      2/12/2014        5,000             Apex O&G          30.3%     TERMIN
 EC 242    G34234    Federal       RT        10/1/2012      9/16/2016        5,000         Apache Shelf Exp     100.0%     RELINQ
                    Case 20-33948 Document 775-2
                                           723-1 Filed in TXSB on 01/21/21
                                                                  01/01/21 Page 286
                                                                                206 of 531
                                                                                       491
                                                      Exhibit I-A (i)


 Block     Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres        Operator         WI         Lease Status
EC 243    G34235   Federal     RT     10/1/2012     9/16/2016         5,000        Apache Shelf Exp      100.0%      RELINQ
EC 261    G00971   Federal     RT      6/1/1962     1/14/2016         5,000          Fieldwood En        100.0%      TERMIN
EC 263    G33072   Federal     RT      6/1/2009     5/31/2014         5,000        Apache Shelf Exp      100.0%       EXPIR
EC 264    G01880   Federal     RT      3/1/1969     7/11/2016         5,000          Fieldwood En        100.0%      TERMIN
EC 265    G00972   Federal     RT      6/1/1962     1/30/2019         5,000          Fieldwood En          50.0%     RELINQ
EC 270    G02045   Federal     RT      1/1/1971      6/7/2013         2,500             Apache             70.0%     TERMIN
EC 278    G00974   Federal     RT      6/1/1962     10/3/2016         5,000          Fieldwood En          50.0%     TERMIN
EC 292    G34237   Federal     RT      9/1/2012     8/23/2016         5,000        Apache Shelf Exp      100.0%      RELINQ
EC 293    G34238   Federal     RT      9/1/2012     8/23/2016         5,000        Apache Shelf Exp      100.0%      RELINQ
EC 294    G34239   Federal     RT      9/1/2012     8/23/2016         5,000        Apache Shelf Exp      100.0%      RELINQ
EC 310    G34240   Federal     RT     11/1/2012     10/4/2016         5,000        Apache Shelf Exp      100.0%      RELINQ
EC 328    G10638   Federal     RT      5/1/1989                       5,000            Arena Off         100.0%       PROD
 EC 33    G01972   Federal     OP      9/1/1970     2/15/2016         1,250             Merit En           15.6%     TERMIN
EC 335    G02439   Federal     OP      8/1/1973      6/6/2015         5,000        Energy XXI GOM          14.0%     TERMIN
EC 338    G02063   Federal     RT      2/1/1971                       5,000        Anadarko US Off         15.7%      PROD
 EC 37    G25933   Federal     RT      5/1/2004     9/27/2014         2,608          Probe Res US        100.0%      TERMIN
EC 370    G33073   Federal     RT      6/1/2009     5/31/2014         5,000        Apache Shelf Exp      100.0%       EXPIR
 EC 71    G13576   Federal     RT      9/1/1992                       5,000           EC Off Prop        100.0%      OPERNS
EC 9/14   G01440   Federal     RT      4/1/1966                       3,152          Fieldwood En        100.0%       PROD
EC 9/14   G01440   Federal    OP 1     4/1/1966                       3,152          Fieldwood En        100.0%       PROD
  EI 10   G23851   Federal     RT      7/1/2002                       2,303          Contango Op           50.0%      PROD
  EI 10   G23851   Federal    OP 2     7/1/2002                       2,303          Contango Op           50.0%      PROD
 EI 105    00797   Federal     RT      5/1/1960      12/9/2013        5,000          Fieldwood En        100.0%      TERMIN
 EI 106   G17966   Federal    RT A     7/1/1997       8/4/2013        5,000             Apache             50.0%     TERMIN
 EI 106   G17966   Federal    RT B     7/1/1997       8/4/2013        5,000             Apache           100.0%      TERMIN
 EI 107   G15241   Federal     RT      9/1/1995       9/1/2013        5,000             Apache             75.0%     TERMIN
 EI 108   G03811   Federal    OP 1     6/1/1978     11/22/2015        5,000          Fieldwood En          60.0%     TERMIN
 EI 108   G03811   Federal    RT A     6/1/1978     11/22/2015        5,000          Fieldwood En          60.0%     TERMIN
 EI 108   G03811   Federal    RT B     6/1/1978     11/22/2015        5,000          Fieldwood En          71.3%     TERMIN
 EI 116   G34292   Federal     RT      9/1/2012      8/31/2017        5,000        Apache Shelf Exp      100.0%       EXPIR
 EI 117   G34293   Federal     RT     10/1/2012      9/16/2016        5,000        Apache Shelf Exp      100.0%      RELINQ
 EI 118   G15242   Federal    RT A     7/1/1995     12/17/2015        5,000       Black Elk En Off Op      25.0%     TERMIN
 EI 118   G15242   Federal    RT B     7/1/1995     12/17/2015        5,000       Black Elk En Off Op      75.0%     TERMIN
 EI 119    00049   Federal    RT A    8/28/1945                       5,000          Fieldwood En          50.0%      PROD
 EI 119    00049   Federal    RT B    8/28/1945                       5,000          Fieldwood En        100.0%       PROD
 EI 125    00051   Federal     RT     8/28/1945         –             5,000          Fieldwood En        100.0%      OPERNS
 EI 126    00052   Federal     RT     8/28/1945                       5,000          Fieldwood En        100.0%       PROD
 EI 126    00052   Federal     OP     8/28/1945                       5,000          Fieldwood En          75.0%      PROD
 EI 128   G34294   Federal     RT     10/1/2012     9/16/2016         3,427        Apache Shelf Exp      100.0%      RELINQ
 EI 131   G33625   Federal     RT      6/1/2010     4/30/2015         5,000        Apache Shelf Exp      100.0%      RELINQ
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 287
                                                                               207 of 531
                                                                                      491
                                                     Exhibit I-A (i)


Block     Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres        Operator           WI          Lease Status
EI 132   G33626   Federal     RT      6/1/2010     4/30/2015         5,000        Apache Shelf Exp         100.0%       RELINQ
EI 135   G34296   Federal     RT     10/1/2012     8/26/2015         5,000        Apache Shelf Exp         100.0%       RELINQ
EI 136   G03152   Federal     RT      7/1/1975                       5,000          Fieldwood En           100.0%        PROD
EI 156   G16353   Federal     OP      6/1/1996     8/24/2014         5,000       Black Elk En Off Op        50.0%      TERMIN
EI 158   G01220   Federal     RT      6/1/1962                       5,000          Fieldwood En           100.0%        PROD
EI 173   G13622   Federal     RT      7/1/1992                       5,000          Fieldwood En           100.0%        PROD
EI 174   G03782   Federal     RT      6/1/1978                       5,000            Arena Off            100.0%        PROD
EI 174   G03782   Federal     OP      6/1/1978                       5,000            Arena Off             30.0%        PROD
EI 175    00438   Federal    OP 1    12/1/1954         –             5,000          Fieldwood En            75.0%        PROD
EI 187   G10736   Federal     RT      7/1/1989                       5,000          Fieldwood En           100.0%        PROD
EI 188    00443   Federal     RT      1/1/1955     4/30/2010         5,000             Apache              100.0%       TERMIN
EI 189    00423   Federal     RT     12/1/1954         –             3,750          Fieldwood En           100.0%        PROD
EI 196    00802   Federal     RT      5/1/1960     3/25/2019         3,516          Fieldwood En            50.0%       RELINQ
EI 196    00802   Federal     OP      5/1/1960     3/25/2019         3,516          Fieldwood En           100.0%       RELINQ
EI 196   G13821   Federal    OP 2     5/1/1960     3/22/2019         1,484            Arena Off            100.0%       RELINQ
EI 196   G13821   Federal    OP 4     5/1/1960     3/22/2019         1,484            Arena Off            100.0%       RELINQ
 EI 20   G34286   Federal     RT     10/1/2012     8/19/2016         3,582            Castex Off            50.0%       RELINQ
EI 207   G34301   Federal     RT      8/1/2012      7/7/2016         5,000        Apache Shelf Exp         100.0%       RELINQ
EI 208    00577   Federal     OP      9/1/1955                       2,500            ANKOR En             100.0%        PROD
EI 211   G05502   Federal     RT      7/1/1983                       5,000          Chevron USA             66.7%        UNIT
EI 211   G05502   Federal     OP      7/1/1983                       5,000          Chevron USA             66.7%        UNIT
EI 212   G05503   Federal     RT      7/1/1983                       5,000          Chevron USA             66.7%        UNIT
EI 212   G05503   Federal     OP      7/1/1983                       5,000          Chevron USA             66.7%        UNIT
EI 216   G34303   Federal     RT      8/1/2012      7/7/2016         5,000        Apache Shelf Exp         100.0%       RELINQ
EI 217   G00978   Federal     RT      5/1/1962     3/22/2019         5,000            Arena Off             25.0%       RELINQ
EI 224   G05504   Federal    ORRI     7/1/1983                       5,000            Castex Off       10.0%             PROD
EI 224   G05504   Federal     RT      7/1/1983                       5,000            Castex Off           100.0%        PROD
EI 227    00809   Federal     RT      5/1/1960     3/25/2019         5,000            Arena Off             50.0%       RELINQ
EI 227   G36745   Federal    ORRI    11/1/2019                       5,000            Arena Off              6.25%     PRIMARY
EI 227   G36745   Federal    ORRI    11/1/2019                       5,000            Arena Off              4.17%     PRIMARY
EI 246    00810   Federal    OP 1     5/1/1960                       5,000          Fieldwood En            25.0%        UNIT
EI 246    00810   Federal    OP 2     5/1/1960                       5,000          Fieldwood En            75.0%        UNIT
EI 246    00810   Federal     RT      5/1/1960                       5,000          Fieldwood En            75.0%        UNIT
EI 246    00810   Federal    ORRI     5/1/1960         –             5,000         Sanare En Part            6.3%        UNIT
EI 255   G01958   Federal     RT      1/1/1970                       2,500             Cox Op                2.0%        PROD
EI 255   G01958   Federal    OP 3     1/1/1970                       2,500             Cox Op               77.2%        PROD
EI 255   G01958   Federal    OP 4     1/1/1970                       2,500             Cox Op               38.6%        PROD
EI 266    00811   Federal    OP 1     5/1/1960                       5,000          Fieldwood En            25.0%        UNIT
EI 266    00811   Federal    OP 2     5/1/1960                       5,000          Fieldwood En            75.0%        UNIT
EI 266    00811   Federal     RT      5/1/1960                       5,000          Fieldwood En            75.0%        UNIT
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 288
                                                                               208 of 531
                                                                                      491
                                                          Exhibit I-A (i)


Block     Lease    Type       Rights      Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI        Lease Status
EI 267    00812   Federal       OP         5/1/1960                       5,000         Fieldwood En       25.0%      UNIT
EI 267    00812   Federal      OP 2        5/1/1960                       5,000         Fieldwood En       75.0%      UNIT
EI 267    00812   Federal       RT         5/1/1960                       5,000         Fieldwood En       75.0%      UNIT
EI 269    00813   Federal      OP 1        5/1/1960                       5,000         Fieldwood En       25.0%      UNIT
EI 269    00813   Federal      OP 2        5/1/1960                       5,000         Fieldwood En       75.0%      UNIT
EI 269    00813   Federal       RT         5/1/1960                       5,000         Fieldwood En       75.0%      UNIT
EI 280   G23876   Federal       RT         5/1/2002      1/19/2014        5,000       Energy XXI GOM       18.8%     TERMIN
EI 281   G09591   Federal       RT         5/1/1988       7/5/2016        5,000          Bennu O&G         90.5%     TERMIN
EI 281   G09591   Federal      OP 1        5/1/1988       7/5/2016        5,000          Bennu O&G         45.3%     TERMIN
EI 281   G09591   Federal      OP 2        5/1/1988       7/5/2016        5,000          Bennu O&G         45.3%     TERMIN
EI 281   G09591   Federal      OP 3        5/1/1988       7/5/2016        5,000          Bennu O&G         45.3%     TERMIN
EI 282   G09592   Federal       RT         6/1/1988       7/5/2016        5,000            Apache          75.0%     TERMIN
EI 282   G09592   Federal      OP 1        6/1/1988       7/5/2016        5,000            Apache          75.0%     TERMIN
EI 282   G09592   Federal      OP 2        6/1/1988       7/5/2016        5,000            Apache          75.0%     TERMIN
 EI 29   G34287   Federal       RT        12/1/2012     11/22/2016        5,000       Apache Shelf Exp     50.0%     RELINQ
EI 307   G02110   Federal       OP         2/1/1971      11/4/2019        2,500       Fieldwood En Off     25.0%     TERMIN
EI 312   G22679   Federal       RT         6/1/2001       8/7/2020        5,000         Fieldwood En      100.0%     TERMIN
EI 312   G22679   Federal      ORRI        6/1/2001       8/7/2020        5,000         Fieldwood En        8.3%     TERMIN
EI 313   G02608   Federal       RT         5/1/1974      6/23/2016        5,000           Arena Off        50.0%     TERMIN
EI 313   G02608   Federal      OP 1        5/1/1974      6/23/2016        5,000           Arena Off        50.0%     TERMIN
EI 313   G02608   Federal      OP 2        5/1/1974      6/23/2016        5,000           Arena Off        50.0%     TERMIN
EI 315   G02112   Federal       RT         8/1/1974                       2,500         Fieldwood En       50.0%       SOP
EI 315   G02112   Federal       OP         8/1/1974                       2,500         Fieldwood En       50.0%       SOP
EI 315   G24912   Federal       RT         5/1/2003                       2,500         Fieldwood En      100.0%      PROD
EI 316   G05040   Federal       RT         4/1/1982                       5,000         Fieldwood En      100.0%      PROD
EI 329   G02912   Federal       RT        12/1/1974                       5,000         Fieldwood En      100.0%       SOP
EI 330   G02115   Federal   Contractual    1/1/1971                       5,000         Fieldwood En       63.0%      UNIT
EI 330   G02115   Federal      OP 7        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal      OP 6        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal      OP 5        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal      OP 4        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal      OP 3        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal      OP 2        1/1/1971                       5,000         Fieldwood En       47.0%      UNIT
EI 330   G02115   Federal       RT         1/1/1971                       5,000         Fieldwood En       42.0%      UNIT
EI 333   G02317   Federal       RT         2/1/1973     8/29/2020         5,000         Fieldwood En      100.0%      PROD
EI 334   G15263   Federal       RT         7/1/1995     8/29/2020         5,000         Fieldwood En      100.0%      PROD
EI 337   G03332   Federal       RT         3/1/1976                       5,000         Fieldwood En      100.0%      UNIT
EI 337   G3332    Federal      ORRI        3/1/1976                                     Fieldwood En        0.1%      UNIT
EI 337   G03332   Federal      OP 4        3/1/1976                         5,000       Fieldwood En       98.0%      UNIT
EI 337   G03332   Federal      OP 1        3/1/1976                         5,000       Fieldwood En      100.0%      UNIT
                    Case 20-33948 Document 775-2
                                           723-1 Filed in TXSB on 01/21/21
                                                                  01/01/21 Page 289
                                                                                209 of 531
                                                                                       491
                                                      Exhibit I-A (i)


 Block     Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI         Lease Status
 EI 337   G03332   Federal    OP 3      3/1/1976                      5,000         Fieldwood En      100.0%       UNIT
 EI 342   G02319   Federal    RT A      2/1/1973                      5,000         Fieldwood En        50.0%       SOP
 EI 342   G02319   Federal    RT B      2/1/1973                      5,000         Fieldwood En        75.0%       SOP
 EI 342   G02319   Federal    OP 1      2/1/1973                      5,000         Fieldwood En        75.0%       SOP
 EI 342   G02319   Federal    OP 2      2/1/1973                      5,000         Fieldwood En        61.8%       SOP
 EI 345   G21647   Federal     RT       7/1/2000    8/21/2019         5,000         Fieldwood En        50.0%     TERMIN
 EI 346   G14482   Federal     RT       6/1/1994                      5,000           Arena Off       100.0%       PROD
 EI 353   G03783   Federal     OP       6/1/1978    8/26/2020         5,000            Cox Op         100.0%       PROD
 EI 354   G10752   Federal     RT       5/1/1989                      5,000         Fieldwood En      100.0%       PROD
 EI 354   G10752   Federal     OP       5/1/1989                      5,000         Fieldwood En        67.0%      PROD
 EI 361   G02324   Federal     RT       2/1/1973                      5,000            Cox Op           12.4%      PROD
  EI 53    00479   Federal    OP 1     12/1/1954                      5,000        EnVen En Vent        66.7%      PROD
  EI 53    00479   Federal     OP      12/1/1954                      5,000        EnVen En Vent      100.0%       PROD
  EI 57   G02601   Federal    OP 2      5/1/1974    3/27/2020         5,000           ANKOR En          31.7%     TERMIN
  EI 57   G02601   Federal    OP 4      5/1/1974    3/27/2020         5,000           ANKOR En          15.8%     TERMIN
  EI 88   G10721   Federal     OP       7/1/1989    2/22/2016         5,000         Fieldwood En        75.0%     TERMIN
  EI 89    00044   Federal     OP      8/28/1945    2/22/2016         5,000         Fieldwood En        75.0%     TERMIN
  EI 89    00044   Federal    OP 2     8/28/1945    2/22/2016         5,000         Fieldwood En        75.0%     TERMIN
  EI 90    00229   Federal     OP     11/19/1948    2/22/2016         1,250         Fieldwood En        75.0%     TERMIN
  EI 93    00228   Federal     OP     11/19/1948    2/22/2016         2,500         Fieldwood En        75.0%     TERMIN
  EI 94   G05488   Federal     OP       7/1/1983    2/22/2016         5,000         Fieldwood En        75.0%     TERMIN
  EI 95    00046   Federal     OP      8/28/1945    2/22/2016         5,000         Fieldwood En        75.0%     TERMIN
EW 525    G33704   Federal     RT       7/1/2010    6/19/2015         2,420       Apache Shelf Exp      46.9%     RELINQ
EW 526    G33134   Federal     RT       6/1/2009    5/31/2014         3,517       Apache Shelf Exp    100.0%       EXPIR
EW 781    G33137   Federal     RT       6/1/2009    5/31/2014          309        Apache Shelf Exp    100.0%       EXPIR
EW 782    G31470   Federal     RT      12/1/2007                      1,093         Fieldwood En      100.0%       PROD
EW 789    G33139   Federal     RT       7/1/2009    4/30/2015         5,760       Apache Shelf Exp    100.0%      RELINQ
EW 826    G05800   Federal     RT       7/1/1983                      5,760            BP E&P         100.0%       PROD
EW 905    G34415   Federal     RT       8/1/2012     7/7/2016         1,007       Apache Shelf Exp    100.0%      RELINQ
EW 906    G33708   Federal     RT       6/1/2010     4/7/2016         1,084       Apache Shelf Exp    100.0%      RELINQ
EW 949    G34877   Federal     RT       8/1/2013     7/7/2016         5,760       Apache Shelf Exp    100.0%      RELINQ
EW 950    G33709   Federal     RT       6/1/2010     4/7/2016         5,760       Apache Shelf Exp    100.0%      RELINQ
FM 411    G08361   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.3%      EXPIR
FM 412    G08362   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         16.0%      EXPIR
FM 455    G08363   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.2%      EXPIR
FM 456    G08364   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.3%      EXPIR
FM 499    G08365   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.3%      EXPIR
FM 500    G08366   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         16.0%      EXPIR
FM 543    G08367   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.3%      EXPIR
FM 587    G08368   Federal     RT       8/1/1986    1/30/2015         5,760         Chevron USA         24.3%      EXPIR
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 290
                                                                               210 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres        Operator         WI        Lease Status
GA 151   G15740   Federal     RT     11/1/1995     4/12/2016         4,804          Fieldwood En         33.3%     TERMIN
GA 180   G03228   Federal     RT      9/1/1975                       5,760          Fieldwood En        100.0%      UNIT
GA 192   G03229   Federal   CONT      9/1/1975                       5,760            Arena Off          90.0%      UNIT
GA 210   G25524   Federal    OP 1    12/1/2003                       5,760          Fieldwood En         83.3%      PROD
GA 210   G25524   Federal    OP 3    12/1/2003                       5,760          Fieldwood En         66.7%      PROD
GA 210   G25524   Federal     RT     12/1/2003                       5,760          Fieldwood En         66.7%      PROD
GA 210   G25524   Federal     OP     12/1/2003                       5,760          Fieldwood En         83.3%      PROD
GA 343   G06105   Federal     RT     10/1/1983     1/19/2014         5,760       Black Elk En Off Op     12.5%     TERMIN
GA 343   G06105   Federal     OP     10/1/1983     1/19/2014         5,760       Black Elk En Off Op     37.5%     TERMIN
GB 85    G34515   Federal     RT      8/1/2012      7/7/2016         4,450        Apache Shelf Exp      100.0%     RELINQ
GI 104   G33671   Federal     RT      7/1/2010     6/10/2015         5,000        Apache Shelf Exp       46.9%     RELINQ
GI 110   G13943   Federal     RT      8/1/1993                       5,000          Fieldwood En         50.0%      UNIT
GI 116   G13944   Federal     RT      7/1/1993                       5,000          Fieldwood En         50.0%      UNIT
GI 117   G32232   Federal     RT      8/1/2008     7/31/2013         4,540             Apache           100.0%      EXPIR
 GI 32    00174   Federal     RT     7/17/1948                       2,500             BP E&P            75.0%      UNIT
 GI 32    00174   Federal     OP     7/17/1948                       2,500             BP E&P            37.5%      UNIT
 GI 32   G01580   Federal     RT      7/1/1967     3/15/2016         2,500           BP Am Prod          75.0%     TERMIN
 GI 32   G01580   Federal     OP      7/1/1967     3/15/2016         2,500           BP Am Prod          37.5%     TERMIN
 GI 33   G04002   Federal     RT      3/1/1979     2/24/2017         5,000          Fieldwood En        100.0%     RELINQ
 GI 39    00126   Federal     RT     4/21/1947                       2,500             BP E&P            75.0%      UNIT
 GI 39    00126   Federal     OP     4/21/1947                       2,500             BP E&P            37.5%      UNIT
 GI 39    00127   Federal     RT     4/21/1947                       2,500             BP E&P            75.0%      UNIT
 GI 39    00127   Federal     OP     4/21/1947                       2,500             BP E&P            37.5%      UNIT
 GI 40    00128   Federal     RT     4/21/1947                       5,000             BP E&P            75.0%      UNIT
 GI 40    00128   Federal     OP     4/21/1947                       5,000             BP E&P            37.5%      UNIT
 GI 41    00129   Federal     RT     4/21/1947                       2,500             BP E&P            75.0%      UNIT
 GI 41    00129   Federal     OP     4/21/1947                       2,500             BP E&P            37.5%      UNIT
 GI 41    00130   Federal     RT     4/21/1947                       2,500             BP E&P            75.0%      UNIT
 GI 41    00130   Federal     OP     4/21/1947                       2,500             BP E&P            37.5%      UNIT
 GI 42    00131   Federal     RT     4/21/1947                       5,000             BP E&P            75.0%      UNIT
 GI 43    00175   Federal     RT     7/17/1948         –             5,000           GOM Shelf           75.0%      UNIT
 GI 43    00175   Federal     OP     7/17/1948         –             5,000           GOM Shelf           37.5%      UNIT
 GI 44    00176   Federal     RT     7/17/1948                       2,500             BP E&P            75.0%      UNIT
 GI 44    00176   Federal     OP     7/17/1948                       2,500             BP E&P            37.5%      UNIT
 GI 46    00132   Federal     RT     4/21/1947                       5,000             BP E&P            75.0%      UNIT
 GI 46    00132   Federal     OP     4/21/1947                       5,000             BP E&P            37.5%      UNIT
 GI 47    00133   Federal     RT     4/21/1947                       5,000             BP E&P            75.0%      UNIT
 GI 47    00133   Federal     OP     4/21/1947                       5,000             BP E&P            37.5%      UNIT
 GI 48    00134   Federal     RT     4/21/1947                       5,000             BP E&P            75.0%      UNIT
 GI 48    00134   Federal     OP     4/21/1947                       5,000             BP E&P            37.5%      UNIT
                     Case 20-33948 Document 775-2
                                            723-1 Filed in TXSB on 01/21/21
                                                                   01/01/21 Page 291
                                                                                 211 of 531
                                                                                        491
                                                           Exhibit I-A (i)


 Block      Lease    Type       Rights     Date Le Eff   Date Le Exp    Le Cur Acres        Operator         WI        Lease Status
 GI 52      00177   Federal       RT       7/17/1948                       2,500             BP E&P            75.0%      UNIT
 GI 52      00177   Federal       OP       7/17/1948                       2,500             BP E&P            50.0%      UNIT
 GI 54     G27173   Federal       RT        7/1/2005      2/12/2017        5,000          Fieldwood En         50.0%     TERMIN
 GI 76     G02161   Federal       RT       10/1/1972      9/18/2019        5,000          Fieldwood En         95.8%     RELINQ
 GI 90     G04003   Federal       RT        3/1/1979      4/18/2016        5,000             BP E&P           100.0%     TERMIN
 GI 90     G04003   Federal      OP 1       3/1/1979      4/18/2016        5,000             BP E&P           100.0%     TERMIN
 GI 90     G04003   Federal      OP 2       3/1/1979      4/18/2016        5,000             BP E&P            50.0%     TERMIN
 GI 90     G04003   Federal      OP 4       3/1/1979      4/18/2016        5,000             BP E&P            50.0%     TERMIN
 GI 90     G04003   Federal      OP 5       3/1/1979      4/18/2016        5,000             BP E&P           100.0%     TERMIN
 GI 90     G04003   Federal      OP 6       3/1/1979      4/18/2016        5,000             BP E&P           100.0%     TERMIN
 GI 93     G02628   Federal       RT        5/1/1974      12/4/2014        5,000             BP E&P           100.0%     TERMIN
 GI 93     G02628   Federal       OP        5/1/1974      12/4/2014        5,000             BP E&P           100.0%     TERMIN
 GI 94     G02163   Federal       RT       11/1/1972      7/27/2017        4,540             BP E&P           100.0%     RELINQ
 GI 94     G02163   Federal       OP       11/1/1972      7/27/2017        4,540             BP E&P           100.0%     RELINQ
 GI 98     G34354   Federal       RT        8/1/2012       7/7/2016        5,000        Apache Shelf Exp      100.0%     RELINQ
 HI 110    G02353   Federal       RT        8/1/1973      5/31/2019        5,760            W & T Off          20.0%     TERMIN
 HI 111    G02354   Federal       RT        8/1/1973      4/30/2019        5,760            W & T Off          20.0%     TERMIN
 HI 114    G32747   Federal       RT       12/1/2008     11/30/2013        5,760        Apache Shelf Exp      100.0%      EXPIR
 HI 116    G06156   Federal       RT       10/1/1983      2/25/2015        5,760            Castex Off        100.0%     TERMIN
 HI 129    G01848   Federal       RT        6/1/1968                       5,760          Fieldwood En         90.0%      PROD
 HI 129    G01848   Federal      ORRI       6/1/1968                                      Fieldwood En         10.4%      PROD
 HI 132    G32748   Federal       RT       12/1/2008     11/30/2013          5,760      Apache Shelf Exp      100.0%      EXPIR
 HI 140     00518   Federal       OP        1/1/1955      2/10/2015          5,760     Black Elk En Off Op     50.0%     TERMIN
 HI 163    G22236   Federal       RT       12/1/2000      5/31/2015          5,760        Fieldwood En         70.0%     TERMIN
 HI 176    G06164   Federal   OPRTS Cont   10/1/1983      12/1/2002          5,760           Apache            49.5%     TERMIN
 HI 179    G03236   Federal       RT        9/1/1975                         5,760           Cox Op           100.0%      UNIT
 HI 193    G03237   Federal     CONT        9/1/1975                         5,760          Arena Off          90.0%      UNIT
 HI 194    G06166   Federal       RT       10/1/1983     7/21/2013           5,760           Apache           100.0%     TERMIN
 HI 194    G06166   Federal       OP       10/1/1983     7/21/2013           5,760           Apache            45.0%     TERMIN
 HI 201    G23199   Federal       OP       12/1/2001     10/5/2014           5,760        Apache Shelf         37.6%     TERMIN
 HI 206    G20660   Federal       RT        1/1/1999                         5,760        Fieldwood En        100.0%      PROD
 HI 45     G12564   Federal       RT       10/1/1990       3/8/2015          4,367        Fieldwood En         16.7%     TERMIN
 HI 45     G12564   Federal      OP 1      10/1/1990       3/8/2015          4,367        Fieldwood En         15.0%     TERMIN
 HI 45     G12564   Federal      OP 2      10/1/1990       3/8/2015          4,367        Fieldwood En         33.3%     TERMIN
 HI 52      00508   Federal       RT        1/1/1955      9/24/2013          1,440      SandRidge En Off       75.0%     TERMIN
 HI 52      00509   Federal       RT        1/1/1955      9/24/2013          1,440           Apache            75.0%     TERMIN
 HI 52      00511   Federal       RT        1/1/1955      9/24/2013          1,440           Apache            75.0%     TERMIN
 HI 53      00513   Federal       RT        1/1/1955      9/24/2013           180          Phoenix Exp         75.0%     TERMIN
 HI 53      00740   Federal       RT        4/1/1960      9/24/2013          1,440           Apache            75.0%     TERMIN
HI A‐133   G32760   Federal       RT       11/1/2008     10/31/2013          5,760           Apache           100.0%      EXPIR
                     Case 20-33948 Document 775-2
                                            723-1 Filed in TXSB on 01/21/21
                                                                   01/01/21 Page 292
                                                                                 212 of 531
                                                                                        491
                                                       Exhibit I-A (i)


 Block      Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator        WI         Lease Status
HI A‐145   G32761   Federal     RT     11/1/2008     10/31/2013        5,760            Apache          100.0%       EXPIR
HI A‐146   G32762   Federal     RT     11/1/2008     10/31/2013        5,760       Apache Shelf Exp     100.0%       EXPIR
HI A‐148   G32763   Federal     RT     11/1/2008     10/31/2013        5,760            Apache          100.0%       EXPIR
HI A‐160   G32764   Federal     RT     11/1/2008     10/31/2013        5,760            Apache          100.0%       EXPIR
HI A‐171   G30679   Federal     RT     12/1/2006       8/9/2014        5,760          Walter O&G          33.3%     TERMIN
HI A‐326   G32777   Federal     RT     11/1/2008     10/31/2013        5,760            Apache          100.0%       EXPIR
HI A‐334   G02423   Federal     RT      8/1/1973      2/27/2014        5,760         Fieldwood En         38.9%     TERMIN
HI A‐341   G25605   Federal     RT     12/1/2003                       5,760         Fieldwood En         60.0%      PROD
HI A‐350   G02428   Federal     RT      8/1/1973     7/24/2013         4,345            Apache          100.0%      RELINQ
HI A360    G34677   Federal     RT      3/1/2013     2/18/2016         5,760       Apache Shelf Exp     100.0%      RELINQ
HI A361    G34678   Federal     RT      3/1/2013     2/24/2017         5,760         Fieldwood En       100.0%      RELINQ
HI A363    G33413   Federal     RT     10/1/2009     9/30/2014         5,760       Apache Shelf Exp     100.0%       EXPIR
HI A‐365   G02750   Federal     RT      7/1/1974                       5,760         Fieldwood En         53.1%      PROD
HI A‐376   G02754   Federal    OP 1     7/1/1974                       5,760         Fieldwood En       100.0%       PROD
HI A‐376   G02754   Federal     RT      7/1/1974                       5,760         Fieldwood En         44.4%      PROD
HI A‐376   G2754    Federal    ORRI     7/1/1974                                     Fieldwood En          1.2%      PROD
HI A‐376   G2754    Federal    ORRI     7/1/1974                                     Fieldwood En          6.0%      PROD
HI A‐382   G02757   Federal     RT      7/1/1974                         5,760       Fieldwood En         72.4%      PROD
HI A406    G32767   Federal     RT     11/1/2008     10/31/2013          5,760          Apache          100.0%       EXPIR
HI A430    G33412   Federal     RT     10/1/2009      9/30/2014          5,760     Apache Shelf Exp     100.0%       EXPIR
HI A442    G11383   Federal     OP     11/1/1989      3/27/2017          5,760     Northstar Off Grp      22.7%     TERMIN
HI A454    G32769   Federal     RT     11/1/2008     10/31/2013          5,760          Apache          100.0%       EXPIR
HI A457    G32770   Federal     RT     11/1/2008     10/31/2013          5,760          Apache          100.0%       EXPIR
HI A‐474   G02366   Federal     RT      8/1/1973      2/28/2017          5,760      McMoRan O&G           10.0%     TERMIN
HI A‐475   G02367   Federal   CONT      8/1/1973     12/25/1999          5,760         CNG Prod           10.0%     TERMIN
HI A‐489   G02372   Federal     RT      8/1/1973      2/28/2017          5,760      McMoRan O&G            8.5%     TERMIN
HI A537    G02698   Federal   CONT     5/29/1974      11/2/2016                     McMoRan O&G                     TERMIN
HI A545    G17199   Federal     OP      1/1/1997      6/30/2019          5,760       Fieldwood En        60.0%      TERMIN
HI A‐572   G02392   Federal     RT      8/1/1973      5/18/2006          5,760          Apache           72.4%      TERMIN
HI A‐573   G02393   Federal     RT      8/1/1973                         5,760       Fieldwood En        72.4%       PROD
HI A‐581   G18959   Federal   CONT     8/27/1997      7/1/2005                          Cox Op           24.7%      TERMIN
HI A582    G02719   Federal     RT      7/1/1974                         5,760          Cox Op           24.7%       PROD
HI A‐582   G02719   Federal    OP 1     7/1/1974                         5,760          Cox Op           15.5%       PROD
HI A‐595   G02721   Federal     RT      7/1/1974                         5,760       Fieldwood En        72.4%       PROD
HI A‐596   G02722   Federal     RT      7/1/1974                         5,760       Fieldwood En        72.4%       PROD
MC 108     G09777   Federal     RT      7/1/1988                         5,760          BP E&P           75.2%       PROD
MC 108     G09777   Federal     OP      7/1/1988                         5,760          BP E&P           75.2%       PROD
MC 110     G18192   Federal     RT      8/1/1997                         5,760       Fieldwood En        50.0%       PROD
MC 110     G18192   Federal    ORRI     8/1/1997                                     Fieldwood En         3.9%       PROD
 MC 21     G28351   Federal    ORRI     7/1/1995                         4,445         ANKOR En           3.0%       PROD
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 293
                                                                                    213 of 531
                                                                                           491
                                                         Exhibit I-A (i)


 Block      Lease      Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres      Operator        WI         Lease Status
MC 311     G02968     Federal     RT     12/1/1974                       5,760        Fieldwood En       100.0%       PROD
MC 65      G21742     Federal     RT      6/1/2000                       5,760          ANKOR En         100.0%       PROD
MC 65      G21742     Federal    ORRI     6/1/2000                                      ANKOR En           13.0%      PROD
MI 486    MF88560     SL ‐ TX     WI     10/5/1982       9/1/2019          1,440        Fieldwood        100.0%      EXPIRED
MI 487    MF‐88562    SL ‐ TX    WI      10/5/1982          –              1,305        Fieldwood        100.0%         SI
MI 518     G05169     Federal     RT      1/1/1983      9/30/2019          5,675          BP E&P         100.0%      TERMIN
MI 518    MF80522     SL ‐ TX     WI     10/2/1979       9/1/2019            85         Fieldwood        100.0%      EXPIRED
MI 519     MF-79413   SL ‐ TX    WI       2/6/1979          –               739         Fieldwood        100.0%         SI
MI 622      G05000    Federal     RT      4/1/1982      8/23/2018          5,760          BP E&P           81.0%     TERMIN
MI 622      G05000    Federal     OP      4/1/1982      8/23/2018          5,760          BP E&P           37.5%     TERMIN
MI 623      G03088    Federal     RT      4/1/1975      8/23/2018          5,760          BP E&P           81.0%     TERMIN
MI 623      G03088    Federal     OP      4/1/1975      8/23/2018          5,760          BP E&P           37.5%     TERMIN
MI 635      G06043    Federal     RT     10/1/1983      8/23/2018          5,760          BP E&P           81.0%     TERMIN
MI 635      G06043    Federal     OP     10/1/1983      8/23/2018          5,760          BP E&P           37.5%     TERMIN
MI 636      G34670    Federal     RT      4/1/2013      3/25/2016          5,760     Apache Shelf Exp    100.0%      RELINQ
MI 652      G34022    Federal     RT      2/1/2012      1/31/2017          5,760     Apache Shelf Exp    100.0%       EXPIR
MI 681      G04703    Federal     RT      9/1/1981      2/25/2014          5,760      Fieldwood En       100.0%      TERMIN
MI 685      G04548    Federal     RT      1/1/1981     12/22/2014          5,760         EOG Res           50.0%     TERMIN
MI 685      G04548    Federal     OP      1/1/1981     12/22/2014          5,760         EOG Res            2.5%     TERMIN
MI 703      G03733    Federal     RT      6/1/1978      2/26/2014          5,760      Fieldwood En       100.0%      TERMIN
MI 703      G03733    Federal    OP 1     6/1/1978      2/26/2014          5,760      Fieldwood En       100.0%      TERMIN
MI 703      G03733    Federal    OP 2     6/1/1978      2/26/2014          5,760      Fieldwood En       100.0%      TERMIN
MI 772     MF93351    SL ‐ TX     WI      2/7/1989       1/1/2017           704         Fieldwood        100.0%    TERMINATED
MO 820      G34403    Federal     RT      8/1/2012       7/7/2016          3,347     Apache Shelf Exp    100.0%      RELINQ
MO 821      G05058    Federal     RT      4/1/1982      9/19/2014          4,028      Fieldwood En       100.0%      TERMIN
MO 821   E OF ALABAMA SL ‐ AL     WI     8/14/1984       1/1/2019          2,511        Fieldwood        100.0%    TERMINATED
MO 826      G26176    Federal     RT      7/1/2004                         1,430      Fieldwood En         75.0%      PROD
MO 871      G32272    Federal     RT      8/1/2008     7/31/2013           5,760          Apache         100.0%       EXPIR
MO 913      G33131    Federal     RT      6/1/2009     5/31/2014           5,760     Apache Shelf Exp      75.0%      EXPIR
MO 914      G33132    Federal     RT      6/1/2009     5/31/2014           5,760     Apache Shelf Exp      75.0%      EXPIR
MP 120       G3197    Federal    ORRI     7/1/1975                                      Arena Off           2.0%      PROD
MP 120      G03197    Federal    ORRI    5/28/1975                                      Arena Off           2.0%      PROD
MP 134      G34375    Federal     RT     10/1/2012     9/16/2016           4,995     Apache Shelf Exp    100.0%      RELINQ
MP 135      G34376    Federal     RT     10/1/2012     9/16/2016           4,995     Apache Shelf Exp    100.0%      RELINQ
MP 136      G34377    Federal     RT     10/1/2012     9/16/2016           4,995     Apache Shelf Exp    100.0%      RELINQ
MP 137      G34378    Federal     RT     10/1/2012     9/16/2016           4,995     Apache Shelf Exp    100.0%      RELINQ
MP 140      G02193    Federal     RT     10/1/1972                         4,995      Fieldwood En         65.0%      PROD
MP 143      G34380    Federal     RT     10/1/2012     9/16/2016           4,995     Apache Shelf Exp    100.0%      RELINQ
MP 146      G34860    Federal     RT      7/1/2013     6/21/2017           4,561     Apache Shelf Exp      75.0%     RELINQ
MP 147      G34861    Federal     RT      7/1/2013     6/21/2017           4,561     Apache Shelf Exp      75.0%     RELINQ
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 294
                                                                               214 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI         Lease Status
MP 148   G34381   Federal     RT     11/1/2012     10/4/2016         5,000       Apache Shelf Exp    100.0%      RELINQ
MP 149   G34382   Federal     RT     11/1/2012     10/4/2016         5,000       Apache Shelf Exp    100.0%      RELINQ
MP 150   G34862   Federal     RT      7/1/2013     6/21/2017         5,000       Apache Shelf Exp      75.0%     RELINQ
MP 152   G01966   Federal     RT      1/1/1970                       4,978         Fieldwood En        50.0%      UNIT
MP 152   G01966   Federal     OP      1/1/1970                       4,978         Fieldwood En        75.0%      UNIT
MP 153   G01967   Federal     RT      1/1/1970                       5,000         Fieldwood En        50.0%      UNIT
MP 153   G01967   Federal     OP      1/1/1970                       5,000         Fieldwood En        75.0%      UNIT
MP 166   G26152   Federal     RT      7/1/2004     11/3/2014         4,995         Fieldwood En      100.0%      TERMIN
MP 175   G08753   Federal     OP      8/1/1987      9/1/2013         4,995            Tana Exp         21.2%     TERMIN
MP 255   G07825   Federal     RT      8/1/1985      3/9/2014         4,995         Fieldwood En        52.4%     TERMIN
MP 259   G07827   Federal     RT      9/1/1985     7/11/2020         4,995         Fieldwood En        56.9%      UNIT
MP 260   G07828   Federal     RT      9/1/1985     7/11/2020         4,995         Fieldwood En        56.9%      UNIT
MP 270   G22812   Federal    ORRI     7/1/2001                       4,995           Castex Off         1.0%      UNIT
MP 271   G34388   Federal     RT     10/1/2012     9/30/2017         4,995       Apache Shelf Exp    100.0%       EXPIR
MP 272   G34865   Federal     RT      7/1/2013     6/21/2017         4,995       Apache Shelf Exp      75.0%     RELINQ
MP 273   G33690   Federal     RT      7/1/2010                       4,995           Castex Off        37.5%      UNIT
MP 274   G33691   Federal     RT      7/1/2010     6/30/2015         4,995           Castex Off        37.5%      EXPIR
MP 275   G15395   Federal     RT      9/1/1995                       4,995         Fieldwood En      100.0%       PROD
MP 275   G15395   Federal    ORRI     9/1/1995                                     Fieldwood En         8.3%      PROD
MP 281   G10910   Federal     RT      7/1/1989                         4,995      EnVen En Vent        50.0%      PROD
MP 281   G10910   Federal     OP      7/1/1989                         4,995      EnVen En Vent        30.0%      PROD
MP 281   G10910   Federal    ORRI     7/1/1989                                    EnVen En Vent         3.1%      PROD
MP 289   G01666   Federal     RT      7/1/1967                         4,561       Fieldwood En      100.0%       PROD
MP 290   G34866   Federal     RT      7/1/2013      6/21/2017          4,561     Apache Shelf Exp      75.0%     RELINQ
MP 290   G01667   Federal     RT      7/1/1967     11/22/2012          4,561           Apache        100.0%      TERMIN
MP 291   G34391   Federal     RT     11/1/2012     10/31/2017          4,561     Apache Shelf Exp    100.0%       EXPIR
MP 292   G34392   Federal     RT     11/1/2012      10/4/2016          4,561     Apache Shelf Exp    100.0%      RELINQ
MP 293   G34393   Federal     RT     11/1/2012     10/31/2017          4,561     Apache Shelf Exp    100.0%       EXPIR
MP 294   G34394   Federal     RT     11/1/2012      10/4/2016          4,561     Apache Shelf Exp    100.0%      RELINQ
MP 295   G32263   Federal   CONT      8/1/2008      7/31/2015          4,561       Fieldwood En        37.5%     TERMIN
MP 296   G01673   Federal     RT      6/1/1967                         4,561        GOM Shelf          50.0%      UNIT
MP 296   G01673   Federal     OP      6/1/1967                         4,561        GOM Shelf          25.0%      UNIT
MP 297   G34395   Federal     RT     11/1/2012     10/4/2016           4,561     Apache Shelf Exp    100.0%      RELINQ
MP 300   G01317   Federal     OP      6/1/1962                         4,561          Cantium          10.4%      UNIT
MP 301   G04486   Federal    OP 1    11/1/1980     8/23/2019           5,000        Walter O&G         10.4%     TERMIN
MP 301   G04486   Federal    OP 2    11/1/1980     8/23/2019           5,000        Walter O&G          6.3%     TERMIN
MP 301   G04486   Federal    OP 3    11/1/1980     8/23/2019           5,000        Walter O&G         10.4%     TERMIN
MP 301   G04486   Federal     RT     11/1/1980     8/23/2019           5,000        Walter O&G         10.4%     TERMIN
MP 302   G32264   Federal     RT      7/1/2008                         5,000        GOM Shelf        100.0%       PROD
MP 303   G04253   Federal    OP 1    12/1/1979                         5,000       Fieldwood En        25.0%      UNIT
                      Case 20-33948 Document 775-2
                                             723-1 Filed in TXSB on 01/21/21
                                                                    01/01/21 Page 295
                                                                                  215 of 531
                                                                                         491
                                                        Exhibit I-A (i)


  Block     Lease     Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI         Lease Status
 MP 303    G04253    Federal     RT     12/1/1979                       5,000         Fieldwood En      100.0%       UNIT
 MP 304    G03339    Federal     OP      4/1/1976                       5,000        ConocoPhillips     100.0%       UNIT
 MP 305    G34396    Federal     RT     12/1/2012     11/22/2016        5,000       Apache Shelf Exp    100.0%      RELINQ
 MP 308    G32265    Federal     RT      8/1/2008                       5,000         Fieldwood En      100.0%       PROD
 MP 309    G08760    Federal     RT      6/1/1987                       5,000         Fieldwood En      100.0%       PROD
 MP 310    G04126    Federal     RT     10/1/1979                       5,000         Fieldwood En      100.0%       UNIT
 MP 311    G02213    Federal     RT     11/1/1972                       5,000          GOM Shelf          50.0%      PROD
 MP 311    G02213    Federal     OP     11/1/1972                       5,000          GOM Shelf          25.0%      PROD
 MP 312    G16520    Federal     RT      7/1/1996                       5,000         Fieldwood En      100.0%       PROD
 MP 314    G33693    Federal     OP      7/1/2010     6/30/2015         5,000       Apache Shelf Exp      80.0%      EXPIR
 MP 315    G08467    Federal     RT      7/1/1986                       5,000         Fieldwood En      100.0%       PROD
 MP 315    G08467    Federal    OP 3     7/1/1986                       5,000         Fieldwood En      100.0%       PROD
 MP 315    G08467    Federal    OP 1     7/1/1986                       5,000         Fieldwood En        80.0%      PROD
  MP 5     SL13890   SL ‐ LA     WI                                       26             Apache           50.0%     TERMIN
 MP 59     G03194    Federal     OP      7/1/1975                       1,406            Cantium          37.5%      UNIT
 MP 59     G08461    Federal     OP      7/1/1986                       2,340            Cantium          37.5%      UNIT
  MP 6     SL03771   SL ‐ LA     WI     4/26/1961     6/28/2012         1,067            Apache           50.0%     TERMIN
  MP 6     SL13580   SL ‐ LA     WI                                      287             Apache           50.0%     TERMIN
  MP 6     SL13891   SL ‐ LA     WI                                      270             Apache           50.0%     TERMIN
 MP 64     G04909    Federal    ORRI    12/1/1981                       4,988        Sanare En Part        4.2%      UNIT
  MP 7     SL03773   SL ‐ LA     WI     4/26/1961     6/28/2012            –             Apache           50.0%     TERMIN
  MP 7     SL13892   SL ‐ LA     WI                                       44             Apache           50.0%     TERMIN
 MP 74     G34857    Federal     RT      8/1/2013      7/7/2016         1,733       Apache Shelf Exp      75.0%     RELINQ
 MP 77     G04481    Federal     RT     11/1/1980                       4,655       Fieldwood En Off      26.2%      PROD
MP 77/78   G04481    Federal     OP     11/1/1980                       4,655       Fieldwood En Off      23.5%      PROD
 MP 91     G14576    Federal     RT      5/1/1994      3/18/2008        1,017            Apache         100.0%      TERMIN
 MU 883    MF98761   SL ‐ TX     WI                    10/1/2012                         Apache         100.0%      TERMIN
MU A‐111   G03068    Federal     RT      4/1/1975      1/12/2013          5,760          Apache         100.0%      TERMIN
MU A133    G33392    Federal     RT     10/1/2009      9/30/2014          5,760     Apache Shelf Exp    100.0%       EXPIR
MU A134    G32724    Federal     RT     11/1/2008     10/31/2013          5,760          Apache         100.0%       EXPIR
MU A85     G03061    Federal     RT      4/1/1975                         5,760      EnVen En Vent        53.3%      PROD
 PE 881    G06390    Federal     OP      2/1/1984     10/17/2013          5,760      ConocoPhillips       18.8%     TERMIN
   PL 1    G04234    Federal     RT      1/1/1980      7/10/2020          1,568       Fieldwood En      100.0%       PROD
  PL 10    G02925    Federal     RT     12/1/1974      7/26/2020          5,000       Fieldwood En      100.0%       PROD
  PL 11     00071    Federal     RT     9/12/1946       9/8/2020          5,000       Fieldwood En      100.0%       PROD
  PL 25    G14535    Federal     RT      7/1/1994      7/30/2019          5,000         Arena Off       100.0%      TERMIN
   PL 5    G12027    Federal     RT      6/1/1990      5/13/2019          5,000        Talos En Off     100.0%      RELINQ
   PL 6    G09651    Federal     RT      5/1/1988      7/12/2017          5,000        Walter O&G       100.0%      RELINQ
   PL 6    G09651    Federal    OP 1     5/1/1988      7/12/2017          5,000        Walter O&G         35.0%     RELINQ
   PL 6    G09651    Federal    OP 2     5/1/1988      7/12/2017          5,000        Walter O&G         65.0%     RELINQ
                      Case 20-33948 Document 775-2
                                             723-1 Filed in TXSB on 01/21/21
                                                                    01/01/21 Page 296
                                                                                  216 of 531
                                                                                         491
                                                        Exhibit I-A (i)


 Block      Lease     Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres      Operator        WI        Lease Status
  PL 8     G03587    Federal     RT      8/1/1977     6/19/2018         5,000          ANKOR En          12.5%     TERMIN
  PL 9     G02924    Federal     RT     12/1/1974     7/26/2020         5,000        Fieldwood En       100.0%      PROD
  PL 9     G02924    Federal     OP     12/1/1974     7/26/2020         5,000        Fieldwood En        50.0%      PROD
PN 883    MF100410   SL ‐ TX     WI     10/6/1998      1/0/1900          720           Fieldwood         35.0%     ACTIVE
PN 883    MF100411   SL ‐ TX     WI     10/6/1998      1/0/1900          720           Fieldwood         35.0%     ACTIVE
PN 883    MF100412   SL ‐ TX     WI     10/6/1998      1/0/1900          720           Fieldwood         35.0%     ACTIVE
PN 883    MF101898   SL ‐ TX     WI     10/6/1998                                        Apache          35.0%     TERMIN
PN 883    MF96146    SL ‐ TX     WI     10/4/1994       1/0/1900           720         Fieldwood         35.0%     ACTIVE
PN 883    MF96147    SL ‐ TX     WI     10/4/1994       1/0/1900           720         Fieldwood         35.0%     ACTIVE
PN 883     SL96146   SL ‐ TX     WI     10/4/1994       1/0/1900           720         Fieldwood         35.0%     ACTIVE
PN 899L   MF100413   SL ‐ TX     WI     10/6/1998       1/0/1900           375         Fieldwood         35.0%     ACTIVE
PN 899L   MF100414   SL ‐ TX     WI     10/6/1998       1/0/1900           360         Fieldwood         35.0%     ACTIVE
PN 969     G05953    Federal     RT     10/1/1983      6/30/2015          5,760     Peregrine O&G II      8.3%     TERMIN
PN 976     G05954    Federal     RT     10/1/1983      6/30/2015          5,760     Peregrine O&G II      8.3%     TERMIN
 SA 10     G03958    Federal     RT      3/1/1979     12/29/2017          3,144      Fieldwood En        92.3%     TERMIN
 SA 10     G03958    Federal     OP      3/1/1979     12/29/2017          3,144      Fieldwood En        20.0%     TERMIN
 SA 13     G03959    Federal     OP      3/1/1979      1/16/2020          5,000     Renaissance Off      50.0%     TERMIN
 SM 10     G01181    Federal     RT      4/1/1962       1/6/2019          5,000      Fieldwood En       100.0%     TERMIN
SM 105     G17938    Federal     RT      8/1/1997                         5,000      Fieldwood En       100.0%      PROD
SM 106     G02279    Federal     RT      2/1/1973     11/19/2015          2,500      Fieldwood En       100.0%     TERMIN
SM 106     G03776    Federal     RT      6/1/1978                         2,500      Fieldwood En       100.0%      PROD
SM 108      00792    Federal     RT      5/1/1960         –               5,000       Talos En Off       25.0%      PROD
SM 108      00792    Federal     OP      5/1/1960         –               5,000       Talos En Off       12.5%      PROD
 SM 11     G01182    Federal     RT      3/1/1962                         5,000      Fieldwood En       100.0%      PROD
SM 127     G02883    Federal     RT     12/1/1974                         2,784      Fieldwood En        66.7%      PROD
SM 127     G02883    Federal    OP 2    12/1/1974                         2,784      Fieldwood En        33.3%      PROD
SM 128     G02587    Federal     RT      5/1/1974                         5,000      Fieldwood En        66.7%      PROD
SM 132     G02282    Federal     RT      2/1/1973      4/1/2016           5,000      Fieldwood En        50.0%     TERMIN
SM 135     G19776    Federal     RT      5/1/1998     2/18/2012           3,293      Mariner En Res      50.0%     TERMIN
SM 136     G02588    Federal     RT      5/1/1974      8/4/2019           2,500      Fieldwood En        50.0%     TERMIN
SM 137     G02589    Federal     RT      5/1/1974     6/30/2015           5,000      Fieldwood En        50.0%     TERMIN
SM 141     G02885    Federal    OP 2    12/1/1974      4/1/2016           5,000      Fieldwood En        66.7%     TERMIN
SM 141     G02885    Federal     RT     12/1/1974      4/1/2016           5,000      Fieldwood En        77.6%     TERMIN
SM 149     G02592    Federal     RT      5/1/1974                         2,500      Fieldwood En        50.0%      PROD
SM 150     G16325    Federal     RT      6/1/1996     5/22/2018           3,329      Fieldwood En        50.0%     RELINQ
SM 161     G04809    Federal     RT      9/1/1981                         5,000      Fieldwood En       100.0%      PROD
SM 171     G34273    Federal     RT      9/1/2012     8/31/2017           5,000     Apache Shelf Exp    100.0%      EXPIR
SM 172     G34274    Federal     RT      9/1/2012     8/23/2016           5,000     Apache Shelf Exp    100.0%     RELINQ
SM 177     G34275    Federal     RT      9/1/2012     8/23/2016           5,000     Apache Shelf Exp    100.0%     RELINQ
SM 178     G34276    Federal     RT      9/1/2012     8/31/2017           5,000     Apache Shelf Exp    100.0%      EXPIR
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 297
                                                                               217 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres        Operator         WI        Lease Status
 SM 18   G08680   Federal     RT       6/1/1987     11/3/2019        5,000          Fieldwood En         50.0%     TERMIN
 SM 18   G08680   Federal     OP       6/1/1987     11/3/2019        5,000          Fieldwood En        100.0%     TERMIN
SM 188   G34277   Federal     RT       9/1/2012     8/23/2016        5,000        Apache Shelf Exp      100.0%     RELINQ
SM 189   G34278   Federal     RT       9/1/2012     8/23/2016        5,000        Apache Shelf Exp      100.0%     RELINQ
SM 193   G34279   Federal     RT       9/1/2012     8/23/2016        5,000        Apache Shelf Exp      100.0%     RELINQ
SM 195   G21108   Federal    ORRI      6/1/1999    12/27/2015                        Tarpon O&D           4.0%     TERMIN
SM 236   G4437    Federal    ORRI     11/1/1980                                        Cox Op             4.4%      UNIT
SM 241    00310   Federal     RT       2/7/1936        –               114,601         Cox Op            60.0%      UNIT
SM 241    00310   Federal     OP       2/7/1936        –               114,601         Cox Op            60.0%      UNIT
SM 241    00310   Federal    Unit      2/7/1936        –               114,601         Cox Op            16.0%      UNIT
SM 268   G02310   Federal   CONT     12/19/1972     9/7/2009                           Apache            69.9%     TERMIN
SM 268   G34284   Federal     RT       8/1/2012    7/31/2017            3,237     Apache Shelf Exp      100.0%      EXPIR
SM 269   G02311   Federal     RT       1/1/1973                         5,000       Fieldwood En         72.8%       SOP
SM 280   G14456   Federal    OP 1      6/1/1994                         5,000       Fieldwood En         50.0%      PROD
SM 280   G14456   Federal    OP 3      6/1/1994                         5,000       Fieldwood En         50.0%      PROD
SM 280   G14456   Federal     RT       6/1/1994                         5,000       Fieldwood En         50.0%      PROD
SM 281   G02600   Federal     RT       4/1/1974                         3,214       Fieldwood En         68.1%      PROD
 SM 34   G13897   Federal     OP       5/1/1993    8/24/2014            5,000    Black Elk En Off Op     50.0%     TERMIN
 SM 41   G01192   Federal     OP       6/1/1962                         5,000     Fieldwood En Off       50.0%      PROD
 SM 44   G23840   Federal     RT       5/1/2002    3/25/2014            5,000     SandRidge En Off      100.0%     TERMIN
 SM 48    00786   Federal     OP       5/1/1960        –                5,000       Fieldwood En         50.0%      PROD
 SM 58   G01194   Federal     RT       5/1/1962                         5,000         ANKOR En          100.0%      PROD
 SM 66   G01198   Federal     RT       6/1/1962    9/25/2019            5,000       Fieldwood En         50.0%     TERMIN
  SM 7   G33610   Federal     RT       7/1/2010    4/30/2015            5,000     Apache Shelf Exp      100.0%     RELINQ
 SM 76   G01208   Federal     RT       6/1/1962    1/26/2020            5,000       Fieldwood En         50.0%     TERMIN
 SM 93   G21618   Federal     RT       5/1/2000                         5,000         Talos ERT          12.5%      PROD
 SM 97   G32159   Federal     RT       8/1/2008    7/31/2013            5,000          Apache           100.0%      EXPIR
 SP 61   G01609   Federal     OP       7/1/1967                         5,000       Fieldwood En        100.0%      UNIT
 SP 62   G01294   Federal     RT       6/1/1962                         5,000       Fieldwood En        100.0%      PROD
 SP 63   G34365   Federal     RT       8/1/2012    7/31/2017            5,000     Apache Shelf Exp      100.0%      EXPIR
 SP 64   G01901   Federal     RT       1/1/1969                         5,000       Fieldwood En         50.0%      UNIT
 SP 64   G01901   Federal     OP       1/1/1969                         5,000       Fieldwood En         75.0%      UNIT
 SP 65   G01610   Federal     RT       7/1/1967                         5,000       Fieldwood En         50.0%      UNIT
 SP 65   G01610   Federal     OP       7/1/1967                         5,000       Fieldwood En         75.0%      UNIT
 SP 66   G1611    Federal    ORRI      6/1/1967                                     Fieldwood En          8.3%      UNIT
 SP 68   G34366   Federal     RT       8/1/2012     7/7/2016            5,000     Apache Shelf Exp      100.0%     RELINQ
 SP 69   G34367   Federal     RT       8/1/2012     7/7/2016            5,000     Apache Shelf Exp      100.0%     RELINQ
 SP 70   G01614   Federal     RT       6/1/1967                         5,000       Fieldwood En        100.0%      PROD
 SP 75   G05051   Federal    OP 2      4/1/1982    1/23/2016            5,000         GOM Shelf          28.8%     TERMIN
 SP 75   G05051   Federal     RT       4/1/1982    1/23/2016            5,000         GOM Shelf          71.2%     TERMIN
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 298
                                                                               218 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator      WI        Lease Status
 SP 83   G05052   Federal    ORRI     4/1/1982     2/27/2020         5,000          Arena Off         0.7%     RELINQ
 SP 87   G07799   Federal     RT      9/1/1985      8/2/2020         3,540        Fieldwood En       33.3%      PROD
 SP 88   G10894   Federal     RT      6/1/1989      5/2/2012         3,540            Apache        100.0%     RELINQ
 SP 89   G01618   Federal     RT      7/1/1967                       5,000        Fieldwood En       50.0%      PROD
 SP 96   G31431   Federal     RT      3/1/2008     2/21/2014         5,000           Stone En        50.0%     RELINQ
SS 105   G09614   Federal     RT      8/1/1988                       5,000         Bennu O&G        100.0%      PROD
SS 105   G09614   Federal    OP 2     8/1/1988                       5,000         Bennu O&G        100.0%      PROD
SS 105   G09614   Federal    OP 3     8/1/1988                       5,000         Bennu O&G        100.0%      PROD
SS 126   G12940   Federal     RT      5/1/1991     2/16/2020         5,000        Fieldwood En      100.0%     TERMIN
SS 126   G12940   Federal     OP      5/1/1991     2/16/2020         5,000        Fieldwood En      100.0%     TERMIN
SS 129   G12941   Federal     RT      5/1/1991                       5,000        Fieldwood En      100.0%      PROD
SS 129   G12941   Federal    ORRI     5/1/1991                                    Fieldwood En        3.3%      PROD
SS 130    00453   Federal    ORRI     1/1/1955      2/25/2020          5,000         W&T Off          3.0%     TERMIN
SS 145   G34831   Federal   CONT      9/1/2013     10/31/2019          5,000      Hoactzin Part      25.0%     TERMIN
SS 150    00419   Federal    ORRI    11/1/1954          –              5,000       Ridgelake En       5.0%      PROD
SS 151   G15282   Federal     RT      7/1/1995                         5,000     EnVen En Vent      100.0%      PROD
SS 153   G18011   Federal     RT      7/1/1997      7/5/2016           5,000      Fieldwood En       33.3%     TERMIN
SS 154    00420   Federal    ORRI    11/1/1954                                     Ridgelake En       8.0%      PROD
SS 159   G11984   Federal     OP      7/1/1990     10/31/2019          5,000      Hoactzin Part      15.5%     TERMIN
SS 169    00820   Federal     RT      4/1/1960                         5,000      Fieldwood En       66.7%      PROD
SS 175   G05550   Federal     RT      7/1/1983                         5,000      Chevron USA        66.7%      UNIT
SS 176   G33646   Federal     RT      7/1/2010                         5,000      Fieldwood En       40.0%      PROD
SS 178   G05551   Federal     RT      7/1/1983                         5,000      Fieldwood En      100.0%      PROD
SS 182   G03998   Federal     RT      3/1/1979                         2,500      Fieldwood En      100.0%      PROD
SS 188   G05203   Federal   CONT      1/1/1983     12/30/1991          5,027      Shell Offshore    100.0%     TERMIN
SS 189   G04232   Federal    OP 5    12/1/1979                         5,000      Fieldwood En       99.0%      PROD
SS 189   G04232   Federal     RT     12/1/1979                         5,000      Fieldwood En       99.0%      PROD
SS 189   G4232    Federal    ORRI    12/1/1979                                    Fieldwood En        8.0%      PROD
SS 190   G10775   Federal     RT      4/1/1989     8/10/2019           5,000      Fieldwood En       60.0%     TERMIN
SS 190   G10775   Federal     OP      4/1/1989     8/10/2019           5,000      Fieldwood En      100.0%     TERMIN
SS 193   G13917   Federal     RT      5/1/1993                         5,000      Fieldwood En      100.0%      PROD
SS 194   G15288   Federal     RT      7/1/1995                         5,000      Fieldwood En      100.0%      PROD
SS 198    00593   Federal     RT      9/1/1955                         2,969     Renaissance Off     50.0%      PROD
SS 198   G12355   Federal     OP      9/1/1955                         2,031     Renaissance Off     25.0%      PROD
SS 199    00594   Federal     RT      9/1/1955                         3,516       Talos En Off      50.0%      PROD
SS 199   G12358   Federal     OP      9/1/1955                         1,484     Renaissance Off     50.0%      PROD
SS 204   G01520   Federal     RT      7/1/1967                         5,000      Fieldwood En       55.2%      PROD
SS 206   G01522   Federal     RT      7/1/1967                         5,000      Fieldwood En       60.0%      UNIT
SS 207   G01523   Federal     RT      7/1/1967                         5,000      Fieldwood En       72.2%      UNIT
SS 207   G01523   Federal     OP      7/1/1967                         5,000      Fieldwood En       47.6%      UNIT
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 299
                                                                               219 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI         Lease Status
SS 210   G05204   Federal   CONT      1/1/1983     12/26/1990        5,000         Shell Offshore    100.0%      RELINQ
SS 216   G01524   Federal     RT      7/1/1967                       5,000         Fieldwood En        80.0%      PROD
SS 243   G10780   Federal     RT      7/1/1989                       5,000         Fieldwood En        50.0%      PROD
SS 243   G10780   Federal    ORRI     7/1/1989                                     Fieldwood En         4.2%      PROD
SS 249   G01030   Federal    OP 1     6/1/1962                         5,000     Fieldwood En Off       5.3%      UNIT
SS 249   G1030    Federal    ORRI     6/1/1962                                   Fieldwood En Off       0.2%      UNIT
SS 258   G05560   Federal     RT      7/1/1983      4/1/2016           5,000         Castex Off      100.0%      TERMIN
SS 258   G05560   Federal     OP      7/1/1983      4/1/2016           5,000         Castex Off         7.4%     TERMIN
SS 259   G05044   Federal     RT      4/1/1982      3/1/2018           5,141       Fieldwood En      100.0%      TERMIN
SS 259   G05044   Federal     OP      4/1/1982      3/1/2018           5,141       Fieldwood En         7.4%     TERMIN
SS 271   G01038   Federal     RT      6/1/1962                         5,000     Fieldwood En Off      20.0%      UNIT
SS 274   G01039   Federal     RT      6/1/1962                         5,000       Fieldwood En      100.0%       PROD
SS 276   G10785   Federal     RT      5/1/1989     10/31/2007          5,000         Forest Oil        66.7%     TERMIN
SS 277   G09627   Federal     RT      5/1/1988                         5,000       Fieldwood En         1.0%       SOP
SS 277   G09627   Federal     OP      5/1/1988                         5,000       Fieldwood En      100.0%        SOP
SS 278   G32206   Federal     RT      8/1/2008     7/31/2013           5,000          Apache         100.0%       EXPIR
SS 291   G02923   Federal     OP     12/1/1974                         3,750       Fieldwood En        67.9%     OPERNS
 SS 30    00333   Federal     RT     9/12/1946                         5,000         W & T Off         37.5%      UNIT
SS 301   G10794   Federal    ORRI     5/1/1989                                     Fieldwood En         1.5%       SOP
 SS 31    00334   Federal     RT     9/12/1946                         5,000         W & T Off         37.5%      UNIT
SS 314   G26074   Federal    OP 4     5/1/2004                         5,000       Fieldwood En        37.5%      PROD
SS 314   G26074   Federal     RT      5/1/2004                         5,000       Fieldwood En        75.0%      PROD
SS 314   G26074   Federal    ORRI     5/1/2004                                     Fieldwood En         4.5%      PROD
 SS 32    00335   Federal     RT     9/12/1946                         5,000         W & T Off         37.5%      UNIT
 SS 33    00336   Federal   CONT     9/12/1946         –               5,000          W&T Off          28.9%      UNIT
 SS 33    00336   Federal    ORRI    9/12/1946         –               5,000          W&T Off           0.8%      UNIT
SS 354   G15312   Federal     RT      7/1/1995                         5,000       Fieldwood En      100.0%       PROD
SS 355   G33650   Federal     RT      6/1/2010      4/7/2016           5,323     Apache Shelf Exp    100.0%      RELINQ
 SS 58   G07746   Federal    ORRI     7/1/1985                         5,000      Talos Third Cst      10.5%      PROD
 SS 68   G02917   Federal     RT     12/1/1974     11/15/2019          5,000       Fieldwood En      100.0%      RELINQ
 SS 87   G12349   Federal    ORRI    9/12/1946                         1,953      Sanare En Part        1.0%      UNIT
 SS 91   G02919   Federal     RT     12/1/1974                         5,000       Fieldwood En        87.5%      PROD
 SS 91   G02919   Federal    OP 2    12/1/1974                         5,000       Fieldwood En        87.5%      PROD
ST 146   G33110   Federal     RT      7/1/2009     6/30/2014           3,772     Apache Shelf Exp    100.0%       EXPIR
ST 148   G01960   Federal     RT      2/1/1970                         2,500         Arena Off         15.6%      PROD
ST 148   G01960   Federal     OP      2/1/1970                         2,500         Arena Off         15.6%      PROD
ST 161   G01248   Federal     OP      6/1/1962                         5,000         Arena Off         25.0%      PROD
ST 166   G01252   Federal     OP      6/1/1962     8/27/2013           5,000          Apache         100.0%      TERMIN
ST 173   G04001   Federal     RT      3/1/1979     8/27/2013           5,000          Apache         100.0%      TERMIN
ST 179   G12020   Federal     RT      6/1/1990     8/27/2015           5,000     Fieldwood En Off      50.0%     TERMIN
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 300
                                                                               220 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres        Operator         WI        Lease Status
ST 179   G12020   Federal     OP      6/1/1990     8/27/2015         5,000        Fieldwood En Off       68.8%     TERMIN
ST 190   G01261   Federal     RT      6/1/1962     9/27/2014         5,000       Black Elk En Off Op     40.0%     TERMIN
ST 190   G01261   Federal     OP      6/1/1962     9/27/2014         5,000       Black Elk En Off Op     40.0%     TERMIN
ST 194   G05610   Federal     RT      7/1/1983      1/5/2015         5,000          Fieldwood En        100.0%     TERMIN
ST 203   G01269   Federal    OP 1     6/1/1962     5/25/2014         5,000       Black Elk En Off Op     40.0%     TERMIN
ST 203   G01269   Federal    OP 2     6/1/1962     5/25/2014         5,000       Black Elk En Off Op     20.0%     TERMIN
ST 203   G01269   Federal     RT      6/1/1962     5/25/2014         5,000       Black Elk En Off Op     40.0%     TERMIN
ST 205   G05612   Federal     RT      7/1/1983                       5,000          Fieldwood En         50.0%      PROD
ST 205   G05612   Federal    OP 3     7/1/1983                       5,000          Fieldwood En         75.0%      PROD
ST 205   G05612   Federal    OP 4     7/1/1983                       5,000          Fieldwood En        100.0%      PROD
ST 205   G05612   Federal    OP 7     7/1/1983                       5,000          Fieldwood En         50.0%      PROD
ST 205   G05612   Federal    OP 6     7/1/1983                       5,000          Fieldwood En         75.0%      PROD
ST 205   G05612   Federal    OP 5     7/1/1983                       5,000          Fieldwood En         50.0%      PROD
ST 206   G05613   Federal     RT      7/1/1983     1/31/2015         5,000          Fieldwood En         50.0%     TERMIN
ST 228   G32217   Federal     RT      8/1/2008     7/31/2013         5,000            Eni US Op          40.0%      EXPIR
ST 229   G13938   Federal     OP      7/1/1993                       2,148            W & T Off          33.3%      PROD
ST 244   G34341   Federal     RT     10/1/2012     9/16/2016         4,572        Apache Shelf Exp      100.0%     RELINQ
 ST 26   G01361   Federal     RT      5/1/1964                        625              Cox Op            50.0%      EXPIR
 ST 26   G01870   Federal     RT     11/1/1968                       1,875             Cox Op            50.0%      EXPIR
 ST 26   G02620   Federal     RT      5/1/1974                       2,500             Cox Op            50.0%      EXPIR
ST 276   G07780   Federal     RT      8/1/1985                       5,000            Eni US Op         100.0%      UNIT
ST 276   G07780   Federal     OP      8/1/1985                       5,000            Eni US Op         100.0%      UNIT
ST 290   G16454   Federal     RT     4/24/1996      1/5/2010         5,000             Apache           100.0%     TERMIN
ST 291   G16455   Federal     RT      9/1/1996                       5,000          Fieldwood En        100.0%      PROD
ST 291   G16455   Federal     OP      9/1/1996                       5,000          Fieldwood En        100.0%      PROD
ST 295   G05646   Federal     RT      7/1/1983                       5,000          Fieldwood En        100.0%      UNIT
ST 296   G12981   Federal     RT      5/1/1991                       5,000          Fieldwood En        100.0%      UNIT
ST 296   G12981   Federal     OP      5/1/1991                       5,000          Fieldwood En        100.0%      UNIT
ST 311   G31418   Federal     RT      3/1/2008                       5,000           Walter O&G          45.0%      PROD
ST 316   G22762   Federal     RT      6/1/2001                       4,435            W & T Off          20.0%      PROD
ST 320   G24990   Federal     RT      5/1/2003                       5,000            W & T Off          11.3%      PROD
 ST 47   G33652   Federal     RT      7/1/2010     4/30/2015         5,000        Apache Shelf Exp      100.0%     RELINQ
 ST 49   G24956   Federal     RT      6/1/2003                       5,000          Fieldwood En        100.0%       SOP
 ST 49   G24956   Federal     OP      6/1/2003                       5,000          Fieldwood En        100.0%       SOP
 ST 50   G34331   Federal     RT      8/1/2012      7/7/2016         5,000        Apache Shelf Exp      100.0%     RELINQ
 ST 53   G04000   Federal    OP 1     3/1/1979                       5,000          Fieldwood En         50.0%      PROD
 ST 59   G31404   Federal     RT      2/1/2008     1/17/2014         5,000          LLOG Exp Off         25.0%     RELINQ
 ST 64   G33106   Federal     RT      7/1/2009     6/30/2014         5,000        Apache Shelf Exp      100.0%      EXPIR
 ST 67    00020   Federal   CONT     4/25/1947                                      Fieldwood En         79.7%      UNIT
 SX 17   G04143   Federal     RT     10/1/1979     9/30/2013           2,042           Apache            92.3%     RELINQ
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 301
                                                                                   221 of 531
                                                                                          491
                                                         Exhibit I-A (i)


   Block      Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres       Operator       WI        Lease Status
   SX 17     G04143   Federal     OP      10/1/1979     9/30/2013        2,042            Apache          20.0%     RELINQ
  VK 118     G33697   Federal     RT       5/1/2010     4/30/2015        5,760       Apache Shelf Exp     75.0%      EXPIR
  VK 203     G07890   Federal     RT       7/1/1985    11/29/2019        5,760           Talos ERT        33.3%     TERMIN
  VK 203     G07890   Federal     OP       7/1/1985    11/29/2019        5,760           Talos ERT        33.3%     TERMIN
  VK 204     G04921   Federal     RT      12/1/1981    11/29/2019        5,760           Talos ERT        33.3%     TERMIN
  VK 204     G04921   Federal     OP      12/1/1981    11/29/2019        5,760           Talos ERT        33.3%     TERMIN
  VK 251     G10930   Federal     OP       7/1/1989                      5,760       Fieldwood En Off      7.5%      UNIT
  VK 340     G10933   Federal     OP       7/1/1989                      5,760       Fieldwood En Off      7.5%      UNIT
  VK 384     G16541   Federal     OP       6/1/1996      2/8/2014        5,760         Chevron USA        20.0%     TERMIN
VK 692/693   G07898   Federal     RT       9/1/1985     7/11/2020        4,773         Fieldwood En       56.9%      UNIT
  VK 694     G13055   Federal     RT       7/1/1991     7/11/2020        3,214         Fieldwood En       53.1%      PROD
  VK 694     G13055   Federal     OP       7/1/1991     7/11/2020        3,214         Fieldwood En       92.1%      PROD
  VK 698     G07901   Federal     RT       8/1/1985     2/20/2014        4,996         Fieldwood En       52.4%     TERMIN
  VK 736     G13987   Federal     RT       7/1/1993    12/12/2013        4,742         Fieldwood En      100.0%     TERMIN
  VK 780     G06884   Federal     RT       6/1/1984    12/12/2013        5,760         Fieldwood En      100.0%     TERMIN
  VK 824     G15436   Federal     RT       9/1/1995     8/20/2013        5,760            Apache         100.0%     RELINQ
  VK 856     G34872   Federal     RT       7/1/2013     6/21/2017         877        Apache Shelf Exp     75.0%     RELINQ
  VK 899     G34408   Federal     RT       8/1/2012     7/31/2017        1,553       Apache Shelf Exp    100.0%      EXPIR
  VR 115     G33593   Federal     RT       6/1/2010     4/30/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
  VR 128     G33594   Federal     RT       6/1/2010     4/30/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
  VR 131      00775   Federal     OP       5/1/1960     7/20/2020        4,923          Talos En Off      72.5%      PROD
  VR 146     G33084   Federal     RT       7/1/2009     6/30/2014        5,000       Apache Shelf Exp    100.0%      EXPIR
  VR 156     G34251   Federal     RT      10/1/2012     7/24/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
  VR 160     G34252   Federal     RT      10/1/2012     7/24/2015        5,000       Apache Shelf Exp    100.0%     RELINQ
  VR 161     G34253   Federal     RT      10/1/2012     7/24/2015        4,868       Apache Shelf Exp    100.0%     RELINQ
  VR 252     G05431   Federal    ORRI      7/1/1983                      4,454           Castex Off        2.0%      PROD
  VR 253     G17912   Federal    ORRI      7/1/1997                      5,000           Castex Off        0.6%      PROD
   VR 26      00297   Federal    OP 1    11/26/1946    9/12/2013         4,646         Apache Shelf      100.0%     TERMIN
   VR 26      00297   Federal    OP 2    11/26/1946    9/12/2013         4,646         Apache Shelf       25.0%     TERMIN
   VR 26      00297   Federal     RT     11/26/1946    9/12/2013         4,646         Apache Shelf       50.0%     TERMIN
  VR 261     G03328   Federal     RT       4/1/1976    8/10/2020         5,429         Fieldwood En       75.0%       SOP
  VR 261     G03328   Federal    OP 2      4/1/1976    8/10/2020         5,429         Fieldwood En       37.5%       SOP
  VR 261     G03328   Federal    ORRI      4/1/1976                                    Fieldwood En        6.3%       SOP
  VR 262     G34257   Federal     RT      10/1/2012     7/7/2017           5,485       Fieldwood En       75.0%     RELINQ
  VR 265     G01955   Federal     RT       1/1/1970                        5,000       Fieldwood En      100.0%      PROD
   VR 27     G01329   Federal    OP 2     12/1/1962    6/16/2013           1,902       Apache Shelf      100.0%     TERMIN
   VR 27     G01329   Federal    OP 1     12/1/1962    6/16/2013           1,902       Apache Shelf       25.0%     TERMIN
   VR 27     G01329   Federal     RT      12/1/1962    6/16/2013           1,902       Apache Shelf       50.0%     TERMIN
  VR 271     G04800   Federal     OP       9/1/1981                        4,418         Castex Off       12.5%      PROD
  VR 326     G21096   Federal     RT       6/1/1999    8/21/2020           5,000       Fieldwood En       70.3%       SOP
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 302
                                                                               222 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres      Operator       WI        Lease Status
VR 332   G09514   Federal   CONT     3/30/1988                                    Fieldwood En       50.0%      PROD
VR 34    G01356   Federal    OP 1     6/1/1964     6/16/2013            625       Apache Shelf      100.0%     TERMIN
VR 34    G01356   Federal    OP 2     6/1/1964     6/16/2013            625       Apache Shelf       75.0%     TERMIN
VR 34    G01356   Federal     RT      6/1/1964     6/16/2013            625       Apache Shelf      100.0%     TERMIN
VR 35     00548   Federal    OP 1     9/1/1955     6/16/2013           2,500      Apache Shelf      100.0%     TERMIN
VR 35     00548   Federal    OP 2     9/1/1955     6/16/2013           2,500      Apache Shelf       75.0%     TERMIN
VR 35     00549   Federal    OP 1     9/1/1955     6/16/2013           2,500      Apache Shelf      100.0%     TERMIN
VR 35     00549   Federal    OP 2     9/1/1955     6/16/2013           2,500      Apache Shelf       75.0%     TERMIN
VR 35     00548   Federal     RT      9/1/1955     6/16/2013           2,500      Apache Shelf      100.0%     TERMIN
VR 35     00549   Federal     RT      9/1/1955     6/16/2013           2,500      Apache Shelf      100.0%     TERMIN
VR 356   G17921   Federal    ORRI     8/1/1997                         4,093     EnVen En Vent        2.6%      PROD
VR 36    G01357   Federal    OP 2     6/1/1964     6/16/2013            625       Apache Shelf       75.0%     TERMIN
VR 36    G01357   Federal    OP 1     6/1/1964     6/16/2013            625       Apache Shelf      100.0%     TERMIN
VR 36    G01357   Federal     RT      6/1/1964     6/16/2013            625       Apache Shelf      100.0%     TERMIN
VR 369   G02274   Federal    OP 4     2/1/1973                         5,000     Renaissance Off     23.2%      UNIT
VR 369   G02274   Federal    OP 3     2/1/1973                         5,000     Renaissance Off     23.2%      UNIT
VR 369   G02274   Federal     RT      2/1/1973                         5,000     Renaissance Off     23.2%      UNIT
VR 369   G02274   Federal    Unit     2/1/1973                         5,000     Renaissance Off     23.2%      UNIT
VR 374   G32153   Federal     RT      8/1/2008     7/31/2013           5,000         Apache         100.0%      EXPIR
VR 380   G02580   Federal     RT      5/1/1974                         5,000      Fieldwood En      100.0%      PROD
VR 381   G16314   Federal     RT      9/1/1996     10/27/2015          5,000      Apache Shelf      100.0%     TERMIN
VR 381   G16314   Federal     OP      9/1/1996     10/27/2015          5,000      Apache Shelf       80.0%     TERMIN
VR 386   G02278   Federal    RT A     2/1/1973                         5,000      Marathon Oil       30.2%      UNIT
VR 386   G02278   Federal    RT B     2/1/1973                         5,000      Marathon Oil       29.0%      UNIT
VR 408   G15212   Federal     RT      7/1/1995                         5,000      Fieldwood En       12.5%      PROD
VR 408   G15212   Federal     OP      7/1/1995                         5,000      Fieldwood En      100.0%      PROD
WC 102    00247   Federal     RT      9/9/1946                         5,000         BP E&P         100.0%      PROD
WC 110    00081   Federal     RT     6/10/1947                         5,000         BP E&P         100.0%      PROD
WC 110    00081   Federal     OP     6/10/1947                         5,000         BP E&P          37.5%      PROD
WC 111    00082   Federal     RT     6/10/1947                         1,250         BP E&P         100.0%      PROD
WC 111    00082   Federal     OP     6/10/1947                         1,250         BP E&P          37.5%      PROD
WC 111   G33046   Federal     RT      8/1/2009      7/31/2014          3,750        Eni US Op        25.0%      EXPIR
WC 130   G12761   Federal     RT      5/1/1991       4/1/2015          5,000        Eni US Op        25.0%     TERMIN
WC 144   G01953   Federal     RT      2/1/1970       4/1/2016          5,000      Fieldwood En       62.5%     TERMIN
WC 155   G32114   Federal     RT      8/1/2008      7/31/2013          5,000         Apache         100.0%      EXPIR
WC 163   G05299   Federal    RT A     7/1/1983      12/1/2015          5,000      Fieldwood En       61.0%     TERMIN
WC 163   G05299   Federal    RT B     7/1/1983      12/1/2015          5,000      Fieldwood En       56.2%     TERMIN
WC 165    00758   Federal     RT      4/1/1960     12/30/2017          5,000      Fieldwood En      100.0%     TERMIN
WC 172   G01998   Federal    OP 1     2/1/1971     10/18/2014          5,000      Apache Shelf       22.5%     TERMIN
WC 172   G01998   Federal    OP 2     2/1/1971     10/18/2014          5,000      Apache Shelf       22.5%     TERMIN
                   Case 20-33948 Document 775-2
                                          723-1 Filed in TXSB on 01/21/21
                                                                 01/01/21 Page 303
                                                                               223 of 531
                                                                                      491
                                                     Exhibit I-A (i)


 Block    Lease    Type     Rights   Date Le Eff   Date Le Exp    Le Cur Acres      Operator        WI        Lease Status
WC 172   G01998   Federal    OP 3     2/1/1971     10/18/2014        5,000         Apache Shelf       22.5%     TERMIN
WC 172   G01998   Federal    OP 4     2/1/1971     10/18/2014        5,000         Apache Shelf       22.5%     TERMIN
WC 172   G01998   Federal   OP 10     2/1/1971     10/18/2014        5,000         Apache Shelf       25.0%     TERMIN
WC 172   G01998   Federal   OP 11     2/1/1971     10/18/2014        5,000         Apache Shelf       25.0%     TERMIN
WC 172   G01998   Federal   OP 12     2/1/1971     10/18/2014        5,000         Apache Shelf       25.0%     TERMIN
WC 181   G33558   Federal     RT      6/1/2010      4/30/2015        2,500       Apache Shelf Exp    100.0%     RELINQ
WC 196   G05292   Federal     RT      7/1/1983      8/27/2013        5,000         Union Oil CA        8.3%     TERMIN
WC 20     00680   Federal     OP      8/1/1959                       1,873        Sanare En Part      50.0%      PROD
WC 210   G34216   Federal     RT     10/1/2012      3/3/2014         5,000           Apache          100.0%     RELINQ
                                         Case 20-33948 Document 775-2
                                                                723-1 Filed in TXSB on 01/21/21
                                                                                       01/01/21 Page 304
                                                                                                     224 of 531
                                                                                                            491
                                                                                                             Exhibit I-A (ii)



                      All right, title, and interest in the deep rights relating to the FWE I Lands. Such deep rights are defined as 50% operating rights in the FWE I Lands, excluding overriding royalty interests,
                                                                                     100 feet below the stratigraphic equivalent of the lowest producing zone.
Lease / ROW / RUE       Status             Area              Block                               Depths                                                  Area / Aliquot                                  Leasehold            WI
     G06069         Producing      Brazos Area                491                             6891 to 99999                                                    All                                     Operating Rights   50.00000%
     G01757         Producing      Brazos Area               A0105                           14090 to 99999                                                 NE/4;S/2                                   Operating Rights    6.25000%
     G02665         Producing      Brazos Area               A‐133                          Below 13,840' MD                                                  SE/4                                     Operating Rights   12.50000%
     G13576         OPERNS         East Cameron               71                            14,645’ to 99,999’                          N/2N/2, N/2S/2N/2, S/2SW/4NW/4, SW/4SE/4NW/4,                  Operating Rights   50.00000%
                                                                                                                                       W/2SW/4, W/2E/2SW/4, SE/4SE/4SW/4 and S/2S/2SE/4

     G13576         OPERNS         East Cameron                71                           10,400’ to 99,999’                            N/2SE/4, N/2S/2SE/4, S/2S/2NE/4, SE/4SE/4NW/4,               Operating Rights   100.00000%
                                                                                                                                                    E/2NE/4SW/4, NE/4SE/4SW/4
     G02063         Producing      East Cameron               338                         7,244’ TVDSS to 99,999’                                                                                      Operating Rights     7.83469%
     G01440         Producing      East Cameron              9 & 14                            15199 to 99999                                              SE/4;E/2SW/4                                Operating Rights    50.00000%
       49           Producing      Eugene Island              119                        15,410’ TVDSS to 99,999’                                              NW/4                                    Operating Rights    25.00000%
       49           Producing      Eugene Island              119                        15,410’ TVDSS to 99,999’                                            SW/4; E/2                                 Operating Rights    20.00000%
       50           Producing      Eugene Island              120                            14,136’ to 99,999                                                  All                                    Operating Rights    50.00000%
       51           OPERNS         Eugene Island              125                            13,334’ to 99,999                                                  All                                    Operating Rights    50.00000%
       52           Producing      Eugene Island              126                              9,400 to 99,999                                          SE/4NE/4;NE/4SE/4                              Operating Rights   100.00000%
       52           Producing      Eugene Island              126                             12,056 to 99,999                                     W/2;W/2E/2;NE/4NE/4;SE/4SE/4                        Operating Rights    50.00000%
     G03152         Producing      Eugene Island              136                            19,135’ to 99,999                                                  All                                    Operating Rights    50.00000%
     G01220         Producing      Eugene Island              158                             17,588 to 99,999                                                                                         Operating Rights    50.00000%
     G13622         Producing      Eugene Island              173                            14,097’ to 99,999                                                    All                                  Operating Rights    50.00000%
     G03782         Producing      Eugene Island              174         from the stratigraphic equivalent of 100' below a true                                 SW/4                                  Operating Rights   100.00000%
                                                                        vertical depth of 10,960' as encountered in the Newfield
                                                                        Exploration Company OCSG 3782 Well No. A10 to 99,999’
                                                                                                   TVDSS
     G03782         Producing      Eugene Island              174                        12,431’ TVDSS to 99,999’                                             N/2;SE/5                                 Operating Rights   50.00000%
      438           Producing      Eugene Island              175                             13,032 to 99,999                                                   All                                   Operating Rights   37.50000%
     G10736         Producing      Eugene Island              187                            17,170’ to 99,999                                                   All                                   Operating Rights   50.00000%
      423           Producing      Eugene Island              189                            13,638’ to 99,999                                              W/2;W/2E/2                                 Operating Rights   50.00000%
     G05502         Unit           Eugene Island              211                            surface to 99,999’                                               SE/4SE/4;                                Operating Rights   66.66667%
                                                                                                                                                            E/2SW/4SE/4
     G05504         Producing      Eugene Island              224                           18,000’ to 99,999’                                                   All                                   Operating Rights   15.00000%
     G22679         Producing      Eugene Island              312                      9,000’ TVD to 99,999’ TVDSS                                       E/2NW/4;W/2NE/4                               Operating Rights   50.00000%
     G22679         Producing      Eugene Island              312                        9,015’ TVDSS to 99,999’                                        W/2NW/4;E/2NE/4;S/3                            Operating Rights   50.00000%
     G02112         SOP            Eugene Island              315                    25,000' SS TVD down to 99,999'                                              S/2                                   Operating Rights   25.00000%
     G24912         Producing      Eugene Island              315                        8,000’ subsea to 99,999’                                                N/2                                   Operating Rights   50.00000%
     G05040         Producing      Eugene Island              316                        7,739’ TVDSS to 99,999’                                                 All                                   Operating Rights   50.00000%
     G02912         SOP            Eugene Island              329                     from 7,871’ TVDSS to 99,999’                                                                                     Operating Rights   50.00000%
     G02115         Unit           Eugene Island              330                        8,329’ TVDSS to 99,999’                        SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,                     Operating Rights   21.00000%
                                                                                                                                      S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4, S/2NW/4SE/4,
                                                                                                                                          NW/4NW/4SE/4, S/2SE/4SE/4 and NW/4SE/4SE/4

     G02115         Unit           Eugene Island              330                        8,329’ TVDSS to 99,999’                        SW/4, SW/4NW/4, S/2NW/4NW/4, NW/4NW/4NW/4,                     Operating Rights   11.51246%
                                                                                                                                      S/2SE/4NW/4, NW/4SE/4NW/4, SW/4SE/4, S/2NW/4SE/4,
                                                                                                                                          NW/4NW/4SE/4, S/2SE/4SE/4 and NW/4SE/4SE/4

     G02317         Producing      Eugene Island              333                    12,629’ TVDSS to 99,999’ TVDSS                                                                                    Operating Rights    50.00000%
     G15263         Producing      Eugene Island              334                    12,629’ TVDSS to 99,999’ TVDSS                                                                                    Operating Rights    50.00000%
     G03332         Unit           Eugene Island              337                      7,026' TVD to 99,999’ TVDSS.                                      NE/4NE/4NE/4                                  Operating Rights    98.00000%
     G03332         Unit           Eugene Island              337                     6,020' TVDSS to 99,999' TVDSS                               SW/4SE/4SE/4; S/2SW/4SW/4                            Operating Rights   100.00000%
     G03332         Unit           Eugene Island              337                        12,455’ TVDSS to 99,999’                              SE/4SW/4, W/2SE/4, and SW/4NE/4                         Operating Rights   50.00000%
     G14482         Producing      Eugene Island              346                    13,469’ TVDSS to 99,999’ TVDSS                       N/2NW/4, SE/4NW/4, NE/4SW/4NW/4, E/2SW/4,                    Operating Rights    50.00000%
                                                                                                                                                     E/2SW/4SW/4 and SE/4
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 305
                                                                                                  225 of 531
                                                                                                         491
                                                                                             Exhibit I-A (ii)



Lease / ROW / RUE       Status           Area    Block                               Depths                                          Area / Aliquot                      Leasehold            WI
     G14482         Producing    Eugene Island    346                   7,511’ TVD to 99,999’ TVDSS                                      NE/4                          Operating Rights   100.00000%
     G14482         Producing    Eugene Island    346    from the stratigraphic equivalent of 12,890’ TVD, being the   W/2SW/4NW/4, SE/4SW/4NW/4, NW/4SW/4, and        Operating Rights   100.00000%
                                                             total depth drilled in the Eugene Island Area, South                   W/2SW/4SW/4
                                                           Addition, Block 346, OCSG 14482, B1 Well plus 100 feet
                                                                     being 12,990’ TVD to 99,999’ TVDSS

     G10752         Producing    Eugene Island    354                     9,669’ TVDSS to 99,999’                                S/2, S/2N/2 and NE/4NE/4              Operating Rights   50.00000%
     G02324         Producing    Eugene Island    361                 5,220’ TVDSS to 99,999’ TVDSS                                          All                       Operating Rights    6.17647%
     G31470         Producing    Ewing Bank       782                     12,960’ TVDSS to 99,999                                            All                       Operating Rights   50.00000%
     G03228         Unit         Galveston        180                         8,900’ to 99,999                                                                         Operating Rights   50.00000%
     G25524         Producing    Galveston        210     100’ below the stratigraphic equivalent of 10,200’ TD to                       N/2NE/4                       Operating Rights   33.34000%
                                                                               99,999’ TVDSS
     G25524         Producing    Galveston        210                         9,636’ to 99,999                                    S/2NE/4, NW/4 and S/2                Operating Rights   33.34000%
      174           Unit         Grand Isle        32      depths below 18,000’ subsea (TVDS) to 99,999’ subsea                            S/2                         Operating Rights   18.75000%
                                                                                  (TVDS).
      126           Unit         Grand Isle        39      below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                             E/2                         Operating Rights   18.75000%
      127           Unit         Grand Isle        39      below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                             W/2                         Operating Rights   18.75000%
      128           Unit         Grand Isle        40                18,000’ subsea (TVDS) to 99,999’                                                                  Operating Rights   18.75000%
      129           Unit         Grand Isle        41      below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                             E/2                         Operating Rights   18.75000%
      130           Unit         Grand Isle        41         18,000’ subsea (TVDS) to 99,999’ subsea (TVDS                                W/2                         Operating Rights   18.75000%
      131           Unit         Grand Isle        42             below 18,000’ subsea (TVDS) to 99,999’                                                               Operating Rights   18.75000%
      175           Unit         Grand Isle        43                18,000’ subsea (TVDS) to 99,999’                                                                  Operating Rights   18.75000%
      176           Unit         Grand Isle        44                18,000’ subsea (TVDS) to 99,999’                                      N/2                         Operating Rights   18.75000%
      132           Unit         Grand Isle        46                18,000’ subsea (TVDS) to 99,999’                                                                  Operating Rights   18.75000%
      133           Unit         Grand Isle        47                18,000’ subsea (TVDS) to 99,999’                                                                  Operating Rights   18.75000%
      134           Unit         Grand Isle        48                18,000’ subsea (TVDS) to 99,999’                                                                  Operating Rights   18.75000%
      177           Unit         Grand Isle        52       depths below 17,651’ TVDSS down to 99,999’ TVDSS                               N/2                         Operating Rights   18.75000%
     G13944         Unit         Grand Isle       116                 19,402’ TVDSS to 99,999’ TVDSS                                                                   Operating Rights   25.00000%
     G01848         Producing    High Island      129                    15,418’ TVDSS to 99,999’                         W/2NW/4, SE/4NW/4, W/2NE/4NW/4;S/2           Operating Rights   45.00000%
     G03236         Unit         High Island      179                     9,839’ TVDSS to 99,999’                                      W/2NW/4;S/2                     Operating Rights   50.00000%
     G03236         Unit         High Island      179                    10,036’ TVDSS to 99,999’                                   E/2N/2;E/2W/2N/2                   Operating Rights   50.00000%
     G20660         Producing    High Island      206                    12,145’ TVDSS to 99,999’                                            All                       Operating Rights   50.00000%
     G25605         Producing    High Island     A0341                    8,847’ TVDSS to 99,999’                                            All                       Operating Rights   30.00000%
     G02750         Producing    High Island     A0365                    5,659’ TVDSS to 99,999’                                            All                       Operating Rights   26.54255%
     G02754         Producing    High Island     A0376                   11,850’ TVDSS to 99,999’                      N/2, SW/4, W/2SE/4, SE/4SE/4, W/2NE/4SE/4 and   Operating Rights   22.28723%
                                                                                                                                       SE/4NE/4SE/4
     G02757         Producing    High Island     A0382                   11,025’ TVDSS to 99,999’                                            All                       Operating Rights   36.20529%
     G02721         Producing    High Island     A0595                   10,827’ TVDSS to 99,999’                                            All                       Operating Rights   36.20510%
     G02722         Producing    High Island     A0596                   13,264’ TVDSS to 99,999’                                            All                       Operating Rights   36.20510%
     G02393         Producing    High Island     A0573                        7,795' to 99,999'                                                                        Operating Rights   36.20510%
     G04481         Producing    Main Pass        77        depths below the stratigraphic equivalent of 13,040'                                                       Operating Rights   11.76468%
                                                         measured depth on the Schlumberger IFS/Sonic wireline log
                                                         (RUN 4) dated 7/12/81 for the Chevron U.S.A. Inc. State of
                                                          La. Lease 8693 Well No. 4 (API # 1772520242), Main Pass
                                                                       Block 77 field down to 99,999'

     G02193         Producing    Main Pass        140                     8,959’ TVDSS to 99,999’                                                                      Operating Rights   32.50000%
     G07827         Unit         Main Pass        259                 11,636’ TVDSS to 99,999’ TVDSS                                                                   Operating Rights   28.45078%
     G07828         Unit         Main Pass        260              from 12,072’ TVDSS to 99,999’ TVDSS                                                                 Operating Rights   28.45078%
     G15395         Producing    Main Pass        275                 11,278’ TVDSS to 99,999’ TVDSS                                                                   Operating Rights   50.00000%
     G01666         Producing    Main Pass        289                  9,077’ TVDSS to 99,999’ TVDSS                            N/2, SW/4 and W/2W/2SE/4               Operating Rights   50.00000%
     G01673         Unit         Main Pass        296           below 9,500’ TVDSS down to 99,999’ TVDSS                                                               Operating Rights   16.66667%
     G04253         Unit         Main Pass        303                     6,060’ TVDSS to 99,999’                                     N/2 and N/2S/2                   Operating Rights   93.10100%
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 306
                                                                                                  226 of 531
                                                                                                         491
                                                                                                   Exhibit I-A (ii)



Lease / ROW / RUE       Status           Area         Block                             Depths                                                Area / Aliquot                     Leasehold             WI
     G32265         Producing    Main Pass             308               from 6,284’ TVDSS to 99,999’ TVDSS                                                                    Operating Rights    50.00000%
     G08760         Producing    Main Pass             309                      6,510’ TVDSS to 99,999’                                                                        Operating Rights    50.00000%
     G04126         Unit         Main Pass             310                  6,944’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights    50.00000%
     G02213         Producing    Main Pass             311           below 12,000’ TVDSS down to 99,999’ TVDSS                                                                 Operating Rights    16.66666%
     G16520         Producing    Main Pass             312                 10,989’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights    50.00000%
     G08467         Producing    Main Pass             315      from the stratigraphic equivalent of the deepest depth                 W/2NW/4 and W/2E/2NW/4                  Operating Rights   100.00000%
                                                                   found production (7,830’ MD/TVD) in the Apache
                                                                Corporation OCS‐G 8467 No 2 Well plus 100’ to 99,999’

     G08467         Producing    Main Pass            315                from 7,760’ TVDSS to 99,999’ TVDSS                             S/2, NE/4 and E/2E/2NW/4               Operating Rights   50.00000%
     G01966         Unit         Main Pass            152       from the stratigraphic equivalent of 10,700' Measured                                                          Operating Rights   37.50000%
                                                              Depth as seen in the OCSG 1967 #3 Well down to a depth of
                                                                                        50,000'
    G01967          Unit         Main Pass            153            10,700' MD down to a depth of 50,000' TVD                                                                 Operating Rights   37.50000%
    MF88562         Shut‐In      Matagorda Is         487                  4 below the base of the MF Sand                                        SW/4                           Leasehold        50.00000%
    MF88560         Shut‐In      Matagorda Is         487                   below the base of the MF Sand                                         SE/4                           Leasehold        50.00000%
    MF80522         Shut‐In      Matagorda Is         518                 below the base of the 15600 Sand                                        NW/4                           Leasehold        50.00000%
    MF79413         Shut‐In      Matagorda Is         519                 below the base of the 16950 Sand                                        NE/4                           Leasehold        50.00000%
    G09777          Producing    Mississippi Canyon   108      below 20,000' true vertical depth subsea down to 99,999'                            All                         Operating RIghts   37.59399%

     G18192         Producing    Mississippi Canyon   110                        6,688’ TVDSS to 99,999’                                           All                         Operating Rights   25.00000%
     G02968         Producing    Mississippi Canyon   311                       11,860’ TVDSS to 99,999’                                           All                         Operating RIghts   50.00000%
     G26176         Producing    Mobile               826                       21,730’ TVDSS to 99,999’                                                                       Operating RIghts   37.50000%
      333           Unit         Ship Shoal            30                   17,478’ TVDSS to 99,999’ TVDSS                                         All                         Operating RIghts   18.75000%
     G02919         Producing    Ship Shoal            91                   11,148’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights    6.25000%
     G02919         Producing    Ship Shoal            91                   11,148’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights   28.12500%
     G12941         Producing    Ship Shoal           129                   17,446’ TVDSS to 99,999’ TVDSS                                         All                         Operating Rights   50.00000%
     G15282         Producing    Ship Shoal           151      from the stratigraphic equivalent of 12,612’ MD as seen in                          All                         Operating Rights   50.00000%
                                                                the Zilkha OCS‐G 15282 Well No. 1 (said depth being 100’
                                                              below the total depth drilled and logged in the Zilkha OCS‐G
                                                                        15282 Well No. 1), down to 99,999’ TVDSS

      820           Producing    Ship Shoal           169                  10,658’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   33.33000%
     G05550         Unit         Ship Shoal           175                      surface to 99,999’ TVD                                   S/2SW/4NW/4; NW/4SW/4                  Operating Rights   66.66667%
     G33646         Producing    Ship Shoal           176                  12,274’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   20.00000%
     G05551         Producing    Ship Shoal           178                  10,031’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   50.00000%
     G03998         Producing    Ship Shoal           182                  11,825’ TVDSS to 99,999’ TVDSS                                         W/2                          Operating Rights   50.00000%
     G04232         Producing    Ship Shoal           189                  19,077’ TVDSS to 99,999’ TVDSS                       W/2, SE/4, N/2N/2NE/4 and SW/4NW/4NE/4         Operating Rights   49.47915%
     G04232         Producing    Ship Shoal           189                   19,000’ TVD to 99,999’ TVDSS                        S/2NE/4, SE/4NW/4NE/4 and S/2NE/4NE/4          Operating Rights   49.47915%
     G13917         Producing    Ship Shoal           193                  12,901’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   50.00000%
     G15288         Producing    Ship Shoal           194                  13,619’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights   50.00000%
     G12355         Producing    Ship Shoal           198                     12,072’ TVDSS to 99,999’                       NW/4, W/2W/2NE/4, N/2NE/4SW/4, NW/4SW/4SW/4       Operating Rights   25.00000%

      593           Producing    Ship Shoal           198                     12,072’ TVDSS to 99,999’                       E/2NE/4; E/2W/2NE/4; S/2NE/4SW/4; S/2SW/4; SE/4   Operating Rights   25.00000%
      594           Producing    Ship Shoal           199                  10,440’ TVDSS to 99,999’ TVDSS                    W/2, W/2W/2NE/4, W/2NW/4SE/4, SE/4NW/4SE/4,       Operating Rights   25.00000%
                                                                                                                                          SW/4SE/4, S/2SE/4SE/4
     G01520         Producing    Ship Shoal           204                   12,791’ TVDSS to 99,999’ TVDSS                                          All                        Operating Rights   27.58165%
     G01522         Unit         Ship Shoal           206                   12,355’ TVDSS to 99,999’ TVDSS                                          All                        Operating Rights   30.00000%
     G01523         Unit         Ship Shoal           207                 below 15,000' down to 99,999' TVD                                         All                        Operating Rights   23.95873%
     G01524         Producing    Ship Shoal           216                   14,088’ TVDSS to 99,999’ TVDSS                                          All                        Operating Rights   27.77814%
     G10780         Producing    Ship Shoal           243                from 15,858’ TVDSS to 99,999’ TVDSS                                       E/2                         Operating Rights   25.00000%
     G10780         Producing    Ship Shoal           243                   20,000’ TVDSS to 99,999’ TVDSS                                         W/2                         Operating Rights   25.00000%
     G01038         Unit         Ship Shoal           271                    7,810’ TVDSS to 99,999’ TVDSS                                          All                        Operating Rights   10.00000%
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 307
                                                                                                  227 of 531
                                                                                                         491
                                                                                                 Exhibit I-A (ii)



Lease / ROW / RUE       Status           Area      Block                              Depths                                                 Area / Aliquot                      Leasehold            WI
     G01039         Producing    Ship Shoal         274                    8,525’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G26074         Producing    Ship Shoal         314                   10,750’ TVDSS to 99,999’ TVDSS                                       W/2W/2                          Operating Rights   37.50000%
     G26074         Producing    Ship Shoal         314                   10,950’ TVDSS to 99,999’ TVDSS                                    E/2W/2 and E/2                     Operating Rights   37.50000%
     G15312         Producing    Ship Shoal         354                   14,853’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
        334         Unit         Ship Shoal          31                          15,320' to 99,999'                                                                            Operating Rights   18.75000%
        335         Unit         Ship Shoal          32                          11,315' to 99,999'                                                                            Operating Rights   18.75000%
     G09627         SOP          Ship Shoal         277         10,000’ TVD down to a depth of 50,000’ TVD subsea                                 All                          Operating Rights   50.00000%
     G01182         Producing    South Marsh Is      11                   13,007’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G01194         Producing    South Marsh Is      58                   13,639’ TVDSS to 99,999’ TVDSS                                                                       Operating Rights   50.00000%
     G17938         Producing    South Marsh Is     105                    9,220’ TVDSS to 99,999’ TVDSS                                                                       Operating Rights   50.00000%
     G03776         Producing    South Marsh Is     106                    9,368’ TVDSS to 99,999’ TVDSS                                          S/2                          Operating Rights   50.00000%
     G02883         Producing    South Marsh Is     127     all depths below 18,000’ (TVDSS) down to 99,999’ (TVDSS                                                            Operating Rights    8.67331%

     G02587         Producing    South Marsh Is    128                 from 9,016’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights     8.67331%
     G02587         Producing    South Marsh Is    128                 from 9,016’ TVDSS to 99,999’ TVDSS                                                                      Operating Rights    33.33334%
     G02592         Producing    South Marsh Is    149                    7,386’ TVDSS to 99,999’ TVDSS                                           All                          Operating Rights    25.00000%
     G04809         Producing    South Marsh Is    161                   10,576’ TVDSS to 99,999’ TVDSS                                     W/2 and W/2E/2                     Operating Rights    50.00000%
     G04809         Producing    South Marsh Is    161     from the stratigraphic equivalent of the true vertical depth                         E/2E/2                         Operating Rights   100.00000%
                                                           of 9,782.5’ (being the true vertical depth drilled in the OCS‐
                                                                 G 4809 #14 Well plus 100 feet) to 99,999’ SSTVD

     G02311         SOP          South Marsh Is    269                   11,719’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights   36.41794%
     G14456         Producing    South Marsh Is    280                   14,115’ TVDSS to 99,999’ TVDSS                                 W/2, NE/4 and E/2E/2SE/4               Operating Rights   25.00000%
     G14456         Producing    South Marsh Is    280     from 100' below the stratigraphic equivalent of that certain                 W/2SE/4 and W/2E/2SE/4                 Operating Rights   50.00000%
                                                              zone encountered between the interval of 13,814' and
                                                            13,920' TVD on the electric log from the Norcen Explorer,
                                                                  Inc. OCS‐G 14456 Well No. 3 to 99,999’ TVDSS

     G02600         Producing    South Marsh Is    281                  16,062’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   34.06318%
     G21618         Producing    South Marsh Is     93                          13,299' to 99,999'                                                                             Operating Rights    6.25000%
      792           Producing    South Marsh Is    108                    all depths below 14,000’ TVD                                                                         Operating Rights   16.66667%
     G01294         Producing    South Pass         62                  18,247’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   50.00000%
     G01614         Producing    South Pass         70                   8,480’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   50.00000%
     G07799         Producing    South Pass         87                  18,001’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   16.68000%
     G07799         Producing    South Pass         87                  18,001’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   16.67000%
     G01618         Producing    South Pass         89                  16,802’ TVDSS to 99,999’ TVDSS                                            All                          Operating Rights   25.00000%
     G01901         Unit         South Pass         64     from 10,700' Measured Depth down to a depth of 50,000'                                                              Operating Rights   37.50000%
                                                                                   TVD subsea
     G01610         Unit         South Pass         65     from 10,700' Measured Depth down to a depth of 50,000'                                 All                          Operating Rights   37.50000%
                                                                                   TVD subsea
     G04234         Producing    South Pelto        1                   12,460’ TVDSS to 99,999’ TVDSS                                                                         Operating Rights   50.00000%
     G02924         Producing    South Pelto        9      100' below the stratigraphic equivalent of 17,397' TVD as                             NE/4                          Operating Rights   50.00000%
                                                            seen in the Newfield Exploration Company OCS‐G 02924
                                                             Well No. 10 (API No. 177134025300) to 99,999’ TVDSS

     G02924         Producing    South Pelto         9                   16,992’ TVDSS to 99,999’ TVDSS                                        S/2; NW/4                       Operating Rights   50.00000%
     G02925         Producing    South Pelto        10                   13,261’ TVDSS to 99,999’ TVDSS                                                                        Operating Rights        –
       71           Producing    South Pelto        11                   11,705’ TVDSS to 99,999’ TVDSS                                                                        Operating Rights        –
     G24956         SOP          South Timbalier    49                    18,800’ TVD to 99,999’ TVDSS                                             All                         Operating Rights   50.00000%
     G04000         Producing    South Timbalier    53                    6,782’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights   25.00000%
     G01960         Producing    South Timbalier   148                   17,777’ TVDSS to 99,999’ TVDSS                     NE/4, N/2NE/4SE/4, SE/4NE/4SE/4 and NE/4SE/4SE/4   Operating Rights    7.77500%

     G05612         Producing    South Timbalier   205                   18,640’ TVDSS to 99,999’ TVDSS                                        SE/4SW/4                        Operating Rights   25.00000%
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 308
                                                                                                  228 of 531
                                                                                                         491
                                                                                                 Exhibit I-A (ii)



Lease / ROW / RUE       Status           Area      Block                             Depths                                                 Area / Aliquot                     Leasehold             WI
     G24987         Producing    South Timbalier    287                13,852’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights    50.00000%
     G16455         Producing    South Timbalier    291                 9,669’ TVDSS to 99,999’ TVDSS                                       N/2 and SE/4                     Operating Rights    50.00000%
     G16455         Producing    South Timbalier    291                 7,461’ TVDSS to 99,999’ TVDSS                                           SW/4                         Operating Rights   100.00000%
     G05646         Unit         South Timbalier    295                14,293’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights    50.00000%
     G21685         Producing    South Timbalier    308                    18,571’ TVDSS to 99,999’                                               All                        Operating Rights    50.00000%
     G31418         Producing    South Timbalier    311                     12,251’ TVD to 99,999’                                                All                        Operating Rights    22.50000%
     G22762         Producing    South Timbalier    316                12,520’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights    10.00000%
     G04421         Producing    Vermilion           78                11,953’ TVDSS to 99,999’ TVDSS                                            All                         Operating Rights    18.75000%
     G03328         SOP          Vermilion          261    9,241’ TVD as identified in the Stone Energy Corporation’s                S/2S/2NE/4 and N/2NE/4SE/4              Operating Rights    37.50000%
                                                                  OCS‐G 3328 Well No A‐3 ST to 99,999’ TVDSS

     G03328         SOP          Vermilion         261                   9,304’ TVDSS to 99,999’ TVDSS                     W/2, N/2NE/4, N/2S/2NE/4, W/2SE/4, SE/4SE/4 and   Operating Rights   37.50000%
                                                                                                                                            S/2NE/4SE/4
     G01955         Producing    Vermilion         265                   10,465’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   50.00000%
     G21096         SOP          Vermilion         326                    8,447’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   35.15742%
     G10687         Unit         Vermilion         362                   11,535’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   16.66667%
     G09522         Unit         Vermilion         363                   10,180’ TVDSS to 99,999’ TVDSS                                     N/2 and SW/4                     Operating Rights   50.00000%
     G02274         Unit         Vermilion         369                   below 10,000’ down to 99,999’                                NW/4, W/2E/2, NE/4NE/4                 Operating Rights   11.58535%
     G09524         Unit         Vermilion         371                   11,820’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   16.66667%
     G02580         Producing    Vermilion         380                   10,245’ TVDSS to 99,999’ TVDSS                                          All                         Operating Rights   50.00000%
     G02278         Unit         Vermilion         386                    5,175’ TVDSS to 99,999’ TVDSS                      NW/4NE/4NE/4, S/2NE/4NE/4, E/2NW/4NE/4,         Operating Rights   15.08620%
                                                                                                                                   NW/4SE/4NE/4 and N/2SW/4NE/4
     G02278         Unit         Vermilion         386                   5,175’ TVDSS to 99,999’ TVDSS                       S/2, SW/4NW/4, S/2S/2NE/4, W/2NW/4NE/4,         Operating Rights   14.48210%
                                                                                                                                   NE/4SE/4NE/4 and NE/4NE/4NE/4
     G04800         Producing    Vermilion         271           6,103' TVD down to a depth of 50,000' TVD subsea                                All                         Operating Rights    6.25000%
     G15212         Producing    Vermilion         408                            below 9,000’ TVD                                               All                         Operating Rights   50.00000%
     G10930         Unit         Viosca Knoll      251       depths below the stratigraphic equivalent of the subsea                             All                         Operating Rights    3.75000%
                                                           depth of 15,083 to and including 99,999' as encountered in
                                                            Samedan Oil Corporation’s OCS‐G 13982 #1 well located in
                                                                                Viosca Knoll Block 252
     G10933         Unit         Viosca Knoll      340       depths below the stratigraphic equivalent of the subsea                             All                         Operating Rights    3.75000%
                                                           depth of 15,083 to and including 99,999' as encountered in
                                                            Samedan Oil Corporation’s OCS‐G 13982 #1 well located in
                                                                                Viosca Knoll Block 252
     G07898         Unit         Viosca Knoll      693                    11,636’ TVDSS to 99,999’ TVDSS                                        All                          Operating Rights    28.45078%
     G13055         Producing    Viosca Knoll      694                    10,774’ TVDSS to 99,999’ TVDSS                               W/2, NE/4 and N/2SE/4                 Operating Rights    26.53745%
     G13055         Producing    Viosca Knoll      694                    11,714’ TVDSS to 99,999’ TVDSS                                      S/2SE/4                        Operating Rights    26.53745%
     G15050         Producing    West Cameron       33                    15,055’ TVDSS to 99,999’ TVDSS                                                                     Operating Rights    50.00000%
     G02825         Producing    West Cameron       65     all depths below the stratigraphic equivalent of the vertical     E/2E/2SW/4; W/2W/2SE/4; and E/2SW/4SE/5         Operating Rights   100.00000%
                                                             depth of 13,679' as seen in the OCS‐G 02825 Well No. 4,
                                                                         down to a vertical depth of 99,999'
     G02825         Producing    West Cameron       65     depths below 100’ below the stratigraphic equivalent of the                          NE/4                         Operating Rights   81.25000%
                                                                base of the IT Sand as present in The Continental Oil
                                                                 Company’s West Cameron Block 66 B‐14 Well at a
                                                           measured depth of 9,580 feet on the ISF‐Sonic Log down to
                                                                                  99,999 feet TVDSS
     G23735         Producing    West Cameron       72                    15,126’ TVDSS to 99,999’ TVDSS                                      All                            Operating Rights    12.50000%
      247           Producing    West Cameron      102                     14,150’ TVD to 99,999’ TVDSS                            N/2SW/4NW/4, NW/4SE/4NW/4                 Operating Rights   100.00000%
       81           Producing    West Cameron      110      all depths below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                          All                            Operating Rights    18.75000%

       82           Producing    West Cameron      111           below 15,000’ (TVDSS) down to 99,999’ (TVDSS)                                  SE/4                         Operating Rights   18.75000%
     G04818         Producing    West Cameron      290                    9,500’ TVD to 99,999’ TVDSS                                                                        Operating Rights    8.33334%
      680           Producing    West Cameron       20                    13,500’ TVD to 50,000’ TVD                                             All                         Operating Rights   25.00000%
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 309
                                                                                                  229 of 531
                                                                                                         491
                                                                                            Exhibit I-A (ii)



Lease / ROW / RUE       Status           Area   Block                           Depths                                                Area / Aliquot                       Leasehold            WI
     G02826         Producing    West Cameron    66                       13,590' to 99,999'                                         W1/2; N1/2SE1/4                     Operating Rights   37.50000%
     G02826         Producing    West Cameron    66                        9,216' to 99,999'                                            S1/2SE1/4                        Operating Rights   75.00000%
        179         Unit         West Delta      67      below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                              S/2                           Operating Rights   18.75000%

      179           Unit         West Delta      67            11,650’ TVDSS to 99,999’ subsea (TVDS)                                       S/2                          Operating Rights   37.50000%
      180           Unit         West Delta      68      below 18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                               S/2                          Operating Rights   18.75000%

      180           Unit         West Delta      68            13,225’ TVDSS to 99,999’ subsea (TVDS)                                       S/2                          Operating Rights   37.50000%
      181           Unit         West Delta      69         18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      182           Unit         West Delta      70         18,000’ subsea (TVDS) to 99,999’ subsea (TVDS)                                  All                          Operating Rights   18.75000%
      838           Unit         West Delta      71      depths below 18,000’ subsea (TVDS) to 99,999’ subsea                               All                          Operating Rights   18.75000%
                                                                                (TVDS)
     G01085         Producing    West Delta      75                 17,844’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights   50.00000%
     G01089         Producing    West Delta      90                 13,199’ TVDSS to 99,999’ TVDSS                                    N/2 and N/2S/2                     Operating Rights   50.00000%
     G01089         Producing    West Delta      90                 13,199’ TVDSS to 99,999’ TVDSS                                        S/2S/2                         Operating Rights   40.62500%
      839           Producing    West Delta      94                 13,159’ TVDSS to 99,999; TVDSS                                                                       Operating Rights   37.50000%
     G01497         Producing    West Delta      95                 13,601’ TVDSS to 99,999’ TVDSS                       N/2, N/2N/2SE/4, N/2SE/4 and N/2SW/4SW/4        Operating Rights   37.50000%
     G12360         Producing    West Delta     103                 13,279’ TVDSS to 99,999’ TVDSS                       NW/4NW/4, NE/4NW/4, N/2N/2SW/4NW/4,             Operating Rights   40.62500%
                                                                                                                      N/2NW/4NE/4, N/2S/2NW/4NE/4, N/2N/2NE/4NE/4

      840           Producing    West Delta     103                 13,279’ TVDSS to 99,999’ TVDSS                   S/2, S/2NE/4, SE/4NW/4, S/2SW/4NW/4, S/2NE/4NE/4,   Operating Rights   50.00000%
                                                                                                                             S/2N/2NE/4NE/4, S/2S/2NW/4NE/4 and
                                                                                                                                       S/2N/2SW/4NW/4
      841           Producing    West Delta     104                 11,970’ TVDSS to 99,999’ TVDSS                            NW4, N2NE4, SW4NE4 and N2SE4NE4            Operating Rights    50.00000%
      842           Producing    West Delta     105                 12,149’ TVDSS to 99,999’ TVDSS                                         N2S2N2                        Operating Rights    50.00000%
     G19843         Producing    West Delta     121                 11,899’ TVDSS to 99,999’ TVDSS                                                                       Operating Rights    42.00000%
     G10883         Producing    West Delta     128                 18,566’ TVDSS to 99,999’ TVDSS                                          All                          Operating Rights    50.00000%
     G01106         Producing    West Delta     133     10,923’ TVD (being the total depth drilled in the Newfield                          S/2                          Operating Rights   100.00000%
                                                        Exploration Company OCS‐G 11016 No F‐1 Well, plus 100
                                                                      feet) down to 99,999’ TVDSS
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 310
                                                                                    230 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
BRAZOS 491 #004                   BA49100400          G06069      427044034300
BRAZOS 491 #005                   BA49100500          G06069      427044035700
BRAZOS 491 #A001                  BA491A0100          G06069      427044018200
BRAZOS 491 #A002                  BA491A0200          G06069      427044018300
BRAZOS 491 #A003                  BA491A0300          G06069      427044032900
BRAZOS A‐105 #B001                BAA105B010          G01757      427054012200
BRAZOS A‐105 #B002                BAA105B020          G01757      427054012600
BRAZOS A‐105 #B003                BAA105B030          G01757      427054012800
BRAZOS A‐105 #B004                BAA105B040          G01757      427054013000
BRAZOS A‐105 #B005                BAA105B050          G01757      427054013300
BRAZOS A‐133 #A001                BAA133A010          G02665      427054002400
BRAZOS A‐133 #A002                BAA133A020          G02665      427054003300
BRAZOS A‐133 #A003                BAA133A030          G02665      427054003500
BRAZOS A‐133 #A004 ST1            BAA133A041          G02665      427054004301
BRAZOS A‐133 #A005 ST1            BAA133A051          G02665      427054004001
BRAZOS A‐133 #A006                BAA133A060          G02665      427054004500
BRAZOS A‐133 #A007                BAA133A070          G02665      427054004800
BRAZOS A‐133 #A008                BAA133A080          G02665      427054005200
BRAZOS A‐133 #A009                BAA133A090          G02665      427054005400
BRAZOS A‐133 #A010                BAA133A100          G02665      427054013100
BRAZOS A‐133 #C001                BAA133C010          G02665      427054007800
BRAZOS A‐133 #C002                BAA133C020          G02665      427054008200
BRAZOS A‐133 #C003                BAA133C030          G02665      427054010700
BRAZOS A‐133 #C004                BAA133C040          G02665      427054013500
BRAZOS A‐133 #D001 ST1            BAA133D011          G02665      427054009201
BRAZOS A‐133 #D003                BAA133D030          G02665      427054012700
CHANDELEUR 042 #A002              CA042A0200          G32267      177294001500
CHANDELEUR 043 #A001              CA043A0100          G32268      177294001400
CHANDELEUR 043 #A003              CA043A0300          G32268      177294001600
EAST CAMERON 002 #001 SL 18121    SL18121010           18121      177032013600
EAST CAMERON 002 #001AL 16475     SL16475010           16475      177032012000
EAST CAMERON 002 #002AL 16475     SL16475020           16475      177032012200
EAST CAMERON 002 #003 SL16475     SL16475030           16475      177032012300
EAST CAMERON 002 #004AL 16475     SL16475040           16475      177032012400
EAST CAMERON 002 #005AL 16475     SL16475050           16475      177032012500
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 311
                                                                                   231 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
EAST CAMERON 009 #B009           EC009B0900          G01440      177032004300
EAST CAMERON 014 #012            EC01401200          G01440      177034060600
EAST CAMERON 014 #013            EC01401300          G01440      177034101300
EAST CAMERON 014 #B006           EC014B0600          G01440      177032003700
EAST CAMERON 014 #B007           EC014B0700          G01440      177032004000
EAST CAMERON 014 #B008           EC014B0800          G01440      177032004200
EAST CAMERON 014 #B010 ST1       EC014B1001          G01440      177032004601
EAST CAMERON 014 #B011           EC014B1100          G01440      177034006900
EAST CAMERON 014 #B013           EC014B13            G13572      177034094700
EAST CAMERON 014 #CF001          EC014CF010          G01440      177030032800
EAST CAMERON 014 #CF002          EC014CF020          G13572      177034068600
EAST CAMERON 037 #A002           EC037A0200          G25933      177034101700
EAST CAMERON 265 #D001           EC265D0100          G00972      177044105100
EAST CAMERON 265 #D002           EC265D0200          G00972      177044106200
EAST CAMERON 265 #D003           EC265D0300          G00972      177044106300
EAST CAMERON 265 #D004           EC265D0400          G00972      177044106400
EAST CAMERON 265 #D005           EC265D0500          G00972      177044106500
EAST CAMERON 278 #B009           EC278B0900          G00974      177044071700
EAST CAMERON 278 #C001           EC278C0100          G00974      177044058500
EAST CAMERON 278 #C002           EC278C0204          G00974      177044070000
EAST CAMERON 278 #C003           EC278C0300          G00974      177044071800
EAST CAMERON 278 #C004 ST2       EC278C0401          G00974      177044072101
EAST CAMERON 278 #C005           EC278C0500          G00974      177044069700
EAST CAMERON 278 #C006           EC278C0600          G00974      177044071400
EAST CAMERON 278 #C007           EC278C0700          G00974      177044094800
EAST CAMERON 278 #C008           EC278C0800          G00974      177044109800
EAST CAMERON 278 #C009           EC278C0900          G00974      177044109901
EAST CAMERON 338 #A002           EC338A0200          G02063      177044024700
EAST CAMERON 338 #A003           EC338A0300          G02063      177044025000
EAST CAMERON 338 #A011           EC338A1100          G02063      177044028800
EAST CAMERON 338 #A015           EC338A1500          G02063      177044032000
EAST CAMERON 338 #A016           EC338A1601          G02063      177044034601
EAST CAMERON 338 #A022           EC338A2200          G02063      177044025101
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 312
                                                                                      232 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
EUGENE IS 053 #008D                 EI053008D0           00479      177094086200
EUGENE IS 053 #009                  EI05300900           00479      177094094000
EUGENE IS 053 #010 ST1              EI05301001           00479      177094113001
EUGENE IS 053 #012 ST1              EI05301201           00479      177094115301
EUGENE IS 053 #015 BP1              EI05301501           00479      177094127601
EUGENE IS 053 #B001D                EI053B01D0           00479      177094085900
EUGENE IS 053 #C001                 EI053C0101           00479      177094121101
EUGENE IS 053 #C002                 EI053C0200           00479      177094122600
EUGENE IS 053 #G001 ST1             EI053G01D2           00479      177094144201
EUGENE IS 119 #030 ST1              EI11903001           00049      177094079801
EUGENE IS 119 #033 ST2              EI11903302           00049      177094117002
EUGENE IS 119 #034                  EI11903400           00049      177094118700
EUGENE IS 119 #035 ST1              EI11903501           00049      177094120301
EUGENE IS 119 #037 ST1              EI11903701           00049      177094129001
EUGENE IS 119 #F001D                EI119F01D0           00049      177090026700
EUGENE IS 119 #F002 ST1             EI119F0201           00049      177090026801
EUGENE IS 119 #F003                 EI119F0300           00049      177090026900
EUGENE IS 119 #F005 ST1             EI119F0501           00049      177090027101
EUGENE IS 119 #F006                 EI119F0600           00049      177090027200
EUGENE IS 119 #F007                 EI119F0700           00049      177094137900
EUGENE IS 119 #F008 ST1             EI119F0801           00049      177094138401
EUGENE IS 119 #K001                 EI119K0100           00049      177090028900
EUGENE IS 119 #K002                 EI119K0200           00049      177090029000
EUGENE IS 119 #K003                 EI119K0300           00049      177090029100
EUGENE IS 119 #K004                 EI119K0400           00049      177090029200
EUGENE IS 119 #K005                 EI119K0500           00049      177090029300
EUGENE IS 119 #K006                 EI119K0600           00049      177090029400
EUGENE IS 119 #K007                 EI119K0700           00049      177090029500
EUGENE IS 119 #M004                 EI119M0400           00049      177090029900
EUGENE IS 119 #M007                 EI119M0700           00049      177092009000
EUGENE IS 120 #009 ST1              EI12000901           00050      177094026101
EUGENE IS 120 #011                  EI12001100           00050      177094078000
EUGENE IS 120 #012 ST1              EI12001201           00050      177094113901
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 313
                                                                                        233 of 531
                                                                                               491
                                                         Exhibit I-B

Asset Name                            FWE Acct. Code   Lease Number        API
EUGENE IS 120 #013                    EI12001300           00050      177094114100
EUGENE IS 120 #014                    EI12001400           00050      177094115200
EUGENE IS 120 #015 ST2                EI12001502           00050      177094116702
EUGENE IS 120 #017                    EI12001700           00050      177094121700
EUGENE IS 120 #019 ST2                EI12001902           00050      177094126102
EUGENE IS 120 #020                    EI12002000           00050      177094138300
EUGENE IS 120 #I008                   EI120I0800           00050      177094137000
EUGENE IS 125 #002B ST2               EI125002B2           00051      177090022902
EUGENE IS 125 #A003 ST1               EI125A0301           00051      177090022601
EUGENE IS 125 #R001                   EI125R0100           00051      177094080201
EUGENE IS 125 #R002                   EI125R0201           00051      177094141301
EUGENE IS 126 #012                    EI12601201           00052      177094131501
EUGENE IS 126 #031 ST2                EI12603102           00052      177094086702
EUGENE IS 126 #A002                   EI126A0200           00052      177090022500
EUGENE IS 126 #A004D                  EI126A04D0           00052      177090022700
EUGENE IS 126 #A005                   EI126A0501           00052      177094092903
EUGENE IS 126 #A006                   EI126A0600           00052      177094151000
EUGENE IS 136 #001                    EI13600100          G03152      177094115700
EUGENE IS 136 #JA001                  EI136JA100          G03152      177094028300
EUGENE IS 136 #JA002                  EI136JA200          G03152      177094117501
EUGENE IS 136 #JA003 BP1              EI136JA301          G03152      177094140601
EUGENE IS 136 #JA004                  EI136JA400          G03152      177094151101
EUGENE IS 158 #014B                   EI158014B0          G01220      177090094300
EUGENE IS 158 #016                    EI15801600          G01220      177092000402
EUGENE IS 158 #017A                   EI158017A0          G01220      177092000900
EUGENE IS 158 #027 ST1                EI15802701          G01220      177092006501
EUGENE IS 158 #028 ST1BP1             EI15802802          G01220      177092009702
EUGENE IS 158 #029                    EI15802900          G01220      177092008200
EUGENE IS 158 #032                    EI15803200          G01220      177094111400
EUGENE IS 158 #034                    EI15803400          G01220      177094147600
EUGENE IS 158 #B003A                  EI158B03A2          G01220      177090066202
EUGENE IS 158 #B004B                  EI158B04B0          G01220      177090063700
EUGENE IS 158 #B005E                  EI158B05E0          G01220      177090070400
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 314
                                                                                         234 of 531
                                                                                                491
                                                          Exhibit I-B

Asset Name                             FWE Acct. Code   Lease Number        API
EUGENE IS 158 #B007                    EI158B0703          G01220      177090094803
EUGENE IS 158 #B008                    EI158B0800          G01220      177092001500
EUGENE IS 158 #B010F                   EI158B1100          G01220      177092001800
EUGENE IS 158 #B011 ST2                EI158B1102          G01220      177094104902
EUGENE IS 158 #B012                    EI158B1200          G01220      177094105000
EUGENE IS 158 #B013                    EI158B1302          G01220      177094143502
EUGENE IS 158 #C001                    EI158C0100          G01220      177092014700
EUGENE IS 158 #C002                    EI158C0200          G01220      177092015200
EUGENE IS 158 #C003C                   EI158C03C0          G01220      177092015300
EUGENE IS 158 #C005A                   EI158C05A0          G01220      177094002200
EUGENE IS 158 #C006                    EI158C0600          G01220      177094001900
EUGENE IS 158 #C007F                   EI158C07F0          G01220      177094004700
EUGENE IS 158 #C008C                   EI158C08C0          G01220      177094005100
EUGENE IS 158 #C009                    EI158C0900          G01220      177094005700
EUGENE IS 158 #C010B                   EI158C10B0          G01220      177094006000
EUGENE IS 158 #C011A                   EI158C11A0          G01220      177094006300
EUGENE IS 158 #C012D                   EI158C12D0          G01220      177094007100
EUGENE IS 158 #C013D                   EI158C13D0          G01220      177094008000
EUGENE IS 158 #C014                    EI158C1400          G01220      177094008100
EUGENE IS 158 #JB008                   EI158JB801          G01220      177090091401
EUGENE IS 158 #JB009                   EI158JB900          G01220      177090090200
EUGENE IS 158 #JB013                   EI158JB130          G01220      177090094102
EUGENE IS 158 #JB019                   EI158JB190          G01220      177092002101
EUGENE IS 158 #JB022                   EI158JB220          G01220      177092003300
EUGENE IS 158 #JB024                   EI158JB240          G01220      177092003900
EUGENE IS 158 #JB030 (D04)             EI158JB300          G01220      177094100300
EUGENE IS 158 #JB033                   EI158JB330          G01220      177094111100
EUGENE IS 173 #G002                    EI173G0200          G13622      177094074701
EUGENE IS 174 #A010                    EI174A1000          G03782      177094101100
EUGENE IS 174 #G001 ST1                EI174G0101          G03782      177094065601
EUGENE IS 174 #G003 ST2                EI174G0302          G03782      177094084402
EUGENE IS 174 #G004 ST1                EI174G0402          G03782      177094116502
EUGENE IS 175 #D006 ST1                EI175D0601           00438      177094003301
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 315
                                                                                    235 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
EUGENE IS 175 #D008               EI175D0800           00438      177094003900
EUGENE IS 175 #D009 ST1           EI175D0901           00438      177094005401
EUGENE IS 175 #D012 ST            EI175D1201           00438      177094010601
EUGENE IS 175 #D021 ST3           EI175D2103           00438      177092012603
EUGENE IS 175 #F001 ST1           EI175F0101           00438      177094035401
EUGENE IS 175 #F002 ST1           EI175F0201           00438      177094039601
EUGENE IS 175 #F003 ST            EI175F0302           00438      177094039702
EUGENE IS 175 #F004 ST            EI175F0401           00438      177094041001
EUGENE IS 175 #F005               EI175F0500           00438      177094042900
EUGENE IS 175 #F007               EI175F0700           00438      177094048900
EUGENE IS 175 #F009               EI175F0901           00438      177094087601
EUGENE IS 175 #H001               EI175H0100           00438      177094104700
EUGENE IS 175 #H002               EI175H0200           00438      177094106700
EUGENE IS 175 #H003               EI175H0300           00438      177094110800
EUGENE IS 175 #H004               EI175H0400           00438      177094110900
EUGENE IS 175 #H005 ST1BP1        EI175H0502           00438      177094112002
EUGENE IS 175 #I002               EI175I0201           00438      177094107101
EUGENE IS 175 #I003               EI175I0300           00438      177094107200
EUGENE IS 175 #I004               EI175I0400           00438      177094109200
EUGENE IS 175 #I005               EI175I0500           00438      177094109300
EUGENE IS 175 #J001 ST1           EI175J0101           00438      177094122301
EUGENE IS 175 #J002 ST1           EI175J0201           00438      177094123201
EUGENE IS 175 #J003 ST1           EI175J0301           00438      177094123501
EUGENE IS 175 #J004               EI175J0400           00438      177094128300
EUGENE IS 187 #002                EI18700200          G10736      177094151601
EUGENE IS 187 #JC001              EI187JC101          G10736      177094091101
EUGENE IS 187 #JD001              EI187JD201          G10736      177094092801
EUGENE IS 187 #JD002              EI187JD200          G10736      177094131900
EUGENE IS 187 #JE002              EI187JE020          G10736      177094109700
EUGENE IS 188 #JE001              EI188JE100           00443      177094096500
EUGENE IS 189 #020                EI18902000           00423      177094099500
EUGENE IS 189 #B001               EI189B0100           00423      177090062500
EUGENE IS 189 #B003 ST1           EI189B0300           00423      177090062601
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 316
                                                                                      236 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
EUGENE IS 189 #B014                 EI189B1400           00423      177090075200
EUGENE IS 189 #B016B                EI189B16B3           00423      177090075103
EUGENE IS 189 #B020                 EI189B2001           00423      177090079001
EUGENE IS 189 #B025                 EI189B2501           00423      177090078501
EUGENE IS 189 #B027                 EI189B2701           00423      177094059001
EUGENE IS 211 #A003                 EI211A0300          G05502      177094071500
EUGENE IS 211 #A005                 EI211A0500          G05502      177094083400
EUGENE IS 211 #A006                 EI211A0600          G05502      177094083601
EUGENE IS 212 #A001 BP1             EI212A0100          G05503      177094063200
EUGENE IS 212 #A002                 EI212A0200          G05503      177094070700
EUGENE IS 212 #A007                 EI212A0700          G05503      177094097400
EUGENE IS 224 #A001                 EI224A0101          G05504      177094074001
EUGENE IS 224 #A002                 EI224A0201          G05504      177094082501
EUGENE IS 224 #A003                 EI224A0300          G05504      177094083200
EUGENE IS 224 #A004                 EI224A0400          G05504      177094089100
EUGENE IS 224 #A005                 EI224A0503          G05504      177094089403
EUGENE IS 224 #A006                 EI224A0600          G05504      177094103600
EUGENE IS 224 #A007                 EI224A0700          G05504      177094106800
EUGENE IS 224 #A008                 EI224A0800          G05504      177094111600
EUGENE IS 224 #A009                 EI224A0900          G05504      177094121900
EUGENE IS 224 #A010                 EI224A1000          G05504      177094135200
EUGENE IS 224 #C001                 EI224C01            G05504      177094112501
EUGENE IS 224 #G002 (ORRI)          EI224G02            G05504      177094150801
EUGENE IS 224 #SS006 (ORRI)         EI224SS06           G05504      177094149000
EUGENE IS 312 #D001                 EI312D0100          G22679      177104160900
EUGENE IS 312 #D002                 EI312D0200          G22679      177104161900
EUGENE IS 315 #A001 ST1             EI315A0101          G02112      177104099001
EUGENE IS 315 #A003                 EI315A0300          G02112      177104099500
EUGENE IS 315 #A005                 EI315A0500          G02112      177104099800
EUGENE IS 315 #A006                 EI315A0600          G02112      177104101700
EUGENE IS 315 #A007 ST1             EI315A0701          G02112      177104103001
EUGENE IS 315 #A010                 EI315A1000          G02112      177104103700
EUGENE IS 315 #A012                 EI315A1200          G02112      177104104000
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 317
                                                                                      237 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
EUGENE IS 315 #A016                 EI315A1600          G02112      177104127000
EUGENE IS 315 #A017                 EI315A1700          G02112      177104152000
EUGENE IS 315 #C001 (TANA)          EI315C0100          G24912      177104160800
EUGENE IS 315 #C002 (TANA)          EI315C0200          G24912      177104162300
EUGENE IS 316 #A001                 EI316A0101          G05040      177104100701
EUGENE IS 316 #A002 ST1             EI316A0200          G05040      177104106400
EUGENE IS 316 #A003 ST3             EI316A0302          G05040      177104111302
EUGENE IS 316 #A005 ST5             EI316A0505          G05040      177104112905
EUGENE IS 316 #A007                 EI316A0700          G05040      177104117000
EUGENE IS 316 #A008                 EI316A0800          G05040      177104117300
EUGENE IS 316 #A010                 EI316A1000          G05040      177104118300
EUGENE IS 316 #A011                 EI316A1100          G05040      177104137500
EUGENE IS 316 #A012                 EI316A1200          G05040      177104138400
EUGENE IS 316 #A013 ST1 (S01)       EI316A13S1          G05040      177104107601
EUGENE IS 329 #A002                 EI329A0200          G02912      177104099101
EUGENE IS 329 #A004                 EI329A0400          G02912      177104099400
EUGENE IS 329 #A008                 EI329A0800          G02912      177104103500
EUGENE IS 329 #A011                 EI329A1100          G02912      177104103800
EUGENE IS 329 #A014                 EI329A1400          G02912      177104106800
EUGENE IS 329 #A015                 EI329A1500          G02912      177104108001
EUGENE IS 329 #A018                 EI329A1800          G02912      177104151700
EUGENE IS 330 #B001                 EI330B0101          G02115      177104004301
EUGENE IS 330 #B003 ST1             EI330B0301          G02115      177104008001
EUGENE IS 330 #B004 ST1             EI330B0401          G02115      177104008701
EUGENE IS 330 #B005 ST2             EI330B0502          G02115      177104009502
EUGENE IS 330 #B006 ST3             EI330B0603          G02115      177104010503
EUGENE IS 330 #B007 ST1             EI330B0701          G02115      177104011601
EUGENE IS 330 #B008 ST1 LF          EI330B0801          G02115      177104013001
EUGENE IS 330 #B009 ST1             EI330B0901          G02115      177104016301
EUGENE IS 330 #B010 ST1             EI330B1001          G02115      177104017101
EUGENE IS 330 #B011                 EI330B1100          G02115      177104025200
EUGENE IS 330 #B012 ST1             EI330B1201          G02115      177104021001
EUGENE IS 330 #B014 ST1             EI330B1401          G02115      177104027401
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 318
                                                                                      238 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
EUGENE IS 330 #B015 ST1             EI330B1501          G02115      177104028601
EUGENE IS 330 #B016 ST1             EI330B1601          G02115      177104030201
EUGENE IS 330 #B018                 EI330B1800          G02115      177104031200
EUGENE IS 330 #D001                 EI330D0100          G02115      177104105600
EUGENE IS 330 #D002                 EI330D0200          G02115      177104116900
EUGENE IS 330 #D003 ST2             EI330D0302          G02115      177104117802
EUGENE IS 330 #D004                 EI330D0400          G02115      177104118400
EUGENE IS 330 #D005 ST1             EI330D0502          G02115      177104118702
EUGENE IS 330 #D006 ST              EI330D0602          G02115      177104119102
EUGENE IS 330 #D008 ST1             EI330D0801          G02115      177104119602
EUGENE IS 330 #D009 ST1             EI330D0901          G02115      177104138201
EUGENE IS 330 #D011                 EI330D1100          G02115      177104138700
EUGENE IS 330 #D012 ST1             EI330D1201          G02115      177104138801
EUGENE IS 330 #D013                 EI330D1301          G02115      177104164301
EUGENE IS 330 #D014                 EI330D1401          G02115      177104164401
EUGENE IS 330 #D015                 EI330D1500          G02115      177104164500
EUGENE IS 330 #D016                 EI330D1602          G02115      177104164702
EUGENE IS 330 #D017                 EI330D1700          G02115      177104164800
EUGENE IS 330 #D018                 EI330D1801          G02115      177104165101
EUGENE IS 330 #D019                 EI330D1900          G02115      177104165200
EUGENE IS 330 #D020                 EI330D2000          G02115      177104165300
EUGENE IS 333 #B012                 EI333B1200          G02317      177104145204
EUGENE IS 334 #B013 ST1             EI334B1301          G15263      177104152201
EUGENE IS 334 #D001 BP1             EI334D0100          G15263      177104159300
EUGENE IS 334 #D003 BP1             EI334D0301          G15263      177104161401
EUGENE IS 337 #A001 ST2             EI337A0102          G03332      177104054002
EUGENE IS 337 #A003 ST1             EI337A0301          G03332      177104101101
EUGENE IS 337 #A005 ST1             EI337A0501          G03332      177104102201
EUGENE IS 337 #A007                 EI337A0700          G03332      177104104600
EUGENE IS 337 #A008 ST2             EI337A0802          G03332      177104104902
EUGENE IS 337 #A010                 EI337A1000          G03332      177104161000
EUGENE IS 337 #A011                 EI337A1103          G03332      177104163803
EUGENE IS 342 #004                  EI34200400          G02319      177104113000
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 319
                                                                                     239 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
EUGENE IS 342 #C002 ST1            EI342C0201          G02319      177104110601
EUGENE IS 342 #C003                EI342C0300          G02319      177104114000
EUGENE IS 342 #C004                EI342C0401          G02319      177104120101
EUGENE IS 342 #C005                EI342C0502          G02319      177104120202
EUGENE IS 342 #C006                EI342C0600          G02319      177104120300
EUGENE IS 342 #C007                EI342C0700          G02319      177104120800
EUGENE IS 342 #C008                EI342C0800          G02319      177104121000
EUGENE IS 342 #C009                EI342C0900          G02319      177104121300
EUGENE IS 342 #C010                EI342C1000          G02319      177104121500
EUGENE IS 342 #C011                EI342C1100          G02319      177104122000
EUGENE IS 342 #C012                EI342C1200          G02319      177104122200
EUGENE IS 342 #C013                EI342C1300          G02319      177104122700
EUGENE IS 342 #C014                EI342C1400          G02319      177104135800
EUGENE IS 342 #C015                EI342C1501          G02319      177104162101
EUGENE IS 342 #C016                EI342C1601          G02319      177104162201
EUGENE IS 342 #C017 BP1            EI342C1701          G02319      177104162501
EUGENE IS 345 #A004                EI345A0401          G21647      177104159201
EUGENE IS 346 #004                 EI34600400          G14482      177104150500
EUGENE IS 346 #005                 EI34600500          G14482      177104151900
EUGENE IS 346 #A001                EI346A0100          G14482      177104149101
EUGENE IS 346 #A002 ST3            EI346A0203          G14482      177104149603
EUGENE IS 346 #A003                EI346A0300          G14482      177104155100
EUGENE IS 346 #B001 (ORRI)         EI346B0100          G14482      177104161700
EUGENE IS 346 #B003 (ORRI)         EI346B0300          G14482      177104162800
EUGENE IS 353 #D017 ST2            EI353D1702          G03783      177104143402
EUGENE IS 353(354) #D3 ST          EI353D0300          G03783      177104138501
EUGENE IS 354 #A006                EI354A0602          G10752      177104104302
EUGENE IS 354 #D001                EI354D0101          G10752      177104142101
EUGENE IS 354 #D002                EI354D0200          G10752      177104138100
EUGENE IS 354 #D004                EI354D0400          G10752      177104142900
EUGENE IS 354 #D005                EI354D0500          G10752      177104142800
EUGENE IS 354 #D006                EI354D0600          G10752      177104143500
EUGENE IS 354 #D008                EI354D0800          G10752      177104144000
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 320
                                                                                      240 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
EUGENE IS 354 #D009 ST4             EI354D0904          G10752      177104145604
EUGENE IS 354 #D010                 EI354D1000          G10752      177104144700
EUGENE IS 354 #D011                 EI354D1100          G10752      177104144900
EUGENE IS 354 #D012                 EI354D1200          G10752      177104146400
EUGENE IS 354 #D014 ST1             EI354D1401          G02324      177104147201
EUGENE IS 354 #D015                 EI354D1500          G10752      177104147700
EUGENE IS 354 #D016 ST1             EI354D1601          G10752      177104147901
EUGENE IS 361 #A001                 EI361A0100          G02324      177104095200
EUGENE IS 361 #A002                 EI361A0200          G02324      177104095600
EUGENE IS 361 #A006                 EI361A0600          G02324       1771040979
EUGENE IS 361 #A007                 EI361A0700          G02324      177104098500
EUGENE IS 361 #A008                 EI361A0800          G02324       1771040992
EUGENE IS 361 #A010                 EI361A1000          G02324       1771041012
EUGENE IS 361 #A011                 EI361A1102          G02324      177104103402
EUGENE IS 361 #A013                 EI361A1300          G02324      177104104400
EUGENE IS 361 #A014                 EI361A1400          G02324      177104104700
EUGENE IS 361 #A015                 EI361A1500          G02324      177104105300
EUGENE IS 361 #A016                 EI361A1600          G02324       1771041057
EUGENE IS 361 #A017                 EI361A1700          G02324      177104105800
EUGENE IS 361 #A018                 EI361A1800          G02324      177104106600
EUGENE IS 361 #A019                 EI361A1900          G02324      177104107500
EUGENE IS 361 #A020                 EI361A2000          G02324       1771041079
EUGENE IS 361 #A021                 EI361A2101          G02324      177104108101
EUGENE IS 361 #A022                 EI361A2200          G02324      177104144600
EUGENE IS 361 #A023                 EI361A2300          G02324       1771041454
EUGENE IS 361 #A024                 EI361A2400          G02324      177104157900
EUGENE IS 361 #C003                 EI361C0300          G02324      177104112401
EUGENE IS 361 #C012                 EI361C1202          G02324      177104118002
EUGENE IS 361 #C015                 EI361C1500          G02324      177104119500
EUGENE IS 361 #C016                 EI361C1600          G02324      177104119800
EUGENE IS 361 #D001                 EI361D0102          G02324      177104111102
EUGENE IS 361 #D004                 EI361D0400          G02324       1771041135
EUGENE IS 361 #D010                 EI361D1000          G02324       1771041171
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 321
                                                                                   241 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
EUGENE IS 361 #D014              EI361D1400          G02324       1771041193
EUGENE IS 361 #D015              EI361D1501          G02324      177104134601
EUGENE IS 361 #D017              EI361D1701          G02324      177104152401
EWING BANK 782 #A011 ST1 EW826   EW782A1101          G31470      608105002901
EWING BANK 782 #A022 (EW826)     EW782A2200          G31470      608104014400
EWING BANK 782 #A026             EW782A2600          G31470      608104015003
EWING BANK 826 #A001             EW826A0100          G05800      608105000100
EWING BANK 826 #A002 ST2         EW826A0202          G05800      608105000202
EWING BANK 826 #A003 ST2         EW826A0302          G05800      608105000402
EWING BANK 826 #A004             EW826A0400          G05800      608105000500
EWING BANK 826 #A005 ST3         EW826A0503          G05800      608105001303
EWING BANK 826 #A006             EW826A0600          G05800      608105001200
EWING BANK 826 #A007             EW826A0700          G05800      608105002000
EWING BANK 826 #A008             EW826A0800          G05800      608105001400
EWING BANK 826 #A009             EW826A0900          G05800      608105002800
EWING BANK 826 #A010             EW826A1000          G05800      608105001700
EWING BANK 826 #A013             EW826A1300          G05800      608105003000
EWING BANK 826 #A015             EW826A1501          G05800      608105003501
EWING BANK 826 #A016             EW826A1600          G05800      608105002100
EWING BANK 826 #A017             EW826A1700          G05800      608104013600
EWING BANK 826 #A018             EW826A1800          G05800      608104013700
EWING BANK 826 #A019 BP1         EW826A1901          G05800      608104013801
EWING BANK 826 #A020             EW826A2000          G05800      608104014000
EWING BANK 826 #A021 BP3         EW826A2103          G05800      608104014103
EWING BANK 826 #A024 ST1         EW826A2401          G05800      608104014801
GALVESTON 151 #005               GA15100500          G15740      427064044200
GALVESTON 180 #A002              GA180A0200          G03228      427084005600
GALVESTON 180 #A004 ST1          GA180A0401          G03228      427084005801
GALVESTON 180 #A007B             GA180A7B0           G03228      427084005900
GALVESTON 180 #A017              GA180A1700          G03228      427084007600
GALVESTON 192 #A014C             GA192A14C1          G03229      427084006701
GALVESTON 210 #001               GA21000100          G25524      427064044300
GALVESTON 210 #002               GA21000200          G25524      427064044800
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 322
                                                                                       242 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
GRAND ISLE 032 #U012 ST1             GI032U1201           00174      177192014502
GRAND ISLE 039 #P002 ST2             GI039P0202           00127      177174097802
GRAND ISLE 039 #Q001 ST3             GI039Q0103           00127      177174037903
GRAND ISLE 040 #E007D                GI040E07D0           00128      177170077500
GRAND ISLE 040 #E009                 GI040E0900           00128      177170078700
GRAND ISLE 040 #G001                 GI040G0100           00128      177170070400
GRAND ISLE 040 #G002                 GI040G0200           00128      177170076200
GRAND ISLE 040 #G006                 GI040G0600           00133      177174012600
GRAND ISLE 040 #G010                 GI040G1000           00128      177174037200
GRAND ISLE 040 #G011                 GI040G1100           00128      177174037300
GRAND ISLE 040 #G013                 GI040G1300           00128      177174098600
GRAND ISLE 040 #M001                 GI040M0100           00128      177174037000
GRAND ISLE 040 #M002D                GI040M02D0           00128      177174038600
GRAND ISLE 040 #M003                 GI040M0300           00128      177174043600
GRAND ISLE 040 #O005                 GI040O0500           00128      177174097100
GRAND ISLE 041 #D002                 GI041D0200           00129      177170075300
GRAND ISLE 041 #D003                 GI041D0300           00129      177170076700
GRAND ISLE 041 #D004                 GI041D0400           00130      177170080500
GRAND ISLE 041 #D007                 GI041D0700           00129      177172000000
GRAND ISLE 041 #D008 ST              GI041D0801           00130      177172000801
GRAND ISLE 041 #D009                 GI041D0900           00129      177172001500
GRAND ISLE 041 #D010ST               GI041D1000           00129      177174017801
GRAND ISLE 041 #D011E                GI041D1100           00129      177174018400
GRAND ISLE 041 #E001 ST1             GI041E0101           00130      177170069401
GRAND ISLE 041 #E002 ST1             GI041E0201           00130      177170074701
GRAND ISLE 041 #E003D                GI041E03D0           00130      177170075000
GRAND ISLE 041 #E004 ST1             GI041E0401           00130      177170075201
GRAND ISLE 041 #E005                 GI041E0500           00129      177170075400
GRAND ISLE 041 #E006D                GI041E06D0           00130      177170077300
GRAND ISLE 041 #E008                 GI041E0800           00130      177170079800
GRAND ISLE 041 #E010                 GI041E1001           00130      177172000301
GRAND ISLE 041 #E012D                GI041E12D0           00130      177174011500
GRAND ISLE 041 #E013                 GI041E1300           00130      177174012900
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 323
                                                                                       243 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
GRAND ISLE 041 #F003 ST1             GI041F0301           00129      177174006401
GRAND ISLE 041 #F005 ST2             GI041F0502           00129      177174017302
GRAND ISLE 041 #G007                 GI041G0700           00130      177174022400
GRAND ISLE 041 #G008                 GI041G0800           00130      177174026400
GRAND ISLE 041 #H001                 GI041H0100           00130      177174020300
GRAND ISLE 041 #H002                 GI041H0200           00129      177174028100
GRAND ISLE 041 #H003 ST              GI041H0301           00130      177174028601
GRAND ISLE 041 #H004                 GI041H0400           00130      177174038000
GRAND ISLE 041 #H005                 GI041H0500           00129      177174038100
GRAND ISLE 041 #H006 ST1             GI041H0601           00129      177174098301
GRAND ISLE 041 #H007                 GI041H0700           00130      177174098400
GRAND ISLE 042 #C001                 GI042C0100           00131      177170067000
GRAND ISLE 042 #C002                 GI042C0200           00131      177170072100
GRAND ISLE 042 #F001                 GI042F0100           00131      177174005100
GRAND ISLE 042 #F002                 GI042F0200           00131      177174006000
GRAND ISLE 042 #F004                 GI042F0400           00131      177174007100
GRAND ISLE 046 #001 ST1              GI04600101           00132      177174042801
GRAND ISLE 046 #G009 ST1             GI046G0901           00132      177174026101
GRAND ISLE 047 #E006                 GI047E0600           00133      177170078100
GRAND ISLE 047 #E008                 GI047E0800           00133      177170079500
GRAND ISLE 047 #E017                 GI047E1700           00133      177174039900
GRAND ISLE 047 #G004 ST              GI047G0401           00133      177170079601
GRAND ISLE 047 #G005 ST              GI047G0501           00133      177170080301
GRAND ISLE 047 #G012                 GI047G1200           00133      177174037500
GRAND ISLE 047 #L001                 GI047L0100           00133      177174012800
GRAND ISLE 047 #L002 ST              GI047L0201           00133      177174015901
GRAND ISLE 047 #L003                 GI047L0300           00133      177174020500
GRAND ISLE 047 #L004                 GI047L0400           00133      177174017000
GRAND ISLE 047 #L005                 GI047L0500           00133      177174017900
GRAND ISLE 047 #L006D                GI047L0600           00133      177174036300
GRAND ISLE 047 #L007 ST              GI047L0701           00177      177174039101
GRAND ISLE 047 #L009 ST1             GI047L0901           00133      177174039201
GRAND ISLE 047 #L011 ST2             GI047L1102           00133      177174039602
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 324
                                                                                     244 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
GRAND ISLE 047 #O001 BP2           GI047O01D3           00133      177174096102
GRAND ISLE 047 #O002               GI047002D1           00133      177174096600
GRAND ISLE 047 #O003               GI04700300           00133      177174096700
GRAND ISLE 047 #O004               GI047O0400           00133      177174096900
GRAND ISLE 047 #O006               GI047O0600           00133      177174097200
GRAND ISLE 047 #O007 ST1           GI047O0701           00133      177174097301
GRAND ISLE 047 #O008               GI047O0800           00133      177174097600
GRAND ISLE 047 #O009               GI047O09D1           00133      177174097700
GRAND ISLE 048 #E001               GI048E0100           00134      177170045400
GRAND ISLE 048 #E014               GI048E1400           00134      177172003900
GRAND ISLE 048 #E018 ST            GI048E1801           00134      177174043501
GRAND ISLE 048 #J002 ST1           GI048J0201           00134      177174003201
GRAND ISLE 048 #J003 ST            GI048J0302           00134      177174004502
GRAND ISLE 048 #J004 ST2           GI048J0403           00134      177174004803
GRAND ISLE 048 #J005 ST            GI048J0501           00134      177174011601
GRAND ISLE 048 #J006               GI048J0600           00134      177174012000
GRAND ISLE 048 #J007               GI048J0700           00134      177174012200
GRAND ISLE 048 #J008               GI048J0800           00134      177174016900
GRAND ISLE 048 #J009               GI048J0900           00134      177174044200
GRAND ISLE 048 #J010 ST            GI048J1001           00134      177174044401
GRAND ISLE 048 #P001 FKA #14       GI048P0100           00134      177174015300
GRAND ISLE 052 #L008 ST            GI052L0801           00177      177174019501
GRAND ISLE 052 #L010               GI052L1001           00177      177174043901
GRAND ISLE 052 #L012               GI052L1200           00177      177174044604
GRAND ISLE 076 #A001               GI076A0100          G02161      177174004600
GRAND ISLE 076 #A002               GI076A0200          G02161      177174004700
GRAND ISLE 076 #A003               GI076A0300          G02161      177174004900
GRAND ISLE 076 #A005               GI076A0500          G02161      177174005200
GRAND ISLE 076 #A006               GI076A0601          G02161      177174005001
GRAND ISLE 076 #A008               GI076A0800          G02161      177174005400
GRAND ISLE 076 #A009               GI076A0900          G02161      177174005500
GRAND ISLE 076 #A010               GI076A1001          G02161      177174005301
GRAND ISLE 076 #A011               GI076A1100          G02161      177174005600
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 325
                                                                                    245 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
GRAND ISLE 076 #A013              GI076A1300          G02161      177174005800
GRAND ISLE 076 #A014              GI076A1400          G02161      177174006100
GRAND ISLE 076 #A015              GI076A1500          G02161      177174005900
GRAND ISLE 076 #A018              GI076A1800          G02161      177174006500
GRAND ISLE 076 #A022              GI076A2201          G02161      177174006601
GRAND ISLE 076 #A023 ST1          GI076A2301          G02161      177174044101
GRAND ISLE 076 #A024 ST1BP1       GI076A2401          G02161      177174095502
GRAND ISLE 110 #A002              GI110A0200          G13943      177184008900
GRAND ISLE 110 #A005 BP2          GI110A0502          G13943      177184010402
GRAND ISLE 116 #A001              GI116A0100          G13944      177184008700
GRAND ISLE 116 #A003              GI116A0300          G13944      177184009200
GRAND ISLE 116 #A004              GI116A0401          G13944      177184009501
GRAND ISLE 116 #A006              GI116A0601          G13944      177184010601
GRAND ISLE 116 #A007              GI116A0700          G13944      177184011100
HIGH ISLAND 110 #A001             HI110A0100          G02353      427084001700
HIGH ISLAND 110 #A002             HI110A0200          G02353      427084002300
HIGH ISLAND 110 #A004             HI110A0400          G02353      427084003300
HIGH ISLAND 110 #A005             HI110A0500          G02353      427084003500
HIGH ISLAND 110 #A006             HI110A0600          G02353      427084003700
HIGH ISLAND 110 #A008             HI110A0800          G02353      427084004900
HIGH ISLAND 110 #A009             HI110A0900          G02353      427084039400
HIGH ISLAND 110 #B002             HI110B0200          G02353      427084004300
HIGH ISLAND 110 #B004             HI110B0400          G02353      427084006100
HIGH ISLAND 110 #B009             HI110B0900          G02353      427084035000
HIGH ISLAND 110 #B010             HI110B1000          G02353      427084039600
HIGH ISLAND 111 #003              HI11100300          G02354      427084046200
HIGH ISLAND 111 #A003             HI111A0300          G02354      427084002600
HIGH ISLAND 111 #A010             HI111A1000          G02354      427084040101
HIGH ISLAND 116 #A001             HI116A0100          G06156      427084016400
HIGH ISLAND 116 #A002D            HI116A02D0          G06156      427084017600
HIGH ISLAND 116 #A003             HI116A0300          G06156      427084018300
HIGH ISLAND 129 #005              HI129005            G01848      427104000700
HIGH ISLAND 129 #006              HI12900600          G01848      427104000800
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 326
                                                                                      246 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
HIGH ISLAND 129 #013                HI12901300          G01848      427104009600
HIGH ISLAND 129 #017                HI12901702          G01848      427104015302
HIGH ISLAND 129 #018 (HELIS)        HI12901800          G01848      427104015400
HIGH ISLAND 176 #002                HI17600200          G06164      427084030200
HIGH ISLAND 176 #003                HI17603             G06164      427084031300
HIGH ISLAND 179 #A001               HI179A0100          G03236      427084005500
HIGH ISLAND 179 #A003               HI179A0300          G03236      427084005700
HIGH ISLAND 179 #A006 ST2           HI179A0602          G03236      427084006002
HIGH ISLAND 179 #A008B              HI179A08B0          G03236      427084006200
HIGH ISLAND 179 #A009               HI179A0900          G03236      427084006300
HIGH ISLAND 179 #A010               HI179A1000          G03236      427084006400
HIGH ISLAND 179 #A016               HI179A1600          G03236      427084007300
HIGH ISLAND 179 #A018E              HI179A18E0          G03236      427084008000
HIGH ISLAND 179 #A019               HI179A1900          G03236      427084007800
HIGH ISLAND 193 #A015               HI193A1500          G03237      427084006801
HIGH ISLAND 206 #B001 ST1           HI206B0101          G20660      427084056501
HIGH ISLAND 206 #B002 ST1           HI206B0201          G20660      427084059201
HIGH ISLAND 206 #B003 ST1           HI206B0301          G20660      427084063501
HIGH ISLAND A‐341 #B001             HIA341B010          G25605      427114085900
HIGH ISLAND A‐341 #B002             HIA341B020          G25605      427114087101
HIGH ISLAND A‐365 #A001             HIA365A010          G02750      427114052200
HIGH ISLAND A‐365 #A004             HIA365A040          G02750      427114053700
HIGH ISLAND A‐365 #A006             HIA365A060          G02750      427114053100
HIGH ISLAND A‐365 #A007             HIA365A070          G02750      427114054100
HIGH ISLAND A‐365 #A008             HIA365A080          G02750      427114054800
HIGH ISLAND A‐365 #A010             HIA365A100          G02750      427114055200
HIGH ISLAND A‐365 #A012             HIA365A120          G02750      427114055600
HIGH ISLAND A‐365 #A013 ST1         HIA365A131          G02750      427114055801
HIGH ISLAND A‐365 #A016             HIA365A160          G02750      427114056700
HIGH ISLAND A‐365 #A020             HIA365A200          G02750      427114057500
HIGH ISLAND A‐365 #A021             HIA365A210          G02750      427114057600
HIGH ISLAND A‐365 #A024             HIA365A240          G02750      427114066300
HIGH ISLAND A‐365 #A025             HIA365A250          G02750      427114066500
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 327
                                                                                     247 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐376 #A002 ST1        HIA376A021          G02754      427114052601
HIGH ISLAND A‐376 #A003            HIA376A030          G02754      427114052700
HIGH ISLAND A‐376 #A005            HIA376A050          G02754      427114053500
HIGH ISLAND A‐376 #A009            HIA376A090          G02754      427114054400
HIGH ISLAND A‐376 #A011            HIA376A110          G02754      427114055000
HIGH ISLAND A‐376 #A014 ST2        HIA376A142          G02754      427114056002
HIGH ISLAND A‐376 #A015            HIA376A150          G02754      427114056200
HIGH ISLAND A‐376 #A017            HIA376A170          G02754      427114057200
HIGH ISLAND A‐376 #A018            HIA376A180          G02754      427114057300
HIGH ISLAND A‐376 #A019            HIA376A190          G02754      427114057400
HIGH ISLAND A‐376 #A022            HIA376A220          G02754      427114057700
HIGH ISLAND A‐376 #B001            HIA376B010          G02754      427114068700
HIGH ISLAND A‐376 #B002            HIA376B020          G02754      427114068900
HIGH ISLAND A‐376 #B003            HIA376B031          G02754      427114078701
HIGH ISLAND A‐376 #B004            HIA376B041          G02754      427114079001
HIGH ISLAND A‐376 #B005            HIA376B050          G02754      427114079600
HIGH ISLAND A‐376 #C001            HIA376C010          G02754      427114088900
HIGH ISLAND A‐376 #C002            HIA376C020          G02754      427114089600
HIGH ISLAND A‐376 #C003            HIA376C030          G02754      427114089500
HIGH ISLAND A‐376 #C004            HIA376C040          G02754      427114089400
HIGH ISLAND A‐382 #A009            HIA382A090          G02757      427094018600
HIGH ISLAND A‐382 #B013            HIA382B130          G02757      427094025500
HIGH ISLAND A‐382 #F001 ST1        HIA382F011          G02757      427114059401
HIGH ISLAND A‐382 #F002            HIA382F020          G02757      427114059800
HIGH ISLAND A‐382 #F003            HIA382F031          G02757      427114059901
HIGH ISLAND A‐382 #F004            HIA382F040          G02757      427114060600
HIGH ISLAND A‐382 #F005            HIA382F050          G02757      427114060900
HIGH ISLAND A‐382 #F006            HIA382F061          G02757      427114061001
HIGH ISLAND A‐382 #F008            HIA382F080          G02757      427114061700
HIGH ISLAND A‐382 #F010 ST5        HIA382F105          G02757      427114062605
HIGH ISLAND A‐382 #F011            HIA382F110          G02757      427114063100
HIGH ISLAND A‐382 #F012            HIA382F121          G02757      427114063601
HIGH ISLAND A‐382 #F013            HIA382F130          G02757      427114063800
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 328
                                                                                     248 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐382 #F014            HIA382F140          G02757      427114063900
HIGH ISLAND A‐382 #F015            HIA382F151          G02757      427114064701
HIGH ISLAND A‐382 #F017            HIA382F171          G02757      427114066701
HIGH ISLAND A‐382 #F019            HIA382F190          G02757      427114067100
HIGH ISLAND A‐382 #F020            HIA382F200          G02757      427114067500
HIGH ISLAND A‐382 #F021            HIA382F211          G02757      427114067801
HIGH ISLAND A‐442 #A001 (ORRI)     HIA442A010          G11383      427094096101
HIGH ISLAND A‐442 #A003 (ORRI)     HIA442A03           G11383      427094098101
HIGH ISLAND A‐442 #A004 (ORRI)     HIA442A040          G11383      427094099000
HIGH ISLAND A‐442 #B001 (ORRI)     HIA442B01           G11383      427094108900
HIGH ISLAND A‐474 #A001            HIA474A010          G02366      427094017100
HIGH ISLAND A‐474 #A002            HIA474A020          G02366      427094017200
HIGH ISLAND A‐474 #A003            HIA474A030          G02366      427094019900
HIGH ISLAND A‐474 #A004            HIA474A040          G02366      427094022800
HIGH ISLAND A‐474 #A005            HIA474A050          G02366      427094023500
HIGH ISLAND A‐474 #A006            HIA474A060          G02366      427094024300
HIGH ISLAND A‐474 #A007            HIA474A070          G02366      427094027702
HIGH ISLAND A‐474 #A008            HIA474A080          G02366      427094026100
HIGH ISLAND A‐474 #A010            HIA474A100          G02366      427094029400
HIGH ISLAND A‐474 #A011            HIA474A110          G02366      427094030000
HIGH ISLAND A‐474 #A012            HIA474A120          G02366      427094030801
HIGH ISLAND A‐474 #A013            HIA474A130          G02366      427094036104
HIGH ISLAND A‐474 #A014            HIA474A140          G02366      427094035000
HIGH ISLAND A‐474 #A017            HIA474A170          G02366      427094032500
HIGH ISLAND A‐474 #A020            HIA474A200          G02366      427094038500
HIGH ISLAND A‐474 #A021            HIA474A210          G02366      427094040700
HIGH ISLAND A‐474 #B023            HIA474B230          G02366      427094037200
HIGH ISLAND A‐475 #A016            HIA475A16           G02367      427094035500
HIGH ISLAND A‐475 #A018            HIA475A18           G02367      427094033100
HIGH ISLAND A‐489 #A009            HIA489A090          G02372      427094028500
HIGH ISLAND A‐489 #A015            HIA489A150          G02372      427094037000
HIGH ISLAND A‐489 #B002            HIA489B020          G02372      427094021000
HIGH ISLAND A‐489 #B003            HIA489B030          G02372      427094020901
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 329
                                                                                     249 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐489 #B005 ST         HIA489B050          G02372      427094024601
HIGH ISLAND A‐489 #B007            HIA489B070          G02372      427094027601
HIGH ISLAND A‐489 #B009            HIA489B090          G02372      427094026500
HIGH ISLAND A‐489 #B010            HIA489B100          G02372      427094028800
HIGH ISLAND A‐489 #B012            HIA489B120          G02372      427094031400
HIGH ISLAND A‐489 #B013            HIA489B130          G02372      427094028600
HIGH ISLAND A‐489 #B014            HIA489B140          G02372      427094029700
HIGH ISLAND A‐489 #B015            HIA489B150          G02372      427094030400
HIGH ISLAND A‐489 #B016            HIA489B160          G02372      427094029800
HIGH ISLAND A‐489 #B017            HIA489B170          G02372      427094023802
HIGH ISLAND A‐489 #B020            HIA489B200          G02372      427094028101
HIGH ISLAND A‐489 #B021            HIA489B210          G02372      427094026202
HIGH ISLAND A‐489 #B022            HIA489B220          G02372      427094036000
HIGH ISLAND A‐489 #B024            HIA489B240          G02372      427094035400
HIGH ISLAND A‐489 #B025            HIA489B250          G02372      427094041400
HIGH ISLAND A‐489 #B026            HIA489B260          G02372      427094043100
HIGH ISLAND A‐489 #B027            HIA489B270          G02372      427094042501
HIGH ISLAND A‐489 #B028            HIA489B280          G02372      427094054500
HIGH ISLAND A‐489 #B029            HIA489B290          G02372      427094111100
HIGH ISLAND A‐545 #JA001           HIA545JA01          G17199      427094104000
HIGH ISLAND A‐545 #JA002           HIA545JA02          G17199      427094112401
HIGH ISLAND A‐545 #JA003           HIA545JA03          G17199      427094113700
HIGH ISLAND A‐572 #A003 ST1        HIA572A031          G02392      427094012901
HIGH ISLAND A‐572(573)A014         HIA572A140          G02392      427094034100
HIGH ISLAND A‐573 #006             HIA5730060          G02393      427094053700
HIGH ISLAND A‐573 #A001 ST2        HIA573A012          G02393      427094007102
HIGH ISLAND A‐573 #A002 ST3        HIA573A023          G02393      427094013803
HIGH ISLAND A‐573 #A004            HIA573A040          G02393      427094015000
HIGH ISLAND A‐573 #A005 ST1        HIA573A051          G02393      427094015501
HIGH ISLAND A‐573 #A008            HIA573A080          G02393      427094018000
HIGH ISLAND A‐573 #A010            HIA573A100          G02393      427094020500
HIGH ISLAND A‐573 #A015            HIA573A150          G02393      427094034200
HIGH ISLAND A‐573 #A016            HIA573A160          G02393      427094034300
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 330
                                                                                     250 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐573 #A017            HIA573A170          G02393      427094036500
HIGH ISLAND A‐573 #A019 ST1        HIA573A191          G02393      427094038001
HIGH ISLAND A‐573 #B001            HIA573B010          G02393      427094012800
HIGH ISLAND A‐573 #B002            HIA573B020          G02393      427094014100
HIGH ISLAND A‐573 #B005            HIA573B050          G02393      427094016400
HIGH ISLAND A‐573 #B006            HIA573B060          G02393      427094017000
HIGH ISLAND A‐573 #B008            HIA573B080          G02393      427094017900
HIGH ISLAND A‐573 #B010            HIA573B100          G02393      427094021100
HIGH ISLAND A‐573 #B012            HIA573B120          G02393      427094022700
HIGH ISLAND A‐573 #E007            HIA573E070          G02393      427094098200
HIGH ISLAND A‐573 #E012            HIA573E120          G02393      427094115000
HIGH ISLAND A‐573 #F007            HIA573F070          G02393      427114061200
HIGH ISLAND A‐573 #F009            HIA573F090          G02393      427114062000
HIGH ISLAND A‐573 #F016 ST5        HIA573F165          G02393      427114066805
HIGH ISLAND A‐573 #F018 ST1        HIA573F181          G02393      427114067301
HIGH ISLAND A‐573 #F022            HIA573F220          G02393      427114068400
HIGH ISLAND A‐573 #F023 ST2        HIA573F232          G02393      427114069302
HIGH ISLAND A‐581 #D004            HIA581D040          G18959      427094112200
HIGH ISLAND A‐582 #C001            HIA582C010          G02719      427094061500
HIGH ISLAND A‐582 #C002            HIA582C020          G02719      427094061900
HIGH ISLAND A‐582 #C003            HIA582C030          G02719      427094058000
HIGH ISLAND A‐582 #C006            HIA582C060          G02719      427094063400
HIGH ISLAND A‐582 #C007            HIA582C070          G02719      427094063900
HIGH ISLAND A‐582 #C010            HIA582C100          G02719      427094070200
HIGH ISLAND A‐582 #C011            HIA582C110          G02719      427094071400
HIGH ISLAND A‐582 #C012            HIA582C120          G02719      427094074900
HIGH ISLAND A‐582 #C013            HIA582C130          G02719      427094072700
HIGH ISLAND A‐582 #C014            HIA582C140          G02719      427094073800
HIGH ISLAND A‐582 #C015            HIA582C150          G02719      427094075800
HIGH ISLAND A‐582 #C019            HIA582C190          G02719      427094108200
HIGH ISLAND A‐582 #D002 ST1        HIA582D021          G02719      427094110801
HIGH ISLAND A‐582 #D003 ST         HIA582D031          G02719      427094111401
HIGH ISLAND A‐582 #D005            HIA582D050          G02719      427094114300
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 331
                                                                                     251 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
HIGH ISLAND A‐582 #D006            HIA582D060          G02719      427094114700
HIGH ISLAND A‐595 #D001 ST2        HIA595D1D2          G02721      427094055302
HIGH ISLAND A‐595 #D003            HIA595D03           G02721      427094058500
HIGH ISLAND A‐595 #D005            HIA595D050          G02721      427094092900
HIGH ISLAND A‐595 #D006            HIA595D063          G02721      427094063205
HIGH ISLAND A‐595 #D010            HIA595D100          G02721      427094070500
HIGH ISLAND A‐595 #D012            HIA595D120          G02721      427094077000
HIGH ISLAND A‐595 #D017 ST2        HIA595D172          G02721      427094083702
HIGH ISLAND A‐595 #D018            HIA595D181          G02721      427094093501
HIGH ISLAND A‐595 #E011            HIA595E110          G02721      427094114501
HIGH ISLAND A‐596 #B014            HIA596B140          G02722      427094025800
HIGH ISLAND A‐596 #D002            HIA596D020          G02722      427094056901
HIGH ISLAND A‐596 #D004            HIA596D040          G02722      427094060500
HIGH ISLAND A‐596 #D007 ST4        HIA596D074          G02722      427094064304
HIGH ISLAND A‐596 #D008 ST1        HIA596D081          G02722      427094067001
HIGH ISLAND A‐596 #D009            HIA596D090          G02722      427094068400
HIGH ISLAND A‐596 #D011            HIA596D110          G02722      427094075700
HIGH ISLAND A‐596 #D013 ST2        HIA596D132          G02722      427094079502
HIGH ISLAND A‐596 #D014            HIA596D140          G02722      427094080100
HIGH ISLAND A‐596 #D016            HIA596D160          G02722      427094082400
HIGH ISLAND A‐596 #E005            HIA596E050          G02722      427094085900
HIGH ISLAND A‐596 #E008            HIA596E080          G02722      427094112801
HIGH ISLAND A‐596 #E009            HIA596E090          G02722      427094114200
MAIN PASS 077 #A001                MP077A0100          G04481      177254033800
MAIN PASS 077 #A002                MP077A0201          G04481      177254043101
MAIN PASS 077 #A003                MP077A0300          G04481      177254036100
MAIN PASS 077 #A004                MP077A0400          G04481      177254036900
MAIN PASS 077 #A005                MP077A0500          G04481      177254038000
MAIN PASS 077 #A006 ST2            MP077A0602          G04481      177254036402
MAIN PASS 077 #A010                MP077A1000          G04481      177254039600
MAIN PASS 077 #A011                MP077A1100          G04481      177254042400
MAIN PASS 077 #A012                MP077A1200          G04481      177254039700
MAIN PASS 077 #A013                MP077A1300          G04481      177254044900
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 332
                                                                                      252 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 077 #A014                 MP077A1400          G04481      177254044500
MAIN PASS 077 #A015                 MP077A1501          G04481      177254045101
MAIN PASS 077 #A016                 MP077A1600          G04481      177254045900
MAIN PASS 077 #A017                 MP077A1700          G04481      177254046200
MAIN PASS 077 #A018                 MP077A1800          G04481      177254046800
MAIN PASS 077 #A019                 MP077A1900          G04481      177254048200
MAIN PASS 077 #A020                 MP077A2001          G04481      177254048501
MAIN PASS 077 #A021 ST              MP077A2100          G04481      177254067002
MAIN PASS 077 #A022                 MP077A2201          G04481      177254067401
MAIN PASS 077 #A023                 MP077A23            G04481      177254067601
MAIN PASS 077 #A07                  MP077A0700          G04481      177254041000
MAIN PASS 077 #A08                  MP077A0800          G04481      177254038200
MAIN PASS 077 #A09                  MP077A0900          G04481      177254039000
MAIN PASS 091 #A001                 MP091A0100          G14576      177254060600
MAIN PASS 091 #A002                 MP091A0200          G14576      177254062200
MAIN PASS 091 #A003                 MP091A0300          G14576      177254065000
MAIN PASS 140 #A001                 MP140A0100          G02193      177254006400
MAIN PASS 140 #A002                 MP140A0200          G02193      177254007700
MAIN PASS 140 #A003                 MP140A0300          G02193      177254007800
MAIN PASS 140 #A004                 MP140A0400          G02193      177254008200
MAIN PASS 140 #A005 ST1             MP140A0501          G02193      177254008301
MAIN PASS 140 #A008 ST2             MP140A0802          G02193      177254009202
MAIN PASS 140 #A009                 MP140A0900          G02193      177254009400
MAIN PASS 140 #A010 ST2             MP140A1002          G02193      177254009502
MAIN PASS 140 #A011                 MP140A1100          G02193      177254010000
MAIN PASS 140 #A012 ST2             MP140A1202          G02193      177254010102
MAIN PASS 140 #A013 ST1             MP140A1301          G02193      177254010401
MAIN PASS 140 #A014                 MP140A1400          G02193      177254010500
MAIN PASS 140 #A015                 MP140A1500          G02193      177254010600
MAIN PASS 140 #A016 ST3             MP140A1603          G02193      177254008603
MAIN PASS 140 #A017                 MP140A1700          G02193      177254011000
MAIN PASS 140 #A018 ST3             MP140A1803          G02193      177254008803
MAIN PASS 140 #A020                 MP140A2000          G02193      177254065700
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 333
                                                                                      253 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 140 #A021                 MP140A2100          G02193      177254065500
MAIN PASS 140 #B001                 MP140B0100          G02193      177254006600
MAIN PASS 140 #B003 ST1             MP140B0301          G02193      177254008001
MAIN PASS 140 #B004 ST3             MP140B0403          G02193      177254008103
MAIN PASS 140 #B007 ST1             MP140B0701          G02193      177254009001
MAIN PASS 140 #B008 ST2             MP140B0802          G02193      177254009102
MAIN PASS 140 #B011 ST1             MP140B1101          G02193      177254009801
MAIN PASS 140 #B012 ST2             MP140B1202          G02193      177254008902
MAIN PASS 140 #B013                 MP140B1300          G02193      177254010200
MAIN PASS 140 #B014 ST              MP140B1401          G02193      177254010301
MAIN PASS 140 #B015 ST2             MP140B1502          G02193      177254010702
MAIN PASS 140 #B017                 MP140B1701          G02193      177254010901
MAIN PASS 140 #B018                 MP140B1800          G02193      177254062600
MAIN PASS 140 #B019                 MP140B1900          G02193      177254063000
MAIN PASS 140 #B020                 MP140B2000          G02193      177254063100
MAIN PASS 140 #B021 ST              MP140B2101          G02193      177254073301
MAIN PASS 140 #B022                 MP140B2200          G02193      177254077300
MAIN PASS 140 #B023                 MP140B2300          G02193      177254077500
MAIN PASS 152 #A015                 MP152A1500          G01966      177232005300
MAIN PASS 152 #A020B                MP152A20B0          G01966      177232006200
MAIN PASS 152 #B004A                MP152B04A0          G01966      177254000900
MAIN PASS 152 #B012                 MP152B1200          G01966      177254002700
MAIN PASS 152 #B015                 MP152B1500          G01966      177254002300
MAIN PASS 152 #B020 ST              MP152B2002          G01966      177254002802
MAIN PASS 152 #B022A                MP152B22A0          G01966      177254003500
MAIN PASS 152 #B030                 MP152B3000          G01966      177254004500
MAIN PASS 152 #B031A                MP152B31A0          G01966      177254004700
MAIN PASS 152 #C002                 MP152C0200          G01966      177254040800
MAIN PASS 152 #C005                 MP152C0500          G01966      177254042000
MAIN PASS 152 #C006                 MP152C0600          G01966      177254042100
MAIN PASS 152 #C008                 MP152C0800          G01966      177254042500
MAIN PASS 152 #C011                 MP152C1100          G01966      177254043200
MAIN PASS 152 #C031                 MP152C3100          G01966      177254048100
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 334
                                                                                      254 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 152 #C032                 MP152C3200          G01966      177254049000
MAIN PASS 153 #A017B                MP153A17B0          G01967      177232005400
MAIN PASS 153 #B001                 MP153B0100          G01967      177252010300
MAIN PASS 153 #B003A                MP153B03A0          G01967      177254000302
MAIN PASS 153 #B010 ST2             MP153B1002          G01967      177254001803
MAIN PASS 153 #B017                 MP153B1700          G01967      177254002500
MAIN PASS 153 #B018                 MP153B1800          G01967      177254002900
MAIN PASS 153 #B025                 MP153B2500          G01967      177254004000
MAIN PASS 153 #B027                 MP153B2700          G01967      177254004200
MAIN PASS 153 #C009                 MP153C0900          G01967      177254042701
MAIN PASS 153 #C012                 MP153C1200          G01967      177254043300
MAIN PASS 153 #C013 ST              MP153C1301          G01967      177254043501
MAIN PASS 153 #C014                 MP153C1400          G01967      177254043902
MAIN PASS 153 #C017                 MP153C1700          G01967      177254044200
MAIN PASS 153 #C018                 MP153C1800          G01967      177254044300
MAIN PASS 153 #C020                 MP153C2000          G01967      177254045400
MAIN PASS 153 #C021                 MP153C2100          G01967      177254045500
MAIN PASS 153 #C024                 MP153C2400          G01967      177254046100
MAIN PASS 153 #C026                 MP153C2600          G01967      177254046900
MAIN PASS 153 #C027                 MP153C2700          G01967      177254047400
MAIN PASS 153 #C028                 MP153C2800          G01967      177254048400
MAIN PASS 153 #C029                 MP153C2901          G01967      177254047501
MAIN PASS 153 #C030                 MP153C3002          G01967      177254047802
MAIN PASS 259 #001                  MP25900101          G07827      177244048801
MAIN PASS 259 #002                  MP25900200          G07827      177244050000
MAIN PASS 259 #003                  MP25900300          G07827      608164015800
MAIN PASS 259 #004                  MP25900400          G07827      177244050500
MAIN PASS 259 #005                  MP25900500          G07827      608164016400
MAIN PASS 259 #A001                 MP259A0100          G07827      177244069700
MAIN PASS 259 #A002                 MP259A0200          G07827      177244070200
MAIN PASS 259 #A003                 MP259A0300          G07827      177244070800
MAIN PASS 259 #A004                 MP259A0400          G07827      177244071000
MAIN PASS 259 #A005                 MP259A0500          G07827      177244071300
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 335
                                                                                      255 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 259 #A006                 MP259A0600          G07827      177244071600
MAIN PASS 259 #A007                 MP259A0700          G07827      177244071800
MAIN PASS 259 #A008 ST1             MP259A0801          G07827      177244072401
MAIN PASS 259 #A010 ST1             MP259A1001          G07827      177244074601
MAIN PASS 259 #A011 ST1             MP259A1101          G07827      177244074901
MAIN PASS 259 #A012 ST1             MP259A1201          G07828      177244076801
MAIN PASS 275 #A001 ST1             MP275A0101          G15395      177244085701
MAIN PASS 275 #A002 ST1             MP275A0201          G15395      177244086101
MAIN PASS 275 #A003                 MP275A0300          G15395      177244093300
MAIN PASS 289 #013                  MP28901300          G01666      177244004700
MAIN PASS 289 #B001                 MP289B0100          G01666      177240007800
MAIN PASS 289 #B005                 MP289B0501          G01666      177240011701
MAIN PASS 289 #B014A                MP289B1400          G01666      177242000100
MAIN PASS 289 #B015                 MP289B1500          G01666      177240014800
MAIN PASS 289 #B016 WIW             MP289B1600          G01666      177242003100
MAIN PASS 289 #B018 WIW             MP289B1800          G01666      177242003200
MAIN PASS 289 #C001                 MP289C0100          G01666      177244048100
MAIN PASS 289 #C002                 MP289C0200          G01666      177244047600
MAIN PASS 289 #C003A                MP289C0300          G01666      177244047800
MAIN PASS 289 #C004A                MP289C0402          G01666      177244047902
MAIN PASS 289 #C005                 MP289C0500          G01666      177244048000
MAIN PASS 289 #C007                 MP289C0700          G01666      177244048400
MAIN PASS 289 #C008                 MP289C0800          G01666      177244048500
MAIN PASS 289 #C009                 MP289C0901          G01666      177244048301
MAIN PASS 289 #C010                 MP289C1000          G01666      177244048200
MAIN PASS 289 #C011                 MP289C1100          G01666      177244048700
MAIN PASS 289 #C012                 MP289C1203          G01666      177244049203
MAIN PASS 289 #C013 WSW             MP289C1300          G01666      177244052400
MAIN PASS 289 #C014                 MP289C1400          G01666      177244049900
MAIN PASS 289 #C015                 MP289C1500          G01666      177244048900
MAIN PASS 289 #C017                 MP289C1700          G01666      177244053900
MAIN PASS 289 #C019                 MP289C1900          G01666      177244049400
MAIN PASS 289 #C020                 MP289C2000          G01666      177244050100
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 336
                                                                                      256 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 289 #C021                 MP289C2100          G01666      177244049100
MAIN PASS 289 #C022 WIW             MP289C2200          G01666      177244049300
MAIN PASS 289 #C023                 MP289C2301          G01666      177244053801
MAIN PASS 289 #C024                 MP289C2401          G01666      177244051901
MAIN PASS 289 #C025 WIW             MP289C2500          G01666      177244051400
MAIN PASS 289 #C026                 MP289C2600          G01666      177244052700
MAIN PASS 289 #C027                 MP289C2700          G01666      177244053100
MAIN PASS 289 #C028                 MP289C2801          G01666      177244051501
MAIN PASS 289 #C029D                MP289C29D1          G01666      177244051801
MAIN PASS 289 #C030                 MP289C3000          G01666      177244053300
MAIN PASS 289 #C031                 MP289C3100          G01666      177244090200
MAIN PASS 289 #C032                 MP289C3200          G01666      177244090300
MAIN PASS 290 #C006                 MP290C0600          G01667      177244050400
MAIN PASS 290 #C016                 MP290C1600          G01667      177244051000
MAIN PASS 290 #C018 ST2             MP290C1802          G01667      177244051302
MAIN PASS 295 #001                  MP29500100          G32263      177244097001
MAIN PASS 295 #003                  MP29500300          G32263      177244097500
MAIN PASS 296 #B001                 MP296B0100          G01673      177244022300
MAIN PASS 296 #B003                 MP296B0300          G01673      177244022700
MAIN PASS 296 #B004                 MP296B0400          G01673      177244022900
MAIN PASS 296 #B008                 MP296B0800          G01673      177244023600
MAIN PASS 296 #B013 ST              MP296B1301          G01673      177244024501
MAIN PASS 296 #B014 ST1             MP296B1401          G01673      177244024401
MAIN PASS 296 #B018                 MP296B1800          G01673      177244025300
MAIN PASS 296 #B019 ST2             MP296B1902          G01673      177244027302
MAIN PASS 296 #C001                 MP296C0100          G01673      177244016100
MAIN PASS 296 #C002                 MP296C0200          G01673      177244021100
MAIN PASS 296 #C004 ST3             MP296C0403          G01673      177244021403
MAIN PASS 296 #C005                 MP296C0500          G01673      177244021700
MAIN PASS 296 #C006                 MP296C0603          G01673      177244021503
MAIN PASS 296 #C007A                MP296C07A0          G01673      177244021600
MAIN PASS 296 #C013                 MP296C1301          G01673      177244022401
MAIN PASS 296 #C014                 MP296C1402          G01673      177244030702
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 337
                                                                                    257 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
MAIN PASS 296 #C015               MP296C1500          G01673      177244031300
MAIN PASS 296 #C018 ST            MP296C1801          G01673      177244089101
MAIN PASS 296 #C019               MP296C1900          G01673      177244089400
MAIN PASS 300 #B002               MP300B0200          G01317      177244067200
MAIN PASS 301 #A002               MP301A0200          G04486      177244034600
MAIN PASS 301 #A003               MP301A0300          G04486      177244035101
MAIN PASS 301 #A004               MP301A0400          G04486      177244039501
MAIN PASS 301 #B001               MP301B0100          G04486      177244063000
MAIN PASS 302 #B004               MP302B0400          G32264      177244018801
MAIN PASS 302 #B019               MP302B1900          G32264      177244097401
MAIN PASS 303 #A005D (MP310)      MP303A05D1          G04253      177244030600
MAIN PASS 303 #A017               MP303A1700          G04253      177244094700
MAIN PASS 303 #B005               MP303B0500          G04253      177244023000
MAIN PASS 303 #B007               MP303B0700          G04253      177244023400
MAIN PASS 303 #B009               MP303B0900          G04253      177244023800
MAIN PASS 303 #B015               MP303B1500          G04253      177244024800
MAIN PASS 304 #A007               MP304A0700          G03339      177244030800
MAIN PASS 304 #A009               MP304A0900          G03339      177244030500
MAIN PASS 304 #B012               MP304B1200          G03339      177244024300
MAIN PASS 308 #A001               MP308A0100          G32265      177244095600
MAIN PASS 308 #A002               MP308A0200          G32265      177244095700
MAIN PASS 308 #A003               MP308A0300          G32265      177244096500
MAIN PASS 308 #A004 ST            MP308A0401          G32265      177244096201
MAIN PASS 308 #A006               MP308A0600          G32265      177244095900
MAIN PASS 308 #A007               MP308A0700          G32265      177244096700
MAIN PASS 308 #A008               MP308A0801          G32265      177244096601
MAIN PASS 309 #A005               MP309A0500          G08760      177244096301
MAIN PASS 309 #A009               MP309A0900          G08760      177244096900
MAIN PASS 309 #JA001              MP309JA010          G08760      177244063500
MAIN PASS 309 #JA002              MP309JA200          G08760      177244064600
MAIN PASS 309 #JA006              MP309JA600          G08760      177244065100
MAIN PASS 309 #JA007              MP309JA700          G08760      177244065000
MAIN PASS 309 #JA008              MP309JA800          G08760      177244065200
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 338
                                                                                      258 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
MAIN PASS 309 #JA010                MP309JA100          G08760      177244072700
MAIN PASS 309 #JA05A                MP309JA5A0          G08760      177244064800
MAIN PASS 310 #A001                 MP310A0100          G04126      177244028700
MAIN PASS 310 #A002 ST2             MP310A0202          G04126      177244029502
MAIN PASS 310 #A003                 MP310A0301          G04126      177244029401
MAIN PASS 310 #A004                 MP310A0400          G04126      177244030000
MAIN PASS 310 #A006                 MP310A0603          G04126      177244030103
MAIN PASS 310 #A008A                MP310A0800          G04126      177244029700
MAIN PASS 310 #A010                 MP310A1000          G04126      177244029800
MAIN PASS 310 #A011 ST              MP310A1102          G04126      177244041702
MAIN PASS 310 #A012                 MP310A1200          G04126      177244041900
MAIN PASS 310 #A013                 MP310A1300          G04126      177244042400
MAIN PASS 310 #A014                 MP310A1401          G04126      177244042601
MAIN PASS 310 #A015                 MP310A1500          G04126      177244042500
MAIN PASS 310 #A016 ST              MP310A1601          G04126      177244043301
MAIN PASS 310 #JA009                MP310JA902          G04126      177244065602
MAIN PASS 311 #A001                 MP311A0100          G02213      177244013600
MAIN PASS 311 #A002                 MP311A0200          G02213      177244013900
MAIN PASS 311 #A003                 MP311A0300          G02213      177244014100
MAIN PASS 311 #A005                 MP311A0500          G02213      177244014500
MAIN PASS 311 #A006                 MP311A0600          G02213      177244014800
MAIN PASS 311 #A007                 MP311A0700          G02213      177244014900
MAIN PASS 311 #A008                 MP311A0800          G02213      177244015200
MAIN PASS 311 #A009                 MP311A0900          G02213      177244015300
MAIN PASS 311 #A010                 MP311A1000          G02213      177244015500
MAIN PASS 311 #A011A                MP311A1100          G02213      177244016400
MAIN PASS 311 #A012                 MP311A1200          G02213      177244016300
MAIN PASS 311 #A013                 MP311A1301          G02213      177244017202
MAIN PASS 311 #A014                 MP311A1400          G02213      177244017800
MAIN PASS 311 #A015                 MP311A1500          G02213      177244017600
MAIN PASS 311 #A016                 MP311A1600          G02213      177244018000
MAIN PASS 311 #A017                 MP311A1700          G02213      177244017900
MAIN PASS 311 #A020 ST              MP311A2001          G02213      177244089301
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 339
                                                                                    259 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
MAIN PASS 311 #A024               MP311A2400          G02213      177244096400
MAIN PASS 311 #B001               MP311B0100          G02213      177244015900
MAIN PASS 311 #B002D              MP311B02D0          G02213      177244018300
MAIN PASS 311 #B006               MP311B0600          G02213      177244019200
MAIN PASS 311 #B007               MP311B0700          G02213      177244019300
MAIN PASS 311 #B008               MP311B0801          G02213      177244019001
MAIN PASS 311 #B009               MP311B0900          G02213      177244019400
MAIN PASS 311 #B010               MP311B1000          G02213      177244019500
MAIN PASS 311 #B012               MP311B1200          G02213      177244020001
MAIN PASS 311 #B013D              MP311B13D0          G02213      177244035600
MAIN PASS 311 #B014               MP311B1401          G02213      177244036201
MAIN PASS 311 #B015               MP311B1500          G02213      177244036700
MAIN PASS 311 #B017               MP311B1700          G02213      177244036400
MAIN PASS 311 #B018 ST            MP311B1801          G02213      177244089201
MAIN PASS 312 #A021               MP312A2100          G16520      177244093200
MAIN PASS 312 #A022               MP312A2200          G16520      177244093400
MAIN PASS 314 #A023 (MP311A)      MP314A2300          G33693      177244096100
MAIN PASS 315 #JA003 ST           MP315JA302          G08467      177244064502
MAIN PASS 315 #JA004              MP315JA400          G08467      177244064700
MAIN PASS 315 #SS002              MP31500200          G08467      177244095500
MATAGORDA IS 519 #L001            MI519L1SL0        MF-79413      427033030000
MATAGORDA IS 519 #L002            MI519L2SL0        MF-79413      427033034000
MATAGORDA IS 519 #L003            MI519L3SL0        MF-79413      427033039500
MATAGORDA IS 519 #L004            MI519L4SL0        MF-79413      427033039700
MATAGORDA IS 622 #C001            MI622C01           G05000       427034013800
MATAGORDA IS 622 #C002 ST1        MI622C0201         G05000       427034018901
MATAGORDA IS 622 #C008            MI622C0800         G05000       427034052700
MATAGORDA IS 622 #D001            MI622D0100         G05000       427034048400
MATAGORDA IS 622 #D003            MI622D0300         G05000       427034053000
MATAGORDA IS 622 #D004            MI622D0400         G05000       427034054700
MATAGORDA IS 622 #G002            MI622G0200         G05000       427034053700
MATAGORDA IS 623 #B001            MI623B0100         G03088       427034010600
MATAGORDA IS 623 #B003 ST1        MI623B0301         G03088       427034014401
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 340
                                                                                    260 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
MATAGORDA IS 623 #B006            MI623B0600          G03088      427034018400
MATAGORDA IS 623 #B008            MI623B0800          G03088      427034051300
MATAGORDA IS 623 #C007            MI623C0700          G03088      427034052400
MATAGORDA IS 623 #F002            MI623F0200          G03088      427034051100
MATAGORDA IS 623 #F003            MI623F0300          G03088      427034053800
MATAGORDA IS 623 #H001 (#6)       MI623H0100          G03088      427034058100
MATAGORDA IS 623 #H002 (#7)       MI623H0200          G03088      427034058200
MATAGORDA IS 623(622) #C004       MI623C0400          G05000      427034021400
MATAGORDA IS 635 #F001            MI635F0100          G06043      427034048800
MISSISSIPPI CANYON 065 #B004      MC065B0400          G21742      608174106300
MISSISSIPPI CANYON 065 #B015      MC065B1500          G21742      608174111500
MISSISSIPPI CANYON 108 #A027      MC108A2703          G09777      608174045703
MISSISSIPPI CANYON 108 #A032      MC108A3203          G09777      608174088503
MISSISSIPPI CANYON 110 #001       MC1100100           G18192      608174060500
MISSISSIPPI CANYON 110 #A009      MC110A0900          G18192      608174042501
MISSISSIPPI CANYON 110 #A011ST    MC110A1101          G18192      608174042801
MISSISSIPPI CANYON 110 #A031      MC110A3100          G18192      608174087900
MISSISSIPPI CANYON 311 #A001ST    MC311A0102          G02968      608174006502
MISSISSIPPI CANYON 311 #A005      MC311A0500          G02968      608174011700
MISSISSIPPI CANYON 311 #A006ST    MC311A0601          G02968      608174010901
MISSISSIPPI CANYON 311 #A011ST    MC311A1101          G02968      608174014201
MISSISSIPPI CANYON 311 #A012      MC311A1200          G02968      608174015000
MISSISSIPPI CANYON 311 #A013      MC311A1300          G02968      608174015600
MISSISSIPPI CANYON 311 #A014      MC311A1400          G02968      608174016200
MISSISSIPPI CANYON 311 #A015ST    MC311A1501          G02968      608174017801
MISSISSIPPI CANYON 311 #A016      MC311A1600          G02968      608174016300
MISSISSIPPI CANYON 311 #A020ST    MC311A2001          G02968      608174033901
MISSISSIPPI CANYON 311 #A022ST    MC311A2201          G02968      608174034801
MISSISSIPPI CANYON 311 #A024ST    MC311A2401          G02968      608174035301
MOBILE 826 #001                   MO826D0100          G26176      608154014900
NORTH PADRE IS 969 #A001          PN969A0100          G05953      427134003400
NORTH PADRE IS 969 #A004          PN969A0400          G05953      427134005600
NORTH PADRE IS 969 #A006          PN969A0600          G05953      427134005700
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 341
                                                                                     261 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
NORTH PADRE IS 969 #A007           PN969A0700          G05953      427134005800
NORTH PADRE IS 969 #JA002          PN969JA020          G05953      427014003000
NORTH PADRE IS 976 #A002           PN976A0200          G05954      427134005000
NORTH PADRE IS 976 #A003           PN976A03            G05954      427134005101
NORTH PADRE IS 976 #A005           PN976A0500          G05954      427134005500
NORTH PADRE IS 976 #A008           PN976A0800          G05954      427134005900
NORTH PADRE IS 976 #A009           PN976A0900          G05954      427134006000
SHIP SHOAL 030 #011                SS03001100           00333      177114093000
SHIP SHOAL 030 #013                SS03001300           00333      177114109400
SHIP SHOAL 030 #014D               SS030014D0           00333      177114111900
SHIP SHOAL 030 #A001               SS030A0100           00333      177114113000
SHIP SHOAL 032 #024                SS03202401           00335      177114131701
SHIP SHOAL 033 #005                SS03300500           00336      177114030900
SHIP SHOAL 068 #002 ST1            SS06800201          G02917      177114096701
SHIP SHOAL 068 #003                SS06800301          G02925      177114101301
SHIP SHOAL 068 #004                SS06800402          G02917      177114101802
SHIP SHOAL 068 #005 ST1            SS06800501          G02917      177114101401
SHIP SHOAL 068 #009                SS06800900          G02917      177114126000
SHIP SHOAL 068 #010                SS06801000          G02917      177114135200
SHIP SHOAL 068 #G001 (ORR)         SS068G0100          G02917      177114119400
SHIP SHOAL 068 #G002               SS068G0200          G02917      177114121200
SHIP SHOAL 091 #A001               SS091A0100          G02919      177114044300
SHIP SHOAL 091 #A003               SS091A0300          G02919      177114056800
SHIP SHOAL 091 #A004 ST1           SS091A0401          G02919      177114062501
SHIP SHOAL 091 #A005 ST1           SS091A0501          G02919      177114058201
SHIP SHOAL 091 #A006 ST2           SS091A0602          G02919      177114059202
SHIP SHOAL 091 #B001 ST1           SS091B0101          G02919      177114066401
SHIP SHOAL 091 #B002 ST1           SS091B0201          G02919      177114065701
SHIP SHOAL 091 #B003               SS091B0300          G02919      177114068400
SHIP SHOAL 091 #B004 ST1           SS091B0401          G02919      177114072101
SHIP SHOAL 091 #B005               SS091B0500          G02919      177114110800
SHIP SHOAL 105 #007                SS10500700          G09614      177114130800
SHIP SHOAL 105 #A001 ST1           SS105A0101          G09614      177114124501
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 342
                                                                                     262 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SHIP SHOAL 105 #B004               SS105B0400          G09614      177114122400
SHIP SHOAL 105 #B006               SS105B0600          G09614      177114130201
SHIP SHOAL 126 #B001               SS126B0100          G12940      177114121000
SHIP SHOAL 126 #B002               SS126B0200          G12940      177114134203
SHIP SHOAL 126 #B003 ST1           SS126B0301          G12940      177114135401
SHIP SHOAL 129 #A002 ST1           SS129A0201          G12941      177114117201
SHIP SHOAL 129 #A003               SS129A0300          G12941      177114120100
SHIP SHOAL 129 #B001 ST1           SS129B0101          G12941      177114135301
SHIP SHOAL 129 #B002 ST1           SS129B0201          G12941      177114145501
SHIP SHOAL 129 #L001               SS129L0100          G12941      177114150000
SHIP SHOAL 129 #L002               SS129L0200          G12941      177114150300
SHIP SHOAL 145 #E001               SS145E01            G34831      177114140501
SHIP SHOAL 151 #A001 (ORRI)        SS151A0100          G15282      177114125702
SHIP SHOAL 151 #A002 (ORRI)        SS151A0200          G15282      177114154300
SHIP SHOAL 159 #001                SS15900100          G11984      177114143701
SHIP SHOAL 169 #BB001              SS169BB010           00820      177114048100
SHIP SHOAL 169 #BB002              SS169BB020           00820      177114055501
SHIP SHOAL 169 #BB003              SS169BB030           00820      177114057800
SHIP SHOAL 169 #BB004              SS169BB040           00820      177114056500
SHIP SHOAL 169 #BB005              SS169BB050           00820      177114059600
SHIP SHOAL 169 #BB006              SS169BB060           00820      177114060101
SHIP SHOAL 169 #C001               SS169C0100           00820      177114075600
SHIP SHOAL 169 #C003               SS169C0300           00820      177114078500
SHIP SHOAL 169 #C004               SS169C0400           00820      177114077400
SHIP SHOAL 169 #C006               SS169C0600           00820      177114080201
SHIP SHOAL 169 #C007               SS169C0700           00820      177114080601
SHIP SHOAL 169 #C008               SS169C0800           00820      177114081300
SHIP SHOAL 169 #C009               SS169C0900           00820      177114144400
SHIP SHOAL 169 #C010               SS169C1000           00820      177114144800
SHIP SHOAL 169 #G001               SS169G0100           00820      177114127400
SHIP SHOAL 169 #G002               SS169G0200           00820      177114128500
SHIP SHOAL 169 #G003               SS169G0300           00820      177114156600
SHIP SHOAL 175 #A004               SS175A0400          G05550      177094078900
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 343
                                                                                     263 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SHIP SHOAL 176 #001                SS17600100          G33646      177114155400
SHIP SHOAL 178 #A001               SS178A0100          G05551      177114076800
SHIP SHOAL 178 #A002A              SS178A0200          G05551      177114080800
SHIP SHOAL 178 #A003               SS178A0302          G05551      177114081902
SHIP SHOAL 178 #A004               SS178A0400          G05551      177114082900
SHIP SHOAL 178 #A005               SS178A0500          G05551      177114082300
SHIP SHOAL 178 #A006               SS178A0600          G05551      177114113900
SHIP SHOAL 182 #A001               SS182A0100          G03998      177114059400
SHIP SHOAL 182 #A002 ST1           SS182A0201          G03998      177114060601
SHIP SHOAL 182 #A003               SS182A0300          G03998      177114063100
SHIP SHOAL 182 #A004               SS182A0400          G03998      177114065500
SHIP SHOAL 182 #B001               SS182B0101          G03998      177114066001
SHIP SHOAL 182 #B002               SS182B0201          G03998      177114074501
SHIP SHOAL 182 #B003 ST2           SS182B0402          G03998      177114090502
SHIP SHOAL 182 #B004               SS182B0400          G03998      177114090800
SHIP SHOAL 182 #B005               SS182B0500          G03998      177114113600
SHIP SHOAL 182 #B006               SS182B0600          G03998      177114130500
SHIP SHOAL 182 #C001D ST1          SS182C01D0          G03998      177114087501
SHIP SHOAL 182 #C002               SS182C0200          G03998      177114088500
SHIP SHOAL 182 #C003               SS182C0300          G03998      177114087800
SHIP SHOAL 182 #C004               SS182C0400          G03998      177114132000
SHIP SHOAL 189 #A001A              SS189A01A0          G04232      177114062000
SHIP SHOAL 189 #A002               SS189A0201          G04232      177114085301
SHIP SHOAL 189 #A003A              SS189A03A0          G04232      177114085200
SHIP SHOAL 189 #A005               SS189A0500          G04232      177114088400
SHIP SHOAL 189 #A007 ST2           SS189A0702          G04232      177114129502
SHIP SHOAL 189 #A008               SS189A0800          G04232      177114130900
SHIP SHOAL 189 #A009 ST1           SS189A0901          G04232      177114139801
SHIP SHOAL 189 #A010BP1            SS189A1001          G04232      177114154701
SHIP SHOAL 189 #A4 (SS210)         SS189A04            G05204      177114086801
SHIP SHOAL 189 #A6 (SS188)         SS189A06            G05203      177114088900
SHIP SHOAL 189 #B001 (ORRI)        SS189B0100          G04232      177114151001
SHIP SHOAL 189 #B002 (ORRI)        SS189B0200          G04232      177114152300
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 344
                                                                                       264 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SHIP SHOAL 189 #C001                 SS189C0101          G04232      177114153901
SHIP SHOAL 189 #D001                 SS189D0100          G04232      177114154402
SHIP SHOAL 190 #B001 ST2             SS190B0103          G10775      177114114803
SHIP SHOAL 190 #B002                 SS190B0200          G10775      177114134700
SHIP SHOAL 193 #A001 ST1             SS193A0101          G13917      177114112301
SHIP SHOAL 193 #A002 ST1             SS193A0201          G13917      177114112601
SHIP SHOAL 193 #A003                 SS193A0300          G13917      177114115300
SHIP SHOAL 193 #A004 ST1             SS193A0401          G13917      177114116001
SHIP SHOAL 193 #A005 ST1             SS193A0501          G13917      177114117301
SHIP SHOAL 193 #A006 ST5             SS193A0605          G13917      177114123005
SHIP SHOAL 193 #A007 ST1             SS193A0701          G13917      177114139501
SHIP SHOAL 193 #M001                 SS193M0100          G13917      177114148500
SHIP SHOAL 194 #A001                 SS194A0100          G15288      177114121300
SHIP SHOAL 194 #A002 ST1             SS194A0201          G15288      177114121701
SHIP SHOAL 198 #J011                 SS198J1100           00593      177114147800
SHIP SHOAL 204 #A008                 SS204A0800          G01520      177110083000
SHIP SHOAL 204 #A015 ST1             SS204A1501          G01520      177112003401
SHIP SHOAL 204 #A016                 SS204A1601          G01520      177112005401
SHIP SHOAL 204 #A020                 SS204A2000          G01520      177112012600
SHIP SHOAL 204 #A024 ST1             SS204A2401          G01520      177112017701
SHIP SHOAL 204 #A028 ST3             SS204A2803          G01520      177110071003
SHIP SHOAL 204 #A030A                SS204A30A1          G01520      177114002801
SHIP SHOAL 204 #A031                 SS204A3101          G01520      177110084201
SHIP SHOAL 204 #A034                 SS204A3400          G01520      177114146700
SHIP SHOAL 204 #A035                 SS204A3502          G01520      177114147402
SHIP SHOAL 204 #A036 ST1             SS204A3603          G01520      177114146803
SHIP SHOAL 206 #E002                 SS206E0201          G01522      177114118101
SHIP SHOAL 206 #E003                 SS206E0301          G01522      177114118201
SHIP SHOAL 206 #E004                 SS206E0400          G01522      177114141800
SHIP SHOAL 206 #E005                 SS206E0500          G01522      177114142000
SHIP SHOAL 207 #A003 ST1             SS207A0301          G01523      177110072801
SHIP SHOAL 207 #A004B                SS207A04B0          G01523      177110075500
SHIP SHOAL 207 #A006D                SS207A06D0          G01523      177110078200
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 345
                                                                                       265 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SHIP SHOAL 207 #A008B                SS207A08B0          G01523      177110080700
SHIP SHOAL 207 #A009                 SS207A0900          G01523      177110082400
SHIP SHOAL 207 #A010D                SS207A10D0          G01523      177110083900
SHIP SHOAL 207 #A013                 SS207A1300          G01523      177112002500
SHIP SHOAL 207 #A015 ST1             SS207A1501          G01523      177112010601
SHIP SHOAL 207 #A016 ST1             SS207A1601          G01523      177112011401
SHIP SHOAL 207 #A018                 SS207A1800          G01523      177112005000
SHIP SHOAL 207 #A019ST               SS207A1901          G01523      177114009401
SHIP SHOAL 207 #A020                 SS207A2000          G01523      177114010300
SHIP SHOAL 207 #A022 ST1             SS207A2201          G01523      177114011301
SHIP SHOAL 207 #A023B                SS207A23B0          G01523      177114013500
SHIP SHOAL 207 #A024                 SS207A2400          G01523      177114014300
SHIP SHOAL 207 #A025                 SS207A2500          G01523      177114015500
SHIP SHOAL 207 #A026                 SS207A2601          G01523      177112001101
SHIP SHOAL 207 #A027                 SS207A2701          G01523      177110079401
SHIP SHOAL 207 #A028                 SS207A2801          G01523      177110077301
SHIP SHOAL 207 #A029 ST              SS207A2901          G01523      177112001901
SHIP SHOAL 207 #A030                 SS207A3001          G01523      177110071501
SHIP SHOAL 207 #A031 ST2             SS207A3102          G01523      177114117702
SHIP SHOAL 207 #A032                 SS207A3201          G01523      177114119701
SHIP SHOAL 207 #A033 ST1             SS207A3301          G01523      177114121901
SHIP SHOAL 207 #A034                 SS207A3400          G01523      177114122200
SHIP SHOAL 207 #A035 ST1             SS207A3501          G01523      177114133301
SHIP SHOAL 207 #A036                 SS207A3600          G01523      177114137700
SHIP SHOAL 207 #D002                 SS207D0200          G01523      177114025400
SHIP SHOAL 207 #D007                 SS207D0700          G01523      177114030300
SHIP SHOAL 207 #D008                 SS207D0800          G01523      177114032300
SHIP SHOAL 207 #D009                 SS207D0900          G01523      177114116400
SHIP SHOAL 207 #D010 ST1             SS207D1001          G01523      177114116501
SHIP SHOAL 216 #C004 ST1             SS216C0401          G01524      177112014901
SHIP SHOAL 216 #C005A                SS216C05A0          G01524      177112017400
SHIP SHOAL 216 #C007 ST1             SS216C0701          G01524      177114001201
SHIP SHOAL 216 #C009 ST1             SS216C0901          G01524      177114003801
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 346
                                                                                     266 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SHIP SHOAL 216 #C010               SS216C1000          G01524      177114004900
SHIP SHOAL 216 #C012C              SS216C12C0          G01524      177114006700
SHIP SHOAL 216 #C013               SS216C1300          G01524      177114007700
SHIP SHOAL 216 #C015               SS216C1500          G01524      177114009000
SHIP SHOAL 216 #C016               SS216C1601          G01524      177114000101
SHIP SHOAL 216 #C017A              SS216C17A1          G01524      177114003001
SHIP SHOAL 216 #C019               SS216C1900          G01524      177114031900
SHIP SHOAL 216 #C023               SS216C2300          G01524      177114134600
SHIP SHOAL 216 #C024 ST2           SS216C2402          G01524      177114135102
SHIP SHOAL 243 #A001 (ORRI)        SS243A0100          G10780      177124051700
SHIP SHOAL 243 #A004 (ORRI)        SS243A0400          G10780      177124059402
SHIP SHOAL 243 #A006 (ORRI)        SS243A0600          G10780      177124064901
SHIP SHOAL 249 #D017               SS249D1700          G01030      177124020800
SHIP SHOAL 259 #001                SS25900100          G05044      177124028500
SHIP SHOAL 259 #JA001 ST2          SS259JA102          G05044      177124035002
SHIP SHOAL 259 #JA002              SS259JA201          G05044      177124035301
SHIP SHOAL 259 #JA003 ST2          SS259JA302          G05044      177124035402
SHIP SHOAL 259 #JA004              SS259JA400          G05044      177124035600
SHIP SHOAL 259 #JA005 ST1          SS259JA501          G05044      177124035801
SHIP SHOAL 259 #JA006              SS259JA600          G05044      177124035900
SHIP SHOAL 259 #JA007              SS259JA700          G05044      177124064200
SHIP SHOAL 259 #JA008 ST2          SS259JA802          G05044      177124064402
SHIP SHOAL 259 #JA009              SS259JA900          G05044      177124064500
SHIP SHOAL 259 #JA010 ST1          SS259JA101          G05044      177124065501
SHIP SHOAL 274 #A001               SS274A0100          G01039      177120001500
SHIP SHOAL 274 #A002               SS274A0200          G01039      177120001600
SHIP SHOAL 274 #A003               SS274A0300          G01039      177120001700
SHIP SHOAL 274 #A004               SS274A0400          G01039      177120001800
SHIP SHOAL 274 #A006               SS274A0601          G01039      177120002001
SHIP SHOAL 274 #A008               SS274A0800          G01039      177120002200
SHIP SHOAL 274 #A010               SS274A1001          G01039      177120002401
SHIP SHOAL 274 #A012               SS274A1201          G01039      177120002601
SHIP SHOAL 274 #A013               SS274A1300          G01039      177120002700
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 347
                                                                                     267 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SHIP SHOAL 274 #A014               SS274A1403          G01039      177120001903
SHIP SHOAL 274 #A016               SS274A1602          G01039      177120010202
SHIP SHOAL 274 #C001               SS274C0100          G01039      177124038900
SHIP SHOAL 274 #C002               SS274C0200          G01039      177124038800
SHIP SHOAL 274 #C003               SS274C0300          G01039      177124039000
SHIP SHOAL 274 #C004               SS274C0400          G01039      177124039100
SHIP SHOAL 274 #C005 WIW           SS274C0500          G01039      177124039200
SHIP SHOAL 274 #C006 WSW           SS274C0600          G01039      177124039300
SHIP SHOAL 274 #C007               SS274C0700          G01039      177124039900
SHIP SHOAL 274 #C008               SS274C0800          G01039      177124040300
SHIP SHOAL 274 #C009               SS274C0900          G01039      177124040200
SHIP SHOAL 274 #C010 WIW           SS274C1000          G01039      177124040000
SHIP SHOAL 274 #C011               SS274C1100          G01039      177124040100
SHIP SHOAL 274 #C012               SS274C1200          G01039      177124040700
SHIP SHOAL 274 #C013               SS274C1300          G01039      177124040800
SHIP SHOAL 274 #C014               SS274C1400          G01039      177124040900
SHIP SHOAL 274 #C015               SS274C1500          G01039      177124041400
SHIP SHOAL 274 #C016               SS274C1600          G01039      177124041300
SHIP SHOAL 274 #C017               SS274C1701          G01039      177124041501
SHIP SHOAL 274 #C018               SS274C1800          G01039      177124041800
SHIP SHOAL 274 #C019 WSW           SS274C1900          G01039      177124042000
SHIP SHOAL 274 #C020               SS274C2000          G01039      177124041900
SHIP SHOAL 274 #C021               SS274C2100          G01039      177124042600
SHIP SHOAL 274 #C022               SS274C2201          G01039      177124056102
SHIP SHOAL 274 #C023               SS274C2300          G01039      177124059600
SHIP SHOAL 274 #C024               SS274C2400          G01039      177124060100
SHIP SHOAL 276 #A6                 ‐                   G10785      177124042500
SHIP SHOAL 276 #A7                 ‐                   G10785      177124043000
SHIP SHOAL 314 #A002               SS314A0200          G26074      177124047202
SHIP SHOAL 314 #A004 (ORRI)        SS314A0400          G26074      177124047502
SHIP SHOAL 354 #A001 ST2           SS354A0102          G15312      177124055202
SHIP SHOAL 354 #A002 ST2           SS354A0202          G15312      177124056002
SHIP SHOAL 354 #A003 ST1           SS354A0301          G15312      177124057901
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 348
                                                                                    268 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SHIP SHOAL 354 #A004 ST1          SS354A0401          G15312      177124057701
SHIP SHOAL 354 #A005              SS354A0500          G15312      177124065600
SHIP SHOAL 354 #A006              SS354A0600          G15312      177124066000
SHIP SHOAL 354 #A007 ST1          SS354A0701          G15312      177124066101
SHIP SHOAL 354 #A008              SS354A0800          G15312      177124066200
SHIP SHOAL206#E001(SS207E1        SS207E0100          G01523      177114115500
SOUTH MARSH IS 010 #004           SM01000400          G01181      177074089700
SOUTH MARSH IS 010 #A002          SM010A0200          G01181      177070050200
SOUTH MARSH IS 010 #A003          SM010A0300          G01181      177074043200
SOUTH MARSH IS 010 #A004          SM010A0400          G01181      177070050600
SOUTH MARSH IS 010 #A007          SM010A0700          G01181      177070051300
SOUTH MARSH IS 010 #A008          SM010A0800          G01181      177070052100
SOUTH MARSH IS 010 #A009E         SM010A09E0          G01181      177072000000
SOUTH MARSH IS 010 #A011          SM010A1100          G01181      177072000500
SOUTH MARSH IS 010 #A012          SM010A1200          G01181      177072001100
SOUTH MARSH IS 010 #A013 ST1      SM010A1301          G01181      177072000401
SOUTH MARSH IS 010 #A017          SM010A1700          G01181      177074032300
SOUTH MARSH IS 010 #A019          SM010A1901          G01181      177074046301
SOUTH MARSH IS 010 #A021          SM010A2100          G01181      177074075200
SOUTH MARSH IS 011 #034           SM01103400          G01182      177072004300
SOUTH MARSH IS 011 #058 BP2       SM01105802          G01182      177074090702
SOUTH MARSH IS 018 #A001 ST1      SM018A0101          G08680      177074057701
SOUTH MARSH IS 018 #A002          SM018A0200          G08680      177074064900
SOUTH MARSH IS 018 #A003          SM018A0300          G08680      177074070300
SOUTH MARSH IS 048 #E002          SM048E0201           00786      177072002801
SOUTH MARSH IS 048 #E003 ST1BP    SM048E0302           00786      177072003302
SOUTH MARSH IS 048 #E004          SM048E0401           00786      177072004001
SOUTH MARSH IS 048 #E005          SM048E005            00786      177072004800
SOUTH MARSH IS 048 #E007          SM048E07             00786      177074092300
SOUTH MARSH IS 066 #C001          SM066C0100          G01198      177070041200
SOUTH MARSH IS 066 #C002          SM066C0200          G01198      177070049000
SOUTH MARSH IS 066 #C003          SM066C0300          G01198      177074005800
SOUTH MARSH IS 066 #C004          SM066C0400          G01198      177070050000
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 349
                                                                                    269 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 066 #C005          SM066C0500          G01198      177070050700
SOUTH MARSH IS 066 #C006          SM066C0600          G01198      177072018700
SOUTH MARSH IS 066 #C007          SM066C0700          G01198      177070052800
SOUTH MARSH IS 066 #C009B         SM066C09B0          G01198      177072001200
SOUTH MARSH IS 066 #C010 ST2      SM066C1002          G01198      177072002502
SOUTH MARSH IS 066 #C011          SM066C1100          G01198      177074072900
SOUTH MARSH IS 066 #C012          SM066C1200          G01198      177074073500
SOUTH MARSH IS 066 #D001          SM066D0100          G01198      177074025400
SOUTH MARSH IS 066 #D003          SM066D0300          G01198      177074029000
SOUTH MARSH IS 066 #D004          SM066D0400          G01198      177074032000
SOUTH MARSH IS 066 #D005          SM066D0500          G01198      177074032600
SOUTH MARSH IS 066 #D006 ST       SM066D0601          G01198      177074031201
SOUTH MARSH IS 066 #D007 ST1BP    SM066D0701          G01198      177074027401
SOUTH MARSH IS 076 #F001 BP2      SM076F0102          G01208      177084095402
SOUTH MARSH IS 076 #F002          SM076F0200          G01208      177084095500
SOUTH MARSH IS 105 #A001          SM105A0100          G17938      177084089700
SOUTH MARSH IS 105 #A002 ST1      SM105A0201          G17938      177084089901
SOUTH MARSH IS 106 #A001N         SM106A01N0          G03776      177084038200
SOUTH MARSH IS 106 #A002 ST       SM106A02N1          G03776      177084038701
SOUTH MARSH IS 106 #A003N         SM106A03N0          G03776      177084039100
SOUTH MARSH IS 106 #A004          SM106A04N0          G03776      177084040600
SOUTH MARSH IS 106 #A005 ST2      SM106A05N2          G03776      177084047202
SOUTH MARSH IS 106 #A006 ST1      SM106A06N1          G03776      177084048401
SOUTH MARSH IS 106 #A007          SM106A07N0          G03776      177084048600
SOUTH MARSH IS 106 #A008          SM106A08N0          G03776      177084049100
SOUTH MARSH IS 106 #A009 ST1      SM106A09N1          G03776      177084049801
SOUTH MARSH IS 106 #A010          SM106A10N0          G03776      177084051300
SOUTH MARSH IS 106 #A011 ST2      SM106A11N2          G03776      177084052302
SOUTH MARSH IS 106 #A013          SM106A13N0          G03776      177084081200
SOUTH MARSH IS 106 #A014          SM106A14N0          G03776      177084082000
SOUTH MARSH IS 106 #A015          SM106A15N0          G03776      177084082600
SOUTH MARSH IS 106 #A016          SM106A16N0          G03776      177084082700
SOUTH MARSH IS 106 #A017          SM106A17N0          G03776      177084082800
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 350
                                                                                    270 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 106 #A020          SM106A20S0          G02279      177084082200
SOUTH MARSH IS 106#A012ST2        SM106A12S2          G02279      177084053602
SOUTH MARSH IS 108 #A018          SM108A1800           00792      177084094500
SOUTH MARSH IS 127 #B011          SM127B1100          G02883      177084015800
SOUTH MARSH IS 127 #B017          SM127B17S1          G02883      177084025801
SOUTH MARSH IS 127 #B022 ST1      SM127B2201          G02883      177084078501
SOUTH MARSH IS 128 #A002          SM128A0200          G02587      177084014300
SOUTH MARSH IS 128 #A003          SM128A0300          G02587      177084013400
SOUTH MARSH IS 128 #A004C ST1     SM128A04C1          G02587      177084014601
SOUTH MARSH IS 128 #A005          SM128A0500          G02587      177084015000
SOUTH MARSH IS 128 #A006 ST1      SM128A0601          G02587      177084016101
SOUTH MARSH IS 128 #A007          SM128A0700          G02587      177084015500
SOUTH MARSH IS 128 #A009          SM128A0900          G02587      177084019100
SOUTH MARSH IS 128 #A010          SM128A1002          G02587      177084019302
SOUTH MARSH IS 128 #A011 ST3      SM128A1103          G02587      177084017103
SOUTH MARSH IS 128 #A012          SM128A1200          G02587      177084023600
SOUTH MARSH IS 128 #A013 ST2      SM128A1302          G02587      177084024002
SOUTH MARSH IS 128 #A014          SM128A1400          G02587      177084026100
SOUTH MARSH IS 128 #A015 ST2      SM128A1502          G02587      177084012902
SOUTH MARSH IS 128 #A016 ST1      SM128A1601          G02587      177084033301
SOUTH MARSH IS 128 #A017 ST1      SM128A1702          G02587      177084028202
SOUTH MARSH IS 128 #A018          SM128A1800          G02587      177084030300
SOUTH MARSH IS 128 #A019          SM128A1900          G02587      177084035100
SOUTH MARSH IS 128 #A021          SM128A2100          G02587      177084035200
SOUTH MARSH IS 128 #A022 ST2      SM128A2202          G02587      177084034402
SOUTH MARSH IS 128 #A023 ST1      SM128A2301          G02587      177084037601
SOUTH MARSH IS 128 #A024          SM128A2400          G02587      177084039700
SOUTH MARSH IS 128 #A025          SM128A2500          G02587      177084040000
SOUTH MARSH IS 128 #A026          SM128A2600          G02587      177084039900
SOUTH MARSH IS 128 #B001A         SM128B01D0          G02587      177084011000
SOUTH MARSH IS 128 #B002 ST1      SM128B0201          G02587      177084014401
SOUTH MARSH IS 128 #B003 ST1      SM128B0301          G02587      177084011601
SOUTH MARSH IS 128 #B005D         SM128B05D0          G02587      177084012700
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 351
                                                                                    271 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #B006 ST2      SM128B0602          G02587      177084012202
SOUTH MARSH IS 128 #B007 ST2      SM128B0702          G02587      177084014502
SOUTH MARSH IS 128 #B008A         SM128B08A0          G02587      177084014700
SOUTH MARSH IS 128 #B009          SM128B0900          G02587      177084014900
SOUTH MARSH IS 128 #B010          SM128B1000          G02587      177084015600
SOUTH MARSH IS 128 #B012 ST1      SM128B1201          G02587      177084016401
SOUTH MARSH IS 128 #B013          SM128B1300          G02587      177084023500
SOUTH MARSH IS 128 #B015          SM128B1500          G02587      177084024700
SOUTH MARSH IS 128 #B016          SM128B1600          G02587      177084025300
SOUTH MARSH IS 128 #B018          SM128B1800          G02587      177084029200
SOUTH MARSH IS 128 #B019          SM128B1900          G02587      177084030600
SOUTH MARSH IS 128 #B020          SM128B2000          G02587      177084063300
SOUTH MARSH IS 128 #B021          SM128B2100          G02587      177084078200
SOUTH MARSH IS 128 #B024          SM128B2400          G02587      177084088600
SOUTH MARSH IS 128 #C001          SM128C0100          G02587      177084028600
SOUTH MARSH IS 128 #C002          SM128C0200          G02587      177084027300
SOUTH MARSH IS 128 #C003          SM128C0300          G02587      177084029600
SOUTH MARSH IS 128 #C004A         SM128C04A0          G02587      177084030000
SOUTH MARSH IS 128 #C005A         SM128C05A0          G02587      177084030700
SOUTH MARSH IS 128 #C006A         SM128C06A0          G02587      177084031300
SOUTH MARSH IS 128 #C007          SM128C0700          G02587      177084031700
SOUTH MARSH IS 128 #C008          SM128C0800          G02587      177084032000
SOUTH MARSH IS 128 #C009          SM128C0900          G02587      177084034900
SOUTH MARSH IS 128 #C010D         SM128C10D0          G02587      177084035000
SOUTH MARSH IS 128 #C011          SM128C1100          G02587      177084036400
SOUTH MARSH IS 128 #C012A         SM128C12A0          G02587      177084037300
SOUTH MARSH IS 128 #C013          SM128C1300          G02587      177084037700
SOUTH MARSH IS 128 #C014          SM128C1400          G02587      177084038900
SOUTH MARSH IS 128 #C015A         SM128C15A0          G02587      177084039300
SOUTH MARSH IS 128 #C016          SM128C1600          G02587      177084062000
SOUTH MARSH IS 128 #C017A         SM128C17A0          G02587      177084062600
SOUTH MARSH IS 128 #C018D         SM128C18D0          G02587      177084062900
SOUTH MARSH IS 128 #C019          SM128C1900          G02587      177084088000
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 352
                                                                                    272 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 128 #C020          SM128C2000          G02587      177084088100
SOUTH MARSH IS 128 #C021          SM128C2101          G02587      177084088201
SOUTH MARSH IS 132 #B002          SM132B0200          G02282      177084031800
SOUTH MARSH IS 132 #B003 ST1      SM132B0301          G02282      177084031601
SOUTH MARSH IS 132 #B004          SM132B0400          G02282      177084033000
SOUTH MARSH IS 132 #B005          SM132B0500          G02282      177084033500
SOUTH MARSH IS 132 #B006          SM132B0600          G02282      177084033900
SOUTH MARSH IS 132 #B007          SM132B0700          G02282      177084034100
SOUTH MARSH IS 132 #B008          SM132B0800          G02282      177084035500
SOUTH MARSH IS 132 #B009          SM132B0900          G02282      177084036200
SOUTH MARSH IS 132 #B010          SM132B1000          G02282      177084036500
SOUTH MARSH IS 132 #B011          SM132B1100          G02282      177084037800
SOUTH MARSH IS 135 #C003 BP1      SM135C0301          G19776      177084089401
SOUTH MARSH IS 136 #A004          SM136A0400          G02588      177084021900
SOUTH MARSH IS 136 #A008          SM136A08            G02588      177084032401
SOUTH MARSH IS 136 #A010          SM136A1000          G02588      177084035700
SOUTH MARSH IS 136 #A015          SM136A1500          G02588      177084071200
SOUTH MARSH IS 136 #C007          SM136C0700          G02588      177084091900
SOUTH MARSH IS 137 #A001          SM137A0100          G02589      177084007700
SOUTH MARSH IS 137 #A003          SM137A0300          G02589      177084020400
SOUTH MARSH IS 137 #A005          SM137A0500          G02589      177084024100
SOUTH MARSH IS 137 #A009          SM137A0900          G02589      177084034600
SOUTH MARSH IS 137 #A011 ST1      SM137A1101          G02589      177084030201
SOUTH MARSH IS 137 #A012          SM137A1200          G02589      177084040400
SOUTH MARSH IS 137 #A013          SM137A1300          G02589      177084042900
SOUTH MARSH IS 137 #A014          SM137A1400          G02589      177084045000
SOUTH MARSH IS 137 #A018          SM137A1800          G02589      177084072800
SOUTH MARSH IS 141 #B014C         SM141B14C1          G02885      177084025701
SOUTH MARSH IS 141 #B023A         SM141B23A0          G02885      177084079100
SOUTH MARSH IS 149 #C001 ST1      SM149C0101          G02592      177084088901
SOUTH MARSH IS 149 #C002          SM149C0200          G02592      177084089100
SOUTH MARSH IS 149 #C004          SM149C0400          G02592      177084090300
SOUTH MARSH IS 149 #C005          SM149C0500          G02592      177084090400
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 353
                                                                                     273 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 149 #D001           SM149D0101          G02592      177084094401
SOUTH MARSH IS 150 #C006 BP2       SM150C0600          G16325      177084091802
SOUTH MARSH IS 150 #D002           SM150D0200          G16325      177084095700
SOUTH MARSH IS 150 #D003           SM150D0301          G16325      177084096401
SOUTH MARSH IS 161 #A014 ORRI      SM161A1400          G04809      177084061401
SOUTH MARSH IS 161 #A015 ORRI      SM161A1500          G04809      177084090501
SOUTH MARSH IS 236 #139 (ORRI)     SM23613900           00310      177074053802
SOUTH MARSH IS 236 #144 ORRI       SM23614400           00310      177074058600
SOUTH MARSH IS 236 #160 (ORRI)     SM23616000           00310      177074058700
SOUTH MARSH IS 236 #A001 ORRI      SM236A0100           00310      177074037700
SOUTH MARSH IS 236 #A003 ORRI      SM236A0300           00310      177074040800
SOUTH MARSH IS 236 #A005 ORRI      SM236A0500           00310      177074041100
SOUTH MARSH IS 236 #A009 ORRI      SM236A0900           00310      177074044000
SOUTH MARSH IS 240 #0200           SM24020000           00310      177074078800
SOUTH MARSH IS 240 #153            SM240153             00310      177074061100
SOUTH MARSH IS 240 #156            SM24015600           00310      177074061800
SOUTH MARSH IS 240 #191            SM24019101           00310      177074073600
SOUTH MARSH IS 240 #196            SM24019600           00310      177074075800
SOUTH MARSH IS 240 #E001           SM240E0100           00310      177074060900
SOUTH MARSH IS 240 #E002           SM240E0200           00310      177074065600
SOUTH MARSH IS 241 #302            SM241302             00310      177074042001
SOUTH MARSH IS 268 #A002C          SM268A02C0          G02310      177074007600
SOUTH MARSH IS 268 #A007A          SM268A07A0          G02310      177074013600
SOUTH MARSH IS 268 #A017B          SM268A17B0          G02310      177074016800
SOUTH MARSH IS 268 #D001           SM268D0100          G02310      177074020600
SOUTH MARSH IS 268 #D003D          SM268D03D0          G02310      177074021600
SOUTH MARSH IS 268 #D004           SM268D0400          G02310      177074022500
SOUTH MARSH IS 268 #D006           SM268D0600          G02310      177074024700
SOUTH MARSH IS 268 #D007           SM268D0700          G02310      177074025700
SOUTH MARSH IS 268 #D012           SM268D1200          G02310      177074028700
SOUTH MARSH IS 268 #D016D          SM268D16D1          G02310      177074029901
SOUTH MARSH IS 269 #A021B          SM269A21B0          G02311      177074018100
SOUTH MARSH IS 269 #B002           SM269B0200          G02311      177074008100
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 354
                                                                                    274 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 269 #B017 ST1      SM269B1701          G02311      177074075701
SOUTH MARSH IS 269 #B019 BP1      SM269B1901          G02311      177074088501
SOUTH MARSH IS 269 #F001 ST1      SM269F0101          G02311      177074080401
SOUTH MARSH IS 280 #G001          SM280G0100          G14456      177074071400
SOUTH MARSH IS 280 #G002          SM280G0200          G14456      177074080700
SOUTH MARSH IS 280 #H001 ST1      SM280H0102          G14456      177074081802
SOUTH MARSH IS 280 #H002 STB      SM280H0203          G14456      177074082303
SOUTH MARSH IS 281 #C001          SM281C0100          G02600      177074012500
SOUTH MARSH IS 281 #C003A         SM281C03A0          G02600      177074013900
SOUTH MARSH IS 281 #C005A         SM281C05A0          G02600      177074015300
SOUTH MARSH IS 281 #C006          SM281C0600          G02600      177074015800
SOUTH MARSH IS 281 #C008 ST1      SM281C0801          G02600      177074017701
SOUTH MARSH IS 281 #C010 ST       SM281C1001          G02600      177074020701
SOUTH MARSH IS 281 #C011 ST1      SM281C1101          G02600      177074022401
SOUTH MARSH IS 281 #C012A         SM281C12A0          G02600      177074024100
SOUTH MARSH IS 281 #C014 ST       SM281C1401          G02600      177074026901
SOUTH MARSH IS 281 #C015          SM281C1500          G02600      177074028300
SOUTH MARSH IS 281 #C016C         SM281C16C0          G02600      177074029600
SOUTH MARSH IS 281 #C017          SM281C1700          G02600      177074030500
SOUTH MARSH IS 281 #C019B         SM281C19B0          G02600      177074034400
SOUTH MARSH IS 281 #C020 ST1      SM281C2001          G02600      177074034901
SOUTH MARSH IS 281 #C021B         SM281C21B0          G02600      177074035500
SOUTH MARSH IS 281 #C023 ST2      SM281C2302          G02600      177074036802
SOUTH MARSH IS 281 #C024          SM281C2400          G02600      177074037300
SOUTH MARSH IS 281 #C025          SM281C2500          G02600      177074083500
SOUTH MARSH IS 281 #C026          SM281C2600          G02600      177074083700
SOUTH MARSH IS 281 #C027          SM281C2700          G02600      177074085200
SOUTH MARSH IS 281 #C028 BP2      SM281C2802          G02600      177074089402
SOUTH MARSH IS 281 #D002          SM281D0200          G02600      177074021100
SOUTH MARSH IS 281 #D009          SM281D0900          G02600      177074027100
SOUTH MARSH IS 281 #D010A         SM281D10A0          G02600      177074027500
SOUTH MARSH IS 281 #D011          SM281D1100          G02600      177074028000
SOUTH MARSH IS 281 #D013          SM281D1300          G02600      177074029100
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 355
                                                                                     275 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
SOUTH MARSH IS 281 #D014A          SM281D14A0          G02600      177074029700
SOUTH MARSH IS 281 #D05A           SM281D05A0          G02600      177074023200
SOUTH MARSH IS 281 #D08A           SM281D08A0          G02600      177074026600
SOUTH MARSH IS 281 #E001D          SM281E01D0          G02600      177074018500
SOUTH MARSH IS 281 #E002A          SM281E02A0          G02600      177074024600
SOUTH MARSH IS 281 #E003           SM281E0300          G02600      177074027800
SOUTH MARSH IS 281 #E004           SM281E0400          G02600      177074028500
SOUTH MARSH IS 281 #E005A          SM281E05A0          G02600      177074029300
SOUTH MARSH IS 281 #E006           SM281E0601          G02600      177074030101
SOUTH MARSH IS 281 #E007           SM281E0700          G02600      177074031600
SOUTH MARSH IS 281 #E008A          SM281E08A1          G02600      177074033101
SOUTH MARSH IS 281 #E009A          SM281E09A0          G02600      177074033800
SOUTH MARSH IS 281 #E010A          SM281E10A0          G02600      177074034800
SOUTH MARSH IS 281 #E011 ST        SM281E1101          G02600      177074035601
SOUTH MARSH IS 281 #E012           SM281E1200          G02600      177074036000
SOUTH MARSH IS 281 #E013           SM281E1300          G02600      177074036600
SOUTH MARSH IS 281 #E014           SM281E1400          G02600      177074038600
SOUTH MARSH IS 281 #I001           SM281I0101          G02600      177074082601
SOUTH MARSH IS 281 #I002 ST1       SM281I0201          G02600      177074082701
SOUTH MARSH IS 281 #I003           SM281I0300          G02600      177074082800
SOUTH MARSH IS 48 # E 6            SM048E06             00786      177074066702
SOUTH PASS 061 #D004 ST2           SP061D0402          G01609      177234006302
SOUTH PASS 061 #D023               SP061D2300          G01609      177234008200
SOUTH PASS 061 #D024 ST1           SP061D2401          G01609      177234007701
SOUTH PASS 061 #D025               SP061D2500          G01609      177234008300
SOUTH PASS 061 #D026               SP061D2600          G01609      177234008400
SOUTH PASS 061 #D033 ST2           SP061D3302          G01609      177234008702
SOUTH PASS 061 #D034 ST1           SP061D3401          G01609      177234009001
SOUTH PASS 061 #D035 ST2           SP061D3502          G01609      177234009102
SOUTH PASS 061 #D036 ST1           SP061D3601          G01609      177234009201
SOUTH PASS 061 #D038               SP061D38            G01609      177234009702
SOUTH PASS 061 #D039 ST1           SP061D3901          G01609      177234009801
SOUTH PASS 061 #D040 ST2           SP061D4002          G01609      177234009502
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 356
                                                                                       276 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SOUTH PASS 061 #D043 ST2             SP061D4302          G01609      177234009602
SOUTH PASS 062 #C001                 SP062C0101          G01294      177230007901
SOUTH PASS 062 #C004                 SP062C0401          G01294      177232000101
SOUTH PASS 062 #C005                 SP062C0500          G01294      177230008600
SOUTH PASS 062 #C006                 SP062C0601          G01294      177232000301
SOUTH PASS 062 #C007 ST3             SP062C0703          G01294      177234000803
SOUTH PASS 062 #C009                 SP062C0900          G01294      177232000800
SOUTH PASS 062 #C011 ST1             SP062C1101          G01294      177232001501
SOUTH PASS 062 #C013B                SP062C13B0          G01294      177232002100
SOUTH PASS 062 #C016                 SP062C1600          G01294      177232003000
SOUTH PASS 062 #C017                 SP062C1702          G01294      177232003102
SOUTH PASS 062 #C018                 SP062C1800          G01294      177232003200
SOUTH PASS 062 #C021                 SP062C2105          G01294      177230008005
SOUTH PASS 062 #D001                 SP062D0100          G01294      177234012300
SOUTH PASS 062 #D002                 SP062D0200          G01294      177234011900
SOUTH PASS 062 #D003                 SP062D0300          G01294      177234012000
SOUTH PASS 062 #D004                 SP062D0401          G01294      177234012901
SOUTH PASS 062 #D005                 SP062D0500          G01294      177234012100
SOUTH PASS 062 #D007                 SP062D0700          G01294      177234012200
SOUTH PASS 062 #D008                 SP062D0800          G01294      177234012500
SOUTH PASS 062 #D009                 SP062D0900          G01294      177234013000
SOUTH PASS 062 #D010 ST1             SP062D1001          G01294      177234012801
SOUTH PASS 062 #D012                 SP062D1200          G01294      177234013200
SOUTH PASS 062 #D014                 SP062D1400          G01294      177234014100
SOUTH PASS 062 #D019                 SP062D1900          G01294      177234012400
SOUTH PASS 062 #D020 ST1             SP062D2001          G01294      177234014001
SOUTH PASS 062 #D021                 SP062D2100          G01294      177234013700
SOUTH PASS 062 #D022                 SP062D2201          G01294      177234013801
SOUTH PASS 062 #D023                 SP062D2300          G01294      177234014300
SOUTH PASS 062 #D027                 SP062D2700          G01294      177234014500
SOUTH PASS 062 #D028                 SP062D2800          G01294      177234014601
SOUTH PASS 062 #D029                 SP062D2900          G01294      177234014900
SOUTH PASS 062 #D030                 SP062D3000          G01294      177234014700
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 357
                                                                                       277 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SOUTH PASS 062 #D031                 SP062D3100          G01294      177234014800
SOUTH PASS 062 #D032                 SP062D3201          G01294      177234015001
SOUTH PASS 062 #D033                 SP062D3300          G01294      177234016300
SOUTH PASS 062 #D034A                SP062D34A0          G01294      177234016600
SOUTH PASS 062 #D035                 SP062D3500          G01294      177234016900
SOUTH PASS 062 #D036                 SP062D3600          G01294      177234016400
SOUTH PASS 064 #A003A                SP064A0300          G01901      177232001700
SOUTH PASS 064 #A013 ST1             SP064A1300          G01901      177232004800
SOUTH PASS 064 #B014 ST              SP064B1401          G01901      177254002601
SOUTH PASS 064 #B021                 SP064B2100          G01901      177254003300
SOUTH PASS 064 #B023                 SP064B2300          G01901      177254003600
SOUTH PASS 064 #B034                 SP064B3400          G01901      177254005100
SOUTH PASS 064 #C001                 SP064C0100          G01901      177254039900
SOUTH PASS 065 #A001                 SP065A0101          G01610      177232001001
SOUTH PASS 065 #A009                 SP065A0900          G01610      177232004400
SOUTH PASS 065 #A012                 SP065A1200          G01610      177232004700
SOUTH PASS 065 #A016A                SP065A1600          G01610      177232005100
SOUTH PASS 065 #A018                 SP065A1800          G01610      177232005600
SOUTH PASS 065 #A024                 SP065A2400          G01610      177232006700
SOUTH PASS 065 #A027                 SP065A2700          G01610      177232007100
SOUTH PASS 065 #A028                 SP065A2800          G01610      177232007200
SOUTH PASS 065 #A029                 SP065A2900          G01610      177232007400
SOUTH PASS 065 #A030 ST              SP065A3001          G01610      177232007501
SOUTH PASS 065 #A034                 SP065A3400          G01610      177232007900
SOUTH PASS 065 #A036 ST              SP065A3602          G01610      177232007802
SOUTH PASS 065 #B011                 SP065B1100          G01610      177254001900
SOUTH PASS 065 #B019                 SP065B1900          G01610      177254003000
SOUTH PASS 065 #B033 ST2             SP065B3302          G01610      177254005002
SOUTH PASS 065 #C003                 SP065C0300          G01610      177254040900
SOUTH PASS 065 #C010                 SP065C1000          G01610      177254042800
SOUTH PASS 065 #C022                 SP065C2200          G01610      177254045800
SOUTH PASS 065 #C023                 SP065C2300          G01610      177254046700
SOUTH PASS 070 #C001                 SP070C0100          G01614      177234001200
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 358
                                                                                       278 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SOUTH PASS 070 #C002                 SP070C0200          G01614      177234001400
SOUTH PASS 070 #C003                 SP070C0300          G01614      177234001500
SOUTH PASS 070 #C004                 SP070C0400          G01614      177234001600
SOUTH PASS 070 #C006                 SP070C0600          G01614      177234001800
SOUTH PASS 070 #C009                 SP070C0900          G01614      177234002000
SOUTH PASS 070 #C010                 SP070C1000          G01614      177234002200
SOUTH PASS 070 #C011                 SP070C1100          G01614      177234002300
SOUTH PASS 070 #C014                 SP070C1400          G01614      177234002500
SOUTH PASS 070 #C015                 SP070C1500          G01614      177234002600
SOUTH PASS 070 #C017                 SP070C1700          G01614      177234002800
SOUTH PASS 070 #C018                 SP070C1800          G01614      177234002900
SOUTH PASS 070 #C019                 SP070C1900          G01614      177234003000
SOUTH PASS 070 #C021                 SP070C2100          G01614      177234003200
SOUTH PASS 070 #C022                 SP070C2200          G01614      177234003300
SOUTH PASS 070 #C024                 SP070C2400          G01614      177234003500
SOUTH PASS 070 #C025                 SP070C2500          G01614      177234003700
SOUTH PASS 070 #C026                 SP070C2600          G01614      177234003800
SOUTH PASS 070 #C028                 SP070C2800          G01614      177234004000
SOUTH PASS 070 #C029 ST2             SP070C2902          G01614      177234004402
SOUTH PASS 070 #C031                 SP070C3100          G01614      177234004500
SOUTH PASS 070 #C032                 SP070C3200          G01614      177234004600
SOUTH PASS 070 #C034                 SP070C3400          G01614      177234004700
SOUTH PASS 070 #C038                 SP070C3800          G01614      177234005100
SOUTH PASS 070 #C039 ST1             SP070C3901          G01614      177234004901
SOUTH PASS 070 #C041                 SP070C4100          G01614      177234005400
SOUTH PASS 070 #C042                 SP070C4200          G01614      177234005500
SOUTH PASS 070 #C045                 SP070C4500          G01614      177234005700
SOUTH PASS 070 #C046 ST3             SP070C4603          G01614      177234005003
SOUTH PASS 070 #C047                 SP070C4700          G01614      177234005800
SOUTH PASS 070 #C048                 SP070C4800          G01614      177234005900
SOUTH PASS 070 #D001                 SP070D0100          G01614      177234006000
SOUTH PASS 070 #D002                 SP070D0200          G01614      177234006100
SOUTH PASS 070 #D003                 SP070D0300          G01614      177234006200
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 359
                                                                                       279 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
SOUTH PASS 070 #D005                 SP070D0500          G01614      177234006400
SOUTH PASS 070 #D006 ST1             SP070D0600          G01614      177234006501
SOUTH PASS 070 #D007                 SP070D0700          G01614      177234006600
SOUTH PASS 070 #D008                 SP070D0800          G01614      177234006700
SOUTH PASS 070 #D012                 SP070D1200          G01614      177234007100
SOUTH PASS 070 #D013                 SP070D130           G01614      177234007200
SOUTH PASS 070 #D014                 SP070D1400          G01614      177234007300
SOUTH PASS 070 #D015 ST1             SP070D1501          G01614      177234007401
SOUTH PASS 070 #D016                 SP070D1600          G01614      177234007500
SOUTH PASS 070 #D018                 SP070D1800          G01614      177234007600
SOUTH PASS 070 #D020                 SP070D2000          G01614      177234007800
SOUTH PASS 070 #D021                 SP070D2100          G01614      177234007900
SOUTH PASS 070 #D027                 SP070D2700          G01614      177234008500
SOUTH PASS 070 #D028                 SP070D2800          G01614      177234008600
SOUTH PASS 070 #D030                 SP070D3000          G01614      177234008800
SOUTH PASS 070 #D037                 SP070D3700          G01614      177234009300
SOUTH PASS 070 #D042 ST1             SP070D4201          G01614      177234009901
SOUTH PASS 070 #D044 ST1             SP070D4401          G01614      177234016201
SOUTH PASS 087 #006                  SP08700602          G07799      177224023102
SOUTH PASS 087 #D002 ST              SP087D0201          G07799      177224021001
SOUTH PASS 087 #D003                 SP087D0202          G07799      177224021202
SOUTH PASS 087 #D008                 SP087D0800          G07799      177224020803
SOUTH PASS 087 #D009                 SP087D0900          G07799      177224022600
SOUTH PASS 087 #D011                 SP087D1101          G07799      177224022801
SOUTH PASS 087 #D07A                 SP087D0700          G07799      177224020900
SOUTH PASS 088 #D005 ST              SP088D0501          G10894      177224021901
SOUTH PASS 088 #D006                 SP088D0601          G10894      177224022201
SOUTH PASS 088 #D010                 SP088D1001          G10894      177224022701
SOUTH PASS 089 #013                  SP08901300          G01618      177224015100
SOUTH PASS 089 #014                  SP08901400          G01618      177224017500
SOUTH PASS 089 #B001A                SP089B01A0          G01618      177224005300
SOUTH PASS 089 #B002A                SP089B02A0          G01618      177224005700
SOUTH PASS 089 #B003                 SP089B0300          G01618      177224006400
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 360
                                                                                    280 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH PASS 089 #B004A             SP089B04A0          G01618      177224006800
SOUTH PASS 089 #B005              SP089B0500          G01618      177224008400
SOUTH PASS 089 #B006D             SP089B06D0          G01618      177224009500
SOUTH PASS 089 #B007              SP089B0700          G01618      177224008501
SOUTH PASS 089 #B008 ST1          SP089B0801          G01618      177224009901
SOUTH PASS 089 #B009 ST1          SP089B0901          G01618      177224008601
SOUTH PASS 089 #B010              SP089B1000          G01618      177224010900
SOUTH PASS 089 #B011 ST           SP089B1101          G01618      177224010403
SOUTH PASS 089 #B012              SP089B1200          G01618      177224011200
SOUTH PASS 089 #B013              SP089B1300          G01618      177224011704
SOUTH PASS 089 #B014              SP089B1400          G01618      177224011601
SOUTH PASS 089 #B015 ST3          SP089B1503          G01618      177224012703
SOUTH PASS 089 #B016 ST2          SP089B1602          G01618      177224014702
SOUTH PASS 089 #B017 ST           SP089B1701          G01618      177224015901
SOUTH PASS 089 #B018 ST2          SP089B1802          G01618      177224017602
SOUTH PASS 089 #B019 ST           SP089B1901          G01618      177224017901
SOUTH PASS 089 #B020 ST3          SP089B2003          G01618      177224016203
SOUTH PASS 089 #B022              SP089B2200          G01618      177224017800
SOUTH PELTO 001 #A002 ST1         PL001A0201          G04234      177134009201
SOUTH PELTO 001 #A004             PL001A0400          G04234      177134015600
SOUTH PELTO 001 #A005             PL001A0500          G04234      177134009800
SOUTH PELTO 001 #A006             PL001A0600          G04234      177134016100
SOUTH PELTO 009 #001              PL00900100          G02924      177134001300
SOUTH PELTO 009 #002              PL00900200          G02924      177134002300
SOUTH PELTO 009 #005              PL00900500          G02924      177134018700
SOUTH PELTO 009 #006              PL00900600          G02924      177134006100
SOUTH PELTO 009 #007              PL00900700          G02924      177134007800
SOUTH PELTO 009 #010              PL00901000          G02924      177134025300
SOUTH PELTO 010 #002              PL01000200          G02925      177134001000
SOUTH PELTO 010 #003              PL01000300          G02925      177134001400
SOUTH PELTO 010 #004              PL01000400          G02925      177134001600
SOUTH PELTO 010 #005              PL01000500          G02917      177114098000
SOUTH PELTO 010 #006 ST1          PL01000601          G02925      177134002101
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 361
                                                                                    281 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH PELTO 010 #007              PL01000700          G02925      177134002200
SOUTH PELTO 010 #009 ST3          PL01000903          G02925      177134003303
SOUTH PELTO 010 #010              PL01001000          G02925      177134007200
SOUTH PELTO 010 #011 ST2          PL01001102          G02925      177134005102
SOUTH PELTO 010 #012 ST5          PL01001205          G02925      177134006705
SOUTH PELTO 010 #013 ST1          PL01001301          G02925      177134007402
SOUTH PELTO 010 #014              PL01001400          G02925      177134009400
SOUTH PELTO 010 #016 ST2          PL01001602          G02925      177134011802
SOUTH PELTO 010 #017 ST1          PL01001701          G02925      177134012301
SOUTH PELTO 010 #019 ST1          PL01001901          G02925      177134010601
SOUTH PELTO 010 #020              PL01002000          G02925      177134015800
SOUTH PELTO 010 #022 ST1          PL01002201          G02925      177134018201
SOUTH PELTO 010 #023 ST1          PL01002301          G02925      177134016601
SOUTH PELTO 010 #026              PL01002600          G02925      177134018000
SOUTH PELTO 010 #B025             PL010B2501          G02925      177134018301
SOUTH PELTO 011 #017              PL01101700           00071      177134003102
SOUTH PELTO 011 #019 ST1          PL01101901           00071      177134004501
SOUTH PELTO 011 #022              PL01102200           00071      177134012000
SOUTH PELTO 011 #025              PL01102500           00071      177134018900
SOUTH PELTO 011 #031              PL01103100           00071      177134022701
SOUTH PELTO 011 #032              PL01103200           00071      177134022600
SOUTH PELTO 011 #F001             PL011F0100           00071      177130000300
SOUTH PELTO 011 #F002             PL011F0200           00071      177134000500
SOUTH PELTO 011 #F003 ST          PL011F0300           00071      177134001700
SOUTH PELTO 013 #009              PL01300900          G03171      177134019701
SOUTH PELTO 025 #005 (ORRI)       PL02500502          G14535      177134024303
SOUTH PELTO 025 #006 (ORRI)       PL02500600          G14535      177134025003
SOUTH PELTO 025 #JA001            PL025JA01           G14535      177134019800
SOUTH PELTO 025 #JB001 (ORRI)     PL025JB012          G14535      177134020302
SOUTH TIMBALIER 049 #A001 ST2     ST049A0102          G24956      177154123902
SOUTH TIMBALIER 053 #004          ST05300401          G04000      177154043101
SOUTH TIMBALIER 053 #006          ST05300601          G04000      177154083500
SOUTH TIMBALIER 053 #A001         ST053A0101          G04000      177154034402
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 362
                                                                                    282 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code    Lease Number        API
SOUTH TIMBALIER 053 #A002         ST053A0201           G04000      177154037601
SOUTH TIMBALIER 053 #A003         ST053A0301           G04000      177154038401
SOUTH TIMBALIER 053 #A004         ST053A0400           G04000      177154038500
SOUTH TIMBALIER 053 #A006         ST053A0601           G04000      177154039201
SOUTH TIMBALIER 053 #A007         ST053A0700           G04000      177154040400
SOUTH TIMBALIER 053 #A008         ST053A0800           G04000      177154040500
SOUTH TIMBALIER 053 #A009         ST053A0900           G04000      177154041500
SOUTH TIMBALIER 053 #A010         ST053A1001           G04000      177154043501
SOUTH TIMBALIER 053 #A011         ST053A1100           G04000      177154042400
SOUTH TIMBALIER 053 #A012         ST053A1201           G04000      177154042301
SOUTH TIMBALIER 053 #A013         ST053A1300           G04000      177154044000
SOUTH TIMBALIER 053 #A014         ST053A1400           G04000      177154042900
SOUTH TIMBALIER 053 #A015         ST053A1501           G04000      177154076901
SOUTH TIMBALIER 053 #A016         ST053A1601           G04000      177154043601
SOUTH TIMBALIER 053 #A017         ST053A1701           G04000      177154061101
SOUTH TIMBALIER 053 #A018         ST053A1801           G04000      177154061201
SOUTH TIMBALIER 053 #A019         ST053A1900           G04000      177154077200
SOUTH TIMBALIER 053 #A020         ST053A2001           G04000      177154077101
SOUTH TIMBALIER 053 #A021         ST053A2100           G04000      177154111000
SOUTH TIMBALIER 053 #C001         ST053C0100           G04000      177154067200
SOUTH TIMBALIER 053 #C002         ST053C0200           G04000      177154107300
SOUTH TIMBALIER 053 #I001         ST053I0100           G04000      177154031200
SOUTH TIMBALIER 067 #006          ST06700602       00020         177154078404
SOUTH TIMBALIER 148 #A001         ST148A0100           G01960      177154009400
SOUTH TIMBALIER 148 #A002         ST148A0200           G01960      177154013200
SOUTH TIMBALIER 148 #A003         ST148A0300           G01960      177154015800
SOUTH TIMBALIER 148 #A004         ST148A04             G01960      177154039700
SOUTH TIMBALIER 148 #A005         ST148A05             G01960      177154041100
SOUTH TIMBALIER 148 #A006         ST148A0600           G01960      177154074603
SOUTH TIMBALIER 148 #A007         ST148A0700           G01960       1771540890
SOUTH TIMBALIER 148 #A008         ST148A0801           G01960      177154090501
SOUTH TIMBALIER 148 #A009         ST148A0903           G01960      177154095103
SOUTH TIMBALIER 205 #B001 ST1     ST205B0101           G05612      177154059001
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 363
                                                                                   283 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 205 #B002A ST1   ST205B02A1          G05612      177154062901
SOUTH TIMBALIER 205 #B004 ST1    ST205B0401          G05612      177154081601
SOUTH TIMBALIER 205 #B005A       ST205B05A0          G05612      177154103300
SOUTH TIMBALIER 205 #G001 ST1    ST205G0101          G05612      177154106701
SOUTH TIMBALIER 205 #G003 ST1    ST205G0301          G05612      177154115301
SOUTH TIMBALIER 206 #A001 ST1    ST206A0101          G05613      177154057801
SOUTH TIMBALIER 206 #A002 ST1    ST206A0201          G05613      177154060101
SOUTH TIMBALIER 206 #A003        ST206A0300          G05613      177154061000
SOUTH TIMBALIER 206 #A004A       ST206A04A0          G05613      177154074300
SOUTH TIMBALIER 206 #A006        ST206A0600          G05613      177154075100
SOUTH TIMBALIER 206 #A007        ST206A0700          G05613      177154075200
SOUTH TIMBALIER 206 #A008        ST206A0800          G05613      177154075300
SOUTH TIMBALIER 206 #A009        ST206A0900          G05613      177154075400
SOUTH TIMBALIER 206 #A010ST2BP   ST206A1002          G05613      177154075702
SOUTH TIMBALIER 206 #B003 ST1    ST206B0301          G05613      177154074001
SOUTH TIMBALIER 206 #B006        ST206B0600          G05613      177154103000
SOUTH TIMBALIER 276 #A010 ST1    ST276A1001          G07780      177164013301
SOUTH TIMBALIER 276 #A019        ST276A1900          G07780      177164014500
SOUTH TIMBALIER 276 #A029        ST276A2900          G07780      177164022300
SOUTH TIMBALIER 290 #A025        ‐                   G16454      608104014901
SOUTH TIMBALIER 291 #A023        ST291A2300          G16455      608104014700
SOUTH TIMBALIER 295 #A001        ST295A0102          G05646      177164010302
SOUTH TIMBALIER 295 #A002        ST295A0200          G05646      177164005500
SOUTH TIMBALIER 295 #A003        ST295A0300          G05646      177164010400
SOUTH TIMBALIER 295 #A004        ST295A0400          G05646      177164011300
SOUTH TIMBALIER 295 #A005        ST295A0500          G05646      177164011600
SOUTH TIMBALIER 295 #A006        ST295A0600          G05646      177164011800
SOUTH TIMBALIER 295 #A007        ST295A0700          G05646      177164012000
SOUTH TIMBALIER 295 #A008        ST295A0800          G05646      177164012200
SOUTH TIMBALIER 295 #A009        ST295A0900          G05646      177164012300
SOUTH TIMBALIER 295 #A011        ST295A1100          G05646      177164012700
SOUTH TIMBALIER 295 #A012        ST295A1200          G05646      177164012400
SOUTH TIMBALIER 295 #A013 ST1    ST295A1301          G05646      177164012901
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 364
                                                                                    284 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
SOUTH TIMBALIER 295 #A014         ST295A1400          G05646      177164013400
SOUTH TIMBALIER 295 #A015         ST295A1500          G05646      177164013700
SOUTH TIMBALIER 295 #A016 ST1     ST295A1601          G05646      177164013901
SOUTH TIMBALIER 295 #A017         ST295A1700          G05646      177164014000
SOUTH TIMBALIER 295 #A018         ST295A1800          G05646      177164014400
SOUTH TIMBALIER 295 #A020         ST295A2000          G05646      177164014700
SOUTH TIMBALIER 295 #A021 ST2     ST295A2102          G05646      177164014902
SOUTH TIMBALIER 295 #A022 ST3     ST295A2203          G05646      177164017703
SOUTH TIMBALIER 295 #A023         ST295A2300          G05646      177164018000
SOUTH TIMBALIER 295 #A024         ST295A2400          G05646      177164018300
SOUTH TIMBALIER 295 #A025D        ST295A25D0          G05646      177164018100
SOUTH TIMBALIER 295 #A026         ST295A2600          G05646      177164018400
SOUTH TIMBALIER 295 #A027         ST295A2700          G05646      177164018500
SOUTH TIMBALIER 295 #A030         ST295A3000          G05646      177164022600
SOUTH TIMBALIER 295 #A031         ST295A3100          G05646      177164026100
SOUTH TIMBALIER 295 #A032         ST295A3200          G05646      177164027800
SOUTH TIMBALIER 295 #B001         ST295B0100          G05646      177164028900
SOUTH TIMBALIER 295 #B002 ST1     ST295B0201          G05646      177164029301
SOUTH TIMBALIER 295 #B003         ST295B0302          G05646      177164029202
SOUTH TIMBALIER 295 #B004 ST1     ST295B0401          G05646      177164029101
SOUTH TIMBALIER 295 #B005         ST295B0500          G05646      177164030000
SOUTH TIMBALIER 295 #B006 ST3     ST295B0603          G05646      177164030403
SOUTH TIMBALIER 296 #001          ST29600100          G12981      177164020900
SOUTH TIMBALIER 296 #A028         ST296A2800          G12981      177164021700
SOUTH TIMBALIER 311 # A 1         ST311A01            G31418      177164035500
SOUTH TIMBALIER 311 # A‐4         ST311A04            G31418      177164036400
SOUTH TIMBALIER 316 #A001         ST316A0100          G22762      177164028600
SOUTH TIMBALIER 316 #A002         ST316A0200          G22762      177164028800
SOUTH TIMBALIER 316 #A006         ST316A0602          G22762      177164035302
SOUTH TIMBALIER 320 #A002         ST320A02            G24990      177164036200
SOUTH TIMBALIER 320 #A003         ST320A03            G24990      177164036300
SOUTH TIMBALIER 320 #A005 ST      ST320A05            G24990      608104010401
tEAST CAMERON 278 #C010           EC278C1001          G00974      177044110001
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 365
                                                                                      285 of 531
                                                                                             491
                                                       Exhibit I-B

Asset Name                          FWE Acct. Code   Lease Number        API
VERMILION 261 #A001                 VR261A0100          G03328      177064029000
VERMILION 261 #A002                 VR261A0200          G03328      177064033000
VERMILION 261 #A004                 VR261A0402          G03328      177064032902
VERMILION 261 #A005                 VR261A0500          G03328      177064034600
VERMILION 261 #A007                 VR261A0700          G03328      177064035400
VERMILION 261 #A008                 VR261A0800          G03328      177064084900
VERMILION 262 #A006                 VR262A06            G34257      177064035201
VERMILION 265 #A001 ST              VR265A0101          G01955      177064003101
VERMILION 265 #A002 ST1             VR265A0201          G01955      177064004701
VERMILION 265 #A003 ST1             VR265A0301          G01955      177064003201
VERMILION 265 #A006                 VR265A0600          G01955      177064005300
VERMILION 265 #A007 ST1             VR265A0701          G01955      177064005501
VERMILION 265 #A010                 VR265A1000          G01955      177064006200
VERMILION 265 #A014ST1              VR265A1401          G01955      177064029101
VERMILION 265 #A016ST1              VR265A1601          G01955      177064029301
VERMILION 265 #A017ST1              VR265A1701          G01955      177064033201
VERMILION 265 #A021                 VR265A2100          G01955      177064057100
VERMILION 265 #A025                 VR265A2500          G01955      177064057400
VERMILION 265 #A027ST1              VR265A2701          G01955      177064058101
VERMILION 271 #I003                 VR271I0300          G04800      177064098100
VERMILION 326 #A001                 VR326A0100          G21096      177064085000
VERMILION 369 #A014                 VR369A1400          G02274      177064073400
VERMILION 369 #D001                 VR369D01            G02274      177064087000
VERMILION 380 #009                  VR38000900          G02580      177064080100
VERMILION 380 #A001 ST1             VR380A0101          G02580      177064044301
VERMILION 380 #A003 ST1             VR380A0301          G02580      177064044901
VERMILION 380 #A005                 VR380A0500          G02580      177064046300
VERMILION 380 #A006 ST2             VR380A0602          G02580      177064046402
VERMILION 380 #A008 ST1             VR380A0801          G02580      177064046901
VERMILION 380 #A010                 VR380A1000          G02580      177064047600
VERMILION 380 #A011                 VR380A1100          G02580      177064048000
VERMILION 380 #A012                 VR380A1200          G02580      177064048700
VERMILION 380 #A015 ST4             VR380A1504          G02580      177064049004
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 366
                                                                                   286 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
VERMILION 380 #A016 ST2          VR380A1602          G02580      177064084702
VERMILION 380 #A020 ST1          VR380A2001          G02580      177064095601
VERMILION 381 #A017              VR381A1700          G16314      177064085500
VERMILION 381 #A018 ST2          VR381A1802          G16314      177064085702
VERMILION 381 #A021 ST1          VR381A2101          G16314      177064095801
VIOSCA KNOLL 693 #001            VK69300100          G07898      608164015700
VIOSCA KNOLL 693 #002            VK69300200          G07898      608164016000
VIOSCA KNOLL 694 #001            VK69400100          G13055      608164016600
VIOSCA KNOLL 694 #002            VK69400200          G13055      608164016700
VIOSCA KNOLL 694 #003 ST1        VK69400301          G13055      608164036701
VIOSCA KNOLL 694 #004            VK69400400          G13055      608164039700
VIOSCA KNOLL 694 #A009           VK694A0900          G13055      177244073300
VIOSCA KNOLL 824 #004            VK82400402          G15436      608164032902
WEST CAMERON 033 #001            WC03300100          G15050      177004105100
WEST CAMERON 033 #001 SL16473    SL16473010           16473      177002024400
WEST CAMERON 033 #002 SL16473    SL16473020           16473      177002024500
WEST CAMERON 033 #N001 (EC2)     WC033N0100          G15050      177004124000
WEST CAMERON 033 #N002 (EC2)     WC033N0200          G15050      177004124600
WEST CAMERON 033 #N003 (EC2)     WC033N0300          G15050      177004125400
WEST CAMERON 033 #N004 (EC2)     WC033N0400          G15050      177004125500
WEST CAMERON 033 #O001           WC033O0100          G15050      177004126500
WEST CAMERON 033 #O002           WC033O0200          G15050      177004126600
WEST CAMERON 033 #O003           WC033O0300          G15050      177004126800
WEST CAMERON 033 #O004           WC033O0400          G15050      177004126900
WEST CAMERON 035 #A014           WC035A1400          G02819      177004017000
WEST CAMERON 035 #B005           WC035B0500          G02819      177004018600
WEST CAMERON 035 #B013           WC035B1300          G02819      177004024300
WEST CAMERON 035 #C003           WC035C0300          G02819      177004037600
WEST CAMERON 035 #C004           WC035C0401          G02819      177004038701
WEST CAMERON 035 #D005           WC035D0500          G01860      177004039101
WEST CAMERON 065 #008            WC06500801          G02825      177004103701
WEST CAMERON 065 #009            WC06500900          G02825      177004105500
WEST CAMERON 065 #B018           WC065B1800          G02825      177004098900
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 367
                                                                                   287 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
WEST CAMERON 065 #B019           WC065B1901          G02825      177004099501
WEST CAMERON 065 #B020 ST2       WC065B2001          G02825      177004099701
WEST CAMERON 065 #E007           WC065E0700          G02825      177004129600
WEST CAMERON 065 #JA001          WC065JA100          G02825      177004023300
WEST CAMERON 065 #JA002          WC065JA200          G02825      177004024600
WEST CAMERON 065 #JA003          WC065JA300          G02825      177004040400
WEST CAMERON 065 #JA004          WC065JA400          G02825      177004041500
WEST CAMERON 065 #JA005          WC065JA500          G02825      177004075400
WEST CAMERON 066 #A001           WC066A0100          G01860      177004011300
WEST CAMERON 066 #A002           WC066A0200          G01860      177004011800
WEST CAMERON 066 #A003           WC066A0300          G01860      177004012400
WEST CAMERON 066 #A004           WC066A0400          G01860      177004012600
WEST CAMERON 066 #A005           WC066A0500          G01860      177004012800
WEST CAMERON 066 #A006           WC066A0600          G01860      177004013200
WEST CAMERON 066 #A007 (WC35)    WC035A0700          G01860      177004013500
WEST CAMERON 066 #A008           WC066A0800          G01860      177004014100
WEST CAMERON 066 #A009           WC066A0900          G01860      177004014500
WEST CAMERON 066 #A010           WC066A1000          G01860      177004014700
WEST CAMERON 066 #A011           WC066A1100          G01860      177004014900
WEST CAMERON 066 #A012 (WC35)    WC035A1200          G01860      177004015700
WEST CAMERON 066 #A015           WC066A1500          G01860      177004096100
WEST CAMERON 066 #A016           WC066A1601          G01860      177004096601
WEST CAMERON 066 #A017           WC066A1700          G02826      177004100600
WEST CAMERON 066 #B002           WC066B0200          G02826      177004017600
WEST CAMERON 066 #B003           WC066B0300          G02826      177004017800
WEST CAMERON 066 #B004           WC066B0400          G02826      177004018300
WEST CAMERON 066 #B006           WC066B0600          G02826      177004019100
WEST CAMERON 066 #B007           WC066B0700          G02826      177004019600
WEST CAMERON 066 #B008D          WC066B08D0          G02826      177004020400
WEST CAMERON 066 #B009           WC066B0900          G02826      177004020801
WEST CAMERON 066 #B010           WC066B1000          G02826      177004021400
WEST CAMERON 066 #B012           WC066B1200          G02826      177004023000
WEST CAMERON 066 #B014           WC066B1401          G02826      177004022001
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 368
                                                                                   288 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
WEST CAMERON 066 #B015           WC066B1500          G02826      177004087600
WEST CAMERON 066 #B016           WC066B1601          G02826      177004097101
WEST CAMERON 066 #B017           WC066B1700          G02826      177004098700
WEST CAMERON 066 #C001           WC066C0102          G01860      177004010502
WEST CAMERON 066 #C002 ST3       WC066C0203          G01860      177004036603
WEST CAMERON 066 #C005 ST2       WC066C0502          G01860      177004098302
WEST CAMERON 066 #D007           WC066D0702          G01860      177004042902
WEST CAMERON 066 #E001           WC066E0100          G02826      177004034700
WEST CAMERON 066 #E002           WC066E0200          G02826      177004043400
WEST CAMERON 066 #E003           WC066E0300          G02826      177004047900
WEST CAMERON 066 #E004           WC066E0400          G02826      177004051500
WEST CAMERON 066 #E006           WC066E0600          G02826      177004087900
WEST CAMERON 071 #018            WC07101800           00244      177004029400
WEST CAMERON 071 #023            WC07102300           00244      177004040500
WEST CAMERON 071 #026            WC07102600           00244      177004067600
WEST CAMERON 071 #027            WC07102700           00244      177004069700
WEST CAMERON 071 #028            WC07102800           00244      177004071000
WEST CAMERON 071 #031            WC07103100           00244      177004118900
WEST CAMERON 071 #D001           WC071D0100           00244      177002000100
WEST CAMERON 071 #D003           WC071D0300           00244      177002004800
WEST CAMERON 071 #D005           WC071D0501           00244      177002004101
WEST CAMERON 071 #D006           WC071D0600           00244      177002006900
WEST CAMERON 071 #D009           WC071D0900           00244      177002008000
WEST CAMERON 071 #F001           WC071F0100           00244      177004102400
WEST CAMERON 071 #F002           WC071F0200           00244      177004102600
WEST CAMERON 072 #001            WC07200100          G23735      177004114900
WEST CAMERON 072 #002            WC07200200          G23735      177004119400
WEST CAMERON 072 #003            WC07200301          G23735      177004125001
WEST CAMERON 102 #002            WC10200200           00247      177002009300
WEST CAMERON 102 #005            WC10200500           00247      177004006800
WEST CAMERON 102 #007            WC10200700           00247      177004008600
WEST CAMERON 102 #008            WC10200800           00247      177004009400
WEST CAMERON 102 #022            WC10202200           00247      177004064300
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 369
                                                                                   289 of 531
                                                                                          491
                                                    Exhibit I-B

Asset Name                       FWE Acct. Code   Lease Number        API
WEST CAMERON 102 #024            WC10202400           00247      177004062500
WEST CAMERON 102 #H001           WC102H0100           00247      177004103400
WEST CAMERON 102 #H002           WC102H0202           00247      177004104402
WEST CAMERON 110 #006            WC11000600           00081      177002002700
WEST CAMERON 110 #007            WC11000700           00081      177002003000
WEST CAMERON 110 #010 ST1        WC11001001           00081      177004025001
WEST CAMERON 110 #011            WC11001100           00081      177004083400
WEST CAMERON 110 #012 ST2        WC11001202           00081      177004086302
WEST CAMERON 110 #014 ST2        WC11001402           00081      177004090002
WEST CAMERON 110 #015 ST1        WC11001501           00081      177004106501
WEST CAMERON 110 #018 ST2        WC11001802           00081      177004127002
WEST CAMERON 110 #019 ST1        WC11001901           00081      177004127801
WEST CAMERON 110 #05A            WC1105AD64           00081      177002002200
WEST CAMERON 110 #A001           WC110A0100           00081      177000013100
WEST CAMERON 110 #A002C          WC110A02C0           00081      177000013200
WEST CAMERON 110 #A003           WC110A0300           00081      177000013300
WEST CAMERON 110 #A004           WC110A0400           00081      177000013400
WEST CAMERON 110 #A005           WC110A0500           00081      177000038900
WEST CAMERON 110 #A006           WC110A0600           00081      177002004000
WEST CAMERON 110 #C001           WC110C0100           00081      177004112500
WEST CAMERON 110 #F001           WC110F0100           00081      177004107300
WEST CAMERON 110 #F002           WC110F0200           00081      177004119300
WEST CAMERON 290 #002            WC29002             G04818      177014018400
WEST CAMERON 290 #A001           WC290A0100          G04818      177014020700
WEST CAMERON 290 #A002           WC290A0200          G04818      177014024200
WEST CAMERON 290 #A003           WC290A0300          G04818      177014029100
WEST CAMERON 295 #A001           WC295A0101          G24730      177014037501
WEST CAMERON 295 #A002           WC295A0201          G24730      177014039001
WEST CAMERON 67 #D1              WC067D0100          G03256      177004031600
WEST CAMERON 67 #D10             ‐                   G03256      177004098501
WEST CAMERON 67 #D6              ‐                   G03256      177004040700
WEST CAMERON 67 #D9              WC067D0900          G03256      177004078600
WEST DELTA 053 #001              WD05300100          Onshore     170752037400
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 370
                                                                                     290 of 531
                                                                                            491
                                                      Exhibit I-B

Asset Name                         FWE Acct. Code   Lease Number        API
WEST DELTA 068 #U001               WD068U0100           00180      177190136200
WEST DELTA 068 #U004               WD068U0400           00180      177192007000
WEST DELTA 068 #U005 ST2           WD068U0502           00180      177192007502
WEST DELTA 068 #U006               WD068U0600           00180      177192008600
WEST DELTA 068 #U009               WD068U0900           00180      177192011401
WEST DELTA 068 #U011               WD068U11             00180      177192013603
WEST DELTA 068 #U013 ST2           WD068U1302           00180      177194065102
WEST DELTA 068 #U014               WD068U1400           00180      177194065300
WEST DELTA 069 #D007 ST2           WD069D0702           00181      177190063802
WEST DELTA 070 #D001D              WD070D0100           00182      177190063300
WEST DELTA 070 #D005               WD070D0500           00182      177190063600
WEST DELTA 070 #D008               WD070D0800           00182      177190063900
WEST DELTA 070 #D009               WD070D0900           00182      177190064000
WEST DELTA 070 #D010               WD070D1000           00182      177190066700
WEST DELTA 070 #D011               WD070D1100           00182      177194036800
WEST DELTA 070 #D012               WD070D1200           00182      177194037200
WEST DELTA 070 #D013               WD070D1300           00182      177194057000
WEST DELTA 070 #D014               WD070D1400           00182      177194057200
WEST DELTA 070 #E001 ST1           WD070E0101           00182      177190108201
WEST DELTA 070 #E002               WD070E0200           00182      177190067800
WEST DELTA 070 #E003               WD070E0300           00182      177190066500
WEST DELTA 070 #FF001              WD070FF100           00182      177194084200
WEST DELTA 070 #FF002              WD070FF200           00182      177194084300
WEST DELTA 070 #FF003              WD070FF300           00182      177194084400
WEST DELTA 070 #I003 ST1           WD070I0301           00182      177190091301
WEST DELTA 070 #I004               WD070I0400           00182      177190091500
WEST DELTA 070 #I005 ST1           WD070I0501           00182      177190095001
WEST DELTA 070 #I006 ST            WD070I0601           00182      177190095101
WEST DELTA 070 #I008 ST1           WD070I0801           00182      177190102101
WEST DELTA 070 #I010 ST1           WD070I1001           00182      177190105701
WEST DELTA 070 #I012 STBP2         WD070I1202           00182      177194010702
WEST DELTA 070 #I013               WD070I1300           00182      177194038400
WEST DELTA 070 #I014               WD070I1400           00182      177194061100
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 371
                                                                                       291 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
WEST DELTA 070 #I015                 WD070I1500           00182      177194061300
WEST DELTA 070 #I016 ST              WD070I1601           00182      177194064201
WEST DELTA 070 #I017                 WD070I1700           00182      177194064600
WEST DELTA 070 #L003                 WD070L0300           00182      177190113800
WEST DELTA 070 #L004                 WD070L0400           00182      177190115100
WEST DELTA 070 #L005                 WD070L0500           00182      177190115500
WEST DELTA 070 #L006                 WD070L0600           00182      177190115000
WEST DELTA 070 #L010                 WD070L1000           00182      177190119500
WEST DELTA 070 #L011                 WD070L1100           00182      177190121400
WEST DELTA 071 #E006                 WD071E0600           00838      177190073200
WEST DELTA 071 #E007 ST1             WD071E0701           00838      177190095601
WEST DELTA 071 #E009 ST1             WD071E0901           00838      177190091701
WEST DELTA 071 #E010                 WD071E1000           00838      177190095700
WEST DELTA 071 #O001 ST2             WD071O0102           00838      177190118502
WEST DELTA 071 #O003                 WD071O0300           00838      177190121500
WEST DELTA 071 #O004 ST1             WD071O0401           00838      177190124301
WEST DELTA 071 #O005                 WD071O0501           00838      177190125001
WEST DELTA 071 #O006                 WD071O0601           00838      177190127101
WEST DELTA 071 #O007                 WD071O0702           00838      177190129602
WEST DELTA 071 #O009                 WD071O0900           00838      177190133600
WEST DELTA 071 #O010                 WD071O1000           00838      177194002500
WEST DELTA 071 #O013                 WD071O1303           00838      177192001102
WEST DELTA 075 #A004B                WD075A04B0          G01085      177190074300
WEST DELTA 075 #A010D                WD075A10D0          G01085      177190082700
WEST DELTA 075 #A015                 WD075A1500          G01085      177194030300
WEST DELTA 075 #B002                 WD075B0201          G01085      177190131301
WEST DELTA 075 #B009                 WD075B0900          G01085      177190136800
WEST DELTA 075 #B017 ST              WD075B1701          G01085      177194019501
WEST DELTA 075 #B024                 WD075B2400          G01085      177194045700
WEST DELTA 075 #B026 ST              WD075B2601          G01085      177194046601
WEST DELTA 075 #F002 ST2             WD075F0200          G01085      177194042800
WEST DELTA 075 #G002                 WD075G0200          G01085      177194056600
WEST DELTA 090 #A001                 WD090A0100          G01089      177190061600
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 372
                                                                                    292 of 531
                                                                                           491
                                                     Exhibit I-B

Asset Name                        FWE Acct. Code   Lease Number        API
WEST DELTA 090 #A005              WD090A0500          G01089      177190128700
WEST DELTA 090 #A009D             WD090A09D0          G01089      177190077300
WEST DELTA 090 #B004 ST1          WD090B0401          G01089      177190132101
WEST DELTA 090 #B011 ST           WD090B1101          G01089      177192000801
WEST DELTA 090 #B018              WD090B1800          G01089      177194040400
WEST DELTA 090 #B020              WD090B2001          G01089      177190135901
WEST DELTA 090 #B021              WD090B2100          G01089      177194041500
WEST DELTA 090 #B027              WD090B2700          G01089      177194046700
WEST DELTA 090 #F004              WD090F0400          G01089      177194057700
WEST DELTA 090 #F005 ST2          WD090F0502          G01089      177194057902
WEST DELTA 090 #F006              WD090F0600          G01089      177194058601
WEST DELTA 094 #V001              WD094V0100           00839      177192005700
WEST DELTA 094 #V002              WD094V0200           00839      177192011600
WEST DELTA 094 #V003              WD094V0300           00839      177192014900
WEST DELTA 094 #V004              WD094V0400           00839      177192015500
WEST DELTA 094 #V014              WD094V1400           00839      177194039000
WEST DELTA 094 #V015              WD094V1500           00839      177194064000
WEST DELTA 094 #V016              WD094V1602           00839      177194063902
WEST DELTA 095 #S005 ST1BP1       WD095S0502          G01497      177190126202
WEST DELTA 095 #S006              WD095S0600          G01497      177190135400
WEST DELTA 095 #S008              WD095S0800          G01497      177190127700
WEST DELTA 095 #S010 ST1          WD095S1001          G01497      177192000101
WEST DELTA 095 #S012 ST           WD095S1201          G01497      177192002301
WEST DELTA 095 #X001 ST           WD095X0101          G01497      177194002901
WEST DELTA 095 #X003              WD095X0300          G01497      177194003200
WEST DELTA 095 #X007 ST1          WD095X0701          G01497      177194003701
WEST DELTA 095 #X010 ST2          WD095X1001          G01497      177194055301
WEST DELTA 095 #X011              WD095X1100          G01497      177194055700
WEST DELTA 095 #X012D             WD095X12D0          G01497      177194055900
WEST DELTA 096 #S002 ST1BP1       WD096S0202          G01498      177190123402
WEST DELTA 096 #S007 ST1          WD096S0701          G01498      177190132901
WEST DELTA 096 #X004 ST1          WD096X0401          G01498      177194003301
WEST DELTA 096 #X006 ST2          WD096X0602          G01498      177194003502
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 373
                                                                                       293 of 531
                                                                                              491
                                                        Exhibit I-B

Asset Name                           FWE Acct. Code   Lease Number        API
WEST DELTA 096 #X009                 WD096X0900          G01498      177194004000
WEST DELTA 103 #F001 ST1             WD103F0101          G12360      177194054801
WEST DELTA 103 #F002                 WD103F0200          G12360      177194055100
WEST DELTA 103 #F003                 WD103F0300          G12360      177194058200
WEST DELTA 103 #F007                 WD103F0700           00840      177194083800
WEST DELTA 104 #D005                 WD104D0500           00841      177190116200
WEST DELTA 104 #D009                 WD104D0900           00841      177190118400
WEST DELTA 104 #D010 ST              WD104D1001           00841      177190119801
WEST DELTA 104 #D011                 WD104D1100           00841      177190119900
WEST DELTA 104 #D012                 WD104D1200           00841      177190120500
WEST DELTA 104 #D013                 WD104D1300           00841      177194068900
WEST DELTA 104 #D014                 WD104D1400           00841      177194083900
WEST DELTA 104 #E004                 WD104E0401           00841      177194040901
WEST DELTA 104 #E009                 WD104E0901           00841      177194041601
WEST DELTA 104 #E010                 WD104E1002           00841      177194040702
WEST DELTA 104 #E015                 WD104E1504           00841      177194042504
WEST DELTA 104 #E020                 WD104E2001           00841      177194064901
WEST DELTA 105 #D003                 WD105D0300           00842      177190114300
WEST DELTA 105 #E001 ST3             WD105E0103           00842      177194039803
WEST DELTA 105 #E002 ST1             WD105E0201           00842      177194039901
WEST DELTA 105 #E003                 WD105E0301           00842      177194040001
WEST DELTA 105 #E005A                WD105E05A0           00842      177194040500
WEST DELTA 105 #E006                 WD105E0600           00842      177194041000
WEST DELTA 105 #E007                 WD105E0700           00842      177194040600
WEST DELTA 105 #E008 ST1             WD105E0801           00842      177194041101
WEST DELTA 105 #E011                 WD105E1101           00842      177194041401
WEST DELTA 105 #E012                 WD105E1200           00842      177194041800
WEST DELTA 105 #E013 ST1             WD105E1301           00842      177194042001
WEST DELTA 105 #E014                 WD105E1400           00842      177194043200
WEST DELTA 105 #E016                 WD105E1600           00842      177194042700
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 374
                                                                                   294 of 531
                                                                                          491
                                                   Exhibit I-C (i)

Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
BRAZOS 491 P/F‐4                 BA4914CAS          G06069         BA491           100.0%
BRAZOS 491 P/F‐5                 BA4915CAS          G06069         BA491           100.0%
BRAZOS 491 P/F‐A                 BA491AWP           G06069         BA491           100.0%
BRAZOS A‐105 P/F‐A               BAA105PFA          G01757        BAA105            12.5%
BRAZOS A‐105 P/F‐B               BAA105PFB          G01757        BAA105            12.5%
BRAZOS A‐133 P/F‐A               BAA133APLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐B               BAA133BPLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐C‐AUX           BAA133CAUX         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐D               BAA133DPLT         G02665        BAA133            25.0%
BRAZOS A‐133 P/F‐E               BAA133EPLT         G02665        BAA133            25.0%
CHANDELEUR 043 P/F‐A             CA43APLT           G32268         CA043        50.00%
EAST CAMERON 002 P/F‐1 SL16475   SL164751PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐1 SL18121   SL181211PT          18121         EC002       50.0000%
EAST CAMERON 002 P/F‐1/1D16473   SL164731PT          16473         EC002       89.0625%
EAST CAMERON 002 P/F‐2 SL16475   SL164752PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐2/2D16473   SL164732PT          16473         EC002       89.0625%
EAST CAMERON 002 P/F‐3/3D16475   SL164753PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐4/4D16475   SL164754PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐5 SL16475   SL164755PT          16475         EC002       89.0625%
EAST CAMERON 002 P/F‐B (SL)      EC2BSL              16475         EC002       89.0625%
EAST CAMERON 002 P/F‐C SL16475   EC2CPLT             16475         EC002       89.0625%
EAST CAMERON 014 P/F‐12          EC1412CAS          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐13          EC1413CAS          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐B           EC014PFB           G13572         EC014      100.0000%
EAST CAMERON 014 P/F‐CF          EC14CFPLT          G01440         EC014      100.0000%
EAST CAMERON 014 P/F‐CF‐2        EC14CF2PLT         G01440         EC014      100.0000%
EAST CAMERON 265 P/F‐D           EC265DPLT          G00972         EC265       50.0000%
EAST CAMERON 278 P/F‐B           EC278BPLT          G00974         EC278       50.0000%
EAST CAMERON 278 P/F‐C           EC278CPLT          G00974         EC278       50.0000%
EAST CAMERON 338 P/F‐A           EC338PFA           G02063         EC338       15.6694%
EUGENE IS 053 P/F‐10             EI5310CAS           00479         EI053      100.0000%
EUGENE IS 053 P/F‐12             EI5312CAS           00479         EI053      100.0000%
EUGENE IS 053 P/F‐8              EI538CAS            00479         EI053       66.6667%
EUGENE IS 053 P/F‐9              EI539PLT            00479         EI053       66.6667%
EUGENE IS 053 P/F‐B              EI53BPLT            00479         EI053       66.6667%
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 375
                                                                                         295 of 531
                                                                                                491
                                                         Exhibit I-C (i)

Asset Name                             FWE Acct. Code   Lease Number   Area/Block       WI
EUGENE IS 053 P/F‐C                    EI53CPLT            00479         EI053       83.3334%
EUGENE IS 053 P/F‐D                    EI53DCAS            00479         EI053      100.0000%
EUGENE IS 053 P/F‐G                    EI53GCAS            00479         EI053       66.6667%
EUGENE IS 089 P/F‐23                   EI089PF23           00044         EI089       75.0000%
EUGENE IS 119 P/F‐13                   EI11913CAS          00050         EI119      100.0000%
EUGENE IS 119 P/F‐30                   EI11930WP           00049         EI119      100.0000%
EUGENE IS 119 P/F‐33                   EI11933CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐33‐AUX               EI11933AUX          00049         EI119      100.0000%
EUGENE IS 119 P/F‐34                   EI11934CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐35                   EI11935CAS          00049         EI119      100.0000%
EUGENE IS 119 P/F‐37                   EI11937CAS          00049         EI119       50.0000%
EUGENE IS 119 P/F‐37 H                 EI11937HCA          00049         EI119       50.0000%
EUGENE IS 119 P/F‐F                    EI119FPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐I                    EI119IPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐I‐8                  EI119I8CAS          00050         EI119      100.0000%
EUGENE IS 119 P/F‐K                    EI119KPLT           00049         EI119      100.0000%
EUGENE IS 119 P/F‐M‐4                  EI119M4WP           00049         EI119      100.0000%
EUGENE IS 119 P/F‐M‐7                  EI119M7CAS          00049         EI119      100.0000%
EUGENE IS 120 P/F‐11                   EI12011CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐12                   EI12012CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐14                   EI12014CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐15                   EI12015CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐17                   EI12017CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐19                   EI12019CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐20                   EI12020CAS          00050         EI120      100.0000%
EUGENE IS 120 P/F‐9                    EI1209CAS           00050         EI120      100.0000%
EUGENE IS 120 P/F‐CF‐QTRS              EI120CFQTR          00050         EI120      100.0000%
EUGENE IS 120 P/F‐CMP1                 EI120CMP1           00050         EI120      100.0000%
EUGENE IS 120 P/F‐CMP2                 EI120CMP2           00050         EI120      100.0000%
EUGENE IS 120 P/F‐FIRE STA             EI120FIRE           00050         EI120      100.0000%
EUGENE IS 120 P/F‐PROD                 EI120PRD            00050         EI120      100.0000%
EUGENE IS 120 P/F‐SC                   EI120SCPLT          00050         EI120      100.0000%
EUGENE IS 125 P/F‐2                    EI1252CAS           00051         EI125      100.0000%
EUGENE IS 125 P/F‐A                    EI125APLT           00051         EI125      100.0000%
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 376
                                                                                        296 of 531
                                                                                               491
                                                        Exhibit I-C (i)

Asset Name                            FWE Acct. Code   Lease Number   Area/Block       WI
EUGENE IS 125 P/F‐R                   EI125RPLT            00051        EI125      100.0000%
EUGENE IS 126 P/F‐12                  EI12612CAS           00052        EI126      100.0000%
EUGENE IS 126 P/F‐31                  EI12631CAS           00052        EI126      100.0000%
EUGENE IS 136 P/F‐1                   EI1361CAS           G03152        EI136      100.0000%
EUGENE IS 136 P/F‐JA                  EI136JAPLT          G03152        EI136      100.0000%
EUGENE IS 158 P/F‐14                  EI15814CAS          G01220        EI158      100.0000%
EUGENE IS 158 P/F‐B                   EI158BPLT           G01220        EI158      100.0000%
EUGENE IS 158 P/F‐C                   EI158CPLT           G01220        EI158      100.0000%
EUGENE IS 158 P/F‐C‐QRT               EI158CQTR           G01220        EI158      100.0000%
EUGENE IS 158 P/F‐JB                  EI158JBPLT          G01220        EI158      100.0000%
EUGENE IS 173 P/F‐G                   EI173GPLT           G13622        EI173      100.0000%
EUGENE IS 175 P/F‐C‐PROD              EI175CPRD             438         EI175       75.0000%
EUGENE IS 175 P/F‐D                   EI175DPLT             438         EI175       75.0000%
EUGENE IS 175 P/F‐F                   EI175FPLT             438         EI175       75.0000%
EUGENE IS 175 P/F‐H                   EI175HCAS             438         EI175       75.0000%
EUGENE IS 175 P/F‐I                   EI175ICAS             438         EI175       75.0000%
EUGENE IS 175 P/F‐J                   EI175JPLT             438         EI175       75.0000%
EUGENE IS 187 P/F‐2                   EI187PF2            G10736        EI187      100.0000%
EUGENE IS 187 P/F‐JC                  EI187JCPLT          G10736        EI187      100.0000%
EUGENE IS 187 P/F‐JD                  EI187JDPLT          G10736        EI187      100.0000%
EUGENE IS 188 P/F‐A                   EI188APLT            00443        EI188      100.0000%
EUGENE IS 188 P/F‐JE                  EI188JEPLT          G10736        EI188      100.0000%
EUGENE IS 188 P/F‐P‐VALVE             EI188PVALV           00443        EI188      100.0000%
EUGENE IS 189 P/F‐B                   EI189BPLT             423         EI189      100.0000%
EUGENE IS 189 P/F‐JG                  EI189JGPLT            423         EI189      100.0000%
EUGENE IS 212 P/F‐A                   EI212APLT           G05503        EI212       66.6667%
EUGENE IS 224 P/F‐A                   EI224APLT           G05504        EI224      100.0000%
EUGENE IS 224 P/F‐C                   EI224CPLT           G05504        EI224      100.0000%
EUGENE IS 296 P/F‐B                   EI296PFB           G01687M        EI 296      85.5270%
EUGENE IS 307 P/F‐A                   EI307PFA            G02110        EI307       0.0000%
EUGENE IS 307 P/F‐B                   EI307PFB            G02110        EI307       0.0000%
EUGENE IS 312 P/F‐D                   EI312PFD            G22679        EI312       0.0000%
EUGENE IS 315 P/F‐A                   EI315APLT           G24912        EI315       75.2917%
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 377
                                                                                    297 of 531
                                                                                           491
                                                    Exhibit I-C (i)

Asset Name                        FWE Acct. Code   Lease Number   Area/Block       WI
EUGENE IS 315 P/F‐C               EI315PFC           G24912          EI315      25.0000%
EUGENE IS 316 P/F‐A               EI316APLT          G05040          EI316     100.0000%
EUGENE IS 330 P/F A C S           EI330ACSPF         G02115          EI330      27.0000%
EUGENE IS 330 P/F‐B               EI330BPLT          G02115          EI330      65.0249%
EUGENE IS 330 P/F‐D               EI330DPLT          G02115          EI330      70.0249%
EUGENE IS 333 P/F‐B               EI333BPLT          G02317          EI333     100.0000%
EUGENE IS 334 P/F‐D               EI334DPLT          G15263          EI334     100.0000%
EUGENE IS 337 P/F‐A               EI337APLT          G03332          EI337     100.0000%
EUGENE IS 342 P/F‐C               EI342CPLT          G02319          EI342      67.4286%
EUGENE IS 346 P/F‐A               EI346APLT          G14482          EI346     100.0000%
EUGENE IS 353 P/F‐D               EI353PFD           G02324          EI353      3.7850%
EUGENE IS 354 P/F‐D               EI354DPLT          G10752          EI354     100.0000%
EUGENE IS 360 P/F‐C               EI360PFC           G02324          EI360      3.2730%
EUGENE IS 360 P/F‐E               EI360PFE           G02324          EI360      4.3730%
EUGENE IS 361 P/F‐A               EI361PFA           G02324          EI361      6.7568%
EWING BANK 826 P/F‐A              EW826APLT          G05800         EW826      100.0000%
GALVESTON 210 P/F‐1               GA2101CAS          G25524         GA210       66.6700%
GALVESTON 210 P/F‐2               GA2102CAS          G25524         GA210       66.6700%
GALVESTON 210 P/F‐B               GA210BPLT          G25524         GA210       66.6700%
GRAND ISLE 039 P/F‐Q              GI39QPLT            00127          GI039      75.0000%
GRAND ISLE 040 P/F‐G              GI40GPLT            00128          GI040      75.0000%
GRAND ISLE 040 P/F‐M              GI40MPLT            00128          GI040      75.0000%
GRAND ISLE 041 P/F‐B              GI41BPLT            00129          GI041      75.0000%
GRAND ISLE 041 P/F‐D              GI041PFD            00129          GI041      75.0000%
GRAND ISLE 041 P/F‐E              GI41EPLT            00130          GI041      75.0000%
GRAND ISLE 041 P/F‐H              GI41HPLT            00130          GI041      75.0000%
GRAND ISLE 041 P/F‐I              GI41ICAS            00132          GI041      75.0000%
GRAND ISLE 042 P/F‐C              GI42CPLT            00131          GI042      75.0000%
GRAND ISLE 042 P/F‐F              GI42FPLT            00131          GI042      75.0000%
GRAND ISLE 043 P/F‐AC‐CMP         GI043PFAC           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AP‐QRT         GI43APPLT           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AQ‐QRT         GI43AQPLT           00175          GI043      75.0000%
GRAND ISLE 043 P/F‐AR‐RSR         GI43ARPLT           00175          GI043      75.0000%
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 378
                                                                                     298 of 531
                                                                                            491
                                                     Exhibit I-C (i)

Asset Name                         FWE Acct. Code   Lease Number   Area/Block       WI
GRAND ISLE 043 P/F‐AS‐SEP          GI43ASPLT           00175         GI043       75.0000%
GRAND ISLE 047 P/F‐A               GI47APLT            00133         GI047       75.0000%
GRAND ISLE 047 P/F‐AP              GI47APPLT           00133         GI047       75.0000%
GRAND ISLE 047 P/F‐AQ‐QTRS         GI47AQPLT           00133         GI047       75.0000%
GRAND ISLE 047 P/F‐AX (BRACE)      GI47AXPLT           00133         GI047       75.0000%
GRAND ISLE 047 P/F‐L               GI47LPLT            00133         GI047       75.0000%
GRAND ISLE 047 P/F‐O               GI47OPLT            00133         GI047       75.0000%
GRAND ISLE 048 P/F‐E               GI48EPLT            00134         GI048       75.0000%
GRAND ISLE 048 P/F‐J               GI48JPLT            00134         GI048       75.0000%
GRAND ISLE 048 P/F‐P               GI48PPLT            00134         GI048       75.0000%
GRAND ISLE 054 P/F‐A               GI54APLT           G27173         GI054       50.0000%
GRAND ISLE 076 P/F‐A               GI076PFA           G02161         GI076       95.8333%
GRAND ISLE 116 P/F‐A               GI116APLT          G13944         GI116       50.0000%
HIGH ISLAND 110 P/F‐A              HI110PFA           G02353         HI110       20.0000%
HIGH ISLAND 110 P/F‐B              HI110PFB           G02353         HI110       20.0000%
HIGH ISLAND 120 P/F‐A‐PROCESS      HI120APROC         G01848         HI120        34.33%
HIGH ISLAND 129 P/F‐1              HI1291CAS          G01848         HI129       0.0000%
HIGH ISLAND 129 P/F‐16             HI12916CAS         G01848         HI129       0.0000%
HIGH ISLAND 129 P/F‐17             HI12917CAS         G01848         HI129       90.0000%
HIGH ISLAND 129 P/F‐18             HI129PF18          G01848         HI129       27.0000%
HIGH ISLAND 129 P/F‐5/6            HI1295PLT          G01848         HI129       90.0000%
HIGH ISLAND 129 P/F‐CPF            HI129CPF           G01848         HI129       0.0000%
HIGH ISLAND 179 P/F‐A              HI179APLT          G03236         HI179       69.0750%
HIGH ISLAND 206 P/F‐B              HI206BPLT          G20660         HI206      100.0000%
HIGH ISLAND A‐341 P/F‐B            HIA341BPLT         G25605         HIA341      60.0000%
HIGH ISLAND A‐376 P/F‐A            HIA376APLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐B            HIA376BPLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐376 P/F‐C            HIA376CPLT         G02754         HIA376      48.8298%
HIGH ISLAND A‐382 P/F‐F            HIA382FPLT         G02757         HIA382      72.4106%
HIGH ISLAND A‐474 P/F‐A            HIA474PFA          G02366         HIA474      10.0000%
HIGH ISLAND A‐489 P/F‐B            HIA489PFB          G02372         HIA489      8.5000%
HIGH ISLAND A‐545 P/F‐JA           HIA545JAPT         G17199         HIA545      60.0000%
HIGH ISLAND A‐573 P/F‐A            HIA573APLT         G02393         HIA573      72.4102%
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 379
                                                                                   299 of 531
                                                                                          491
                                                   Exhibit I-C (i)

Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
HIGH ISLAND A‐573 P/F‐B          HIA573BPLT         G02393         HIA573      72.4102%
HIGH ISLAND A‐582 P/F‐C          HIA582PFC          G02719         HIA582      18.0975%
HIGH ISLAND A‐582 P/F‐D          HIA582PFD          G02719         HIA582      36.5786%
HIGH ISLAND A‐595 P/F‐CF         HIA595CFPT         G02721         HIA595      72.4102%
HIGH ISLAND A‐595 P/F‐D          HIA595DPLT         G02721         HIA595      72.4102%
HIGH ISLAND A‐596 P/F‐E          HIA596EPLT         G02722         HIA596      72.4102%
MAIN PASS 077 P/F‐A              MP077PFA           G04481         MP077       26.1683%
MAIN PASS 140 P/F‐A              MP140APLT          G02193         MP140       65.0000%
MAIN PASS 140 P/F‐B              MP140BPLT          G02193         MP140       65.0000%
MAIN PASS 153 P/F‐B              MP153BPLT          G01967         MP153       50.0000%
MAIN PASS 153 P/F‐C              MP153CPLT          G01967         MP153       50.0000%
MAIN PASS 259 P/F‐A              MP259APLT          G07827         MP259       56.9016%
MAIN PASS 275 P/F‐A              MP275APLT          G15395         MP275      100.0000%
MAIN PASS 289 P/F‐B              MP289BPLT          G01666         MP289      100.0000%
MAIN PASS 289 P/F‐C              MP289CPLT          G01666         MP289      100.0000%
MAIN PASS 296 P/F‐B              MP296BPLT          G01673         MP296       55.0343%
MAIN PASS 296 P/F‐C              MP296CPLT          G01673         MP296       50.4846%
MAIN PASS 301 P/F‐A              MP301PFA           G04486         MP301       22.7793%
MAIN PASS 301 P/F‐B              MP301PFB           G04486         MP301       22.7793%
MAIN PASS 308 P/F‐A              MP308APLT          G32265         MP308      100.0000%
MAIN PASS 310 P/F‐A              MP310APLT          G04126         MP310      100.0000%
MAIN PASS 310 P/F‐JA             MP310JAPT          G04126         MP310      100.0000%
MAIN PASS 311 P/F‐A              MP311APLT          G02213         MP311       50.0000%
MAIN PASS 311 P/F‐B              MP311BPLT          G02213         MP311       50.0000%
MATAGORDA IS 622 P/F‐C           MI622CPLT          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐COMPRES   MI622CCMP          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐PRD       MI622CPRD          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐C‐QRT       MI622CQTR          G05000         MI622       81.0000%
MATAGORDA IS 622 P/F‐D           MI622DPLT          G05000         MI622       81.0000%
MATAGORDA IS 623 P/F‐B‐DRIL      MI623BPLT          G03088         MI623       81.0000%
MATAGORDA IS 623 P/F‐B‐PRD       MI623BPRD          G03088         MI623       81.0000%
MATAGORDA IS 623 P/F‐H           MI623HPLT          G03088         MI623      100.0000%
MATAGORDA IS 635 P/F‐F           MI635FPLT          G06043         MI635       81.0000%
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 380
                                                                                     300 of 531
                                                                                            491
                                                     Exhibit I-C (i)

Asset Name                         FWE Acct. Code   Lease Number   Area/Block       WI
MATAGORDA IS 635 P/F‐G             MI635GPLT          G05000         MI635       81.0000%
MISSISSIPPI CANYON 311 P/F‐A       MC311APLT          G02968         MC311      100.0000%
MOBILE 821 P/F‐A‐QRT               MO821AQTR          G05058         MO821      100.0000%
MOBILE 826 P/F‐D                   MO826DPLT          G26176         MO826       75.0000%
NORTH PADRE IS 969 P/F‐JA          PN969PFJA          G05953         PN969       1.2500%
NORTH PADRE IS 975 P/F‐A           PN975PFA           G05953         PN969       1.2500%
SHIP SHOAL 030 #011 CAS P/F        SS030PF11           00333         SS030       28.9474%
SHIP SHOAL 030 #013 CAS P/F        SS030PF13           00333         SS030       28.9474%
SHIP SHOAL 030 P/F‐14              SS030PF14           00333         SS030       28.9474%
SHIP SHOAL 031 P/F‐10              SS031PF10           00334         SS031       28.9474%
SHIP SHOAL 031 P/F‐A               SS031PFA            00333         SS031       28.9474%
SHIP SHOAL 032 P/F‐18              SS032PF18           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐20              SS032PF20           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐24              SS032PF24           00335         SS032       28.9474%
SHIP SHOAL 032 P/F‐E‐1             SS032PFE            00335         SS032       28.9474%
SHIP SHOAL 033 #005 CAS P/F        SS033PF05           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐1             SS033PFC1           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐2             SS033PFC2           00336         SS033       28.9474%
SHIP SHOAL 033 P/F‐C‐3(PROD)       SS033PFC3           00336         SS033       28.9474%
SHIP SHOAL 068 P/F‐05              SS685CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐10              SS6810CAS          G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐2               SS682CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐4               SS684CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐9               SS689CAS           G02917         SS068      100.0000%
SHIP SHOAL 068 P/F‐F               SS68FPLT           G02925         SS068      100.0000%
SHIP SHOAL 091 P/F‐A               SS91APLT           G02919         SS091      100.0000%
SHIP SHOAL 091 P/F‐B               SS91BPLT           G02919         SS091      100.0000%
SHIP SHOAL 105 P/F‐A               SS105APLT          G09614         SS105      100.0000%
SHIP SHOAL 105 P/F‐B               SS105BPLT          G09614         SS105      100.0000%
SHIP SHOAL 126 P/F‐B               SS126BPLT          G12940         SS126      100.0000%
SHIP SHOAL 129 P/F‐A               SS129APLT          G12941         SS129      100.0000%
SHIP SHOAL 129 P/F‐A‐AUX           SS129AAUX          G12941         SS129      100.0000%
SHIP SHOAL 129 P/F‐B               SS129BPLT          G12941         SS129      100.0000%
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 381
                                                                                    301 of 531
                                                                                           491
                                                    Exhibit I-C (i)

Asset Name                        FWE Acct. Code   Lease Number   Area/Block       WI
SHIP SHOAL 129 P/F‐L              SS129LCAS          G12941         SS129      100.0000%
SHIP SHOAL 144 PF 1               ‐                  G30275         SS 144      15.5400%
SHIP SHOAL 169 P/F‐BB             SS169PFBB           00820         SS169       66.6667%
SHIP SHOAL 169 P/F‐C              SS169PFC            00820         SS169       66.6667%
SHIP SHOAL 169 P/F‐G              SS169PFG            00820         SS169       66.6667%
SHIP SHOAL 176 P/F‐1              SS1761PLT          G33646         SS176       57.1429%
SHIP SHOAL 178 P/F‐A              SS178APLT          G05551         SS178      100.0000%
SHIP SHOAL 182 P/F‐A              SS182APLT          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐A‐AUX          SS182AAUX          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐B              SS182BPLT          G03998         SS182      100.0000%
SHIP SHOAL 182 P/F‐C              SS182CPLT          G03998         SS182      100.0000%
SHIP SHOAL 189 P/F‐A              SS189APLT          G04232         SS189       99.0000%
SHIP SHOAL 189 P/F‐C              SS189PFC           G04232         SS189       24.7396%
SHIP SHOAL 190 P/F‐B              SS190BPLT          G10775         SS190      100.0000%
SHIP SHOAL 193 P/F‐A              SS193APLT          G13917         SS193      100.0000%
SHIP SHOAL 193 P/F‐A‐PROD         SS193APRD          G13917         SS193      100.0000%
SHIP SHOAL 193 P/F‐M              SS193MPLT          G13917         SS193      100.0000%
SHIP SHOAL 194 P/F‐A              SS194APLT          G15288         SS194      100.0000%
SHIP SHOAL 198 P/F‐G              SS198PFG            00593         SS198       50.0000%
SHIP SHOAL 198 P/F‐G‐QTRS         SS198PFGQR          00593         SS198       50.0000%
SHIP SHOAL 198 P/F‐K              SS198PFK            00593         SS198       50.0000%
SHIP SHOAL 204 P/F‐A              SS204APLT          G01520         SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐GEN          SS204AGEN          G01520         SS204       55.2000%
SHIP SHOAL 204 P/F‐A‐PROD         SS204APRD          G01520         SS204       55.2000%
SHIP SHOAL 206 P/F‐E              SS206EPLT          G01522         SS206       60.0000%
SHIP SHOAL 207 P/F‐A‐CMP          SS207ACOMP         G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐DRILL        SS207ADRL          G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐MANTIS       SS207PFAMA         G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐A‐PROD         SS207APRD          G01523         SS207       52.4000%
SHIP SHOAL 207 P/F‐D              SS207DPLT          G01523         SS207       52.8000%
SHIP SHOAL 207 P/F‐DWPF           SS207PFDWP         G01523         SS207       0.0000%
SHIP SHOAL 216 P/F‐C              SS216CPLT          G01524         SS216       70.0000%
SHIP SHOAL 259 P/F‐JA             SS259JAPLT         G05044         SS259       93.7130%
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 382
                                                                                    302 of 531
                                                                                           491
                                                    Exhibit I-C (i)

Asset Name                        FWE Acct. Code   Lease Number   Area/Block       WI
SHIP SHOAL 274 P/F‐A              SS274APLT          G01039         SS274      100.0000%
SHIP SHOAL 274 P/F‐C              SS274CPLT          G01039         SS274      100.0000%
SHIP SHOAL 291 P/F‐A              SS291PFA           G02923         SS291       0.0000%
SHIP SHOAL 354 P/F‐A              SS354APLT          G15312         SS354      100.0000%
SOUTH MARSH IS 010 P/F‐4          SM010PF4           G01181         SM010      100.0000%
SOUTH MARSH IS 010 P/F‐A          SM10APLT           G01181         SM010      100.0000%
SOUTH MARSH IS 011 P/F‐34         SM011PF34          G01182         SM011      100.0000%
SOUTH MARSH IS 011 P/F‐58         SM011PF58          G01182         SM011      100.0000%
SOUTH MARSH IS 018 P/F‐A          SM018PFA           G08680         SM018      100.0000%
SOUTH MARSH IS 048 P/F‐E          SM048PFE             786          SM048      100.0000%
SOUTH MARSH IS 066 P/F‐C          SM66CPLT           G01198         SM058       50.0000%
SOUTH MARSH IS 066 P/F‐D          SM66DPLT           G01198         SM066       50.0000%
SOUTH MARSH IS 076 P/F‐F          SM76FPLT           G01208         SM076      100.0000%
SOUTH MARSH IS 093 P/F‐A          SM093PFA           G21618         SM093       12.5000%
SOUTH MARSH IS 105 P/F‐A          SM105APLT          G17938         SM105      100.0000%
SOUTH MARSH IS 106 P/F‐A‐NORTH    SM106ANPLT         G03776         SM106      100.0000%
SOUTH MARSH IS 106 P/F‐JUNCTIO    SM106JCT           G02279         SM106      100.0000%
SOUTH MARSH IS 128 P/F‐A          SM128APLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐B          SM128BPLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐C          SM128CPLT          G02587         SM128       84.0133%
SOUTH MARSH IS 128 P/F‐SA‐2       SM128SADPT         G02587         SM128       84.0133%
SOUTH MARSH IS 132 P/F‐B          SM132BPLT          G02282         SM132       50.0000%
SOUTH MARSH IS 137 P/F‐A          SM137APLT          G02589         SM137       50.0000%
SOUTH MARSH IS 149 P/F‐C          SM149CPLT          G02592         SM149       50.0000%
SOUTH MARSH IS 149 P/F‐D          SM149DPLT          G02592         SM149      100.0000%
SOUTH MARSH IS 239 156 CAIS       SM239PF156          00310         SM240       16.0000%
SOUTH MARSH IS 239 191 CAIS       SM239PF191          00310         SM240       16.0000%
SOUTH MARSH IS 240 1 CAIS         SM240PF1             310          SM240       16.0000%
SOUTH MARSH IS 240 153 CAIS       SM240PF153           310          SM240       16.0000%
SOUTH MARSH IS 240 192 CAIS       SM240PF192           310          SM240       16.0000%
SOUTH MARSH IS 240 196 CAIS       SM240PF196           310          SM240       16.0000%
SOUTH MARSH IS 240 2 CAIS         SM240PF2             310          SM240       16.0000%
SOUTH MARSH IS 240 E DOLPHIN      SM240PF0E            310          SM240       16.0000%
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 383
                                                                                     303 of 531
                                                                                            491
                                                     Exhibit I-C (i)

Asset Name                         FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH MARSH IS 240 P/F‐E‐PRD       SM240PFE             310          SM240       16.0000%
SOUTH MARSH IS 241 CAS 149 P/F     SM241PF149           310          SM241       16.0000%
SOUTH MARSH IS 241 CAS 200 P/F     SM241PF200          00310         SM241       16.0000%
SOUTH MARSH IS 241 CAS 302 P/F     SM241PF302          00310         SM241       16.0000%
SOUTH MARSH IS 268 P/F‐A‐DRL       SM268APLT          G02310         SM268       69.4185%
SOUTH MARSH IS 268 P/F‐A‐PRD       SM268APRD          G02310         SM268       69.4185%
SOUTH MARSH IS 268 P/F‐D           SM268DPLT          G02310         SM268       69.4185%
SOUTH MARSH IS 269 P/F‐B           SM269BPLT          G02311         SM269       72.8000%
SOUTH MARSH IS 269 P/F‐F           SM269FCAS          G02311         SM269       87.7000%
SOUTH MARSH IS 280 P/F‐G           SM280GPLT          G14456         SM280       50.0000%
SOUTH MARSH IS 280 P/F‐H           SM280HPLT          G14456         SM280       50.0000%
SOUTH MARSH IS 280 P/F‐I           SM280IPLT          G02600         SM280       58.4000%
SOUTH MARSH IS 281 P/F‐C           SM281PFC           G02600         SM281       68.1000%
SOUTH MARSH IS 281 P/F‐E           SM281EPLT          G02600         SM281       68.1000%
SOUTH PASS 062 P/F‐A               SP62APLT           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐B               SP62BPLT           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐C               SP062PFC           G01294         SP062      100.0000%
SOUTH PASS 062 P/F‐D               SP062PFD           G01294         SP062      100.0000%
SOUTH PASS 065 P/F‐A               SP65APLT           G01610         SP065       50.0000%
SOUTH PASS 070 P/F‐C               SP070PFC           G01614         SP070      100.0000%
SOUTH PASS 070 P/F‐D               SP070PFD           G01614         SP070      100.0000%
SOUTH PASS 075 P/F‐A               SP75APLT           G05051         SP075      100.0000%
SOUTH PASS 087 P/F‐D               SP87DPLT           G07799         SP087       86.1125%
SOUTH PASS 089 P/F‐B               SP89BPLT           G01618         SP089       50.0000%
SOUTH PELTO 001 P/F‐A              PL001PFA           G04234         PL001      100.0000%
SOUTH PELTO 009 P/F‐10             PL009PF10          G02924         PL009       50.0000%
SOUTH PELTO 009 P/F‐5              PL009PF05          G02924         PL009      100.0000%
SOUTH PELTO 009 P/F‐6              PL009PF06          G02924         PL009      100.0000%
SOUTH PELTO 009 P/F‐7              PL009PF07          G02924         PL009      100.0000%
SOUTH PELTO 010 #2 (2924)CAIS      PL0102CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐10             PL1010CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐10‐8           PL10108CAS         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐11             PL1011CAS          G02925         PL010      100.0000%
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 384
                                                                                    304 of 531
                                                                                           491
                                                    Exhibit I-C (i)

Asset Name                        FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH PELTO 010 P/F‐12            PL1012WP           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐14            PL1014CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐16            PL1016CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐17            PL1017CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐19            PL1019CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐20            PL1020CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐22            PL1022CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐23            PL1023CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐26            PL1026CAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐2A            PL102ACAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐3A            PL103ACAS          G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐4             PL104WP            G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐7             PL107CAS           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐9‐1‐A         PL1091ACAS         G02925         PL010       50.0000%
SOUTH PELTO 010 P/F‐A             PL10APLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B             PL10BPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B25           PL10B25CAS         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐B‐AUX         PL10BAUXPT         G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐C             PL10CPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐D             PL10DPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐E             PL10EPLT           G02925         PL010      100.0000%
SOUTH PELTO 010 P/F‐LQ            PL10LQPLT          G02925         PL010      100.0000%
SOUTH PELTO 011 P/F‐17            PL1117CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐19            PL1119CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐22            PL1122CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐25            PL1125CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐F             PL11FPLT            00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐F‐3           PL11F3CAS           00071         PL011      100.0000%
SOUTH PELTO 011 P/F‐G             PL11GCAS            00071         PL011      100.0000%
SOUTH PELTO 025 JA PF             PL025PFJA          G14535         PL025      100.0000%
SOUTH PELTO 025 JB PF             PL025PFJB          G14535         PL025      100.0000%
SOUTH TIMBALIER 049 P/F‐A         ST49APLT           G24956         ST049      100.0000%
SOUTH TIMBALIER 053 P/F‐4         ST053PF4           G04000         ST053       50.0000%
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 385
                                                                                    305 of 531
                                                                                           491
                                                    Exhibit I-C (i)

Asset Name                        FWE Acct. Code   Lease Number   Area/Block       WI
SOUTH TIMBALIER 053 P/F‐6         ST053PF6           G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A         ST053PFA           G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐A‐AUX     ST053PFAAX         G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐C (5)     ST053PFC5          G04000         ST053       50.0000%
SOUTH TIMBALIER 053 P/F‐I         ST053PFI           G04000         ST053       50.0000%
SOUTH TIMBALIER 068 P/F‐1         ST681CAS            00020         ST068       79.6666%
SOUTH TIMBALIER 148 P/F‐A         ST148PFA           G01960         ST148       15.5500%
SOUTH TIMBALIER 161 P/F‐C         ST161PFC           G01248         ST161      100.0000%
SOUTH TIMBALIER 203 P/F‐B         ST203PFB           G01269         ST203       40.0000%
SOUTH TIMBALIER 205 P/F‐B         ST205BPLT          G05612         ST205       50.0000%
SOUTH TIMBALIER 205 P/F‐G         ST205GPLT          G05612         ST205      100.0000%
SOUTH TIMBALIER 206 P/F‐A         ST206APLT          G05612         ST206       50.0000%
SOUTH TIMBALIER 291 P/F‐A         ST291APLT          G16455         ST291       35.0000%
SOUTH TIMBALIER 295 P/F‐A         ST295APLT          G05646         ST295       92.9167%
SOUTH TIMBALIER 295 P/F‐B         ST295BPLT          G05646         ST295       92.9167%
SOUTH TIMBALIER 311 P/F‐A         ST311APLT          G31418         ST311       22.5000%
SOUTH TIMBALIER 316 P/F‐A         ST316PFA           G22762         ST316       20.0000%
VERMILION 261 P/F‐A               VR261APLT          G03328         VR261       75.0000%
VERMILION 261 P/F‐A‐AUX           VR261AAUX          G03328         VR261       75.0000%
VERMILION 265 P/F‐A‐DRL           VR265ADRL          G01955         VR265      100.0000%
VERMILION 265 P/F‐A‐PRD           VR265APRD          G01955         VR265      100.0000%
VERMILION 326 P/F‐A               VR326APLT          G21096         VR326       70.3148%
VERMILION 369 P/F‐A               VR369PFA           G02274         VR369       10.9700%
VERMILION 369 P/F‐D               VR369PFD           G02274         VR369       23.1707%
VERMILION 380 P/F‐A               VR380APLT          G02580         VR380      100.0000%
VERMILION 408 P/F‐A               VR408PF            G15212         VR408       50.0000%
VIOSCA KNOLL 203 P/F‐A            VK203PFA           G07890         VK203       33.3333%
VIOSCA KNOLL 203 P/F‐B            VK203PFB           G07890         VK203       33.3333%
VIOSCA KNOLL 204 P/F‐3            VK204PF3           G04921         VK204       33.3333%
VIOSCA KNOLL 204 P/F‐C            VK204PFC           G04921         VK204       33.3333%
VIOSCA KNOLL 780 P/F‐A            VK780APLT          G15436         VK780      100.0000%
WEST CAMERON 033 P/F‐1            WC033PF1           G15050         WC033      100.0000%
WEST CAMERON 033 P/F‐N            WC033PFN           G15050         WC033      100.0000%
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 386
                                                                                   306 of 531
                                                                                          491
                                                   Exhibit I-C (i)

Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
WEST CAMERON 033 P/F‐O           WC033PFO           G15050         WC033      100.0000%
WEST CAMERON 065 P/F‐8           WC065CAIS8         G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐9           WC065CAIS9         G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐JA          WC65JAPLT          G02825         WC065      100.0000%
WEST CAMERON 065 P/F‐JA‐AUX      WC65JAAUX          G02825         WC065      100.0000%
WEST CAMERON 066 P/F‐A           WC66APLT           G01860         WC066       91.0585%
WEST CAMERON 066 P/F‐B           WC066PFB           G02826         WC066       82.9104%
WEST CAMERON 066 P/F‐C           WC066PFC           G01860         WC066       75.0000%
WEST CAMERON 066 P/F‐E           WC066PFE           G02826         WC066       75.0000%
WEST CAMERON 066 P/F‐F(FMR31)    WC066PFF31          00244         WC066      100.0000%
WEST CAMERON 071 P/F‐28          WC071PF28           00244         WC071      100.0000%
WEST CAMERON 071 P/F‐D           WC071PFD            00244         WC071      100.0000%
WEST CAMERON 071 P/F‐D‐AUX       WC071PFDAX          00244         WC071      100.0000%
WEST CAMERON 071 P/F‐F (FMR18)   WC71FPLT            00244         WC071      100.0000%
WEST CAMERON 071 P/F‐QTR         WC71QTR             00244         WC071      100.0000%
WEST CAMERON 072 P/F‐1           WC072PF1           G23735         WC072       25.0000%
WEST CAMERON 072 P/F‐2           WC072PF2           G23735         WC072       25.0000%
WEST CAMERON 072 P/F‐3           WC072PF3           G23735         WC072       25.0000%
WEST CAMERON 102 P/F‐2           WC102PF2            00247         WC102      100.0000%
WEST CAMERON 102 P/F‐G           WC102GPLT           00247         WC102      100.0000%
WEST CAMERON 102 P/F‐G‐AUX       WC102GAUX           00247         WC102      100.0000%
WEST CAMERON 102 P/F‐H           WC102HPLT           00247         WC102      100.0000%
WEST CAMERON 110 P/F‐10          WC11010CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐11          WC11011CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐12          WC11012CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐15          WC11015CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐18          WC11018CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐19          WC11019CAS          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐A           WC110APLT           00081         WC110      100.0000%
WEST CAMERON 110 P/F‐A‐AUX1      WC110AAUX1          00081         WC110      100.0000%
WEST CAMERON 110 P/F‐E           WC110EPLT           00081         WC110      100.0000%
WEST CAMERON 110 P/F‐H           WC110HPLT           00081         WC110      100.0000%
WEST CAMERON 111 P/F‐C           WC111CCAS           00081         WC111      100.0000%
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 387
                                                                                   307 of 531
                                                                                          491
                                                   Exhibit I-C (i)

Asset Name                       FWE Acct. Code   Lease Number   Area/Block       WI
WEST CAMERON 111 P/F‐F           WC111FCAS           00081         WC111      100.0000%
WEST CAMERON 144 P/F‐B           WC144BPLT          G01953         WC144      100.0000%
WEST CAMERON 225 P/F‐C           WC225PFC           G00900         WC225       26.6675%
WEST CAMERON 289 P/F‐A‐PROCESS   WC289APROC         G04818         WC289      100.0000%
WEST CAMERON 290 P/F‐A           WC290PFA           G04818         WC290       10.3759%
WEST CAMERON 295 P/F‐A           WC295ACAS          G24730         WC295        20.60%
WEST DELTA 068 P/F‐U             WD68UPLT            00180         WD068       75.0000%
WEST DELTA 070 P/F‐D             WD070PFD            00182         WD070       75.0000%
WEST DELTA 070 P/F‐FF            WD070PFFF           00182         WD070       75.0000%
WEST DELTA 070 P/F‐I             WD070PFI            00182         WD070       75.0000%
WEST DELTA 070 P/F‐L             WD070PFL            00182         WD070       75.0000%
WEST DELTA 071 P/F‐E             WD71EPLT            00838         WD071       75.0000%
WEST DELTA 071 P/F‐O             WD071OPLT           00838         WD071       75.0000%
WEST DELTA 075 P/F‐D             WD075PFD           G01085         WD075      100.0000%
WEST DELTA 075 P/F‐F             WD075PFF           G01085         WD075      100.0000%
WEST DELTA 075 P/F‐G             WD075PFG           G01085         WD075      100.0000%
WEST DELTA 090 P/F‐A             WD090PFA           G01089         WD090      100.0000%
WEST DELTA 090 P/F‐B             WD090PFB           G01089         WD090      100.0000%
WEST DELTA 090 P/F‐E             WD090PFE           G01089         WD090      100.0000%
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 388
                                                                                      308 of 531
                                                                                             491
                                                     Exhibit I-C (ii)

                            Name                                 State     County/Parish             Ownership %
Blue Water Gas Plant                                           Louisiana                                0.1000%
Galveston 300/301 Facility                                       Texas        Galveston               100.0000%
Gibbstown Separation Station                                   Louisiana      Cameron                 100.0000%
Grand Bay Receiving Station                                    Louisiana    Plaquemines                65.0000%
Grand Chenier Separation Facility                              Louisiana      Cameron                     5.4%
Grand Chenier Tank Battery                                     Louisiana      Cameron                 100.0000%
Grand Isle Fuel Line (supply line for municipality)            Louisiana      Jefferson               100.0000%
Grand Isle Tank Bat                                            Louisiana      Jefferson                75.0000%
Johnson Bayou Onshore Separation Facility                      Louisiana   Johnson Bayou    24.31% of Co‐Owned Equipment
Johnson Bayou Onshore Separation Facility                      Louisiana   Johnson Bayou   54.875% of Producers' Equipment
MI 519 Bay City Compressor Station                               Texas       Matagorda                 81.8979%
North Terrebonne Gas Processing Plant                          Louisiana     Terrebonne                 0.0000%
Sea Robin Condensate Separation Facility
                                                               Louisiana     Vermilion                8.0000%
(aka "Henry Hub")
Sea Robin Gas Plant                                            Louisiana     Vermilion               23.7285%
Stingray Onshore Separation Facility (Cameron Onshore
                                                               Louisiana     Cameron                 11.1300%
Commingling Facility)
Targa Venice                                                   Louisiana   Plaquemines               100.0000%
Thousand Square Mile Area (TASMA)                              Louisiana     Vermilion               100.0000%
Tivoli Plant                                                     Texas        Refugio                56.1394%
TOCA Gas Processing Plant                                      Louisiana    St. bernard               4.2900%
Venice Dehydration Facility (South Pass Dehydration Station)   Louisiana   Plaquemines               35.2000%
Vermilion 76 Onshore Scrubber                                  Louisiana     Vermilion                 93.9%
                                         Case 20-33948 Document 775-2
                                                                723-1 Filed in TXSB on 01/21/21
                                                                                       01/01/21 Page 389
                                                                                                     309 of 531
                                                                                                            491
                                                                                                   Exhibit I-D (i)



SEGMENTNUMBER           COMPANYNAME             ORGAREA   ORGBLOCK   ORGNAME       RECAREA   RECBLOCK               RECNAME          SIZE PRODUCT                  STATUS                ROWNUMBER   FW Lease:
     15213           Fieldwood Energy, LLC         BS        41             B         BS         42                  24" SSTI         10     G/C               Partial Abandon             G25383     G21142
     17938           Fieldwood Energy, LLC         CA        43            A          VK        247                   24"SSTI         6     GAS                     Active                 G29431     G32268
     3519            Fieldwood Energy, LLC         EC        14            CF         EC          9                      F/S          4    COND                 Out of Service             G13721     G01440
     13104           Fieldwood Energy, LLC         EC         2           F/S         EC          2                   6" SSTI         4     GAS         Permitted for Abandonment          G22383     G15050
     17801           Fieldwood Energy, LLC         EC        14            CF         WC         69                   30 SSTI         12    GAS         Permitted for Abandonment          G28556     G01440
      44             Fieldwood Energy, LLC          EI       175            C          EI       176                  12" SSTI         8      OIL                Out of Service             G13445      00438
     1128            Fieldwood Energy, LLC          EI       330     flanged end       EI       306                14‐inch SSTI       14     OIL                    Active                 G02139A    G02115
     6818            Fieldwood Energy, LLC          EI       337           A           EI       330                       B           6     GAS                 Out of Service             G05932     G03332
     6819            Fieldwood Energy, LLC          EI       337           A           EI       330                   14 SSTI         6      OIL                Out of Service             G05931     G03332
     6852            Fieldwood Energy, LLC          EI       315           A           EI       330                   14 SSTI         6      OIL                Out of Service             G13447     G02112
     7290            Fieldwood Energy, LLC          EI       316           A           EI       330                   14 SSTI         8      OIL                    Active                 G07537     G05040
     7347            Fieldwood Energy, LLC          EI       316           A           EI       330                   8" SSTI         6     GAS                     Active                 G07555     G05040
     7914            Fieldwood Energy, LLC          EI       212           A          SS        152                   24 SSTI         6     GAS                 Out of Service             G08530     G05503
     7915            Fieldwood Energy, LLC          EI       212           A           EI       213                   12 SSTI         6      OIL                Out of Service             G08531     G05503
     7943            Fieldwood Energy, LLC          EI       342            C          EI       327                   08 SSTI         4      OIL                Out of Service             G08541     G02319
     9211            Fieldwood Energy, LLC          EI       53             B          EI        64                   22 SSTI         6      G/C               Partial Abandon             G12373      00479
     9376            Fieldwood Energy, LLC          EI       142           A           EI        141                  10 SSTI         4      OIL                Out of Service             G12734      00052
     11923           Fieldwood Energy, LLC          EI       53             C          EI        64                   22 SSTI         10     G/C                Out of Service             G20539      00479
     14073           Fieldwood Energy, LLC          EI       188           JE          EI       188                   06 SSTI         4     BLKG                Out of Service             G29056      00443
     14479           Fieldwood Energy, LLC          EI       158            C          EI       176                   12"SSTI         6      OIL                Out of Service             G13702     G01220
     15906           Fieldwood Energy, LLC          EI       173           G           EI       175                       C           4     BLKO                Out of Service             G28239     G13622
     16225           Fieldwood Energy, LLC          EI       354           D           EI       337                       A           4      OIL                Out of Service             G28598     G10752
     16226           Fieldwood Energy, LLC          EI       354           D           EI       337                       A           4     GAS                 Out of Service             G28599     G10752
     16243           Fieldwood Energy, LLC          EI       189            B          EI       188                       A           4     GAS                 Out of Service             G29057      00423
     18493           Fieldwood Energy, LLC          EI       342            C          EI       343                     SSTI          6     GAS                 Out of Service             G29108     G02319
     19960           Fieldwood Energy LLC           EI       342            C          EI       342                Blind Flange       6      OIL                Out of Service              G29471    G02319
       ‐             Fieldwood Energy, LLC          EI       187            2          EI       187                       2                                         Active                 G30283     G10736
     8487            Fieldwood Energy, LLC         EW        826           A          ST        300                   12 SSTI        12     OIL                 Out of Service             G10110     G05800
     15298           Fieldwood Energy, LLC         GA        210            B         GA        239                   12 SSTI         8     G/C                     Active                 G26931     G25524
     7866            Fieldwood Energy, LLC         GI        33            A          GI         22                       L           8    GAS      Permitted for Abandonment Approved     G08514     G04002
     9084                GOM Shelf, LLC            GI        43           AS          GI         19                      F/S         10     OIL                     Active                 G12304      00175
     17673           Fieldwood Energy, LLC         GI        54            #2         GI         47                       L           4    BLKO     Permitted for Abandonment Approved     G28528     G27173
     5470            Fieldwood Energy, LLC          HI      A356         Valve         HI       A343                    HIOS         12    GAS                  Out of Service             G04050     G02754
     6504            Fieldwood Energy, LLC          HI      A595           D           HI       573                       B           8     OIL                 Out of Service             G28525     G02721
     6669            Fieldwood Energy, LLC          HI      A 376          A           HI      A 356                  12 SSTI        10    GAS                  Out of Service             G05238     G02754
     6669            Fieldwood Energy LLC           HI      A 376     Platform A       HI      A 356           12 SSTI W/PSN 10882   10    GAS                  Out of Service             G05238     G02754
     10882           Fieldwood Energy, LLC          HI      A356        10SST          HI       A356                   12SSTI        12    GAS                  Out of Service             G04051     G02754
     11841           Fieldwood Energy, LLC          HI      A 545          JA          HI      A 547                      B           6    BLKG         Permitted for Abandonment          G20510     G17199
     14650           Fieldwood Energy, LLC          HI       201           #1          HI       199                       A           6    BLKG                Partial Abandon             G25397     G23199
     15401           Fieldwood Energy, LLC          HI      A 341           B          HI      A 340                 30" SSTI        812    G/C                     Active                 G26938     G25605
     15581           Fieldwood Energy, LLC          HI       120           A           HI       128                     SSTI          6     G/C                 Out of Service             G26968     G09100
     16077           Fieldwood Energy, LLC          HI       130           #2          HI       165                 8‐inch SSTI       8    BLGH                Partial Abandon             G28284     G25579
     18789           Fieldwood Energy LLC           HI       116      Platform A       HI        71                16‐inch SSTI      16     G/C                     PABN                   G28649     G06156
     9032            Fieldwood Energy, LLC         MC        311           A          MC        312                    8 SSTI         8     OIL                     Active                 G11747     G02968
     3472            Fieldwood Energy, LLC         MP        140            B         MP         56                      F/S         18    BLKG                 Out of Service             G13511     G02193
     5917                GOM Shelf, LLC            MP        311           A          MP         313                  12 SSTI         8     OIL                 Out of Service             G13466     G02213
     7143            Fieldwood Energy, LLC         MP        310           A          MP         297                  12 SSTI         6     OIL                 Out of Service             G07100     G04126
     13100           Fieldwood Energy, LLC         MP        259           A          VK         739                    #01           5    UMB                  Out of Service             G22377     G07827
     15818      Fieldwood Energy Offshore LLC      MP        77            A          MP         151                  18"SSTI         8    GAS                  Out of Service             G28221     G04481
     5408            Fieldwood Energy, LLC         PL        10             B         PL         13                   20 SSTI         8     OIL                 Out of Service             G09317     G02925
     16044           Fieldwood Energy, LLC         PL         9           #10         PL         10                       B           6    BLKG                 Out of Service             G28276     G02924
     4008            Fieldwood Energy, LLC         SM        268           A          SS         28                       A          12     OIL                 Out of Service             G02816     G34284
     4647            Fieldwood Energy, LLC         SM        149        6"SSTI        SM        132                       B           6    BLKO                 Out of Service             G03432     G02592
     5427            Fieldwood Energy, LLC         SM        281            E         SM        268                       A          12    SPLY                 Out of Service             G02817     G02600
     5429            Fieldwood Energy, LLC         SM        281            C         SM        281                   12 SSTI        10    SPLY                 Out of Service             G02817     G02600
     6512            Fieldwood Energy, LLC         SM        281            C         SM        268                       D          10    BLKO                 Out of Service             G29131     G02600
     6513            Fieldwood Energy, LLC         SM        268           D          SM        268                       A          10    BLKO                 Out of Service             G29132     G02310
     10977           Fieldwood Energy, LLC         SM        268           A          SM        280                     #03           3    BLKG                     Active                 G28756     G14456
     11046           Fieldwood Energy, LLC         SM        11      Well No.34       SM         10                       A           6    BLKG                 Out of Service             G28813     G01182
     11047           Fieldwood Energy, LLC         SM        10            A          SM         11                      34           3     LIFT                Out of Service             G28812     G01181
     11986           Fieldwood Energy, LLC         SM        39            A          SM         33                   30 SSTI         8    GAS                  Out of Service             G20565     G16320
     11987           Fieldwood Energy, LLC         SM        39            A          SM         40                   10 SSTI         6     OIL                 Out of Service             G20566     G16320
     13642           Fieldwood Energy, LLC         SM        280           H          SM        268                       A          10    BLKG         Permitted for Abandonment          G28758     G14456
                                         Case 20-33948 Document 775-2
                                                                723-1 Filed in TXSB on 01/21/21
                                                                                       01/01/21 Page 390
                                                                                                     310 of 531
                                                                                                            491
                                                                                                     Exhibit I-D (i)



SEGMENTNUMBER           COMPANYNAME             ORGAREA   ORGBLOCK    ORGNAME        RECAREA   RECBLOCK                 RECNAME        SIZE PRODUCT             STATUS            ROWNUMBER   FW Lease:
     17499           Fieldwood Energy, LLC         SM        269            B           SM        268                         A         10    GAS                Active             G28484     G02311
     18057           Fieldwood Energy, LLC         SM        11      No.58 Caisson      SM         10                         A         4     BLKG           Out of Service         G28815     G01182
     18510           Fieldwood Energy, LLC         SM        10             A           SM        287                        SSTI       6     GAS            Out of Service         G29113     G01181
     18563           Fieldwood Energy, LLC         SM        48              E          SM         39                         A         6      G/C           Out of Service         G29128      00786
     18583           Fieldwood Energy, LLC         SM        10             A           SM         11                        SSTI       4      OIL           Out of Service         G28814     G01181
     18802           Fieldwood Energy, LLC         SM        39             A           SM         48                          E        3      LIFT          Out of Service         G29182     G16320
     4716            Fieldwood Energy, LLC         SP        70             C           SP         60                          B        8     GAS                Active             G03436     G01614
     15064           FW GOM Pipeline, Inc.         SP        49             A           SP         27                  F/S Boundary     10    G/O                Active             G07561     G05051
     15598           Fieldwood Energy, LLC         SP        70             C           SP         60                          E        6      OIL           Out of Service         G26860     G01614
     15626           Fieldwood Energy, LLC         SP        65             A           SP         62                      18 SSTI      8      OIL           Out of Service         G01686A    G01610
     1137            Fieldwood Energy, LLC         SS        207      A Platform        SS        204                         A         4     GAS            Out of Service         G13489     G01523
     1138            Fieldwood Energy, LLC         SS        204            A           SS        207                         A         6     G/O            Out of Service         G13491     G01520
     1147            Fieldwood Energy, LLC         SS        207            A           SS        208                     F‐Pump        12     OIL           Out of Service         G13492     G01523
     6432            Fieldwood Energy, LLC         SS        182            A           SS        169                      18 SSTI      6      OIL               Active             G09321     G03998
     6538            Fieldwood Energy, LLC         SS        91             A           PL         11                      08 SSTI      6      OIL           Out of Service         G05146     G02919
     6748            Fieldwood Energy, LLC         SS        169      C Platform        SS        169                   18‐inch SSTI    6      OIL           Out of Service         G09322      00820
     7650            Fieldwood Energy, LLC         SS        178            A           SS        169                      18 SSTI      6      OIL           Out of Service         G08054     G05551
     8204       Fieldwood Energy Offshore LLC      SS        80             A            EI       125                      30 SSTI      6      G/C           Out of Service         G09330      00051
     10406           Fieldwood Energy, LLC         SS        274            A            EI       259                         A         8      OIL               Active             G14731     G01039
     10780           Fieldwood Energy, LLC         SS        193            A           SS        183                      18 SSTI      6      OIL               Active             G15683     G13917
     10781           Fieldwood Energy, LLC         SS        193            A           SS        183                      10 SSTI      6     GAS                Active             G15684     G13917
     11137           Fieldwood Energy, LLC         SS        129            A           SS        122                      18 SSTI      6      OIL           Out of Service         G16084     G12941
     11145           Fieldwood Energy, LLC         SS        129            A           SS        149                       6 SSTI      6      G/C           Out of Service         G16087     G12941
     11480           Fieldwood Energy, LLC         SS        105            A            EI       165                      30 SSTI      10    GAS            Out of Service         G18801     G09614
     11544           Fieldwood Energy, LLC         SS        126            B           SS        105                         A         6     BLKG           Out of Service         G18820     G12940
     12778           Fieldwood Energy, LLC         SS        189            A           SS        185                      26"SSTI      8      G/C           Out of Service         G22139     G04232
     15530           Fieldwood Energy, LLC         SS        183        Flange          SS        169                      Flange       10    GAS            Out of Service         G01460     G13917
     16036           Fieldwood Energy, LLC         SS        190      Capped End        SS        207                         A         4     BLKO    Permitted for Abandonment     G14734     G10775
     18837           Fieldwood Energy, LLC         SS        176            C            EI       212                         A         6     BLKG           Out of Service         G29190     G33646
     20050           Fieldwood Energy, LLC         SS        168           SSTI         SS        168                        SSTI       6                      Proposed             G28788      00820
     5890            Fieldwood Energy, LLC         ST        53             A           ST         52                         A         6      OIL           Out of Service         G09319     G04000
     7802            Fieldwood Energy, LLC         ST        295            A           ST        296                     SS 8487        8     OIL               Active             G08385     G05646
     8676            Fieldwood Energy, LLC         ST        206            A           ST        175                        T‐22       16     G/C           Out of Service         G11146     G05613
     9313            Fieldwood Energy, LLC         ST        295            A           ST        295                      24 SSTI      8     GAS                Active             G12709     G05646
     13462           Fieldwood Energy, LLC         ST        205            G           ST        206                         A         8     BLKG           Out of Service         G028821    G05612
     13462           Fieldwood Energy LLC          ST        205            G           ST        206                         A         8     BLKG           Out of Service          G29451    G05612
     17265           Fieldwood Energy, LLC         ST        68      Caisson No. 1      ST         53                         A          6    BLKO           Out of Service         G28385     G04000
     17898           Fieldwood Energy, LLC         ST        49       Platfrom A        ST         35                   6‐inch SSTI     4      OIL           Out of Service         G28577     G24956
     19776           Fieldwood Energy, LLC         ST        295       24" SSTI         ST        292                         A         24    GAS                Active             G29376     G05646
     13098           Fieldwood Energy, LLC         VK        694           #04          MP        259                         A          4    BLKG           Out of Service         G22376     G13055
     13099           Fieldwood Energy, LLC         VK        739          SS #3         MP        259                         A          4    BLKG           Out of Service         G22377     G07827
     13720           Fieldwood Energy, LLC         VK        340         8"SSTI         VK        251                         A         8     BLGH               Active             G28221     G04481
     13720      Fieldwood Energy Offshore LLC      VK        340      8‐inch SSTI       VK        251                    Platform A     8     BLGH               Active             G28703     G10933
     13721           Fieldwood Energy, LLC         VK        251            A           VK        340                         A          3     AIR               Active             G28704     G10930
     14876           Fieldwood Energy, LLC         VK        251            A           MP        154                         A          4    H2O                Active             G22465     G10930
     6113            Fieldwood Energy, LLC         VR        380            A           VR        397                      24 SSTI      12    GAS            Out of Service         G04645     G02580
     12502           Fieldwood Energy, LLC         VR        326      A Platform        VR        321                   22‐inch SSTI    6      G/C           Out of Service         G21523     G21096
     17090           Fieldwood Energy, LLC         VR        261            A           VR        265                         A         8     BLKO           Out of Service         G28347     G03328
     18502           Fieldwood Energy, LLC         VR        380            A           VR        398                     16" SSTI      6      OIL           Out of Service         G02919     G02580
     18502           Fieldwood Energy LLC          VR        380      Platform A        VR        398                   16‐inch SSTI    6      OIL           Out of Service         G29109     G02580
     2698            Fieldwood Energy, LLC         WC        102         flange         WC        102                         G          8    GAS            Out of Service         G02124D     00247
     3763            Fieldwood Energy, LLC         WC        102           #02          WC        102                      08 SSTI      8     GAS            Out of Service         G02124D     00247
     3986            Fieldwood Energy, LLC         WC        66             A           WC         31                        F/S        10    G/O                Active             G03345     G01860
     5343            Fieldwood Energy, LLC         WC        34             D           WC         35                      10 SSTI      8     G/O            Out of Service         G28659     G01860
     8621           Bandon Oil and Gas, LP         WC        290            A           WC        289                         A          6    BLKG           Out of Service         G10532     G04818
     9504            Fieldwood Energy, LLC         WC        71         12 SSTI         WC         71                      12 SSTI      12    GAS            Out of Service         G04346      00244
     14251      Fieldwood Energy Offshore LLC      WC        72             #1          WC         65                         JA         4    BLKG           Out of Service         G25275     G23735
     15210           Fieldwood Energy, LLC         WC        295             2           HI       120                   A‐PROCESS       6     BLKG           Out of Service         G26886     G24730
     15952           Fieldwood Energy, LLC         WC        33             O           WC         34                         D         4     G/O            Out of Service         G28657     G15050
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 391
                                                                                      311 of 531
                                                                                             491
                                                                  Exhibit I-D (ii)


Area   Block No.    Structure   Complex ID No. Authority No. FW Lease        Operator          Approval Date             Associated Assets
EI       188           JE           26052         G30268     G10736     Fieldwood Energy LLC     04/18/14      EI 187 JC001, JD001, JD002, 002 & JE002
HI       120       A-PROCESS        10450         G30270     G01848     Fieldwood Energy LLC     08/06/14               WC 295 A001 & A002
SM       132           B            21982         G30329     G02282     Fieldwood Energy LLC     05/06/19      SM 136 C007, SM 149 C001, C002 & C004
ST       206           A            23851         G30291     G05612     Fieldwood Energy LLC     12/11/15                ST 205 G001 & G003
SM        10           A            20706         G30365     G01181     Fieldwood Energy LLC
             Case 20-33948 Document 775-2
                                    723-1 Filed in TXSB on 01/21/21
                                                           01/01/21 Page 392
                                                                         312 of 531
                                                                                491
                                          Exhibit I-E

Call Sign:
KKS457
WQFI654
WQGX432
WPSH741
KNDQ614
WPXX340
                Case 20-33948 Document 775-2
                                       723-1 Filed in TXSB on 01/21/21
                                                              01/01/21 Page 393
                                                                            313 of 531
                                                                                   491
                                                            Exhibit I-F




Contract Type          Contract Date              Contract Title                                                  Contract Description
    Land                 8/7/1953                      UA                    HI 179 Unit Agreement
    Land                10/27/1954     Unit Agreement No. 14‐08‐001‐20221    Grand Isle CATCO Unit Agreement, dated October 27, 1954, between Continental Oil Company and
                                                                             The Atlantic Refining Company, Tide Water Associated Oil Company and Cities Service Oil
                                                                             Company.; Unit No. 891002021

    Land                 5/1/1995           Unit Operating Agreement
                                                                             Amendment‐to Unit Operating Agreement, dated effective May 1, 1995, by and between Conoco
                                                                             Inc.,Vastar Resources, Inc., Texaco Exploration and Production Inc. and Oxy USA Inc.

    Land                11/21/1955     Unit Agreement No. 14‐08‐001‐2454     West Delta‐Grand Isle Unit Agreement, dated November 21,1955, between Continental Oil
                                                                             Company, as unit operator, and The Atlantic Refining Company, Tidewater Associated Oil Company
                                                                             and.Cities Service
                                                                             Production Company, as non‐operators, as amended ; Unit No. 891002454
    Land                4/10/1956              Unit Agreement                Unit No. 891002891
    Land                12/4/1958           OPERATING AGREEMENT              OPERATING AGREEMENT BY AND BETWEEN THE TEXAS COMPANY AND PAN AMERICAN
                                                                             PETROLEUM CORPORATION , AS AMENDED
    Land                12/4/1958             Operating Agreement            Operating Agreement eff. 12/4/58
    Land                7/25/1960             Operating Agreement            Operating Agreement, dated effective July 25,1960, as amended, between Second Mobil Oil
                                                                             Company, Inc., Gulf Oil 'Corporation, and Humble Oil & Refining Company, as amended, SS 169
                                                                             Field.
    Land                8/3/1964                      UOA                    Operating Agreement eff. 8‐3‐64
    Land                11/2/1964                      UA                    EI 266 Unit Agreement
    Land                1/12/1965          Joint Operating Agreement         Main Agreement, dated effective January 12,1965, between Cities Service Oil Company, Skelly Oil
                                                                             Company, Sunray DX Oil Company and Tidewater Oil Company, governing operations on the
                                                                             contract area. The Operating Agreement contained in Exhibit "C" of the Main Agreement was
                                                                             superseded by the Joint Operating Agreement listed below.


    Land                1/21/1966      Unit Agreement No. 14‐08‐001‐8784     Unit No. 891008784
    Land                2/26/1966        Offshore Operating Agreement        Operating Agreement by and between Hardy Oil & Gas USA Inc., As Operator and British‐Borneo
                                                                             Exploration, Inc. and Zilkha Energy Company, As Non‐Operators
    Land                6/10/1966      Unit Operating Agreement Ship Shoal   SS 271 Unit Operating Agreement (Unit#891008784) As Amended, originally by and between
                                                                             Forest Oil Corp. as Operator, and Texas Gas Exploration Corp. et al as Non‐Operators


    Land                 2/6/1967          Joint Operating Agreement         OPERATING AGREEMENT BY AND BETWEEN CONTINENTAL OIL COMPANY AND TENNECO OIL
                                                                             COMPANY ET AL, AS AMENDED
    Land                 1/1/1971          Joint Operating Agreement         PENNZOIL OFFSHORE GAS OPERATORS, INC., MESA PETROLEUM CO., ET AL.
    Land                 2/1/1971          Joint Operating Agreement         Operating Agreement, dated February 1,1971, between Tenneco Oil Company and Texaco Inc.
                                                                             Amendment to Operating Agreement, dated effective May 1,1974, between Tenneco Oil
                                                                             Company, Texaco Inc. and Tenneco Exploration 11, Ltd., whereby Tenneco Exploration II became a
                                                                             party to, and ratified, the operating agreement.
    Land                 1/1/1972          Joint Operating Agreement         OPERATING AGREEMENT BY AN D BETWEEN SIGNAL OIL AND GAS COMPANY AND THE LOUISIANA
                                                                             LAND AND EXPLORATION COMPANY, ET AL.
    Land                3/24/1972                Unit Agreement              SP 65 G G‐1 Unit Res B Unit Agreement
    Land                5/18/1972                Unit Agreement              SP 65 G G‐1 Unit Res A Unit Agreement
    Land                5/18/1972                Unit Agreement              SP 65 G2‐G3 Unit Agreement
    Land                1/1/1973          Offshore Operating Agreement       Offshore Operating Agreement* (VR 369/386+)
                                                                             *Unit Operating Agreement supersedes JOperating Agreement 1/1/1973
    Land                 8/1/1973          Joint Operating Agreement         OPERATING AGREEMENT BY AND BETWEEN MOBIL OIL CORPORATION AND UNION OIL COMPANY
                                                                             OF CALIFORNIA ET AL
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 394
                                                                   314 of 531
                                                                          491
                                                Exhibit I-F


Land           8/1/1973       Offshore Operating Agreement       Operating Agreement eff. 8‐1‐73
Land           8/1/1973       Offshore Operating Agreement       Operating Agreement eff. 8‐1‐73
Land           8/1/1973       Offshore Operating Agreement       Operating Agreement eff. 8/1/73
Land           8/1/1973       Offshore Operating Agreement       Operating Agreement eff. 8/1/73
Land           5/1/1974         Joint Operating Agreement        OPERATING AGREEMENT BY AND BETWEEN PENNZOIL OFFSHORE GAS OPERATORS, INC. AND
                                                                 PENNZOIL LOUISIANA AND TEXAS OFFSHORE, INC. ET AL
Land           7/1/1974         Joint Operating Agreement        OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                 UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                 PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land           7/1/1974         Joint Operating Agreement        OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                 UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                 PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land           7/1/1974         Joint Operating Agreement        OPERATING AGREEMENT DATED JULY 1, 1974, BY AND BETWEEN MOBIL OIL CORPORATION,
                                                                 UNION OIL COMPANY OF CALIFORNIA, TEXAS GAS EXPLORATION CORPORATION, AMOCO
                                                                 PRODUCTION COMPANY AND NORTHWEST MUTUAL LIFE INSURANCE COMPANY, AS AMENDED.

Land           9/3/1974                    FO                    Farmout Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                 Corporation and Forest Oil Corporation
Land          12/1/1974         Joint Operating Agreement        PENNZOIL OFFSHORE GAS OPERATORS, INC. AND PENNZOIL LOUISIANA AND TEXAS OFFSHORE,
                                                                 INC. ET AL
Land          4/23/1975         Joint Operating Agreement        Operating Agreement eff. 4‐23‐75
Land          3/1/1976          Joint Operating Agreement        Operating Agreement eff. 3‐1‐76 b/b POGO, Mesa and Mobil, et al
Land          4/1/1976          Joint Operating Agreement        Operating Agreement eff. 4‐1‐76 as amended
Land          4/1/1977          Unit Operating Agreement         UNIT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION , APACHE
                                                                 CORPORATION, ET AL.
Land           4/1/1977    Unit Agreement No. 14‐08‐0001‐16943   Unit Agreement, JD Sand, Reservoir A, Eugene Isiand Block 330 Field (Unit Number 891016943),
                                                                 dated effective April 1,1977, naming Pennzoil Oil & Gas, Inc., as Operator, and Texaco Inc. and
                                                                 Shell Oil Company, as sub‐operators
Land          12/12/1977             Unit Agreement              Unit Agreement (VR 369 Unit Area) 12/12/1977
Land          12/23/1977        Unit Operating Agreement         Unit Operating Agreement* (VR 369 Unit Area)
                                                                 *UOperating Agreement supersedes JOperating Agreement 12/23/1977
Land           1/1/1978                   UOA                    HI 179 Unit Operating Agreement
Land           5/2/1978                    FO                    FARMOUT AGREEMENT EFFECTIVE MAY 2, 1978, BY AND BETWEEN ENSERCH, FARMOR, AND
                                                                 ANADARKO, FARMEE.
Land           11/1/1978                   OA                    Operating Agreement eff. 11/1/78
Land          11/17/1978                   FO                    Farmout Agreement dated November 17,1978 between Gulf Oil Corporation and Shell Oi!
                                                                 Company covering the Northeast Quarter (NE/4) of that certain Oil and Gas Lease dated July
                                                                 1,1967 bearing Serial No. OCS‐G 1609, South Pass Area Block 61.
Land           3/1/1979         Joint Operating Agreement
                                                                 OPERATING AGREEMENT DATED MARCH 1, 1979, BY AND BETWEEN UNION OIL COMPANY OF
                                                                 CALIFORNIA AND MOBIL OIL EXPLORATION & PRODUCTION SOUTHEAST INC.
Land          9/15/1979         Joint Operating Agreement        OPERATING AGREEMENT EFFECTIVE SEPTEMBER 15, 1979, BY AND BETWEEN ANADARKO
                                                                 PRODUCTION CO, AS OPERATOR, AND PAN EASTERN EXPLORATION COMPANY, DIAMOND
                                                                 SHAMROCK CORPORATION, COLUMBIA GAS DEVELOPMENT CORPORATION, TEXASGULF, INC, AND
                                                                 SAMEDAN OIL CORPORATION, NON‐OPERATORS.
Land          12/1/1979     OFFSHORE OPERATING AGREEMENT         OFFSHORE OPERATING AGREEMENT b/b SHELL OIL COMPANYand FLORIDA EXPLORATION
                                                                 COMPANY, ET AL
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 395
                                                                   315 of 531
                                                                          491
                                                 Exhibit I-F


Land           4/1/1981          Unit Operating Agreement        Unit Operating Agreement; dated April 1,1981, by and between Conoco Inc., Atlantic Richfield
                                                                 Company, Getty Oil Company, Cities Service Company, Placid Oil Company, Hamilton Brother Oil
                                                                 Company, Mobil Oil Exploration and Producing S.E., Inc., Gulf Oil Corporation, Hunt Oil Company,
                                                                 Highland Resources, Inc., Hunt Industries and Prosper Energy Corporation, comprising all working
                                                                 interest owners in the Ship ShOperating Agreementl Blocks 206, 207„OCS‐G:i523:ahd OCS‐G 1523,
                                                                 respectively.
Land           9/1/1981         Joint Operating Agreement        Operating Agreement 9/1/1981
Land           9/1/1981         Joint Operating Agreement        Offshore Operating Agreement 9/1/1981
Land           1/1/1982         Joint Operating Agreement        OPERATING AGREEMENT BY AND BETWEEN SOHIO PETROLEUM COMPANY AND EXXON
                                                                 CORPORATION
Land          4/28/1982              Letter Agreement            Letter Agreement dated April 28,1982 between Gulf Oil Corporation and Shell Oil Company
                                                                 evidencing an agreement for Gulf Oil Company to install a Drilling Platform in the Northeast
                                                                 Quarter (NE/4) South Pass Area Block 61.
Land          11/1/1982        UNIT AGREEMENT FOR OUTER
                              CONTINENTAL SHELF, 'N' SERIES      UNIT AGREEMENT BY AND BETWEEN CONOCO INC. AND CITIES SERVICE COMPANY ET AL
Land           1/1/1983                  ORRI                    Conveyance of Overriding Royalty Interests, dated effective January 1,1983, creating the Tel
                                                                 Offshore Trust, and granting an overriding royalty interest, equivalent to 25% net profits interest,
                                                                 in all of Tenneco Exploration, Ltd.'s oil and gas properties
Land           7/1/1983                    UOA                   EI 212 Unit Operating Agreement
Land           8/4/1983      Area of Mutual Interest Agreement
                                                                 Area of Mutual Interest Agreement effective August 4, 1984 BY AND BETWEEN APACHE
                                                                 CORPORATION AND SHELL OFFSHORE CONTIGUOUS BLOCK TO SHELL VENTURE PROPERTY THAT
                                                                 MAY TRIGGER AMI RESPONSIBILITY REGARDING FUTURE PURCHASE OR BID OF TRACTS COVERING
                                                                 GEOLOGIC STRUCTURE COMMON TO EXISTING SHELL VENTURE PROPERTY
Land           7/1/1984              Unit Agreement              UNIT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND FLORIDA EXPLORATION
                                                                 COMPANY ET AL
Land           7/1/1984                   UOA                    MP 310 Unit Operating Agreement
Land           1/1/1985                    OA                    Operating Agreement eff. 1/1/85
Land           6/3/1985              Consent to Assign           Consent to Assignment of Interest, dated June 3,1985, between Tenneco Exploration, Ltd. and
                                                                 Texaco Inc., as Grantors of Consent, and Huffco Petroleum, as Assignor, and L. S. Holding
                                                                 Company, AE Investments, Inc., Colton Gulf COperating Agreementst, Inc., and Huffco 1982
                                                                 Exploration Limited Partnership, as Assignees, assigning all of Huffco Petroleum's record title
                                                                 interest to the Assignees.
Land           5/1/1986                Assignment                Assignment, dated effective May 1,1986, whereby Tenneco Exploration, Ltd. transferred all of its
                                                                 interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to Plumb Offshore, Inc.,
                                                                 subject to the reservation of an overriding royalty interest.

Land           7/2/1986           FARMOUT AGREEMENT              Farmout Agreement 7/2/1986
Land          10/31/1986              Assignment                 Assignment of Interest, dated effective October 31,1986, whereby Tenneco Exploration, Ltd.
                                                                 transferred all of its interests in Block 342, Eugene Island Area, Official Leasing Map No. 4A, to
                                                                 Tenneco Oi! Company.
Land          11/2/1987    SIMULTANEOUS EXCHANGE AGREEMENT
                                                                 EXCHANGE AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC AND CONOCO INC
Land           3/3/1988                     PA                   PARTICIPATION AGREEMENT EFFECTIVE MARCH 3, 1988, BY AND BETWEEN WESTPORT OIL AND
                                                                 GAS COMPANY, INC, AND BASIN EXPLORATION, INC.
Land           6/7/1988                   UA                     EI 212 Unit Agreement
Land          10/31/1988                  FO                     Farmout Agreement 10/31/1988
Land           1/1/1989          OPERATING AGREEMENT             WD/GI UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC
                                                                 RICHFIELD COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             GI CATCO UOA ‐ CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC
                                                                 RICHFIELD COMPANY ET AL
Land           1/1/1989          OPERATING AGREEMENT             CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                                 COMPANY ET AL
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 396
                                                                   316 of 531
                                                                          491
                                              Exhibit I-F


Land           1/1/1989       OPERATING AGREEMENT           CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                            COMPANY ET AL
Land           1/1/1989       OPERATING AGREEMENT           CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                            COMPANY ET AL
Land           1/1/1989       OPERATING AGREEMENT           CATCO OPERATING AGREEMENT BY AND BETWEEN CONOCO INC. AND ATLANTIC RICHFIELD
                                                            COMPANY ET AL
Land           1/1/1989                 UOA                 EI 266 Unit Operating Agreement
Land           1/1/1989                  OA
                                                            CATCO Operating Agreement eff. 1/1/89 by and between Conoco, Richfield , Texaco, et al
Land          1/1/1989                    OA                Operating Agreement 1/1/89
Land          3/10/1989                   FO                Ratification of Farmout Agreement 3/10/1989
Land          5/2/1989            Letter Agreement          Letter Agreement, dated May 2, 1989, between Southern Natural Gas Company and Chevron
                                                            U:S.A. Inc.,concerning the "Construction, Installation, Operation and Maintenance of Measurement
                                                            and Pipeline Facilities "
                                                            for receipt points at various locations on the OCS, including Main Pass 77 'A' platform (as
                                                            amended). Consent Sec. 1O.
Land           7/1/1989                  OA                 Operating Agreement eff. 7/1/89
Land          12/15/1989                 FO                 FARMOUT AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC., ET AL. AND CNG PRODUCING
                                                            COMPANY
Land          7/1/1990                UA & UOA              MP 259 Unit Agreement and Unit Operating Agreement
Land          10/1/1990       Joint Operating Agreement     RATIFICATION AND AMENDMENT NUMBER 1 TO JOINT OPERATING AGREEMENT DATED OCTOBER
                                                            1, 1990, BY AND BETWEEN CONOCO INC. AND TEXAS PRODUCING INC.
Land           1/1/1991                  PA                 Offshore Participation Agreement, dated effectiveJanuary 1,1991, between Unocal Exploration
                                                            Corporation, The Northwestern Mutual Life Insurance Company, and Hardy Oil & Gas USA Inc., BA
                                                            A105.
Land          4/15/1991                   OA                Operating Agreement eff. 4‐15‐91 b/b Conoco and Shell
Land          5/1/1991        Joint Operating Agreement     JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND PRODUCTION INC.,
                                                            MOBIL OIL EXPLORATION & PRODUCING SOUTHEAST ET AL
Land          5/30/1991                  UA                 UNIT AGREEMENT, SOUTH TIMBALIER BLOCK 295 FIELD UNIT BY AND BETWEEN SHELL OFFSHORE
                                                            INC. AND APACHE CORPORATION, ET AL.
Land          6/12/1991                   UA                ST 295 UA EFF, 6‐12‐91
Land          8/15/1991                   OA                HI A442 Operating Agreement C‐02‐0004194
Land          9/10/1991           Letter Agreement          LETTER AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND EXXON
                                                            CORPORATION
Land          10/1/1991                  FO                 FO and Operating Agreement dated 10/1/91 between Torch Energy Advisors Inc etal and Hall‐
                                                            Hosuton Oil Company
Land           4/1/1992            Unit Agreement           Unit Agreement for Outer Continental Shelf Exploration, Development and. Production Operations
                                                            on the South Pass Block 60 Unit (Blocks.6,17, 59, 60, 66 and 67) South Pass Area, Offshore
                                                            Louisiana Outer Continental Shelf, Contract No. 754394018, as amended

Land           4/1/1992            Unit Agreement           Amendment to Unit Agreement. For Outer Continental Shelf Exploration, Development and
                                                            Production Operations on the South Pass Block 60 Unit (Blocks 6,17, 59, 60, 66 and 67) South Pass
                                                            Area, Offshore Louisiana Outer Continental Shelf (Contract No. 754394018) to expand the Unit
                                                            Agreement to include the NE/4 of the NW/4 of Block 61, OCS‐G 1609, South. Pass Area.

Land           5/2/1992                ABOS                 Agreement and Bill of Sale, dated effective May 2,1992, between Union Oil Company of California,
                                                            as Seller, and The Northwestern Mutual Life Insurance Company and Hardy Oil & Gas USA Inc., as
                                                            Buyers, selling 43.75% interest in the BA A‐105 "A" Platform, equipment arid pipeline, to NW
                                                            Mutual 31.25%, and Hardy 12.50%.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 397
                                                                   317 of 531
                                                                          491
                                                   Exhibit I-F


Land          6/25/1992               Letter Agreement             Letter Agreement, dated June 25, 1992, between Chevron U.S.A. Inc. ("Chevron") and Southern
                                                                   Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart Recorders
                                                                   Permit ‐ Various Meter Stations, Offshore Louisiana ", whereby Chevron obtained consent from
                                                                   Southern for Chevron to connect, operate and maintain pneumatic chart recorders on various of
                                                                   Southern's existing meter stations, offshore, Louisiana (including Main Pass Area Block 77 "A"
                                                                   platform).
Land           7/1/1992           Joint Operating Agreement        JOINT OPERATNG AGREEMENT BY AND BETWEEN ATLANTIC RICHFIELD COMPANY AND SAMEDAN
                                                                   OIL CORPORATION
Land          7/1/1992                        OA                   Operating Agreement 7‐1‐92 b/b Kerr‐McGee and Samedan
Land          1/1/1993            Unit Operating Agreement         Unit Operating Agreement eff. 1‐1‐93
Land          2/15/1993               Letter Agreement             Letter Agreement, dated effective February 15, 1993, between Chevron U.S.A. Inc. ("Chevron") and
                                                                   Southern Natural Gas Company ("Southern"), concerning the "Interconnection of Pneumatic Chart
                                                                   Recorders Permit ‐
                                                                   Various Meter Stations, Offshore Louisiana", whereby Chevron and Southern agree to amend and
                                                                   replace Exhibit "A" to that certain Letter Agreement, dated June 25, 1992 (described hereinabove).

Land           4/2/1993                     ABOS                   Bill of Sale, dated April 2, 1993, from Southern Natural Gas Company ("Southern") to Chevron
                                                                   U.S.A. Inc.("Purchaser"), whereby Southern sells to Purchaser certain Barton chart recorders and
                                                                   appurtenant equipment
                                                                   located at various on various of Southern's existing meter stations, offshore, Louisiana (including
                                                                   Main Pass Area Block 77 "A" platform).
Land           5/7/1993               Letter Agreement
                                                                   Letter Agmt. dated 5‐7‐1993 b/b Shell Offshore Inc. and Freeport McMoRan Oil and Gas Company.
Land          6/1/1993                        FO                   Farmout Agmt. eff. 6‐1‐1993 b/b Shell Offshore Inc. and Samedan Oil Coporation.
Land          6/11/1993           Joint Operating Agreement        Operating Agreement eff. 6‐11‐1993 b/b Samedan Oil Corporation and British Borneo Exploration
                                                                   Inc., et al
Land           8/1/1993                  Assignment
                                                                 Assignment of Interest in Oil and Gas Lease (OCS‐G 13944) effective date 08/01/93 from Anadarko
                                                                 Petroleum Corporation, Assignor, to Phillips Petroleum Company,Assignee, 50% of its right, title
                                                                 and interest in OCS‐G 13944, GI Block 116, South Addition.
Land          8/16/1993         Joint Operating Agreement        Amendment to'Operating Agreement, dated August 16, 1993, between Express Acquisition
                                                                 Company and Torch EnergyAdvisors Inc.
Land          12/30/1993                    OA                   WD 90, WD 103 Operating AgreementS 12‐30‐1993
Land           1/1/1994         Joint Operating Agreement        BP EXPLORATION & OIL INC. AND SHELL OFFSHORE INC ET AL
Land           1/1/1994       Co‐Development Agreement and       Co‐Development Agreement and Amendment to Unit Operating Agreementoriginally by and
                           Amendment to Unit Operating Agreement between CNG Producing Company & Columbia Gas Development Corp., et al

Land          1/21/1994           Unit Operating Agreement
                                                                   Unit Operating Agreement for the Viosca Knoll .252 Unit, by and between Samedan Oil
                                                                   Corporation, as Operator, and Continental Land &"Fur Co., Inc., dated effective January 21,1994.
                                                                   Preferential Right to Purchase ‐ 15 Days. (Section 26.2)
Land          2/1/1994                       JOA                   JOperating Agreement eff. 2/1/94
Land          2/10/1994                      JDA                   JOINT DEVELOPMENT AGREEMENT DATED FEBRUARY 10, 1994, BY AND BETWEEN PENNZOIL
                                                                   EXPLORATION AND PRODUCTION COMPANY, SONAT EXPLORATION COMPANY AND UNION OIL
                                                                   COMPANY OF CALIFORNIA ‐ TERMINATED BY LETTER AGREEMENT DATED MARCH 10, 1999.

Land          2/11/1994                Unit Agreement              Unit Agreement For Outer Continental Shelf Exploration, Development and Production Operations
                                                                   on theViosca Knoll 252 Unit designated Contract No. 754394013, by the Minerals Management
                                                                   Service, dated
                                                                   effective February 11, 1994, executed by Samedan Oil Corporation (as Unit Operator) and Chevron
                                                                   U.S.A. Inc.(as a working interest owner).
Land           6/1/1994           Joint Operating Agreement        OPERATING AGREEMENT DATED JUNE 1, 1994, BY AND BETWEEN NORCEN EXPLORER, INC,
                                                                   OPERATOR, AND DALEN RESOURCES OIL & GAS CO.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 398
                                                                   318 of 531
                                                                          491
                                              Exhibit I-F


Land           6/6/1994           Letter Agreement          Letter Agreement, dated June 6, 1994, whereby Chevron U.S.A. Inc. approves, adopts
                                                            and.recognizes the Unit Operating Agreement, dated January 21, 1994 for the Viosca Knoll 252
                                                            Unit
Land           6/9/1994           Letter Agreement          Letter Agreement, dated June 9, 1994, by and between Chevron U.S.A. Inc., Samedan Oil
                                                            Corporation and Continental Land & Fur Co., Inc.
Land          6/24/1994                   OA                Operating Agreement eff. 6‐24‐94
Land          7/1/1994                    OA                Operating Agreement 7/1/1974
Land          7/7/1994            Letter Agreement          LETTER AGREEMENT BY AND BETWEEN POGO PRODUCING COMPANY AND COCKRELL OIL AND
                                                            GAS, L.P., ET AL
Land          7/15/1994           Letter Agreement          LETTER AGREEMENT DATED JULY 15, 1994 BY AND BETWEEN STONE ENERGY CORPORATION AND
                                                            DAVID U. MELOY.
Land           9/1/1994              UOA                    EI 89 Field UOperating Agreement 9/1/94
Land           9/1/1994        FARMOUT AGREEMENT            Farmout Agmt Eff. 9‐1‐94
Land          10/19/1994              JDA                   Joint Venture Development Agreement, dated October 19,1994',,between Norcen Explorer, Inc.
                                                            and Texaco Exploration and Production, Inc. forming a working‐interest unit comprising portions
                                                            of'Ship .ShOperating Agreementl Block 206 and OCS‐G 1523,‐Ship ShOperating Agreementl Block
                                                            207;
Land          11/16/1994                JDA                 Joint Venture Development Agreement, dated November 16><1994, between Norcen.Explorer,
                                                            Inc.,
                                                            Texaco Exploration and1
                                                             Production, Inc,, Industries, TheiGeorge R. Brown Partnership, JOC
                                                            Venture, LamarHunt Trust Estate, Mobil Oil Exploration SoProducingiSoutheast Inc.,‐and Hunt Oil
                                                            Company,.covering all of Blocks 206 and 207 Ship ShOperating Agreementl Area.

Land          11/30/1994                JDA                 Amendment to Joint Venture Development Agreement, dated November'30,1994, between
                                                            iNorcen Explorer,.'lnc., Texaco Exploration, and Production; Inc., Hunt Industries, The
                                                            George.R..Brown Partnership, JOG Venture, Laniar Hunt Trust Estate, Mobil Oil Exploration
                                                            &«Producing Southeast Inc., and Hunt Oil Company, covering all of Blocks 206 and 207 Ship
                                                            ShOperating Agreementl Area.
Land          3/28/1995           Letter Agreement          LETTER AGREEMENT DATED MARCH 28,1995, BY AND BETWEEN STONE ENERGY CORPORATION
                                                            AND DAVID U. MELOY, ET AL.
Land           4/6/1995                 JDA                 Amendment tp Joint Venture Development Agreement, dated April 6, 1995, between Norcen.
                                                            Explorer, Inc., Texaco Exploration and Production; Inc., Hunt Industries, The George R. Brown,
                                                            Partnership; JOC Venture, Lamar Hunt Trust Estate, Mobil Oil Exploration 8i Producing Southeast
                                                            Inc., and Hunt Oil Company, covering; all of'Blocks.206 and 207 Ship ShOperating Agreementl Area.

Land           5/1/1995       Joint Operating Agreement     AMENDMENT TO OPERATING AGREEMENT DATED MAY 1, 1995, BY AND BETWEEN CONOCO INC.
                                                            AND VASTAR RESOURCES, INC., ET AL.
Land           5/1/1995       Unit Operating Agreement
                                                            Grand Isle CATCO Unit Operating Agreement Amendment for the Gl 41 A Platform, dated May
                                                            1,1995,between Conoco Inc., Atlantic Richfield Company, Texaco Producing Inc. and OXY USA Inc.

Land           7/1/1995       Joint Operating Agreement     OFFSHORE OPERATING AGREEMENT EFFECTIVE JULY 1, 1995, BY AND BETWEEN NORCEN
                                                            EXPLORER, INC, OPERATOR, DALEN RESOURCES OIL & GAS CO AND GLOBAL NATURAL RESOURCES
                                                            CORPORATION OF NEVADA COVERING PORTIONS OF BLOCK 117 AND 118, EUGENE ISLAND, AS
                                                            AMENDED TO EXCLUDE JOINT DEVELOPMENT ACREAGE.
Land          10/1/1995       Joint Operating Agreement     JOINT OPERATING AGREEMENT BY AND BETWEEN AMERADA HESS CORPORATION AND VASTAR
                                                            RESOURCES INC.
Land          11/8/1995           Letter Agreement          LETTER AGREEMENT BY AND BETWEEN FORCENERGY GAS EXPLORATION INC. AND ENERGY
                                                            INVESTMENTS INC.
Land          12/14/1995                LOI                 REVISED LETTER OF INTENT (FARMOUT) DATED DECEMBER 14, 1995, BY AND BETWEEN ENSERCH
                                                            EXPLORATION, INC, AND PETROBRAS AMERICA, INC.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 399
                                                                   319 of 531
                                                                          491
                                                  Exhibit I-F


Land          2/23/1996     JOINT DEVELOPMENT AGREEMENT           JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN APACHE CORPORATION, W & T, DEVON,
                                                                  NCX
Land           3/7/1996     Conditional Letter of Acceptance to   Letter Agreement by and between Hardy Oil & Gas USA, Inc., British‐Borneo Exploration by Hardy
                                 Exploration Agreement            Oil & Gas USA, inc., British Borneo Exploration, Inc. and Zilkha Energy Company

Land           3/7/1996                    JDA                    JOINT DEVELOPMENT AREA AGREEMENT DATED MARCH 7, 1996, BY AND BETWEEN LOUISIANA
                                                                  LAND AND EXPLORATION COMPANY AND ENSERCH EXPLORATION, INC, ET AL COVERING
                                                                  PORTIONS OF BLOCKS 107, 108, 118 AND 117, EUGENE ISLAND.
Land           9/1/1996         Joint Operating Agreement         JOA BY AND BETWEEN CAIRNE ENERGY USA, INC. AND NORCEN EXPLORER, INC. ET AL.
Land           9/1/1996                     OA                    Offshore Operating Agreement 9/1/1996
Land           9/3/1996                     OA
                                                                  Operating Agreement (depths below 9000' on VR 392 & VR 408; and all depths VR 407) 9/3/1996
Land          12/15/1996                    OA                    Operating Agreement eff. 12‐15‐96 b/b Vastar and Union
Land           1/3/1997         Joint Operating Agreement
                                                                  Operating Agreement eff. 1‐3‐1977 b/b Transco Exploration Company, as Operator, and Freeport
                                                                  Oil Company, Energy Development Corporation, Pioneer Production Corporation, et al
Land          1/21/1997                Assignment
                                                                  Assignment of Record Title effective date 01/21/97 from Phillips Petroleum Company to SOI. SOI
                                                                  will acquire a 50.0% of 6/6ths interest in OCS‐G 13944, GI Block 116, South Addition.
Land          1/21/1997                    PSA                    Purchase and Sale Agreement between Phillips Petroleum Company ("Seller") and SOI
                                                                  ("Purchaser"), whereby Phillips reserves a prop01tionately reduced 10% of 6/6ths Overriding
                                                                  Royalty Interest in OCS‐G 13944, effective date 01/21197
Land           5/1/1997         Joint Operating Agreement         Amendment to Operating Agreement, dated effective May 1,1997, between GOM Shelf, LLC, and
                                                                  ChevronTexaco and Kerr‐McGee Oil & Gas Corporation, amending Exhibit "A" to reflect a new
                                                                  division of interest.
Land           7/7/1997             Letter Agreement              Letter Agreement, dated July 7, 1997, by and between Chevron U.S.A. Inc. and Samedan Oil
                                                                  Corporation,concerning of the OCSTG 10930 Well #1 in Viosca Knoll Block 251 to a proposed depth
                                                                  of 22,500' and certain
                                                                  earning and assignment provisions, more fully described therein.
Land           10/1/1997                   UOA                    MI 623 Unit Operating Agreement
Land           10/1/1997                   UOA                    SP 65 G G‐1 Unit Res A UOperating Agreement
Land           10/1/1997                   UOA                    SP 65 G G‐1 Unit Res B UOperating Agreement
Land           10/1/1997                   UOA                    SP 65 G2‐G3 UOperating Agreement
Land           10/1/1997                    OA                    SP 61, 70 Joint Operating Agreement eff. 10‐1‐97
Land          12/18/1997                    PA                    PARTICIPATION AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND
                                                                  GAS COMPANY INC.
Land           2/1/1998         Joint Operating Agreement         OPERATING AGREEMENT BY AND BETWEEN SHELL OFFSHORE INC. AND WESTPORT OIL AND GAS
                                                                  COMPANY INC
Land          2/28/1998             Letter Agreement
                                                                  Letter Agreement dated 02/28/98 between CNG Producing Company, et al, and SOI and Anadarko
                                                                  Petroleum Corporation, whereby SOI acquires 50% working interest in GI
                                                                  Block 110.
Land           3/1/1998         Unit Operating Agreement          UNIT OPERATING AGREEMENT DATED MARCH 1, 1998, BY AND BETWEEN ANADARKO
                                                                  PETROLEUM CORPORATION AND SHELL OFFSHORE INC.
Land           3/1/1998              Unit Agreement
                                                                  UNIT AGREEMENT FOR OUTER CONTINENTAL SHELF EXPLORATION, DEVELOPMENT, AND
                                                                  PRODUCTION OPERATIONS ON THE GRAND ISLE BLOCK 116 UNIT, DATED MARCH 1, 1998, BY AND
                                                                  BETWEEN ANADARKO PETROLEUM CORPORATION, AND SHELL OFFSORE INC.
Land           3/1/1998                    ORRI                   Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and SOI
                                                                  assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI
                                                                  111OCS‐G18069, GI 116 OCS‐G 13944, GI 110OCS‐G13943.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 400
                                                                   320 of 531
                                                                          491
                                               Exhibit I-F


Land           3/1/1998              Assignment              Record Title Assignment of Oil and Gas Lease (OCS‐G 13943) effective date 03/01/98 whereby BHP
                                                             Petroleum {GOM) Inc., (Assignor) assigns to SOI and Anadarko
                                                             Petroleum Corporation (Assignees) a 25% of 6/6ths, equally to Assignees, being of all right, title
                                                             and interest, covering OCS‐G 13943, GI Block 110, South Addition.
Land           3/1/1998                 ORRI                 Assignment of Overriding Royalty Interest, dated effective 03/01/98, whereby ANADARKO and SOI
                                                             assigns 1 % (of 6/6ths) ORRI to BHP, CNG and Amoco, re: GI 111OCS‐G18069, GI 116 OCS‐G 13944,
                                                             GI 110OCS‐G13943.
Land           3/2/1998                  LA                  LETTER AGREEMENT DATED MARCH 2, 1998, BY AND BETWEEN ANADARKO PETROLEUM
                                                             CORPORATION, ET AL, AND AMOCO PRODUCTION COMPANY, ET AL.
Land           3/3/1998                  PA                  PARTICIPATION AGREEMENT BY AND BETWEEN WESTPORT OIL AND GAS COMPANY INC. AND
                                                             BASIN EXPLORATION INC
Land          3/13/1998       Joint Operating Agreement      AMENDMENT TO OPERATING AGREEMENT DATED MARCH 13, 1998, BY AND BETWEEN TEXACO
                                                             EXPLORATION AND PRODUCTION INC. AND VASTAR RESOURCES, INC.
Land           4/1/1998                 JVA                  JOINT VENTURE AGREEMENT ‐ SPECTER PROSPECT DATED APRIL 1, 1998 BY AND BETWEEN SHELL
                                                             OFFSHORE, INC. AND ELF EXPLORATION INC. ET AL., as amended.
Land           4/1/1998       Joint Operating Agreement      OFFSHORE OPERATING AGREEMENT DATED APRIL 1, 1998, BY AND BETWEEN SHELL OFFSHORE
                                                             INC. AND SNYDER OIL CORPORATION, ET AL.
Land           4/6/1998           Letter Agreement
                                                             LETTER (ELF OFFERS NIPPON PART OF THE COperating AgreementSTAL INTEREST) DATED APRIL 6,
                                                             1998, BY AND BETWEEN ELF EXPLORATION INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED
Land           4/6/1998                 JVA                  AMENDMENT TO JOINT VENTURE AGREEMENT‐ ELF ASSUMES COperating AgreementSTAL
                                                             POSISTION DATED APRIL 6, 1998 ELF EXPLORATION INC. AND COperating AgreementSTAL O&G
                                                             CORPORATION.
Land           4/7/1998              Assignment              Assignment of Record Title Interest, dated 4/7/98, whereby SOI assigns 12.5% Record Title to OBI
                                                             regarding GI 116, OCS‐G 13944.
Land          4/10/1998                  FO                  FARMOUT AGREEMENT DATED APRIL 10, 1998, BY AND BETWEEN COperating AgreementSTAL
                                                             O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          4/13/1998           Letter Agreement
                                                             LETTER‐ NIPPON TAKES ITS SHARE OF COperating AgreementSTAL F/O & SHARE OF ELF'S INTEREST
                                                             DATED APRIL 13, 1998, BY AND BETWEEN ELF EXPLORATION INC., COperating AgreementSTAL
                                                             O&G CORPORATION AND NIPPON OIL EXPLORATION U.S.A. LIMITED.
Land          7/1/1998            Farmout Agreement          FO by and between Energy Development Corp & Juniper Energy Kp
Land          7/12/1998       Joint Operating Agreement
                                                             JOINT OPERATING AGREEMENT DATED JULY 12, 1998 BY AND BETWEEN RANGER OIL COMPANY,
                                                             THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/5/1998                 JVA                  ADDENDUM TO JOINT VENTURE AGREEMENT DATED NOVEMBER 5, 1998, BY AND BETWEEN
                                                             SHELL OFSSHORE INC. AND NIPPON OIL EXPLORATION U.S.A. LIMITED, ET AL.
Land          2/11/1999                 OA                   Operating Agreement eff. 2‐11‐99
Land          6/1/1999        AREA OF MUTUAL INTEREST        AREA OF MUTUAL INTEREST BY AND BETWEEN OCEAN ENERGY INC. AND DUKE ENERGY
                                                             HYDROCARBONS, LLC
Land           8/5/1999                  EA
                                                             EXPLORATION AGREEMENT DATED AUGUST 5, 1999 BY AND BETWEEN RANGER OIL COMPANY,
                                                             THE HOUSTON EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          11/18/1999          Letter Agreement           Letter Agreement, dated November. 18, 1999, by and between Chevron U.S.A. tic. and Samedan
                                                             Oil Corporatidri being a COPAS Amendment to Unit Operating Agreement for the Viosca Knoll 252
                                                             Unit concerning
                                                             Subpart (i;) of Section m. "Overhead", andimade effective January 1,2000.
Land          12/1/1999       Joint Operating Agreement      JOINT OPERATING AGREEMENT BY AND BETWEEN FORCENERGY INC. AND MAKO OFFSHORE
                                                             EXPLORATION, INC., ET AL.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 401
                                                                   321 of 531
                                                                          491
                                              Exhibit I-F


Land          12/15/1999      Joint Operating Agreement     Operating Agreement, Main Pass Area, Blocks 77 and 78, Gulf of Meidco, dated effective
                                                            November 1, 1980,between Gulf Oil Corporation, Texoma Production'Company, The Anschutz
                                                            Corporation, NICOR Exploration
                                                            Company, and The Superior Oil Company, covering the federal Oil and Gas Lease OCS‐G 4481,
                                                            Blocks 77>and78 Main Pass Area, Offshore Louisiana, a true copy of the original is recorded in
                                                            C.O.B. 592, Folio 658,
                                                            Plaquemines Parish, Louisiana.
Land          12/15/1999          Letter Agreement          Letter Agreement, dated December 15, 1999, between Apache Corporation, Chevron U.S.A.
                                                            Production Company, Kelley Oil Corporation, Key Production Company, Mobil Exploration &
                                                            Producing U.S. Inc. and
                                                            Sabco Oil and Gas Corporation, regarding the OCS‐G 4481 #A‐23 Well, Main Pass Block 77, Main
                                                            Pass Block 151 Field, Offshore. LA. Note: only have Key's executed cop
Land           1/1/2000       Joint Operating Agreement     JOINT OPERATING AGREEMENT BY AND BETWEEN OCEAN ENERGY, INC., MCMORAN OIL & GAS
                                                            LLC., ET AL.
Land           1/31/2000                  FO                Farmout Letter Agreement 1/31/2000
Land           2/7/2000                   OA                Operating Agreement eff. 2‐7‐00
Land           5/1/2000                   OA                Operating Agreement eff. 5/1/00
Land           8/4/2000                   FO                Farmout Agreement 8/4/2000
Land          11/17/2000                  PA                Participation Agreement and Operating Agreement 11‐17‐00 b/b Samedan and Stone
Land           12/8/2000          Letter Agreement          Letter Agreement, dated December 8, 2000 (effective December 1, 2000), by and between
                                                            Chevron U.S.A. Inc.and Williams Field Services ‐ Gulf COperating Agreementst Company, L.P.,
                                                            whereby Chevron U.S.A. Inc. consents to an
                                                            assignment by Williams Field Services ‐ Gulf COperating Agreementst Company, L.P., to its affiliate,
                                                            Williams Mobile Bay Producer Services, L.L.C.

Land          1/11/2001         LETTER AGREEMENT
                                                            Letter, dated January 11, 2001, from the United States Department of the Interior, Minerals
                                                            Management Serviceto Chevron U.S.A. Inc., approving the initial participating area plat and Exhibit
                                                            C for the Viosca Knoll 252 Unit,Agreement No. 754394013, effective November 8, 2000
Land          6/1/2001                    OA                Offshore Operating Agreement 6/1/2001
Land          6/15/2001       Joint Operating Agreement     JOINT OPERATING AGREEMENT BY AND BETWEEN TEXACO EXPLORATION AND RWE PERTROLEUM
                                                            COMPANY ET AL
Land          6/15/2001                 JDA                 JOINT DEVELOPMENT AGREEMENT EFFECTIVE JUNE 15, 2001, BY AND BETWEEN RME
                                                            PETROLEUM COMPANY AND W&T OFFSHORE, INC, "SM280 OWNERS" AND RME ET AL "SM 281
                                                            OWNERS" AND THAT CERTAIN JOINT OPERATING AGREEMENT ATTACHED THERETO AS EXHIBIT
                                                            "B".
Land          10/1/2001                  OA                 Joint Operating Agreement, dated effective October 1,2001, between Union Oil Company of
                                                            California and Forest Oil Corporation, covering OCS‐G 2282, South Marsh Island Block 132.

Land          10/1/2001                   OA                Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          10/1/2001                   OA                Operating Agreement eff. 10‐1‐01 b/b Union and Forest
Land          11/3/2001           Letter Agreement          Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                            party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                            (grantees), being a conditional
                                                            consent to assign.
Land           1/9/2002           Letter Agreement
                                                            Letter, dated January 9, 2002, from the United States Department of the Interior, Minerals
                                                            Management Service to Chevron U.S:A. Inc., approving.a revision to the participating area plat and
                                                            Exhibit C for the Viosca Knoll 252 Unit, Agreement No. 754394bl'3, effective December 1, 2001.
Land           3/1/2002                  FO                 Farmout Agmt. eff. 3‐1‐2002 b/b Samedan Oil Corporation (Farmor) and Pure Resources, L.P.
                                                            (Farmee)
Land          8/23/2002       Joint Operating Agreement     Joint Operating Agreement by and between Dominion Exploration & Production, Inc., as Operator,
                                                            and Spinnaker Exploration Company, L.L.C., as Non‐Operator
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 402
                                                                   322 of 531
                                                                          491
                                                Exhibit I-F


Land          8/30/2002               Assignment                Assignment of Record Title Interest, approved 8/30/2002, whereby SOI assigns unto OBJ, covering
                                                                GI 110 OCS‐G 13943.
Land          9/20/2002               Assignment                Assignment of Operating Rights, approved 9/20/2002, whereby SOI assigns unto OEI, covering GI
                                                                110, OCS‐G 13943.
Land          12/18/2002           Pooling Agreement            POOLING AGREEMENT DATED DECEMBER 18, 2002, BY AND BETWEEN THE STATE OF TEXAS AND
                                                                SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          12/20/2002       Joint Operating Agreement        Joint Operating Agreement by and between Dominion Exploration & Production, Inc. and
                                                                Spinnaker Exploration Company, LLC
Land          2/24/2003                   OA                    PA and Joint Operating Agreement dated 2/24/03 between Hunt Petroleum (AEC), Inc. and LLOG
                                                                Exploraiton Offshore, Inc
Land          3/31/2003             Letter Agreement            Letter Agreement, dated March 31, 2003, between Chevron U.S.A. Inc., Sabco Oil and Gas
                                                                Corporation, Apache Corporation, ExxonMobil Production Company, Key Production Company and
                                                                Contour Energy
                                                                Company regarding Second Opportunity to Participate ‐ Election to Acquire^Non‐Participating
                                                                Interest, in the MP77 OCS‐G 4481 A‐6 TTPG, Project No. UWGHP‐R3011, Cost Center UCP170500,
                                                                Main Pass Block 77.
                                                                Key Production Company election.
Land           5/1/2003        Joint Operating Agreement        Offshore Operating Agreement dated May 1, 2003 between Magnum Hunter Production,Inc, and
                                                                Westport Resourcs Corporation et al
Land          5/19/2003                    JOA                  JOperating Agreement eff. 5/19/03
Land          5/19/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between FIELDWOOD ENERGY OFFSHORE
                                                                LLC(SUCCESSOR TO GRYPHON EXPLORATION COMPANY) ANDAPACHE CORPORATION (SUCCESSOR
                                                                TO SPINNAKER EXPLORATION COMPANY, L.L.C.)
Land           6/9/2003                    PA                   Participation Agmt. eff. 6‐9‐2003 b/b Samedan Oil Corporation and CLK Company
Land           8/7/2003                    PA                   Exploration Participation Agreement, dated August 7, 2003, by and between Chevron U.S.A. Inc.
                                                                and'Westport Resources Corporation, as amended, concerning certain Offshore Continental Shelf
                                                                properties, all as is
                                                                more fully, provided'for and described therein.
Land          9/25/2003     Area of Mutual Interest Agreement   Area of Mutual Interest Agreement by and between Apache Corporation and Chevron USA

Land           1/1/2004                    FO                   FARMOUT AGREEMENT DATED JANUARY 21, 2004, BY AND BETWEEN CHEVRON USA INC. AND BP
                                                                AMERICA PRODUCTION COMPANY.
Land           1/7/2004                    FO                   FARMOUT AGREEMENT BY AND BETWEEN CHEVRON U.S.A. INC., ET AL. AND BP AMERICA
                                                                PRODUCTION COMPANY, ET AL.
Land           1/7/2004     Area of Mutual Interest Agreement
                                                                Area of Mutual Interest Agreement by and between Apache Corporation and Shell Offshore et al
Land          2/25/2004                    FO                   Farmout Agmt eff. 2‐25‐2004 b/b Forest Oil Corporation, Texas Standard Oil Company, Noble
                                                                Energy, Inc. and Pioneer Natural Resources USA, Inc., as Farmors, and Houston Energy, L.P., as
                                                                Farmee
Land          2/25/2004        Joint Operating Agreement
                                                                Ratification and Amdt. Of Operating Agreement eff. 2‐25‐2004 b/b Forest Oil Corporation et al
Land          3/18/2004                   PSA                   PSA dated 3‐18‐04 but eff. 9‐1‐2003 b/b Noble Energy, Inc. and Northstar Gulfsands, LLC
Land          3/25/2004                   JVA                   Amendment to Joint Venture Development Agreement, dated. March 25, 2004 between Anadarko
                                                                E 8t P Company LP: Chevron U.S.A. Inc.; Hunt Oil Company, Hunt Petroleum, the George,R..Brown
                                                                Partnership LP, Offshore Investment ,Cov and the'Lamar Hunt Trust Estate,, whereby the Unit 'was
                                                                expanded
Land           4/1/2004        Joint Operating Agreement        AMENDMENT OF JOINT OPERATING AGREEMENT DATED APRIL 1, 2004, BY AND BETWEEN BP
                                                                AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land           4/2/2004                Divestiture              ASSET SALE AGREEMENT DATED APRIL 2, 2004, BY AND BETWEEN CHEVRON USA INC. AND STONE
                                                                ENERGY CORPORATION.
Land          4/19/2004                    FO                   Farmout Agreement by and between Newfield Exploration Company and Westport Resources
                                                                Company, as Owners of WC 73, and Dominion Exploration & Production, Inc. and Spinnaker
                                                                Exploration Company, LLC as Owners of WC 72
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 403
                                                                   323 of 531
                                                                          491
                                                  Exhibit I-F


Land          5/28/2004             Letter Agreement            Letter, dated May 28, 2004, from the United States Department of the Interior, Minerals
                                                                Management Service to Chevron U.S.A. Inc., approving a revision to the participating area plat and
                                                                Exhibit Cfor theiViosca Knoll 252
                                                                Unit, Agreement No. 754394013, effective December 1, 2003.
Land           6/1/2004                    OA
                                                                Operating Agreement eff. 6‐1‐04 by and between Newfield Exploration Co & Triumph Energy LLC
Land          6/29/2004             Letter Agreement            LETTER AGREEMENT DATED JUNE 29, 2004, BY AND BETWEEN STONE ENERGY CORPORATION AND
                                                                BP AMERICA PRODUCTION COMPANY.
Land          7/20/2004                   PHA                   PHA eff. 7‐20‐2004 b/b Forest Oil Corporation, as operator and co‐owner of the WD 34 A PF and
                                                                Red Willow Offshore, LLC, et al, as producers
Land          7/27/2004         Confidentiality Agreement       Confidentiality Agreement by and between Apache Corporation and Applied Drilling Technology,
                                                                Inc.
Land           8/1/2004        Unit Operating Agreement         Amendment and Supplement to?Unit Operating Agreement for the Viosca Knoll 252 Unit, dated
                                                                August 1,2004, by and between Chevron UiS.A. Inc. and‐Noble Energy, Inc
Land          8/1/2004                    OA                    Operating Agreement 8/1/04
Land          8/11/2004                  Notice                 NOTICE OF ASSIGNMENT DATED AUGUST 11, 2004, BY AND BETWEEN CHEVRON USA INC. AND
                                                                STONE ENERGY CORPORATION.
Land          8/24/2004             Letter Agreement            Letter Agreement dated August 24, 2004, between Chevron U.S.A. Inc. and Williams Field Services‐
                                                                Gulf COperating Agreementst Company, L.P.
Land           9/7/2004     Settlement and Release Agreement    SETTLEMENT AND RELEASE AGREEMENT DATED SEPTEMBER 7, 2004, BY AND BETWEEN BP
                                                                AMERICA PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land          10/1/2004                   OA                    Operating Agreement eff. 10‐1‐04
Land          10/6/2004                   LOI                   LETTER OF INTENT DATED OCTOBER 6, 2004, BY AND BETWEEN THE HOUSTON EXPLORATION
                                                                COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          10/7/2004                    EA                   EXPLORATION AGREEMENT DATED OCTOBER 7, 2004, BY AND BETWEEN THE HOUSTON
                                                                EXPLORATION COMPANY AND SPINNAKER EXPLORATION COMPANY, L.L.C.
Land          10/14/2004            Letter Agreement            Letter Agreement, dated October. 14, 2004, between Ghevron U.S.A. Inc. and Noble Energy,.Inc.
                                                                concerning Production Handling Agreement Terin's, Viosca Knoll 251 "A' PlatfomvCadillacProspect
                                                                and any Other Future
                                                                Non‐unit Production
Land          10/28/2004                  PSA
                                                                PSA dated 10‐28‐2004 but eff. 7‐1‐2004 B/B Eni Deepwater LLC and Northstar Gulfsands, LLC
Land          11/1/2004                    PA                   Exploration Participation Agreement, dated November 1, 2004, by and between Chevron U.S.A.
                                                                Inc. and Newfield Exploration Company, concerning certain Offshore Continental Shelf properties,
                                                                all as is more fully
                                                                provided for and described therein
Land          11/18/2004            Letter Agreement            Letter Agreement, dated November 18; 2004, between Chevron U.S.A. Inc. and Newfield
                                                                Exploration Company, amendihg'the;terms of Letter Agreement•,dated October f4, 2004, between
                                                                Chevron U.S.A. Inc. and
                                                                Noble Energy, Inc. concerning Production Handling Agreement Terms, Viosca knoll.251 "A"'
                                                                Platform, Cadillac Prospect and any Other Future Non‐unit Production:
Land           1/1/2005                   VUA                   VOLUNTARY UNIT AGREEMENT DATED JANUARY 1, 2005, BY AND BETWEEN SPINNAKER
                                                                EXPLORATION COMPANY, L.L.C. AND THE HOUSTON EXPLORATION COMPANY AND GRYPHON
                                                                EXPLORATION COMPANY.
Land          1/1/2005            Operating Agreement           Operating Agreement 1‐1‐05 by an between Maritech and Arena
Land          1/25/2005            Letter Agreement             Letter Agreement for the Operation and Ownership Transfer of Certain South Marsh Island Block
                                                                66 Facilities, dated effective January 25, 2005, between Transcontinental Gas Pipeline
                                                                Corporation,;as Seller> and Union Oil "Company‐of California and Forest Oil Corporation, as
                                                                Purchasers, for facilities and pipeline associated with "A" and "C" Platforms'. NEVER
                                                                CONSOMATED.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 404
                                                                   324 of 531
                                                                          491
                                                Exhibit I-F


Land           2/1/2005             Letter Agreement            Letter Agreement, dated February 1, 2005, between Union Oil Company of California and Forest
                                                                Oil , covering OCS‐G 2589, South Marsh Island Block 137, asthe Unit Operating Agreement for
                                                                South Marsh Island Block 137 Unit, identified as Unit Agreement No. 14‐08‐001‐20237, replacing
                                                                and superseding, effective October 1, 2001, that certain Unit Operating Agreement dated January
                                                                1,1989 between Conoco Inc., Texaco Producing Inc. and CanadianOXY Offshore Production
                                                                Company.
Land          3/28/2005                    PA                   PARTICIPATION AGREEMENT BY AND BETWEEN GOM SHELF LLC BY APACHE CORPORATION AND
                                                                RIDGEWOOD ENERGY CORPORATION
Land          5/27/2005        Joint Operating Agreement
                                                                Operating Agmt eff. 5‐27‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
Land          5/28/2005                    PA
                                                                Participation Agmt eff. 5‐28‐2005 b/b BP Exploration & Production Inc. and EOG Resources, Inc.
Land           8/2/2005                   PSA                   PURCHASE AND SALE AGREEMENT DATED AUGUST 2, 2005, BY AND BETWEEN BP AMERICA
                                                                PRODUCTION COMPANY AND STONE ENERGY CORPORATION.
Land          10/25/2005                  OA                    Operating Agreement 10‐25‐05
Land           11/1/2005                  JDA                   JOINT DEVELOPMENT AGREEMENT BY AND BETWEEN MERIT ENERGY COMPANY AND STONE
                                                                ENERGY CORPORATION ET AL
Land          11/1/2005    Partition and Redemption Agreement   Partitiion and Redemption Agmt. dated 11‐1‐2005 b/b Northstar Gulfsands, LLC and Gulfsands
                                                                Petroleum USA, Inc.
Land          11/7/2005             Unit Agreement
                                                                Amendment to Unit Agreement, Viosca Knoll Block 252 Unit, Contract No. 754394013, dated
                                                                November 7, 2005 (effective November 1, 2005) as approved by the Minerals Management
                                                                Service by letter dated January 10,2007, but made effective November 8, 2006, replacing Exhibits
                                                                "A", "B" and "C" and Article 13.1 in its entirety (reduction of Unit Area)
Land          12/20/2005            Letter Agreement            Letter Agreement, dated December 20, 2005, between Noble Energy, Inc. and Ghevron U.S.A. Inc.,
                                                                being a consent.to.disclose confidential data
Land          2/22/2006                    FO                   Farmout Proposal Letter Agreement between The Houston Exploration Company
                                                                and Noble Energy Inc. 2/22/2006
Land           3/1/2006                  ABOS
                                                                ABOS eff. 3‐1‐2006 b/b Noble Energy, Inc. as Assignor and Coldren Resources LP as Assignee.
Land           4/4/2006        Joint Operating Agreement        STONE ENERGY CORPORATION AND GOM SHELF LLC, ET AL
Land           6/28/2006                   OA                   JOperating Agreement eff. 6‐28‐86
Land           7/24/2006                   OA                   Operating Agreement eff. 7‐24‐06
Land          10/17/2006                  JOA                   Operating Agreement eff. 10‐17‐06
Land          10/30/2006                   FO
                                                                Farmout Agreement, dated effective October 30, 2006, between Chevron U.S.A. Inc., as‐Farmor,
                                                                and Mariner Energy Resources, Inc., as farmee, covering S/2 of SM 149 (OCS‐G 2592) and S/2 of
                                                                SM 150 (005‐016325) and limited to depths from the surface.to the stratigraphic equivalent of
                                                                100' below the deepest depth drilled in the #1 Well as proposed.
Land          1/10/2007             Letter Agreement            Letter dated January 10, 2007, from the.United States Department of the Interior, Minerals
                                                                Management Service to Chevron U.S.A. Inc., approving a revision Exhibits "A", "B" and "C"
                                                                reflecting a change in the Unit Area due to contraction provisions in the Viosca Knoll 252 Unit,
                                                                Agreement No. 754394013.
Land          2/28/2007                    FO                   FO eff. 2/28/07 by and between Newfield and Apache
Land          4/3/2007          Confidentiality Agreement       Confidentiality Agreement by and between Apache Coporation, Samson Contour Energy and Shell
                                                                Offshore
Land          5/17/2007        Joint Operating Agreement        JOINT OPERATING AGREEMENT BY AND BETWEEN DEVON ENERGY PRODUCTION COMPANY, L.P.
                                                                AND HUNT PETROLEUM CORPORATION, ET AL.
Land          9/21/2007          FARMOUT AGREEMENT              FARMOUT AGREEMENT b/b APACHE CORPORATIONand SENECA RESOURCES CORPORATION

Land          12/31/2007                  PSA                   PURCHASE AND SALE AGREEMENT BY AND BETWEEN GOM SHELF LLC AND WILD WELL CONTROL
                                                                INC.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 405
                                                                   325 of 531
                                                                          491
                                              Exhibit I-F


Land          12/31/2007        Company Agreement           Company Agreement, dated effective December 31, 2007, between BP America Production
                                                            Company,Chevron USA Inc. and GOM Shelf LLC, amending the Operating Agreements for certain
                                                            jointly‐owned
                                                            Facilities and Wells in GI 40, 41, 47, 48 and WD 69 and 70 damaged by Hurricane Katrina.
Land          12/31/2007                PSA                 Agreement for Purchase and Sale, effective December 31, 2007, between Chevron U.S.A. Inc., as
                                                            Seller, and Wild Well Control, Inc., as Buyer, conveying Chevron's undivided interest in certain
                                                            Facilities and
                                                            Wells in Gl 40, 41, 47, 48 and WD 69 and 70 to Wild Well Control for the purpose of
                                                            decommissioning
Land           5/1/2008       Joint Operating Agreement     JOINT OPERATING AGREEMENT BY AND BETWEEN MARINER ENERGY, INC. AND APACHE
                                                            CORPORATION
Land           7/7/2008              Acquisition            Stock Purchase Agmt dated July 7, 2008 b/b Northstar E&P, LP and Dynamic Offshore Resources,
                                                            LLC
Land           7/7/2008           Letter Agreement          VR 332 A5 Letter Agmt dated July 7, 2008 b/b Northstar Interests, L.C. and Dynamic Offshore
                                                            Resources, LLC
LAND          7/15/2008        Participation Agreement      ST 311 Participation Agreement‐Walter & APA‐7‐15‐2008
LAND          7/15/2008          Assignment of ORRI         ST 311 Walter ORRI Assign.
Land          8/27/2008                    FO
                                                            FARMOUT AGREEMENT BY AND BETWEEN PIESCES ENERGY LLC AND APACHE CORPORATION
Land          12/8/2008             Platform Sale
                                                            Platform Sale Agreement, WD 94 G Auxiliary Platform„dated:effective December 8, 2008 between
                                                            BP America'Production Company and GOM Shelf LLC, as‐sellers, and Chevron USA Inc., as buyer.

Land          4/30/2009                  OA                 Operating Agreement eff. 4‐30‐09 Chevron USA, et al
Land          6/1/2009                   FO                 Farmout Agreement dated effective June 1, 2009, between Chevron U.S.A. Inc., and Phoenix
                                                            Exploration Company, LP and Challenger Minerals Inc., covering OCS‐G 32267, Chandeleur Block
                                                            42 and OCS‐G 32268, Chandeleur Block 43, INSOFAR AND ONLY INSOFAR as they cover those
                                                            depths from the surface to one hundred feet (100') below the deepest depth drilled and logged in
                                                            the earning well.
Land           6/1/2009                  OA                 JOperating Agreement CA 42/43
Land           6/1/2009                  OA                 Operating Agreement eff. 6‐1‐09 Chevron USA, et al
Land           8/7/2009       Confidentiality Agreement
                                                            Confidentiality Agreement by and between Apache Corporaiton and Houston Energy, L.P.
Land          12/14/2009        OPTION AGREEMENT            OPTION AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land           2/1/2010        FARMOUT AGREEMENT            FARMOUT AGREEMENT b/b APACHE CORPORATIONand WALTER OIL & GAS CORPORATION, ET AL

Land          2/25/2010                   OA                Operating Agreement eff. 2‐25‐10
Land          4/8/2010            Letter Agreement
                                                            Letter Agreement, dated 4/8/2010 between Shell Offshore Inc., Apache Corporation and Nippon
                                                            Oil Exploration U.S.A. Limited amending the Unit Operating Agreement, dated
                                                            March 1, 1998.
Land           6/1/2010                  PA                 Approval.of Revision of Participation Area, effective June 1, 2010, whereby the Grand Isle CATCO
                                                            Unit was revised.

Land           6/1/2010                ABOS                 Bill of Sale and Conveyance, effective June 1, 2010, whereby Chevron U.S.A. Inc. transferred
                                                            certain Interests in Grand Isle Block 46, OCS‐G 00132 N‐l well/API No. 17‐717‐40959‐00, certain
                                                            interests in
                                                            Grand Isle Block 46, OCS‐G 00132 Platform, the line fill as of the effective date, and the Minerals
                                                            Management Segment Number 15732 Pipeline as well as its associated Right of Way, equipment
                                                            and
                                                            facilities to GOM Shelf
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 406
                                                                   326 of 531
                                                                          491
                                                   Exhibit I-F


Land          7/23/2010           Confidentiality Agreement
                                                                   Confidentiality Agreement by and between Apache Corporaotion and W & T Offshore Inc.
LAND          9/1/2010             OCS Exploration Venture         mp‐295‐Joint Venture Letter Agreement
Land          9/14/2010               Letter Agreement             CHEVRON USA INC. AND GOM SHELF LLC
Land          2/1/2011                      ABOS                   Assignment and Conveyance, dated effective February 1, 2011, between Harrigan Energy Partners,
                                                                   Inc.,Assignor, and Chevron U.S.A. Inc^ as Assignee, covering Assignor's right, title and interest in
                                                                   the Lease, together
                                                                   with Assignor's interest in certain wells, facilities; pipelines, equipment, contracts,, etc:, all as more
                                                                   fully described therein.
Land          3/15/2011          Joint Operating Agreement         JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND STONE ENERGY
                                                                   OFFSHORE LLC
Land          4/21/2011                      PSA                   Asset Purchase and Sale Agreement, dated April 21, 2011, but made effective February 1, 2011,
                                                                   between SabcoOil and Gas Corporation, as Seller, and Chevron U.S.A. Inc., as Purchaser, whereby
                                                                   Purchaser acquired
                                                                   0.63149% of 0.83922% of 8/8ths of Seller's right title and interest in the Lease, together with
                                                                   Seller's interest in certain wells, facilities, pipelines, equipment, contracts, etc., all as more fully
                                                                   described therein.
Land          4/21/2011                     ABOS                   Assignment and BUI of.Sale, dated April 21, 2011, but made effective February 1, 2011, between
                                                                   Sabco Oil and Gas Corporation, as Assignor/and Chevron U.S.A. Inc., as Assignee, covering
                                                                   Assignor's right, title and interest in the Lease, together with Assignor's interest in certain wells,
                                                                   facilities, pipelines, equipment, contracts, etc., all
                                                                   as more fully described therein
Land          8/25/2011          PARTICIPATION AGREEMENT           PARTICIPATION AGREEMENT b/b APACHE CORPORATIONand CASTEX OFFSHORE, INC., ET AL

LAND          9/20/2011         Slot and Well Bore Acquisition     MP 296 MP 296 B‐19 Slot, Wellbore Acquisition Agreement
Land          11/3/2011                Letter Agreement
                                                                   Letter Agreement dated November 3, 2011 evidencing Chevron U.S.A. Inc.'s consent to an
                                                                   assignment of interest from Phoenix Exploration Company LP in that certain Farmout Agreement
                                                                   dated and made effective June 1, 2009, to Apache Corporation and Castex Offshore, Inc.
Land          11/3/2011               Letter Agreement             Letter Agreement, dated November 3, 2011, executed between Chevron U.S.A. Inc. (granting
                                                                   party) and Phoenix Exploration Company, LP, Apache Corporation and Castex Offshore, Inc.
                                                                   (grantees), being a conditional
                                                                   consent to assign.
LAND          11/17/2011          Assignment and Bill of Sale      MP 295, MP 296, MP 303, MP 304, MP 311, MP 312, MP 313 ABOS Stone to EPL 11‐1‐2011
LAND           12/1/2011           Participation Agreement         ST 311 Participation Agreement‐Walter & APA & Castex‐12‐1‐2011
LAND          12/15/2011        Slot and Well Bore Acquisition     MP 296 MP 296 B19 ST2 Slot & Well Bore Acq Agmt
Land           4/1/2012                        PA                  Approval of. Revision of Participation Area, effective April 1, 2012, whereby the Grand, Isle CATCO
                                                                   Unit was revised.

Land           5/1/2012    CONDENSATE TRANSPORT & SEPARATION CONDENSATE TRANSPORT & SEPARATION AGREEMENT b/b APACHE CORPORATIONand CASTEX
                                      AGREEMENT              OFFSHORE, INC., ET AL
Land           5/2/2012             Letter Agreement         Letter, dated May 2, 2012 between Newfield Exploration Company and Chevron U.S.A. Inc., being
                                                             a waiver of confidentiality provision grant by Chevron in favor of Newfield;
Land           6/1/2012                    PSA               Ratification of Purchase and Sale Agreement by Holders of Preferential Right to Purchase, dated
                                                             effective June l , 2012, between Key Production Company, Inc., as Seller, and Chevron U.S.A. Inc.
                                                             and Dynamic Offshore Resources, LLC, as Preferential Right Purchasers, affecting that certain
                                                             Purchase and Sale Agreement, dated June 27, 2012 but made effective June 1, 2012, between Key
                                                             Production Company, Inc., as Seller, and Chevron U.S.A.
                                                             Inc., as Buyer.
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 407
                                                                   327 of 531
                                                                          491
                                                   Exhibit I-F


Land           6/1/2012                     ABOS                    Conveyance, Assignment and Bill of Sale, dated June 27,.2012 but made effective June 1, 2012,
                                                                    between Key Production Company, Inc., as Assignor, and Chevron U.S.A. be. and Dynamic Offshore
                                                                    Resources, LLC, as Assignees, covering an undivided 0.83922% right, title and.interest in certain
                                                                    property described in Exhibit "A" attached thereto, assigning 75.247% thereof to Chevron
                                                                    (0.63149% net) and 24.753% thereof to Dynamic
                                                                    (0.207.73%.net).
Land          6/27/2012                      PSA                    Purchase and Sale Agreement, dated June 27, 2012 but made.effective June I , 2012, between Key
                                                                    Production Company, Inc.,. as'Seller, and Chevron U.S.A. Inc., as Buyer, covering all of Seller's.right,
                                                                    title and interest in that certain Oil & Gas Lease bearing Serial No. OCS‐G 448,1, ), together with
                                                                    Seller's interest in certain wells, facilities, pipelines, equipment contracts, etc, all as more.fully
                                                                    described therein.
Land           7/9/2012          Joint Operating Agreement          Offshore Operating Agreement (Ship ShOperating Agreementl 176 Prospect OCS‐G 33646)
                                                                    Originally by and between Hall‐Houston Exploration IV, L.P, as Operator and GOM Offshore
                                                                    Exploration I, LLC and Apache Corporation as Non‐Operators
Land           8/1/2012     Throughput Capacity Lease Agreement
                                                                    Fieldwood leases capacity to Arena for Barnacle Pipeline
Land          9/17/2012                      PA                     PARTICIPATION AGREEMENT BY AND BETWEEN APACHE CORPORATION AND WALTER OIL & GAS
                                                                    CORPORATION
LAND          12/20/2012     Farmout Agreement Extension Letter     MP 295 Extension 12‐20‐12
Land           2/1/2013          AREA OF MUTUAL INTEREST            AREA OF MUTUAL INTEREST AGREEMENT BY AND BETWEEN APACHE CORPORATION AND ENERGY
                                                                    XXI GOM, LLC
Land           2/1/2013          Joint Operating Agreement          JOINT OPERATING AGREEMENT BY AND BETWEEN APACHE CORPORATION AND ENERGY XXI GOM,
                                                                    LLC
Land           2/1/2013                Data Agreement               Data Agreement effective 2‐1‐2013 by and between Fieldwood Energy LLC, GOM Shelf LLC, Apache
                                                                    Corporation and EXXI
LAND           2/1/2013      Memorandum of OA and Financing
                                       Statement                    Primary Term Lands ‐ MOA Recorded 01‐2015 Revision
LAND           2/1/2013          Exploration Agreement              MP 296 EXXI Exploration Agreement\Exploration Agreement Apache & Energy XXI 2‐1‐2013 with
                                                                    Exhibits (less B)
LAND          2/22/2013         Exploration Agreement Letter        Heron Prospect (MP 295) Letter of Agreement 2‐22‐13
Land          3/15/2013             Exploration Venture             Exploration Venture for portions of VR 271 SM 87 by and between Fieldwood Energy Offshore LLC,
                                                                    Apache Corporation and Pisces Energy LLC
Land           6/1/2013                     OA                      Operating Agreement eff. 6‐1‐13 Castex, et al
Land           7/1/2013                  Acquisition                PURCHASE AND SALE AGREEMENT by and among APACHE CORPORATION,APACHE SHELF, INC.,
                                                                    and
                                                                    APACHE DEEPWATER LLC collectively as the Sellers, and FIELDWOOD ENERGY LLCas Buyer and
                                                                    GOM SHELF LLC Dated as of July 18, 2013

Land           7/1/2013                   Acquisition               Acquistion by and between Fieldwood Energy LLC and Callon Petroleum Operating Co.
Land           7/1/2013                      MOA                    EI 136 Recorded Memorandum of Operating Agreement and Financing Statement
Land           7/1/2013           Joint Operating Agreement         EI 136 Operating Agreement covering depths below 19,135' SSTVD
Land           7/1/2013           Joint Operating Agreement         JOperating Agreement covering OCS‐G 32264 MP 302
Land           7/1/2013     Stipulation and Corrective Assignment   Stipulates the interest help by Apache Offshore Petroleum Limited Partnership, Fieldwood Energy
                                                                    LLC and Third parties
Land           7/1/2013    Assignment of Federal OCS Pipeline Right
                                           of Way                   Assignment of Pipeline ROW Apache to Fieldwood LLC
Land           9/9/2013    Amendment No. 1 Bar Prospect Offshore
                                    Operating Agreement             Amends certain JOperating Agreement dated 02/01/2013
Land           9/30/2013                 Acquisition                Purchased GOM Shelf as a company from Apache
LAND          10/16/2013           Fabrication Agreement
                                                                    ST 311 A Platform Construction Contract Gulf Island LLC and Walter Oil and Gas dtd 10‐16‐13
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 408
                                                                   328 of 531
                                                                          491
                                                   Exhibit I-F


Land          10/25/2013               Letter Agreement              Letter Agreement dated October 25, 2013 evidencing Chevron U.S.A. Inc.'s consent to an
                                                                     assignment of interest from Apache Corporation in that‐certain Farmout Agreement dated and
                                                                     made effective June 1, 2009, to Fieldwood Energy LLC.
Land          12/4/2013    Extension Request ‐ Slot Rental Agreement by and between Fieldwood Energy LLC, GOM Shelf LLC and EPL Oil & Gas, LLC ‐ Amends certain
                                                                     Slot Rental Agreement dated 12/26/2012
Land          12/4/2013    Extension Request ‐ Slot Rental Agreement by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC ‐ Amends
                                                                     certain Slot Rental Agreement dated 12/26/2012
Land          12/16/2013           Joint Operating Agreement         TANA EXPLORATION COMPANY LLC AND APACHE CORPORATION
Land          12/28/2013                  Well Proposal              Letter proposing well B‐19 MP 302 well by and between Fieldwood Energy LLC, GOM Shelf LLC,
                                                                     Apache Corporation and Apache Shelf Exploration LLC
Land          12/30/2013             Withdrawal Agreement            Withdrawal Agreement by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.
Land           1/10/2014                Prospect Proposal            Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land           1/10/2014                Prospect Proposal            Gilligan & Bingo: Stone offering of prospects to Fieldwood Fieldwood election
Land           2/5/2014                 Prospect Proposal            Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           2/5/2014                 Prospect Proposal            Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land           3/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC and Black Elk Energy Offshore Operations, LLC:
                                                                     Leases where Fieldwood was the operator and Black Elk held interest. Exception is ST 53 where
                                                                     Black Elk was the Operator.
LAND          3/1/2014           Contract Operating Agreement        ST 320 Contract Operating Agreement dtd 3‐1‐14
Land          3/13/2014     Casing Point Election Letter MP 302 B‐19 by and between Fieldwood Energy LLC, GOM Shelf LLC and Apache Shelf Exploration LLC: Proposal
                                               Well                  to run casing and election by Apache
Land          3/13/2014         Contract Operations Agreement        Pursuant to change in operatorship per that PSA btw SandRidge and Black Elk
Land          3/24/2014                 Prospect Proposal            Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/24/2014                 Prospect Proposal            Gilligan & Bingo: Stone requesting extension and fieldowood's election
Land          3/28/2014                 Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land          3/28/2014                 Prospect Proposal
                                                                     Proposal Amendment and Various requests for extension from Stone and election by Fieldwood
Land           4/1/2014                         FO                   Farmout Agreement: OCS‐G 13576; East Cameron Block 71 (Limited to the NE/4 of the block and a
                                                                     Contract Area created to include the Farmout Area and EC 58 S/2)
Land          4/16/2014        Settlment Agreement and Release       Settlement Agreementa nd Release ‐ SS 198/VR 369/VR 408/ SP 8/13
Land          4/23/2014              Letters of No Objection         Letters of No Objection, Lease & Pipeline Crossings: Appies to ST 276, 296 & 311, includes
                                                                     indemnification
Land          4/28/2014                 Letter Agreement             Letter Agreement, dated April 28, 2014, between Chevron U.S.A. Inc. and Samson Contour Energy
                                                                     E&P, LLC,
                                                                     regarding Main Pass 77 Oil Imbalance Claim
Land           5/2/2014         Letter Agreement Well Proposal
                                                                     Set forth the agreement between Apache Shelf and Fieldwood for the drilling of the EI 126 A‐5 well
Land           6/1/2014                    Acquisition               by and between Fieldwood Energy Offshore LLC, NW Pipeline, Inc. and Northwestern Mutual Life
                                                                     Ins. Co:HIPS 13‐III
LAND           6/1/2014        Memorandum of OA and Financing
                                            Statement                Heron Prospect MOA amd. No.2 6‐1‐14
Land           7/2/2014            Assignment and Bill of Sale       by and between Fieldwood Energy LLC and Castex Offshore, Inc. : Fieldwood Divestiture of HI 116
                                                                     Platform and pipelines

Land          7/21/2014         Contract Operation Agreement         Castex is named as operator of HI 167 Platform
Land          8/7/2014          Recompletion Proposal Election       MP 259 A‐7 Recompletion Proposal Election: McMoRan elects not to participate in A‐7 welll to Tex
                                                                     W‐5 Sand
Land          8/15/2014           Assignment and Bill of Sale        by and between Fieldwood Energy LLC and W & T Offshore, Inc. : Assignment of interest in HI
                                                                     129#16 well
Land          8/15/2014                Letter Agreement              by and between Fieldwood Energy LLC and W & T Offshore, Inc. : RE: High Island 129 No. 12 Well
                                                                     Assignment
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 409
                                                                   329 of 531
                                                                          491
                                                   Exhibit I-F


Land          10/1/2014                   Divestiture                by and between Fieldwood Energy Offshore LLC, Renaissance Offshore LLC and Apache
                                                                     Corporation: Assignment of Contractual interest Main Pass 76 SL 13287 #1 Well
Land          10/15/2014      Release and Settlment Agreement        by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, Prime Offshore L.L.C.,
                                                                     Tammany Oil and Gas LLC and Castex Offshore, Inc.
Land          11/5/2014    Request for extneion of Timely Operations MP 259 A‐7 Recompletion Request for extneion of Timely Operations: Request timely operations
                                                                     extension for propoed A‐7 well
Land          11/7/2014      Stipulation of Interest and Corrective by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore Petroleum
                                          Assignment                 Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore Petroleum
                                          Assignment                 Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore Petroleum
                                          Assignment                 Limited Partnership and Apache Corporation
Land          11/7/2014      Stipulation of Interest and Corrective by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Apache Offshore Petroleum
                                          Assignment                 Limited Partnership and Apache Corporation
Land           1/1/2015                   Acquisition                by and between Fieldwood Energy Offshore LLC UNOCAL, and Chevron U.S.A. Inc. : GOM NOJV ‐
                                                                     Grand Isle/West Delta etc.
Land           1/1/2015                   Acquisition
                                                                     by and between Fieldwood Energy Offshore LLC and Shell Offshore Inc.: Hickory Unit ‐ GI 110/116
Land           1/1/2015                   Acquisition                by and between Fieldwood Energy Offshore LLC and Japex (U.S.) Corp.: WD 90 & WD 103

LAND          1/13/2015                  Letter Agreement              Heron Prospect (MP 295) Letter Agmt 1‐13‐15
Land          4/1/2015     Assignment of Operating Rights Interest in by and between Fieldwood Energy Offshore LLC, Peregrine Oil & Gas, LLC RTR Fund I, L.P, and Hall‐
                                           Oil & Gas Lease             Houston Exploration II, L.P.: Assignment of Operating Rights Interest in Oil & Gas Lease ‐ GA 151
                                                                       Operating Rights
LAND           4/1/2015    Gas Dedication and Gathering Agreement
                                                                       ST 311 Gas Dedication and Gathering Agreement eff 04012015
LAND           4/1/2015    Liquids Separation, Handling, Stabilization
                                    and Redelivery Agreement
                                                                       ST 311 Liquids Separation, Handling, Stabilization and Redeliv Agreement eff 04012015
LAND           4/1/2015         Liquids Transportation Agreement       ST 311 Liquids Transportation Agreement eff 04012015
Land           4/2/2015          Consent to Disclose Confidential      by and between Filedwood Energy LLC, Bandon Oil and Gas, LP and Chevron U.S.A. Inc.: VK 252
                                            Information                Unit Area
Land          4/30/2015        Settlement Agreement and Release        by and between Fieldwood Energy Offshore LLC, Black Elk Energy Offshore Operations LLC and
                                                                       Northstar Offshore Group, LLC:
Land           5/1/2015                      Divestiture               by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                       Divestiture
Land          5/14/2015     Second Amendment to the Participation by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Second Amendment to
                                             Agreement                 the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48 Offshore Federal
                                                                       Waters
Land          6/15/2015      Election and Designation of Successor by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Wichita Partnership, Ltd., W & T
                                           Operator Letter             Energy VI, LLC and W&T Offshore, L.L.C.: In furtherance of April 14, 2015 letter Areana earned
                                                                       assignment from Chevron Chevron to resign as operator
Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land          6/18/2015          Memorandum of Understanding           Pursuant to that certain assignment and bill of sale dated 01/01/2015
Land          6/29/2015                      Settlement                by and between Fieldwood Energy LLC and Discvovery Producer Services LLC: ST 311 Pipeline
                                                                       Divestiture
Land          6/30/2015                  Consent to Assign             Consent to Assign ROW ‐ Martin O. Miller II, LLC Sec. 11, T15S‐R6W Cameron Parish LA
Land          7/1/2015          Settlment Agreement and Release        by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI Petroleum US LLC and
                                                                       ENI US Operating Co. Inc.: SS 249 D‐5 RIG Incident
LAND           7/2/2015     Bill of Sale, Assignment and Assumption
                                             Agreement                 By and between Walter Oil & Gas Corporation, Castex Offshore, Inc., Fieldwood Energy LLC and
                                                                       Apache Shelf Exploration LLC as "Seller" and Discovery Producer Services LLC as "Buyer"
LAND          7/10/2015       Termination of Farmout Agreement         MP 295 9‐18‐2012 Farmout Termination Ltr dtd 7‐10‐15
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 410
                                                                   330 of 531
                                                                          491
                                                  Exhibit I-F


Land           8/1/2015                  Acquisition                by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc. : MP 77, 78 and VK 251,
                                                                    252, 340 Fields
Land           8/3/2015      Release and Settlement Agreement       Release and Settlement Agreement by and between Fieldwood Energy Offshore and Browning
                                                                    Offshore Partners, Inc.
Land           9/1/2015          Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015          Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/1/2015          Assignment and Bill of Sale        by and between Fieldwood Energy Offshore LLC and JOC Venture: JOC Venture withdrawal

Land           9/9/2015       Supplemental Bonding Agreement        by and between Fieldwood Energy LLC, SEO A LLC, Stone Energy Corporation and Stone Energy
                                                                    Offshore, L.L.C.: Fieldwood will apply own Supp Bonding
Land           9/9/2015     Transmittal of Supplemental Bonding     by and between Fieldwood Energy LLC and Stone Energy Corporation: Stone acknowledgement of
                                                                    reciept of Bond
Land          9/16/2015            Withdrawal Agreement             by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/16/2015            Withdrawal Agreement             by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/16/2015            Withdrawal Agreement             by and between Fieldwood Energy LLC and JOC Venture: JOC Venture withdrawal
Land          9/17/2015     Election and Designation of Successor   In furtherance of April 14, 2015 and June 15, 2015 letters, Areana earned assignment from
                                       Operator Letter              Chevron Chevron to resign as operator, clarifying Working Interests, etc.
Land          10/15/2015     Release and Settlement Agreement       by and between Fieldwood Energy LLC and Fairways Offshore Exploration, Inc. : Release and
                                                                    Settlement Agreement
Land          10/19/2015       Contract Operations Agreement        by and between Fieldwood Energy LLC and Helis Oil and Gas Company L.L.C.: Contract Operations
                                                                    Agreement #18 Helis well
Land          11/19/2015    Production Handling Agreement SM10
                                                                    PHA between Fieldwood and Byron for Byron's SM 6 production
Land          12/1/2015                  Acquisition                by and between Fieldwood Energy Offshore LLC, ENI US Operating Inc, and ENI Petroleum US LLC:
                                                                    GA 151, SS 246, SS 247, SS 248, SS 249, SS 270, SS 271, VR 78, VR 313, WC 72, WC 100, WC 130

Land          12/1/2015      Release and Settlement Agreement       by and between Fieldwood Energy LLC, Fieldwood Energy Offshore LLC, ENI US Operating Inc. and
                                                                    ENI Petrolem US LLC: Release and Settlement Agreement
Land           2/2/2016            Correction Assignment            by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Correction Assignment of
                                                                    Operating Rights EI 353
Land          2/22/2016             Withdrawal Election
                                                                    by and between Fieldwood Energy LLC, Apache Shelf Exploration LLC, Hall‐Houston Exploration IV,
                                                                    L.P. and GOM Offshore Exploration I, LLC: Hall Houston withdrawal Election
Land           3/1/2016    Ratification and Amendment to Farmout by and between Fieldwood Energy LLC, Walter Oil and Gas Corporation and Cairn Energy USA:
                                           Agreement                Ratify and amend that certain Farmout dated 12/31/1984
Land           3/2/2016              Withdrawal Agreement           by and between Fieldwood Energy LLC and Hall‐Houston Exploration IV, L.P.: Hall Houston
                                                                    withdrawal Agreement
Land          3/11/2016    Waiver of Confidentiality and Consent to
                                            Disclose                by and between Fieldwood Energy LLC and W&T Offshore, Inc.: applies to HIE 129 and ST 229
Land          4/13/2016     Recommendation to Add Compression by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil and Gas II, LLC and
                                            Services                Castex Offshore, Inc.: Requests changre to compression standards in that certain Processing &
                                                                    Contract Operating Services Agreement dated 07/01/2011
Land          4/25/2016      Release and Settlement Agreement       by and between Fieldwood Energy LLC, Peregrine Oil & Gas, LP and Peregrine Oil & Gas II, LLC:
                                                                    Release and Settlement Agreement
Land          5/31/2016          Election to Continue or Cease
                                     Compression Services           by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and Castex
                                                                    Offshore, Inc.: increases to continue compression services past orignal test period
Land          6/29/2016       Election to elect out of Badger Tax   by and between Fieldwood Energy LLC, Chevron U.S.A. Inc., Peregrine Oil & Gas II, LLC and Castex
                                          Partnership               Offshore, Inc.:
Land           7/1/2016                    Acquisition
                                                                    by and between Fieldwood Energy LLC and Monforte Exploration, LLC: 3% ORRI SM 48 E wells
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 411
                                                                   331 of 531
                                                                          491
                                                Exhibit I-F


Land           7/1/2016        Assignment and Bill of Sale      by and between Fieldwood Energy LLC and All Aboard Development Corporation: Assignment All
                                                                Aboard to Fieldwood
Land           7/8/2016            Letter Agreement             by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Fieldwood's response to W&T
                                                                Letter Agreement ‐ HI 129 #16 Well ‐ Final Agreement
Land          7/21/2016      Contract Operations Agreement      by and between Fieldwood Energy LLC and W&T Offshore, Inc. : Contract Operating Agreement
                                                                eff. 7‐21‐16
Land          7/21/2016      Contract Operations Agreement      by and between Fieldwood Energy LLC and W&T Offshore, Inc.: Contract Operating Agreement ‐
                                                                #16 well
Land           8/1/2016            Letter Agreement             by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052 for
                                                                MP 154 surface wells used as disposal wells for VK 252 Unit
Land           8/1/2016            Letter Agreement             by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: RUE No. OCS‐G 22052 for
                                                                MP 154 surface wells used as disposal wells for VK 252 Unit
Land           8/4/2016          Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land           8/4/2016          Letter of No Objection         by and between Fieldwood Energy Offshore LLC and Chevron U.S.A. Inc.: submitted new RUE to
                                                                rpelace OCS ‐G 22052, consent by chevron to issuance of new RUE
Land          8/25/2016      Amendment and Ratification of      by and between Fieldwood Energy LLC, CL&F Resources, L.P, Houston Energy LP., Helis Oil and Gas
                             Production Handling Agreement      Company LLC and W&T Offshore, Inc.: Amendment and Ratification of Production Handling
                                                                Agreement (High Island, East Addition Block 129)
Land          9/13/2016    Agreement for Payment of Insurance   by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: Fieldwood agrees to pay
                                        Charges                 Monforte's insurance charges
Land          10/1/2016                   ABOS                  by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC:
Land          11/9/2016         Confidentiality Agreement       Confidentiality Agreement:BY AND BETWEEN FIELDWOOD ENERGY LLC AND LLOG EXPLORATION
                                                                OFFSHORE, L.L.C.
Land          11/21/2016           Offer to Purchase
                                                                by and between Fieldwood Energy Offshore LLC and GS E&R America Offshore, LLC: Offer to
                                                                Purchase GS E &R America Offshore, LLC's Interest in GI 94, SS 79, VR 332 and WD 34
Land          12/14/2016     Surrener of Interest Agreement     by and between Fieldwood Energy LLC and All Aboard Development Corporation: All Aboard
                                                                Development Corp. surrender of interest
Land           1/1/2017               Acquisition               by and between Fieldwood Energy Offshore LLC and GOM Offshore Exploration I, LLC: SS 176
                                                                Lease, Well and facilities
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
Land           1/1/2017          Withdrawal Agreement           by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
Land           1/1/2017          Withdrawal Agreement           by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017          Withdrawal Agreement           by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
Land           1/1/2017          Withdrawal Agreement           by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
Land           1/1/2017          Withdrawal Agreement           by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                  ABOS                   by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                Withdrawl from Operating Agreement
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 412
                                                                   332 of 531
                                                                          491
                                                  Exhibit I-F


Land           1/1/2017           Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017                    ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                   Withdrawl from Operating Agreement
Land           1/1/2017                    ABOS                    by and between Fieldwood Energy LLC and Lamar Hunt Trust Estate: Assignment made as result of
                                                                   Withdrawl from Operating Agreement
Land           1/1/2017           Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           1/1/2017           Withdrawal Agreement             by and between Fieldwood Energy Offshore LLC and Lamar Hunt Trust Estate: Withdrawal Letter
                                                                   Agreement dated 6‐15‐2017 but effective 1/1/2017
Land           3/1/2017          Reinbursement Agreement           by and between Fieldwood Energy LLC, W & T Offshore, Inc., Renaissance Offshore LLC,
                                                                   Transcontinental Gas Pipe Line and Chevron U.S.A. Inc.: Transco Facilities Subseaq Modification ‐
                                                                   Shell owned ST 300 Platform
Land          3/27/2017          Offshore Tie‐in Agreement
                                                                   by and between Fieldwood Energy Offshore LLC, Fieldwood Energy LLC and Amberjack Pipeline
                                                                   Company LLC: Consent of PSA between Empire and Amberjack subject to addendum
Land          3/30/2017            Letter of No Objection          Fieldwood agreed to COX request/letter of no objectin to allow cox to produce its EI 64# 9 well.
                                                                   Fieldwood is the operator of SW/4 of EI 53
Land           6/8/2017    Bill of Sale and Assumption Agreement   by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Manta Ray sells
                                                                   to Fieldood pursuant to reverse of gas flow in ST 295 block to direct flow of gas to ST 292
                                                                   Platform
Land           6/8/2017      Interconnection and Measurement       by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.: Fieldwood
                                          Agreement                desires to connect with Mata Ray's ST 292 platform and piping, etc.
Land           6/8/2017   Lease of Offshore Platform Space ‐ ST 292
                                            Platform                by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering, L.L.C.:
Land          7/28/2017      Indemnity and Release Agreement
                                                                    by and between Fieldwood Energy LLC and Chevron U.S.A. Inc.: Chevron sold to Cantium and
                                                                    needed DOO from Fieldood, Fieldwood required this Agreement to allow DOO
Land          8/1/2017                        ABOS                  by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                  by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
Land          8/1/2017                        ABOS                  by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC:
LAND          9/15/2017      Memorandum of OA and Financing
                                           Statement                ST 311 320 UCC_Mortgage and Conveyance
LAND          9/15/2017        Offshore Operating Agreement         ST 311‐320 JDA Offshore Operating Agreement dtd 9‐15‐17, as amended
LAND          9/15/2017            Participation Agreement          ST 311‐320 JDA Participation Agreement dtd 9‐15‐17
Land          9/19/2017               Offer to Purchase             by and between Fieldwood Energy Offshore LLC and SCL Resources, LLC: Offer to Purchase SCL
                                                                    Resources, LLC'S Interest in GI 94, SS 79, VR 332 and WD 34
Land          11/7/2017              Modification to PHA            Enhancement and modification to test separator MBD ‐4010 at HI 547 B Platform ‐ PHA
                                                                    Agreement dated May 8, 1998
Land          4/6/2018      Notification of Withdrawal ‐ WC 269     Withdrawal Election
Land          4/17/2018                  Amendment                  by and between Fieldwood Energy LLC and Arena Energy, LP: Amendment to Production Handling
                                                                    Service Agreement dated May 8, 1988
Land           5/1/2018    Assignment Conveyance and Bill of Sale By and between Fieldwood Energy LLC, Peregrine Oil & Gas II, LLC and Castex Offshore, Inc. as
                                                                    "Assignor" and Northstar Offshore Ventures LLC as "Assignee"
Land          5/15/2018                   Divestiture               Divestiture of Interests in Mustang Island to TR Offhsore. L.L.C.
Land          6/1/2018          Property Exchange Agreement
                                                                    Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442; St. of LA Lease No.
                                                                    19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912) Offshore Louisiana
Land          6/14/2018              Performance Bond
                                                                    Sanare Energy Partners, LLC is the new principal replacing Northstar Offshore Ventures LLC
Land          7/11/2018       Assignment of Operating Interest      Assignment of Operatring Rights Interest from Apaceh to Fieldwood and GOM Shelf
       Case 20-33948 Document 775-2
                              723-1 Filed in TXSB on 01/21/21
                                                     01/01/21 Page 413
                                                                   333 of 531
                                                                          491
                                                 Exhibit I-F


Land          7/23/2018      Amendment to Property Exchange      Amendment to Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442; St.
                                     Agreement                   of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912) Offshore
                                                                 Louisiana
Land           8/1/2018                Acquisition               by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech's Interest in
                                                                 the SS 271 Unit (SS 247,248,249)
Land           8/1/2018          Withdrawal Agreement            by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdraws
                                                                 from SS 271 Unit
Land           8/1/2018         Assignment and Bill of Sale      by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                 and Bill of Sale
Land           8/1/2018         Assignment and Bill of Sale      by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Assignment
                                                                 and Bill of Sale
Land           8/8/2018    Take Over Election Letter Agreement   In accordance with certain Farmout Agreeements dated 12/17/2002, 05/19/2003 and 02/13/2004,
                                                                 Fieldwood elects to decline
Land          8/13/2018        Confidentiality Agreement         Confidentiality Agreement: GOM SHELF ‐ DEEPWATER PROPERTIES
Land          8/27/2018    Withdrawal & Settlement Agreement     by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                 and settlement
Land          8/27/2018    Withdrawal & Settlement Agreement     by and between Fieldwood Energy Offshore LLC and Entech Enterprises, Inc.: Entech Withdrawal
                                                                 and settlement
Land           10/1/2018               Acquisition               Assignment of Hall‐Houston overriding royalty interest in SS 176
Land          10/18/2018        Abandonment Agreement            pursuant to that certain PHA for MC 496 produced at SP B Platform dated 11/1/2002
Land           12/4/2018        Confidentiality Agreement
                                                                 Confidentiality Agreement by and between Fieldwood Energy LLC and Byron Energy Inc.
Land          12/10/2018        Confidentiality Agreement
                                                                 Confidentiality Agreement by and between Fielwdood Energy LLC and Exxon Mobil Corporation
Land          12/20/2018             Letter of Intent            by and between Fieldwood Energy LLC and TR Offhsore. L.L.C.: Contemplation of Contract
                                                                 Operating Agreement, Transportation Agreement
Land           2/4/2019     Termination of Exchange Agreement    Termination of Property Exchange Letter Agreement dated June 1, 2018 ‐ BS 25 (OCS‐G 31442; St.
                                                                 of LA Lease No. 19718) EI Area, South Addition, North Half of Block 315 (OCS‐G 24912) Offshore
                                                                 Louisiana
LAND          2/22/2019        Exploration Agreement Letter      APA ‐ EXXI MP 295 Side Ltr Agrmnt dtd 2‐22‐13
Land          3/5/2019                Relinquishment             by and between GOM Shelf LLC and Arena Energy, LP: Relinquishment of OCS G0978
Land          3/19/2019         Confidentiality Agreement        Confidentiality Agreement by and between Fieldwood Energy LLC and ANKOR
Land          3/19/2019         Confidentiality Agreement        Confidentiality Agreement by and between Fieldwood Energy LLC and Sa nare
Land          4/1/2019               PHA Amendment               First Amendment to that certain Production Handling Agreement, dated September 1, 2009 ‐
                                                                 Eiugene Island 224 "A" Platform ‐ Federal Offshore Louisiana
Land           5/1/2019         Confidentiality Agreement        Confidentiality Agreement: BY AND BETWEEN FIELDWOOD ENERGY LLC AND CIBCO RESOURCES,
                                                                 LLC
Land          5/16/2019             Letter Agreement             by and between Fieldwood Energy LLC and Panther Pipeline, LLC: Letter Agreement Matagorda
                                                                 Operating Agreement MI 518/519 with regard to natural gas pipeline work.
Land          6/10/2019         Confidentiality Agreement        by and between Fieldwood Energy LLC and TRANSCONTINENTAL GAS PIPELINE COMPANY:
                                                                 Confidentiality Agreement:
Land          7/25/2019    Letter Agreement OCS‐G 14535 JB1ST2
                                            Well                 Pursuant to that certain Farmout dated 12/17/2002. Reassignment to Arena and P&A liabilitiy
LAND          7/25/2019            Exploration Agreement         Exploration Venture Agreement by and between Fieldwood Energy LLC and Juneau Oil & Gas LLC
                                                                 (terminated 6‐23‐20)
Land          11/5/2019         Confidentiality Agreement
                                                                 by and between Fieldwood Energy LLC and W&T OFFSHORE, INC: Confidentiality Agreement:
LAND          11/5/2019              Transfer Notice
Land          11/8/2019         Confidentiality Agreement        by and between Fieldwood Energy LLC and PROMETHEAN ENERGY CORPORATION: Confidentiality
                                                                 Agreement:
Land          11/8/2019         Confidentiality Agreement
                                                                 by and between Fieldwood Energy LLC and ROC OIL PTY LTD: Confidentiality Agreement:
                     Case 20-33948 Document 775-2
                                            723-1 Filed in TXSB on 01/21/21
                                                                   01/01/21 Page 414
                                                                                 334 of 531
                                                                                        491
                                                                        Exhibit I-F


      Land                    11/12/2019                Confidentiality Agreement
                                                                                        by and between Fieldwood Energy LLC and CASTEX ENERGY, INC: Confidentiality Agreement:
      Land                    11/14/2019                Confidentiality Agreement
                                                                                        by and between Fieldwood Energy LLC and COX OIL OFFSHORE, LLC: Confidentiality Agreement:
      Land                    11/21/2019                 Withdrawal Agreement           by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Wihdrawal from EC 2 SL
                                                                                        18121 ‐ W&T did not prepay abandonment
      Land                    11/21/2019                    Letter Agreement
                                                                                        Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to HG
                                                                                        sand by and between GOM Shelf Offshore LLC and Talos Energy Offshore LLC
      Land                    11/21/2019                    Letter Agreement
                                                                                        Letter Agreement SS 198 J‐11 Well zone shift: Zone shift recommended and election fron HO to HG
                                                                                        sand by and between GOM Shelf Offshore LLC and Renaissance Offshore LLC
      Land                    12/10/2019                      Non‐Consent
                                                                                        by and between Fieldwood Energy LLC and W&T Offshore, Inc.: W&T Non‐consent lease saving
                                                                                        ovperation on EC 2 SL 18121 for failure to respond to lease number FW194042
      Land                    12/12/2019          Purchase of Pipeline ROW OCS‐G 14731 by and between Fieldwood Energy LLC and Monforte Exploration L.L.C.: SS 274 A Platform to EI
                                                               Seg. No. 10406           259 A Platform
      Land                     1/22/2020                 Confidentiality Agreement      by and between Fieldwood Energy LLC and WERRUS AQUAMARINE, LLC: Confidentiality
                                                                                        Agreement:
      Land                     1/27/2020                         Acquisition            by and between Fieldwood Energy LLC, Castex Offshore, Inc., GOME 12711 LLC and Dorado Deep
                                                                                        GP, LLC : Assignment of Interest in MP 275 A‐3 Well
      Land                     3/2/2020                  Confidentiality Agreement      Confidentiality Agreement BY AND BETWEEN FIELDWOOD ENERGY LLC AND ODYSSEY PIPELINE LLC
                                                                                        = MP 289 "C" PF
      Land                      3/4/2020                 Confidentiality Agreement      Confidentiality Agreement by and between Fieldwood Energy LLC and Arena Energy
      Land               01/01/1994, 04/08/1994          Unit Operating Agreement       U nit Operating Agreement by and between CNG Producing Company, Columbia Gas Development
                                                                                        Corporation, Total Minatome Corporation, Energy Development Corporation, Murphy Exploration
                                                                                        and Production Company and Anadarko Petroleum Corporation; and Forest Oil Corporation and
                                                                                        Timbuck Company/The Hat Creek Production Company, Limited Partnership (referred to as
                                                                                        “Override Parties”)
      Land                    12//31/2013          First Amendment to the Participation First Amendment to the Participation Agreement OCS‐G0786, South Marsh Island Area, Block 48
                                                                 Agreement              Offshore Federal Waters
Pipeline Transport            10/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
Pipeline Transport            10/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
Pipeline Transport            10/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Arena Offshore LP and Arena Offshore LP
Pipeline Transport             7/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             7/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             7/31/2013          Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             6/3/2015           Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             6/3/2015           Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             6/3/2015           Barnacle Pipeline Throughput Capacity
                                                                 Agreement              Capacity Agreement by and between Fieldwood and Energy XXI and Energy XXI
Pipeline Transport             7/8/2013           Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                 Agreement              Exploration Company, LLC
Pipeline Transport             7/8/2013           Barnacle Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                                 Agreement              Exploration Company, LLC
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 415
                                                                                      335 of 531
                                                                                             491
                                                                      Exhibit I-F


   Pipeline Transport             7/8/2013      Barnacle Pipeline Throughput CapacityCapacity Agreement by and between Fieldwood and Tana Exploration Company, LLC and Tana
                                                             Agreement               Exploration Company, LLC
   Pipeline Transport             8/1/2015      Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                     Offshore, LLC
   Pipeline Transport             8/1/2015      Cheetah Pipeline Throughput Capacity Capacity Agreement by and between Fieldwood and Talos Energy Offshore, LLC and Talos Energy
                                                                                     Offshore, LLC
   Pipeline Transport            11/12/2013   THROUGHPUT CAPACITY LEASE AND TIE IN Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                             AGREEMENT               & Gas Corporation
   Pipeline Transport            12/1/2018     EWING BANK FLOWLINE THROUGHPUT
                                                    CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Apache Shelf Exploration LLC and Apache
                                                                                     Shelf Exploration LLC
   Pipeline Transport            12/1/2018     EWING BANK FLOWLINE THROUGHPUT
                                                    CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE
                                                                                     INC
   Pipeline Transport            12/1/2018     EWING BANK FLOWLINE THROUGHPUT
                                                    CAPACITY LEASE AGREEMENT         Capacity Agreement by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil
                                                                                     & Gas Corporation
   Pipeline Transport            2/2/1996              GATHERING AGREEMENT           Gathering Agreement by and between Fieldwood and CMA Pipeline and CMA Pipeline
   Pipeline Transport            9/30/2015          AMENDMENT TO GATHERING           Gathering Agreement by and between Fieldwood and CMPA PIPELINE PARTNERSHIP, LLC and
                                                             AGREEMENT               CMPA PIPELINE PARTNERSHIP, LLC
    PHA SS182/SS170               5/1/2013         PRODUCTION HANDLING AGMT          PHA by and between Fieldwood and BOIS D'ARC EXPLORATION, LLC and BOIS D'ARC
                                                                                     EXPLORATION, LLC
  PHA EI316A/EI 315C             7/14/2008         PRODUCTION HANDLING AGMT          PHA EI 3316A/EI 315C by and between Fieldwood and TANA EXPLORATION COMPANY LLC and
                                                                                     TANA EXPLORATION COMPANY LLC
 PHA for EB165A/EB430            9/30/2004         PRODUCTION HANDLING AGMT          PHA for EB165A/EB430 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                     WALTER OIL & GAS CORPORATION
   PHA for SP10B/ST72            12/1/2014         PRODUCTION HANDLING AGMT          PHA for SP10B/ST72 by and between Fieldwood and WALTER OIL & GAS CORPORATION and
                                                                                     WALTER OIL & GAS CORPORATION
   PHA GI 116A/ST 229             6/1/2005         PRODUCTION HANDLING AGMT          PHA for GI 116A/ST229 by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                     OFFSHORE INC
PHA SS178A/SS177#7A‐4ST          8/25/1998         PRODUCTION HANDLING AGMT          PHA SS178A/SS177#7A‐4ST by and between Fieldwood and W & T OFFSHORE INC and W & T
                                                                                     OFFSHORE INC
  PHA MP 310A/MP 315             11/30/2015        PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and TALOS ENERGY OFFSHORE, LLC and TALOS
                                                                                     ENERGY OFFSHORE, LLC
  PHA MP 310A/MP 315             11/30/2015        PRODUCTION HANDLING AGMT          PHA MP 310A/MP315 by and between Fieldwood and HE&D OFFSHORE LP and HE&D OFFSHORE
                                                                                     LP
   Service Agreements             4/1/2009               SERVICE CONTRACT            Allocation of quality bank by and between Fieldwood and Allocation Specialists, LLC and Allocation
                                                                                     Specialists, LLC
LEASE OF PLATFORM SPACE           2/1/1990              Access and Right of Use
                                                   Agreement3/1/2020 ‐ 2/28/2021     A‐LOPS‐WD075 by and between Fieldwood and American Panther, LLC and American Panther, LLC
LEASE OF PLATFORM SPACE          10/10/1984     Platform Space Rental Agreement SMI A‐LOPS‐ SM268A by and between Fieldwood and American Panther, LLC and American Panther,
                                               268A Platform10/01/2020 ‐ 11/30/2021 LLC

LEASE OF PLATFORM SPACE          11/29/2009    Amendment to Lease of Platform Space
                                               Agreement Main Pass 289 C8/1/2020 ‐
                                                    7/31/2021(Horn Mountain)          A‐LOPS‐MP289C(Horn Mountain) by and between Fieldwood and Anadarko US Offshore LLC and
                                                                                      Anadarko US Offshore LLC
LEASE OF PLATFORM SPACE          7/12/2016       Marathon Pipeline Facilities Exxon's A‐LOPS‐AccessSvc by and between Fieldwood and East Cameron Gathering LLC and East Cameron
                                                   vermilion Block 265 Platform A     Gathering LLC
LEASE OF PLATFORM SPACE          4/15/1988      Amendment of SMI Gathering System
                                               (Vermillion Block 265 Platform) Access
                                                 and Services Agreement1/1/2020‐      Annual LOPS‐VR 265 P/F‐A‐DRL by and between Fieldwood and Crimson Gulf Accounts Payable
                                                             12/31/2020               and Crimson Gulf Accounts Payable
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 416
                                                                                      336 of 531
                                                                                             491
                                                                     Exhibit I-F


LEASE OF PLATFORM SPACE           8/1/1996        Lease of Platform Space5/1/2020 ‐    ALOPS‐ODYSSEY by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                               4/30/2021               Company LP
LEASE OF PLATFORM SPACE          11/1/2001       Lease of Platform Space11/1/2020 ‐    A‐LOPS‐SM128SA2 by and between Fieldwood and Shell Pipeline Company LP and Shell Pipeline
                                                              10/30/2021               Company LP
LEASE OF PLATFORM SPACE          4/27/1977    FIRST AMENDMENT AND RATIAFICATION
                                                           TO TIE‐IN SERVICE           A‐LOPS‐MP288‐MP289FWE0240 by and between Fieldwood and Stone Energy Corpration and
                                                 AGREEMENT04/01/2020‐3/31/2021         Stone Energy Corpration
LEASE OF PLATFORM SPACE          11/15/1996      Lease of Platform space Agreement     ALOPS‐RAM POWELL by and between Fieldwood and Stone Energy Corpration and Stone Energy
                                                                                       Corpration
LEASE OF PLATFORM SPACE          10/25/1985                PLATFORM SPACE              A‐LOPS‐SP89B by and between Fieldwood and Texas Eastern Transmission and Texas Eastern
                                                AGREEMENT10/25/2020 ‐ 9/24/2021 Transmission
LEASE OF PLATFORM SPACE           3/1/1980               4/1/2020 ‐ 3/31/2021          A‐LOPS‐HI179A by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                                                       Transcontinental Gas Pipeline Corporation
LEASE OF PLATFORM SPACE           9/5/1981    Receipt and Measurement Facilaity LOPS
                                                   EI Block 158 Platform4/1/2020 ‐     A‐LOPS‐EI158B by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                               3/31/2021               Transcontinental Gas Pipeline Corporation
LEASE OF PLATFORM SPACE          9/15/1981    Receipt and Measurement Facility LOPS EI
                                                  Block 135 "JA" Platform4/1/2020 ‐    A‐LOPS‐EI136JA by and between Fieldwood and Transcontinental Gas Pipeline Corporation and
                                                               3/31/2021               Transcontinental Gas Pipeline Corporation
LEASE OF PLATFORM SPACE           7/1/1997      Lease of Offshore Platform Space Gas
                                                 Measurement Facility, Pipeline Rise,  A‐LOPS‐SM128 by and between Fieldwood and Trunkline Gas Company LLC and Trunkline Gas
                                                        Liquids Scrubber Facility      Company LLC
LEASE OF PLATFORM SPACE           3/1/1998              3/01/2020 ‐ 2/28/2021
                                                                                       A‐LOPS‐SS354A by and between Fieldwood and Williams Field Services and Williams Field Services
LEASE OF PLATFORM SPACE          11/29/2001            03/01/2020 ‐ 02/28/2021
                                                                                       A‐LOPS‐ MP289C by and between Fieldwood and W & T OFFSHORE INC and W & T OFFSHORE INC
LEASE OF PLATFORM SPACE          11/29/2001           LEASE OF PLATFORM SPACE          ANA103‐LOPS (Horn Mountain Monthly) by and between Fieldwood and Anadarko US Offshore
                                                                                       LLC and Anadarko US Offshore LLC
LEASE OF PLATFORM SPACE          12/21/2002        PLATFORM OPERATIONS AGMT            ARE101‐LOPS ‐ PL25 by and between Fieldwood and ARENA OFFSHORE LP and ARENA OFFSHORE
                                                                                       LP
LEASE OF PLATFORM SPACE           1/1/2011            LEASE OF PLATFORM SPACE          BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE           1/1/2011            LEASE OF PLATFORM SPACE          BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE           1/1/2011            LEASE OF PLATFORM SPACE          BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE           1/1/2011            LEASE OF PLATFORM SPACE          BRI116‐LOPS by and between Fieldwood and BRISTOW U.S. LLC and BRISTOW U.S. LLC
LEASE OF PLATFORM SPACE           1/1/2018                SERVICES CONTRACT            EAS101 VR265ADRL by and between Fieldwood and EAST CAMERON GATHERING LLC and EAST
                                                                                       CAMERON GATHERING LLC
LEASE OF PLATFORM SPACE          11/1/2006            LEASE OF PLATFORM SPACE          ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC

LEASE OF PLATFORM SPACE          11/1/2006          LEASE OF PLATFORM SPACE
                                                                                       ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
LEASE OF PLATFORM SPACE          11/1/2006          LEASE OF PLATFORM SPACE
                                                                                       ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
LEASE OF PLATFORM SPACE          11/1/2006          LEASE OF PLATFORM SPACE
                                                                                       ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
LEASE OF PLATFORM SPACE          11/1/2006          LEASE OF PLATFORM SPACE
                                                                                       ERA100‐LOPS by and between Fieldwood and ERA Helicopters LLC and ERA Helicopters LLC
LEASE OF PLATFORM SPACE          4/28/2009          LEASE OF PLATFORM SPACE            ROT101‐LOPS EI 189P/F B by and between Fieldwood and Rotocraft Leasing Company, LLC and
                                                                                       Rotocraft Leasing Company, LLC
LEASE OF PLATFORM SPACE          4/28/2009          LEASE OF PLATFORM SPACE            ROT101‐LOPS MATAGORDA ISLAND 622C by and between Fieldwood and Rotocraft Leasing
                                                                                       Company, LLC and Rotocraft Leasing Company, LLC
LEASE OF PLATFORM SPACE          8/12/2019          LEASE OF PLATFORM SPACE            TAM102‐LOPS‐1 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE          8/12/2019          LEASE OF PLATFORM SPACE            TAM102‐LOPS‐2 by and between Fieldwood and TAMPNET and TAMPNET
LEASE OF PLATFORM SPACE          8/12/2019          LEASE OF PLATFORM SPACE            TAM102‐LOPS‐3 by and between Fieldwood and TAMPNET and TAMPNET
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 417
                                                                                       337 of 531
                                                                                              491
                                                                  Exhibit I-F


 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐4 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐5 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐6 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐7 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐8 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐9 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐13 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐17 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐18 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐12 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐14 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐15 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐16 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐20 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐24 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐25 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          8/12/2019       LEASE OF PLATFORM SPACE       TAM102‐LOPS‐26 by and between Fieldwood and TAMPNET and TAMPNET
 LEASE OF PLATFORM SPACE          4/15/1968       LEASE OF PLATFORM SPACE       KIN129‐LOPS by and between Fieldwood and KINETICA DEEPWATER EXPRESS, LLC and KINETICA
                                                                                DEEPWATER EXPRESS, LLC
 LEASE OF PLATFORM SPACE          6/14/2000        FACILITIES OPERATING AND     WIL174 OP&MN FEE‐VK251A by and between Fieldwood and WILLIAMS FIELD SERVICES and
                                                     MAINTENANCE AGMT           WILLIAMS FIELD SERVICES
PRODUCTION HANDLING AGMT           1/1/2007    PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC            and EPL OIL
         (JIB)‐2                                                                & GAS, LLC
PRODUCTION HANDLING AGMT           1/1/2007    PRODUCTION HANDLING AGREEMENT    PHA EI312‐SM142 by and between Fieldwood and EPL OIL & GAS, LLC            and EPL OIL
         (JIB)‐2                                                                & GAS, LLC
PRODUCTION HANDLING AGMT           3/1/2007    PRODUCTION HANDLING AGREEMENT    PHA PL009‐PL010B by and between Fieldwood and MCMORAN OIL & GAS LLC              and
         (JIB)‐3                                                                MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT           3/1/2007    PRODUCTION HANDLING AGREEMENT    PHA PL009‐PL010B by and between Fieldwood and RIDGEWOOD ENERGY CORPORATION
         (JIB)‐3                                                                and RIDGEWOOD ENERGY CORPORATION
PRODUCTION HANDLING AGMT           3/1/2007    PRODUCTION HANDLING AGREEMENT
         (JIB)‐3                                                                PHA PL009‐PL010B by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT          8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC              and
         (JIB)‐4                                                                MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT          8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and MP GULF OF MEXICO, LLC              and
         (JIB)‐4                                                                MP GULF OF MEXICO, LLC
PRODUCTION HANDLING AGMT          8/14/1995    PRODUCTION HANDLING AGREEMENT    PHA SM280‐SM268A by and between Fieldwood and FWE and FWE
         (JIB)‐4
PRODUCTION HANDLING AGMT           6/9/2008          JIB PHA EC 2C/EC2#1
         (JIB)‐5                                                                PHA EC002‐EC002C by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT           6/9/2008          JIB PHA EC 2C/EC2#1        PHA EC002‐EC002C by and between Fieldwood and C/O FAIRFIELD‐MAXWELL LTD              and
         (JIB)‐5                                                                C/O FAIRFIELD‐MAXWELL LTD
PRODUCTION HANDLING AGMT           6/9/2008          JIB PHA EC 2C/EC2#1        PHA EC002‐EC002C by and between Fieldwood and HILCORP ENERGY 1 LP              and
         (JIB)‐5                                                                HILCORP ENERGY 1 LP
PRODUCTION HANDLING AGMT           5/1/2012       JIB PHA EI 354#A6/EI337A10
         (JIB)‐6                                                                PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT           5/1/2012       JIB PHA EI 354#A6/EI337A10
         (JIB)‐6                                                                PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT           5/1/2012       JIB PHA EI 354#A6/EI337A10
         (JIB)‐6                                                                PHA EI354‐EI337A by and between Fieldwood and FWE and FWE
                      Case 20-33948 Document 775-2
                                             723-1 Filed in TXSB on 01/21/21
                                                                    01/01/21 Page 418
                                                                                  338 of 531
                                                                                         491
                                                              Exhibit I-F


PRODUCTION HANDLING AGMT      1/1/2001       PHA VK694‐MP0259A‐FWE0313        PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                             and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT      1/1/2001       PHA VK694‐MP0259A‐FWE0313        PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and PIQUANT INC
          (JIB)‐7                                                             and PIQUANT INC
PRODUCTION HANDLING AGMT      1/1/2001    PRODUCTION HANDLING AGREEMENT
          (JIB)‐7                                                             PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT      1/1/2001    PRODUCTION HANDLING AGREEMENT       PHA VK694‐MP0259A‐FWE0313 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐7                                                             and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT     10/1/2002    PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                             PHA ST205‐ST206A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT     10/1/2002    PRODUCTION HANDLING AGREEMENT
          (JIB)‐8                                                             PHA ST205‐ST206A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT     10/1/2002    PRODUCTION HANDLING AGREEMENT       PHA ST205‐ST206A by and between Fieldwood and MARATHON OIL COMPANY                   and
          (JIB)‐8                                                             MARATHON OIL COMPANY
PRODUCTION HANDLING AGMT      9/1/2002        FLOWLINE USE AGREEMENT
          (JIB)‐9                                                             PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT      9/1/2002        FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐9                                                             and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT      9/1/2002        FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and PIQUANT INC
          (JIB)‐9                                                             and PIQUANT INC
PRODUCTION HANDLING AGMT      9/1/2002        FLOWLINE USE AGREEMENT          PHA VK694‐MP0259A‐FWE0317 by and between Fieldwood and MCMORAN OIL & GAS LLC
          (JIB)‐9                                                             and MCMORAN OIL & GAS LLC
PRODUCTION HANDLING AGMT     4/28/2014    PRODUCTION HANDLING AGREEMENT
         (JIB)‐10                                                             PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT     4/28/2014    PRODUCTION HANDLING AGREEMENT
         (JIB)‐10                                                             PHA MP312‐MP311A by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT     4/28/2014    PRODUCTION HANDLING AGREEMENT       PHA MP312‐MP311A by and between Fieldwood and EPL OIL & GAS, LLC             and EPL
         (JIB)‐10                                                             OIL & GAS, LLC
PRODUCTION HANDLING AGMT     12/19/2003   PRODUCTION PROCESSING HANDLING      PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
         (JIB)‐11                              AND OPERATING AGMT
PRODUCTION HANDLING AGMT     12/19/2003   PRODUCTION PROCESSING HANDLING      PHA EI342C‐EI342C by and between Fieldwood and FWE and FWE
         (JIB)‐11                              AND OPERATING AGMT
PRODUCTION HANDLING AGMT     12/19/2003   PRODUCTION PROCESSING HANDLING      PHA EI342C‐EI342C by and between Fieldwood and TANA EXPLORATION COMPANY LLC
         (JIB)‐11                              AND OPERATING AGMT             and TANA EXPLORATION COMPANY LLC
PRODUCTION HANDLING AGMT     4/28/2014    PRODUCTION HANDLING AGREEMENT       PHA MP311B‐MP302B19 by and between Fieldwood and APACHE SHELF EXPLORATION LLC
         (JIB)‐12                                                             and APACHE SHELF EXPLORATION LLC
PRODUCTION HANDLING AGMT     4/28/2014    PRODUCTION HANDLING AGREEMENT       PHA MP311B‐MP302B19 by and between Fieldwood and EPL OIL & GAS, LLC           and
         (JIB)‐12                                                             EPL OIL & GAS, LLC
PRODUCTION HANDLING AGMT      4/1/2007    PRODUCTION HANDLING AGREEMENT       RID108101‐MP289C‐MP275 by and between Fieldwood and RIDGEWOOD ENERGY CORPORATION
         (JIB)‐13                                                             and RIDGEWOOD ENERGY CORPORATION
PRODUCTION HANDLING AGMT      4/1/2007    PRODUCTION HANDLING AGREEMENT
         (JIB)‐13                                                          RID108101‐MP289C‐MP275 by and between Fieldwood and FWE and FWE
PRODUCTION HANDLING AGMT     10/23/2018   AGREEMENT FOR THE GATHERING AND
           (JIB)                           PROCESSING OF MO 826 ("SLEEPING
                                                       BEAR")              MO826‐VK251 by and between Fieldwood and W& T Offshore and W& T Offshore
PRODUCTION HANDLING AGMT                  PRODUCTION HANDLING AGREEMENT
        (Non‐Op)                                                           ST 320 A‐5ST1 by and between Fieldwood and W&T Offshore, Inc. and W&T Offshore, Inc.
PRODUCTION HANDLING AGMT     6/30/1999    PRODUCTION HANDLING AGREEMENT
        (Non‐Op)                                                           MC 108/MC 109 by and between Fieldwood and Talos Energy LLC and Talos Energy LLC
PRODUCTION HANDLING AGMT                  PRODUCTION HANDLING AGREEMENT ST 311 A1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
        (Non‐Op)                                                           Corporation
PRODUCTION HANDLING AGMT     7/18/2002    PRODUCTION HANDLING AGREEMENT HI A‐582 by and between Fieldwood and Cox Operating, LLC and Cox Operating, LLC
        (Non‐Op)
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 419
                                                                                           339 of 531
                                                                                                  491
                                                                         Exhibit I-F


 PRODUCTION HANDLING AGMT             10/21/2018    PRODUCTION HANDLING AGREEMENT         ST 320 A02 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
         (Non‐Op)                                                                         Corporation
 PRODUCTION HANDLING AGMT             5/20/2019     PRODUCTION HANDLING AGREEMENT         ST 320 A03 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
         (Non‐Op)                                                                         Corporation
 PRODUCTION HANDLING AGMT             6/13/1996     PRODUCTION HANDLING AGREEMENT
         (Non‐Op)                                                                      SS 300 B/SS301 by and between Fieldwood and W & T Offshore, Inc. and W & T Offshore, Inc.
 PRODUCTION HANDLING AGMT             6/30/1999    PLATFORM ACCESS, OPERATING SERVICES
         (Non‐Op)                                         AND PRODUCTION HANDLING
                                                              AGREEMENT(ORION)         MC 109/MC110 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT              5/5/2009      PRODUCTION HANDLING AGREEMENT SS 189 C‐1 by and between Fieldwood and Walter Oil & Gas Corporation and Walter Oil & Gas
         (Non‐Op)                                                                      Corporation
 PRODUCTION HANDLING AGMT              3/1/2007      PRODUCTION HANDLING AGREEMENT
         (Non‐Op)                                                                      SM 107 by and between Fieldwood and Talos Energy and Talos Energy
 PRODUCTION HANDLING AGMT              7/1/2014      PRODUCTION HANDLING AND FACILITY
         (Non‐Op)                                               USE AGREEMENT          VR 271 by and between Fieldwood and Castex Offshore Inc and Castex Offshore Inc
 PRODUCTION HANDLING AGMT              8/1/1997      PRODUCTION HANDLING AGREEMENT
         (Non‐Op)                                                                      ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
 PRODUCTION HANDLING AGMT              8/1/1997      PRODUCTION HANDLING AGREEMENT
         (Non‐Op)                                                                      ST 176/ST 148 by and between Fieldwood and Arena Offshore LLC and Arena Offshore LLC
CONNECTION AGREEMENT EI 342C          9/17/1986       PIPELINE CONNECTION & OPERATION
                                                     AGREEMENT EUGENE ISLAND PIPELINE Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and GEL
                                                                     SYSTEM            Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C           1/1/2010       RATIFICATION OF & SUPPLEMENT TO
                                                    PIPELINE CONNECTION AND OPERATION Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and GEL
                                                                   AGREEMENT           Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342C           8/7/2018         AMENDMENT NO. 1 TO PIPELINE
                                                         CONNECTION AND OPERATION      Interconnect Agreement EI 346 by and between Fieldwood and GEL Offshore Pipeline, LLC and GEL
                                                                   AGREEMENT           Offshore Pipeline, LLC
CONNECTION AGREEMENT EI 342           10/26/2011         FACILITIES LETTER AGREEMENT   Agreement for Gas Connection at EI 346 by and between Fieldwood and ANR Pipeline Company
                                                                                       and ANR Pipeline Company
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
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   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
   Marketing Gas ‐ Transport          12/1/2013               IT Transport Contract    IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 420
                                                                                        340 of 531
                                                                                               491
                                                                  Exhibit I-F


Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
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Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013            ISCT Contract           ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013            ISCT Contract           ISCT Contract by and between Fieldwood Energy LLC and Transco and Transco
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract
                                                                                IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas Eastern
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract
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Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract
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Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract
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Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas Eastern

Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract
                                                                                IT Transport Contract by and between Fieldwood Energy LLC and Texas Eastern and Texas Eastern
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
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Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 421
                                                                                        341 of 531
                                                                                               491
                                                                  Exhibit I-F


Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport          9/13/2011        IT Transport Contract
                                                                                Chandeleur IT Transportation ‐ Fieldwood interest in MP 59 was sold to Cantium by and between
                                                                                Fieldwood Energy LLC and Chandeleur Pipeline, LLC, now owned by Third Coast Midstream and
                                                                                Chandeleur Pipeline, LLC, now owned by Third Coast Midstream
Marketing Gas ‐ Transport           4/1/2015          FT ‐2 Transport           Disocvery Gas ‐ FT2 agreement; by and between Fieldwood Energy LLC and Discovery Gas
                                                                                Transmission and Discovery Gas Transmission
Marketing Gas ‐ Transport           2/1/2019          Pool Agreement            Pool Agreement by and between Fieldwood Energy LLC and Gulf South Pipeline Company, LP and
                                                                                Gulf South Pipeline Company, LP

Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Transport          11/1/1995        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and HIGH ISLAND OFFSHORE SYSTEM,
                                                                                llc and HIGH ISLAND OFFSHORE SYSTEM, llc
Marketing Gas ‐ Gathering           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Gathering           4/1/2020            IT Gathering            IT Gathering by and between Fieldwood Energy LLC and Kinetica Midstream Energy, LLC and
                                                                                Kinetica Midstream Energy, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013        IT Transport Contract       IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                Kinetica Energy Express, LLC
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 422
                                                                                        342 of 531
                                                                                               491
                                                                     Exhibit I-F


Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC and
                                                                                     Kinetica Energy Express, LLC
Marketing Gas ‐ Transport          12/1/2003       IT Transport Contract‐ Reserve
                                                Dedicaation and Discount Commodity   Stingray Reserve Dedication VR Block 326 $.10 by and between Fieldwood Energy LLC and Stingray
                                                          Rate Agreement             Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)
Marketing Gas ‐ Transport          10/1/2014                IT Gathering             IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                     Midstream Services
Marketing Gas ‐ Transport          10/1/2014               IT Gathering              IT Gathering by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                     Midstream Services
Marketing Gas ‐ Transport          10/1/2019              FT ‐2 Transport
                                                                                     FT ‐2 Transport by and between Fieldwood Energy LLC and Venice Gathering and Venice Gathering
Marketing Gas ‐ Transport          10/1/2014               IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                     Midstream Services
Marketing Gas ‐ Transport          10/1/2014               IT Gathering              Pelican Pipeline by and between Fieldwood Energy LLC and Targa Midstream Services and Targa
                                                                                     Midstream Services
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013               IT Gathering              IT Gathering Agreement by and between Fieldwood Energy LLC and High Point Gas Gathering, LLC
                                                                                     and High Point Gas Gathering, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission, LLC
                                                                                     and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission, LLC
                                                                                     and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission, LLC
                                                                                     and High Point Gas Transmission, LLC
Marketing Gas ‐ Transport          12/1/2013           IT Transport Contract         IT Transport Contract by and between Fieldwood Energy LLC and High Point Gas Transmission, LLC
                                                                                     and High Point Gas Transmission, LLC
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 423
                                                                                        343 of 531
                                                                                               491
                                                                   Exhibit I-F


Marketing Gas ‐ Transport           4/1/2000      Firm Gathering & Dedication
                                                                                 Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.06 by and between Fieldwood Energy
                                                                                 LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering Company
Marketing Gas ‐ Transport          12/1/2015           Firm ‐ Gathering          Firm ‐ Gathering by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
                                                                                 Company and Manta Ray Offshore Gathering Company
Marketing Gas ‐ Transport          12/1/1992      Firm Gathering & Dedication    Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.032 by and between Fieldwood
                                                                                 Energy LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                 Company
Marketing Gas ‐ Transport           4/1/2010      Firm Gathering & Dedication
                                                                                 Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood Energy
                                                                                 LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering Company
Marketing Gas ‐ Transport           4/1/2010      Firm Gathering & Dedication    Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood Energy
                                                                                 Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                 Company
Marketing Gas ‐ Transport           4/1/2010      Firm Gathering & Dedication    Manta Ray firm Gatheing and Dedicaiton , Disount Rate of $.12 by and between Fieldwood Energy
                                                                                 Offshore, LLC and Manta Ray Offshore Gathering Company and Manta Ray Offshore Gathering
                                                                                 Company
Marketing Gas ‐ Transport          10/30/2017           FT ‐2 Transport          EW 910 / ST 320 by and between Fieldwood Energy, LLC and Nautilus Pipeline Company and
                                                                                 Nautilus Pipeline Company
Marketing Gas ‐ Transport           4/1/2010            FT ‐2 Transport          FT ‐2 Transport by and between Fieldwood Energy Offshore, LLC and Nautilus Pipeline Company
                                                                                 and Nautilus Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013         IT Transport Contract       Searobin West Transprt, IT max rate ‐ all receipt points by and between Fieldwood Energy LLC and
                                                                                 Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport           12/12013       IT PR Transport Contract      Searobin West PTR Transprt, max rate ‐ all receipt points by and between Fieldwood Energy LLC
                                                                                 and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde Transport      Searobin Retrograde contract. IT max rate by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013           IT‐PTR Transport          Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013           IT‐PTR Transport          Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                 Pipeline Company and Sea Robin Pipeline Company
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 424
                                                                                        344 of 531
                                                                                               491
                                                                      Exhibit I-F


Marketing Gas ‐ Transport          12/1/2013              IT‐PTR Transport              Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013               IT‐PTR Transport             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013               IT‐PTR Transport             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013               IT‐PTR Transport             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013               IT‐PTR Transport             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013               IT‐PTR Transport             Searobin East ‐ PTR ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013                  IT‐Transport              Searobin East ‐ Transport, IT max Rate. by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                        and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                        and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                        and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                        and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Transport          12/1/2013        IT‐Retrograde ‐Flash‐Transport      Searobin East ‐ Rertrgrade‐Flash‐ Transport, IT max Rate. by and between Fieldwood Energy LLC
                                                                                        and Sea Robin Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
Marketing Gas ‐ Gathering           8/1/2018   IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                        Pipeline Company and Sea Robin Pipeline Company
                              Case 20-33948 Document 775-2
                                                     723-1 Filed in TXSB on 01/21/21
                                                                            01/01/21 Page 425
                                                                                          345 of 531
                                                                                                 491
                                                                          Exhibit I-F


  Marketing Gas ‐ Gathering           8/1/2018     IT Retrograde contractTransport Contract IT Retrograde contractTransport Contract by and between Fieldwood Energy LLC and Sea Robin
                                                                                             Pipeline Company and Sea Robin Pipeline Company
  Marketing Gas ‐ Transport          10/1/2011                   IT‐PTR Transport
                                                                                             Searobin Pipeline ‐ sandridge /Dynamic IT transport by and between Fieldwood Energy Offshore,
                                                                                             LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company
  Marketing Gas ‐ Transport          10/1/2011               IT‐Retrograde Transport
                                                                                             SearobinWest Pipeline ‐ sandridge /Dynamic IT Retrograde by and between Fieldwood Energy
                                                                                             Offshore, LLC and Sea Robin Pipeline Company and Sea Robin Pipeline Company
  Marketing Gas ‐ Transport           4/1/2015          FT‐2 Discount Letter Agreement       Discovery Gas FT2 Discount letter by and between Fieldwood Energy LLC and Discovery Gas
                                                                                             Transmission and Discovery Gas Transmission
Marketing Gas ‐ Gathering and         4/1/2015     Gas Dedication and Gathering Agrement Discovery Gas Gathering and Gas Dedication by and between Fieldwood Energy LLC and Discovery
         Dedication                                                                          Gas Transmission and Discovery Gas Transmission
 Marketing Gas ‐ Transport            1/1/2012    IT Transport Contract ‐ Reserve Dedication Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                and Discount Rate            between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                             Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport           1/1/2012    IT Transport Contract ‐ Reserve Dedication Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                and Discount Rate            between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                             Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport           1/1/2012    IT Transport Contract ‐ Reserve Dedication Stinray ‐ HI 350, WC 144 WC269 $.10 discount. Reserve Dedicaton agreement 310074 by and
                                                                and Discount Rate            between Fieldwood Energy LLC and Stingray Pipeline Company LLC (MCP Operating) and Stingray
                                                                                             Pipeline Company LLC (MCP Operating)
  Marketing Gas ‐ Transport           1/1/2017            IT‐Transport‐ Discount Letter      Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                             by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                             Company
  Marketing Gas ‐ Transport           1/1/2017            IT‐Transport‐ Discount Letter      Searobin East ‐ Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST 295)
                                                                                             by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin Pipeline
                                                                                             Company
  Marketing Gas ‐ Transport           1/1/2017                   IT‐PTR Transport            Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                             295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                             Pipeline Company
  Marketing Gas ‐ Transport           1/1/2017                   IT‐PTR Transport            Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                             295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                             Pipeline Company
  Marketing Gas ‐ Transport          12/1/2013         IT‐PTR Transport‐ Discount Letter     Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                             295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                             Pipeline Company
  Marketing Gas ‐ Transport          12/1/2013         IT‐PTR Transport‐ Discount Letter     Searobin East ‐ PTR Transport, IT Discount Life of reserves at ST 292 (FW production‐ GI 116, ST
                                                                                             295) by and between Fieldwood Energy LLC and Sea Robin Pipeline Company and Sea Robin
                                                                                             Pipeline Company
  Marketing Gas‐Transport            12/17/1997                    FT ‐ Transport            Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy LLC
                                                                                             and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport            8/13/1997     Precedent Agreement for Transportation
                                                      of Gas and Non‐Juriscitional Services  Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy LLC
                                                                                             and Venice Gatheering System, L.L.C. and Venice Gatheering System, L.L.C.
  Marketing Gas‐Transport            12/15/1997        Reserve Commitment Agreement          Venice Gatheing Firm Transport with Disount $.05, ST‐148 by and between Fieldwood Energy LLC
                                                                                             and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering             4/1/2003                      IT Transport             GC 45, WD 41 by and between Fieldwood Energy LLC and Venice Gathering System, L.L.C. and
                                                                                             Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering            11/1/2010                      IT Transport
                                                                                             Venice Gathiering, Max Rate,WD 41 Effective date 11/1/2010 by and between Fieldwood Energy
                                                                                             LLC and Venice Gathering System, L.L.C. and Venice Gathering System, L.L.C.
  Marketing Gas‐Gathering            6/14/2000              Gas Gathering Agreement          Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                             Carbonate Trend
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 426
                                                                                       346 of 531
                                                                                              491
                                                                                        Exhibit I-F


 Marketing‐Gas Gathering                6/14/2000                      Gas Gathering Agreement          Gas Gathering Agreement by and between Fieldwood Energy LLC and Carbonate Trend and
                                                                                                        Carbonate Trend
 Marketing‐Gas Gathering                9/10/1990                      Gas Gathering Agreement          Gathering Agreement ‐ Discount for BA 491 by and between Fieldwood Energy LLC and WFS and
                                                                                                        WFS
Operating and Management                 6/1/2015                Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as the
        Agreement                                               Panther Operating Company (Third Coast) management and administrative functions for the System by and between Fieldwood Energy LLC
                                                                                                        and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating Company,
                                                                                                        LLC (Third Coast Midstream)
Operating and Management                 6/1/2015                Operating and Management Agreement Operator to perform the physical operations, maintenance, and repair of the System, as well as the
        Agreement                                               Panther Operating Company (Third Coast) management and administrative functions for the System by and between Fieldwood Energy LLC
                                                                                                        and Panther Operating Company, LLC (Third Coast Midstream) and Panther Operating Company,
                                                                                                        LLC (Third Coast Midstream)
Operating and Management                1/17/1963                Conveyance and Operating Agreement Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
        Agreement                                                  Grand Chenier Separation Facilities
                                                                       Cameron Parish, Louisiana

Operating and Management                1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
        Agreement                                                 Grand Chenier Separation Facilities
                                                                      Cameron Parish, Louisiana

Operating and Management                1/17/1963                Conveyance and Operating Agreement      Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
        Agreement                                                 Grand Chenier Separation Facilities
                                                                      Cameron Parish, Louisiana

Operating and Management                1/17/1963                Conveyance and Operating Agreement
        Agreement                                                 Grand Chenier Separation Facilities
                                                                      Cameron Parish, Louisiana
                                                                                                          Governs the Facility Operations and ownership. by and between Fieldwood Energy LLC and and
Operating and Management    des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
        Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and administrative
                                                                       from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
                                                                                                          Fieldwood Energy LLC and and
Operating and Management    des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
        Agreement                                               of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and administrative
                                                                       from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
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                                                                       from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
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                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 427
                                                                                         347 of 531
                                                                                                491
                                                                                          Exhibit I-F


Operating and Management      des the Construction and Operations Amended Agreement for the Operations Governs the Ownership and Operations of the Facility. Operator to perform the physical
        Agreement                                                 of Facility for the Removal of Condensate operations, maintenance, and repair of the System, as well as the management and administrative
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                                                                         from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
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                                                                         from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
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                                                                         from the Sea Robin Pipeline        functions for the System. Facility separates condesate from Sea Robin Pi by and between
                                                                                                            Fieldwood Energy LLC and and
Construction and Operation                10/1/1995               Restated and Amendment Agreement fo
       Agreement                                                 the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                    Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                                            and
Construction and Operation                10/1/1995               Restated and Amendment Agreement fo
       Agreement                                                 the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                    Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
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Construction and Operation                10/1/1995               Restated and Amendment Agreement fo
       Agreement                                                 the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                                    Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                                                Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                                            and
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 428
                                                                                         348 of 531
                                                                                                491
                                                                        Exhibit I-F


Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
       Agreement                                the Construction and Operation of the Sea Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                  Robin Gas Processing Plant Vermilion Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                            Parish, Louisiana             and

Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
       Agreement                                the Construction and Operation of the Sea Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
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                                                            Parish, Louisiana             and

Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
       Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                  Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                            Parish, Louisiana             Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                          and
                              Case 20-33948 Document 775-2
                                                     723-1 Filed in TXSB on 01/21/21
                                                                            01/01/21 Page 429
                                                                                          349 of 531
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                                                                         Exhibit I-F


 Construction and Operation          10/1/1995    Restated and Amendment Agreement fo
        Agreement                                the Construction and Operation of the Sea The facility recovers Plant Products attributable to gas transported in the Sea Robin Pipeline.
                                                    Robin Gas Processing Plant Vermilion Separator gas from the Sea Robin Condensate Removal Facility is returned to the Sea Robin
                                                               Parish, Louisiana           Pipeline system and processed through the Gas Plant. by and between Fieldwood Energy LLC and
                                                                                           and
  Ownership and Operating            10/1/1982    Construction, Ownership and Operating
        Agreement                                                 Agreement                Governs the Ownership and Operations of the Facility. The Facility is co‐owned by two groups,
                                                                                           Owners and Producers. Facility assets are owned in three different classes: either solely owned by
                                                                                           Owners, co‐owned by Owners and Producers or soley owned by Pr by and between Fieldwood
                                                                                           Energy LLC and Kinetica Partners LLC and Kinetica Partners LLC
   Ownership Agreement               12/2/1985    Ownership Agreement for the Producers' Governs the Ownership and Operations of the Producers' Facility. The Producers' Facility consists
                                                      Facility Sabine Pass, as amended     of assets owned by Producers, as well as those assets co‐owned by the Producers and Owners.
                                                                                           Fieldwood, as the designated Producers' Representive, reprents th by and between Fieldwood
                                                                                           Energy LLC and and
  Ownership and Operating            9/26/1982     Venice Dehydration Station Operations
        Agreement                                       and Maintenance Agreement          Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station Owners
                                                                                           by and between Fieldwood Energy LLC and and
  Ownership and Operating            9/26/1982     Venice Dehydration Station Operations
        Agreement                                       and Maintenance Agreement          Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station Owners
                                                                                           by and between Fieldwood Energy LLC and and
  Ownership and Operating            9/26/1982     Venice Dehydration Station Operations
        Agreement                                       and Maintenance Agreement          Provides for the use of the Venice Dehydration Station by the Venice Dehydration Station Owners
                                                                                           by and between Fieldwood Energy LLC and and
     Service Agreement               11/1/2015        South Pass Dehydration Service
                                                           Agreement as amended            Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station on
                                                                                           behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services Company LLC
                                                                                           (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement               11/1/2015        South Pass Dehydration Service
                                                           Agreement as amended            Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station on
                                                                                           behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services Company LLC
                                                                                           (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
     Service Agreement               11/1/2015        South Pass Dehydration Service
                                                           Agreement as amended            Provides for certain monitoring, maintenance and repais for the South Pass Dehydration Station on
                                                                                           behalf of Owners by and between Fieldwood Energy LLC and Venice Energy Services Company LLC
                                                                                           (Targa Resources) and Venice Energy Services Company LLC (Targa Resources)
  Ownership and Operating             3/6/1974     Construction and Operating Agreement
        Agreement                                      for Onshore Separation Facility     Provides for the construction and operation of the onshore separation facility which is connected
                                                  Cameron Parish, Louisiana as amended to the facilites of Stingray Pipeline Company and which separates condensate from the natural gas
                                                                                           injected into and transported by Stinray by and between Fieldwood Energy LLC and Stingray
                                                                                           Pipeline Company LLC (MCP Operating) and Stingray Pipeline Company LLC (MCP Operating)
Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                           and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                           and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement
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                                                                                           and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                           and N/A and N/A
                              Case 20-33948 Document 775-2
                                                     723-1 Filed in TXSB on 01/21/21
                                                                            01/01/21 Page 430
                                                                                          350 of 531
                                                                                                 491
                                                                         Exhibit I-F


Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                         and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement Provides for the construction management of the Facility by and between Fieldwood Energy LLC
          Agreement                               South Pass West Delta Gathering System and N/A and N/A

Construction and Management          10/1/1981   Construction and Management Agreement Provides for the construction management of the Facility by and between Fieldwood Energy LLC
          Agreement                               South Pass West Delta Gathering System and N/A and N/A

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          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                         and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                         and N/A and N/A
Construction and Management          10/1/1981   Construction and Management Agreement
          Agreement                               South Pass West Delta Gathering System Provides for the construction management of the Facility by and between Fieldwood Energy LLC
                                                                                         and N/A and N/A
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
    Owners' Agreement                10/1/1981      Owners' Agreement South Pass West Provides description and ownership of said Gathering System by and between Fieldwood Energy
                                                          Delta Gathering System         LLC and Energy XXI Pipeline II, LLC and Energy XXI Pipeline II, LLC
 Contribution Ageement (LLC          11/2/2010           Contribution Agreement          SP 49 Pipeline LLC (the “Entity”), an limited liability company, was formed on November 2, 2010 by
         formation)                                                                      Apache GOM Pipeline, Inc, (succeeded by FW GOM Pipeline, Inc), Energy XXI GOM LLC, and Stone
                                                                                         Energy Offshore, LLC (succeeded by Talos Resources LLC). The e by and between Fieldwood
                                                                                         Energy LLC and Talos Resources LLC and Energy XXI GOM, LLC and Talos Resources LLC and Energy
                                                                                         XXI GOM, LLC
    Operating Agreement              11/2/2010   Operating Agreement South Pass Block 49 The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                                   & Southwest Pass 24 Pipeline System Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                         admintistative functios such as paying expenses and maintaing records by and between Fieldwood
                                                                                         Energy LLC and and
    Operating Agreement              11/2/2010   Operating Agreement South Pass Block 49 The Operator is responsible for the entity’s operations, accounting, and reporting detailed in the
                                                   & Southwest Pass 24 Pipeline System Operating Agreement, including pipeline operation, repair, and maintenance, as well as
                                                                                         admintistative functios such as paying expenses and maintaing records by and between Fieldwood
                                                                                         Energy LLC and and
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 431
                                                                                         351 of 531
                                                                                                491
                                                                       Exhibit I-F


  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
  Operating Agreement                7/1/1970     Agreement for the Construction and     The Operator shall receive the gas to be processed at the Plant Delivery Point for the account of
                                                 Operation of the TOCA Gas Processing    each owner and, after processing, deliver the Residue Gas to Highpoint, all in accordance with
                                                   Plant St. Bernard Parish, Louisiana   agreements by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                         Enterprise Gas Processing LLC
Construction and Operating          10/22/1976    Agreement for the Construction and     Processing of Owners' gas all in accordance with agreements by and between Fieldwood Energy
       Agreement                                 Operation of the Blue Water Gas Plant   LLC and EnLink Midstream Operating, LP and EnLink Midstream Operating, LP
                                                        Acadia Parish, Louisiana
  Operating Agreement                              Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                   Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement sets
                                                  Enterprise GTM Offshore Operating      forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                              Company, LLC               Energy LLC and and
  Operating Agreement                              Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                   Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement sets
                                                  Enterprise GTM Offshore Operating      forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                              Company, LLC               Energy LLC and and
  Operating Agreement                              Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                   Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement sets
                                                  Enterprise GTM Offshore Operating      forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                              Company, LLC               Energy LLC and and
  Operating Agreement                              Lateral Line Operating Agreement      Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                   Between Apache Corporation and        Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement sets
                                                  Enterprise GTM Offshore Operating      forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                              Company, LLC               Energy LLC and and
                                Case 20-33948 Document 775-2
                                                       723-1 Filed in TXSB on 01/21/21
                                                                              01/01/21 Page 432
                                                                                            352 of 531
                                                                                                   491
                                                                           Exhibit I-F


     Operating Agreement                               Lateral Line Operating Agreement   Owners constructed and own the Lateral Line which is used to connect Gas supplies in the High
                                                       Between Apache Corporation and     Island Area to s trunk pipelinesystem owned hy High Island Offshore System. Theis Agreement sets
                                                      Enterprise GTM Offshore Operating   forth Operator and Owners rights and responsibilities with respe by and between Fieldwood
                                                                  Company, LLC            Energy LLC and and
  Construction, Ownership and          10/1/1984        Eugene Island Block 361 Pipeline  Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                            Construction, Ownership and Operating Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                                   Agreement              Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and          10/1/1984        Eugene Island Block 361 Pipeline  Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                            Construction, Ownership and Operating Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                                   Agreement              Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and          10/1/1984        Eugene Island Block 361 Pipeline  Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                            Construction, Ownership and Operating Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                                   Agreement              Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and          10/1/1984        Eugene Island Block 361 Pipeline  Provides for the construction and operation of the EI 361 Pipeline. Originating from the EI 361 A
     Operating Agreement                            Construction, Ownership and Operating Platform to the Bonito Pipeline System by and between Fieldwood Energy LLC and Chevron
                                                                   Agreement              Pipeline Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
  Construction, Ownership and          2/25/2011               Amendment No. 2            Provides for the construction and operation of the EI 361 Pipeline (Segment I) and EI Pipeline
Operating Agreement Amendment                           Eugene Island Block 361 Pipeline  (Segment II) which was installed to connect the Barnacle Pipeline (the still in service portion what
                2                                   Construction, Ownership and Operating was formerly Bonito Pipeline) . by and between Fieldwood Energy LLC and Chevron Pipeline
                                                                   Agreement              Company and Chevron Pipeline Company
          Assignment                                    Eugene Island Block 361 Pipeline  The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                                    Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                                   Agreement              Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                          LLC and and
          Assignment                                   Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                                    Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                                  Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                          LLC and and
                          Case 20-33948 Document 775-2
                                                 723-1 Filed in TXSB on 01/21/21
                                                                        01/01/21 Page 433
                                                                                      353 of 531
                                                                                             491
                                                                      Exhibit I-F


        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
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                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
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                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
        Assignment                               Eugene Island Block 361 Pipeline   The Barnacle Pipeline is comprised of the sections of the Bonito Pipeline System (Segments I and
                                              Construction, Ownership and Operating II), that remained in service after abandonment of Bonito Pipeline. All owners in the Bonito
                                                            Agreement               Pipeline assigned their respective interest to Apache (Fielwood) by and between Fieldwood Energy
                                                                                    LLC and and
    Operating Agreement           5/1/1996        Pipeline Operating Agreement      To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                    Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

    Operating Agreement           5/1/1996         Pipeline Operating Agreement         To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                        Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

    Operating Agreement           5/1/1996         Pipeline Operating Agreement         To provide for the use, maintenance, operation, administration and removal of the Seagate
                                                                                        Pipeline. by and between Fieldwood Energy LLC / Fieldwood Energy Offshoe LLC and and

Proposed Ownership Agreement     7/11/2009   Letter of Intent Amberjack Pipeline Repair ‐
                                               Mississippi Canyon Block 109 Area and
                                             Chevron Pipe Line Company Valve Project ‐ Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                            South Pass 50                 become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement     7/11/2009   Letter of Intent Amberjack Pipeline Repair ‐
                                               Mississippi Canyon Block 109 Area and
                                             Chevron Pipe Line Company Valve Project ‐ Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                            South Pass 50                 become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
Proposed Ownership Agreement     7/11/2009   Letter of Intent Amberjack Pipeline Repair ‐
                                               Mississippi Canyon Block 109 Area and
                                             Chevron Pipe Line Company Valve Project ‐ Proposes that the producers utilizing the Amberjack Pipeline, collectively, “the Producers”,
                                                            South Pass 50                 become owners in the Amberjack Pipeline. by and between Fieldwood Energy LLC and and
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 434
                                                                                         354 of 531
                                                                                                491
                                                                        Exhibit I-F


    Oil Purchase and Sale           12/23/1995   Oil Purchase and Sale Agreement Between
    Agreement/Transport                            Anadarko Petroleum Corporation and
                                                  Texaco Trading and Transportation INC
                                                 (now Poseidon Oil Pipeline Company LLC) Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                                                          Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
   Oil Gathering Agreement           6/1/2003             Oil Gathering Agreement         Crude Oil Transport. by and between Fieldwood Energy LLC and Manta Ray Gathering Co.,LLC and
                                                                   Between                Manta Ray Gathering Co.,LLC
                                                      Westport Resources Corporation
                                                               Noble Energy Inc
                                                                       M
    Oil Purchase and Sale           7/15/2003    Oil Purchase and Sale Agreement Between Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
    Agreement/Transport                          Westport Resources Corporation Mariner Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
                                                 Energy Inc Noble Energy Inc and Poseidon
                                                          Oil Pipeline Company LLC

    Oil Purchase and Sale           4/10/2012    Oil Purchase and Sale Agreement Between
    Agreement/Transport                          Apache Shelf Inc and Poseidon Oil Pipeline Crude Oil Purchase and Sale/Transport by and between Fieldwood Energy LLC and Poseidon Oil
                                                                Company LLC                 Pipeline Company LLC and Poseidon Oil Pipeline Company LLC
   Oil Gathering Agreement           3/6/2020       Oil Gathering and Reserve Dedication
                                                   Agreement Between Rosefield Pipeline
                                                  Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                 as Producer                and Rosefield Pipeline Company LLC
   Oil Gathering Agreement           3/6/2020       Oil Gathering and Reserve Dedication
                                                   Agreement Between Rosefield Pipeline
                                                  Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                 as Producer                and Rosefield Pipeline Company LLC
   Oil Gathering Agreement           3/6/2020       Oil Gathering and Reserve Dedication
                                                   Agreement Between Rosefield Pipeline
                                                  Company, LLC and Fieldwood Energy LLC Crude Oil Transport. by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                 as Producer                and Rosefield Pipeline Company LLC
Oil Pipeline Connection Agreeet     7/23/2020    ST 53/67 Connection Agreement ST 52 "A"
                                                   Topsides Work‐Connecting Fieldwood
                                                  Energy LLC Pipeline Segment No 5890 to
                                                   Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                                            and Rosefield Pipeline Company LLC
Oil Pipeline Connection Agreeet     7/23/2020    ST 53/67 Connection Agreement ST 52 "A"
                                                   Topsides Work‐Connecting Fieldwood
                                                  Energy LLC Pipeline Segment No 5890 to
                                                   Rosefield Pipeline System 10" Pipeline Connection Agreement by and between Fieldwood Energy LLC and Rosefield Pipeline Company LLC
                                                                                            and Rosefield Pipeline Company LLC
         Oil Transport               8/1/2009     High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                         Capacity Lease Agreement           Oil & Gas LLC

         Oil Transport               8/1/2009     High Island Pipeline System Throughput Oil Transport by and between Fieldwood Energy LLC and McMoRan Oil & Gas LLC and McMoRan
                                                         Capacity Lease Agreement        Oil & Gas LLC

         Oil Transport              11/30/2018         Crimson Gulf Dedication and
                                                    Transportation Services Agreement    Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
         Oil Transport              11/30/2018         Crimson Gulf Dedication and
                                                    Transportation Services Agreement    Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
         Oil Transport              11/30/2018         Crimson Gulf Dedication and
                                                    Transportation Services Agreement    Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 435
                                                                                         355 of 531
                                                                                                491
                                                                        Exhibit I-F


          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and        Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                     Transportation Services Agreement
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and        Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                     Transportation Services Agreement
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and        Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                     Transportation Services Agreement
          Oil Transport             11/30/2018          Crimson Gulf Dedication and        Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                     Transportation Services Agreement
          Oil Transport             11/30/2018          Crimson Gulf Dedication and
                                                     Transportation Services Agreement     Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
          Oil Transport             11/30/2018          Crimson Gulf Dedication and        Oil Transport by and between Fieldwood Energy LLC and Crimson Gulf LLC and Crimson Gulf LLC
                                                     Transportation Services Agreement
Liquids Transportation Agreement     4/1/2015    Liquids Transportation Agreement (ST 311‐
                                                   "Megalodon") By and Among Discovery
                                                    Gas Transmission LLC and Fieldwood     Liquids Transportation Agreement by and between Fieldwood Energy LLC and Discovery Gas
                                                                 Energy LLC                Transmission LLC and Discovery Gas Transmission LLC
     Injected and Retrograde        2/10/2014       Injected and Retrograde Condensate     Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and Btu                 Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
  Reduction Make‐up Agreement                                  up Agreement                Transcontinental Gas Pipe Line Company LLC

     Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate   Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
Condensate Transportation and Btu                Transportation and Btu Reduction Make‐ and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
  Reduction Make‐up Agreement                                 up Agreement              Transcontinental Gas Pipe Line Company LLC

     Injected and Retrograde        2/10/2014      Injected and Retrograde Condensate
Condensate Transportation and Btu                Transportation and Btu Reduction Make‐ Injected and Retrograde Condensate Transportation and Btu Reduction Make‐up Agreement by
  Reduction Make‐up Agreement                                 up Agreement              and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line Company LLC and
                                                                                        Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and        7/1/2001      Central Texas Gathering System (1st)  Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                      Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                               Condensate
Agreement For Measurement and        7/1/2001      Central Texas Gathering System (1st)  Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                      Amended and Restated Agreement for Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                      Measurement and Allocation of
                                                               Condensate
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 436
                                                                                         356 of 531
                                                                                                491
                                                                        Exhibit I-F


Agreement For Measurement and        7/1/2001     Central Texas Gathering System (1st)
    Allocation of Condensate                     Amended and Restated Agreement for
                                                     Measurement and Allocation of         Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                               Condensate                  Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
Agreement For Measurement and        7/1/2014    Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                     Measurement and Allocation of
                                                               Condensate
Agreement For Measurement and        7/1/2014    Central Texas Gathering System Second     Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
    Allocation of Condensate                     Amended and Restated Agreement for        Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
                                                     Measurement and Allocation of
                                                               Condensate
Agreement For Measurement and        7/1/2014    Central Texas Gathering System Second
    Allocation of Condensate                     Amended and Restated Agreement for
                                                     Measurement and Allocation of          Measurement and Allocation of Condensate by and between Fieldwood Energy LLC and
                                                               Condensate                  Transcontinental Gas Pipe Line Company LLC and Transcontinental Gas Pipe Line Company LLC
     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674   Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                           Corporation and Transcontinental Gas Pipe Line Corporation
     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Island/Johnson Bayou, Markham Plant       Corporation and Transcontinental Gas Pipe Line Corporation
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674

     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674   Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                           Corporation and Transcontinental Gas Pipe Line Corporation
     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674   Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                           Corporation and Transcontinental Gas Pipe Line Corporation
     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                 Separation Facility. Contract # 94 0674   Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                           Corporation and Transcontinental Gas Pipe Line Corporation
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 437
                                                                                         357 of 531
                                                                                                491
                                                                        Exhibit I-F


     Liquid Transportation          9/27/1993       Liquid Transportation Nouth High
                                                 Island/Johnson Bayou, Markham Plant
                                                    Tailgate, Bayou Black & Vermilion
                                                                                       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 Separation Facility. Contract # 94 0674
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental Gas Corporation and Transcontinental Gas Pipe Line Corporation
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001

Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental Gas Corporation and Transcontinental Gas Pipe Line Corporation
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001

Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation
                                                Agreement Between Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                Agreement Between Transcontinental Gas Corporation and Transcontinental Gas Pipe Line Corporation
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001

Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation
                                                Agreement Between Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation
                                                Agreement Between Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation     11/1/2007     Amendment to Liquid Transportation
                                                Agreement Between Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp
                                                          Contract # 94 0674 001       Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                                       Corporation and Transcontinental Gas Pipe Line Corporation
Amendment Liquid Transportation     1/22/2013     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental Gas Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                    Contract # 94 0674 001/1005198

Amendment Liquid Transportation     1/22/2013     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                Agreement Between Transcontinental Gas Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                  Pipe Line Corporatio and Apache Corp Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                    Contract # 94 0674 001/1005198
                              Case 20-33948 Document 775-2
                                                     723-1 Filed in TXSB on 01/21/21
                                                                            01/01/21 Page 438
                                                                                          358 of 531
                                                                                                 491
                                                                        Exhibit I-F


Amendment Liquid Transportation      1/22/2013     Amendment to Liquid Transportation
                                                 Agreement Between Transcontinental Gas
                                                   Pipe Line Corporatio and Apache Corp Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                     Contract # 94 0674 001/1005198     Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                        Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation      1/22/2013     Amendment to Liquid Transportation Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                 Agreement Between Transcontinental Gas Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                   Pipe Line Corporatio and Apache Corp Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
                                                     Contract # 94 0674 001/1005198

Amendment Liquid Transportation      1/22/2013      Amendment to Liquid Transportation
                                                 Agreement Between Transcontinental Gas
                                                    Pipe Line Corporatio and Apache Corp Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                       Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                         Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation      1/22/2013      Amendment to Liquid Transportation
                                                 Agreement Between Transcontinental Gas
                                                    Pipe Line Corporatio and Apache Corp Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                       Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                         Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Amendment Liquid Transportation      1/22/2013      Amendment to Liquid Transportation
                                                 Agreement Between Transcontinental Gas
                                                    Pipe Line Corporatio and Apache Corp Liquid Transpotation by and between Fieldwood Energy LLC and Transcontinental Gas Pipeline
                                                       Contract # 94 0674 001/1005198    Company, LLC (formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                                                         Pipeline Company, LLC (formerly Transcontinental Gas Pipe Line Corporation)
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate
                                                  Transportation and Btu Reduction Make‐
                                                    up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                           Bayou Black) 28 0008 000      Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate
                                                  Transportation and Btu Reduction Make‐
                                                    up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                           Bayou Black) 28 0008 000      Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate
                                                  Transportation and Btu Reduction Make‐
                                                    up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                           Bayou Black) 28 0008 000      Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate  Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                  Transportation and Btu Reduction Make‐ Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
                                                    up Agreement‐Southeast Lateral (into
                                                           Bayou Black) 28 0008 000
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate
                                                  Transportation and Btu Reduction Make‐
                                                    up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                           Bayou Black) 28 0008 000      Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup     11/1/2007       Injected and Retrograde Condensate
                                                  Transportation and Btu Reduction Make‐
                                                    up Agreement‐Southeast Lateral (into Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                           Bayou Black) 28 0008 000      Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
      Liquid Transportation           4/8/2010                Amendment Liquid
                                                   HydrocarbonTransportation Agreement Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                 (NHI/Johnson Bayou) Cont. No. 1022772, Company LLC( formerly Transcontinental Gas Pipe Line Corporation) and Transcontinental Gas
                                                               Doc. No. 97 0515          Pipe Line Company LLC( formerly Transcontinental Gas Pipe Line Corporation)
                              Case 20-33948 Document 775-2
                                                     723-1 Filed in TXSB on 01/21/21
                                                                            01/01/21 Page 439
                                                                                          359 of 531
                                                                                                 491
                                                                        Exhibit I-F


      Liquid Transportation           8/6/1997      Liquid Hydrocarbon Transportation   Liquid Transportation by and between Fieldwood Energy LLC and Transcontinental Gas Pipe Line
                                                                Agreement               Corporation and Transcontinental Gas Pipe Line Corporation
Liquid Transportation BTU Makeup      7/1/2008     Injected and Retrograde Condensate
                                                 Transportation and Btu Reduction Make‐
                                                  up Agreement Central Texas Gathering Liquid Transportation BTU Makeup by and between Fieldwood Energy LLC and Transcontinental
                                                            System 28 0384 000          Gas Pipe Line Corporation and Transcontinental Gas Pipe Line Corporation
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                    Liquids Company and Apache Corp.    Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                 Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                 Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐ Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                 Liquids Company and Mariner Energy inc WFS‐Liquid Company

    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                 Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
    Terminalling Agreement            9/1/2009    Terminalling Agreement Between WFS‐
                                                 Liquids Company and Mariner Energy inc Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid Company and
                                                                                        WFS‐Liquid Company
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 440
                                                                                         360 of 531
                                                                                                491
                                                                                            Exhibit I-F


    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐   Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                 Contract BB111              Liquid LLC
    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐   Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                 Contract BB111              Liquid LLC
    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐   Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                 Contract BB111              Liquid LLC
    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐      Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐   Liquid LLC
                                                                                 Contract BB111
    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐   Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                 Contract BB111              Liquid LLC
    Terminalling Agreement                   2/1/2014               Terminalling Agreement Between WFS‐
                                                                     Liquidsllc and Fieldwood Energy LLC ‐  Terminalling Agreement by and between Fieldwood Energy LLC and WFS‐Liquid LLC and WFS‐
                                                                                 Contract BB111             Liquid LLC
   Oil Liquids Transportation                9/1/1997               Agreement Cocodrie/Pecan Island Plants  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
           Agreement                                                                                        and Kinetica Energy Express, LLC
   Oil Liquids Transportation               10/22/2009              Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
Agreement for Bluewater System                                                   dated 2/1/2007             and Kinetica Energy Express, LLC

 Oil Liquids Transportation for              9/30/2009              Liquids Transportation Agreement #51169 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
  Bluewater Pipeline System                                                      dated 2/1/2007             and Kinetica Energy Express, LLC
 Oil Liquids Transportation for              4/1/2004               Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
  Bluewater Pipeline System                                                                                 and Kinetica Energy Express, LLC
 Oil Liquids Transportation for              9/30/2009              Liquids Transportation Agreement #51051 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
  Bluewater Pipeline System                                                      dated 4/1/2004             and Kinetica Energy Express, LLC
 Oil Liquids Transportation for              2/25/2010                Liquids Transportation Agreement No. Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
Grand Chenier Offshore Pipeline                                                       50031                 and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for              2/25/2010                Liquids Transportation Agreement No. Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
Grand Chenier Offshore Pipeline                                                       50031                 and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for              2/25/2010                Liquids Transportation Agreement No. Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
Grand Chenier Offshore Pipeline                                                       50031                 and Kinetica Energy Express, LLC
             System
 Oil Liquids Transportation for              2/25/2010                Liquids Transportation Agreement No.
Grand Chenier Offshore Pipeline                                                       50031                 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
             System                                                                                         and Kinetica Energy Express, LLC
 Oil Liquids Amendment No. 6 riginal Contract; Amendment Effectiv        Amendment No. 6 to the Liquids     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             Transportation Contract        and Kinetica Energy Express, LLC
 Oil Liquids Amendment No. 6 1/1992, Amendment Effective 1/1/20          Amendment No. 6 to the Liquids     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica Energy Express, LLC
                                                                             Transportation Contract        and Kinetica Energy Express, LLC
   Oil Amendment to Liquids     ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
      Transport Agreement                                              Transportation Agreement Patterson
                                                                                    Terminal                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
   Oil Amendment to Liquids     ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
      Transport Agreement                                              Transportation Agreement Patterson
                                                                                    Terminal                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                 Case 20-33948 Document 775-2
                                                        723-1 Filed in TXSB on 01/21/21
                                                                               01/01/21 Page 441
                                                                                             361 of 531
                                                                                                    491
                                                                                               Exhibit I-F


    Oil Amendment to Liquids       ment date 8/1/2014 contract date 11     Amendment to Associated Liquids
      Transport Agreement                                                 Transportation Agreement Patterson
                                                                                       Terminal                 Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Oil Liquid Handling Agreement                 5/1/2008                      Liquid Handling Agreement         Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica

Amendment to Oil Liquid Handling                3/1/2011                             Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
           Agreement
Amendment to Oil Liquid Handling     11/1/2012 amended 12/1/2013                     Amendment                  Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Agreement to transfer from
 Apache Shelf, Inc. to Fieldwood
            Energy LLC
     Oil Liquids Agreement                      3/1/2011                          Liquids Agreement
                                                                                                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
      Oil Liquids Agreement                     3/1/2011                          Liquids Agreement
                                                                                                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
      Oil Liquids Agreement                     3/1/2011                          Liquids Agreement
                                                                                                                Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
      Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation
                                                                          Agreement Grand Chenier Terminal      Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
      Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                          Agreement Grand Chenier Terminal
      Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation     Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
                                                                          Agreement Grand Chenier Terminal
      Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation
                                                                          Agreement Grand Chenier Terminal      Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
      Oil Liquids Agreement                    11/1/2012                   Associated Liquids Transporation
                                                                          Agreement Grand Chenier Terminal      Oil Liquids Transportation by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment /1/2012 Amended effective 12/1/20                    Amendment                  Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                                LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
Oil Liquids Agreement Amendment /1/2012 Amended effective 12/1/20                    Amendment                  Oil Liquids Transportation transferring agreement from apache Corporation to Fieldwood Energy
                                                                                                                LLC by and between Fieldwood Energy LLC and Kinetica and Kinetica
  Assignment, Assumption and                    7/1/2013                 Assignment, Assumption and Consent     Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                             Agreement                  between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                                Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore
                                                                                                                Gathering Company, L.L.C.
  Assignment, Assumption and                    7/1/2013                 Assignment, Assumption and Consent     Consent to assign liquids separation 7 stabilization agreement as amended dated 1/17/2001
       Consent Agreement                                                             Agreement                  between Manta Ray and Apache (Contract Nos. 101939, 310225 and 106968) by and between
                                                                                                                Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore
                                                                                                                Gathering Company, L.L.C.
    Oil Liquids Separtion and                  11/1/2010                    Liquids Separtion and Stabilization LSA by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering Company, L.L.C. and
     Stabilization Agreement                                                            Agreement               Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and                  6/1/2014                 Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                             Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                                Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and                  6/1/2014                 Third Amendment to Manta Ray Liquids
     Stabilization Agreement                                             Separation and Stabilization Agreement Separation and Stabilization Agreement by and between Fieldwood Energy LLC and Manta Ray
                                                                                                                Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and                 11/1/2000                    Manta Ray Liquids Separation and
     Stabilization Agreement                                                     Stabilization Agreement        Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                                                Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
    Oil Liquids Separation and                 11/1/2000                    Manta Ray Liquids Separation and
     Stabilization Agreement                                                     Stabilization Agreement        Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                                                Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
                                Case 20-33948 Document 775-2
                                                       723-1 Filed in TXSB on 01/21/21
                                                                              01/01/21 Page 442
                                                                                            362 of 531
                                                                                                   491
                                                                          Exhibit I-F


Oil Liquids Separation and              3/1/2008    First Amendment to Liquids Separation
 Stabilization Agreement                                   and Stailization Agreement       Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                            Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              3/1/2008    First Amendment to Liquids Separation
 Stabilization Agreement                                   and Stailization Agreement       Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                            Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and             11/1/2000   Second Amendment to Manta Ray Liquids
 Stabilization Agreement                            Separation and Stabilization Agreement Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                             Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and             11/1/2000   Second Amendment to Manta Ray Liquids
 Stabilization Agreement                            Separation and Stabilization Agreement Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                             Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and             4/27/2004       Manta Ray Liquids Separation and
 Stabilization Agreement                                     Stabilization Agreement         Oil Liquids Separation and Stabilization Agreement by and between Fieldwood Energy LLC and
                                                                                             Manta Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              3/1/2014   Second Amendment to Liquids Separation
 Stabilization Agreement                                  and Stabilization Agreement        LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              3/1/2014   Second Amendment to Liquids Separation
 Stabilization Agreement                                  and Stabilization Agreement        LSSA putting all Block on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              6/1/2014    Third Amendment to Liquids Separation
 Stabilization Agreement                                  and Stabilization Agreement        LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids and Stabilization           6/1/2014    Third Amendment to Liquids Separation
         Agreement                                        and Stabilization Agreement        LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              1/1/2015   Fourth Amendment to Liquids Separation
 Stabilization Agreement                                  and Stabilization Agreement        LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              1/1/2015   Fourth Amendment to Liquids Separation
 Stabilization Agreement                                  and Stabilization Agreement        LSSA putting all Blocks on one contract by and between Fieldwood Energy Offshore LLC and Manta
                                                                                             Ray Offshore Gathering Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Separation and              4/1/2018          Liquids Separtion Agreement        Contract for ST 320 by and between Fieldwood Energy LLC and Manta Ray Offshore Gathering
 Stabilization Agreement                                                                     Company, L.L.C. and Manta Ray Offshore Gathering Company, L.L.C.
Oil Liquids Transporation               4/1/2018   Nautilus Pipeline Company, L.L.C. Liquids LTA for ST 320 by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and
        Agreement                                          Transportation Agreement          Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation               3/1/2014           First Amendment to Liquids        LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
        Agreement                                          Transportation Agreement          Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation               1/1/2015         Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
        Agreement                                           Transporation Agreement          Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation               1/1/2015         Second Amendment to Liquids         LTA by and between Fieldwood Energy Offshore LLC and Nautilus Pipeline Company, L.L.C. and
        Agreement                                           Transporation Agreement          Nautilus Pipeline Company, L.L.C.
Oil Liquids Transporation              11/1/2010           First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
        Agreement                                          Transportation Agreement          Pipeline Company, L.L.C.
Oil Liquids Transporation              11/1/2010           First Amendment to Liquids        LTA by and between Fieldwood Energy LLC and Nautilus Pipeline Company, L.L.C. and Nautilus
        Agreement                                          Transportation Agreement          Pipeline Company, L.L.C.
Oil Liquids Transporation               5/1/2015   Amendment to Transportation Agreement LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
        Agreement                                                                            Pipeline Company, LLC
Oil Liquids Transporation               5/1/2015   Amendment to Transportation Agreement LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
        Agreement                                                                            Pipeline Company, LLC
Oil Liquids Transporation               5/1/2015   Amendment to Transportation Agreement LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
        Agreement                                                                            Pipeline Company, LLC
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 443
                                                                                        363 of 531
                                                                                               491
                                                                       Exhibit I-F


Oil LiquidsTransportation           5/1/2015         Transportation Agreement for
       Agreement                               Interruptible Service Under Rate Schedule
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC        LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                         Pipeline Company, LLC
Oil Liquids Transporation           5/1/2015         Transportation Agreement for
        Agreement                              Interruptible Service Under Rate Schedule
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transporation           5/1/2015         Transportation Agreement for        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                              Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC

Oil Liquids Transporation           5/1/2015         Transportation Agreement for
        Agreement                              Interruptible Service Under Rate Schedule
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transporation           5/1/2015         Transportation Agreement for
        Agreement                              Interruptible Service Under Rate Schedule
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC        Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transporation           5/1/2015         Transportation Agreement for        Amendment No. 2 by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC
        Agreement                              Interruptible Service Under Rate Schedule and Sea Robin Pipeline Company, LLC
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC

Oil Liquids Transporation           5/1/2015         Transportation Agreement for
        Agreement                              Interruptible Service Under Rate Schedule
                                               ITS Between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
  Oil Liquids Transport             5/1/2015   Exhibit A for Transportation Agreement for
                                               Interruptible Service Under Rate Schedule
                                               ITS between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
  Oil Liquids Transport             5/1/2015   Exhibit A for Transportation Agreement for
                                               Interruptible Service Under Rate Schedule
                                               ITS between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
  Oil Liquids Transport             5/1/2015   Exhibit A for Transportation Agreement for
                                               Interruptible Service Under Rate Schedule
                                               ITS between Sea Robin Pipeline Company,
                                                     LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                          Company, LLC and Sea Robin Pipeline Company, LLC
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 444
                                                                                    364 of 531
                                                                                           491
                                                                   Exhibit I-F


Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                           Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                           Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                           Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 445
                                                                                    365 of 531
                                                                                           491
                                                                   Exhibit I-F


Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                           Interruptible Service Under Rate Schedule Company, LLC and Sea Robin Pipeline Company, LLC
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC

Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/1/2015   Exhibit A for Transportation Agreement for
                                           Interruptible Service Under Rate Schedule
                                           ITS between Sea Robin Pipeline Company,
                                                 LLC and Fieldwood Energy LLC         Amendment No. 2 for LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transport           5/5/2006           Amendment No. 1 to Liquid
                                              Transportation Agreement No. 1389
                                           between Sea Robin Pipeline company, LLC
                                            and Apache Corporation dated 5/1/2003 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
Oil Liquids Transport           5/5/2006           Amendment No. 1 to Liquid
                                              Transportation Agreement No. 1389
                                           between Sea Robin Pipeline company, LLC
                                            and Apache Corporation dated 5/1/2003 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
Oil Liquids Transport           5/1/2003      Liquid Hydrocarbons Transportation      LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                            Agreement                 Pipeline Company, LLC
Oil Liquids Transport           7/1/2010           Amendment No. 2 to Liquid
                                              Transportation Agreement No. 1389
                                           between Sea Robin Pipeline company, LLC
                                            and Apache Corporation dated 5/1/2003 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
Oil Liquids Transport           7/1/2010           Amendment No. 2 to Liquid
                                              Transportation Agreement No. 1389
                                           between Sea Robin Pipeline company, LLC
                                            and Apache Corporation dated 5/1/2003 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
Oil Liquids Transport           7/1/2010           Amendment No. 2 to Liquid
                                              Transportation Agreement No. 1389
                                           between Sea Robin Pipeline company, LLC
                                            and Apache Corporation dated 5/1/2003 LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
Oil Liquids Transport           2/1/2018    Amendment No. 1 to Liquid Hydrocarbon
                                            Separation Agreement dated October 1,
                                           2004 between Trunkline field Services LLC
                                           and Fieldwood Energy LLC‐Agreement No.
                                                               2430                   LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                      Pipeline Company, LLC
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 446
                                                                                           366 of 531
                                                                                                  491
                                                                         Exhibit I-F


       Oil Liquids Transport           2/1/2018   Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                   Separation Agreement dated October 1, Pipeline Company, LLC
                                                  2004 between Trunkline field Services LLC
                                                  and Fieldwood Energy LLC‐Agreement No.
                                                                   2430

       Oil Liquids Transport           2/1/2018   Amendment No. 1 to Liquid Hydrocarbon
                                                   Separation Agreement dated October 1,
                                                  2004 between Trunkline field Services LLC
                                                  and Fieldwood Energy LLC‐Agreement No.
                                                                   2430                     LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                            Pipeline Company, LLC
       Oil Liquids Transport           2/1/2018   Amendment No. 1 to Liquid Hydrocarbon
                                                   Separation Agreement dated October 1,
                                                  2004 between Trunkline field Services LLC
                                                  and Fieldwood Energy LLC‐Agreement No.
                                                                   2430                     LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                            Pipeline Company, LLC
       Oil Liquids Transport           2/1/2018   Amendment No. 1 to Liquid Hydrocarbon LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                   Separation Agreement dated October 1, Pipeline Company, LLC
                                                  2004 between Trunkline field Services LLC
                                                  and Fieldwood Energy LLC‐Agreement No.
                                                                   2430

       Oil Liquids Transport           2/1/2018   Amendment No. 1 to Liquid Hydrocarbon
                                                   Separation Agreement dated October 1,
                                                  2004 between Trunkline field Services LLC
                                                  and Fieldwood Energy LLC‐Agreement No.
                                                                    2430                    LTA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                                            Pipeline Company, LLC
Oil Liquids Separation Agreement      10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                 Agreement                  Pipeline Company, LLC
Oil Liquids Separation Agreement      10/1/2004        Liquid Hydrocarbons Separation       LSA by and between Fieldwood Energy LLC and Sea Robin Pipeline Company, LLC and Sea Robin
                                                                 Agreement                  Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation    1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation    1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation    1/19/2012   Amendment No. 4 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     6/1/2011   Amendment No. 3 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     6/1/2011   Amendment No. 3 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     6/1/2011   Amendment No. 3 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                   Service                  Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 447
                                                                                           367 of 531
                                                                                                  491
                                                                         Exhibit I-F


Oil Liquids Hydrocarbon Separation     1/1/2011   Amendment No. 2 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                  Service                   Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     1/1/2011   Amendment No. 2 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                  Service                   Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     1/1/2011   Amendment No. 2 to Liquid Hydrocarbon
             Agreement                             Separation Agreement for Interruptible Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                  Service                   Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     5/1/2009   Amendment No. 1 to Liquid Hydrocarbon
             Agreement                            Separatiaon Agreement dated 10/1/2004
                                                  between Trunkline Field Services, LLC and
                                                             Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                            Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     5/1/2009   Amendment No. 1 to Liquid Hydrocarbon
             Agreement                            Separatiaon Agreement dated 10/1/2004
                                                  between Trunkline Field Services, LLC and
                                                             Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                            Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Hydrocarbon Separation     5/1/2009   Amendment No. 1 to Liquid Hydrocarbon
             Agreement                            Separatiaon Agreement dated 10/1/2004
                                                  between Trunkline Field Services, LLC and
                                                             Apache Corporation             Liquid Hydrocarbon Separation Agreement by and between Fieldwood Energy LLC and Sea Robin
                                                                                            Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
     Oil Liquids Hydrocarbon           2/1/2018   Amendment No. 1 to Liquids Hydrocarbon
                                                  Transportation Agreement Dated October
                                                     1, 2004 between Sea Robin Pipeline
                                                  Company, LLC and Fieldwood Energy LLC‐
                                                            Agreement No. 2431              Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                                            Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
     Oil Liquids Hydrocarbon           2/1/2018   Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                  Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                     1, 2004 between Sea Robin Pipeline
                                                  Company, LLC and Fieldwood Energy LLC‐
                                                            Agreement No. 2431

     Oil Liquids Hydrocarbon           2/1/2018   Amendment No. 1 to Liquids Hydrocarbon
                                                  Transportation Agreement Dated October
                                                     1, 2004 between Sea Robin Pipeline
                                                  Company, LLC and Fieldwood Energy LLC‐
                                                            Agreement No. 2431           Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                                         Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
     Oil Liquids Hydrocarbon           2/1/2018   Amendment No. 1 to Liquids Hydrocarbon
                                                  Transportation Agreement Dated October
                                                     1, 2004 between Sea Robin Pipeline
                                                  Company, LLC and Fieldwood Energy LLC‐
                                                            Agreement No. 2431           Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                                         Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 448
                                                                                        368 of 531
                                                                                               491
                                                                      Exhibit I-F


 Oil Liquids Hydrocarbon            2/1/2018   Amendment No. 1 to Liquids Hydrocarbon Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                               Transportation Agreement Dated October Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
                                                  1, 2004 between Sea Robin Pipeline
                                               Company, LLC and Fieldwood Energy LLC‐
                                                         Agreement No. 2431

 Oil Liquids Hydrocarbon            2/1/2018   Amendment No. 1 to Liquids Hydrocarbon
                                               Transportation Agreement Dated October
                                                  1, 2004 between Sea Robin Pipeline
                                               Company, LLC and Fieldwood Energy LLC‐
                                                          Agreement No. 2431          Liquid Hydrocarbon Transportation Agreement by and between Fieldwood Energy LLC and Sea
                                                                                      Robin Pipeline Company, LLC and Sea Robin Pipeline Company, LLC
 Oil Liquids Hydrocarbon           10/1/2004      Liquid Hydrocarbons Transportation
                                                  Agreement between Trunkline Gas
                                                Company, LLC and Apache Corporation Liquid Hydrocarbons Injector by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
 Oil Liquids Hydrocarbon           10/1/2004      Liquid Hydrocarbons Transportation
                                                  Agreement between Trunkline Gas
                                                Company, LLC and Apache Corporation Liquid Hydrocarbons Injector by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                      Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           9/1/2012        Amendment No. 3 to Retrograde     Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                             Condensate Separation Agreement    Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           5/1/2001       Retrograde Condensate Separation   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                        Agreement               Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           5/1/2001       Retrograde Condensate Separation   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                        Agreement               Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate           5/1/2001       Retrograde Condensate Separation   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                        Agreement               Company, LLC and Sea Robin Pipeline Company, LLC
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 449
                                                                                         369 of 531
                                                                                                491
                                                                                        Exhibit I-F


Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde
  Separation Agreement                                              Condensate Separation Agreement No.   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                   2393                   Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde
  Separation Agreement                                              Condensate Separation Agreement No.   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                   2393                   Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde
  Separation Agreement                                              Condensate Separation Agreement No.   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                   2393                   Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde
  Separation Agreement                                              Condensate Separation Agreement No.   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                   2393                   Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                              Condensate Separation Agreement No.   Company, LLC and Sea Robin Pipeline Company, LLC
                                                                                   2393
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                              Condensate Separation Agreement No.   Company, LLC and Sea Robin Pipeline Company, LLC
                                                                                   2393
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde
  Separation Agreement                                              Condensate Separation Agreement No.   Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
                                                                                   2393                   Company, LLC and Sea Robin Pipeline Company, LLC
Oil Retrograde Condensate                  3/1/2018                   Amendment No. 5 to Retrograde       Retrograde Condensate Separation by and between Fieldwood Energy LLC and Sea Robin Pipeline
  Separation Agreement                                              Condensate Separation Agreement No.   Company, LLC and Sea Robin Pipeline Company, LLC
                                                                                   2393
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    art date 12/1/2013‐End Date 1/1/22       Rate Schedule ITS Interruptible    Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                          Transportation Service         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible        Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement         Company, LLC and Sea Robin Pipeline Company, LLC
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 450
                                                                                         370 of 531
                                                                                                491
                                                                                        Exhibit I-F


Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible       Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement        Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation    tart date 5/1/2014‐End date 1/1/220       Amendment to Interruptible       Liquids Transportation Service by and between Fieldwood Energy LLC and Sea Robin Pipeline
        Agreement                                                        Transportation Agreement        Company, LLC and Sea Robin Pipeline Company, LLC
Oil Liquids Transportation                 1/1/2010                 Liquid Hydrocarbons Transportation   Liquids Transportation Service by and between Fieldwood Energy LLC and Stingray Pipeline
        Agreement                                                               Agreement                Company LLC and Stingray Pipeline Company LLC
Oil Liquids Transportation                 1/1/2010                 Liquid Hydrocarbons Transportation   Liquids Transportation Service by and between Fieldwood Energy LLC and Stingray Pipeline
        Agreement                                                               Agreement                Company LLC and Stingray Pipeline Company LLC
Oil Liquids Transportation                 1/1/2012                 Liquid Hydrocarbons Transportation   Liquids Transportation Service by and between Fieldwood Energy LLC and Stingray Pipeline
        Agreement                                                               Agreement                Company LLC and Stingray Pipeline Company LLC
Oil Liquids Transportation                 1/1/2010                 Liquid Hydrocarbons Transportation   Liquids Transportation Service by and between Fieldwood Energy LLC and Stingray Pipeline
        Agreement                                                               Agreement                Company LLC and Stingray Pipeline Company LLC
Oil Liquids Transportation                 2/1/1995                 Liquid Hydrocarbons Transportation   Liquids Transportation Service by and between Fieldwood Energy LLC and Stingray Pipeline
        Agreement                                                               Agreement                Company LLC and Stingray Pipeline Company LLC
        Crude Sales                       8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/18/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0063                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0064                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0064                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0064                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0064                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0064                Trading (US) Company and Shell Trading (US) Company
       Crude Sales                        8/19/2020                    STUSCO CONTRACT REF. NO. ‐        STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                                                               CL69LP0065                Trading (US) Company and Shell Trading (US) Company
              Case 20-33948 Document 775-2
                                     723-1 Filed in TXSB on 01/21/21
                                                            01/01/21 Page 451
                                                                          371 of 531
                                                                                 491
                                                    Exhibit I-F


Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0066             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0067             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
              Case 20-33948 Document 775-2
                                     723-1 Filed in TXSB on 01/21/21
                                                            01/01/21 Page 452
                                                                          372 of 531
                                                                                 491
                                                    Exhibit I-F


Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0069             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/14/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0061             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/14/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0061             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0071             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0071             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0071             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/19/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0071             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/14/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0062             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/14/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CL69LP0062             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/13/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003971             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/13/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003971             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐    STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                           CLP0003964             Trading (US) Company and Shell Trading (US) Company
              Case 20-33948 Document 775-2
                                     723-1 Filed in TXSB on 01/21/21
                                                            01/01/21 Page 453
                                                                          373 of 531
                                                                                 491
                                                      Exhibit I-F


Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          8/11/2020      STUSCO CONTRACT REF. NO. ‐      STUSCO buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and Shell
                                            CLP0003964              Trading (US) Company and Shell Trading (US) Company
Crude Sales          1/31/2014        Evergreen Lease Purchase      Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/30/2014        Evergreen Lease Purchase      Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          1/31/2014      Term Evergreen Lease Purchase   Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          3/18/2014        Evergreen Lease Purchase      Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          3/18/2014        Evergreen Lease Purchase      Chevron buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and
                                                                    Chevron Products Company and Chevron Products Company
Crude Sales          11/30/2017                                     BP Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy LLC and BP
                                                                    Oil Supply, a Division of BP Products North America Inc. and BP Oil Supply, a Division of BP
                                                                    Products North America Inc.
              Case 20-33948 Document 775-2
                                     723-1 Filed in TXSB on 01/21/21
                                                            01/01/21 Page 454
                                                                          374 of 531
                                                                                 491
                                             Exhibit I-F


Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014                             ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014                             ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
              Case 20-33948 Document 775-2
                                     723-1 Filed in TXSB on 01/21/21
                                                            01/01/21 Page 455
                                                                          375 of 531
                                                                                 491
                                             Exhibit I-F


Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales          1/23/2014                             ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION

Crude Sales          1/23/2014
                                                           ExxonMobil Oil Supply buys crude oil from Fieldwood Energy by and between Fieldwood Energy
                                                           LLC and EXXONMOBIL Oil CORPORATION and EXXONMOBIL Oil CORPORATION
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales           3/5/2014                             Marathon Petroleum Corporation buys crude oil from Fieldwood Energy by and between
                                                           Fieldwood Energy LLC and Marathon Petroleum Company LP and Marathon Petroleum Company
                                                           LP
Crude Sales          6/18/2020                             Phillips 66 Petroleum Company buys crude oil from Fieldwood Energy by and between Fieldwood
                                                           Energy LLC and Phillips 66 Company and Phillips 66 Company
Crude Sales          6/18/2020                             Phillips 66 Petroleum Company buys crude oil from Fieldwood Energy by and between Fieldwood
                                                           Energy LLC and Phillips 66 Company and Phillips 66 Company
Crude Sales          6/18/2020                             Phillips 66 Petroleum Company buys crude oil from Fieldwood Energy by and between Fieldwood
                                                           Energy LLC and Phillips 66 Company and Phillips 66 Company
Crude Sales          6/18/2020                             Phillips 66 Petroleum Company buys crude oil from Fieldwood Energy by and between Fieldwood
                                                           Energy LLC and Phillips 66 Company and Phillips 66 Company
                           Case 20-33948 Document 775-2
                                                  723-1 Filed in TXSB on 01/21/21
                                                                         01/01/21 Page 456
                                                                                       376 of 531
                                                                                              491
                                                                      Exhibit I-F


    Crude Sales/Purchase           6/1/1998    Crude Oil Purchase and Sale Agreement Producers sell Crude Oil to Questor and Questor purchases Crude Oil from Producers. Producers
                                                                                     buy back a volume of Crude Oil at HIPS Segment III tie‐in equal to their monthly production sold to
                                                                                     Questor at the Platform. by and between Fieldwood Energy LLC and Questor Pipeline Venture and
                                                                                     Questor Pipeline Venture
MARKETING ‐ GAS PROCESSING        10/22/1976        CONSTRUCTION/OPERATING           Agreement for the Construction and Operation of the Blue Water Gas Plant, Acadia Parish,
                                                                                     Louisiana by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                                     ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE
                                                                                     between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                     Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC
MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE             between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                     Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE                between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                        Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC

MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE
                                                                                        between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                        Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC
MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE
                                                                                        between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                        Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC
MARKETING ‐ GAS PROCESSING         7/1/2019               PROCESSING‐FEE
                                                                                        between $.15 /mmbtu to $.10 /mmbtu depending on volume esc by and between Fieldwood
                                                                                        Energy LLC and Arrowhead Louisiana Pipeline, LLC and Arrowhead Louisiana Pipeline, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING         4/1/2020        PROCESSING‐POL‐THEORETICAL           POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                        LIQUIDS, LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 457
                                                                                     377 of 531
                                                                                            491
                                                                  Exhibit I-F


MARKETING ‐ GAS PROCESSING       4/1/2020      PROCESSING‐POL‐THEORETICAL         POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                  LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING       4/1/2020      PROCESSING‐POL‐THEORETICAL         POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                  LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING       4/1/2020      PROCESSING‐POL‐THEORETICAL         POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                  LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING       4/1/2020      PROCESSING‐POL‐THEORETICAL         POL 90%/10% by and between Fieldwood Energy LLC and ENLINK LIG LIQUIDS, LLC and ENLINK LIG
                                                                                  LIQUIDS, LLC
MARKETING ‐ GAS PROCESSING       4/1/2015      Gas Processing and Fractionation   GPM; < 1.8 = 82/18%, 1.8>3 = 85/15%, >3 = 88/12% by and between Fieldwood Energy LLC and
                                                         Agreement                Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       4/1/2015      Gas Processing and Fractionation   GPM; < 1.8 = 82/18%, 1.8>3 = 85/15%, >3 = 88/12% by and between Fieldwood Energy LLC and
                                                         Agreement                Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       1/1/2009     PROCESSING‐Greater of Fee or POL    Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2009     PROCESSING‐Greater of Fee or POL    Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2011             1st AMENDMENT               Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2011             1st AMENDMENT               Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       5/1/2012            2nd AMENDMENT                Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       5/1/2012            2nd AMENDMENT                Greater of 87%/13% or $.08 by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                  SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       8/1/2009     PROCESSING‐Greater of Fee or POL    80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       8/1/2009     PROCESSING‐Greater of Fee or POL    80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       8/1/2009     PROCESSING‐Greater of Fee or POL    80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       8/1/2009     PROCESSING‐Greater of Fee or POL    80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      12/1/2010             1st AMENDMENT               80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      12/1/2010             1st AMENDMENT               80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      12/1/2010             1st AMENDMENT               80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      12/1/2010             1st AMENDMENT               80%/20% POL with a minimum $.13 /MMBtu by and between Fieldwood Energy LLC and Williams
                                                                                  Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      11/5/2004    LETTER AGREEMENT‐ PROCESSING‐FEE     PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       2/1/2004    LETTER AGREEMENT‐ PROCESSING‐FEE     PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       9/1/2004     1st AMENDMENT PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       3/1/2003    LETTER AGREEMENT‐ PROCESSING‐FEE     PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      12/1/2003     1st AMENDMENT PROCESSING‐FEE        PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       4/1/2003     3rd AMENDMENT PROCESSING‐ FEE       PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                  and Williams Field Services and Williams Field Services
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 458
                                                                                     378 of 531
                                                                                            491
                                                                  Exhibit I-F


MARKETING ‐ GAS PROCESSING       8/1/2004    LETTER AGREEMENT‐ PROCESSING‐FEE   PTR KEEP WHOLE ‐fee=$.06 /MMBtu ‐ no liquids received by and between Fieldwood Energy LLC
                                                                                and Williams Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING       9/1/2009              PROCESSING‐FEE           If inlet volume is greater than 25,000; ((25,000 MMBTU * .03) + (Excess Daily Volume *
                                                                                0.025))/Total Field Delivery Pt. Daily Volume by and between Fieldwood Energy LLC and Williams
                                                                                Field Services and Williams Field Services
MARKETING ‐ GAS PROCESSING      1/24/2001    PROCESSING LETTER AGREEMENT ‐ POL 80% / 20% PTR KEEP WHOLE by and between Fieldwood Energy LLC and Williams Field Services
                                                                                and Williams Field Services
MARKETING ‐ GAS PROCESSING       1/1/2016    amendment to the PROCESSING LETTER 80% / 20% PTR KEEP WHOLE by and between Fieldwood Energy LLC and Williams Field Services
                                                      AGREEMENT ‐ POL           and Williams Field Services
MARKETING ‐ GAS PROCESSING       1/1/2016    amendment to the PROCESSING LETTER 80% / 20% PTR KEEP WHOLE by and between Fieldwood Energy LLC and Williams Field Services
                                                      AGREEMENT ‐ POL           and Williams Field Services
MARKETING ‐ GAS PROCESSING       1/1/2016    amendment to the PROCESSING LETTER 80% / 20% PTR KEEP WHOLE by and between Fieldwood Energy LLC and Williams Field Services
                                                      AGREEMENT ‐ POL           and Williams Field Services
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/8/2019      GAS PROCESSING AGREEMENT‐FEE     $.16 /MMBTU (escl) plus electricity fee by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       5/1/2009    PROCESSING AGREEMENT‐GREATER of 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                                         Fee or POL             Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING       5/1/2009    PROCESSING AGREEMENT‐GREATER of 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                                         Fee or POL             Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      6/29/2010   PROCESSING AGREEMENT AMENDMENT‐ 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                                    GREATER of Fee or POL       Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      6/29/2010   PROCESSING AGREEMENT AMENDMENT‐ 92/8% or $.08/MMBtu by and between Fieldwood Energy LLC and Plains Gas Solutions, LLC. and
                                                    GREATER of Fee or POL       Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      10/1/2010    PROCESSING AGREEMENT‐GREATER of GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                                         Fee or POL             Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 459
                                                                                     379 of 531
                                                                                            491
                                                                 Exhibit I-F


MARKETING ‐ GAS PROCESSING      10/1/2010     PROCESSING AGREEMENT‐GREATER of GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                                          Fee or POL          Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      10/1/2010     PROCESSING AGREEMENT‐GREATER of GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                                          Fee or POL          Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      11/1/2010        PROCESSING AGREEMENT‐ 1ST    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      11/1/2010        PROCESSING AGREEMENT‐ 1ST    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      11/1/2010        PROCESSING AGREEMENT‐ 1ST    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      7/24/2012        PROCESSING AGREEMENT‐ 2ND    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      7/24/2012        PROCESSING AGREEMENT‐ 2ND    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING      7/24/2012        PROCESSING AGREEMENT‐ 2ND    GPM; <1.25 = 15%, 1.25 ‐ 2.5 = 12.5%, >2.5 = 10% by and between Fieldwood Energy LLC and
                                              AMENDMENT‐GREATER of Fee or POL Plains Gas Solutions, LLC. and Plains Gas Solutions, LLC.
MARKETING ‐ GAS PROCESSING       1/1/2011    PROCESSING AGREEMENT‐FEE PLUS‐POL98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                                              operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       1/1/2011   PROCESSING AGREEMENT‐FEE PLUS‐POL 98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                                              operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       4/1/2012         PROCESSING AGREEMENT‐1st    98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       4/1/2012         PROCESSING AGREEMENT‐1st    98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       6/1/2012        PROCESSING AGREEMENT‐ 2nd    98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       6/1/2012        PROCESSING AGREEMENT‐ 2nd    98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      11/1/2012        PROCESSING AGREEMENT‐3RD     98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      11/1/2012        PROCESSING AGREEMENT‐3RD     98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       1/1/2013        PROCESSING AGREEMENT‐4th     98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       1/1/2013        PROCESSING AGREEMENT‐4th     98%/2% AND $.06/mmbTU by and between Fieldwood Energy LLC and ENLINK Midstream current
                                                   AMENDMENT‐FEE PLUS‐POL     operator and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      1/19/2012      GAS PROCESSING AGREEMENT‐POL   92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                              ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      1/19/2012      GAS PROCESSING AGREEMENT‐POL   92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                                              ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                         AGREEMENT            ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      2/17/2014   FIRST AMENDMENT TO GAS PROCESSING 92% / 8% by and between Fieldwood Energy LLC and ENLINK Midstream current operator and
                                                         AGREEMENT            ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      11/1/2004      GAS PROCESSING AGREEMENT‐POL   $0.06/MMBTU by and between Fieldwood Energy LLC and ENLINK Midstream current operator
                                                                              and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING       4/1/2007   FIRST AMENDMENT TO GAS PROCESSING $0.06/MMBTU by and between Fieldwood Energy LLC and ENLINK Midstream current operator
                                                         AGREEMENT            and ENLINK Midstream current operator
MARKETING ‐ GAS PROCESSING      10/1/1995       CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995       CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 460
                                                                                     380 of 531
                                                                                            491
                                                                 Exhibit I-F


MARKETING ‐ GAS PROCESSING      10/1/1995       CONTRUCTION/OPERATING (NI)     CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995        CONTRUCTION/OPERATING (NI)    CONTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                               Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       9/1/2010   EXHIBIT B‐1 COMMITMENT FORM TO C&O EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                                          AGREEMENT            and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       9/1/2010   EXHIBIT B‐1 COMMITMENT FORM TO C&O EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
                                                          AGREEMENT            and Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       9/1/2010   EXHIBIT B‐1 COMMITMENT FORM TO C&O EXHIBIT B‐1 COMMITMENT FORM TO C&O AGREEMENT by and between Fieldwood Energy LLC
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                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 461
                                                                                     381 of 531
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                                                                       01/01/21 Page 462
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                                                                       01/01/21 Page 463
                                                                                     383 of 531
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                                                                       01/01/21 Page 464
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MARKETING ‐ GAS PROCESSING       7/1/2012   APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/2012   APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/2012   APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/2012   APPROVAL OF AFES TO C&O AGREEMENT APPROVAL OF AFES TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT      BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT      BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT      BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT      BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT      BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 465
                                                                                     385 of 531
                                                                                            491
                                                                 Exhibit I-F


MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      9/25/2013        BALLOT TO C&O AGREEMENT          BALLOT TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                  Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT   REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                  Gas Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 466
                                                                                     386 of 531
                                                                                            491
                                                                  Exhibit I-F


MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/6/2013    REVISED EXHIBIT C TO C&O AGREEMENT REVISED EXHIBIT C TO C&O AGREEMENT by and between Fieldwood Energy LLC and Enterprise
                                                                                Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/1/2000          SERVICE‐DEHYDRATION (NI)     SERVICE‐DEHYDRATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                                LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000         SERVICE‐FRACTIONATION (NI)    SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                                Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 467
                                                                                     387 of 531
                                                                                            491
                                                                Exhibit I-F


MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       2/1/2000      SERVICE‐FRACTIONATION (NI)     SERVICE‐FRACTIONATION (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
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MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/1992                BASE                 BASE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas
                                                                              Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)     CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                              Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 468
                                                                                     388 of 531
                                                                                            491
                                                              Exhibit I-F


MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/1995     CONSTRUCTION/OPERATING (NI)   CONSTRUCTION/OPERATING (NI) by and between Fieldwood Energy LLC and Enterprise Gas
                                                                            Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
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MARKETING ‐ GAS PROCESSING      10/13/1998            RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                            Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 469
                                                                                     389 of 531
                                                                                            491
                                                            Exhibit I-F


MARKETING ‐ GAS PROCESSING      10/13/1998          RAW MAKE              RAW MAKE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/13/1998         AMENDMEMT              AMENDMEMT by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001          LIQ EXCHANGE           LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                          Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 470
                                                                                     390 of 531
                                                                                            491
                                                                    Exhibit I-F


MARKETING ‐ GAS PROCESSING      1/31/2001                LIQ EXCHANGE          LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001                LIQ EXCHANGE          LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/31/2001                LIQ EXCHANGE          LIQ EXCHANGE by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       4/1/2010         GAS PROCESSING AGREEMENT     85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING       4/1/2011         GAS PROCESSING AGREEMENT     85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING      3/16/2004         GAS PROCESSING AGREEMENT     87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING      3/16/2004         GAS PROCESSING AGREEMENT     87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING      3/16/2004         GAS PROCESSING AGREEMENT     87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING       3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                          AGREEMENT            Gas Processing LLC
MARKETING ‐ GAS PROCESSING       3/1/2005    FIRST AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                          AGREEMENT            Gas Processing LLC
MARKETING ‐ GAS PROCESSING      10/1/2007         SECOND AMENDMENT TO GAS      87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                    PROCESSING AGREEMENT       Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                          AGREEMENT            Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/2009    THIRD AMENDMENT TO GAS PROCESSING 87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                          AGREEMENT            Gas Processing LLC
MARKETING ‐ GAS PROCESSING      2/20/2008    FIRST AMENDMENT TO GAS PROCESSING 88/12% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                          AGREEMENT            Gas Processing LLC
MARKETING ‐ GAS PROCESSING      11/11/2004        GAS PROCESSING AGREEMENT     85/15% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING      12/6/2004         GAS PROCESSING AGREEMENT     87/13% by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise
                                                                               Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/1970        CONSTRUCTION/OPERATING (NI)   Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                               Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/1970        CONSTRUCTION/OPERATING (NI)   Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                               Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/1970        CONSTRUCTION/OPERATING (NI)   Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                               Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/1970        CONSTRUCTION/OPERATING (NI)   Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                               Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       7/1/1970        CONSTRUCTION/OPERATING (NI)   Agreement for the Construction and Operation of the Toca Gas Processing Plant, St. Bernard
                                                                               Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      7/25/2014     RATIFICATION AND ADOPTION OF C&O Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing Plant,
                                                          AGREEMENT            St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                               LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      7/25/2014     RATIFICATION AND ADOPTION OF C&O Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing Plant,
                                                          AGREEMENT            St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                               LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 471
                                                                                     391 of 531
                                                                                            491
                                                                   Exhibit I-F


MARKETING ‐ GAS PROCESSING      7/25/2014    RATIFICATION AND ADOPTION OF C&O  Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing Plant,
                                                        AGREEMENT              St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                               LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      7/25/2014     RATIFICATION AND ADOPTION OF C&O Ratificaton to the Agreement for the Construction and Operation of the Toca Gas Processing Plant,
                                                          AGREEMENT            St. Bernard Parish, Louisiana by and between Fieldwood Energy LLC and Enterprise Gas Processing
                                                                               LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       1/1/2003             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2003             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2009            AMENDMENT POL + FEE       POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2009            AMENDMENT POL + FEE       POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      3/31/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      3/31/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       9/1/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       9/1/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      11/1/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      11/1/2009             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      8/11/2010               LTR AGREEMENT          POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      8/11/2010               LTR AGREEMENT          POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      11/1/2010            AMENDMENT POL + FEE       POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      11/1/2010            AMENDMENT POL + FEE       POL depending on GPM plus FEE $.12 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       8/1/2007             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.10 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       8/1/2007             PROCESSING‐POL +FEE      POL depending on GPM plus FEE $.10 /MMBtu by and between Fieldwood Energy LLC and TARGA
                                                                               MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       6/1/2009            AMENDMENT POL + FEE       75%/25% plus $.12026 / mmbu by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                               SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       6/1/2009            AMENDMENT POL + FEE       75%/25% plus $.12026 / mmbu by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                               SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL         annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                               TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL         annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                               TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL         annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                               TARGA MIDSTREAM SERVICES LP
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 472
                                                                                     392 of 531
                                                                                            491
                                                                    Exhibit I-F


MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
                                                                                  Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                                                 annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
MARKETING ‐ GAS PROCESSING       4/1/2013   ROCESSING AGREEMENT‐GREATER OF FEE O                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       4/1/2013    GAS PROCESSING AGREEMENT‐GREATER Greater of Fee or POL (85%/15%) min Fee $.12 plu s DGS FEE $.04 plus Dehy Fee $.02 (subject to
                                                         OF FEE OR POL          annual exclation) by and between Fieldwood Energy LLC and TARGA MIDSTREAM SERVICES LP and
                                                                                TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       9/1/2005      POL ‐GAS PROCESSING AGREEMENT    POL DEPENDENT ON GPm by and between Fieldwood Energy LLC and TARGA MIDSTREAM
                                                                                SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013      POL ‐GAS PROCESSING AGREEMENT
                                                                                GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                                Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 473
                                                                                     393 of 531
                                                                                            491
                                                                 Exhibit I-F


MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       2/1/2013     POL ‐GAS PROCESSING AGREEMENT
                                                                               GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      3/15/2020       GREATER OF FEE OR POL ‐ GAS
                                                  PROCESSING AGREEMENT         GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING      3/15/2020       GREATER OF FEE OR POL ‐ GAS
                                                  PROCESSING AGREEMENT         GREATER OF FEE OR POL 85%/15% OR $.15 / MMBTU PLUS dgs FEE by and between Fieldwood
                                                                               Energy LLC and TARGA MIDSTREAM SERVICES LP and TARGA MIDSTREAM SERVICES LP
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 474
                                                                                     394 of 531
                                                                                            491
                                                                Exhibit I-F


MARKETING ‐ GAS PROCESSING       1/1/2012     FEE GAS PROCESSING AGREEMENT     FEE ‐ .08005 /MCF (SUBJECT TO gdp (NEVER LESS THAT .075 OR GRATER THAN $.12 /MCF by and
                                                                               between Fieldwood Energy LLC and Enterprise Gas Processing LLC and Enterprise Gas Processing
                                                                               LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
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                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
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                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
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                                                                               Enterprise Gas Processing LLC
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                                                                               Enterprise Gas Processing LLC
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                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       8/1/2009     FEE GAS PROCESSING AGREEMENT     FEE ‐ .0800 PER mcF by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                               Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐   FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                                        AMENDMENT              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐   FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                                        AMENDMENT              Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐   FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
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                                                        AMENDMENT              Gas Processing LLC and Enterprise Gas Processing LLC
                         Case 20-33948 Document 775-2
                                                723-1 Filed in TXSB on 01/21/21
                                                                       01/01/21 Page 475
                                                                                     395 of 531
                                                                                            491
                                                                  Exhibit I-F


MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐      FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
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                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐      FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
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                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
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                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐      FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING      1/18/2012     FEE GAS PROCESSING AGREEMENT ‐      FEE ‐ .0800 PER MCF ‐ ESCALATOR ADDED by and between Fieldwood Energy LLC and Enterprise
                                                        AMENDMENT                 Gas Processing LLC and Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       4/1/2018     FEE‐ GAS PROCESSING AGREEMENT       fee = $.12 / MMBTU by and between Fieldwood Energy LLC and Enterprise Gas Processing LLC and
                                                                                  Enterprise Gas Processing LLC
MARKETING ‐ GAS PROCESSING       4/1/2020     NGL BANK ‐ FIRST AMENDED AND        NGL BANK ‐ FIRST AMENDED AND RESTATED by and between Fieldwood Energy LLC and
                                                          RESTATED                Enterprise Gas Processing LLC and Enterprise Gas Processing LLC
    Environmental/Govt           6/24/2019          Master Services Contract      – IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
    Environmental/Govt           10/2/2019        Software License Agreement      IT and Consulting Support for the HWCG ‐ Fieldwood Portal for Various Exercises
    Environmental/Govt          11/19/2018          Master Service Contract       Regulatory
    Environmental/Govt           11/1/2013          Master Services Contract      Platform Audits / BSEE Drawings
    Environmental/Govt          10/30/2019         Master Client Agreement        Industry Standards, Analytics, and Research / Subscription Service
    Environmental/Govt          11/15/2019                Order Form              Industry Standards, Analytics, and Research / Subscription Service
           Land                  4/1/1981    Unit Agreement No. 14‐08‐001‐20231   Unit Agreement for the C‐6/JS Sand, effective April 1,1981, between. Arco Oil and
                                                                                  Gas,Company;,Getty Oil Company, Cities Service Company, Hamilton Brothers Oil Company, Mobil
                                                                                  Oil. Exploration &>. Producing S.E. Inc., Gulf Oil Corporation, Hunt Oil Company, Highland
                                                                                  Resources, Inc., Hunt; lndustries, and Prosper Energy Corporation.; Unit No. 891020231

          Land                  2/26/1996          Exploration Agreement          Hardy Oil & Gas USA, Inc., British‐Borneo Exploration, Inc. and Zilkha Energy Company
          Land                  1/1/1990            Operating Agreement           Operating Agreement effective January 1, 1990
          Land                  5/15/1997              Surface Lease              VR 76 Surface Lease b/b Exxon Mobil Corporation, Vermilion Corporation and Amoco Production
                                                                                  Company
          Land                   1/1/1999              Surface Lease              VR 76 Surface Lease b/b Exxon Mobil Corporation, Vermilion Corporation and Union Oil Company
                                                                                  of California
          Land                  11/26/2019         Settlement Agreement           Settlement and Release Agreement b/b Dominion Oklahoma Texas Exploration and Production,
                                                                                  Inc. and Fieldwood Energy LLC
          Land                  10/1/2003                   PSA                   By and Between UNOCAL, Pure Resources, L.P., Pure Partners, L.P. and SPN Resources, LLC
                                                                                  (Fieldwood SP)
          Land                   1/1/2000                   PSA                   by and between Texaco and Northstar
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 476
                                                                                        396 of 531
                                                                                               491
                                                                Exhibit I-G



       Facility   Facility Owner     Item Number   Serial No.                  Location        Item Description      UOM   Wt. (lbs)   On Hand Qty
North Warehouse     Fieldwood            54401                                WH/B42/S1    LINER: PWR CYL             EA                             1
North Warehouse     Fieldwood            54402                                WH/B42/FLR   PSTN/ROD ASSY: 10‐1/2",    EA                             1
                                                                                           GMWA,
North Warehouse    Fieldwood            54403                                 WH/B42/FLR   PSTN/ROD ASSY: 28",       EA                              1
                                                                                           GMWA, ROD
North Warehouse    Fieldwood            54406                                 WH/B42/S1    PSTN: 18", PISTON,        EA                              1
                                                                                           GMVC 1ST STGE
North Warehouse    Fieldwood            54407                                  B3/B3/S2    LINER: 2ND STGE CYL       EA                              1
North Warehouse    Fieldwood            54408                                 WH/B41/S2    LINER: GMVC 1ST STGE      EA                              1
North Warehouse    Fieldwood            54409                                 WH/B37/FL    HD: 2ND STGE CRNKEND      EA                              1

North Warehouse    Fieldwood            54411                             WH/SE Wall/FLR   CRNKSHFT: GMVA/GMVC‐      EA                              1
                                                                                           12
North Warehouse    Fieldwood            54412                             WH/SE Wall/FLR   CRNKSHFT: GMVA/GMVC‐      EA                              2
                                                                                           12
North Warehouse    Fieldwood            54419                                  B3/B3/S2    PMP: GMVA LUBE OIL        EA                              1
North Warehouse    Fieldwood            54420                                   WH/FL      CRSSHD ASSY:              EA                              1
                                                                                           GMVA/VC/VH
North Warehouse    Fieldwood            54421                                 WH/B41/FL    CRSSHD ASSY:              EA                              1
                                                                                           GMVA/VC/VH
North Warehouse    Fieldwood            54422                                   WH/FL      CRSSHD ASSY:              EA                              1
                                                                                           GMVA/VC/VH
North Warehouse    Fieldwood            54445                                  B3/B3/S2    GEAR: GMVC BLOWER         EA                              1
                                                                                           DRV
North Warehouse    Fieldwood            54447                                 WH/B42/FLR   PSTN/ROD ASSY: 18", 1ST   EA                              1
                                                                                           STGE
North Warehouse    Fieldwood            54448                                 WH/B42/S1    LINER: 18", 1ST STGE      EA                              1
                                                                                           COMPRSSR
North Warehouse    Fieldwood            54449                                 WH/B42/S1    LINER: 15", 2ND STGE      EA                              1
                                                                                           COMPRSSR
North Warehouse    Fieldwood            54450                                 WH/B41/S2    LINER: 9‐3/4", 3RD STGE   EA                              1
                                                                                           COMPRSSR
North Warehouse    Fieldwood            54452                                  B3/B1/S1    GEAR: GMV3‐FB,            EA                              1
                                                                                           PARTCO BLOWER
                                                                                           W/HUB
North Warehouse    Fieldwood            54456                                 WH/B42/FLR   PSTN/ROD ASSY: 9‐3/4",    EA                              1
                                                                                           3RD STGE
North Warehouse    Fieldwood            54457                                 WH/B43/S1    PSTN/ROD ASSY: 9‐5/8",    EA                              1
                                                                                           GMWA,
North Warehouse    Fieldwood            54458                                 WH/B43/FLR   PSTN/ROD ASSY: 17‐1/4",   EA                              1
                                                                                           GMVA‐8 1ST S TGE

North Warehouse    Fieldwood            54460                                 B3/B2/FLR    ROD: ALL GMV PWR          EA                              2
                                                                                           PISTON
North Warehouse    Fieldwood            54468                                  B3/B2/S3    PMP: GMVA H2O             EA                              1
                                                                                           W/GSKTS
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 477
                                                                                        397 of 531
                                                                                               491
                                                                Exhibit I-G



       Facility   Facility Owner     Item Number   Serial No.                  Location           Item Description     UOM   Wt. (lbs)   On Hand Qty
North Warehouse     Fieldwood            54469                                WH/B41/FLR      CRSSHD ASSY:              EA                             1
                                                                                              GMVA/VC/VH
North Warehouse    Fieldwood            54480                                 WH/B43/FLR      PSTN/ ROD ASSY: 16‐      EA                              1
                                                                                              1/4", 2ND STGE,
North Warehouse    Fieldwood            54481                             Bay3/N Wall/FLR     PSTN/ROD ASSY: GMWE      EA                              1
                                                                                              PWR,FITS GMWE‐12

North Warehouse    Fieldwood            54486                                 WH/B43/FLR      PSTN/ROD ASSY: GMWA      EA                              1

North Warehouse    Fieldwood            56001                                 WH/B41/S1       BEARING: TLA             EA                              5
                                                                                              COMPRSSR RD, BEARING

North Warehouse    Fieldwood            56002                                 WH/B41/S1       BEARING: TLA MAIN        EA                              7
North Warehouse    Fieldwood            56633                                 B3/B5BS3        KT: RPR CYL, TLA PWR     EA                              5
North Warehouse    Fieldwood            56644                                  B3/B4/S2       SPRCKT: TLA CRNKSHFT     EA                              1

North Warehouse    Fieldwood            56645                                  B3/B4/S3       SPRCKT: TLA              EA                              1
North Warehouse    Fieldwood            56646                                  B3/B3/S2       SPRCKT: HYD PUMP &       EA                              1
                                                                                              DRV
North Warehouse    Fieldwood            56648                              WH/B41/S1          LINE: CYL, TLA 2ND STG   EA                              1
North Warehouse    Fieldwood            56653                         WH/B43/S2,TOP IN BACK   PSTN: TLA 2ND STGE       EA                              1
North Warehouse    Fieldwood            56654                              WH/B44/S1          PSTN: TLA 1ST STGE       EA                              1
North Warehouse    Fieldwood            56657                              B3/B4/FLR          PMP: SHFT, TLA IDLER     EA                              1
North Warehouse    Fieldwood            56658                               B3/B4/S3          PMP: SHFT, TLA DRIVE     EA                              1
North Warehouse    Fieldwood            56659                               B3/B4/S3          PMP: SHFT, TLA WATER     EA                              1
                                                                                              PUMP
North Warehouse    Fieldwood            56663                                 WH/B41/S2       SHOE: TLA TPE XHD        EA                              1
                                                                                              SLIPPER
North Warehouse    Fieldwood            56695                                 B3/B4/FLR       NUT: TLA CONNECTING      EA                              4
                                                                                              ROD
North Warehouse    Fieldwood            56744                                 B3/B4/FLR       GEAR: TLA BULL TIMING    EA                              1
                                                                                              CNTRL
North Warehouse    Fieldwood            56746                                 B3/B4/S3        GEAR: TLA OIL PUMP       EA                              2
North Warehouse    Fieldwood            56771                                 B3/B4/FLR       LABYRINTH: TLA           EA                              1
                                                                                              TURBINE
North Warehouse    Fieldwood            56772                                 B3/B4/FLR       LABYRINTH: TLA           EA                              2
North Warehouse    Fieldwood            56779                                 B3/B4/FLR       CARRIER: TLA BULL GEAR   EA                              3

North Warehouse    Fieldwood            56780                                 B3/B4/FLR       CARRIER: TLA IDLER       EA                              3
                                                                                              GEAR
North Warehouse    Fieldwood            56782                                 B3/B4/FLR       LINKAGE: TLA             EA                              2
                                                                                              LWR/CNTRL
North Warehouse    Fieldwood            56788                                 B3/B4/FLR       SHFT COMPRSSR: TLA       EA                              2
                                                                                              TIMER DR
North Warehouse    Fieldwood            56799                                  B3/B4/S3       VLV: TLA FUEL            EA                              6
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 478
                                                                                        398 of 531
                                                                                               491
                                                                Exhibit I-G



       Facility   Facility Owner     Item Number   Serial No.                 Location          Item Description      UOM   Wt. (lbs)   On Hand Qty
North Warehouse     Fieldwood            56800                                B3/B5/S3      SPRCKT: TLA CRNKSHFT       EA                             1

North Warehouse    Fieldwood            56802                                 WH/B44/S2     PSTN/ROD ASSY: TLA        EA                              1
                                                                                            MATL NO DRAW TYP E
North Warehouse    Fieldwood            56806                                 B3/B6/S1      ROD: TLA W/LCKNG          EA                              1
                                                                                            STDDS & PN SZ W/RD
                                                                                            CAP
North Warehouse    Fieldwood            56808                                  B3/B3/S2     WHEEL: TLA TRBN           EA                              1
North Warehouse    Fieldwood            56809                                 WH/B30/S1     SCRN ASSY: TLA DWG        EA                              1
North Warehouse    Fieldwood            56810                                  B3/B4/S3     JT: EXPNSN, TLA           EA                              2
North Warehouse    Fieldwood            56811                                  B3/B1/S2     JT: EXPNSN, TLA           EA                              1
                                                                                            EXHAUST
North Warehouse    Fieldwood            56815                                 B3/B10/S2     INTCLR ASSY: TLA SCAV     EA                              6
                                                                                            AIR
North Warehouse    Fieldwood            56816                                 B3/B4/FLR     NUT: TLA ROD ALL STGS     EA                              1

North Warehouse    Fieldwood            56817                               B3/B4/S3        RING: TLA TURB NZZLE      EA                              2
North Warehouse    Fieldwood            58585                             WH/SE Wall/FLR    CRNKSHFT                  EA                              1
North Warehouse    Fieldwood            59286                              WH/B43/S1        PSTN/ROD ASSY: 9‐3/4",    EA                              1
                                                                                            GMV, W/ 3" ROD
North Warehouse    Fieldwood            71926                             Bay3/N Wall/FLR   STDDS: STEP, CYL. W/      EA                              24
                                                                                            NUTS 4 SUCT
North Warehouse    Fieldwood            71936                                 B2/B1/S2      CYL: HYD, I/BRD,          EA                              1
                                                                                            UNRPRD
North Warehouse    Fieldwood            71937                                 B2/B1/S2      CYL, HYD, I/BRD,          EA                              1
                                                                                            UNRPRD
North Warehouse    Fieldwood            71939                                  B2/B4/IS     CYL: COMPRSSR, 8", W/     EA                              1
                                                                                            ALL HD STDDS & NTS

North Warehouse    Fieldwood            71948                                 B2/B5/S1      VLV CHR: UNRPR'D          EA                              8
North Warehouse    Fieldwood            71952                                 B2/B1/S2      CYL: CMPRSSR, 8", W/ IB   EA                              1
                                                                                            HEAD & P. GL ND
North Warehouse    Fieldwood            71955                                 B2/B4/S1      PSTN: COMP, C.I., W/2     EA                              1
                                                                                            STEEL DONUTS
North Warehouse    Fieldwood            71971                                 B2/B1/S2      PSTN/ ROD ASSY: X 2",     EA                              1
                                                                                            NO RINGS, TUNGSTEN
North Warehouse    Fieldwood            71975                                 B2/B1/S2      CRSSHD: GUIDE, WBF‐74,    EA                              1
                                                                                            BORE
North Warehouse    Fieldwood            71977                                 B2/B1/S2      DIST PC: WBF‐74, NEW      EA                              1
                                                                                            OEM 14" CYL
North Warehouse    Fieldwood            71980                                 WH/B29/S1     FAN ASSY: 7 BLADE 132"    EA                              1
                                                                                            DIA AIR‐X‐CHANGER

North Warehouse    Fieldwood            71983                                 WH/B29/S1     FAN BLDES: FIBERGLASS     EA                              6
                                                                                            62" L X 11‐1/1 4" W
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 479
                                                                                        399 of 531
                                                                                               491
                                                                Exhibit I-G



       Facility   Facility Owner     Item Number   Serial No.                 Location         Item Description     UOM   Wt. (lbs)   On Hand Qty
North Warehouse     Fieldwood            72001                                WH/B8/S2     PMP ASSY: LUBE, MVS,      EA                             1
                                                                                           W/ ATMOS IND. &
North Warehouse    Fieldwood            72002                                 WH/B8/S2     PMP ASSY: LUBE, MVS,     EA                              1
                                                                                           W/ ATMOS IND. &
North Warehouse    Fieldwood            72013                                 WH/B8/FLR    HD: CYL, PWR, RECOND     EA                              2

North Warehouse    Fieldwood            72025                                 WH/B38/S1    MANIFOLD: INTAKE         EA                              2
North Warehouse    Fieldwood            72027                                 WH/B36/S1    MANIFOLD: EXHST,         EA                              3
                                                                                           P9390, SECTIONS
North Warehouse    Fieldwood            72037                                 WH/B6/S2     ROD: CONN, P9390, US'D   EA                              16

North Warehouse    Fieldwood            81982                                 B3/B2/FLR    ROD: ARTIC'LD, GMVC      EA                              1
North Warehouse    Fieldwood            81984                                 B3/B4/S3     SPRCKT: TLA SGL SPLIT    EA                              1
North Warehouse    Fieldwood            81985                                 B3/B4/FLR    SPRCKT: TLA IDLER        EA                              1
                                                                                           W/PUMP
North Warehouse    Fieldwood            81987                                 WH/B41/S2    SHOE: GMVC XHD           EA                              1
North Warehouse    Fieldwood            89087                                 WH/B43/S1    PSTN/ROD ASSY: SZ 28"    EA                              1
                                                                                           US'D C7120‐3A 3172

North Warehouse    Fieldwood            96073                                 WH/B8/S2     PMP,HYD: 5.2gpm          EA                              1
North Warehouse    Fieldwood            96074                                 WH/B8/S2     PMP,HYD: 1.9gpm          EA                              1
North Warehouse    Fieldwood           112605                                 B3/B8/FLR    KT: RPR VRA              EA                              3
North Warehouse    Fieldwood           112606                                 B3/B10/S1    VLV                      EA                              3
North Warehouse    Fieldwood           112608                                 B3/B10/S1    VLV                      EA                              6
North Warehouse    Fieldwood           197167                                 WH/B25/S2    TRBCHRGR: VTC254 BBC     EA                              1
                                                                                           W/MNTNG GSKT
North Warehouse    Fieldwood           200368                                 WH/B30/FLR   ROTOR ASSY, DEEPWELL     EA                              1
                                                                                           PUMP
North Warehouse    Fieldwood           200371                                 B2/B10/FLR   CYL: WRTHGTN SIZE 9‐     EA                              1
                                                                                           1/4"
North Warehouse    Fieldwood           200372                                 B2/B11/FLR   CYL: WRTHGTN, SIZE 7"    EA                              1
North Warehouse    Fieldwood           200379                                 B2/B11/FLR   CYL: WRTHGTN SIZE        EA                              1
                                                                                           7.007
North Warehouse    Fieldwood           200380                                 WH/B5/S2     IMPELLER: TURBINE        EA                              1
North Warehouse    Fieldwood           200381                                 WH/B5/S2     IMPELLER: 'C30' B STG,   EA                              1
                                                                                           SOLAR
North Warehouse    Fieldwood           200387                                 WH/B11/S1    COMPR: AIR               EA                              1
North Warehouse    Fieldwood           200390                                 WH/B27/S2    GEAR: BX TYPE, 206HS,    EA                              1
                                                                                           RAT 1.262‐1
North Warehouse    Fieldwood           200400                                 WH/B5/S2     BEARING ASSY: C30 SLR    EA                              1
                                                                                           GC DMPR SUCT
North Warehouse    Fieldwood           200401                                 WH/B5/S2     BEARING ASSY: C30 DIS    EA                              1
                                                                                           SLR GC TILT PAD
North Warehouse    Fieldwood           200414                                  B2/B7/S1    CYL: 6, WRTHGTN          EA                              1
                                                                                           COMPRSSR
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 480
                                                                                        400 of 531
                                                                                               491
                                                                Exhibit I-G



       Facility   Facility Owner     Item Number   Serial No.                   Location        Item Description      UOM   Wt. (lbs)   On Hand Qty
North Warehouse     Fieldwood           200421                                 B2/B9/FLR    CYL: 15", COMPRSSR,        EA                             1
                                                                                            NO STDDS F/VLV CAPS
North Warehouse    Fieldwood           200422                                  B2/B5/S1     CYL: 9", COMPRSSR         EA                              1
                                                                                            #10674‐E I/R ‐RDS
North Warehouse    Fieldwood           200423                                  B2/B11/S1    CYL: 11‐1/4", COMPRSSR    EA                              1
                                                                                            W/ 11.287 BORE

North Warehouse    Fieldwood           200424                                  B2/B5/S2     CYL: 5", COMPRSSR I/R‐    EA                              1
                                                                                            RDS
North Warehouse    Fieldwood           200426                                 WH/B20/S1     TURBINE                   EA                              1
North Warehouse    Fieldwood           202849                                   YD/R4       HEAT EXCHNGR              EA                              1
North Warehouse    Fieldwood           202850                                 WH/B38/FLR    PMP: CMSD 4X6X10.5        EA                              1
North Warehouse    Fieldwood           202854                                    Bay 6      COMPR: PKG                EA                              1
North Warehouse    Fieldwood           202876                                   YD/R4       ENG: NG 399               EA                              1
North Warehouse    Fieldwood           227188                                  B3/B6/S1     CYL: CPR GMWA‐9‐1A        EA                              1
                                                                                            PWR CYLINDERS
North Warehouse    Fieldwood           228011                                    Bay 2      PSTN/ROD ASSY: 29‐1/2",   EA                              1
                                                                                            CPR F/ V250 COM
North Warehouse    Fieldwood           228012                                  B2/B2/S1     PSTN ROD: I/R RDS 2.125   EA                              1
                                                                                            IN CRBDE CTD
North Warehouse    Fieldwood           229324                                 WH/B44/S1     PSTN/ROD ASSY: TLA        EA                              1
                                                                                            COMPRSSR
North Warehouse    Fieldwood           233282                             Linear Controls   ENG:NG,235hp,1200rpm      EA                              1

North Warehouse    Fieldwood           233305                                  B1/Floor     ENG:DIESEL,318hp,8,210    EA                              1
                                                                                            0rpm
North Warehouse    Fieldwood           233453                                 Yard/Row 3    GEN:DIESEL,30kW,208/4     EA                              1
                                                                                            80V,AC,1800rpm, 3ph
North Warehouse    Fieldwood           241167                                  B2/B6/FLR    CYL: 28", VRA CLRK        EA                              1
                                                                                            COMPRSSR
North Warehouse    Fieldwood           241168                                  B2/B7/FLR    CYL: 17", VRA CLRK        EA                              1
                                                                                            COMPRSSR
North Warehouse    Fieldwood           241169                                  B2/B2/FLR    CYL: 9, VRA CLRK          EA                              1
                                                                                            COMPRSSR
North Warehouse    Fieldwood           241173                                 WH/B44/FL     PSTN/ROD ASSY: VRA        EA                              1
                                                                                            CLRK COMPRSSR
North Warehouse    Fieldwood           241179                                 WH/B1/Floor   HD: VRA CLRK O/BRD        EA                              1
                                                                                            UNLDR
North Warehouse    Fieldwood           241181                                 B10K/B36/S1   VLV CHR: VRA CLRK VLV     EA                              12
                                                                                            CHRS F/13"
North Warehouse    Fieldwood           241182                            B3/B10,11,12/FLR   PSTN: VRA CLRK PWR        EA                              6
North Warehouse    Fieldwood           241185                                B3/B9/S1       ROD: VRA CLRK ART         EA                              1
                                                                                            CONN
North Warehouse    Fieldwood           241189                                  B3/B10/S3    PIN: WRIST, VRA CLRK      EA                              4
                                                                                            PWR PISTON
                                     Case 20-33948 Document 775-2
                                                            723-1 Filed in TXSB on 01/21/21
                                                                                   01/01/21 Page 481
                                                                                                 401 of 531
                                                                                                        491
                                                                             Exhibit I-G



       Facility            Facility Owner         Item Number   Serial No.                  Location          Item Description       UOM   Wt. (lbs)   On Hand Qty
North Warehouse              Fieldwood               241191                                 B3/B8/S1     TENSIONER: VRA CLRK          EA                             2
                                                                                                         CHAIN
North Warehouse              Fieldwood              241202                                 B3/B2/S2      GVRNR: GMVC‐12              EA                               1
North Warehouse              Fieldwood              241203                                 B3/B1/FLR     JUMPER: H2O, GMVC‐12        EA                              12
                                                                                                         HD TO CYL
North Warehouse              Fieldwood              241205                                  B3/B3/S2     JUMPER: H2O, GMVC‐12        EA                              6
                                                                                                         CYL TO RAIL
North Warehouse              Fieldwood              241216                                  B3/B3/S3     EXHST: ELBOW, GMVC‐         EA                              4
                                                                                                         12, GMVA‐34‐2C
North Warehouse              Fieldwood              251608                                   B2/Yard     ENG                         EA                              1
North Warehouse              Fieldwood              252667                                  B2/B5/S2     CYL: 6", WHT SUPR           EA                              1
                                                                                                         COMPRSSR CMPLT
North Warehouse              Fieldwood              323171                                 WH/B41/S1     PSTN: RING FOR 23.00"       EA                              2
                                                                                                         PISTON
North Warehouse              Fieldwood              323172                                 WH/B41/S1     PSTN: RING FOR 16.50"       EA                              2
                                                                                                         PISTON
North Warehouse              Fieldwood              323173                                 WH/B41/S1     PSTN: RING FOR 10.50"       EA                              3
                                                                                                         PISTON
North Warehouse              Fieldwood              326861                                 WH/B41/FLR    PSTN: 10.50", PART #579‐    EA                              1
                                                                                                         062‐001
North Warehouse              Fieldwood              326862                                 WH/B44/FLR    PSTN: ROD FOR 10.50",       EA                              1
                                                                                                         PISTON
North Warehouse              Fieldwood              326863                                 WH/B44/FLR    PSTN: ROD FOR 23.00",       EA                              1
                                                                                                         PISTON
North Warehouse              Fieldwood              326864                                 WH/B44/FLR    PSTN: ROD FOR 16.50",       EA                              1
                                                                                                         PISTON
North Warehouse              Fieldwood              328243                                 WH/B41/FLR    PSTN: 16.50", PART #579‐    EA                              1
                                                                                                         082‐201
North Warehouse              Fieldwood              329558                             Linear Controls   ENG:NG,423hp,12,7in,H2      EA                              1
                                                                                                         0,900rpm
North Warehouse              Fieldwood              333387                                 WH/B41/FLR    PSTN: 23.00", PART #579‐    EA                              1
                                                                                                         303‐201
North Warehouse              Fieldwood              348619                                  B1/B1/S1     MTR,ELEC:TEFC,3600rpm       EA                              1
                                                                                                         ,150hp,445LP
North Warehouse              Fieldwood              370132                             Linear Controls   ENG:NG,85‐                  EA                              1
                                                                                                         220hp,1905in3,6,7IN
North Warehouse              Fieldwood              500133                                 Fluid Crane   SUMP                        EA                              1
                                                                                                         TANK,4'WX10'LX4'H,ATM
                                                                                                         OS,EXT,16" PFLA
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                             Lot No. 61   1‐48" X 15' X 230 WP L.P.   EA                              1
                                                                                                         Horizontal Separator (No
                                                                                                         Skid)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                             Lot No. 64   24" X 10' Vertical H.P.     EA                              1
                                                                                                         Separator w/Skid
                                     Case 20-33948 Document 775-2
                                                            723-1 Filed in TXSB on 01/21/21
                                                                                   01/01/21 Page 482
                                                                                                 402 of 531
                                                                                                        491
                                                                             Exhibit I-G



       Facility            Facility Owner         Item Number   Serial No.                  Location         Item Description         UOM   Wt. (lbs)   On Hand Qty
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 65    12" X 6' Vertical LP Fuel     EA                             1
                                                                                                         Gas Scrubber (No Skid)

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 66    12" X 6' Vertical LP Fuel    EA                              1
                                                                                                         Gas Scrubber w/Skid

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 70    1‐120 Degree Boat            EA                              1
                                                                                                         Landing with 48" Plate
                                                                                                         Doublers
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 73    24" X 10' Vertical H.P.      EA                              1
                                                                                                         Separator w/Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 74    30" X 10' Vertical LP Test   EA                              1
                                                                                                         Separator w/Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 77    16" X 8' Vertical LP         EA                              1
                                                                                                         Separator (No Skid)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 90    1‐48" X 10' X 275 WP L.P.    EA                              1
                                                                                                         Horizontal Scrubber
                                                                                                         Vessel NO SKID

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 96    1‐Glycol Reboiler with       EA                              1
                                                                                                         Stack & Stihl Column
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 100   48" X 10' X 275# W.P.        EA                              1
                                                                                                         Horizontal Water
                                                                                                         Skimmer with Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 101   42" X 15' X 1440# W.P.       EA                              1
                                                                                                         Horizontal 3‐Phase
                                                                                                         Separator "No Skid"
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 102   42" X 12' 6" X 125# W.P.     EA                              1
                                                                                                         Horizontal Skimmer with
                                                                                                         Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 103   20" X 7' 6" X 275 W.P.       EA                              1
                                                                                                         Vertical Separator with
                                                                                                         Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 104   30" X 10' X 1480 W.P.        EA                              1
                                                                                                         Horizontal Separator
                                                                                                         with Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 105   One Dual Meter Run Skid      EA                              1
                                                                                                         with Pig Traps
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 106   30" X 6' X 150# W.P.         EA                              1
                                                                                                         Vertical Scrubber Vessel
                                                                                                         with Skid
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. KK    30" X 4' X 250 WP            EA                              1
                                                                                                         Vertical Scrubber Vessel
                                                                                                         w/Skid
                                     Case 20-33948 Document 775-2
                                                            723-1 Filed in TXSB on 01/21/21
                                                                                   01/01/21 Page 483
                                                                                                 403 of 531
                                                                                                        491
                                                                             Exhibit I-G



       Facility            Facility Owner         Item Number   Serial No.                  Location          Item Description        UOM   Wt. (lbs)   On Hand Qty
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. CCC   Line Heater/Reboiler          EA                             1
                                                                                                         Package 8' W X 22' 6"L X
                                                                                                         10' 1" T
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. DDD   3‐Vapor Recovery Stands      EA                              1

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. EEE   1‐Heater Stack, 1‐Still      EA                              1
                                                                                                         Column, and Misc Pipe
                                                                                                         and Hardware for Line
                                                                                                         Heater/Reboiler
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 107   1‐Pallet of Used Spool       EA                              1
                                                                                                         Piping
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 109   1‐Filter Separator with      EA                              1
                                                                                                         Skid (5' X 12' X 8' Tall)
                                                                                                         Est. 10,000#
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 110   1‐Float Cell with Skid (7'   EA                              1
                                                                                                         X 12' X 9' Tall) Est.
                                                                                                         10,000#
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 111   Two (2) Plate Heat           EA                              1
                                                                                                         Exchanger Skids
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 112   1‐Piggy‐Back Water           EA                              1
                                                                                                         Skimmer & Float Cell
                                                                                                         Package (Newly
                                                                                                         Fabricated)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 113   1‐Verticle Water             EA                              1
                                                                                                         Skimmer Vessel with Skid
                                                                                                         (60" X 12" X 15,000#)
                                                                                                         (MBM‐1800)
Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 114   1‐Verticle Floatation Unit   EA                              1
                                                                                                         (4M Spinsep) with Skid
                                                                                                         (ABM‐1908) (10,150#)
                                                                                                         (Monosep Corporation‐
                                                                                                         Serial# MCO‐2076)

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 115   1‐Verticle Test Separator    EA                              1
                                                                                                         with Skid (MBD‐4501)
                                                                                                         (36 X 10 Foot X 17,000#)
                                                                                                         (2,000 WP @ 100 deg,
                                                                                                         MFG 1982)

Acadian ‐ Lafayette   Acadian Contractors, Inc.                                            Lot No. 116   1‐Horizontal 3‐Phase H.P.    EA                              1
                                                                                                         Production Separator
                                                                                                         with Skid (MBD‐4502)
                                                                                                         (60" X 15') (1440 @ 100
                                                                                                         Deg‐Yr Built 1982)
                                      Case 20-33948 Document 775-2
                                                             723-1 Filed in TXSB on 01/21/21
                                                                                    01/01/21 Page 484
                                                                                                  404 of 531
                                                                                                         491
                                                                                    Exhibit I-G



       Facility             Facility Owner         Item Number      Serial No.                     Location         Item Description       UOM   Wt. (lbs)   On Hand Qty
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                                  Lot No. 117   1‐Vertical Vent Scrubber    EA                             1
                                                                                                                Package with Skid (MBF‐
                                                                                                                2401) (30" X 10' X
                                                                                                                22,000#)
Acadian ‐ Lafayette    Acadian Contractors, Inc.                                                  Lot No. 118   1‐Horizontal 2‐Phase       EA                              1
                                                                                                                Vent Scrubber Vessel
                                                                                                                W/Skid (48" X 10' X 150#
                                                                                                                @ 100 Deg) Built 1987

Viking ‐ Henderson      Viking Fabricators, LLC                                                                 Handrails                  EA                          179
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                 10 FT. LONG LADDER         EA                            1
                                                                                                                CAGES
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                 12'‐6" LONG LADDER         EA                              84
                                                                                                                CAGES
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                 10 FT. LONG LADDERS        EA                           81
Viking ‐ Youngsville    Viking Fabricators, LLC                                                                 20 FT. LONG LADDERS        EA                          107
Linear ‐ Lafayette          Linear Controls        2124118‐01      11233630‐1                 ATS ‐ OUTDOOR     ASSY, TREE CAP, BP         EA      7,155                 1
                                                                                                                TROIKA
Linear ‐ Lafayette         Linear Controls         2124617‐01      2659561170                 ATS ‐ OUTDOOR     ASSY, RIG TEST SKID,       EA    11,000                    1
                                                                                                                SUBSEA TREE,
Linear ‐ Lafayette         Linear Controls         2124117‐07     400257303‐01                ATS ‐ OUTDOOR     CONV. ASSY, SUBSEA         EA    80,000                    1
                                                                                                                TREE, 4" X 2"‐10M,
Linear ‐ Lafayette         Linear Controls         2273013‐01    110598733‐1(RR1)             ATS ‐ OUTDOOR     ASSEMBLY, 5" X 2"‐10M      EA    66,000                    1
                                                                                                                SPOOLTREE.
Linear ‐ Lafayette         Linear Controls         2124123‐01      96101817050                ATS ‐ OUTDOOR     ASSY, TREE CAP             EA      1,850                   1
                                                                                                                SHIPPING SKID
Linear ‐ Lafayette         Linear Controls         2124145‐01      45256012‐5                 ATS ‐ OUTDOOR     ASSY, HUB, 4" WELL         EA      1,400                   1
                                                                                                                TERMINATION,
Linear ‐ Lafayette         Linear Controls         2141833‐01      11227730‐01                ATS ‐ OUTDOOR     ASSY, TREE                 EA      5,800                   1
                                                                                                                TRANSPORTATION SKID,
                                                                                                                BP
Linear ‐ Lafayette         Linear Controls         2124836‐01      11171617‐1                 ATS ‐ OUTDOOR     TEST STUMP BODY, TREE      EA      6,200                   1
                                                                                                                FAT SKID,
Linear ‐ Lafayette         Linear Controls         2124641‐01      11384318‐1                 ATS ‐ OUTDOOR     ASSY, COMPLETION           EA    20,500                    1
                                                                                                                GUIDE BASE, STM‐15
Linear ‐ Lafayette         Linear Controls         2098861‐02      11197244‐1                 ATS ‐ OUTDOOR     ASSY, MCPAC                EA    11,000                    1
                                                                                                                CONNECTION TOOL,
                                                                                                                SHELL
Linear ‐ Lafayette         Linear Controls         2098861‐02      11199037‐1                 ATS ‐ OUTDOOR     ASSY, MCPAC                EA    11,000                    1
                                                                                                                CONNECTION TOOL,
                                                                                                                SHELL
Linear ‐ Lafayette         Linear Controls         2124119‐01       964534560                 ATS ‐ OUTDOOR     ASSY, TREE RUNNING         EA    11,000                    1
                                                                                                                TOOL
Linear ‐ Lafayette         Linear Controls         2124129‐01       265340930              TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER        EA      1,500                   1
                                                                                                                RUNNING TOOL
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 485
                                                                                           405 of 531
                                                                                                  491
                                                                          Exhibit I-G



        Facility     Facility Owner     Item Number       Serial No.                  Location             Item Description   UOM   Wt. (lbs)   On Hand Qty
Linear ‐ Lafayette   Linear Controls     2124128‐01      11286013‐17             TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER,     EA    1,000                    1
                                                                                                      STM‐15,
Linear ‐ Lafayette   Linear Controls    2124135‐01       2659561200              TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER     EA        300                   1
                                                                                                      HANDLING / TEST
Linear ‐ Lafayette   Linear Controls    2124135‐01       2659561190              TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER     EA        300                   1
                                                                                                      HANDLING / TEST
Linear ‐ Lafayette   Linear Controls    2018904‐01     265956120(RR2)            TOOLSKID ‐ OUTDOOR   ASSY, LEAD IMPRESSION   EA        900                   1
                                                                                                      TOOL
Linear ‐ Lafayette   Linear Controls    2124129‐01        266013010              TOOLSKID ‐ OUTDOOR   ASSY, TUBING HANGER     EA      1,500                   1
                                                                                                      RUNNING TOOL
Linear ‐ Lafayette   Linear Controls    2124139‐01       11186901‐01             TOOLSKID ‐ OUTDOOR   ASSY, DUMMY TBG HGR,    EA      1,000                   1
                                                                                                      STM‐15, 4.06"
Linear ‐ Lafayette   Linear Controls    2055294‐12      110357224‐01               CPB 077 ‐ INDOOR   ASSEMBLY, TUBING        EA      2,500                   1
                                                                                                      HANGER, 5 IN NOM.
Linear ‐ Lafayette   Linear Controls    2748033‐01      45353783‐01‐01             CPB 077 ‐ INDOOR   WIRELINE PLUG, 5.25"    EA         50                   1
                                                                                                      DIA, METAL AND
Linear ‐ Lafayette   Linear Controls    2749898‐01      4500436775‐2‐1             CPB 077 ‐ INDOOR   5.250" WIRELINE PLUG    EA         50                   1
                                                                                                      'HH' TRIM WITH
Linear ‐ Lafayette   Linear Controls   2055296‐02‐01     110407008‐1               CPB 078 ‐ INDOOR   ASSEMBLY, INTERNAL      EA      1,500                   1
                                                                                                      TREE CAP, 10K WP
Linear ‐ Lafayette   Linear Controls     60007268        96953428110              SF‐YARD ‐ OUTDOOR   TROIKA TOOL SHED        EA                              1
Linear ‐ Lafayette   Linear Controls    2124147‐04        111802674                TRI 168 ‐ INDOOR   ASSY, CLAMP, W/ SEAL    EA      2,000                   1
                                                                                                      PLATE, 10"
Linear ‐ Lafayette   Linear Controls    2124581‐01       11170112‐05               TRI 170 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        200                   1
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01       11170112‐06               TRI 170 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        200                   1
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01       11170113‐05               TRI 170 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        200                   1
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01       11363037‐01               TRI 170 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        200                   1
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01       11170113‐04               TRI 170 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        200                   1
                                                                                                      MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124159‐01       45284821‐04               TRI 171 ‐ INDOOR   BODY, HUB, 10"          EA        250                   1
                                                                                                      FLOWLINE TEST STAND
Linear ‐ Lafayette   Linear Controls    2124159‐01       45284821‐01               TRI 171 ‐ INDOOR   BODY, HUB, 10"          EA        250                   1
                                                                                                      FLOWLINE TEST STAND
Linear ‐ Lafayette   Linear Controls     041700‐47      4503010723‐1‐1             TRI 171 ‐ INDOOR   GASKET, AX ‐ 18‐3/4"    EA        110                   1
                                                                                                      10/15M 316 SS
Linear ‐ Lafayette   Linear Controls    2124147‐01       96111219520               TRI 172 ‐ INDOOR   ASSY, CLAMP, W/SEAL     EA      2,000                   1
                                                                                                      PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls    2124147‐01       96111219570               TRI 172 ‐ INDOOR   ASSY, CLAMP, W/SEAL     EA      2,000                   1
                                                                                                      PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls    2141279‐01     4502534448‐01‐01            TRI 172 ‐ INDOOR   CLAMP, 10" FLOWLINE/    EA      1,500                   1
                                                                                                      PIGGING LOOP/
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 486
                                                                                           406 of 531
                                                                                                  491
                                                                           Exhibit I-G



        Facility     Facility Owner     Item Number        Serial No.                    Location          Item Description    UOM   Wt. (lbs)   On Hand Qty
Linear ‐ Lafayette   Linear Controls   2124581‐06‐02   4504055507‐02‐01             TRI 174 ‐ INDOOR   CONVERSION BLANKING      EA       180                   1
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls   2124581‐06‐02   4504055507‐01‐01             TRI 174 ‐ INDOOR   CONVERSION BLANKING     EA        180                   1
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls   2124581‐06‐02   4504055507‐03‐01             TRI 174 ‐ INDOOR   CONVERSION BLANKING     EA        180                   1
                                                                                                       SEAL PLATE, 4" WELL

Linear ‐ Lafayette   Linear Controls    2142930‐01      4501742451‐1‐2              TRI 174 ‐ INDOOR   ACCESS STAND, G2        EA        200                   1
                                                                                                       TUBING HANGER
                                                                                                       RUNNING
Linear ‐ Lafayette   Linear Controls    2124581‐01        11170113‐01               TRI 174 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        150                   1
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01        11410124‐01               TRI 174 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        150                   1
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐01        11170112‐02               TRI 174 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        150                   1
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124581‐07     4503345734‐01‐02             TRI 174 ‐ INDOOR   SEAL PLATE, COATING     EA        150                   1
                                                                                                       ON OD ONLY
Linear ‐ Lafayette   Linear Controls    2124581‐07     4503345734‐01‐03             TRI 174 ‐ INDOOR   SEAL PLATE, COATING     EA        150                   1
                                                                                                       ON OD ONLY
Linear ‐ Lafayette   Linear Controls    2124581‐07     4503345734‐01‐04             TRI 174 ‐ INDOOR   SEAL PLATE, COATING     EA        150                   1
                                                                                                       ON OD ONLY
Linear ‐ Lafayette   Linear Controls    2124581‐07     4503345734‐01‐01             TRI 174 ‐ INDOOR   SEAL PLATE, COATING     EA        150                   1
                                                                                                       ON OD ONLY
Linear ‐ Lafayette   Linear Controls    2124581‐03     4502533058‐01‐01             TRI 174 ‐ INDOOR   SEAL PLATE, 10"         EA        150                   1
                                                                                                       FLOWLINE JUMPER
Linear ‐ Lafayette   Linear Controls    2124581‐01        11251434‐01               TRI 174 ‐ INDOOR   SEAL PLATE, 4" WELL &   EA        150                   1
                                                                                                       MANIFOLD
Linear ‐ Lafayette   Linear Controls    2124586‐01        450605865‐1               TRI 175 ‐ INDOOR   END PLATE, MANDREL      EA        500                   1
                                                                                                       RETAINER,
Linear ‐ Lafayette   Linear Controls    2124584‐01       450605849‐1‐1              TRI 175 ‐ INDOOR   MANDREL, RETAINER       EA        400                   1
                                                                                                       SLEEVE,
Linear ‐ Lafayette   Linear Controls    2124535‐01     NS201604020729021            TRI 175 ‐ INDOOR   ANNULUS LOOP, 2.875     EA        300                   4
                                                                                                       O.D. X 2.125
Linear ‐ Lafayette   Linear Controls    2124624‐01        450604006‐1               TRI 175 ‐ INDOOR   BODY, 4" PRODUCTION     EA        150                   1
                                                                                                       STAB,
Linear ‐ Lafayette   Linear Controls    2124585‐01        450605858‐1               TRI 175 ‐ INDOOR   RETAINER PLATE,         EA        150                   1
                                                                                                       MASTER VALVE BLOCK
Linear ‐ Lafayette   Linear Controls    2156742‐01        11328834‐01               TRI 175 ‐ INDOOR   SUB‐ASSY, BOP SPANNER   EA        200                   1
                                                                                                       JOINT, 7.625"

Linear ‐ Lafayette   Linear Controls    2156773‐02        11322641‐01               TRI 175 ‐ INDOOR   UPPER ADAPTER, BOP      EA        200                   1
                                                                                                       SPANNER JOINT,
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 487
                                                                                           407 of 531
                                                                                                  491
                                                                     Exhibit I-G



        Facility     Facility Owner     Item Number     Serial No.                 Location          Item Description     UOM   Wt. (lbs)   On Hand Qty
Linear ‐ Lafayette   Linear Controls     2124147‐01    400297648              TRI 176 ‐ INDOOR   ASSY, CLAMP, W/SEAL       EA    2,000                    1
                                                                                                 PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls    2124147‐01     11213146‐1             TRI 176 ‐ INDOOR   ASSY, CLAMP, W/SEAL      EA      2,000                   1
                                                                                                 PLATE, 4" WELL
Linear ‐ Lafayette   Linear Controls   041700‐09‐01    400133273              TRI 178 ‐ INDOOR   AX GASKET, 11"‐          EA         30                   1
                                                                                                 5M/10M#, ST/STL WITH

Linear ‐ Lafayette   Linear Controls   041700‐09‐01    400133274              TRI 178 ‐ INDOOR   AX GASKET, 11"‐          EA         30                   1
                                                                                                 5M/10M#, ST/STL WITH

Linear ‐ Lafayette   Linear Controls    2098477‐01      175670‐1              TRI 178 ‐ INDOOR   AX‐VX GASKET             EA        110                   1
Linear ‐ Lafayette   Linear Controls    2098477‐01      175670‐2              TRI 178 ‐ INDOOR   AX‐VX GASKET             EA        110                   1
Linear ‐ Lafayette   Linear Controls    2124579‐02     45434247‐8             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45434247‐6             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45434247‐3             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45434247‐11             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45445642‐3             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45445642‐2             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45445642‐1             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45438628‐1             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02     45445642‐4             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls     501040‐1     961276244180            TRI 178 ‐ INDOOR   6" Gasket Sealing Ring   EA         20                   1
Linear ‐ Lafayette   Linear Controls    2124579‐04     45424496‐2             TRI 178 ‐ INDOOR   GASKET W/ O‐RING, 10"‐   EA         20                   1
                                                                                                 15M SEAL
Linear ‐ Lafayette   Linear Controls    2124579‐02    45434247‐01             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45424796‐01             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45424796‐06             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45434274‐02             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45424796‐04             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124579‐02    45424796‐03             TRI 178 ‐ INDOOR   GASKET, 10"‐15M, SEAL    EA         20                   1
                                                                                                 PLATE, MCPAC
                               Case 20-33948 Document 775-2
                                                      723-1 Filed in TXSB on 01/21/21
                                                                             01/01/21 Page 488
                                                                                           408 of 531
                                                                                                  491
                                                                         Exhibit I-G



        Facility     Facility Owner     Item Number     Serial No.                     Location           Item Description    UOM   Wt. (lbs)   On Hand Qty
Linear ‐ Lafayette   Linear Controls     2124579‐02    45445642‐04                TRI 178 ‐ INDOOR    GASKET, 10"‐15M, SEAL    EA        20                   1
                                                                                                      PLATE, MCPAC
Linear ‐ Lafayette   Linear Controls    2124134‐01      2659561110                TRI 180 ‐ INDOOR    ASSY, TUBING HANGER     EA        600                   1
                                                                                                      ADJUSTMENT STAN
Linear ‐ Lafayette   Linear Controls    2099720‐02        26‐1567                TRI FLOOR ‐ INDOOR   ASSY, TREE CAP          EA      5,000                   1
                                                                                                      RUNNING TOOL, BP
Linear ‐ Lafayette   Linear Controls     60031311     9523237807360              TRI SHED ‐ INDOOR    Troika Dummy Control    EA      3,000                   1
                                                                                                      Pod
Linear ‐ Lafayette   Linear Controls     60031470     9523237807390              TRI SHED ‐ INDOOR    SHELL DUMMY CONTROL     EA      1,000                   1
                                                                                                      POD SHIPPING SKID

Linear ‐ Lafayette   Linear Controls    2123000‐01      9624280360              TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,     EA        150                   1
                                                                                                      TREE CAP & TREE
Linear ‐ Lafayette   Linear Controls    2123000‐01      2657807220              TRI‐SHELL ‐ OUTDOOR   HANDLING TOOL ASSY,     EA        150                   1
                                                                                                      TREE CAP & TREE
Linear ‐ Lafayette   Linear Controls    2123738‐01      9624280370              TRI‐SHELL ‐ OUTDOOR   LIFT SUB, 1.50" NOM     EA         50                   1
                                                                                                      SHACKLE X
Linear ‐ Lafayette   Linear Controls    2099099‐03      11196376‐1              TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"     EA        350                   1
                                                                                                      FLOWLINE /
Linear ‐ Lafayette   Linear Controls    2099099‐03      11210778‐1              TRI‐SHELL ‐ OUTDOOR   ASSY, TEST HUB, 10"     EA        350                   1
                                                                                                      FLOWLINE /
Linear ‐ Lafayette   Linear Controls    2035504‐02     961276650350             TRI‐SHELL ‐ OUTDOOR   ASSY, DEBRIS CAP, 18‐   EA        100                   1
                                                                                                      3/8" OD MCPAC
Linear ‐ Lafayette   Linear Controls    2035519‐01      1276650650              TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE   EA         50                   1
                                                                                                      DEBRIS/TEST

Linear ‐ Lafayette   Linear Controls    2035519‐01      1276650660              TRI‐SHELL ‐ OUTDOOR   ASSY, ROV RETRIEVABLE   EA         50                   1
                                                                                                      DEBRIS/TEST

Linear ‐ Lafayette   Linear Controls    2156132‐01    9523237807220             TRI‐SHELL ‐ OUTDOOR   ASSY, COMBINATION       EA        500                   1
                                                                                                      (TREE/TREE CAP)
Linear ‐ Lafayette   Linear Controls    2156145‐01     11324065‐01              TRI‐SHELL ‐ OUTDOOR   ASSY, 3‐1/16‐15M        EA      8,500                   1
                                                                                                      MONOBORE TUBING
Linear ‐ Lafayette   Linear Controls    2124137‐01    9523237807330             TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &    EA      2,000                   1
                                                                                                      SHIPPING SKID
Linear ‐ Lafayette   Linear Controls    2124137‐01    9523237807340             TRI‐SHELL ‐ OUTDOOR   ASSY, TOOL STORAGE &    EA      2,000                   1
                                                                                                      SHIPPING SKID
Linear ‐ Lafayette   Linear Controls    2124118‐01      11278658‐1              TRI‐SHELL ‐ OUTDOOR   ASSY, TREE CAP, BP      EA      8,000                   1
                                                                                                      TROIKA
Linear ‐ Lafayette   Linear Controls                  Serial.# WPI317                                 Waukesha Engine L7042   EA                              1
                                                                                                      GSI
Linear ‐ Lafayette   Linear Controls                   Serial.# 48799                                 Waukesha Engine L3711   EA                              1

Linear ‐ Lafayette   Linear Controls                  Serial.# 1029776                                Waukesha Engine F1905   EA                              1
                                   Case 20-33948 Document 775-2
                                                          723-1 Filed in TXSB on 01/21/21
                                                                                 01/01/21 Page 489
                                                                                               409 of 531
                                                                                                      491
                                                                              Exhibit I-G



        Facility        Facility Owner        Item Number      Serial No.                   Location      Item Description        UOM   Wt. (lbs)   On Hand Qty
Linear ‐ Lafayette      Linear Controls                     Serial.# 218794                            Waukesha Engine F1905       EA                             1

Linear ‐ Lafayette      Linear Controls                     Serial.#396632                             Waukesha Engine F1197      EA                              1

Linear ‐ Lafayette      Linear Controls                     Serial.# 362530                            Waukesha Engine F1197      EA                              1

Whitco ‐ Broussard      Whitco Supply           357501                                                 1" x 3' x 20' Galvanized   EA                          106
                                                                                                       Grating
Whitco ‐ Broussard      Whitco Supply           333963                                                 1‐1/2" x 3' x 20'          EA                          ‐
                                                                                                       Galvanized Grating
Express ‐ Fourchon   Express Supply & Steel                                                            1" x 3‐1/16" x 36" x 20'   EA                              10
                                                                                                       Serrated Galvanized
                                                                                                       Domestic Grating
Express ‐ Fourchon   Express Supply & Steel                                                            1‐1/2" x 3‐1/16" x 36" x   EA                              35
                                                                                                       20' Serrated Galvanized
                                                                                                       Domestic Grating
                                                    Case 20-33948 Document 775-2
                                                                           723-1 Filed    in TXSB on 01/21/21
                                                                                  Exhibit I-H
                                                                                                     01/01/21 Page 490
                                                                                                                   410 of 531
                                                                                                                          491


Cash and other balances to be determined at effective date

Surety Bonds in favor of FWE I:
    DATE   BOND NO.               Amount               Lease                                                   PARTIES                                                        SURETY                            BENEFICIARY
   3/6/19 B011964               $300,000            OCS‐G 01194                                 Fieldwood Energy LLC; Byron Energy Inc.                         U.S. Specialty Insurance Company           Fieldwood Energy LLC
   3/6/19 B011963               $450,000            OCS‐G 01194                            Fieldwood Energy LLC; Byron Energy Inc.;BOEM                         U.S. Specialty Insurance Company       Fieldwood Energy LLC; BOEM
 11/29/18 N‐7001005          $2,366,855          OCS‐0810; OCS‐0812       Northstar Oﬀshore Ventures LLC; SanareEnergy Partners, LLC; Fieldwood Energy LLC   Indemnity National Insurance Company          Fieldwood Energy LLC
   3/9/18 N‐7000930          $2,640,126             OCS‐G11691                            Monforte Explora on L.L.C.; FieldwoodEnergy LLC                    Indemnity National Insurance Company          Fieldwood Energy LLC
  2/13/18 1149835               $250,000            OCS‐G03587                                      Northstar Offshore Ventures LLC                                 Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149836            $1,000,000             OCS‐G03171                                      Northstar Offshore Ventures LLC                                 Lexon Insurance Company                Fieldwood Energy LLC
  2/13/18 1149838            $2,500,000       OCS‐G01216;OCS‐G01217                                 Northstar Offshore Ventures LLC                                 Lexon Insurance Company                Fieldwood Energy LLC
   5/1/16 RLB0016261         $1,514,600 EI 142 A; ROW G12732;ROW G13740               Whitney Oil & Gas, LLC; Apache Corporation; GOM Shelf LLC                       RLI Insurance Company         Apache Corporation; GOM Shelf LLC
                       Case 20-33948 Document 775-2
                                              723-1 Filed in TXSB on 01/21/21
                                                                     01/01/21 Page 491
                                                                                   411 of 531
                                                                                          491
                                                    Exhibit I-I

FWE                                   GOM Shelf LLC
FWE                                   FW GOM Pipeline Inc.
FWE                                   Paloma Pipeline Company
FW GOM Pipeline Inc.                  SP 49 LLC
                                     Case 20-33948 Document 775-2
                                                            723-1 Filed    in TXSB on 01/21/21
                                                                    Exhibit I‐J
                                                                                      01/01/21 Page 492
                                                                                                    412 of 531
                                                                                                           491


Field                                                Block             Lease          Type       Rights       Date Le Eff   Date Le Exp   Le Cur Acres (Ac)       Operator        WI          Lease Status
SOUTH TIMBALIER 308 / EWING BANK 873                ST 287            G24987         Federal       OP          5/1/2003                         5000            Fieldwood En     100.0%           PROD
SOUTH TIMBALIER 308 / EWING BANK 873                ST 308            G21685         Federal       OP          6/1/2000                         5000            Fieldwood En     100.0%           PROD
VERMILION 362/371                                   VR 362            G10687         Federal       RT          6/1/1989                        5,000          Fieldwood En Off   100.0%   INACTIVE/ABANDONED
VERMILION 362/371                                   VR 363            G09522         Federal      OP 1         5/1/1988                        5,000            Fieldwood En     100.0%          ACTIVE
VERMILION 362/371                                   VR 371            G09524         Federal       RT          7/1/1988                        5,000          Fieldwood En Off   100.0%          ACTIVE
VERMILION 78                                        VR 78             G04421         Federal       RT         11/1/1980                        5,000            Fieldwood En     100.0%          ACTIVE

Right of Way bearing Serial No. OCS‐G29427 for Pipeline Segment No. 20278 pertaining to South Timbalier 308
Right of Way bearing Serial No. OCS‐G15047 for Pipeline Segment No. 10675 pertaining to Vermilion 371
                                 Case 20-33948 Document 775-2
                                                        723-1 Filed     in TXSB on 01/21/21
                                                               Exhibit I‐K(i)
                                                                                   01/01/21 Page 493
                                                                                                 413 of 531
                                                                                                        491


Field                              Block      Lease     Type     Rights   Date Le Eff   Date Le Exp   Le Cur Acres       Operator        WI      Lease Status
EAST CAMERON 2 ‐ (SL LA)           EC 2      SL18121   SL ‐ LA     WI     5/12/2004     11/6/2020         220            Fieldwood      50.0%      RELINQ
CHANDELEUR 42/43                  CA 43      G32268    Federal    OP 1     7/1/2008                      5,000         Fieldwood En      7.69%      PROD        Knight Default
CHANDELEUR 42/43                  CA 42      G32267    Federal    OP 1     7/1/2008     6/21/2019        5,000         Fieldwood En      7.69%     RELINQ       Knight Default
WEST CAMERON 295                  WC 295     G24730    Federal    OP 1     5/1/2003                      5,000         Fieldwood En      6.00%      PROD        Tammany Default
SHIP SHOAL 246/247/248/270/271    SS 249     G01030    Federal    OP 1     6/1/1962                      5,000       Fieldwood En Off   0.042%      UNIT        Hillcrest GOM Default i
SHIP SHOAL 246/247/248/270/271    SS 248     G01029    Federal    RT B     6/1/1962                      5,000       Fieldwood En Off    0.04%      UNIT        Hillcrest GOM Default i
          Case 20-33948 Document 775-2
                                 723-1 Filed     in TXSB on 01/21/21
                                        Exhibit I‐K(i)
                                                            01/01/21 Page 494
                                                                          414 of 531
                                                                                 491




in Unit
in Unit
                        Case 20-33948 Document 775-2
                                               723-1 Filed in TXSB on 01/21/21
                                                                      01/01/21 Page 495
                                                                                    415 of 531
                                                                                           491
                                                      Exhibit I‐K(ii)

Asset Name                          FWE Acct. Code      Lease Number         API        WI         NRI
CHANDELEUR 042 #A002                CA042A0200             G32267       177294001500        7.7%          5.4%
CHANDELEUR 043 #A001                CA043A0100             G32268       177294001400        7.7%          5.4%
CHANDELEUR 043 #A003                CA043A0300             G32268       177294001600        7.7%          5.4%
EAST CAMERON 002 #001 SL 18121      SL18121010              18121       177032013600      50.0%          37.3%
EUGENE IS 330 #B003 ST1             EI330B0301             G02115       177104008001      35.0%          29.1%
MAIN PASS 259 #A007                 MP259A0700             G07827       177244071800      43.1%          29.7%
MAIN PASS 303 #B015                 MP303B1500             G04253       177244024800      42.9%          35.7%
MATAGORDA IS 519 #L001              MI519L1SL0             MF-79413     427033030000      15.8%          12.2%
MATAGORDA IS 519 #L002              MI519L2SL0             MF-79413     427033034000      15.8%          12.2%
MATAGORDA IS 519 #L003              MI519L3SL0             MF-79413     427033039500      15.8%          12.2%
MATAGORDA IS 519 #L004              MI519L4SL0             MF-79413     427033039700      15.8%          12.2%
SHIP SHOAL 249 #D017                SS249D1700              G01030      177124020800     0.042%             TA
SOUTH TIMBALIER 205 #B002A ST1      ST205B02A1              G05612      177154062901      25.0%          20.8%
SOUTH TIMBALIER 205 #B004 ST1       ST205B0401              G05612      177154081601      25.0%          20.8%
SOUTH TIMBALIER 206 #A002 ST1       ST206A0201              G05613      177154060101      25.0%             TA
SOUTH TIMBALIER 206 #A003           ST206A0300              G05613      177154061000      25.0%             TA
SOUTH TIMBALIER 206 #A004A          ST206A04A0              G05613      177154074300      25.0%             TA
SOUTH TIMBALIER 206 #A006           ST206A0600              G05613      177154075100      25.0%             TA
SOUTH TIMBALIER 206 #A007           ST206A0700              G05613      177154075200      25.0%             TA
SOUTH TIMBALIER 206 #A008           ST206A0800              G05613      177154075300      25.0%             TA
SOUTH TIMBALIER 206 #A009           ST206A0900              G05613      177154075400      25.0%             TA
SOUTH TIMBALIER 206 #A010ST2BP      ST206A1002              G05613      177154075702      25.0%             TA
SOUTH TIMBALIER 206 #B003 ST1       ST206B0301              G05613      177154074001      25.0%          20.8%
SOUTH TIMBALIER 206 #B006           ST206B0600              G05613      177154103000      25.0%          20.8%
WEST CAMERON 295 #A002              WC295A0201              G24730      177014039001        6.0%          4.9%
                            Case 20-33948 Document 775-2
                                                   723-1 Filed in TXSB on 01/21/21
                                                                          01/01/21 Page 496
                                                                                        416 of 531
                                                                                               491
                                                               Exhibit I‐K(iii)



Asset Name                                                      FWE Acct. Code    Lease Number Area/Block   WI
CHANDELEUR 043 P/F‐A                                            CA43APLT             G32268      CA043     7.69%
HIGH ISLAND 120 P/F‐A‐PROCESS                                   HI120APROC           G01848      HI120     6.00%
WEST CAMERON 295 P/F‐A                                          WC295ACAS            G24730      WC295     6.00%
SHIP SHOAL 248 P/F‐G                                            SS248PFG             G01029      SS248     0.04%
SOUTH TIMBALIER 206 P/F‐A                                       ST206APLT            G05612      ST206    25.00%
SOUTH TIMBALIER 205 P/F‐B                                       ST205BPLT            G05612      ST205    25.00%
MATAGORDA IS 487 P/F‐L(SL)                                      MI487LSL            MF‐88562     MI487    15.80%
MATAGORDA IS 519 P/F‐L ‐ SL                                     MI519LSL            MF‐88562     MI519    15.80%
Venice Dehydration Facility (South Pass Dehydration Station)    VENICEDHYD                                64.80%
Tivoli Plant                                                    TIVOLIPL                                  43.86%
MI 519 Bay City Compressor Station                              MI519BAY                                  18.10%
Vermilion 76 Onshore Scrubber                                   VR76SCRUB                                  6.08%
Grand Chenier Separation Facility                               GRCHENPF                                  72.08%
EAST CAMERON 002 P/F‐1 SL18121                                  SL181211PT            18121      EC002    50.00%
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 497
                                                            417 of 531
                                                                   491




         [Exhibits II-A – II-G to be attached to Executed Plan of Merger]
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 498
                                                            418 of 531
                                                                   491




         [Exhibits III-A – III-H to be attached to Executed Plan of Merger]




                                         2
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 499
                                                            419 of 531
                                                                   491




                                 Exhibit 5A
                   Attachment to Plan of Merger (Exhibit 5)

                      Certificate of Merger (TX) (FWE)




               [Exhibit to Apache Term Sheet Implementation Agreement]
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 500
                                                                 420 of 531
                                                                        491




                                    CERTIFICATE OF MERGER
                              (DOMESTIC ENTITY DIVISIONAL MERGER)
                                              OF
                                    FIELDWOOD ENERGY LLC


                                                  [•], 2021

      Pursuant to Title 1, Chapter 10 and Title 3 of the Texas Business Organizations Code (the
“TBOC”), the undersigned, Fieldwood Energy, LLC, a Texas limited liability company
(“FWE”), submits this certificate of merger for the purpose of dividing itself into a surviving
domestic entity and one new domestic entity, and hereby certifies the following:

       FIRST: The name of the domestic filing entity that is dividing itself is Fieldwood
Energy, LLC.

       SECOND: The principal place of business of FWE is 2000 W Sam Houston Pkwy S
#1200, Houston, TX 77042.

           THIRD: The filing number issued to FWE by the Secretary of State of the State of Texas
is E*]1.

           FOURTH: FWE is organized as a limited liability company.

       FIFTH: FWE shall survive the merger and shall maintain its separate existence and
continue as a filing entity under the name “Fieldwood Energy III LLC” (“FWE III”).

           SIXTH: In lieu of providing the plan of merger, the filing entity certifies that:

           (i) An executed copy of the Agreement and Plan of Merger, dated as of [•], 2021
           (the “Plan of Merger”), of FWE is on file at the principal place of business of each
           surviving and new domestic entity provided in this form.

           (ii) On written request, a copy of the Plan of Merger will be furnished without cost by
           each surviving or new domestic entity to any member of any domestic entity that is a
           party to or created by the Plan of Merger, and any creditor or obligee of the parties to the
           merger at the time of the merger if a liability or obligation is then outstanding.

       SEVENTH: The certificate of formation of FWE shall continue to be the certificate of
formation of FWE following the merger, provided that the certificate of formation of FWE shall
be amended to change the name of such entity to “Fieldwood Energy III, LLC”.

       EIGHTH: The name, jurisdiction of organization, principal place of business address,
and entity description of the entity to be created pursuant to the plan of merger are set forth

1 Note to Draft: to be assigned upon conversion of FWE to a Texas LLC.




WEIL:\97689497\5\45327.0007
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 501
                                                                 421 of 531
                                                                        491




below. The certificate of formation of the new domestic filing entity to be created is being filed
with this certificate of merger.

         Name: Fieldwood Energy I LLC

          Entity Description: limited liability company

          Jurisdiction of Organization: Texas

          Principal place of business: [•].

      NINTH: The Plan of Merger has been approved, adopted, certified, executed and
acknowledged as required by the TBOC and the governing documents of the filing entity.

       TENTH: This document shall be effective when the document is accepted and filed by
the Secretary of State of the State of Texas.

        ELEVENTH: In lieu of providing the tax certificate, FWE III shall continue to be liable
for the payment of all required franchise taxes of FWE III.




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WEIL:\97689497\5\45327.0007
   Case 20-33948 Document 775-2
                          723-1 Filed in TXSB on 01/21/21
                                                 01/01/21 Page 502
                                                               422 of 531
                                                                      491




       IN WITNESS WHEREOF, the undersigned has caused this certificate of merger to be
duly executed as of the date first set forth above.



                                                 FIELDWOOD ENERGY, LLC
                                                 a Texas limited liability company


                                                 By:
                                                 Name:
                                                 Title:




                         [SIGNATURE PAGE TO CERTIFICATE OF MERGER]
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 503
                                                            423 of 531
                                                                   491




                                 Exhibit 5B
                   Attachment to Plan of Merger (Exhibit 5)

           Certificate of Formation (TX) (Fieldwood Energy I LLC)




               [Exhibit to Apache Term Sheet Implementation Agreement]
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 504
                                                                                         424 of 531
                                                                                                491

                                                                                                                          This space reserved for office use.
                  Form 205
                  (Revised 05/11)

                  Submit in duplicate to:
                  Secretary of State
                  P.O. Box 13697                                       Certificate of Formation
                  Austin, TX 78711-3697                                Limited Liability Company
                  512 463-5555
                  FAX: 512 463-5709
                  Filing Fee: $300

                                                                     Article 1 - Entity Name and Type

                  The filing entity being formed is a limited liability company. The name of the entity is:

                 FIELD WOOD ENERGY I LLC
                  The name must contain the words “limited liability company,” “limited company,” or an abbreviation of one of these phrases.

                                                         Article 2 - Registered Agent and Registered Office
                                                           (See instructions. Select and complete either A or B and complete C.)
                  |X| A. The initial registered agent is an organization (cannot be entity named above) by the name of:
                                                                    CAPITOL CORPORATE SERVICES. INC._________________________________________________
                  OR
                  □ B. The initial registered agent is an individual resident of the state whose name is set forth below:

                  First Name                                             M.I.                     Last Name                                         Suffix

                  C. The business address of the registered agent and the registered office address is:
                 206 E, 9TH STREET. SUITE 1300___________ AUSTIN                                                               TX          78701
                  Street Address                          City                                                                 State        Zip Code

                                                                      Article 3—Governing Authority
                                              (Select and complete either A or B and provide the name and address of each governing person.)

                  [X| A. The limited liability company will have managers. The name and address of each initial
                  manager are set forth below.
                  □ B. The limited liability company will not have managers. The company will be governed by its
                  members, and the name and address of each initial member are set forth below.
                  GOVERNING PERSON 1_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                            M.I.          Last Name                                            Suffix
                          OR
                          IF ORGANIZATION



                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                            City                                State       Country   Zip Code

                Form 205                                                                      4


TX060BOC - 11/27/2013 Wolters Kluwer Online
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 505
                                                                                         425 of 531
                                                                                                491

                  GOVERNING PERSON 2_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code

                  GOVERNING PERSON 3_____________________________
                  NAME (Enter the name of either an individual or an organization, but not both.)
                          IF INDIVIDUAL


                          First Name                                       M.I.            Last Name                        Suffix
                          OR
                          IF ORGANIZATION


                      Organization Name
                  ADDRESS


                  Street or Mailing Address                                         City                State   Country   Zip Code


                                                                             Article 4 - Purpose

                  The purpose for which the company is formed is for the transaction of any and all lawful purposes for
                  which a limited liability company may be organized under the Texas Business Organizations Code.

                                                               Supplemental Provisions/Information
                  Text Area: [The attached addendum, if any, is incorporated herein by reference.]

                 The entity is fonned pursuant to a plan of merger. The name of the merging entity is Fieldwood Energy LLC.

                 The address of the converting entity is 2000 W. Sam Houston Pkwy. S., Suite 1200, Houston, Texas 77042.

                 The merging entity was fonned on 11/5/2012 under the laws of the State of Delaware, USA.

                 The merging entity was previously a Delaware limited liability company. The merger entity converted to a Texas limited
                 liability company on [ ]/[ ]/2021.




                Form 205                                                                   5

TX060BOC - 11/27/2013 Wolters Kluwer Online
                             Case 20-33948 Document 775-2
                                                    723-1 Filed in TXSB on 01/21/21
                                                                           01/01/21 Page 506
                                                                                         426 of 531
                                                                                                491

                                                                        Organizer

                  The name and address of the organizer:


                  Name



                  Street or Mailing Address                                          City                           State   Zip Code


                                                     Effectiveness of Filing (Select either A, B, or C.)

                  A.         This document becomes effective when the document is filed by the secretary of state.
                  B.     This document becomes effective at a later date, which is not more than ninety (90) days from
                  the date of signing. The delayed effective date is:
                  C. |X] This document takes effect upon the occurrence of the future event or fact, other than the
                  passage of time. The 90th day after the date of signing is:
                  The following event or fact will cause the document to take effect in the manner described below:
                 the filing of the certificate of merger of Fieldwood Energy LLC with the Secretary of State of Texas.




                                                                        Execution

                The undersigned affirms that the person designated as registered agent has consented to the
                appointment. The undersigned signs this document subject to the penalties imposed by law for the
                submission of a materially false or fraudulent instrument and certifies under penalty of perjury that the
                undersigned is authorized to execute the filing instrument.

                Date:


                                                                          Signature of organizer


                                                                          Printed or typed name of organizer




                                                                                                                   Print               Reset




                Form 205                                                       6

TX060BOC - 11/27/2013 Wolters Kluwer Online
Case 20-33948 Document 775-2
                       723-1 Filed in TXSB on 01/21/21
                                              01/01/21 Page 507
                                                            427 of 531
                                                                   491




                                     Exhibit 6

                    Fieldwood Energy I LLC Agreement




               [Exhibit to Apache Term Sheet Implementation Agreement]
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 508
                                                                 428 of 531
                                                                        491




                     LIMITED LIABILITY COMPANY AGREEMENT

                                         OF
                           FIELDWOOD ENERGY I LLC
                          (a Texas Limited Liability Company)


                                       [•], 2020




THE MEMBERSHIP INTERESTS REFERENCED IN THIS LIMITED LIABILITY
COMPANY AGREEMENT HAVE BEEN ACQUIRED FOR INVESTMENT AND HAVE
NOT BEEN REGISTERED UNDER THE U.S. SECURITIES ACT OF 1933, AS
AMENDED, OR UNDER ANY APPLICABLE STATE SECURITIES LAWS. SUCH
MEMBERSHIP INTERESTS MAY NOT BE SOLD, ASSIGNED, PLEDGED,
HYPOTHECATED OR OTHERWISE DISPOSED OF AT ANY TIME WITHOUT
EFFECTIVE REGISTRATION UNDER SUCH ACT AND LAWS OR EXEMPTION
THEREFROM, AS WELL AS COMPLIANCE WITH THE OTHER SUBSTANTIAL
RESTRICTIONS ON TRANSFERABILITY THAT ARE SET FORTH HEREIN.




EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 509
                                                                 429 of 531
                                                                        491




                                                 TABLE OF CONTENTS

ARTICLE I              DEFINITIONS................................................................................................... 1
      Section 1.01 Definitions....................................................................................................... 1
      Section 1.02 Interpretation............................................................................................... 11

ARTICLE II             ORGANIZATION ........................................................................................... 12
      Section 2.01        Formation ..................................................................................................... 12
      Section 2.02        Name.............................................................................................................. 12
      Section 2.03        Principal Office............................................................................................ 12
      Section 2.04        Registered Office; Registered Agent.......................................................... 12
      Section 2.05        Purposes; Powers......................................................................................... 13
      Section 2.06        Term.............................................................................................................. 14

ARTICLE III CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS........................... 14
   Section 3.01 Initial Capital Contributions....................................................................... 14
   Section 3.02 Additional Capital Contributions............................................................... 14
   Section 3.03 Maintenance of Capital Accounts............................................................... 14
   Section 3.04 Succession Upon Transfer........................................................................... 15
   Section 3.05 Negative Capital Accounts .......................................................................... 15
   Section 3.06 No Withdrawals from Capital Accounts.................................................... 15
   Section 3.07 Treatment of Loans from Members........................................................... 15
   Section 3.08 Modifications................................................................................................ 15

ARTICLE IV MEMBERS....................................................................................................... 15
   Section 4.01 No Personal Liability................................................................................... 15
   Section 4.02 No Withdrawal ............................................................................................. 16
   Section 4.03 No Interest in Company Property.............................................................. 16
   Section 4.04 Certification of Membership Interests....................................................... 16
   Section 4.05 Meetings of Members................................................................................... 16
   Section 4.06 Action Without Meeting .............................................................................. 17
   Section 4.07 Power of Members ....................................................................................... 18
   Section 4.08 Similar or Competitive Activities; Business Opportunities ..................... 18

ARTICLE V              ALLOCATIONS .............................................................................................. 18
      Section 5.01        Allocation of Net Income and Net Loss...................................................... 18
      Section 5.02        Regulatory and Special Allocations............................................................ 18
      Section 5.03        Tax Allocations............................................................................................. 20
      Section 5.04        Allocations in Respect of Transferred Membership Interests................. 21
                                                                     i
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 510
                                                                 430 of 531
                                                                        491




ARTICLE VI              DISTRIBUTIONS.......................................................................................... 22
      Section 6.01         General......................................................................................................... 22
      Section 6.02         Tax Advances............................................................................................... 22
      Section 6.03         Tax Withholding; Withholding Advances................................................ 23
      Section 6.04         Distributions in Kind.................................................................................. 24

ARTICLE VII             MANAGEMENT........................................................................................... 25
      Section 7.01         Management of the Company.................................................................... 25
      Section 7.02         Independent Director.................................................................................. 25
      Section 7.03         Sole Manager............................................................................................... 26
      Section 7.04         Service Provider .......................................................................................... 26
      Section 7.05         Actions Requiring Independent Director Consent .................................. 27
      Section 7.06         Actions Requiring Apache Consent........................................................... 28
      Section 7.07         Compensation and Reimbursement of the Independent Director, the Sole
                           Manager, the Service Provider and Fieldwood II .................................... 31
      Section 7.08         No Personal Liability.................................................................................. 31
      Section 7.09         Funding Capital Expenditures................................................................... 31

ARTICLE VIII TRANSFER.................................................................................................... 32
      Section 8.01         General Restrictions on Transfer ............................................................. 32

ARTICLE IX              EXCULPATION AND INDEMNIFICATION ........................................... 34
      Section 9.01        Exculpation of Covered Persons................................................................ 34
      Section 9.02        Liabilities and Duties of Covered Persons................................................ 35
      Section 9.03        Indemnification ........................................................................................... 36
      Section 9.04        Survival .........................................................................................................38

ARTICLE X              ACCOUNTING; TAX MATTERS .............................................................. 38
      Section 10.01         Financial Statementsand Other Information......................................... 38
      Section 10.02         Inspection Rights....................................................................................... 39
      Section 10.03         Income Tax Status..................................................................................... 39
      Section 10.04         Tax Matters Representative..................................................................... 40
      Section 10.05         Tax Returns............................................................................................... 41
      Section 10.06         Company Funds ........................................................................................ 41

ARTICLE XI             WINDING UP AND TERMINATION........................................................ 42
      Section 11.01 Events Requiring Winding Up.................................................................. 42
      Section 11.02 Effectiveness of Termination..................................................................... 42
      Section 11.03 Liquidation ................................................................................................. 42
                                                                    ii
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 511
                                                                 431 of 531
                                                                        491




      Section 11.04 Certificate of Termination..........................................................................43
      Section 11.05 Survival of Rights, Duties, and Obligations..............................................44
      Section 11.06 Recourse for Claims....................................................................................44

ARTICLE XII MISCELLANEOUS........................................................................................44
      Section 12.01        Expenses...................................................................................................... 44
      Section 12.02        Further Assurances.................................................................................... 44
      Section 12.03        Confidentiality............................................................................................ 45
      Section 12.04        Notices......................................................................................................... 46
      Section 12.05        Headings...................................................................................................... 47
      Section 12.06        Severability................................................................................................. 47
      Section 12.07        Entire Agreement....................................................................................... 47
      Section 12.08        Successors and Assigns.............................................................................. 48
      Section 12.09        No Third-Party Beneficiaries.................................................................... 48
      Section 12.10        Amendment................................................................................................. 48
      Section 12.11        Waiver......................................................................................................... 48
      Section 12.12        Governing Law........................................................................................... 48
      Section 12.13        Submission to Jurisdiction ........................................................................ 48
      Section 12.14        Waiver of Jury Trial.................................................................................. 49
      Section 12.15        Equitable Remedies.................................................................................... 49
      Section 12.16 Attorney’s Fees........................................................................................... 49
      Section 12.17 Remedies Cumulative................................................................................ 49
      Section 12.18 Counterparts............................................................................................... 50


EXHIBIT A                 FORM OF TRANSITION SERVICES AGREEMENT
SCHEDULE A                MEMBERS SCHEDULE
SCHEDULE B                 INDEPENDENT DIRECTOR’S COMPENSATION
SCHEDULE C                 SOLE MANAGER’S COMPENSATION
SCHEDULE D                 ACCOUNTING PROCEDURES FOR APACHE OFFICERS AND
                           EMPLOYEES




                                                                   iii
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 512
                                                                 432 of 531
                                                                        491




                      LIMITED LIABILITY COMPANY AGREEMENT OF
                               FIELDWOOD ENERGY I LLC

         This Limited Liability Company Agreement of Fieldwood Energy I LLC, a Texas limited
liability company (the “Company”), dated as of [•], 2020 (this “Agreement”), is entered into by
and among the Company, the Initial Member1 executing this Agreement as of the date hereof, and
each other Person who after the date hereof becomes a Member of the Company and becomes a
party to this Agreement by executing a joinder agreement in form and substance acceptable to the
Company. Capitalized terms not defined where used in this Agreement shall have the meanings
assigned to such terms in ARTICLE I of this Agreement.
                                                  RECITALS

       WHEREAS, the Company was formed under the laws of the State of Texas by the filing
of a Certificate of Formation with the Secretary of State of the State of Texas on [•], 2020 (the
“Certificate of Formation”) for the purposes set forth in Section 2.05 of this Agreement;

        WHEREAS, pursuant to and in accordance with the Confirmation Order and the Term
Sheet, respectively, and as a result of a divisive merger pursuant to § 10.008 of the BOC, the
Company will own (i) the Legacy Apache Properties subject to the operational liabilities in
connection therewith, including plugging and abandonment and decommissioning liabilities
relating to the Legacy Apache Properties, and (ii) the equity interests of GOM Shelf;

         WHEREAS, in accordance with the Term Sheet, [•] has been appointed to serve as the
initial Independent Director of the Company in accordance with this Agreement; and

       WHEREAS, the Initial Member wishes to enter into this Agreement to set forth the terms
and conditions governing the operation and management of the Company;

       NOW, THEREFORE, in consideration of the mutual covenants and agreements
hereinafter set forth and for other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties hereto agree as follows:

                                                 ARTICLE I
                                                DEFINITIONS

       Section 1.01 Definitions. Capitalized terms used herein and not otherwise defined shall
have the meanings set forth in this Section 1.01:

          “Acceptance Notice” has the meaning set forth in Section 7.09.




1 NTD: Please confirm identity of Initial Member and the equity holders of the Initial Member.

EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 513
                                                                 433 of 531
                                                                        491




       “Adjusted Capital Account Deficit” means, with respect to any Member, the deficit
balance, if any, in such Member’s Capital Account as of the end of the relevant Fiscal Year, after
giving effect to the following adjustments:

                 (a)      crediting to such Capital Account any amount that such Member is
          obligated to restore or is deemed to be obligated to restore pursuant to Treasury Regulations
          Sections 1.704-1(b)(2)(ii)(c), 1.704-2(g)(1) and 1.704-2(i); and

                 (b)    debiting to such Capital Account the items described in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d)(4), (5) and (6).

        “Adjusted Taxable Income” of a Member, or if the Member is disregarded for U.S.
federal income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year (or
portion thereof) with respect to the Membership Interest held by such Member means the federal
taxable income allocated by the Company to the Member with respect to its Membership Interest
(as adjusted by any final determination in connection with any tax audit or other proceeding) for
such Fiscal Year (or portion thereof); provided, that such taxable income shall be computed (i)
minus any excess taxable loss of the Company for any prior period allocable to such Member with
respect to its Membership Interest that were not previously taken into account for purposes of
determining such Member’s Adjusted Taxable Income in a prior Fiscal Year to the extent such
loss would be available under the Code to offset income of the Member (or, as appropriate, the
direct or indirect owners of the Member) determined as if the income and loss from the Company
were the only income and loss of the Member (or, as appropriate, the direct or indirect owners of
the Member) in such Fiscal Year and all prior Fiscal Years, and (ii) taking into account any special
basis adjustment with respect to such Member resulting from an election by the Company under
Code Section 754.

        “Affiliate” means, with respect to any Person, any other Person who, directly or indirectly
(including through one or more intermediaries), controls, is controlled by, or is under common
control with, such Person. For purposes of this definition, “control,” when used with respect to
any specified Person, shall mean the power, direct or indirect, to direct or cause the direction of
the management and policies of such Person, whether through ownership of voting securities or
partnership or other ownership interests, by contract or otherwise; and the terms “controlling” and
“controlled” shall have correlative meanings. For the avoidance of doubt, neither Apache nor any
of its Subsidiaries nor Fieldwood II nor any of its Subsidiaries shall constitute an Affiliate of the
Company.

          “Agreement” has the meaning set forth in the Preamble.

        “Apache” means Apache Corporation, a Delaware corporation, and its successors or
assigns.

        “Applicable Law” means all applicable provisions of (a) constitutions, treaties, statutes,
laws (including the common law), rules, regulations, decrees, ordinances, codes, proclamations,
declarations, or orders of any Governmental Authority; (b) any consents or approvals of any
Governmental Authority; and (c) any orders, decisions, advisory or interpretative opinions,
injunctions, judgments, awards, decrees of, or agreements with, any Governmental Authority.
                                                    2
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 514
                                                                 434 of 531
                                                                        491




          “Approved Providers” has the meaning set forth in Section 7.02(a).

       “BOC” means the Texas Business Organizations Code, as amended and in effect at the
time of this Agreement.

         “Book Depreciation” means, with respect to any Company asset for each Fiscal Year, the
Company’s depreciation, amortization, or other cost recovery deductions determined for federal
income tax purposes, except that if the Book Value of an asset differs from its adjusted tax basis
at the beginning of such Fiscal Year, Book Depreciation shall be (a) if such difference is being
eliminated by use of the remedial method under Treasury Regulations Section 1.704-3(d), the
amount of book basis recovered for such period under the rules prescribed by Treasury Regulations
Section 1.704-3(d)(2), or (b) if the remedial method is not used, an amount which bears the same
ratio to such beginning Book Value as the federal income tax depreciation, amortization, or other
cost recovery deduction for such Fiscal Year bears to such beginning adjusted tax basis; provided,
that if the adjusted basis for federal income tax purposes of an asset at the beginning of such Fiscal
Year is zero and the Book Value of the asset is positive, Book Depreciation shall be determined
with reference to such beginning Book Value using any permitted method selected by the Sole
Manager in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g)(3).

        “Book Value” means, with respect to any Company asset, the adjusted basis of such asset
for federal income tax purposes, except as follows:

                 (a)     the initial Book Value of any Company asset contributed by a Member to
          the Company shall be the gross Fair Market Value of such Company asset as of the date of
          such contribution;

                  (b)     immediately before the distribution by the Company of any Company asset
          to a Member, the Book Value of such asset shall be adjusted to its gross Fair Market Value
          as of the date of such distribution;

                 (c)    the Book Value of all Company assets may, in the sole discretion of the Sole
          Manager, be adjusted to equal their respective gross Fair Market Values, as reasonably
          determined by the Sole Manager, as of the following times:

                         (i)    the acquisition of an additional Membership Interest in the
                 Company by a new or existing Member in consideration for more than a de minimis
                 Capital Contribution;

                        (ii)  the distribution by the Company to a Member of more than a
                 de minimis amount of property (other than cash) as consideration for all or a part of
                 such Member’s Membership Interest in the Company; and

                        (iii)  the liquidation of the Company within the meaning of Treasury
                 Regulations Section 1.704-1(b)(2)(ii)(g);

                  (d)   the Book Value of each Company asset shall be increased or decreased, as
          the case may be, to reflect any adjustments to the adjusted tax basis of such Company asset

                                                   3
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 515
                                                                 435 of 531
                                                                        491




          pursuant to Code Section 734(b) or Code Section 743(b), but only to the extent that such
          adjustments are taken into account in determining Capital Account balances pursuant to
          Treasury Regulations Section 1.704-1(b)(2)(iv)(m); provided, that Book Values shall not
          be adjusted pursuant to this paragraph (d) to the extent that an adjustment pursuant to
          paragraph (c) above is made in conjunction with a transaction that would otherwise result
          in an adjustment pursuant to this paragraph (d); and

                  (e)    if the Book Value of a Company asset has been determined pursuant to
          paragraph (a) or adjusted pursuant to paragraphs (c) or (d) above, such Book Value shall
          thereafter be adjusted to reflect the Book Depreciation taken into account with respect to
          such Company asset for purposes of computing Net Income and Net Losses.

     “Business Day” means a day other than a Saturday, Sunday or other day on which
commercial banks in the State of Texas are authorized or required to close.

          “Capital Account” has the meaning set forth in Section 3.03.

       “Capital Contribution” means, for any Member, the total amount of cash and cash
equivalents and the Book Value of any property contributed to the Company by such Member.

          “Certificate of Formation” has the meaning set forth in the Recitals.

        “Certificate of Termination” means a certificate to be filed upon completion of the
winding up and liquidation of the Company as set forth in Section 11.04, which certificate shall
be in the form required by § 11.101 of the BOC.

          “Code” means the Internal Revenue Code of 1986, as amended.

          “Company” has the meaning set forth in the Preamble.

       “Company Minimum Gain” means “partnership minimum gain” as defined in Treasury
Regulations Section 1.704-2(b)(2), substituting the term “Company” for the term “partnership” as
the context requires.

          “Confidential Information” has the meaning set forth in Section 12.03(a).

        “Confirmation Order” means the confirmation order entered in Chapter 11 Case 20­
33948, In re: Fieldwood Energy LLC, etal, in the United States Bankruptcy Court for the Southern
District of Texas, Houston Division, in form and substance reasonably acceptable to Apache.

          “Continuance” has the meaning set forth in Section 11.01.

          “Covered Person” has the meaning set forth in Section 9.01(a).

       “Decommissioning Agreement” means that certain Decommissioning Agreement, dated
as of September 30, 2013, by and among Apache Corporation, Apache Shelf, Inc., Apache
Deepwater LLC, Apache Shelf Exploration LLC, Fieldwood Energy LLC and GOM Shelf LLC,
as amended by (i) the First Amendment thereto dated as of September 30, 2013, (ii) the Second
                                                  4
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 516
                                                                 436 of 531
                                                                        491




Amendment thereto dated as of September 30, 2013, (iii) the Third Amendment thereto dated
effective as of April 25, 2017, (iv) the Fourth Amendment thereto dated effective as of
September 1, 2017, as amended by that certain Letter Agreement dated January 3, 2018, and (v) the
Fifth Amendment thereto dated effective as of April 11, 2018.

       “Decommissioning Security” means the funds available from Trust A, the letters of credit,
and the bonds from time to time outstanding pursuant to the Decommissioning Agreement or
documents or instruments related thereto.

        “Depletable Property” means each separate oil and gas property as defined in Section 614
of the Code.

        “Divisive Merger Documents” means the certificate of division, the plan of division, the
certificate of merger, and other documents filed by or on behalf of Fieldwood with respect to the
Company with the Texas Secretary of State related to the creation of the Company.

        “Electronic Transmission” means any form of communication, including communication
by use of or participation in one or more electronic networks or databases, not directly involving
the physical transmission of paper that creates a record that may be retained, retrieved, and
reviewed by a recipient thereof and that may be directly reproduced in paper form by such a
recipient through an automated process.

        “Equity Securities” means any and all Membership Interests of the Company and any
securities of the Company convertible into, exchangeable for, or exercisable for, such Membership
Interests, and warrants or other rights to acquire such Membership Interests.

        “Estimated Tax Amount” of a Member, or if the Member is disregarded for U.S. federal
income tax purposes, the members or beneficiaries of such Member, for a Fiscal Year means the
Member’s Tax Amount for such Fiscal Year as estimated in good faith from time to time by the
Sole Manager. In making such estimate, the Sole Manager shall take into account amounts shown
on Internal Revenue Service Form 1065 filed by the Company and similar state or local forms filed
by the Company for the preceding taxable year and such other adjustments as the Sole Manager
reasonably determines are necessary or appropriate to reflect the estimated operations of the
Company for the Fiscal Year.

          “Excess Amount” has the meaning set forth in Section 6.02(c).

        “Fair Market Value” of any asset as of any date means the purchase price that a willing
buyer having all relevant knowledge would pay a willing seller for such asset in an arm’s length
transaction, as determined in good faith by the Sole Manager on such factors as the Sole Manager,
in the exercise of his or her reasonable business judgment, considers relevant.

       “Fieldwood” means Fieldwood Energy LLC, a Texas limited liability company, and its
successors and assigns (excluding, for the avoidance of doubt, the Company).




                                                 5
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 517
                                                                 437 of 531
                                                                        491




      “[Fieldwood II” means [Fieldwood Energy II LLC], a [Delaware] limited liability
company]2, and its successors and assigns.

        “Fiscal Year” means the calendar year, unless the Company is required to have a taxable
year other than the calendar year, in which case Fiscal Year shall be the period that conforms to
its taxable year.

        “GAAP” means generally accepted accounting principles in the United States of America
in effect from time to time; provided, that, notwithstanding any term or provision contained in this
Agreement, GAAP will be deemed for all purposes hereof to treat leases that would have not been
considered to be indebtedness in accordance with GAAP as in effect on December 31, 2017
(whether such leases were in effect on such date or are entered into thereafter) in a manner
consistent with the treatment of such leases under GAAP as in effect on December 31, 2017,
notwithstanding any modification or interpretative changes thereto or implementations of any such
modifications or interpretative changes that may have occurred thereafter.

       “GOM Shelf” means GOM Shelf LLC, a Delaware limited liability company, and its
successors and assigns.

          “GOM Shelf Properties” means those assets or properties owned by GOM Shelf.

        “Governmental Authority” means any federal, state, local, or foreign government or
political subdivision thereof, or any agency or instrumentality of such government or political
subdivision, or any self-regulated organization or other non-governmental regulatory authority or
quasi-governmental authority (to the extent that the rules, regulations, or orders of such
organization or authority have the force of law), or any arbitrator, court, or tribunal of competent
jurisdiction.

       “Independent Director” means, initially, [•], or such other Person as may be designated
or become the Independent Director pursuant to the terms of this Agreement. The Independent
Director shall constitute a “manager” (as that term is defined in the BOC) of the Company.

          “Information Notice” has the meaning set forth in Section 7.09.

          “Initial Member” has the meaning set forth in the term Member.

       “Farmout Agreement” means that certain Farmout Agreement of even date herewith by
and between the Company and Fieldwood II.

       “Legacy Apache Properties” means the list of assets set forth on Schedule I to the Plan
of Merger.




2 NTD: Name to be confirmed.
                                                 6
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 518
                                                                 438 of 531
                                                                        491




        “Legacy Apache Properties PSA” means that Purchase and Sale Agreement, dated as of
July 18, 2013, between Apache and certain of its affiliates, Fieldwood and certain of its affiliates,
and GOM Shelf, as such agreement has been amended.

      “Lien” means any mortgage, pledge, security interest, option, right of first offer,
encumbrance, or other restriction or limitation of any nature whatsoever.

          “Liquidator” has the meaning set forth in Section 11.03(a).

          “Losses” has the meaning set forth in Section 9.03(a).

        “Member” means (a) each Person identified on the Members Schedule as of the date hereof
as a Member and who has executed this Agreement or a counterpart thereof (each, an “Initial
Member”); and (b) each Person who is hereafter admitted as a Member in accordance with the
terms of this Agreement and the BOC, in each case so long as such Person is shown on the
Company’s books and records as the owner of Membership Interests. The Members shall
constitute “members” (as that term is defined in the BOC) of the Company.

       “Member Nonrecourse Debt” means “partner nonrecourse debt” as defined in Treasury
Regulations Section 1.704-2(b)(4), substituting the term “Company” for the term “partnership”
and the term “Member” for the term “partner” as the context requires.

       “Member Nonrecourse Debt Minimum Gain” means an amount, with respect to each
Member Nonrecourse Debt, equal to the Company Minimum Gain that would result if the Member
Nonrecourse Debt were treated as a Nonrecourse Liability, determined in accordance with
Treasury Regulations Section 1.704-2(i)(3).

       “Member Nonrecourse Deduction” means “partner nonrecourse deduction” as defined in
Treasury Regulations Section 1.704-2(i), substituting the term “Member” for the term “partner” as
the context requires.

          “Members Schedule” has the meaning set forth in Section 3.01.

        “Membership Interest” means an interest in the Company owned by a Member, including
such Member’s right (a) to its distributive share of Net Income, Net Losses, and other items of
income, gain, loss, and deduction of the Company; (b) to its distributive share of the assets of the
Company; (c) to vote on, consent to, or otherwise participate in any decision of the Members as
provided in this Agreement; and (d) to any and all other benefits to which such Member may be
entitled as provided in this Agreement or the BOC. The Membership Interest of each Member
shall be expressed as a percentage interest and shall be as set forth on the Members Schedule.

        “Net Income” and “Net Loss” mean, for each Fiscal Year or other period specified in this
Agreement, an amount equal to the Company’s taxable income or taxable loss, or particular items
thereof, determined in accordance with Code Section 703(a) (where, for this purpose, all items of
income, gain, loss, or deduction required to be stated separately pursuant to Code Section 703(a)(1)
shall be included in taxable income or taxable loss), but with the following adjustments:


                                                  7
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 519
                                                                 439 of 531
                                                                        491




                  (f)     any income realized by the Company that is exempt from federal income
          taxation, as described in Code Section 705(a)(1)(B), shall be added to such taxable income
          or taxable loss, notwithstanding that such income is not includable in gross income;

                   (g)   any expenditures of the Company described in Code Section 705(a)(2)(B),
           including any items treated under Treasury Regulations Section 1.704-1(b)(2)(iv)(I) as
           items described in Code Section 705(a)(2)(B), shall be subtracted from such taxable
           income or taxable loss, notwithstanding that such expenditures are not deductible for
           federal income tax purposes;

                  (h)    any gain or loss (including Simulated Gain) resulting from any disposition
          of Company property with respect to which gain or loss is recognized for federal income
          tax purposes shall be computed by reference to the Book Value of the property so disposed,
          notwithstanding that the adjusted tax basis of such property differs from its Book Value;

                  (i)     any items of depreciation, amortization, and other cost recovery deductions
          with respect to Company property having a Book Value that differs from its adjusted tax
          basis shall be computed by reference to the property’s Book Value (as adjusted for Book
          Depreciation) in accordance with Treasury Regulations Section 1.704-1(b)(2)(iv)(g);

                   (j)     if the Book Value of any Company property is adjusted as provided in the
           definition of Book Value, then the amount of such adjustment shall be treated as an item
           of gain or loss and included in the computation of such taxable income or taxable loss;

                   (k)   to the extent an adjustment to the adjusted tax basis of any Company
           property pursuant to Code Sections 732(d), 734(b) or 743(b) is required, pursuant to
           Treasury Regulations Section 1.704 1(b)(2)(iv)(m), to be taken into account in determining
           Capital Accounts, the amount of such adjustment to the Capital Accounts shall be treated
           as an item of gain (if the adjustment increases the basis of the asset) or loss (if the
           adjustment decreases such basis); and

                   (l)     any items which are specially allocated pursuant to Section 5.02 hereof shall
           not be taken into account in computing Net Income or Net Loss. The amounts of the items
           of Company income, gain, loss or deduction available to be specially allocated pursuant to
           Section 5.02 hereof shall be determined by applying rules analogous to those set forth in
           subparagraphs (a) through (f) above.

       “Nonrecourse Deductions” has the meaning set forth in Treasury Regulations Section
1.704-2(b).

           “Nonrecourse Liability” has the meaning set forth in Treasury Regulations Section 1.704-
2(b)(3).

      “Person” means an individual, corporation, partnership, joint venture, limited liability
company, Governmental Authority, unincorporated organization, trust, association, or other entity.



                                                     8
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 520
                                                                 440 of 531
                                                                        491




        “Plan of Merger” means the Agreement and Plan of Merger of Fieldwood Energy LLC
into Fieldwood Energy I LLC and Fieldwood Energy III LLC, dated as of [•], 2021, and adopted
by Fieldwood Energy LLC, a Texas limited liability company.

       “Plan of Reorganization” means the plan of reorganization of Fieldwood that was
included in, and was confirmed by, the Confirmation Order.

          “Qualified Person” has the meaning set forth in Section 7.02(a).

         “Quarterly Estimated Tax Amount” of a Member, or if the Member is disregarded for
U.S. federal income tax purposes, the members or beneficiaries of such Member, for any calendar
quarter of a Fiscal Year means the excess, if any of: (a) the product of (i) a quarter (1/4) in the case
of the first calendar quarter of the Fiscal Year, half (1/2) in the case of the second calendar quarter
of the Fiscal Year, three-quarters (3/4) in the case of the third calendar quarter of the Fiscal Year,
and one (1) in the case of the fourth calendar quarter of the Fiscal Year and (ii) the Member’s
Estimated Tax Amount for such Fiscal Year; over (b) all distributions previously made during such
Fiscal Year to such Member.

       “Recharacterization Mortgages” has the meaning assigned to such term in Section 6.7 of
the Decommissioning Agreement.

          “Regulatory Allocations” has the meaning set forth in Section 5.02(f).

          “Rejection Notice” has the meaning set forth in Section 7.09.

       “Related Party Agreement” means any agreement, arrangement, or understanding
between or among the Company or any of its Affiliates, on the one hand, and the Independent
Director, the Sole Manager or any member or officer of the Company or any of its Affiliates, or
any Affiliate of the Independent Director, the Sole Manager or any member or officer of the
Company or any of its Affiliates; in each case, as such agreement may be amended, modified,
supplemented, or restated in accordance with the terms of this Agreement.

       “Representative” means, with respect to any Person, any and all directors, officers,
employees, consultants, financial advisors or lenders, counsel, accountants, and other agents of
such Person.

       “Restructuring Support Agreement” means the Restructuring Support Agreement, dated
as of August 4, 2020, by and among (i) Fieldwood Energy LLC, a Delaware limited liability
company, and including the Fieldwood PSA Parties (as defined therein); (ii) the Consenting FLTL
Lenders (as defined therein); (iii) the Consenting SLTL Lenders (as defined therein); and
(iv) Apache.

        “Securities Act” means the Securities Act of 1933, as amended, and the rules and
regulations thereunder, which shall be in effect at the time.

          “Service Provider” has the meaning set forth in Section 7.04.


                                                   9
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 521
                                                                 441 of 531
                                                                        491




          “Service Provider Agreement” has the meaning set forth in Section 7.04.

          “Shortfall Amount” has the meaning set forth in Section 6.02(b).

       “Simulated Basis” means, with respect to each Depletable Property, the Book Value of
such property.

       “Simulated Depletion” means, with respect to each Depletable Property, a depletion
allowance computed in accordance with U.S. federal income tax principles (as if the Simulated
Basis of the property were its adjusted tax basis and using simulated cost depletion) and in the
manner specified in Treasury Regulations Section 1.704-1(b)(2)(iv)(k)(2), provided that the
Simulated Depletion with respect to a Depletable Property shall in no event exceed the Simulated
Basis of such Depletable Property.

        “Simulated Gain or Loss” means the simulated gain or loss computed with respect to a
sale or other disposition of any Depletable Property pursuant to Treasury Regulations Section
1.704-1(b)(2)(iv)(k)(2).

          “Sole Manager” has the meaning set forth in Section 7.01.

        “Standby Facility” means a secured line of credit to be provided by Apache to the
Company and GOM Shelf to fund the ongoing plugging and abandonment and decommissioning
of the Legacy Apache Properties and the GOM Shelf Properties, which shall become available to
advance funds to the Company and for use in accordance with the Standby Facility Documentation.
The Standby Facility shall be secured by a first-priority lien on all the assets of the Company
(including all of the equity interests of GOM Shelf) and on all the GOM Shelf Properties, provided
that such lien shall also secure the obligations of the Company to Apache under the
Decommissioning Agreement.

        “Standby Facility Documentation” means the Standby Loan Agreement, dated as of
[•], 2020, by and between the Company and GOM Shelf, as borrowers, and Apache, as lender,
and all of the other agreements, documents and instruments related thereto governing or setting
forth terms and conditions of the Standby Facility or of the loans/borrowings made thereunder.

       “Subsidiary” means, with respect to any Person, any other Person of which a majority of
the outstanding shares or other equity interests having the power to vote for directors or
comparable managers are owned, directly or indirectly, by the first Person.

          “Tax Advance” has the meaning set forth in Section 6.02(a).

        “Tax Amount” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for a Fiscal Year means the product of
(a) the Tax Rate for such Fiscal Year and (b) the Adjusted Taxable Income of the Member for such
Fiscal Year with respect to its Membership Interest.

          “Tax Matters Representative” has the meaning set forth in Section 10.04(a).


                                                 10
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 522
                                                                 442 of 531
                                                                        491




        “Tax Rate” of a Member, or if the Member is disregarded for U.S. federal income tax
purposes, the members or beneficiaries of such Member, for any period, means the highest
effective marginal combined federal, state, and local tax rate applicable to an individual residing
in Houston, Texas (or, if higher, a corporation doing business in Houston, Texas), taking into
account (a) the character (for example, long-term or short-term capital gain, ordinary, or exempt)
of the applicable income and (b) if applicable, the deduction under IRC Section 199A.

          “Taxing Authority” has the meaning set forth in Section 6.03(b).

        “Term Sheet” means that certain term sheet, dated July 31, 2020, among Fieldwood and
certain of its Affiliates, on the one hand, and Apache and certain of its Affiliates, on the other hand.

        “Transfer” means to, directly or indirectly, sell, transfer, assign, gift, pledge, encumber,
hypothecate, or similarly dispose of, either voluntarily or involuntarily, by operation of law or
otherwise, or to enter into any contract, option, or other arrangement or understanding with respect
to the sale, transfer, assignment, gift, pledge, encumbrance, hypothecation, or similar disposition
of, any Membership Interests owned by a Person or any interest (including a beneficial interest) in
any Membership Interests owned by a Person. “Transfer” when used as a noun shall have a
correlative meaning. “Transferor” and “Transferee” mean a Person who makes or receives a
Transfer, respectively.

       “Transition Services Agreement” means the transition services agreement in form and
substance attached hereto as Exhibit A.

        “Treasury Regulations” means the final or temporary regulations issued by the United
States Department of Treasury pursuant to its authority under the Code, and any successor
regulations.

          “Trust A” means the Fieldwood Decommissioning Trust A, a Delaware statutory trust.

          “Withholding Advances” has the meaning set forth in Section 6.03(b).

       Section 1.02 Interpretation. For purposes of this Agreement: (a) the words “include,”
“includes,” and “including” shall be deemed to be followed by the words “without limitation”; (b)
the word “or” is not exclusive; and (c) the words “herein,” “hereof,” “hereby,” “hereto,” and
“hereunder” refer to this Agreement as a whole.

        The definitions given for any defined terms in this Agreement shall apply equally to both
the singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine, and neuter forms.

        Unless the context otherwise requires, references herein: (x) to Articles, Sections, Exhibits,
and Schedules mean the Articles and Sections of, and Exhibits and Schedules attached to, this
Agreement; (y) to an agreement, instrument, or other document means such agreement, instrument,
or other document as amended, supplemented, and modified from time to time to the extent
permitted by the provisions thereof; and (z) to a statute means such statute as amended from time
to time and includes any successor legislation thereto and any regulations promulgated thereunder.

                                                  11
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 523
                                                                 443 of 531
                                                                        491




        This Agreement shall be construed without regard to any presumption or rule requiring
construction or interpretation against the party drafting an instrument or causing any instrument to
be drafted.

         The Exhibits and Schedules referred to herein shall be construed with, and as an integral
part of, this Agreement to the same extent as if they were set forth verbatim herein.

        The headings in this Agreement are for reference only and shall not affect the interpretation
of this Agreement.

                                           ARTICLE II
                                         ORGANIZATION

          Section 2.01 Formation.

                  (a)     The Company was formed on [•], 2020, pursuant to the provisions of the
          BOC, upon the filing, or constructive filing with the Divisive Merger Documents, of the
          Certificate of Formation with the Secretary of State of the State of Texas.

                  (b)     This Agreement shall constitute the “company agreement” (as that term is
          used in the BOC) of the Company. The rights, powers, duties, obligations, and liabilities
          of the Members, the Sole Manager and the Independent Director shall be determined
          pursuant to the BOC and this Agreement. To the extent that the rights, powers, duties,
          obligations, and liabilities of any Member, the Sole Manager or the Independent Director
          are different by reason of any provision of this Agreement than they would be under the
          BOC in the absence of such provision, this Agreement shall, to the extent permitted by the
          BOC, control.

        Section 2.02 Name. The name of the Company is “Fieldwood Energy I LLC” or such
other name or names as may be designated by the Sole Manager; provided, that the name shall
always contain the words “Limited Liability Company” or “Limited Company” or an abbreviation
of one of those phrases. Amendments to the Certificate of Formation or this Agreement to reflect
any such name change may be made by the Sole Manager without the consent of the Members.
The Sole Manager shall give prompt notice to the Members of any change to the name of the
Company and any related amendment to the Certificate of Formation or this Agreement. The
Company may conduct business under any assumed or fictitious name required by Applicable Law
or otherwise deemed desirable by the Sole Manager.

        Section 2.03 Principal Office. The principal office of the Company is located at [•], or
such other place as may from time to time be determined by the Sole Manager. The Sole Manager
shall give prompt notice of any such change to each of the Members and Apache.

          Section 2.04 Registered Office; Registered Agent.

                  (a)    The registered office of the Company shall be the office of the initial
          registered agent named in the Certificate of Formation or such other office (which need not


                                                  12
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 524
                                                                 444 of 531
                                                                        491




          be a place of business of the Company) as the Sole Manager may designate from time to
          time in the manner provided by the BOC and Applicable Law.

                  (b)    The registered agent for service of process on the Company in the State of
          Texas shall be the initial registered agent named in the Certificate of Formation or such
          other Person or Persons as the Sole Manager may designate from time to time in the manner
          provided by the BOC and Applicable Law.

          Section 2.05 Purposes; Powers.

                 (a)     The purposes of the Company are to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the Legacy
          Apache Properties and to cause GOM Shelf to engage in the acquisition, disposition,
          ownership, operation, plugging and abandonment, and decommissioning of the GOM Shelf
          Properties, and to engage in any and all activities necessary or incidental to the foregoing
          purposes.

                  (b)     At the date of this Agreement, the Company has no assets other than (i) the
          Legacy Apache Properties, including any accounts receivable associated with the Legacy
          Apache Properties accruing after the effective date of the Plan of Reorganization and any
          cash flow generated from the Legacy Apache Properties after the effective date of the Plan
          of Reorganization (such cash flow shall be reinvested and used to fund operating
          expenditures, to fund plugging and abandonment and decommissioning activities
          associated with the Legacy Apache Properties and the GOM Shelf Properties, to fund
          capital expenditures on the Legacy Apache Properties approved and authorized in
          accordance with this Agreement, and to repay amounts outstanding, if any, under the
          Standby Facility); (ii) 100% of the limited liability company interests or other equity
          interests in GOM Shelf; and (iii) the initial capitalization provided by Fieldwood pursuant
          to the divisive merger in an amount equal to $50 million minus the actual plugging and
          abandonment and decommissioning expenses incurred by Fieldwood between the date of
          its bankruptcy petition filing on August 3, 2020, and the effective date of the Plan of
          Reorganization.

                  (c)      At the date of this Agreement, the Company has no liabilities other than
          (i) operational liabilities accruing after the effective date of the Plan of Reorganization
          (including any accounts payable associated with the Legacy Apache Properties accruing
          after the effective date of the Plan of Reorganization), (ii) plugging and abandonment and
          decommissioning liabilities and obligations (A) relating to the Legacy Apache Properties
          and (B) of GOM Shelf relating to the GOM Shelf Properties, (iii) obligations under the
          Decommissioning Agreement and the Legacy Apache Properties PSA, and (iv) obligations
          under the Standby Facility Documentation.

                  (d)    The Company shall have all the powers necessary or convenient to carry
          out the purposes for which it is formed, including the powers granted by the BOC.



                                                   13
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 525
                                                                 445 of 531
                                                                        491




       Section 2.06 Term. The term of the Company commenced on the date the Certificate of
Formation was filed with the Secretary of State of the State of Texas and shall continue in existence
perpetually until the Company is terminated in accordance with the provisions of this Agreement.

                                      ARTICLE III
                       CAPITAL CONTRIBUTIONS; CAPITAL ACCOUNTS

        Section 3.01 Initial Capital Contributions. Contemporaneously with the execution of
this Agreement, and pursuant to the Plan of Reorganization and as a result of a divisive merger
pursuant to § 10.008 of the BOC, the Company shall have the property and assets identified in
clauses (i) through (iii) in Section 2.05(b), which shall constitute the aggregate Capital
Contributions made by the Initial Member. The Initial Member shall own Membership Interests
in the amount set forth opposite such Member’s name on Schedule A attached hereto (the
“Members Schedule”). From and after the date of this Agreement, the Sole Manager shall
maintain and update the Members Schedule upon the issuance or Transfer of any Membership
Interests to any new or existing Member in accordance with this Agreement.

        Section 3.02 Additional Capital Contributions. No Member shall be required to make
any additional Capital Contributions to the Company. Any future Capital Contributions made by
any Member shall only be made with the consent of the Sole Manager and, in connection with an
issuance of additional Membership Interests, made in compliance with Section 7.06(e). To the
extent that a Member makes an additional Capital Contribution to the Company, the Sole Manager
shall revise the Members Schedule to reflect an increase in the Membership Interest of the
contributing Member that fairly and equitably reflects the value of its additional Capital
Contribution in relation to the aggregate amount of all Capital Contributions made by the
Members.

       Section 3.03 Maintenance of Capital Accounts. The Company shall establish and
maintain for each Member a separate capital account (a “Capital Account”) on its books and
records in accordance with this Section 3.03. Each Capital Account shall be established and
maintained in accordance with the following provisions:

                 (a)     Each Member’s Capital Account shall be increased by the amount of:

                         (i)    such Member’s Capital Contributions, including such Member’s
                initial Capital Contribution and any additional Capital Contributions;

                     (ii)   any Net Income or other item of income or gain allocated to such
                Member pursuant to ARTICLE V; and

                        (iii)  any liabilities of the Company that are assumed by such Member or
                 secured by any property distributed to such Member.

                 (b)     Each Member’s Capital Account shall be decreased by:

                     (i)    the cash amount or Book Value of any property distributed to such
                Member pursuant to ARTICLE VI and Section 11.03(d);

                                                 14
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 526
                                                                 446 of 531
                                                                        491




                         (ii)   the amount of any Net Loss or other item of loss or deduction
                 allocated to such Member pursuant to ARTICLE V; and

                      (iii)   the amount of any liabilities of such Member assumed by the
                 Company or that are secured by any property contributed by such Member to the
                 Company.

        Section 3.04 Succession Upon Transfer. In the event that any Membership Interests are
Transferred in accordance with the terms of this Agreement, the Transferee shall succeed to the
Capital Account of the Transferor to the extent it relates to the Transferred Membership Interests
and, subject to Section 5.04, shall receive allocations and distributions pursuant to ARTICLE V,
ARTICLE VI, and ARTICLE XI in respect of such Membership Interests.

        Section 3.05 Negative Capital Accounts. In the event that any Member shall have a
deficit balance in its Capital Account, such Member shall have no obligation, during the term of
the Company or upon termination or liquidation thereof, to restore such negative balance or make
any Capital Contributions to the Company by reason thereof, except as may be required by
Applicable Law or in respect of any negative balance resulting from a withdrawal of capital or
termination in contravention of this Agreement.

        Section 3.06 No Withdrawals from Capital Accounts. No Member shall be entitled to
withdraw any part of its Capital Account or to receive any distribution from the Company, except
as otherwise provided in this Agreement. No Member shall receive any interest, salary, or drawing
with respect to its Capital Contributions or its Capital Account, except as otherwise provided in
this Agreement. The Capital Accounts are maintained for the sole purpose of allocating items of
income, gain, loss, and deduction among the Members and shall have no effect on the amount of
any distributions to any Members, in liquidation or otherwise.

       Section 3.07 Treatment of Loans from Members. Loans by any Member to the
Company shall not be considered Capital Contributions and shall not affect the maintenance of
such Member’s Capital Account, other than to the extent provided in Section 3.03(a)(iii), if
applicable.

       Section 3.08 Modifications. The foregoing provisions and the other provisions of this
Agreement relating to the maintenance of Capital Accounts are intended to comply with Treasury
Regulations Section 1.704-1(b) and shall be interpreted and applied in a manner consistent with
such Treasury Regulations. If the Sole Manager determines that it is prudent to modify the manner
in which the Capital Accounts, or any increases or decreases to the Capital Accounts, are computed
in order to comply with such Treasury Regulations, the Sole Manager may authorize such
modifications without the consent of any Member.

                                         ARTICLE IV
                                          MEMBERS

        Section 4.01 No Personal Liability. Except as otherwise provided in the BOC, by
Applicable Law, or expressly in this Agreement, no Member will be obligated personally for any
debt, obligation, or liability of the Company or other Members, whether arising in contract, tort,
                                                15
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 527
                                                                 447 of 531
                                                                        491




or otherwise, including a debt, obligation, or liability under a judgment, decree, or order of a court,
solely by reason of being a Member.

        Section 4.02 No Withdrawal. So long as a Member continues to hold a Membership
Interest, such Member shall not have the ability to withdraw or resign as a Member prior to the
winding up and termination of the Company and any such withdrawal or resignation or attempted
withdrawal or resignation by a Member prior to the winding up and termination of the Company
shall be null and void. As soon as any Person who is a Member ceases to hold a Membership
Interest, such Person shall no longer be a Member.

         Section 4.03 No Interest in Company Property. No real or personal property of the
Company shall be deemed to be owned by any Member individually, but shall be owned by, and
title shall be vested solely in, the Company. Without limiting the foregoing, each Member hereby
irrevocably waives during the term of the Company any right that such Member may have to
maintain any action for partition with respect to the property of the Company.

          Section 4.04 Certification of Membership Interests.

               (a)     The Sole Manager may, but shall not be required to, issue certificates to the
          Members representing the Membership Interests held by such Member.

                 (b)    In the event that the Sole Manager shall issue certificates representing
          Membership Interests in accordance with Section 4.04(a), then in addition to any other
          legend required by Applicable Law, all certificates representing issued and outstanding
          Membership Interests shall bear a legend substantially in the following form:

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE IS SUBJECT TO A LIMITED LIABILITY COMPANY
                 AGREEMENT AMONG THE COMPANY AND ITS MEMBERS, A
                 COPY OF WHICH IS ON FILE AT THE PRINCIPAL EXECUTIVE
                 OFFICE OF THE COMPANY. NO TRANSFER, SALE, ASSIGNMENT,
                 GIFT, PLEDGE, HYPOTHECATION, ENCUMBRANCE, OR OTHER
                 DISPOSITION OF THE MEMBERSHIP INTEREST REPRESENTED
                 BY THIS CERTIFICATE MAY BE MADE EXCEPT IN ACCORDANCE
                 WITH THE PROVISIONS OF SUCH COMPANY AGREEMENT.

                 THE MEMBERSHIP INTEREST REPRESENTED BY THIS
                 CERTIFICATE HAS NOT BEEN REGISTERED UNDER THE
                 SECURITIES ACT OF 1933, AS AMENDED, OR UNDER ANY OTHER
                 APPLICABLE SECURITIES LAWS AND MAY NOT BE
                 TRANSFERRED,    SOLD,     ASSIGNED,  GIFTED,  PLEDGED,
                 HYPOTHECATED,     OR     OTHERWISE   DISPOSED   EXCEPT
                 PURSUANT TO (A) A REGISTRATION STATEMENT EFFECTIVE
                 UNDER SUCH ACT AND LAWS, OR (B) AN EXEMPTION FROM
                 REGISTRATION THEREUNDER.


                                                  16
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 528
                                                                 448 of 531
                                                                        491




          Section 4.05 Meetings of Members.

               (a)     Meetings of the Members may be called by (i) the Sole Manager or (ii) a
          Member or group of Members holding a majority of the Membership Interests.

                 (b)     Written notice stating the place, date, and time of the meeting and, in the
          case of a meeting of the Members not regularly scheduled, describing the purposes for
          which the meeting is called, shall be delivered not fewer than ten days and not more than
          60 days before the date of the meeting to each Member, by or at the direction of the Sole
          Manager or the Member(s) calling the meeting, as the case may be. The Members may
          hold meetings at the Company’s principal office or at such other place, within or outside
          the State of Texas, as the Sole Manager or the Member(s) calling the meeting may
          designate in the notice for such meeting.

                  (c)     Any Member may participate in a meeting of the Members by means of
          conference telephone or other communications equipment by means of which all Persons
          participating in the meeting can talk to and hear each other, and participation in a meeting
          by such means shall constitute presence in person at such meeting.

                  (d)     On any matter that is to be voted on by Members, a Member may vote in
          person or by proxy, and such proxy may be granted in writing, by means of Electronic
          Transmission or as otherwise permitted by Applicable Law. Every proxy shall be
          revocable in the discretion of the Member executing it unless otherwise provided in such
          proxy; provided, that such right to revocation shall not invalidate or otherwise affect
          actions taken under such proxy prior to such revocation. In lieu of a proxy, a Member may
          grant an irrevocable power of attorney to conduct the affairs of such Member with respect
          to matters of the Company, including matters relating to the organization, internal affairs,
          or termination of the Company.

                 (e)     The business to be conducted at such meeting need not be limited to the
          purpose described in the notice and can include business to be conducted by Members;
          provided, that the appropriate Members shall have been notified of the meeting in
          accordance with Section 4.05(b). Attendance of a Member at any meeting shall constitute
          a waiver of notice of such meeting, except where a Member attends a meeting for the
          express purpose of objecting to the transaction of any business on the ground that the
          meeting is not lawfully called or convened.

                  (f)   A quorum of any meeting of the Members shall require the presence,
          whether in person or by proxy, of the Members holding a majority of the Membership
          Interests. Subject to Section 4.06, no action may be taken by the Members unless the
          appropriate quorum is present at a meeting.

                  (g)    Subject to Section 4.06, Section 7.05, Section 7.06 , Section 12.10 or any
          provision of this Agreement or the BOC requiring the vote, consent, or approval of a
          different percentage of the Membership Interests, no action may be taken by the Members
          at any meeting at which a quorum is present without the affirmative vote of the Members
          holding a majority of the outstanding Membership Interests.
                                                   17
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 529
                                                                 449 of 531
                                                                        491




          Section 4.06 Action Without Meeting.

                  (a)   Notwithstanding the provisions of Section 4.05, any matter that is to be
          voted on, consented to, or approved by the Members may be taken without a meeting,
          without prior notice, and without a vote if consented to, in writing or by Electronic
          Transmission, by a Member or Members holding not less than the minimum number of
          votes that would be necessary to authorize or take such action at a meeting at which each
          Member entitled to vote on the action is present and votes. A record shall be maintained
          by the Sole Manager of each such action taken by written consent of a Member or
          Members.

                  (b)    A Member’s consent may not be established by a Member’s failure to object
          to an action in a timely manner or by any other means not explicitly provided for in this
          Agreement.

                   (c)    If any action or decision permitted by this Agreement to be taken or made
          by less than all of the Members is taken or made by a written consent signed by less than
          all of the Members, the Sole Manager shall, within ten calendar days after such action is
          taken or such decision is made, give written notice of the action taken or the decision made
          to the Members who did not sign the written consent.

        Section 4.07 Power of Members. The Members shall have the power to exercise any
and all rights or powers granted to Members pursuant to the express terms of this Agreement and
the BOC. Except as otherwise specifically provided by this Agreement or required by the BOC,
no Member, in its capacity as a Member, shall have the power to act for or on behalf of, or to bind,
the Company, other than to the extent that the Company has granted a power of attorney to such
Member to bind the Company on such actions.

        Section 4.08 Similar or Competitive Activities; Business Opportunities. Nothing
contained in this Agreement shall prevent any Member or any of its Affiliates from engaging in
any other activities or businesses, regardless of whether those activities or businesses are similar
to or competitive with the Company. None of the Members nor any of their Affiliates shall be
obligated to account to the Company or to the other Members for any profits or income earned or
derived from such other activities or businesses. None of the Members nor any of their Affiliates
shall be obligated to inform the Company or the other Members of a business opportunity of any
type or description.

                                           ARTICLE V
                                          ALLOCATIONS

        Section 5.01 Allocation of Net Income and Net Loss. For each Fiscal Year (or portion
thereof), after giving effect to the special allocations set forth in Section 5.02, Net Income and Net
Loss of the Company shall be allocated among the Members pro rata in accordance with their
Membership Interests.

       Section 5.02 Regulatory and Special Allocations. Notwithstanding the provisions of
Section 5.01:
                                                   18
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 530
                                                                 450 of 531
                                                                        491




                  (a)     If there is a net decrease in Company Minimum Gain (determined according
          to Treasury Regulations Section 1.704-2(d)(1)) during any Fiscal Year, each Member shall
          be specially allocated Net Income for such Fiscal Year (and, if necessary, subsequent Fiscal
          Years) in an amount equal to such Member’s share of the net decrease in Company
          Minimum Gain, determined in accordance with Treasury Regulations Section 1.704-2(g).
          The items to be so allocated shall be determined in accordance with Treasury Regulations
          Sections 1.704-2(f)(6) and 1.704-2(j)(2). This Section 5.02(a) is intended to comply with
          the “minimum gain chargeback” requirement in Treasury Regulations Section 1.704-2(f)
          and shall be interpreted consistently therewith.

                  (b)    Member Nonrecourse Deductions shall be allocated in the manner required
          by Treasury Regulations Section 1.704-2(i). Except as otherwise provided in Treasury
          Regulations Section 1.704-2(i)(4), if there is a net decrease in Member Nonrecourse Debt
          Minimum Gain during any Fiscal Year, each Member that has a share of such Member
          Nonrecourse Debt Minimum Gain shall be specially allocated Net Income for such Fiscal
          Year (and, if necessary, subsequent Fiscal Years) in an amount equal to that Member’s
          share of the net decrease in Member Nonrecourse Debt Minimum Gain. Items to be
          allocated pursuant to this paragraph shall be determined in accordance with Treasury
          Regulations Sections 1.704-2(i)(4) and 1.704-2(j)(2). This Section 5.02(b) is intended to
          comply with the “minimum gain chargeback” requirement in Treasury Regulations Section
          1.704-2(i)(4) and shall be interpreted consistently therewith.

                  (c)   Nonrecourse Deductions shall be allocated to the Members in accordance
          with their Membership Interests.

                  (d)     In the event any Member unexpectedly receives any adjustments,
          allocations, or distributions described in Treasury Regulations Section 1.704-
          1(b)(2)(ii)(d)(4), (5) or (6), Net Income shall be specially allocated to such Member in an
          amount and manner sufficient to eliminate the Adjusted Capital Account Deficit created
          by such adjustments, allocations, or distributions as quickly as possible. This Section
          5.02(d) is intended to comply with the “qualified income offset” requirement in Treasury
          Regulations Section 1.704-1(b)(2)(ii)(d) and shall be interpreted consistently therewith.

                  (e)      Simulated Depletion and Simulated Loss with respect to any Depletable
          Property shall be allocated among the Members in proportion to their shares of the
          Simulated Basis in such property. Each Member’s share of the Simulated Basis in each of
          the Company’s Depletable Properties shall be allocated to each Member in accordance with
          such Member’s Membership Interest as of the time such Depletable Property is acquired
          by the Company, and shall be reallocated among the Members in accordance with the
          Members’ Membership Interest as determined immediately following the occurrence of an
          event giving rise to any adjustment to the Book Values of the Company’s oil and gas
          properties pursuant to the terms of this Agreement (or at the time of any material additions
          to the federal income tax basis of such Depletable Property).

                 (f)     The allocations set forth in subsections Section 5.02(a), Section 5.02(b),
          Section 5.02(c), Section 5.02(d) and Section 5.02(e) above (the “Regulatory Allocations”)

                                                   19
EMF_US 81719156v10
#93633328v11
     Case 20-33948 Document 775-2
                            723-1 Filed in TXSB on 01/21/21
                                                   01/01/21 Page 531
                                                                 451 of 531
                                                                        491




          are intended to comply with certain requirements of the Treasury Regulations under Code
          Section 704. Notwithstanding any other provisions of this ARTICLE V (other than the
          Regulatory Allocations), the Regulatory Allocations shall be taken into account in
          allocating Net Income and Net Losses among Members so that, to the extent possible, the
          net amount of such allocations of Net Income and Net Losses and other items and the
          Regulatory Allocations to each Member shall be equal to the net amount that would have
          been allocated to such Member if the Regulatory Allocations had not occurred.

          Section 5.03 Tax Allocations.

                   (a)    Subject to Section 5.03(b), Section 5.03(c), and Section 5.03(d), all income,
          gains, losses and deductions of the Company shall be allocated, for federal, state, and local
          income tax purposes, among the Members in accordance with the allocation of such
          income, gains, losses, and deductions pursuant to Section 5.01 and Section 5.02, except
          that if any such allocation for tax purposes is not permitted by the Code or other Applicable
          Law, the Company’s subsequent income, gains, losses, and deductions shall be allocated
          among the Members for tax purposes, to the extent permitted by the Code and other
          Applicable Law, so as to reflect as nearly as possible the allocation set forth in Section 5.01
          and Section 5.02.

                 (b)    Items of Company taxable income, gain, loss, and deduction with respect to
          any property contributed to the capital of the Company shall be allocated among the
          Members in accordance with Code Section 704(c) using such reasonable method under
          Treasury Regulations Section 1.704-3 as shall be determined by the Sole Manager, so as
          to take account of any variation between the adjusted basis of such property to the
          Company for federal income tax purposes and its Book Value.

                  (c)     If the Book Value of any Company asset is adjusted pursuant to Treasury
          Regulations Section 1.704-1(b)(2)(iv)(f) as provided in Section 1.01(c) of the definition of
          Book Value, subsequent allocations of items of taxable income, gain, loss, and deduction
          with respect to such asset shall take account of any variation between the adjusted basis of
          such asset for federal income tax purposes and its Book Value using such reasonable
          method under Treasury Regulations Section 1.704-3 as shall be determined by the Sole
          Manager.

                  (d)     Allocations of tax credit, tax credit recapture, and any items related thereto
          shall be allocated to the Members according to their interests in such items as determined
          by the Sole Manager taking into account the principles of Treasury Regulations Section
          1.704-1(b)(4)(ii).

                 (e)     The deduction for depletion with respect to each separate oil and gas
          property (as defined in Section 614 of the Code) shall, in accordance with
          Section 613A(c)(7)(D) of the Code, be computed for federal income tax purposes
          separately by the Members rather than the Company. The proportionate share of the
          adjusted tax basis of each oil and gas property shall be allocated to each Member in
          accordance with such Member’s Membership Interest as of the time such oil and gas

                                                    20
EMF_US 81719156v10
#93633328v11
